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                                 No. 21-11643
                  UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT


                     MUSCOGEE (CREEK) NATION, et al.,
                             Plaintiffs-Appellants,
                                       v.
                           BUFORD ROLIN, et al.,
                            Defendants-Appellants.


 Appeal from the District Court of the United States for the Middle District of
                         Alabama, Northern Division
   District Court No. 2:12cv1079-MHT (CSC) (Hon. Myron H. Thompson)


                 APPELLANTS’ APPENDIX – VOLUME 1


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                                                             The Honorable Myron H. Thompson




                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION




MUSCOGEE (CREEK) NATION, a federally recognized Indian
tribe, HICKORY GROUND TRIBAL TOWN, and MEKKO
GEORGE THOMPSON, individually and as traditional                      2:12-cv-1079-MHT-CSC
representative of the lineal descendants of those buried at Hickory
Ground Tribal Town in Wetumpka, Alabama.                              SECOND AMENDED
                                                                      COMPLAINT AND
                                    Plaintiffs,                       SUPPLEMENTAL
       v.                                                             COMPLAINT

POARCH BAND OF CREEK INDIANS, a federally recognized
tribe; STEPHANIE A. BRYAN, individually and in her official
capacity as Chair of the Poarch Band of Creek Indians (“Poarch”)
Tribal Council; ROBERT R. MCGHEE, individually and in his
official capacity as Vice Chair of Poarch Tribal Council; AMY
BRYAN, in her official capacity as Treasurer of the Poarch Band
of Creek Indians Tribal Council; CHARLOTTE MECKEL, in her
official capacity as Secretary of the Poarch Band of Creek Indians
Tribal Council; DEWITT CARTER, in his official capacity as At
Large member of the Poarch Band of Creek Indians Tribal
Council; SANDY HOLLINGER, individually and in her official
capacity as At Large member of the Poarch Band of Creek Indians
Tribal Council; KEITH MARTIN, individually and in his official
capacity as At Large member of the Poarch Band of Creek Indians
Tribal Council; ARTHUR MOTHERSHED, individually and in
his official capacity as At Large member of the Poarch Band of
Creek Indians Tribal Council; GARVIS SELLS, individually and
in his official capacity as At Large member of the Poarch Band of
Creek Indians Tribal Council; EDDIE L. TULLIS, an individual;
BUFORD ROLIN, an individual; DAVID GEHMAN, an

                                                  1
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individual; LARRY HAIKEY, in his official capacity as Poarch
Band of Creek Indians Tribal Historic Preservation Officer; PCI
GAMING AUTHORITY d/b/a WIND CREEK HOSPITALITY;
WESTLY L. WOODRUFF, in his official capacity as board
member of the PCI Gaming Authority; STUART MARK
ALTMAN, in his official capacity as board member of the PCI
Gaming Authority; VENUS MCGHEE PRINCE, in her official
capacity as board member of the PCI Gaming Authority; TERESA
E. POUST, in her official capacity as board member of the PCI
Gaming Authority; TIMOTHY A. MANNING, in his official
capacity as board member of the PCI Gaming Authority; MARTIN
CONSTRUCTION, INC., an Alabama Corporation; THE
DEPARTMENT OF THE INTERIOR; TARA MACLEAN
SWEENEY, in her official capacity as Assistant Secretary of
Indian Affairs; DAVID BERNHARDT, in his official capacity as
Secretary of the United States Department of the Interior; DAVID
VELA, in his official capacity as Acting Director of the National
Park Service; and AUBURN UNIVERSITY;

                               Defendants.




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                                         INTRODUCTION

       1.      Defendant Poarch Band of Creek Indians (“Poarch”) acquired Hickory Ground, a

sacred historic site of the Muscogee (Creek) Nation that is located in Wetumpka, Alabama.

Poarch claimed it was buying this culturally significant site to protect it from development and

repeatedly promised to preserve it. Poarch broke those promises and desecrated the holy site,

removing over 57 bodies of Plaintiffs’ ancestors and thousands of sacred artifacts to build a

casino with the help of a Poarch tribal member-owned construction company. The other

Defendants violated statutory, common law, and contractual obligations when they failed to stop

Poarch from paving over this important historic site and traditional burial ground. Plaintiffs seek

redress for this greedy, tragic, outrageous, and illegal act.

       2.      Hickory Ground is a parcel of land located near Wetumpka, Alabama. It is sacred

to the Plaintiffs: it is part of the Muscogee (Creek) Nation’s aboriginal lands, the location of the

Muscogee (Creek) Nation’s last capital before the tribe was forcibly removed from Alabama, and

is a historic ceremonial ground and burial site. Direct ancestors of the current members of the

Hickory Ground Tribal Town lived, died and are buried there.

       3.      Poarch obtained Hickory Ground using federal preservation grant funds under the

pretense that Poarch would protect the site from development. The site has been listed on the

National Register of Historic Places since 1980.

       4.      In its application for the federal funds, Poarch represented to the Muscogee

(Creek) Nation, the federal government, and the Alabama State Historical Commission that

Poarch would use the funds to purchase Hickory Ground to save it from being developed, and

that it would protect the site “without excavation.”

       5.      Poarch then excavated Hickory Ground to make way for a $246 million casino

resort called Wind Creek Wetumpka. Poarch exhumed at least 57 human burials and mistreated
                                                   5
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the human remains. Some remains, and numerous archaeological artifacts have never been

reburied and are being mishandled and improperly stored by Poarch and Auburn University.

       6.      Poarch’s construction of a casino over the Plaintiffs’ sacred burial grounds, its

removal of the Plaintiffs’ ancestors from what was intended to be their final resting place, and its

mistreatment of the remains and artifacts has caused, and continues to cause, harm to the

Plaintiffs, in violation of the laws of the United States and Alabama.

       7.      Statutes and contract impose upon the Department of the Interior (“Interior”),

including the Bureau of Indian Affairs and the National Park Service, and their respective

officials (listed in Paragraphs 26 to 31, infra) (collectively the “Federal Defendants”) obligations

to protect Plaintiffs’ rights, including but not limited to duties to provide notice and consultation

and obtain consent prior to allowing such damage to occur.

       8.      Poarch and its officers and agents, including the third parties it hired to conduct

the excavation of Hickory Ground and construction of the casino resort, also have statutory,

contractual, and common law duties to protect Plaintiffs’ rights and to avoid damaging their

sacred burial grounds.

       9.      Poarch has been unjustly enriched and continues to be unjustly enriched as a

result of its wrongful and unlawful conduct. The actions of all Defendants have caused, and

continue to cause, irreparable harm to the Plaintiffs, who bring this lawsuit to remedy past

damage and stop further damage.

       10.     Poarch promised to preserve the sacred Hickory Ground site forever. It should be

held to its word.




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                                        THE PARTIES

Plaintiffs

       11.    Plaintiff Muscogee (Creek) Nation is a federally recognized Indian tribe based

in Oklahoma, with over 87,000 tribal citizens. Before its people were forced to move to Indian

Territory (now Oklahoma), the Muscogee (Creek) Nation existed as a confederacy of Tribal

Towns throughout what is now the southeastern United States. For thousands of years before non-

Indian contact, they inhabited what is now Alabama.

       12.    Plaintiff Hickory Ground Tribal Town is a traditional Tribal Town and

ceremonial ground of the Muscogee (Creek) Nation that is now located in Henryetta,

Oklahoma. Before the Muscogee (Creek) Nation’s removal from Alabama, Hickory Ground

Tribal Town was located in what is now Wetumpka, Alabama.

       13.    Tribal Town membership is matrilineal. The members of the modern Hickory

Ground Tribal Town are directly tied historically, culturally and lineally to Hickory Ground in

Wetumpka.

       14.    Plaintiff George Thompson is the chief (“Mekko”) of Hickory Ground Tribal

Town. He has held that lifetime position for 42 years. He is a citizen of the Muscogee (Creek)

Nation domiciled in Oklahoma, and brings this suit individually and as the traditional

representative of all the lineal descendants of those buried at Hickory Ground under the Muscogee

(Creek) Nation traditional matrilineal Tribal Town kinship system.

       15.    Under Andrew Jackson’s direction, the United States forcibly removed the

Muscogee (Creek) Nation and its Tribal Towns, including Hickory Ground, from Alabama in the

early 1800s. Some Creek individuals (often individuals of mixed heritage not living in tribal

towns) helped Andrew Jackson fight against their brethren in Alabama, and in exchange they

were allowed to stay in Alabama, on the condition they renounce their tribal citizenship, as all
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tribes were to be removed from the area.

Poarch Band

       16.     The Poarch Band is a group that was first recognized as an Indian tribe by the

United States in 1984, after claiming to descend from a “settlement of ‘half-bloods’”1 who

lived in Tensaw, Alabama.

       17.     This group was not, and is not, a Muscogee (Creek) Tribal Town.

       18.     The Muscogee (Creek) Nation did not, and does not, have “bands.”

Poarch Council Defendants

       19.     Defendants Stephanie A. Bryan, Robert R. McGhee, Amy Bryan, Charlotte

Meckel, Dewitt Carter, Sandy Hollinger, Keith Martin, Arthur Mothershed, and Garvis Sells are

members of the Poarch Tribal Council and officials of Poarch (the “Poarch Council

Defendants”). They are sued in their official capacities for violations of federal and state law for

which Plaintiffs seek mandamus, declaratory and injunctive relief. Certain Poarch Council

Defendants are also sued in their individual capacities. See infra ¶ 24.

PCI Gaming Authority

       20.     Defendant PCI Gaming Authority is a commercial enterprise of the Poarch Band

that is at least partly responsible for the gaming development and operations at Hickory Ground.

       21.     PCI Gaming Authority is the principal gaming entity of the Poarch Band, and runs

the Wind Creek Casino and Hotel Wetumpka.

PCI Gaming Authority Board Defendants

       22.     On information and belief, Defendants Westly L. Woodruff, Stuart Mark Altman,

Venus McGhee Prince, Teresa E. Poust, and Timothy A. Manning (the “PCI Gaming Authority


1 The outdated term “half-bloods” in this excerpt from Poarch’s petition for federal recognition

refers to individuals who possessed half Indian, half non-Indian blood as of the mid-1800s.
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Board Defendants”) are members of the PCI Gaming Authority Board. They are sued in their

official capacities for violations of federal and state law for which Plaintiffs seek mandamus,

declaratory and injunctive relief.

Poarch Tribal Historic Preservation Officer

       23.     Defendant Larry Haikey is the Tribal Historic Preservation Officer for the Poarch

Band of Creek Indians (“Poarch THPO”). He is sued in his official capacity for violations of

federal and state law for which Plaintiffs seek mandamus, declaratory and injunctive relief.

Individual Defendants

       24.     Defendants Eddie Tullis, Buford Rolin and David Gehman are former members of

the Poarch Tribal Council and are sued in their individual capacities for the tort of outrage that

they personally committed against Mekko Thompson. Defendants Stephanie A. Bryan, Robert R.

McGhee, Sandy Hollinger, Keith Martin, Arthur Mothershed, and Garvis Sells are also sued in

their individual capacities for the tort of outrage that they personally committed against Mekko

Thompson. The defendants referred to in this Paragraph are collectively referred to as the

“Individual Defendants.” Mekko Thompson seeks equitable and monetary relief from the

Individual Defendants for outrage.

Martin Construction, Inc.

       25.     Defendant Martin Construction, Inc. is a corporation organized and existing under

the laws of Alabama, with a principal place of business at 110 W. Louisville Avenue; Atmore,

Alabama 36502.




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Federal Defendants

        26.     Defendant United States Department of the Interior is responsible for

administration and management of federal lands, historic places, and Indian Affairs.

        27.     The National Park Service and Bureau of Indian Affairs are agencies of the

United States government, within the Department of the Interior. Among other things, the

National Park Service administers and oversees historic preservation grants and delegations of

historic preservation responsibilities. The Bureau of Indian Affairs is responsible for, among

other things, administering and overseeing archaeological activities on Indian land and taking

land into trust on behalf of Indian tribes.

        28.     Defendant Tara MacLean Sweeney is the Assistant Secretary for Indian Affairs

within the Department of the Interior, and is sued in her official capacity.

        29.     Defendant David Vela is Acting Director of the National Park Service within the

Department of the Interior, and is sued in his official capacity.

        30.     Defendant David Bernhardt is Secretary of the United States Department of the

Interior and is sued in his official capacity.

        31.     Collectively, the Defendants listed in Paragraphs 26-30 are referred to herein as

the “Federal Officer Defendants.”

Auburn University

        32.     Defendant Auburn University (“Auburn”) is an educational institution in the State

of Alabama that receives federal funding and, on information and belief, exercises, and has

exercised, possession or control over cultural items excavated at Hickory Ground, including

possession or control of human remains at the time of the filing of this Second Amended

Complaint.



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                                 JURISDICTION AND VENUE

       33.     Plaintiffs’ claims arise under the Administrative Procedure Act, 5 U.S.C. §§ 551 et

seq.; the Indian Reorganization Act, 25 U.S.C. §§ 461, et seq.; the National Historic Preservation

Act (“NHPA”), 54 U.S.C. §§ 100101 et seq. (formerly 16 U.S.C. §§ 470 et seq.); the Native

American Graves Protection and Repatriation Act of 1990 (“NAGPRA”), 25 U.S.C. §§ 3001 et

seq.; the Archeological Resources Protection Act (“ARPA”), 16 U.S.C. §§ 470aa et seq.; the

Religious Freedom Restoration Act (“RFRA”), 42 U.S.C. §§ 2000bb et seq.; the Declaratory

Judgment Act, 28 U.S.C. §§ 2201 et seq.; 28 U.S.C. § 1361 (mandamus); federal common law;

and supplemental state law claims.

       34.     Plaintiffs also seek their reasonable attorney fees pursuant to the Equal Access to

Justice Act, 28 U.S.C. § 2412, and the NHPA, 54 U.S.C. § 307105.

       35.     This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 (federal question jurisdiction), 1361 (action to compel a governmental officer to perform

his duty), 1362 (jurisdiction over civil actions brought by Indian tribes arising under the laws of

the United States), 1367 (supplemental jurisdiction over state law claims forming part of the

same claim or controversy); 25 U.S.C. § 3013 (jurisdiction over actions alleging violations of

NAGPRA); and 54 U.S.C. § 307105 (“any interested person” may enforce NHPA).

       36.     Pursuant to 28 U.S.C. § 1391(b)(2) & (e), venue is proper in this Court because

this action relates to lands located within this judicial district and a substantial part of the

events or omissions giving rise to the claims occurred in this judicial district.

       37.     Federal Defendants have waived their sovereign immunity against civil actions

alleging harm arising from such agencies’ actions or failures to act as required by law and

seeking relief other than monetary damages. 5 U.S.C. § 702.

       38.     The Court also has jurisdiction over the Federal Officer Defendants in their
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official capacities because they are federal governmental officials against whom Plaintiffs seek

declaratory and injunctive relief only in relation to continuing violations of federal law. See Ex

Parte Young, 209 U.S. 123 (1908).

        39.     The Court has jurisdiction over the Poarch Council Defendants (listed in

Paragraph 19), the PCI Gaming Authority Board Defendants (listed in Paragraph 22), and the

Poarch THPO in their official capacities because they are tribal officials against whom the

Plaintiffs seek declaratory and injunctive relief only in relation to continuing violations of federal

law. See Ex Parte Young, 209 U.S. 123 (1908).

        40.     This Court has jurisdiction over the Individual Defendants because they committed

the tortious actions alleged in this complaint in this judicial District.

        41.     Martin Construction, Inc. (“Martin Construction”) is subject to personal

jurisdiction in this District because it has conducted, and does conduct, business in the United

States and Alabama. Martin Construction is owned by a Poarch tribal member, and performed

construction services to build the Wetumpka casino resort in this judicial District.

        42.     The Court has jurisdiction over Auburn University under NAGPRA, 25 U.S.C. §§

3001 et seq., and ARPA, 16 U.S.C. §§ 470aa et seq., as Auburn receives federal funds and, on

information and belief, exercised, and continues to exercise, possession or control over remains

and cultural items that Auburn excavated from Hickory Ground. Auburn is listed as a Defendant

solely to the extent that this Court enters orders concerning the possession, custody, control, or

relocation of the cultural items at issue.




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                                GENERAL ALLEGATIONS

A.     History Of Hickory Ground.

       43.    For millennia before the Removal Treaty of 1832, the Muscogee (Creek) people

inhabited most of what is now Alabama. The Muscogee (Creek) Nation was composed of Tribal

Towns, including the Tribal Town site called Ocevpofv by the Muscogee (Creek) people, and

known as “Hickory Ground Tribal Town” by English speakers.

       44.    Hickory Ground is of major importance in the history of the Muscogee (Creek)

Nation, Hickory Ground Tribal Town, and the United States. It was the last tribal capital of the

Muscogee (Creek) Nation prior to removal. Hickory Ground was critical to the very formation of

the United States. When European nations questioned the sovereignty of the newly born United

States, President George Washington lent legitimacy to the nascent country by signing treaties

with Indian Nations, including the Muscogee (Creek) Nation, whose sovereignty had previously

been affirmed through treaties with France, Spain, and England. Thus, in 1790, nearly two

centuries before Poarch was recognized as a tribe, President George Washington executed a

treaty with the Muscogee (Creek) Nation. The head of the Muscogee treaty delegation was from

Hickory Ground.

       45.    Tribal Town affiliation is matrilineal, and the current members of Hickory

Ground Tribal Town in Oklahoma are the lineal descendants of the ancestors buried at the

historic Hickory Ground in Wetumpka, Alabama.

       46.    Each Tribal Town is led by its chief, or mekko. Mekko George Thompson is the

kosa mekko of Hickory Ground, and has been since 1977. He is known as kosa mekko, or Coosa

Chief, as Hickory Ground dates back to the first Tribal Town at the time of the beginnings,

known as kosa or Coosa. Since time immemorial, Mekko Thompson’s ancestors have served as

Mekko of Hickory Ground Tribal Town.
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       47.     Hickory Ground is located on the east bank of the Coosa River, south of the

present-day Wetumpka and approximately two miles north of Fort Toulouse.

       48.     Under the terms of the Removal Treaty, the Muscogee (Creek) Nation ceded all of

its land east of the Mississippi River, including Hickory Ground, and a new reservation for the

Muscogee (Creek) Nation was established west of the Mississippi River. 7 Stat. 366, Arts. I &

XIV (1832). To stay with their tribe, the members of the Muscogee (Creek) Nation were required

to remove to what is now Oklahoma and leave behind their ancient villages and the many

generations of their ancestors who were buried there.

       49.     Hickory Ground Tribal Town, like all Tribal Towns of the Muscogee (Creek)

Nation, contains a ceremonial ground (square ground), council house, plaza, burial sites, and

individual graves containing human remains and funerary objects of the ancestors of the

Plaintiffs. Hickory Ground has profound cultural and religious importance to the Plaintiffs.

       50.     Hickory Ground is a state-registered archaeological site (1EE89) and is listed on

the National Register of Historic Places. Hickory Ground was placed on the National Register of

Historic Places in 1980, after the Alabama State Historic Commission applied for its placement

on the Register on behalf of Poarch. The part of Hickory Ground listed on the National Register

of Historic Places and currently considered to be trust or reservation land is referred to herein as

the “Hickory Ground Site.”

       51.     In the Muscogee (Creek) culture and religion, there are specific burial places for

those who held particular positions in Tribal Town traditional governance, and specific

governance structures over Tribal Towns, including burials within those Tribal Towns.

       52.     For example, Hickory Ground mekkos are buried under the mekkos’ arbor (the

east-facing arbor) in the ceremonial grounds.



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       53.    It was a common practice to bury family members who did not have a position in

the ceremonial grounds in the earth underneath a family’s home.

       54.    The map of archaeological features at the Hickory Ground Site on the next page

shows human burials concentrated under the arbors in the square ground and under house

structures:




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Kelly Ervin, A Comparative Spatial Analysis of Two Communities from the Hickory Ground Site

in Wetumpka, Alabama 26 (Auburn University Thesis, December 13, 2014).

       55.     It is the Plaintiffs’ long-established religious belief that burial and ceremonial

grounds are sacrosanct and must not be entered, let alone disturbed, without the proper religious

protocol.

       56.     It is also the Plaintiffs’ long-established religious belief that their ancestors must

be left at peace in their final resting places with their possessions (funerary objects), and are not

to be disturbed, mistreated, or disrespected in any manner.

       57.     Plaintiffs, as the living descendants and next of kin of the deceased, owe a

religious duty to their ancestors to care for the graves and bodies of the deceased and to follow

traditional religious protocol in such care.

       58.     In the Muscogee (Creek) traditional religion, certain protocols must be followed

in all burials. These protocols are based on Tribal Town and Clan religion and tradition.

       59.     Because the mekko is the chief of the town, the mekko ultimately decides all

Tribal Town issues, including treatment of the dead.

       60.     It is viewed as heinous and extremely disrespectful in the Muscogee (Creek)

traditional religion for any persons not belonging to the Muscogee (Creek) Nation or Tribal

Town to exhume or rebury Muscogee (Creek) ancestors and their funerary objects, especially

where those persons mistreat the remains and perform invented and non-traditional ceremonies

accompanying reburial.

B.     Poarch Bought Hickory Ground With Federal Preservation Grant Funds After
       Promising to Preserve This Sacred Place.

       61.     Poarch obtained the Hickory Ground Site in 1980 with $165,000 in federal

preservation grant funds and a $165,000 donation from the landowner.

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       62.     In the same year, pursuant to standard terms of federal preservation grant awards,

a protective covenant was placed on the property for 20 years.

       63.     Poarch had never occupied Hickory Ground prior to 1980. See Poarch Federal

Acknowledgement        Memo.,   pp.   2,   3,   16,   64,   65   of   131   (1983),   available   at

https://www.bia.gov/sites/bia.gov/files/assets/as-ia/ofa/petition/013_prchcr_AL/013_pf.pdf.

       64.     Poarch represented to the Alabama Historic Commission, the Muscogee (Creek)

Nation and the United States that its purpose in acquiring the Hickory Ground Site was to

preserve the historic property for the benefit of all Creek Indians, including the “existing

Hickory Ground tribal town in Oklahoma,” and to preserve the Site “without excavation.”

Poarch Application for Historic Preservation Grant Re U.S. Department of the Interior (HCRS

[Heritage Conservation and Recreation Service]) letter 712 at 2 (2/12/1980) (“Federal

Preservation Grant Application”), attached hereto as Exhibit A.

       65.     The Muscogee (Creek) Nation and Hickory Ground Tribal Town were the

intended third party beneficiaries of Poarch’s agreement to preserve Hickory Ground.

       66.     In its application for the $165,000 federal preservation grant to purchase the

Hickory Ground Site, Poarch (then calling itself the “Creek Nation East of the Mississippi”),

stated that “Hickory Ground (site no. 1-Ee-89) is of major importance in the history of the

Muscogee (Creek) Nation. It has supplied many of the important leaders in Creek history.” Id. at

1. “Hickory Ground was involved in nearly all the major historic events in the southeast before

the removal of Creeks from Alabama in 1836,” including significant battles fought by Andrew

Jackson. Id. at 1-2.

       67.     In the section of its Federal Preservation Grant Application titled “The Use Of

The Land,” Poarch unequivocally represented and promised that “[a]cquisition of the property is



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principally a protection measure. Acquisition will prevent development on the property….

[P]lans will be developed to minimize continued destruction of the archaeological resources.” Id.

at 2. “The property will serve as a valuable resource for cultural enrichment of Creek people….

The Creek people in Oklahoma pride in heritage and ties to original homeland can only be

enhanced. There is still an existing Hickory Ground tribal town in Oklahoma. They will be

pleased to know their home in Alabama is being preserved…. The Hickory Ground site will

continue to enhance their understanding of their history, without excavation.” Id. (emphasis

added).

          68.   In the section of Poarch’s Federal Preservation Grant Application titled “Specific

Standards of Protection,” Poarch stated that the site “will be maintained almost entirely by

minority groups,” including the Creek Nation Foundation, Inc. in Oklahoma, representing the

Muscogee (Creek) Nation in Oklahoma. Id. at 3. “[T]he property will be jointly owned by both

groups of Creeks.” Id. An attorney for the Creek Nation Office of Justice in Oklahoma would

handle the legal matters for the Muscogee (Creek) Nation. Id. at 4. A trained anthropologist

would “act as an advisor to the tribal councils on plans for permanent protection of the site.” Id.

“Specific end products of the project is to provide protection for a particularly important site in

Creek History…. Hickory Grounds may also be a place where Creeks from Oklahoma may

return and visit their ancestral home.” Id. at 3 (emphasis added). “Destruction of

archaeological resources in Alabama … destroy[s] the cultural history of Creek people.” Id.

at 5 (emphasis added). “In order to halt the destruction planned for the site and to insure [sic]

against future destruction, funds for acquisition of fee simple title are requested. As the

landowner is very much interested in developing the property for commercial purposes it is felt

acquisition of fee simple title is necessary to prevent destruction of the site.” Id. at 2-3



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(emphasis added).

        69.      Poarch corresponded with representatives of the Muscogee (Creek) Nation

regarding its preservation plans for the Hickory Ground Site.

        70.      Additionally, in a 1983 Congressional Hearing in which both the Chief of the

Muscogee (Creek) Nation and Poarch Chairman Eddie Tullis testified regarding a bill governing

disbursement of Indian Claims Commission awards, the Poarch Chairman testified that, as

Poarch was “in ownership of one of the last historical sites of the Creek nation before the

removal to Oklahoma,” Poarch “propose[d] to use part of this money to make that site, not only

available to all of our people, but to the general public as well.” S. Hrg. 98-200 at 21-22

(5/26/1983).

        71.      The Poarch Chairman’s written testimony that was submitted to Congress and

included in the hearing record added more detail to this proposal: “Preservation of a historical

site: Along with [Poarch’s] effort to join the mainstream of American life there is a strong desire

among our people to preserve and share our unique history. To this end our tribe has acquired

titled [sic] to ‘Hickory Ground’, one of the most important Creek historical sites. We propose to

use fifty percent of the proceeds of S. 1224 to preserve and to present to both Indian and non-

Indian this unique and historical site.” S. Hrg. 98-200 at 24 (5/26/1983).

        72.      Relying on Poarch’s unqualified assurances that it would perpetually protect the

Hickory Ground Site, the Muscogee (Creek) Nation did not object to Poarch’s acquisition of the

Site, either in fee or trust.

C.      Interior Illegally Takes The Hickory Ground Site Into Trust For Poarch.

        73.      On June 11, 1984, the Department of the Interior extended federal recognition to

the Poarch Band of Creek Indians. 49 Fed. Reg. 24083 (June 11, 1984). Effective April 12, 1985,



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the United States wrongfully accepted legal title to a majority of the Hickory Ground Site in trust

for the benefit of Poarch, 50 Fed. Reg. 15502 (April 18, 1985); 50 Fed. Reg. 19813 (May 10,

1985), purportedly pursuant to the Indian Reorganization Act of 1934.

       74.      Under the Indian Reorganization Act, 25 U.S.C. § 5123 et seq., a tribe must have

been “under federal jurisdiction” in 1934 in order for Interior to have authority to take land into

trust for the tribe. See also Carcieri v. Salazar, 555 U.S. 379 (2009).

       75.      The Solicitor for the Department of the Interior has construed “under federal

jurisdiction” to involve a two-part inquiry into whether (1) the United States took actions

reflecting federal obligations, duties, responsibility for, or authority over a tribe in or before

1934, and (2) that relationship continued through 1934. Sol. Op. M-37029, available at

https://www.doi.gov/sites/doi.opengov.ibmcloud.com/files/uploads/M-37029.pdf.

       76.      Poarch and the federal government have correctly and repeatedly recognized that

Poarch was not under federal jurisdiction within the meaning of the Indian Reorganization Act.

             a. In 2005, Poarch submitted a letter through its legal counsel to the National Indian

                Gaming Commission stating that “the federal government clearly ended its

                relationship with Poarch Creek following removal [in 1832]. . . . [T]he historical

                record amply demonstrates that the federal government terminated the

                government-to-government relationship with the Creek in Alabama through a

                broad course of dealings that included express statements by top federal officials

                disclaiming any federal relationship with the Tribe - and that this termination of

                federal recognition extended back almost 150 years prior to Poarch Creek

                regaining federal recognition in 1984.” Letter from W. Perry, Sonosky Chambers,

                to K. Zebell, National Indian Gaming Commission (“NIGC”), at pp. 10-11 (June



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           3, 2005), attached as Exhibit B hereto.

        b. The Department of the Interior Solicitor’s Office, Division of Indian Affairs,

           stated in 2008 that it “does not believe that the Poarch Creek Band ever had a

           government-to-government relationship with the United States until it was

           [recognized in 1984]…. [T]he record simply does not support the Band’s

           existence as a separate tribal entity with a governmental relationship with

           the United States.” Letter from David Bernhardt, then-Interior Solicitor, to

           Hogen, NIGC Chairman, p. 1 (June 13, 2008) (emphasis added), attached as

           Exhibit C hereto.

        c. The National Indian Gaming Commission in 2008 agreed that, after the Muscogee

           (Creek) Nation’s removal from Alabama in the 1830s, “the United States

           specifically and repeatedly disclaimed any relationship with the Poarch Band”

           until 1984. Letter from NIGC Acting General Counsel to Bernhardt, p. 2 (July 30,

           2008), attached as Exhibit D hereto.

        d. In 1951, in seeking to intervene in proceedings relating to compensation from the

           United States for lands ceded in past treaties with the Creek Nation, Poarch (then

           calling itself the “Perdido Friendly Creek Indian Band of Alabama and Northwest

           Florida Indians”) stated that it was “but a newly formed band of descendants of

           the original Creek nation.” Perdido Band Memo. In Supp. Of Mot. To Intervene,

           p. 4 (1951) (emphasis added), attached as Exhibit E hereto.

        e. Later that year, Chairman Calvin McGhee and Secretary Ruby Weatherford

           signed a resolution changing the name of the band to the “Creek Nation East of

           the Mississippi.” Ex. A to Mot. To Change Record Name Of One of Movants for



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           Leave to Intervene (8/29/1951), attached as Exhibit F hereto.

        f. Poarch (by this time going by the name Creek Nation East of the Mississippi)

           stated in November 1951 in a United States Court of Claims appellate brief that

           “they possessed no territory and were not dealt with by the United States as a

           group” since removal. Creek Nation East of the Mississippi’s Appellate Br. re

           Intervention in Muscogee (Creek) Nation ICC Case, p. 137 (11/6/1951) (emphasis

           added), attached as Exhibit G hereto.

        g. The brief also stated that “the Federal Government had no dealings with those

           east of the Mississippi, as a group,” who, “unlike the Creeks in Oklahoma, had

           no organization, occupied no bounded grant of territory and were not under the

           guardianship of the Federal Government.” Id. p. 152 (emphasis added).

        h. In 1952, the United States submitted an appellate brief in the United States Court

           of Claims stating that “those [Creeks] who remained in the East [after removal]

           abandoned their tribal relationships; and they never continued a tribal

           government recognized by the United States and they entered into no treaties

           or other political arrangements with the United States … and only recently

           organized themselves, apparently for the purpose of this suit.” US Appellate Br.

           Opposing Creek Nation E. of the Mississippi’s Intervention in Muscogee (Creek)

           Nation ICC Case, p. 2 (Jan. 1952) (emphasis added and footnote omitted),

           attached as Exhibit H hereto.

        i. The United States’ 1952 brief also stated that the Creeks who remained east of the

           Mississippi “are not recognized by the administrative or legislative arm of the

           Government….” Id. at 16.


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              j. The Court of Claims found that the United States had “no occasion for further

                 dealings with [those Creeks who remained east of the Mississippi] since 1832.”

                 McGhee v. Creek Nation, 122 Ct. Cl. 380, 391 (1952), cert. denied, 344 U.S. 856

                 (1952).

        77.      Where a tribe is not “under federal jurisdiction” under the Indian Reorganization

Act, Interior has no authority to take land into trust for that tribe.

        78.      Because Poarch was not “under federal jurisdiction” within the meaning of the

Indian Reorganization Act, the Hickory Ground Site is not properly held in trust for Poarch.

D.      Poarch Requests Delegation Of Federal Historic Preservation Responsibilities On
        The Eve Of Expiration Of The 20-Year Protective Covenant, And Then Begins To
        Desecrate Hickory Ground.

        79.      The 20-year protective covenant on the Hickory Ground Site expired in July

2000.

        80.      The year before the covenant expired, Poarch requested that the National Park

Service delegate historic preservation responsibilities to Poarch on “all lands within the exterior

boundaries of [Poarch’s] Reservation,” which included the Hickory Ground Site. The National

Park Service agreed.

        81.      The National Park Service’s June 10, 1999 agreement with Poarch (the “NPS

Agreement,” attached hereto as Exhibit I) requires that:

              a. Poarch follow Section 106 of the NHPA in accordance with the regulations

                 codified at 36 C.F.R. § 800 et seq. (NPS Agreement § 5), which mandates

                 consultation with any tribe that attaches religious and cultural significance to a

                 historic site (see 16 U.S.C.S. §§ 470a(d)(6), 470f; 36 C.F.R. § 800.1 et seq.).

              b. The Poarch THPO “will, in accordance with Section 101(d)(4)(C) [of the NHPA],



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                   provide for … consultation with representatives of any other tribes whose

                   traditional lands may have been within the Poarch Band of Creek Indians

                   Reservation,” and “will periodically solicit and take into account comments on the

                   program from all those individuals and groups who may be affected by the

                   program’s activities” (NPS Agreement § 7);

                c. “In any case where an action arising pursuant to the Act may affect the traditional

                   lands of another Tribe, the [Poarch THPO] will, on an as-needed basis, seek and

                   take into account the views of that Tribe.” NPS Agreement § 7.

          82.      The National Park Service could not and would not have delegated the historic

preservation duties to Poarch without Poarch’s agreement to undertake the enumerated duties.

          83.      The Hickory Ground Site is in the traditional lands of the Muscogee (Creek)

Nation.

          84.      The Hickory Ground Site contains the ceremonial grounds and burials of

members of the Hickory Ground Tribal Town.

          85.      Plaintiffs were intended third party beneficiaries of the NPS Agreement.

          86.      Under the NPS Agreement, at least every four years the National Park Service

was obligated to “carry out a periodic review of the Tribe’s program pursuant to the Act, to

ensure that the Tribe is carrying out the program consistent with the agreement.” NPS

Agreement § 14. NPS could terminate the Agreement if Poarch did not “carr[y] out its assumed

responsibilities in accordance with this agreement, the Act, or any other applicable Federal

statute or regulation.” NPS Agreement § 15; see also 54 U.S.C. § 302108.

          87.      At the time the National Park Service approved of and executed the NPS

Agreement with Poarch, Poarch’s Office Of Cultural And Historic Preservation Field



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Methodology had a policy that “[u]nder no circumstances are the burials on the Poarch Creek

Indians Reservations, or lands under their control, to be excavated, nor are they to be subjected

to any examination or testing. Burial sites take precedence over any project or program plan.”

Poarch Field Methodology Policy, p. 6 (April 1999) (emphasis in original), attached hereto as

Exhibit J.

       88.     The Poarch Field Methodology Policy also emphasized: “AGAIN! THE

POARCH BAND OF CREEK INDIANS TRIBAL ARCHAEOLOGICAL AND

HISTORIC RESOURCES CODE EMPHASIZES AVOIDANCE AND PRESERVATION

OF FEATURES RATHER THAN EXCAVATION.” Id. (emphasis in original).

       89.     On information and belief, after the National Park Service delegated historic

preservation responsibilities to Poarch, Poarch reversed these policies with respect to the

Hickory Ground Site.

       90.     In 2001, various parties complained to the Bureau of Indian Affairs and others

that Poarch was disturbing the Hickory Ground Site.

       91.     In response to these complaints, the Bureau of Indian Affairs Archaeologist and

Federal Preservation Officer recommended that the Bureau of Indian Affairs conduct an

investigation at the site to determine whether ground-disturbing activity was damaging

archaeological resources in violation of ARPA. Briefing Statement to Assistant Secretary for

Indian Affairs (10/1/2001).

       92.     The Bureau of Indian Affairs concluded as of March 2002 that no burials or

archaeological resources had yet been disturbed on trust land.

       93.     The complaints—which continued through 2001 and 2002, notified the Bureau of

Indian Affairs, the Secretary of Interior, and the Assistant Secretary of Indian Affairs that



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continued ground-disturbing activity would result in irreparable damage to the Site in violation

of applicable law on lands that Interior considered to be trust lands.

       94.     The complaining parties included the Alabama Historical Commission, the

Governor of Alabama, then-Senator Jeff Sessions, Dr. Craig Sheldon with Auburn University

(who had authored several archaeological reports on the Hickory Ground Site), and the City of

Wetumpka (via a lawsuit). See Letter from L. Warner, Exec. Director of Alabama Historical

Commission, to Secretary of Interior (10/26/2001); Letter from D. Siegelman to Secretary of

Interior (11/14/2001); Letter from C. Sheldon to Alabama Historical Commission (1/28/2002);

Letter from L. Warner, Exec. Director of Alabama Historical Commission, to Hon. Jeff Sessions

(3/14/2002); City of Wetumpka Amended Complaint, Civil Case No. 01-A-1146-N (M.D. Ala.

11/9/2001).

       95.     The Alabama State Historic Commission also listed Hickory Ground as a “place

in peril” in the year 2000, and listed yet another Poarch casino site in Montgomery as a “place in

peril” in 2002, as Poarch’s construction of a casino in that location also threatened Muscogee

(Creek) burial mounds.

       96.     Despite these warnings, Interior (including the National Park Service) failed to

conduct the required reviews of Poarch’s compliance with the NPS Agreement and failed to

enforce federal law.

       97.     Such reviews should have taken place by 2004, 2008, and 2012.

       98.     The National Park Service did not conduct any such reviews.

       99.     If it had, it would have discovered that Poarch violated the NPS Agreement and

other federal laws.




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E.      Poarch Builds A Casino Resort Over A Muscogee (Creek) Sacred Site.

        100.     After the 20-year covenant expired in July 2000 and Poarch secured delegation of

historic preservation responsibilities, Poarch caused a significant portion of the Hickory Ground

Site to be destroyed to make way for its second casino resort (Poarch already had one in

Atmore).

        101.     At Poarch’s direction, archaeologists affiliated with Auburn University conducted

a phase III excavation of the Hickory Ground Site.

        102.     On information and belief, this excavation commenced in the years following

delegation by the National Park Service to Poarch of historic preservation responsibilities, and

ended in 2011.

        103.     Phase III excavations are designed to record the data a site contains before a

project proceeds and the site is lost.

        104.     Collecting this data involves the archaeologists disturbing remains, funerary

objects, and additional cultural materials through the excavation of soil across the site. After the

items are excavated and collected, they are taken to a laboratory where the materials are washed

and analyzed. Analysis for the funerary objects and other cultural materials and soil may also

include Accelerator Mass Spectrometry dating (carbon-14 dating), chemical analysis, organic

residue analysis, and other examinations.

        105.     Not all cultural items are removed during a phase II excavation and before

construction. Generally, the task of phase III investigators is to record archaeological information

about the site before development. Archaeologists remove some material, but other cultural items

are left at the site. This means that the construction at Hickory Ground likely destroyed many

cultural items forever.



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       106.    On information and belief, no phase III excavation of the Hickory Ground Site

had taken place before the excavation ordered by Poarch after the protective covenant expired.

       107.    However, earlier investigations commissioned by Poarch concluded at least as

early as 1990 that “well defined and undisturbed cultural remains,” including human burials,

were abundant at the Site.

       108.    To perform the phase III excavation, Auburn University, at the behest of Poarch,

obtained archaeological permits under the Archaeological Resources Protection Act. At least

some, if not all, of these permits required that the permittee:

           a. Abide by the “Archaeological Resources Protection Act … and its regulations …

               and interdepartmental regulations (25 CFR 261) as to Indian lands”;

           b. Abide by “the Native American Graves Protection and Repatriation Act of 1990

               [and] the regulations for the curation of Federally-owned and administered

               archaeological collections (36 CFR 79)”;

           c. Follow special permit conditions requiring that any “[e]xcavation or removal of

               any Native American human remains, funerary objects, sacred objects, and

               objects of cultural patrimony must be preceded by consultation or, in the case of

               tribal lands, consent of the appropriate Indian tribe or Native Hawaiian

               organization. Consultation should be conducted with the lineal descendants, tribal

               land owners, Native American representatives, and traditional religious leaders of

               all Indian tribes and Native Hawaiian organizations that can reasonably be

               assumed to be culturally associated with the cultural items”; and

           d. “[W]ithin approximately 6 weeks of the conclusion of field work,” submit “a

               preliminary report of work performed under th[e] permit, illustrated with



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               representative photographs and listing new and significant collected materials” to

               the Bureau of Indian Affairs.

       109.    Poarch did not comply with the prerequisite conditions listed in the permits.

       110.    Poarch did not consult with, or obtain consent from, the Muscogee (Creek)

Nation, Hickory Ground Tribal Town, or Mekko Thompson, the recognized traditional religious

leader of Hickory Ground Tribal Town, before commencing the phase III excavation at Hickory

Ground.

       111.    Nor did Poarch submit the required report of work performed under the permits to

the Bureau of Indian Affairs.

       112.    Likewise, none of the Federal Defendants consulted with, or obtained consent

from, the Muscogee (Creek) Nation, Hickory Ground Tribal Town, or Mekko Thompson prior to

granting each permit allowing the phase III excavation to take place.

       113.    Nor did Interior “ensure that the work was conducted in accordance with statutory

and regulatory requirements and any terms and conditions stipulated in the permit,” as the permit

stated it would do.

       114.    With the grant of each ARPA permit, Interior performed a new application of its

unauthorized decision to take lands into trust for Poarch, as the ARPA permits only allowed

excavations to take place “on lands under the jurisdiction of the Department of Interior.”

F.     To Make Way For Its Casino Resort, Poarch Desecrates The Muscogee (Creek)
       Human Remains And Funerary Objects.

       115.    The graves at Hickory Ground are abundant and unmarked.

       116.    According to Auburn’s archeologists who performed initial archaeological

investigations at the Hickory Ground Site on behalf of Poarch, “[i]n almost all tested areas

evidence of well defined and undisturbed cultural remains were discovered.” Sheldon et al.,

                                                30
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Additional Archaeological Investigations of the Hickory Ground Site, p. 27 (1990). “[I]t is

virtually impossible to undertake any construction activities without a high probability of

seriously damaging the many irreplaceable archaeological deposits, artifacts, and human graves

remaining at Hickory Ground.” Declaration of Craig Sheldon, p. 3 (9/27/2001).

       117.    At least 57 sets of human remains along with their associated funerary objects

were exhumed during the phase III excavation.

       118.    These human remains represent the direct lineal ancestors of Hickory Ground

members. Under Muscogee (Creek) tradition and religion, Mekko George Thompson, as Chief of

Hickory Ground, represents those members, including in decisions on the appropriate actions to

take with regard to the remains.

       119.    Numerous other artifacts were removed from the Site.

       120.    On information and belief, Poarch directed that the cultural items from the

Hickory Ground Site be stored in a manner that caused, and is continuing to cause, further

damage to the items.

       121.    Some cultural items, including human remains, are still in storage.

       122.    On information and belief, the containers and buildings in which the items were

stored (and in which some items, including human remains, are still stored) did not (and still do

not) have proper ventilation, did not (and still do not) have temperature controls, improperly

separated (and continue to improperly separate) funerary objects from the human remains with

which they were buried, and did not (and still do not) otherwise meet minimum curatorial

standards.

       123.    This manner of storage can cause mold and accelerate decomposition.

       124.    This manner of storage is viewed as abhorrent in the Muscogee (Creek) religion.



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       125.    Over 7,000 archaeological features, representing historic and ancient Muscogee

(Creek) buildings, houses, ceremonial locations, and other sacred locations, were recorded

during the phase III excavation and then destroyed by the excavation and later construction of

the casino.

       126.    The remains and artifacts removed from the site were subjected to archaeological

examination.

       127.    In the Muscogee (Creek) religion, archaeological examination violates the

sanctity of tribal ancestors and destroys the ancestors’ spiritual existence until they are put back

at peace using appropriate religious protocol.

       128.    In the Muscogee (Creek) religion, the soil that surrounds a body is considered part

of the body, because as the remains decompose, they are absorbed into the soil. Thus, removing

the soil from around the body is akin to removing a limb in the Muscogee (Creek) religion.

       129.    On information and belief, Poarch failed to instruct Auburn to treat the soil

surrounding human remains as part of the body during the excavation by removing the

surrounding soil along with the bones.

       130.    As a result, the excavations and subsequent construction resulted in parts of the

bodies being permanently removed from the remains and spread across undisclosed locations.

       131.    The casino resort was likely built on top of these body parts.

       132.    Martin Construction, a construction company owned by a Poarch Band member,

performed construction services to build the Wetumpka casino resort from 2012 to 2014.

       133.    Martin Construction undertook the majority of these activities after Plaintiffs filed

a complaint emphasizing the religious and cultural importance of the Site, notifying Defendants

of violations of applicable law, and requesting immediate injunctive relief to halt these activities.



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See Dkt. Nos. 1 & 57.

       134.    On information and belief, Poarch and/or Martin Construction failed to maintain

adequate records of inadvertent discovery of cultural items during construction activities.

       135.     On information and belief, Poarch and Martin Construction failed to stop activity

when cultural items were discovered.

       136.    Constructing a building on a site prevents non-invasive analysis of whether

remains are still present under the building.

G.     Plaintiffs Repeatedly Request That The Hickory Ground Site Be Preserved As
       Poarch Promised.

       137.    On information and belief, Poarch first notified the Muscogee (Creek) Nation of

the phase III excavation in 2006.

       138.    By that time, some human remains from the Hickory Ground Site had already

been exhumed and archaeologically examined as part of the phase III excavation.

       139.    Beginning in 2006, Plaintiffs engaged in a years-long effort to persuade Poarch

not to excavate and desecrate the remains of Plaintiffs’ ancestors and other cultural items and to

return any cultural items already excavated from Hickory Ground to their original resting place.

       140.    This leader-to-leader effort is the traditional way that the Muscogee (Creek)

Nation and Hickory Ground attempt to resolve disputes.

       141.    This effort to negotiate methods for enforcing the common law and statutory

protections of Plaintiffs’ rights regarding Hickory Ground eventually failed in 2011.

       142.    After visitation and discussion with Poarch and Auburn University in 2006 and

2007 regarding human remains and associated funerary objects that were being exhumed at

Hickory Ground, Mekko George Thompson, on behalf of Plaintiffs, sent a letter dated March 12,

2008 to the Director of the National Park Service relaying eight allegations regarding NAGPRA

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violations arising from disturbance and/or removal of human remains and funerary objects from

the Hickory Ground Site.

       143.    These allegations were based upon personal observations of Mekko Thompson

and other members of Hickory Ground during their visits to the Hickory Ground Site.

       144.    In an April 21, 2009 letter from the Department of the Interior to Auburn

University, which was copied to Plaintiff Mekko Thompson, Interior conveyed its determination

that Plaintiff Thompson’s claims and allegations of violations under NAGPRA “have not been

substantiated,” based on eight factual findings and legal conclusions.

       145.    Interior’s determination was based largely on its incorrect determination that

Poarch retained legal interest in the “NAGPRA items from the Hickory Ground site.” With this

determination, Interior once again performed a new application of its unauthorized decision to

take lands into trust for Poarch, as the determination relied not only on an incorrect application

of NAGPRA, but on the presumption that the lands were “tribal lands” belonging to Poarch

within the definitions in NAGPRA.

       146.    However, under NAGPRA, Poarch never had either ownership or the right of

control over the disposition of the excavated human remains and associated funerary objects. 25

U.S.C. §§ 3002(a), (c)(2)-(3).

       147.    Instead, Mekko Thompson, as the representative of all lineal descendants of the

ancestors buried at Hickory Ground under the Muscogee (Creek) traditional kinship structure,

has ownership and right of control over the disposition of such remains and objects.

       148.    Plaintiffs repeatedly requested that the remains of their ancestors and associated

funerary objects be reinterred in their original resting places, that no further exhumations occur,

that the construction and excavation stop, and that Hickory Ground be preserved in a natural



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state.

         149.   Poarch, through its officials, eventually refused all these requests. Upon

information and belief, Poarch never intended to comply with Plaintiffs’ requests.

H.       Poarch Intentionally Excludes The Muscogee (Creek) Nation And Hickory Ground
         From Decisions About Their Ancestors’ Reburial And Conducts The Reburial In
         Secret.

         150.   After the years-long excavations were completed, and with the knowledge that

Plaintiffs’ religion required the cultural items to be placed in their original and intended final

resting place, Poarch hurriedly reburied most of those remains and objects away from their final

resting places in 2012.

         151.   Poarch did so while avoiding having any Muscogee (Creek) or Hickory Ground

members present for the reburial.

         152.   Poarch accomplished this by unilaterally deciding to rebury the remains in April

2012 without consulting with the Muscogee (Creek) Nation or Hickory Ground Tribal Town, and

then purposefully providing late notice of the planned reburial to Mekko Thompson and the

Muscogee (Creek) Nation.

         153.   On Wednesday, April 4, 2012, Buford Rolin (then-Chair of the Poarch Band) sent

letters via hardcopy mail to the P.O. Box addresses for Mekko Thompson and the Muscogee

(Creek) Nation Principal Chief. The letters stated that Poarch council members “hope that we”

(Mekko Thompson, the Muscogee (Creek) Nation, and Poarch) can “work together regarding re-

interment,” and asked that Mekko Thompson and the Principal Chief “[p]lease let us know as

soon as possible if you would like to join us” for the reburial. Letter to Mekko Thompson

attached as Exhibit K hereto.

         154.   The letters made no mention of the date of reinterment.



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       155.    The Principal Chief of the Muscogee (Creek) Nation did not receive the letter,

only learning of it after Mekko Thompson brought a copy to his office.

       156.    Once the Principal Chief learned about the letter, representatives of the Muscogee

(Creek) Nation immediately called Rolin’s office and the Poarch Band attorney.

       157.    On Friday, April 13, 2012, the Principal Chief of the Muscogee (Creek) Nation,

on behalf of the Muscogee (Creek) Nation and Mekko Thompson, sent a response to Rolin via

facsimile and mail (attached hereto as Exhibit L) requesting a “Tribal Leader to Tribal Leader”

discussion “as soon as possible.”

       158.    On Tuesday, April 17, 2012, Rolin sent another hardcopy letter (attached hereto

as Exhibit M) to Mekko Thompson and the Principal Chief of the Muscogee (Creek) Nation,

stating that “[w]hen we did not immediately hear from you in response to our April 4th letter, we

assumed you did not wish to participate in the reinterment process” and that “[l]ast week we

proceeded with the reinterment” of the remains and objects “in the manner to which we agreed

during prior discussions.”

       159.    In other words, after six years of negotiations, Poarch sent ambiguous letters to

Muscogee (Creek) Nation and Hickory Ground stating that it intended to rebury the remains and

objects at some unidentified date in the future. Poarch then unilaterally reinterred the remains

and objects without waiting for a response. It conducted the reinterment less than 10 days after

sending the letters to Mekko Thompson and Chief Tiger.

       160.    At no point did any Plaintiff agree to reinterment away from the remains’ and

associated funerary objects’ original resting place.

       161.    At the time of the reburial, Poarch was aware that Mekko Thompson and the

Muscogee (Creek) Nation wanted the remains and associated funerary objects to be reinterred in



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their original resting place.

        162.    For example, in a letter to the Muscogee (Creek) Nation and Mekko Thompson in

November 2010 (attached hereto as Exhibit N), Rolin acknowledged that “the beliefs and

customs of the [Hickory Ground ceremonial grounds leadership]” required “reinterment in [the

original resting] place,” and that Hickory Ground had requested reburial in such places.

        163.    At the time of the reburial, Poarch was aware that the remains and associated

funerary objects that it was reburying would have to be exhumed again if they were to be

reinterred in their original resting place.

        164.    During reinterment, Poarch officials performed ceremonies viewed as abhorrent

in the Muscogee (Creek) religion because they violate religious protocol, further desecrating and

disrespecting the remains of the Hickory Ground people.

        165.    On or about July 11, 2012, Poarch announced plans to construct a $246 million

casino resort on Hickory Ground.

        166.    Poarch moved forward with casino construction in October 2012, issuing a press

release (attached hereto as Exhibit O) stating that “we are being faced with demands to remove

ancestral remains that have already been reinterred. . . . We cannot change the fact that remains

were found and removed. Those remains are now reinterred and we cannot support disturbing

those remains again. . . . [N]o one cares more about the sanctity of our land . . . than we do.”

        167.    The press release falsely stated that the remains “have been reinterred at Hickory

Ground Town [sic] in a manner previously agreed to by traditional leaders in Oklahoma.”

        168.    In response to continuing objections from the Plaintiffs to the desecration of their

sacred site and their ancestors’ burial sites, Defendant Stephanie Bryan, on behalf of Poarch,

mailed a letter to tribal leaders nationwide.



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        169.   On information and belief, this letter was sent in 2013.

        170.   In the letter (attached hereto as Exhibit P), Bryan attached a “fact sheet”

containing statements indicating that Poarch believes that applicable law allows it to destroy and

mistreat Muscogee (Creek) human remains and other cultural items on trust lands without notice

to, consultation with, or consent from the Muscogee (Creek) Nation.

        171.   The letter falsely states that Poarch “is under no legal obligation to negotiate with

any other sovereign Indian nation” about activities on its trust lands.

        172.   The letter falsely states that the “Wind Creek Wetumpka development protects

our past.”

        173.   The letter also falsely states that “[Poarch] is in compliance with all applicable

federal historic and cultural preservation laws pertaining to the property.”

        174.   The letter also misrepresents the importance, quality, and quantity of the

archaeological resources at the Site, falsely suggesting that they were not well-preserved or

significant.

        175.   The letter falsely states that it was “consistent with the Muskogee [sic] Tribe’s

[sic] Constitution” to reinter the remains away from their original resting places “with prayer and

ceremony.”

        176.   The letter falsely states that the remains were “reintered [sic] with dignity and

honor.”

        177.   The letter makes no mention of the phase III excavation or removal of human

remains or funerary objects pursuant to the phase III excavation.

        178.   The statements listed in Paragraphs 171 to 177 are false and misleading, and

highlight the outrageous disrespect with which Poarch treated the religious and cultural beliefs of



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the Plaintiffs.

I.      Hickory Ground Today And The False Promise Of Preservation.

        179.      In 1988, the Hickory Ground Site looked like this:




Cameron Wallace Gill, Ceramic Analysis of Proto-Historic Domestic Structures from 1EE89: A

Transitional Culture on the Coosa 2 (Auburn University Thesis, December 13, 2010).

        180.      The Hickory Ground Site looked like this by September 2012 (see next page):




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Google Earth Image (9/23/2012).

       181.   The numerous archaeological features and cultural items found throughout the

Site are shown on the next page:

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Kelly Ervin, A Comparative Spatial Analysis of Two Communities from the Hickory Ground Site

in Wetumpka, Alabama 26 (Auburn University Thesis, December 13, 2014).

        182.   The archaeological features and cultural items relative to the casino resort are

shown below:




Id. at 28.
                                              42
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      183.   Today, the Hickory Ground Site looks like this:




Google Maps Image (2019).
                                             43
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        184.    Poarch’s wrongful actions are not only continuing, they are capable of repetition

and evading review.

        185.    There are still Muscogee (Creek) burials, funerary objects, and other cultural

items in the lands at the Hickory Ground Site.

        186.    There are also significant Muscogee (Creek) burials, funerary objects, and other

cultural items in Poarch’s Montgomery lands—which Interior also incorrectly and without

authority took into trust.

        187.    Under Poarch’s stated interpretation of the law, it can destroy these sites and any

burials contained therein without notifying the Muscogee (Creek) Nation.

        188.    Poarch’s conduct demonstrates that it is more than willing to act unilaterally, in

breach of its preservation promises made to obtain the land and without regard to the

requirements under the NPS Agreement and federal law. Prior to the phase III excavation,

Poarch knew that Hickory Ground held historical, cultural, and spiritual significance to the

Muscogee (Creek) Nation and Hickory Ground, and that any destruction or unearthing of

remains at Hickory Ground would, in Poarch’s own words from its preservation grant

application, “destroy[] the cultural history of Creek people.”

        189.    Plaintiffs seek to restore, to the extent possible, the Hickory Ground Site to the

condition it was in before the wrongful excavation and construction of the casino resort, to

compel Poarch to abide by its agreement to preserve Hickory Ground “without excavation,” to

hold the Defendants responsible for the outrageous harm they caused to the Plaintiffs, and to

declare Defendants’ responsibilities under applicable law to prevent continuing violations of the

Plaintiffs’ rights.




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           COUNT I: VIOLATION OF THE INDIAN REORGANIZATION ACT

        190.    Under the Indian Reorganization Act, 25 U.S.C. § 5123 et seq., a tribe must have

been “under federal jurisdiction” in 1934 in order for Interior to have authority to take land into

trust for the tribe. See also Carcieri v. Salazar, 555 U.S. 379 (2009).

        191.    Because Poarch was not under federal jurisdiction in 1934, see Paragraph 76, the

Secretary did not have authority to take the Hickory Ground Site into trust for Poarch. Thus, the

trust transaction was unlawful, ultra vires, and void ab initio.

        192.    Because the Hickory Ground Site was not validly taken into trust, Interior did not

have authority to grant permits allowing the phase III archaeological excavations.

        193.    The gaming at the Hickory Ground Site is illegal under the Indian Gaming

Regulatory Act, 25 U.S.C. § 2701 et seq., because such gaming can only occur on certain trust

lands. Because it was taken into trust in violation of the Indian Reorganization Act, the Hickory

Ground Site does not constitute trust land where gaming can legally occur.

        194.    The Hickory Ground Site is properly considered fee land owned by Poarch that is

subject to state, not federal, law.

        195.    Given Poarch’s representations to the Muscogee (Creek) Nation that Poarch

would always protect the Hickory Ground Site, Plaintiffs had no reason to believe they would be

harmed by Interior’s acceptance of the Hickory Ground Site in trust for Poarch in 1985.

        196.    It was not until 2006 that Poarch notified the Muscogee (Creek) Nation that

Poarch was not protecting the Hickory Ground Site from development “without excavation,” as

it had promised it would do.

        197.    This Court should declare that Interior lacked authority to take land into trust

because Poarch was not “under federal jurisdiction,” and therefore Interior’s taking of the

Hickory Ground Site into trust for Poarch was void ab initio.
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       198.    Because the trust transaction is void, the Hickory Ground Site is not tribal

reservation or federal land. Instead, Poarch retains fee simple title to the Hickory Ground Site.

       199.    Gaming on the Hickory Ground Site is thus not legal under applicable Alabama

law and the Indian Gaming Regulatory Act, 25 U.S.C. § 2701 et seq. (authorizing gaming on

“Indian lands” only).

    OPERATIVE COUNTS IF THIS COURT RULES IN FAVOR OF PLAINTIFFS ON
    COUNT I AND DETERMINES INTERIOR LACKED AUTHORITY TO TAKE THE
              HICKORY GROUND SITE INTO TRUST FOR POARCH

       200.    Counts II-IV of this Complaint present claims that are applicable only if the Court

determines that the Department of the Interior lacked authority to take the Hickory Ground Site

into trust for Poarch.

           COUNT II: UNJUST ENRICHMENT (ALABAMA COMMON LAW)

       201.    Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

       202.    Poarch unjustly enriched itself by acquiring the Hickory Ground Site at no cost to

Poarch and without objection from Plaintiffs based on promises that it would perpetually protect

the Site. Instead of preserving the Site in accordance with its promises, Poarch has further

unjustly enriched itself by destroying a large part of the Site to make way for a multimillion-

dollar casino resort that is generating hundreds of millions of dollars in gambling and resort

revenues for Poarch each year.

       203.    In its application for federal preservation grant funds, Poarch expressly assured

that its acquisition of the Hickory Ground Site would result in the “existing Hickory Ground

tribal town in Oklahoma…. know[ing] their home in Alabama is being preserved,” “without

excavation”; that Poarch would provide “permanent protection of the site”; and that “Hickory

Grounds may also be a place where Creeks from Oklahoma may return and visit their ancestral

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home.” Poarch warned that “[d]estruction of archaeological resources in Alabama … destroy[s]

the cultural history of Creek people.”

       204.    Poarch continued to make promises of protection of Hickory Ground in the

presence of Muscogee (Creek) Nation prior to Poarch’s recognition.

       205.    Poarch’s bid for federal recognition was accompanied by a proposal to take

Hickory Ground into trust as part of Poarch’s initial reservation.

       206.    Had the Muscogee (Creek) Nation known that Poarch would desecrate Hickory

Ground, it would have taken steps to prevent Poarch from acquiring the land and would have

opposed Poarch’s bid for federal recognition.

       207.    In justifiable reliance on Poarch’s promises in the federal preservation grant

application, including promises that Poarch would provide “permanent protection of the site,”

“without excavation,” so that “Creeks from Oklahoma may return and visit their ancestral

home,” the Muscogee (Creek) Nation did not object to Poarch’s acquisition of Hickory Ground

in fee or in trust. Instead, the Muscogee (Creek) Nation supported Poarch’s bid for recognition.

       208.    Thus, Poarch not only acquired the Hickory Ground Site at no cost, it also gained

the benefit of the Muscogee (Creek) Nation’s support in its federal recognition bid and the

Nation’s lack of objection to Poarch acquiring the Hickory Ground Site.

       209.    Poarch further unjustly enriched itself by expediting the construction and opening

of the casino through (1) knowingly and intentionally breaching the NPS Agreement by avoiding

providing notice to, or consulting with, Plaintiffs or involving the Plaintiffs in any way with

respect to the exhumation or reburial of their deceased family members; and (2) choosing to

continue construction after Plaintiffs repeatedly demanded that Poarch cease all plans for

development of the Site and return the human remains, funerary objects, and other cultural items



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to their original resting places.

        210.    Poarch knew that it would not have obtained the preservation funds, the

Muscogee (Creek) Nation’s support and lack of objection to acquisition of the Site, or the

National Park Service’s Agreement to entrust it with historic preservation responsibilities if it

had disclosed that it would desecrate, damage and destroy large portions of the Site in the future.

        211.    It would be inequitable for Poarch, who benefited from acquiring the Hickory

Ground Site (at no cost) based on its promises of permanent protection, to profit to the tune of

billions of dollars in gambling revenues by breaching those promises and irreparably harming

those who trusted that it would keep its promises.

        212.    The Court should impose equitable remedies, among other things, requiring the

Poarch Council Defendants, PCI Gaming Authority Board Defendants, and Poarch THPO to

abide by Poarch’s promises and restore the property, to the greatest extent possible, to its pre-

excavation and pre-construction condition.

        213.    The Court should order the Federal Officer Defendants to take any actions that

may be necessary to implement the above-described equitable remedies.

         COUNT III: PROMISSORY ESTOPPEL (ALABAMA COMMON LAW)

        214.    Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

        215.    Poarch promised the Muscogee (Creek) Nation and Hickory Ground that it would

preserve the Hickory Ground Site in perpetuity.

        216.    The Muscogee (Creek) Nation relied on that promise to its detriment in not

objecting to Poarch’s acquisition of the property, either in fee or trust, and in supporting Poarch’s

federal recognition.

        217.    Poarch was aware that, had the Muscogee (Creek) Nation known that Poarch
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would not protect the Hickory Ground Site as it promised and instead would destroy Plaintiffs’

sacred burial grounds and religious sites, the Muscogee (Creek) Nation would have objected

immediately to Poarch’s acquisition of the land in any status (fee or trust) and made efforts to

prevent the acquisition.

       218.    The injustice of Poarch enriching itself by breaking its promises and thereby

causing irreparable harm to the Muscogee (Creek) Nation and Hickory Ground can only be

avoided by enforcing those promises. See Beatty v. Kurtz, 27 U.S. 566, 584-85 (1829); Bessemer

Land & Sykes v. Payton, 441 F. Supp. 2d 1220, 1224 (M.D. Ala. 2006); Improv. Co. v. Jenkins,

111 Ala. 135, 148 (1895).

       219.    The Court should impose equitable remedies, among other things, requiring the

Poarch Council Defendants, PCI Gaming Authority Board Defendants, and Poarch THPO to

abide by Poarch’s promises and restore the property, to the greatest extent possible, to its pre-

excavation and pre-construction condition.

       220.    The Court should order the Federal Officer Defendants to take any actions that

may be necessary to implement the above-described equitable remedies.

                                  COUNT IV: OUTRAGE
                   (Plaintiff Mekko Thompson Against The Individual Defendants
                                And Defendant Martin Construction)

       221.    Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs. Plaintiff Mekko Thompson is the only Plaintiff asserting a claim under

this Count.

       222.    Under Alabama law, outrage occurs where the defendant’s conduct (1) was

intentional or reckless; (2) was extreme and outrageous; and (3) caused emotional distress so

severe that no reasonable person could be expected to endure it.



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        223.   The Individual Defendants, knowing that Hickory Ground and the human remains

and funerary objects buried there were sacred in the culture and traditional religion of Mekko

Thompson, intentionally and outrageously caused the desecration of Hickory Ground by ordering

that the bodies and funerary objects buried there be exhumed, disassociated, dismantled,

analyzed, and reinterred in a manner considered abhorrent in the Muscogee (Creek) traditional

religion.

        224.   Plaintiffs were robbed of the promise they relied upon—that Poarch would always

protect the Hickory Ground Site so that it would “be a place where Creeks from Oklahoma may

return and visit their ancestral home” and so that the Muscogee (Creek) Nation and Hickory

Ground members would “know their home in Alabama is being preserved.”

        225.   As the living descendants of the deceased, Plaintiffs, including Mekko Thompson,

owe a moral and religious duty to their ancestors under Plaintiffs’ traditional religion to care for

the graves and bodies of the deceased. Failing in that duty is considered to be a failure to one’s

ancestors, Tribal Town, Clan, and culture. As traditional chief of Hickory Ground Tribal Town,

Mekko Thompson has a heightened responsibility to fulfill this duty on behalf of all Hickory

Ground Tribal Town members. The Individual Defendants’ desecration of Plaintiffs’ deceased

family members at Hickory Ground has caused and is continuing to cause Mekko Thompson

abject pain, sorrow, anguish, torment, suffering, helplessness, grief, and anger.

        226.   The remains of the Hickory Ground members’ deceased family members were

placed in newspaper and plastic bins and left in a non-air conditioned shed through numerous hot

Alabama summers. The Individual Defendants even authorized the bodies of infants to be

exhumed. Bodies of Plaintiffs’ deceased family members were left exhumed, exposed, ill-

attended, and disregarded for years before Poarch wrongfully reinterred them away from their



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final resting places. Some remains, funerary objects, and cultural items have not been reinterred

and are still being stored in this manner.

        227.   The Individual Defendants intentionally concealed what was happening to

Plaintiffs’ ancestors from Plaintiffs, including Mekko Thompson. The fact that such a terrible

tragedy occurred without their knowledge has imposed an enduring feeling of helplessness and

fear in Mekko Thompson that this will happen again. Mekko Thompson, as chief of Hickory

Ground Tribal Town, has not been able to assure the children and young people of the Tribal

Town, or other related Clan members or Tribal Towns, that the Individual Defendants will be

held accountable for their egregious actions, or that Poarch will not commit similar atrocities in

the future.

        228.   The Individual Defendants further caused emotional distress to Mekko Thompson

by exhibiting blatant carelessness about the religious, historical, and cultural importance of the

Site to Plaintiffs, and by affirmatively and repeatedly lying about what happened at Hickory

Ground. It would have been unthinkable to the Plaintiffs, including Mekko Thompson, that the

Individual Defendants would commit such a sacrilege against the ancestors of any people or the

desecration of any people’s hallowed ground.

        229.   The Muscogee (Creek) Nation trusted Poarch and Poarch’s leadership, who claim

to be Creek people, to understand the Muscogee (Creek) members’ religious and cultural duties

to their ancestors. Plaintiffs trusted Poarch to protect Hickory Ground forever, just as Poarch

promised to do. Instead, the Individual Defendants intentionally prevented Mekko Thompson,

and Plaintiffs generally, from fulfilling Plaintiffs’ duties to their deceased family members and

sacred grounds, and caused Mekko Thompson the irreparable anguish of knowing that the

ancestors were wrenched from what was intended to be their final resting places, disrespected,



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and grotesquely mistreated.

          230.   Martin Construction, having notice of the Hickory Ground Site’s religious and

cultural significance to Plaintiffs and to Mekko Thompson specifically through having been

served with Plaintiffs’ Complaint, see Dkt. Nos. 1 & 57, proceeded with construction on the

Hickory Ground Site.

          231.   On information and belief, Martin Construction desecrated Plaintiffs’ ancestors’

remains by dismembering them through removing and discarding soil—part of those ancestors’

bodies.

          232.   On information and belief, Martin Construction also failed to stop construction

even after cultural items were discovered, intentionally desecrating gravesites of extreme

religious and cultural importance to Plaintiffs.

          233.   The Individual Defendants’ and Martin Construction’s intentional, extreme, and

outrageous behavior caused Mekko Thompson emotional distress so severe that no reasonable

person should be expected to endure it. The harm and emotional distress from the Individual

Defendants’ wrongful actions is, and will be, continuing until such time as Poarch is required to

take appropriate remedial measures.

          234.   Plaintiffs do not seek monetary damages against any tribal or federal defendant in

his or her official capacity. Mekko Thompson seeks monetary damages against the Individual

Defendants in their individual capacities, and against Martin Construction, for the tort of outrage

that they personally committed against him.

          235.   This Court should order the Individual Defendants and Martin Construction to

pay damages to Mekko Thompson for the extreme emotional distress they have caused him to

suffer.



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  OPERATIVE COUNTS IF THIS COURT RULES AGAINST PLAINTIFFS ON COUNT I

       236.    Counts V-IX of this Complaint present claims that are applicable if the Court

determines that the Department of the Interior had authority to, and properly did, take the

Hickory Ground Site into trust for Poarch.

           COUNT V: UNJUST ENRICHMENT (FEDERAL COMMON LAW)

       237.    Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

       238.    Because the elements of unjust enrichment under both federal and Alabama

common law are substantially the same, Plaintiffs specifically incorporate the allegations in

Paragraphs 202 through 213 above without repeating them here.

         COUNT VI: PROMISSORY ESTOPPEL (FEDERAL COMMON LAW)

       239.    Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

       240.    Because the elements of promissory estoppel under both federal and Alabama

common law are substantially the same, Plaintiffs specifically incorporate the allegations in

Paragraphs 215 through 220 above without repeating them here.

  COUNT VII: VIOLATION OF THE NATIVE AMERICAN GRAVES PROTECTION
                       AND REPATRIATION ACT

       241.    Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

       242.    Enacted in 1990, NAGPRA safeguards the rights of Native Americans by

protecting tribal burial sites and rights to items of cultural and religious significance to Native

Americans. Cultural items protected under NAGPRA include Native American human remains,

funerary objects, sacred objects, and objects of cultural patrimony. 25 U.S.C. § 3001(3).


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NAGPRA was intended to protect the dignity of the human body after death by ensuring that

Native American graves and remains be treated with respect.

       243.    NAGPRA confers jurisdiction to federal courts over “any action brought by any

person alleging a violation of this Act.” 25 U.S.C. § 3013.

       244.    Under NAGPRA, the intentional removal or excavation of Native American

cultural items from Federal or tribal lands is permitted only if:

            a. Such items are excavated or removed pursuant to a permit issued under section

               470cc of Title 16, which states that, before any permit is issued, “any Indian tribe

               which may consider the site as having religious or cultural importance” be

               notified and meaningfully consulted if such issuance “may result in harm to, or

               destruction of, any religious or cultural site”;

            b. Such items are excavated or removed after consultation with or, in the case of

               tribal lands, consent of the appropriate Indian tribe under 25 U.S.C. § 3002(c), 43

               C.F.R. § 10.5, 25 C.F.R. § 262.5(d) (providing that “[d]etermination as to which

               tribe is the appropriate tribe shall be made in accordance with § 262.8(a)”), and 25

               C.F.R. § 262.8(a) (listing lineal descendants as having the highest priority);

            c. The custody (ownership and right of control) of the disposition of such items is

               compliant with the priority order provided in NAGPRA, 43 C.F.R. § 10.6; and

            d. Proof of consultation or consent is shown to the Federal agency official

               responsible for the issuance of the required permit.

25 U.S.C. § 3002(c); 43 C.F.R. §§ 10.3, 10.5, 10.6; 25 C.F.R. § 262.5(d); and 25 C.F.R. §

262.8(a).

       245.    Sections 5 and 7 of the NPS Agreement likewise require Poarch to consult with



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Indian tribes on whose traditional lands the planned activity will occur, along with associated

individuals and groups who would be affected by Poarch’s activity on such lands.

       246.    As a delegee of federal functions, Poarch and its officials performing the

delegated functions are federal actors, liable as federal officials.

       247.    The following paragraphs allege multiple independent violations of NAGPRA

and conduct which is not in accordance with law, and is arbitrary, capricious, and an abuse of

discretion under the Administrative Procedures Act, 5 U.S.C. § 706.

       248.    Neither Poarch nor the Federal Defendants followed any of the requirements

listed in Paragraph 244.

       249.    Likewise, Poarch violated the NPS Agreement by failing to consult with Plaintiffs

prior to authorizing excavations and construction on the Hickory Ground Site.

       250.    NAGPRA and its associated provisions in ARPA require consent from the

Muscogee (Creek) Nation, as parens patriae representative of the lineal descendants at the Site

and as the tribe with the closest cultural and religious connection to the Site, prior to excavation

of Native American cultural items from the Hickory Ground Site. See 25 C.F.R. § 262.5(d),

262.8(a).

       251.    As the traditional kinship system representative of lineal descendants of those

buried at the Hickory Ground Site, Mekko Thompson has the right to custody of the human

remains and associated funerary objects at the Hickory Ground Site. See 25 U.S.C. § 3002; 43

C.F.R. §§ 10.6, 10.14. As the tribe most closely culturally and religiously affiliated with the

Hickory Ground Site, the Muscogee (Creek) Nation has the right to custody over all other

cultural items at the Site. Id.; see infra Paragraphs 262-270.

       252.    In violation of NAGPRA and ARPA, neither Poarch nor the Federal Defendants



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have given custody of (1) the human remains and funerary objects excavated at the Hickory

Ground Site to Mekko Thompson; or of (2) the other cultural items found at the Site to the

Muscogee (Creek) Nation. 25 U.S.C. § 3002; 43 C.F.R. § 10.3; 25 C.F.R. § 262.5(d); 25 C.F.R.

§ 262.8(a).

       253.      The National Park Service also violated NAGPRA by failing to establish a

preservation program for the protection of historic properties that ensures that the agency’s

procedures for compliance with Section 106 of the NHPA “provide for the disposition of Native

American cultural items from Federal or tribal land in a manner consistent with section 3(c) of

[NAGPRA].” 25 U.S.C. § 3002(c).

       254.      No final inventory or report regarding the cultural items recovered at the Hickory

Ground Site has been prepared, nor was the Muscogee (Creek) Nation consulted regarding such

report, as required by NAGPRA.

       255.      Furthermore, on information and belief, Poarch and Martin Construction violated

NAGPRA by failing to follow its mandatory procedures regarding inadvertent discoveries of

cultural items. On information and belief, no report of such discoveries was made to the

appropriate officials, and even if there were such reports, Poarch and Martin Construction failed

to stop the construction activity and take reasonable steps to protect the cultural items before

resuming activity. See 25 U.S.C. § 3002(b)-(c) and 43 C.F.R. § 10.4.

       256.      Had Poarch and the Federal Defendants complied with the consultation

requirements of NAGPRA, they would have been informed that the Muscogee (Creek) religion

requires the following:

              a. That no destructive scientific study take place on the cultural items, as such

                 testing violates the Muscogee (Creek) religious beliefs that the dead should



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              remain undisturbed;

          b. That, if disturbance is absolutely unavoidable, all parts of the human remains,

              including the surrounding soils, be removed and held together during excavation;

          c. That, if disturbance is absolutely unavoidable, the excavated remains and funerary

              objects be stored together in a certain fashion;

          d. That, if disturbance is absolutely unavoidable, Mekko Thompson, as religious and

              ceremonial leader of Hickory Ground, prescribe removal and reburial procedures

              that must be followed for the cultural items under Muscogee (Creek) religious

              protocol, including protocol for bundling of the remains and funerary objects;

          e. That, if disturbance is absolutely unavoidable, Mekko Thompson and other

              representatives of the Muscogee (Creek) Nation be present during handling of any

              remains or funerary objects, for any purpose, to ensure that such treatment

              conformed with, to the greatest extent possible, the Muscogee (Creek) religion.

       257.   Had Poarch and the Federal Defendants complied with NAGPRA, the Muscogee

(Creek) Nation would have refused consent for the excavation of the Hickory Ground Site.

       258.   Even if the Muscogee (Creek) Nation’s advance consent were not required prior

to any excavation and construction (it was), NAGPRA still required Poarch and the Federal

Defendants to meaningfully consult with the Muscogee (Creek) Nation prior to excavation or

construction. If Poarch and the Federal Defendants had consulted with Plaintiffs as they were

required to do under NAGPRA, they could have avoided tragedies such as the permanent

separation of body parts from the human remains of Plaintiffs’ deceased family members.

       259.   Further, if Poarch and Martin Construction had followed NAGPRA’s procedures

for inadvertent discoveries, further tragedies such as the permanent loss of remains and other



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cultural items could have been avoided.

       260.    NAGPRA gives this Court the “authority to issue such orders as may be necessary

to enforce” the statute. 25 U.S.C. § 3013.

       261.    To enforce the statute, this Court should issue an injunction requiring Poarch

Council Defendants, the PCI Gaming Authority Board Defendants, the Poarch THPO, and the

Federal Officer Defendants to obtain consent from the Muscogee (Creek) Nation for the

excavation and construction of the casino resort, and, if the Muscogee (Creek) Nation does not

consent:

           a. Requiring the Poarch Council Defendants, Poarch THPO, and PCI Gaming

               Authority Board Defendants to undo, to the greatest extent possible, the

               unconsented-to actions and restore the Site to its prior condition, to the greatest

               extent possible;

           b. Requiring the Federal Officer Defendants and Auburn to make such approvals

               and take such actions as may be necessary to accomplish reversal of the

               unconsented-to actions and restoration of the Site;

           c. Requiring Poarch Council Defendants, the Poarch THPO, the PCI Gaming

               Authority Board Defendants, the Federal Officer Defendants, and Auburn to

               involve the Muscogee (Creek) Nation throughout this process, including abiding

               by the Muscogee (Creek) Nation’s instructions regarding how all cultural items

               should be handled at all stages of the process; and

           d. Ordering such relief against Martin Construction as may be appropriate given its

               violations of NAGPRA’s provisions regarding inadvertent discoveries and its

               continuation of construction despite Plaintiff’s lawsuit.



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 COUNT VIII: PORTIONS OF NAGPRA AND ARPA, IF CONSTRUED IN A MANNER
   THAT RESULTS IN A SUBSTANTIAL BURDEN ON PLAINTIFFS’ RELIGION,
     VIOLATE THE FIRST AMENDMENT, THE RELIGIOUS LAND USE AND
    INSTITUTIONALIZED PERSONS ACT, AND THE RELIGIOUS FREEDOM
                          RESTORATION ACT

       262.    Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

       263.    The First Amendment of the United States Constitution prohibits Congress from

making any law “respecting an establishment of religion, or prohibiting the free exercise

thereof.”

       264.    Similarly, the Religious Land Use and Institutionalized Persons Act (“RLUIPA”)

prohibits the government from imposing or implementing “a land use regulation in a manner that

imposes a substantial burden on the religious exercise of a person, including a religious assembly

or institution, unless the government demonstrates that imposition of the burden on that person,

assembly, or institution (A) is in furtherance of a compelling governmental interest; and (B) is

the least restrictive means of furthering that compelling governmental interest.” 42 U.S.C.S. §

2000cc.

       265.    Likewise, the Religious Freedom Restoration Act, 42 U.S.C. § 2000bb, et seq.,

was enacted in 1993 and requires that federal governmental action that substantially

burdens a tribe’s religious practice or exercise must promote a compelling interest (rather

than simply having a rational basis). Its protections encompass tribal religious beliefs. See

American Indian Religious Freedom Act, 42 U.S.C. §§ 1996, et seq.

       266.    NAGPRA and related provisions in ARPA are laws specifically directed at

religion and religious practice, and establish rules governing whether intentional removal or

excavation of Native American cultural items from Federal or tribal lands can take place. If such

excavation can take place, NAGPRA establishes a priority preference regarding who should be
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given the excavated cultural items.

        267.    Specifically, excavation of Native American cultural items from tribal lands is not

permitted without the consent of the “appropriate Indian tribe.” See supra ¶ 244. If excavation is

allowed, NAGPRA provides that the cultural items be given to, in order of priority: first, the

lineal descendants; second, the tribal landowner (in the event lineal descendants cannot be

ascertained); third, the tribe who aboriginally occupied the subject lands; and fourth, the tribe

with the “strongest cultural relationship” with the cultural items.

        268.    As discussed in greater detail above, Plaintiffs owe a moral and religious duty to

their ancestors under Plaintiffs’ traditional religion to ensure protection of the graves, bodies, and

cultural items of the deceased. If those graves, bodies, or cultural items are disturbed, Plaintiffs

are required by their religion to bring such remains or items back to peace with the appropriate

religious protocol. Government action that does not allow them to do so forces them to choose

between either abandoning their religious beliefs or facing civil or criminal sanctions for

fulfilling their religious duty to their ancestors.

        269.    To the extent that the requirement of consent of the “appropriate Indian tribe”

under ARPA and the related provisions in NAGPRA are interpreted to allow any tribe other than

the Muscogee (Creek) Nation to provide consent for excavation or removal of cultural items with

respect to the Hickory Ground Site, (1) there is no compelling governmental interest, or even

rational basis, justifying the attendant burden on Plaintiffs’ religion, (2) the law does not use the

least restrictive means to further the governmental interest; and (3) these provisions violate the

First Amendment as applied to the Muscogee (Creek) Nation, and irreconcilably conflict with the

Religious Land Use and Institutionalized Persons Act and Religious Freedom Restoration Act.

        270.    To the extent that NAGPRA and the related provisions in ARPA are interpreted to



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provide higher priority of ownership of the excavated cultural items in any entity other than

Mekko Thompson or the Muscogee (Creek) Nation, (1) there is no compelling governmental

interest, or even rational basis, justifying the attendant burden on Plaintiffs’ religion, (2) 25

U.S.C. § 3002(a)(2) and associated provisions do not use the least restrictive means to further the

governmental interest; and (3) 25 U.S.C. § 3002(a)(2) and associated provisions (i) violate the

First Amendment as applied to Plaintiffs, who have an inviolable religious and cultural right to

the remains and other cultural items, and (ii) irreconcilably conflict with the Religious Land Use

and Institutionalized Persons Act and Religious Freedom Restoration Act.

 COUNT IX: VIOLATION OF THE ARCHEOLOGICAL RESOURCES PROTECTION
                               ACT

       271.    Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

       272.    Under ARPA, “[n]o person may excavate, remove, damage, or otherwise alter or

deface, or attempt to excavate, remove, damage, or otherwise alter or deface any archaeological

resource located on public lands or Indian lands unless such activity is pursuant to a permit

issued under [16 U.S.C. § 470cc].” 16 U.S.C. § 470ee; see also 25 C.F.R. § 262.3(a).

       273.    16 U.S.C. § 470cc(c), 25 C.F.R. § 262.5, 25 C.F.R. § 262.7, and the permits

obtained by Auburn to excavate at the Hickory Ground Site require that, at least 30 days before

issuing the permit, the Federal land manager notify all Indian tribes which may consider the site

as having religious or cultural importance if the permit may result in harm to, or destruction of,

any religious or cultural site, as determined by the Federal land manager.

       274.    The following Paragraphs allege multiple independent violations of ARPA and

conduct which is not in accordance with law, and is arbitrary, capricious, and an abuse of

discretion under the Administrative Procedures Act, 5 U.S.C. § 706.


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        275.    On information and belief, Poarch officials falsely represented that no religious or

cultural site would be harmed or destroyed by the proposed work at Hickory Ground, in violation

of ARPA, 25 C.F.R. § 262.5(c); the NPS Agreement; and Poarch’s agreement to perpetually

preserve Hickory Ground.

        276.    ARPA also requires consent from the Muscogee (Creek) Nation, as parens

patriae of the lineal descendants of those buried at the Site and as the tribe with the closest

cultural and religious connection to the Site, prior to excavation of Native American cultural

items from the Hickory Ground Site. See 25 C.F.R. §§ 262.5(d), 262.8(a).

        277.    The Federal Defendants did not notify, consult with, or get consent from the

Muscogee (Creek) Nation prior to issuing the ARPA permits, and did not ensure Poarch notified,

consulted with, or obtained consent from the Muscogee (Creek) Nation, in violation of ARPA,

the permit conditions, the NPS Agreement, and the Federal Defendants’ trust responsibility to

the Muscogee (Creek) Nation.

        278.    Even if it were legal to issue such permits without the Muscogee (Creek) Nation’s

consent (it is not):

            a. Poarch did not meet the conditions precedent of those permits;

            b. The Bureau of Indian Affairs issued permits allowing excavation of Hickory

                Ground without verifying that the conditions precedent were met;

            c. Neither Poarch nor the Federal Defendants notified or consulted with the

                Muscogee (Creek) Nation to discuss its interests, including ways to avoid or

                mitigate potential harm or destruction, prior to the Bureau of Indian Affairs

                issuing the permits, in violation of ARPA;

            d. The activities pursuant to the permits were “inconsistent with a[] management



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                 plan”—specifically, the NPS Agreement and Poarch’s agreement to perpetually

                 preserve the Hickory Ground Site;

           e. Poarch failed to curate the archaeological resources in accordance with 36 C.F.R.

                 § 79;

           f. The Bureau of Indian Affairs did not “ensure that the work was conducted in

                 accordance with statutory and regulatory requirements and any terms and

                 conditions stipulated in the permit.”

See Permit Conditions, supra Paragraph 108; 16 U.S.C. § 470cc(b)(4); 43 C.F.R. § 7.7; 25

U.S.C. § 3002(c).

       279.      Furthermore, on information and belief, Poarch (and/or Auburn at the behest of

Poarch) obtained some permits under section 470cc of Title 16, but such permits did not cover

the full time period during which the phase III excavations were performed under Poarch’s

direction on the Hickory Ground Site.

       280.      Thus, Poarch also violated ARPA by causing the excavation, removal, damage,

alteration and defacement of archaeological resources at the Hickory Ground Site without a valid

permit, as Poarch failed to meet the permit conditions precedent listed in Paragraph 108.

       281.      Because the above ARPA provisions are incorporated into NAGPRA, this Court

has the “authority to issue such orders as may be necessary to enforce” those provisions. 25

U.S.C. § 3013.

       282.      To enforce these provisions, this Court should issue an injunction requiring the

Poarch Council Defendants, the PCI Gaming Authority Board Defendants, the Poarch THPO,

and the Federal Officer Defendants to obtain consent from the Muscogee (Creek) Nation for the

excavation and construction of the casino resort, and, if the Muscogee (Creek) Nation does not



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consent, issue an injunction:

           a. Requiring the Poarch Council Defendants, the PCI Gaming Authority Board

               Defendants, and the Poarch THPO to undo, to the greatest extent possible, the

               unconsented-to actions and restore the Site to its prior condition, to the greatest

               extent possible; and

           b. Requiring the Federal Officer Defendants and Auburn to make such approvals

               and take such actions as may be necessary to facilitate reversal of the

               unconsented-to actions and restoration of the Site.

              OPERATIVE COUNTS REGARDLESS OF RULING ON COUNT I

       283.    Counts X through XI present claims that are applicable regardless of how the

Court rules on Count I, which relates to the authority of the Department of the Interior to take the

Hickory Ground Site into trust for Poarch.

   COUNT X: VIOLATION OF THE NATIONAL HISTORIC PRESERVATION ACT

       284.    Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

       285.    The Hickory Ground Site is subject to protection under the NHPA because it is

listed as a historic property on the National Register of Historic Places.

       286.    On information and belief, the Hickory Ground Site is currently considered to

include both tribal land (reservation lands, 54 U.S.C. § 300319) and federally-controlled land

(trust land, 54 U.S.C. § 306101) as defined in the NHPA.

       287.    The Secretary of Interior and the National Park Service are responsible for

delegations of their historic preservation responsibilities, including consulting with tribes whose

aboriginal land may be affected by such delegation. 54 U.S.C. § 302702. Despite any such

delegation, the National Park Service and Bureau of Indian Affairs retain all non-delegable

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responsibilities arising from the trust relationship between the United States and the Muscogee

(Creek) Nation. See 36 C.F.R. § 800.2(c)(2)(ii)(B)-(C).

       288.    When the National Park Service delegates its authority, the delegee carries out the

delegated responsibilities on behalf of the National Park Service. Poarch’s assumption of

responsibility under the NHPA pursuant to federal law means that Poarch acts as a de facto

government agency with respect to the delegated responsibilities.

       289.    Poarch’s, the National Park Service’s, and the Bureau of Indian Affairs’

performance of (and failure to perform) their historic preservation responsibilities regarding the

Hickory Ground Site are an “undertaking” within the meaning of 54 U.S.C. § 300320.

           a. Poarch received federal financial assistance to carry out its historic preservation

               responsibilities. See, e.g., 2011 Preservation Grant Announcement, available at

               https://www.bia.gov/sites/bia.gov/files/assets/public/press_release/pdf/idc014222.

               pdf (awarding Poarch over $30,000).

           b. The excavation and construction at the Hickory Ground Site also required prior

               Bureau of Indian Affairs’ approval under ARPA, the excavation permit

               conditions, NAGPRA, and the trust responsibilities arising therefrom.

               Furthermore, the gaming at the Hickory Ground site required the approval of

               gaming ordinances by Interior—an approval that is dependent on the land validly

               being held in trust.

       290.    The following Paragraphs allege multiple independent violations of NHPA and

conduct which is not in accordance with law, and is arbitrary, capricious, and an abuse of

discretion under the Administrative Procedures Act, 5 U.S.C. § 706.




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A.     Interior And Poarch Failed To Comply With Their Obligations To Meaningfully
       Consult With Plaintiffs.

       291.    The NHPA requires Interior to consult with “any Indian tribe … that attaches

religious and cultural significance to” a historic property. 54 U.S.C. § 302706.

       292.    This consultation duty extends through the entire NHPA Section 106 process. See

36 C.F.R. §§ 800.2, 800.4(a)(4), 800.4(d)(2), 800.5(a), 800.5(d)(2), 800.6.

       293.    Interior never consulted with the Muscogee (Creek) Nation regarding the

excavation or construction of a casino resort on the Hickory Ground Site, or the reburial of the

human remains and associated funerary objects, in violation of the aforementioned provisions

and its trust responsibilities to the Muscogee (Creek) Nation.

       294.    The Federal Defendants and Poarch also failed to invite the Advisory Council on

Historic Preservation to participate in the Section 106 process regarding Poarch’s planned

activities prior to those activities being undertaken, as required by the NHPA.

       295.    Poarch did not consult with the Muscogee (Creek) Nation prior to authorizing the

phase III excavation; actively avoided consulting with the Muscogee (Creek) Nation regarding

the reburial of the human remains and associated funerary objects; and did not meaningfully

consult with the Muscogee (Creek) Nation regarding the construction of the casino resort, as

Poarch made no adjustments to its plans in response to the adverse effects the construction would

clearly have on the Hickory Ground Site.

       296.    The National Park Service has never consulted with the Muscogee (Creek) Nation

regarding the continued delegation to Poarch of historic preservation responsibilities, despite the

continuing threat to Muscogee (Creek) religious and cultural sites caused by the continuing

delegation. These failures violate the 54 U.S.C. §§ 302702 & 302706, the NPS Agreement, and

the National Park Service’s trust responsibilities to the Muscogee (Creek) Nation.

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B.     Interior And Poarch Failed To Take Into Account The Effect On The Hickory
       Ground Site Of Allowing Excavation And Construction Of A Casino Resort, And
       Interior Failed To Take Into Account The Effect On The Hickory Ground Site Of
       Delegating Historic Preservation Responsibilities To Poarch.

       297.    The NHPA requires Interior to “take into account the effect of [any] undertaking”

on any National Register-listed site, in consultation with all tribes that “attach[] religious and

cultural significance” to the site. 54 U.S.C. § 306108; see also 36 C.F.R. § 800.5.

       298.    Poarch is required to do the same under the NPS Agreement.

       299.    The Bureau of Indian Affairs did not take into account, or consult with the

Muscogee (Creek) Nation regarding, the effect of approving/licensing Poarch’s excavation of the

Hickory Ground Site before granting permits for the excavation, and did not take into account

the effect of Poarch’s construction of a casino resort over the Hickory Ground Site before

approving the gaming operation at the Site.

       300.    Poarch likewise did not take into account, or consult with the Muscogee (Creek)

Nation regarding, the effect of Poarch’s excavation of cultural resources and construction of a

casino resort over the Hickory Ground Site.

       301.    The National Park Service failed to take into account the effect of delegating

preservation responsibilities to Poarch on the Hickory Ground Site before executing such

delegation, and has failed to take into account the effect of continuing to delegate such

responsibilities after Poarch failed to comply with the NPS Agreement and other applicable law.

       302.    The National Park Service further violated the NPS Agreement and the NHPA by

failing to perform the required reviews of Poarch’s performance under the Agreement and by

failing to perform required reviews of the threats to the Hickory Ground Site. See NPS

Agreement Section 14; 54 U.S.C. §§ 302108.

       303.    Had the National Park Service timely performed evaluations of Poarch’s

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compliance with the NPS Agreement, it would have “determine[d] that a major aspect of [the

tribal] program is not consistent with” the NHPA, obligating the Secretary to “disapprove the

program and suspend in whole or in part any contracts or cooperative agreements … until the

program is consistent with [the NHPA].” 54 U.S.C. § 302302; see also NPS Agreement § 15.

C.     Interior and Poarch Failed To Seek Ways To Avoid, Minimize, Or Mitigate The
       Harm To The Hickory Ground Site.

       304.    36 C.F.R. § 800.6 required Interior and Poarch (through the NPS Agreement) “to

seek ways to avoid, minimize, or mitigate the adverse effects” of the casino project on the Site

through, in part, (1) consulting with the Muscogee (Creek) Nation and (2) inviting the Advisory

Council on Historic Preservation to participate in the Section 106 process.

       305.    The excavation of, and construction of a casino resort at, the Hickory Ground Site

and the reburial of excavated human remains and associated funerary objects had numerous

foreseeable adverse effects, including but not limited to violations of the Muscogee (Creek)

religion, physical destruction and desecration of part of a Muscogee (Creek) sacred site; a change

of the character of the property’s use or of physical features within the Site’s setting that

contribute to its historic significance; and introduction of visual, atmospheric, and audible

elements that diminish the integrity of the Site’s significant historic features. 36 C.F.R.

§ 800.5(a).

       306.    Neither Poarch nor Interior sought ways to avoid, minimize, or mitigate the

adverse effects to the Hickory Ground Site prior to commencement of:

               a. The phase III excavation;

               b. The reburial of human remains and associated funerary objects; or

               c. The construction on the Site.

       307.    No memorandum of agreement was executed or implemented with respect to the

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Hickory Ground Site. 36 C.F.R. § 800.6.

       308.    Even if it were legal to excavate the Hickory Ground Site without the consent of

the Muscogee (Creek) Nation (it is not), the Poarch Council Defendants’, PCI Gaming Authority

Board Defendants’, and Martin Construction’s decision to proceed with the casino project

without first completing the required historic preservation review process foreclosed options that

would provide greater—and crucial—protection to burials and the Site, including a no-build

alternative and alternative locations.

       309.    To the extent that Federal Defendants have concluded that any effects of the

phase III excavation, construction, or reburial would be acceptable or adequately mitigated, such

conclusion represents a final agency action that is “arbitrary, capricious, an abuse of discretion,

or otherwise not in accordance with law” and thus a violation of the NHPA and the

Administrative Procedure Act. See 5 U.S.C. § 706(2).

D.     Poarch Violated Its Historic Preservation Responsibilities Under the NPS
       Agreement.

       310.    Poarch’s failure to notify and consult with Plaintiffs or take into account

Plaintiffs’ views on its planned actions that would affect the traditional lands (i.e., the Hickory

Ground Site) of the Muscogee (Creek) Nation violated Poarch’s responsibilities under Section 7

of the NPS Agreement.

       311.    Poarch’s failure to follow Section 106 of the NHPA in accordance with the

regulations codified at 36 C.F.R. § 800, including its failure to consult with the appropriate

federal agencies in accordance with Section 106, violated Poarch’s responsibilities under

Sections 1(G) and 5 of the NPS Agreement.




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E.     Poarch’s And The Federal Defendants’ Violation Of Their Historic Preservation
       Responsibilities Has Caused Serious, Irreparable, And Ongoing Harm to Plaintiffs.

       312.    Had the Federal Defendants or Poarch timely consulted the Muscogee (Creek)

Nation regarding the planned activities at the Hickory Ground Site, destruction of a holy site of

cultural and religious significance to the Nation could have been avoided, or, even if the

activities had continued, Plaintiffs could have in the very least instructed the Federal Defendants

and Poarch regarding how to treat the cultural items excavated at the site to avoid further

mistreatment of the items in violation of the law and the Muscogee (Creek) religion.

       313.    Had the Federal Defendants and Poarch timely involved the Advisory Council on

Historic Preservation prior to excavation and construction of a casino resort over the Hickory

Ground Site, the Advisory Council would have alerted the Federal Defendants and Poarch of the

dire effects of the planned undertaking on Hickory Ground and the necessity of consulting with

the Muscogee (Creek) Nation.

       314.    When the Advisory Council on Historic Preservation was finally notified of

Poarch’s excavation activities in 2006, it opined that the actions undertaken by Poarch had

“adversely affected the National Register-listed property,” and that “the archaeological surveys

and data recovery were not carried out in compliance with Section 106 of the NHPA.” Letter

from ACHP to National Indian Gaming Commission NEPA Compliance Officer, p. 1 (Nov. 14,

2006), attached hereto as Exhibit Q.

       315.    The Advisory Council concluded that Section 106 had been violated because

“there was no Federal agency review of the archaeological investigations carried out by the

Poarch Band … [and] no consultation with any other Indian tribe, particularly the Muscogee

Creek Nation. The initial notification of the ACHP (see 36 CFR 800.6(a)(1)) did not occur until

after the destruction of the site. Furthermore, there is no indication that the public has been

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notified about the nature of the undertaking and its effects on historic properties (36 CFR

800.3(e)).” Id. at 2. “Since the Section 106 process must be initiated by a Federal agency prior to

the initiation of project activities, it is unclear why the applicant, a tribe with a tribal historic

preservation office approved by the National Park Service pursuant to Section 101(d)(2) of the

NHPA, proceeded with project planning and archaeological investigations.” Id. at 1 (emphasis

added).

F.        The National Park Service Has Illegally Continued To Award Federal Preservation
          Funds to Poarch.

          316.   Section 110(k) of the NHPA prohibits a Federal agency from granting “assistance

to an applicant who, with intent to avoid the requirements of Section 106, has intentionally

significantly adversely affected a historic property to which the grant would relate, or having

legal power to prevent it, has allowed such significant adverse effect to occur.” 36 C.F.R.

§ 800.9.

          317.   Poarch “intentionally significantly adversely” affected the Hickory Ground Site,

over which it was delegated federal historic preservation responsibilities, with intent to avoid the

requirements of Section 106, and had the legal power to prevent such adverse effects but instead

allowed the adverse effects to occur.

          318.   Interior has continued to award federal preservation grants to Poarch in violation

of Section 110(k) of the NHPA. See, e.g., 2019 Preservation Grant Announcement, available at

https://www.nps.gov/orgs/1207/shpo_thpo_2019.htm          (awarding     Poarch    $55,000);    2018

Preservation Grant Announcement, available at https://www.doi.gov/pressreleases/interior-and-

national-park-service-announce-more-60-million-historic-preservation (awarding Poarch over

$56,000);        2011        Preservation      Grant       Announcement,          available       at

https://www.bia.gov/sites/bia.gov/files/assets/public/press_release/pdf/idc014222.pdf (awarding

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Poarch over $30,000).

       319.    This Court should order that the Federal Officer Defendants terminate their

delegation of historic preservation authority to Poarch and to cease awarding any historic

preservation grants to Poarch.

       320.    This Court should issue an injunction requiring the Poarch Council Defendants,

PCI Gaming Authority Board Defendants, Poarch THPO, and the Federal Officer Defendants to

comply with the NHPA and consult with the Muscogee (Creek) Nation to avoid or mitigate

further adverse effects to the Hickory Ground Site during restoration of the Site in accordance

with the requested relief in this Complaint.

   COUNT XI: VIOLATION OF THE RELIGIOUS FREEDOM RESTORATION ACT

       321.    Plaintiffs re-allege, as if fully set forth herein, the allegations contained in the

preceding Paragraphs.

       322.    The Religious Freedom Restoration Act, 42 U.S.C. § 2000bb, et seq., was enacted

in 1993 and requires that federal governmental action that substantially burdens a tribe’s

religious practice or exercise must promote a compelling interest (rather than simply having a

rational basis). Its protections encompass tribal religious beliefs. See American Indian Religious

Freedom Act, 42 U.S.C. §§ 1996, et seq.

       323.    Hickory Ground is a significant and sacred place to the Muscogee (Creek)

Nation, Hickory Ground Tribal Town, and Mekko George Thompson. Hickory Ground is a

sacred site unique to the Plaintiffs and the religious significance of it and the activities that

occur there cannot be replicated elsewhere.

       324.    Hickory Ground also is a significant and sacred place to Plaintiffs because the

remains of their ancestors were ceremonially buried there. The ceremonial ground located there

is regarded as a sacred place for prayer.
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       325.    Under Plaintiffs’ religion, they owe a moral and religious duty to their ancestors

to care for the graves and bodies of the deceased. Living tribal members—descendants of the

deceased—will fail in that duty if they are not permitted to complete required religious protocol

and return the bodies of their ancestors, along with their funerary objects, to their intended final

resting places. Government action that does not allow them to fulfill this duty forces them to

choose between either abandoning their religious beliefs or facing civil or criminal sanctions for

fulfilling their religious duty to their ancestors. Indeed, when Muscogee (Creek) citizens and

Hickory Ground Tribal Town members tried to comply with their religious duties at the Hickory

Ground Site in 2013, they were arrested and charged with crimes. See, e.g., Casey Toner, Ancient

Indian burial ground dispute at Wind Creek Casino set for Wednesday trial, AL.com, Jan. 14,

2015, available at https://www.al.com/news/2015/01/poarch_creek_muscogee_wind_cre.html.

       326.    Under Plaintiffs’ religion, their ancestors are not and will not be at peace unless

properly buried in accordance with Plaintiffs’ traditional religious protocol.

       327.    Under Plaintiffs’ religion, the ceremonial grounds cannot be entered or altered

without prior authorization and cleansing rituals. Poarch has allowed, and continues to allow,

access to the ceremonial grounds by unauthorized persons who desecrate the ceremonial grounds

by not following these rituals and by altering the grounds in violation of Plaintiffs’ religion.

       328.    It is sacrilegious in the Muscogee (Creek) traditional religion to have alcohol

anywhere near ceremonial grounds. In violation of this belief, the casino serves alcohol at all

times the casino is open, in close proximity to the ceremonial grounds. Indeed, the front page of

the Wind Creek Wetumpka site prominently features alcohol:




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Wind Creek Wetumpka site, https://windcreekwetumpka.com/ (last visited May 22, 2019).

       329.    Excavation and construction of the casino, buildings, parking lots, and other

facilities at Hickory Ground, and Poarch’s and the Federal Defendants’ exclusion of Plaintiffs

during the handling, treatment, and reburial of their ancestors’ remains and funerary objects,

substantially burden Plaintiffs’ exercise of their religious practices because these actions have,

and will continue to:

               a. Prevent Plaintiffs from fulfilling their ongoing religious obligations to their

                   ancestors to ensure that their deceased family members’ bodies are left at peace

                   in their original resting places and treated with respect and the proper religious

                   protocol;

               b. Actively desecrate the ceremonial grounds site and the bodies buried there by

                   leaving them where (1) persons unqualified and unauthorized to bury the

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                    bodies failed to observe the required protocol and thus left the bodies

                    perpetually disturbed; and (2) prohibited substances and practices (such as the

                    proximity of alcohol, intoxicated patrons, and entrance into the ceremonial

                    grounds by unauthorized persons who have not performed the required rituals)

                    continue to desecrate the ceremonial grounds;

                 c. Desecrate and damage a hallowed ground for practitioners of Muscogee

                    (Creek) traditional religion.

          330.   The above-listed actions will prevent Plaintiffs—absent acts of civil or criminal

disobedience—from exercising their religious obligations to their ancestors unless and until the

bodies and their associated funerary objects are placed back into their final resting places

following the proper religious protocol and the active desecration of the ceremonial grounds

ceases.

          331.   No compelling government interest makes destruction of the Hickory Ground Site

or continued operation of a third casino resort for Poarch necessary. The public interest, as

expressed in NAGPRA, ARPA, the NHPA, the ARPA permit conditions, the NPS Agreement, is

to preserve sites of historic, cultural, and religious importance, with paramount importance

placed on consultation with affected tribes. Especially here, where Poarch’s own promises to the

Muscogee (Creek) Nation, the federal government and the public at large indicated that Poarch

and the federal government knew the religious and cultural importance of Hickory Ground to

Plaintiffs and indicated that Poarch had no plans to ever build a commercial development on the

Hickory Ground Site (and instead acquired the Site to prevent this), there is no indicia that there

is any public interest in having a commercial development at the Site.

          332.   The federal government has at its disposal other, less restrictive means to serve



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any compelling interest it has while permitting Plaintiffs’ to fulfill their religious duties.

        333.    The Federal Defendants and Poarch have substantially burdened Plaintiffs’

religious freedoms by preventing them from fulfilling their religious duties to their ancestors and

by illegally allowing excavation and construction of a casino resort over a large portion of a

sacred site of critical religious importance to the Plaintiffs.

        334.    This Court should order that the Federal Officer Defendants, Poarch Council

Defendants, PCI Gaming Authority Board Defendants, and the Poarch THPO cease preventing

Plaintiffs from fulfilling their religious obligations. Specifically, this Court should order that the

Poarch Council Defendants, PCI Gaming Authority Board Defendants, and the Poarch THPO

cause the Hickory Ground Site to be restored, to the greatest extent possible, to the condition it

was in prior to the phase III excavation, construction, and reburial, and that the Federal Officer

Defendants and Auburn take the necessary actions to facilitate this process.

                                      PRAYER FOR RELIEF

        WHEREFORE, incorporating, restating, and re-alleging all preceding Paragraphs, the

Plaintiffs respectfully request that this Court:

            (a) Enter a judgment declaring that Interior lacked authority to take the Hickory

                Ground Site into trust for Poarch, and an order in the nature of mandamus

                requiring that Secretary Bernhardt take the Hickory Ground Site out of trust;

            (b) If this Court enters the judgment and order described in Paragraph (a):

                   i.   Enter a judgment declaring that Poarch should be held to its promises to

                        perpetually preserve the Hickory Ground Site under the Alabama common

                        law doctrines of unjust enrichment and promissory estoppel;

                  ii.   Enter an order imposing a remedy of constructive trust over the Hickory

                        Ground Site as relief for Poarch’s breach of its promises to the Muscogee
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                    (Creek) Nation;

             iii.   Enter a judgment declaring that the Individual Defendants’ and Martin

                    Construction’s actions constituted outrage, and an order awarding

                    appropriate monetary damages to Mekko Thompson;

              iv.   Enter a judgment declaring that Poarch violated the NHPA and the NPS

                    Agreement;

              v.    Enter an order in the nature of mandamus requiring Poarch Council

                    Defendants, PCI Gaming Authority Board Defendants, and the Poarch

                    THPO to abide by the NHPA with respect to the Hickory Ground Site;

              vi.   Enter an order in the nature of mandamus requiring that Federal Officer

                    Defendants comply with the NHPA by terminating any delegations of

                    historic preservation authority to Poarch and ceasing awarding federal

                    preservation grants to Poarch.

         (c) In the alternative, if this Court does not enter the judgment and order described in

            Paragraph (a), it should:

               i.   Enter a judgment declaring that Poarch should be held to its promises to

                    perpetually preserve the Hickory Ground Site under the federal common

                    law doctrines of unjust enrichment and promissory estoppel;

              ii.   Enter an order in the nature of mandamus requiring Poarch Council

                    Defendants, PCI Gaming Authority Board Defendants, and the Poarch

                    THPO to cause the Hickory Ground Site to be protected perpetually in

                    accordance with its promises to the Muscogee (Creek) Nation, including

                    through restoration of the property, to the greatest extent possible, to its



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                   pre-excavation and pre-construction condition, and requiring the Federal

                   Officer Defendants to take any necessary actions to implement these

                   remedies;

            iii.   Enter a judgment declaring that Poarch Council Defendants, PCI Gaming

                   Authority Board Defendants, the Poarch THPO, and the Federal

                   Defendants violated NAGPRA, ARPA, the NHPA, RFRA, and the NPS

                   Agreement; and that, with respect to Federal Defendants and Poarch

                   representatives acting as federal officers under the NPS Agreement, their

                   actions violated the Administrative Procedures Act;

             iv.   Enter an order in the nature of mandamus requiring Poarch Council

                   Defendants, PCI Gaming Authority Board Defendants, the Poarch THPO,

                   and the Federal Officer Defendants to abide by NAGPRA, ARPA, the

                   NHPA, RFRA, and the NPS Agreement in the future with respect to the

                   Hickory Ground Site;

             v.    Enter an order in the nature of mandamus requiring that Federal Officer

                   Defendants comply with the NHPA by terminating any delegations of

                   historic preservation authority to Poarch and ceasing awarding federal

                   preservation grants to Poarch;

             vi.   Enter a judgment declaring that Martin Construction violated NAGPRA’s

                   provisions regarding inadvertent discovery of cultural items, and an order

                   awarding such relief against Martin Construction as may be appropriate

                   given its violations of NAGPRA and its continuation of construction

                   despite Plaintiffs’ lawsuit.



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         (d) Whether or not the Court enters an order and judgment consistent with that

            described in Paragraphs (b) or (c) above, the Court should also:

               i.   issue a Permanent Injunction enjoining Poarch Council Defendants, PCI

                    Gaming Authority Board Defendants, the Poarch THPO, and the Federal

                    Officer Defendants from substantially burdening Plaintiffs’ religious

                    exercise by undertaking or providing assistance for any further ground

                    disturbing, clearing, grading, leveling, or construction activity at the

                    Hickory Ground Site, except that required to comply with (ii) below;

              ii.   Issue a Permanent Injunction ordering the Poarch Council Defendants,

                    PCI Gaming Authority Board Defendants, and the Poarch THPO to cause

                    the Hickory Ground Site to be returned to the condition it was in prior to

                    construction of the casino resort and the phase III excavation, including

                    returning the excavated cultural items to their original burial locations;

                    requiring Poarch to consult with and involve the Plaintiffs before, during,

                    and after this process to ensure the proper processes are followed; and

                    requiring the Federal Officer Defendants and Auburn to fully cooperate to

                    facilitate this process, including making the necessary approvals, returning

                    any human remains and associated funerary objects to Mekko Thompson,

                    returning any other cultural items to the Muscogee (Creek) Nation for

                    reburial in accordance with the Muscogee (Creek) culture and religious

                    protocols, and completing the archaeological report regarding the phase III

                    excavation;

             iii.   Order all Defendants except Auburn to pay for Plaintiffs’ reasonable



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                    attorney’s fees and costs for prosecuting this action;

              iv.   Permit amendment of the pleadings pursuant to Fed. R. Civ. P. 15(b) and

                    54; and

               v.   Order such further relief as allowed under Fed. R. Civ. P. 54(c) and as this

                    Court may deem just and equitable.

      DATED this 9th day of March, 2020.

OF COUNSEL                               s/ Stewart Davidson McKnight, III
Lauren J. King                           Stewart Davidson McKnight, III (ASB-6258-G63S)
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                                         Tel: 205-271-1100
Counsel for Plaintiffs
                                         Counsel for Plaintiffs
(Admitted Pro Hac Vice)




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                                    Certificate of Service

       I hereby certify that on the 9th day of March, 2020, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system which will send notification of such

filing to the following:

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                                          s/ Stewart Davidson McKnight, III
                                          Counsel




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                    EXHIBITS TO SECOND AMENDED COMPLAINT

 Exhibit No.                                      Description
        A.     Poarch Application for Historic Preservation Grant Re U.S. Department of
               Interior (Feb. 1980)

        B.     Letter from W. Perry, Sonosky Chambers, to K. Zebell, NIGC (June 3, 2005)

        C.     Letter from Bernhardt, Interior Solicitor, to Hogen, Chairman of the National
               Indian Gaming Commission (June 13, 2008)

        D.     Letter from NIGC Acting General Counsel to Bernhardt (July 30, 2008)

        E.     Perdido Band Memorandum In Support Of Motion To Intervene (1951)

        F.     Motion To Change Record Name Of One of Movants for Leave to Intervene
               (8/29/1951)

        G.     Creek Nation East of the Mississippi’s Appellate Brief re Intervention in
               Muscogee (Creek) Nation ICC Case (11/6/1951)

        H.     US Appellate Brief Opposing Creek Nation E. of the Mississippi’s Intervention in
               Muscogee (Creek) Nation ICC Case (Jan. 1952)

        I.     The National Park Service’s June 10, 1999 Agreement with Poarch (the “NPS
               Agreement”)

        J.     Poarch Field Methodology Policy (April 1999)

        K.     Letter from Buford Rolin to Mekko George Thompson (April 4, 2012)

        L.     Letter from Principal Chief George Tiger to Buford Rolin (April 13, 2012)

       M.      Letter from Buford Rolin to George Tiger and Mekko Thompson (April 17, 2012)

        N.     Letter from Buford Rolin to Mekko Thompson and Second Chief Alfred Berryhill
               (Nov. 8, 2010)

        O.     Poarch Press Release (Oct. 31, 2012)

        P.     Poarch Tribal Leader Letter and “Fact Sheet” (2013)

        Q.     Letter from ACHP to National Indian Gaming Commission NEPA Compliance
               Officer (Nov. 14, 2006)
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                       EXHIBIT A
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                                                                                , ,.-;1; J(      .'
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                                                                               /7 () . '




 c       TO:          F. Lawerence Oaks
                      Executive Director
                      Alabama Historical Conunission
                      725 Monroe SL
                      Montgomery, Alabama    36130


         FROM:        Creek Nation East of the Mississippi .Inc.
                      Poarch Band of Creeks
                      Route 3, Box 243-A
                      Atmore, Alabama    36502


         Re:          U. S. Department of Interior (HCRS) letter 712


         Dear Sir;

              Application is hereby made for funds from the Historic Preservation
         Discretionary Fund Grant-in-Aid. program. This application should be
         considered under Category Ill as the proposed undertaking both assists
         in preserving part of a historic district-of Native Americans and results
         in the direct participation of Native American Groups.

              Hickory Ground (l-Ee-89) is      of
                                             major importance in the history
         of the Muscogee (Creek) Nation. It .has supplied many of the important
,(       leaders in Creek history. One of particular note was Alexander McGillvray.
                 11
               0-Che-au-po-fau 11 ; from the Mu-s kogean "Oche-ub", a hickory tree,
         and "po-fau", in or among, called by ·the traders "Hickory Ground"(Owen
         1921:1088). Hickory Ground was located on the east bank of the Coosa
         River, south of the present-day Wetumpka approximately two miles above
         the French Fort Toulouse(Pickett 1962:229,343,357; Owen 1921:1088; Hemperly
         1969:224; Brewer 1955:25; Swantoit 19'52:162).

              Hickory Ground was an Upper Creek town and by tradition was originally
         inhabited by the Coosa or Abihkas(Corkran 1967:307; Owen 1921:1088; . Swanton
         1922:242). It was here that Lachland McGillvray married Sehoy Marchand
         in 1745, and established a trading house{Brewer 1955:15; Debo 1967:38;
         Swanton 1922:242). Lachland and Sehoy were the parents of Alexander
         McGillvray aii. important Creek leader having special trade relationships
         with the Panton Leslie and Company trading house in Pensacola.

              With the French established at Ft. Toulouse· McGillvray's residence
         at Hickory Ground ~as the center 9£· Spanish, French, British and American
         intrigue. Don Pedro .Olivier, a frenchman in the Spanish Service~ spent
         many months at Hickory Ground(Debo 1967:52; Pickett 1962:413). Hickory
         Gro~nd was loyal to the British during the revolutionary war, and was
         a place of refuge for many loyalists(Brewer 1955:25-26; Corkran 1967:307-308).
         President .Washington sent Col. Willett to Hickory Ground to encourage

 c       Alexander McGi11vray to come to the capitol at New York for .treaty negotiations
         (Brewer 1955: 27; Pound. l951 :.58). Hickory Ground was visited by Benjamin
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      Hawkins, the first arnerican agent to the Creeks, many times(Pound 1951:111; Hem-
(     perly 1969:224; Owen 1921:1088; Swanton 1952:154).

           During the Creek War of 1813-1814, Otchiapofa was listed as a hostile Creek
      town, and was visited by Tecumseh. Here he was able to enlist more followers
      (Halbert and Ball 1969:68,79,99-100; Pickett 1962:511). As a hostile Creek town
      Hickory Ground was not un-noticed by Andrew Jackson. The Jackson Trace was
      opened primarily so Jackson could move his army to Hickory Ground(Brewer 1955:
      15; Pickett 1962:592).

           From the above it is apparent that Hickory Ground was involved in nearly all
      the major historic events in .the southeast before the . removal of Creeks from
      Alabama in 1836. With the proper techniques and data recovery methods Creek
      involvement in these events can be studied. More importantly the effects of these
      activities upon the Creek Nation can be understood. Hickory Ground has the
      potential of measuring changes in the political, social, and economic structures
      of the Creek people in pre-removal times.

           As outlined by the Secretary of the Interior this project is· designed to
      meet the general and specific standards for acquisition as · applies to this
      particular site.

      THE USE OF THE LAND

           Acquisition of the property is principally a protection measure. Acquisition
      will prevent development on the property. All historic. structures on the site
c     have been destroyed. What is left consists of below surface remains. Through
      proper archaeological methods and techniques these below surface features can
      reveal a tremendous amount of information about the Creek way of life in the
      late 1700's and early 1800's. Upon gaining fee-simple title to the land as
      called for in this proposal plans will be developed to minimize continued destruc-
      tion of the archaeological resources. Prior to any type of development of the
      property a scientifically sound archaeological program will be conducted to
      mitigate or minimize effects upon ·the historic resources.

           The property will serve as valuable resource for cultural enrichment of Creek
      people. The site can serve as · a place where classes of Creek culture may be held.
      The Creek people in Oklahoma pride in heritage and ties to original homeland can
      only be enhanced. There . is still an existing Hickory Ground tribal town in Okla-
      homa. They ~ill. be ·pleased to know their home in Alabama is being preserved. The
      site may serve as an open air classroom where Creek youth can learn of their h~ri­
      tage. Interpretive programs can be developed around the vast array of . history
      connected with Hickory Ground. The Creek. Nation East of the Mississippi, Inc.
      (Poarch Band of Creeks) has already conducted CETA sponsored training in arch-
      aeological methods for Creek youth. .The Hickory Ground site wiil continue to
      enhance their understanding of their history, without excavation.

      SPECIFIC STANDARDS OF PROTECTION

           For most cases land in the hands of Realtors and developers is veiwed from
      the prospective of income producing property. At this iocation in order to have

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     a commercial development the land will have to be cleared and leveled. In order
     to halt the destruction planned for the site and insure against future destruc-
(    tion~ funds for acquisition of fee simple title are requested.

          As the landowner is very much interested in developing the property for
     commercial purposes it -is felt acquisition of fee simple title is necessary
     to prevent destruction of the site. The land was scheduled for commercial
     development. Plans for development called for construction of Recreation
     facilities and multi-family dwellings.

          To the immediate east of the property is existing commerical property.
     These commerical properties include a Hardees a~d local resturant. To the
     immediate south ajoining the land of the site, a contract has been entered into
     with an option to by agreed upon between Aeronov Corporation and the land-
     owner, Mr. W. D. DeBardeleben. This agreement is based upon Aeronov's plans
     for construction/9fKmart store upon the property.

          Mr. Gary Skaret and the landowner have plans for constructing apartments
     for low-income and handicapped persons upon the land to the immediate west of
     the proposed Kmart and to the immediate south of the Hickory Ground site.

          From the forgoing it is evident that the surrounding areaJand indeed the
     land~the site itselfJis prime development land and may very well be bulldozed
     and cleared soon.

          The property is in the process of being nominated to the National Register
     of Historic Places. The Alabama State Historic Perservation Officer has deter-
c    mined the property eligible and the required forms are now being processed by
     the Keeper of the National Register.

          Project does conform to Secretary of Interior Standard for Historic
     preservation projects. Specific .end products of the project is to provide
     protection for a particularly important site in Creek History, while
     providing a foundation for innovative educational programs. Hickory Grounds
     may also be a place where Creeks from Oklahoma may return and visit their
     ancestral home.

          Upon approval of the proposal the site will be maintained almost entirely
     by minority groups. One half the appraised value will be donated to Creek
     Nation Foundation, Inc. in Oklahoma. The grants-in-aid proposal is designed
     to be awarded to Creek Nation East of the Mississippi, Inc. (Poarch Band of
     Creeks). Both are Native American groups. - The Creek Nation Foundation, Inc.
     represents we~tern Creeks that were removed to Oklahoma from Alabama. ~ile
     Creek Nation East of the Mississippi, Inc. _ (Poarch Band of Creeks) represents
     a group of Creeks that were excluded from removal and remained in Alabama in
     the Mobile Region.

          Under this plan the property will be jointly owned by both groups of Creeks.
     They will be equally responsible for the protection and care of the si~e. This
     is an opportunity for the Creek people to enter into cultural resource manage-
     ment by guarding and preserving a site directly connected with their culture
     history.

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          The significant aspect of this project is the protection by acquisition of
     a historic Creek site by Creeks. Archaeological resources,. directly related to
(    Native Americans have for the most part been managed and investigated by non-
     Native Americans. This is an apportunity for Native Americans to manage their
     archaeological records. Presently on staff with the Creek Nation East of the
     Mississippi, Inc. (Poarch Band of Creeks) is Larry D. Haikey who has a Master's
     degree in Anthropology. Mr. Haikey is well trained and aware of the proper
     management of archaeological resources. He will act as advisor to the tribal
     councils on plans for permanent protection of the site.

          Time for complete acquisition of the site is not expected to take longer
     than forty-five days. This time schedule includes time necessary for mailing
     contracts between Oklahoma and Alabama. Both tribal g~oups will have adequate
     time for review by respective lawyers and approvai of council meetings.

          The Creek Nation East of the Mississippi, Inc. (Poarch Band of Creeks)
     agrees to the provisions of covenants and letter of agreements. They are
     also aware of the information needed for an acquisition Project Completion
     Report. A detailed completion report· will be the responsibility of Creek
     Nation East of the Mississippi, Inc., and will be done by Mr. Haikey as a
     part of his normal job activities, at no cost to the Hertiage Conservation
     and Recreation Service (HCRS) Project.

          Consultant and technical assistance will be in the nature of legal services.
     The property deed and other agreements will ne.e d to be legally sound with respects
     to the by-laws and intents of the corporations. Th~se legal services will be
     the responsibilities of the respective tribal groups.
c         Mr. John Charloe, Attorney for Creek Nation Office of Justice, will handle
     legal matters for Creek Nation Foundation, Inc. in Oklahoma.   Mrs. Hollis Geer,
     Legal Services Corporation of Alabama, will handle matters for Creek Nation East
     of the Mississippi, Inc. Technical advice concerning the site as to
     maintaining its archaeological integrity will be handled by Larry Haikey and
     other archaeologists with interest in Creek cultural history.

          Hickory Ground fits in a historic preservation district which includes the
     area of Wetumpka, Alabama. There have been numerous maps of Creek sites
     referenced in histo·r ic documents as being located in this area (Swanton 1922;
     Owen 1921). Swanton (1922) provides numerous maps of Creek Tribal town
     locations at various times in their history. One, (Appendix A) is partially
     reproduced for enclosure with this proposal~ it .shows the location of Hickory
     Ground as concerris this project and in the time period for which the site
     has been dated. As is evidenced by the other toW11 locations on the map the
     area was heavily populated by Creek in the pre-removal period. Some of· the .
     other towns have been located and are on record in . Alabama archaeological
     site files. An item of importance concerning Hickory Ground is the immediacy
     of its near destruction. The others that have been located are not as close
     to destruction at this time.

          A matter of great importance about this project is the involvemerit of Creek
     People through their government in the management and protection of their


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       archaeological resources. It can be safely said that anthropology and archaeology
 (     have had a bad name among Native American groups. This has stemmed from the arch-
       aeologists being more concerned in the research potential of the sites rather than
       the significance as they relate to Native Americans. The excavation and research
       has been carried out without very much returned to the Indian community, causing
       Native Americans to distrust the motives of archaeologists.

            The Creek Nation is attempting to take an active role in management of their
       cultural resources. In the winter of 1978 and 1979 the Creek Nation East of the
       Mississippi cooperated with the University of Alabama in Birmingham on an arch-
       aeological excavation to test an area of burial remains. Attention was called
       to the site after treasure hu~ters removed a couple of burials.

            In the summer of 1979 the Creek Nation East of the Mississippi conducted
       a . CETA Title VI training progrrun in archeaology. The main emphasis of this
       program was to train young Creek people .in the proper techniques of archaeology.
       It was hoped that some of these young people would continue into the field
       and help preserve Creek archaeological resources.

            Destruction of archaeological resources in Alabama adversely effects the
       profession of Archaeology, while . destroying the cultural history of Creek
       people. There is an increased recognition in the field of archaeology of
       the need for Native Americans and archaeologists to work together in the
       cultural resource management area (Lipe 1977:22-23; Schiffer and Gumerman
       1977:586). Creek People feel that this proposed project would do a great deal
       toward bridging the communication gap between archaeology and Native Americans •
.(          Enclosed appendix ·· contairs information documenting the two Creek groups
       as legal entities:
            Appendix A    Map of towns of the Creek confederacy, 1818
            Appendix B    Organizational chart of Creek Nation East of the
                          Mississippi and list of Tribal Council
            Appendix c    Articles of Incorporation of Creek Nation East
                          of the Mississi~pi
            Appendix D    Constitution of the Muscogee (Creek) Nation in
                          Oklahoma
            Appendix E    Minutes of Creek Nation East of the Mississippi, Inc.,
                          (PBC) tribal council ~eeting giving approval to apply
                          for HCRS grant
            Appendix F    Certificate of Assurances & Certifications
            Appendix G    Budget




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                                           United States l)epartn1ent of the Interior
                                                           OFFICE OF THE SOLICITOR
                                                              W ashin p, ton. D .C . 202:10




                                                                     JUN 1 3 2008
                         fonornble Phillip !\. Ho,~cn
                        ·:hairman, , ·ational Irn.lian Gaming Commission
                        1441 L St., NW
                        )uite 9100
                        Nashington. DC 20005

                        )ear Cbainnan Hogen.

                        '. ttrn \vri1ing i.n regard to yow· May 19, 2008 letter to fom1c1 Assistwt Secretary -- Jndian
                        .\ffairs Carl Artman and Deputy Associate Solicitor, Division of Indian Affairs, Edith
                        Blackw1.:l1 enclos ing your May 19, 2008 Ind)an lands opinion for the Poarch Band of
                        :.:1eek ln<lians, which purports to recognize the Band· s light to game on the Tallapoosa
                        Site in Aiabama. In the letter. you infonned Mr. Artman and Ms . Hlackwdl that you
                         were issuing lbc Indian bnJs opinion dtlspite the fact that yonr Office of General Cowl.'\el
                        . OGC) and the Solicitor· s Office Division of Indian Affairs (D1A) had not reached
                        01gree111ent on whether the Tallapoosa Site is restored lands and thus covered by an
                        .~xception to the general µrohibition on gaming on lands acquir<;:d after October 17, 1988 .


                        ;)n January 14, 2008. th.;: Depnty Associate Solicitor prnvided your Acting General
                        Counsel with a letter ofnon-concurren.;c in the Nationa.l ln.dian Garr.ring Commission' s
                        (NIGC's) draft Indian lands opinion. The January 14, 2008 letter provided specific
                        details as to \•;by DIA disagreed with the draft opinion. The non-concurrence focused on
                        tJ1e rcstori:J tribe analysis. Generally, DIA does not believe that the Poarch Creek Ban<l
                        evt:r had a govemment-to-govemment relationship vvith the United States until it was
                        acknowle.<lged through the Part 83 process i..n 1983. The Deputy Associate Solicitor
                        concluded that the reconJ simply <loes not suppon the BanJ ' s existence as a separate
                        tribaJ entity \.'1ith a go,•ernmenta1 relationship "V;ith the united States, nor does it support
                        that the United States terminated this governmental relationship. The Deputy A~sociate
                        Solicitor also questioned the B•md's relationship •v:ith the Creek burial grounds locat¢d at
                        ;:he Tallapoosa Site Your May 19, 2008 opinion does not address any of the cone.ems
                         raised in our January 14, 2008 letter.                                                  ·

                        (iivcn that the legal conchL<>ions reached by OGC are inconsistent with the legal views of
                        the Office of the Solicitor, and t11at, as discussed below, NIGC has no statutory mandate
                        ro issue Indian \;mds opinions independently, the Secretary has directed me to inform you
                        that he is invoking his authority reforenced in 43 C.F .R . § 4 . 5 to review your decision and
                        has asked me to assist him in that review. Accordingly, in accordance ,.,,,-ith 43 C.F.R. §
                        4.S(c). please provide me with the administrnti\'e record supporting your May 19. 2008
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     decision. Pending this review, you may not t3ke ;my forth<:!r action to implement your
     Vl.~y i 9. 2008 decision.


     [understand that the matter concerning the Poarch Creek Bm1d first arose in Novembe.r
     !.003, vvhcn the Assistant Attorney General for the State of Alabama questioned the
     Band's gaming ac:tivitie!' on three parcels. From what I understand, NICTC revie\ved two
     ofthosc par<:e1s and determined that they met the initial reservation excc:ption in 25
     U.S.C. § nl9(b)O)(B)(ii) TI1e third gaming location, <he Tallapoo sa Site, remained at
     issue, however, because the land was taken into trust in 1995 and is not within th~ Band ' s
     initial reservation. The Band has continued its gaming opc:rntion on the Tallapoosa Site
     during the pendency ofNIGC's review.

     While tbe request from the:.: Assistant Attorney General came to NIGC in November 200"),
     it was not until Januar:,v :!006 that the DlA received OGC's fir::;t dnu''t of its Poarch Creek
     fod ian land3 opi nion. Attorneys in DLA.. expressed their concern with the Poarch draft as
     early as February 2006. OGC attorneys and DIA attorneys met in :Vfay, October, and
     December 2006 to discus:; DIA· s concerns with the drnft opinion. After the December
     12, 2006 meeting, OGC agreed to revise the January 2006 draft opinion. DlA attorneys
     and OGC attorneys met together \Vi.th the Tribe on March 13 , 2007 to discuss the
     unresolved issue::>. On March 26, 2007, the Band' s attorneys provided OGC and DlA
     v.ith tJ1eir response to the restored lands issue:; raised at the March 13 meeting. It was not
     nntil September 24~ 2007 1hat OGC provided DIA with a revised draft dated J uly 18,
     1007.

      After receipt of the July 18, 2007 draft, attorneys in OGC and DL\ tried to reach
      consensus on the legal position. On December 27, 2007. OGC notified DIA ihal il
      wanted DL\ ~ s response. prior to December 31 , 2007. On fanuary 3. 2008, the Deputy
      Associate Solicitor sent OGC a short Jetter expressing DLA."s non-concurrence with the
      Ju1y 18, )007 draft. On January 7, 2008, you, the Deputy Solicitor. and attorneys from
      OGC and DIA met via a conference caJl t.o discuss the tm.resolved issues. At foat time,
      OGC requested a detailed \Vritten non-concurrence

      On January 14, 1008, the Deputy Associate Solicitor provided a six-page letter that
      detailed most of the rationale for the non-concurrence to OGC's Inly 18, 2007 opinion.
      Since its receipt of the January 14, 200 8 letter, OGC has made no efforts to resolve the
      issues raised by DIA. As previously noted, the May 19, 2008 opinion you signe<l made
      no reference to the concerns raised in the January 14, 2008 letter.

      <Jenerally, the Office of the Solicitor and the OGC have worked coopennivdy on lndian
      lands opinions since the inception of yom Office of General Counsel. In March 2000, th!.\
      cooperative process was memorialized in a Memorandum of Understanding signed by the
      Associate Solicitor, DIA and General Counsel, NIGC. In 2006, it became apparent that a
      new Memonmdmn of U nderstanding needed to be negotiated. I signed a Memorandum
      of Agreement (~IOA) on '.\fay 3 1, 2006. for a six.-month period. That agreement was
      renewed in February 2007 for another six-month term. While it expired io August 2007
      and has not been renewed, OGC and DIA have both ex-pressed a \.Villingness to continne



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      to ahi<le by its t~nns . Jnexplicably, the 1'.71GC took no steps after receiving the
      January 14, 2008 non-concune.nce to attempt to follow the .'.vIOA' s process fot reso lution
      of non-concurrence issues. For example, no effort was made to have forther discussions
      with DIA or senior Solicitor' s Office officials, including discu!'~ions whl.'.ther to refer I.he
      matter to the Office of Legal Counsel, as wus 1.!Xprcssly provided i:r: the MOA.

      Generally, when OG C attempts to draft an Indian lanJ.s opinion, it typically writes a
      broad and wide··ranging opinion that touches on issues not unique to gami11g. ~JGC
      Indian lands opinions discuss a tribe's jurisdiction ov er lands, a tribe 's governmental
      authority. the boundaries of a tribe's reservation, and the history of a tribe. Iu N1GC's
      lndjan lands opinion regarding the rest.ored land for a restored tribe exccprion, OGC
      extensively delves into the history ofthe tribe's relationship with the ·u nited State.~,
      especially with the Secretary of the Interior. OGC also looks at the h istory of the tribe's
      occupa1ion of cer1ain lands and communications between the Departmt'.nt of th'"' J_nt.erior
      and tlle tribe. DIA has in the past questioned the need for delving into such issues that
      are not specific to gaming. \\lh1le the Solicitor's Office and OGC have reached
      consensus on all fndian lands opinions prior to the Poarch Creek decision. it has 11ot been
      without controversy. Dl/\. has on several occasions agreed with NIGC's conclusions but
      not with its analysis. For the Poarch Creek decision, as the January 14, 2008 lener sets
      out, my Office did not agree that the Poarch Creek Rand is a restored tribe fo r Indian
      Gaming Regu·latory Act (!URA) purposes.

      As the chieflegal ofncer for the Department of the Interior, it is incumbent on me to
      ensnre that all legal opinions are consistent and sound . Nothing in lGR.A changes my
      role as the principal iegal adviser to the Secretary and the chief legal officer of the
      Department. Congress expressly placed the 1'.TTGC '\vithin the Department of th~
      Interior." 1 It is rny re.sponsibility to supervise the legal work of lhe Department.-

      What is at issue is only the Poarch Creek Band's Indian lands opinion and the p1ospectivc
      drafting, review, an<l approval oflndian lands opiroons. 3 The Department is not seeking
      to review previously issued l1GC lndiaJl lauds opinions through this process. lJi
      addition, DIA and OGC worked together to draft language in I.he 25 C.F.R. Part 292
      regulations that provided that the re gulations do not apply to final agency actions basc.::d
      on legal opinions issued prior to the effective date of the regulations. Nor is the
      Department calling into question the overall good \Vork of the >i! GC. NIGC's role in the
      ro:gulation of Indian gaming has been and will continue to be positive and important. The
      Secrewry has no desire to intrude in NlGC"s statutory role for the regulation ofindian
       gaming.




       1
           ----          -          ---
                                -·--··
         2 5 V S.C. § 2704(a).
       2
         See 109 DM 3 . 1, 1 10 D?v12.2; 209 DM 3.
       > My Office defines Indian lands opinions as kg?.! opinions chat analyze whether gaming is authorized on
       particular lands. These include opinions o·n whether lands meet the defiJ'lition of Indian lands; whether a.
       tribe iq exercising j urisdic-tion and governmental authority over those lands; v:betbe-r earning is aut110rized
       under 25 US.C. § 2719; and a leg<il analysi.~ of25 C.FR. Part 292 .
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                    However, iGKA dot:s not vest all authority for Indian gaming in one entity. lGRA is not
                    an example of a staTUte that transferred all responsibiliry out of the Department. The
                    scope and parameters of the l\.IJGC's p0\ver are established and limited by th~ language of
                    1GRA, the )l'JGC's sole source of statutory authority. In the purpose section of JGR.A,4
                    Congn:ss clearly S[ated its intent to establish the N1GC as a commission to regulate
                    Indian ganung. However, the scope of The power granted to the i'i"IGC is not determined
                    by the ultimate purpose of regulating Indian gaming. Rather, the scope of the NIGC's
                    power is based upon the specific means prescribed by Congress to achieve that ultimate
                    purpose. 5 IGRA sets out in detail the specific means to be employed by the NIGC to
                    carry om its discn;t~ powers to issue orders of temporary closure of gaming activities:
                    levy and co!let":t c ivil fines; approve tribal ordinances or resolutions; approve
                    ma11agemcnt contracts for Class II and Clflss Ill ganung; 6 and monitor, iuspect, and
                    examine Class n gaming acti"ities.;

                    IGRA grunts authority over other aspects of Indian gaming to the Secretary, Indian tribes,
                    tilld the States. Therefore, it is ev1dent from the plain languag~ of lGRA that, although
                    Congress cstabli:-hed the .N1GC aq a commission for the purpose of regulating lndian
                    gaming, it Jid not £,!'::lnt Lhe NTOC the power to regulate_ interpret, or decide all aspects of
                    Jndiw gaming or matters related to Jrnforn gaming.

                    As '-Vi.th the NiGC:, it is ckar that Congress did not grant the Secretary tbe power to
                    regulate, interpret. or decide all aspects of Indian gnming. TI1e Secretary has limited
                    authority over thosi: aspects of gaming that are assigned by IGRA to the NIGC, Indian
                    tribes, or thl.! States. Unlike rhc J\.1GC, the Secretary has authority for lndian gaming
                    matters and matters related to Indian gaming that are not expressly assigned to any entity
                    under IGRA. 'I11is authority is based upon statutes other than IGRA that give tlie
                    Secretary broad authority to manage matters oflndian affairs and implement the laws
                    governing Indians, and specific authority over Indian lands and trihal govemme11ts.
                    Thus, tJie scope of the Secretary's authority is much broader than that of the NIGC and
                    includes many general matters.                 ·

                    The authority of the NTGC is strictly limited to the discrete powers that are expressly
                    assigned to it by Congress in IGRA. \:Vhile it may interpret the statute anJ fill gaps with
                    respect to its :>pecific powcrS, the NIGC has no general authority ov~r the regulation of
                    Indian gaming based on the uhimaie purpose of its authorizing statute. By contrast, the
                    scope of the Secretary' s authority extends broadly to most matters of Indian affairs and
                    includes implementi{!g many of the laws governing relations \'Vith tribes and individual
                    Indians. Moreover. based on loJl}~stanJi.ug and spt>...ci.fic authority under the lndian
                    Rt:organization Act and other generally applicable Indian law, the Secretary has tht:
                    specific authority and subject matter expertise to decide issues concerni ng lnclian lands
                    and tribal jurisdiction. Thus. it is the Secretary, not the NIGC, who has the implicit
                    authority to interpret any ambiguities and fill any gaps in IGR.A, particularly with respect


                    ~ 25 u.s.c. ~ 2702(il).
                     ~See MCI v. AT&T Co , 512 U. S. 218, 231 (1994)
                     5
                       25 U.S.C. § 2705(a).
                     : 25 U.S.C. § 2706(b).
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             to ambiguities or gaps that concern what constitutes Indian lands and the scope of tribal
             jurisdicti on .

             Indian land;; opinions ar;;: by definition legal opinions that analyze whether lands are
             eligible for gaming. Indian lands opinions include issues such as ""'hethcr lands meet the
             definition oflndlan lands; whether a tribe is exercising jurisdiction and governmental
             authority over those lands; whether gaming is authorized under 25 U.S.C. § 27 19~ aml a
             legal analysis of25 c.r.R. Part 292. Resolution of these questions has not been
             delegated to the ~IGC. Mori:over, resolution of these issues relies on the particular
             expertise of tlie Solicitor's Office regarding overall Indian issues and not just Indian
             g amin}~ concerns.


             l am seuding a copy of this lener to all parties copied on your May 19, 2008 opinion.




              cc:      I311ford 1.. Rolin, Tribal Chainnan
                       \Villiain Perry, Sonosky, Chambers, Sachse, Endreson. & Perry
                       Cindy Altimus, Regjon Director
                       Troy King, Attorney General. State of ..~.lahama




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    .luly 30, 2008

    David L. Bernhardt, Solicitor
    United States Depanmen1 of the Jnterior
    Office of the SoJjcitor
    Mail Stop 6352
    Washington, DC 20240

    Dt:ar Mr. Bernhardt:

    \\'e received your June I~. 2008 letter that seeks to review the ?\auonal lndian Gamjng
    Commission (NJGC or Commission) Chainnan · s decision 10 cominue regulating the Poarch
    Bancl of Creek Indians· (Tribe) gaming facility in Tallapoosa, Alabama.\ ou also request a copy
    of lite administrative record on which the Chairman relied. We will provide.. the record tn you m;
    a matter of courtesy under separaie cove1. I respectfully and catego1ical ly r~ject, hov·.'evc1, your
    assertions that the Secretary of the Jmerior (Secretary) has the authorit) to review and approve or
    disapprove the Chairman· s decis10n. J also strongly disagree with yom characterization of the
    respective aurhorilies of the NlGC and the Secretary under the Indian Garn mg Regulatory Act
    (JGRA).

    Back2'round

    This matter began when the State of Alabama v.'Tote to the NJGC expressing concern over the
    eligibility oflhe 1 allapoosa site for gaming. Sec Letter from Jack Park. Assistant Attorney
    General for the State of Alabama to Pe1my Coleman, Acting General Counsel (Nov. 20, 2003 ).
    The Tribe operates a Class IJ gaming facility regulated by th e NIGC. That regulation includes.
    among other things. conducting site visits to determine compliance with IGRA. processing
    fingerprints and reviewing background investigation reports for key employees and primary
    management officials, accepting fees for regulating, accepting and reviewing audit and agreed
    upon procedures reports, and provjding such technical assistance as may be required.

    Upon receipt of the State's inquiry, the Chairman reviewed the Tallapoosa site's status to
    determine its eligibi)jty for gaming and v,rhether an enforcement action might be necessary. T{)
    accomplish this review. NJGC sought records and documentation from the Department of the
    lnlenor (Department). particularly focusing on information the Department had relied on lo
    recognize the Tribe and to acquire the Tallapoosa site imo trust. Unfortunately. the Department
    was not able to timely comply with NIGCs record request. Therefore, the Commission·s review
    was delayed. The factual record, whjc11 was ultimately compiled by NJGC, was extensive and
    included the Dcpanment · s acknowledgement and Jand-into-trnst records~ Bureau of Indian
    Affairs· (Bl.A) land records; historical records. maps. archaeological repons: and other
    documentation from the Tribe.



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   now the St<.tc. C't Alabama in th;:: firsl l1alf of the nineteenih centur:-.. Before the forced
   resenlemcnt lo the lndian Teniwry, ancestors of the Poarch Band allied with the United States lo
   fight against the other Creeks. Thereafter, they were rewarded with land grants and were
   allowed to remain in Alabama. As a result of the forced resettlement, what \Vas once the Creek
   Nation of Alabama no\v exists as the Poarch Band. the Muskogee (Creek) Nation in Oklahoma
   and certain recognized tribal towns.

     The Tribe\ gov~rnmcnt- 10-govcrnn1ent relationship with the United States ended under the
     terms of an J 832 lreaty. which terminated United States· protection over the Tribes's lands in
     1837. Subsequently, the united States specifically and repeatedly disclaimed any relationship
     with the Poarch Band Ii was not until the Tribe was recognized under the Department of
     lntcrio1 ·s recognition rcgulHtions in J 984 did the Tribe once again enjoy a government-to-
     govcrnment relationship with the United States.

     Becm1sc of the complexi1y of the issues presented hy the Rand's histor:-., the Commission· s
     rrv1c\\ was careful. comprehensive. and included many discussions \\'1th the Office of the
     Solicitor. Division oflndian Affairs (Division). As the review progressed and issues were:
     raised. both the Office of General Counsel (OGC) and the Division asked the Tribe lo provide
     additional documentation and views to address these issues. Given the different views presented
     and the extcnsivc factual record compiled. the OGC exercised great care in ib restored lands
     analvsis

     ln l1H end. thi.: OGC's last draft legal opirnon sent lo the Division supported a conclusion that tlK
     Trihe could conduct gaming on the Tallapoosa s11c. Thal opm1on was hased specifically on a
     theor) recommended by the Department' s attorneys. OGC was dismayed. therefore, when the:
     same attorneys Lhen refused to concur with the draft opinion. OGC' requested the non-
     concurrence m writing.

     In rrv1cwin~ Lhe non-concurrence. we determined that the Division· s analysis failed for several
     reasons. The analysis (1) failed to remain consistem with previous interpretations of the Indian
     Gaming Regulatory Act; (2) failed to take into account the Indian canon of construction, which
     requires that an ambiguous statute must be interpreted in favor of tribes; (3) was inconsistent
     with case law that the NJGC cited in previous detenninations; and (4) was contrary to case law
     because it rec~zed only Congressional tennination and not administrat.ive tennination of the
     government-to-governm.ent relationship. We also realized that there were weaknesses in the
     General Counsel's draft and addressed those issues during the first few months of 2008.
     Regrettably, as we struggled with those weaknesses. we did not continue to collaborate as we
     developed our views.

     During that time. we were advised hy tribal representatives that the Commission's hesitation was
     adversely affecting the Tribe's business dealings. The Department of the Interior also indicated
     its intenl to issue regulations governing the applicability of25 U.S.C. § 2719 when the Secretary
     acquires lands into trust. Those regulations were not immediately effective, and the Chainnan
     r~cognized thm if he relied upon them. he might have to stm1 the rcvie\:v process over again.




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    Therefore. because the Trihe had waited for over four years for the Co1mniss1on · s views and
    because the Chairman believed that he had a thoroughly researched and well-reasoned basis for a
    decision. the Chairman chose 10 issue his decision. Consequent1y. on May 19, 2008. the
    Chai1ma11 concluded that he would not take an enforcement action against the Tribe, and the
    Commission would continue 10 regulate the Tallapoosa Entertainment Center.

    Add1tionally, I note that throughout your June 13. 2008 letter. you refer to the decision as an
    '·opinion," suggesting that it \Vas merely advisory and issued by the OGC. On the contrary, the
    May 19. 2008 letter was a decision by the Chaimrnn pursuant to the enforcement authority
    granted to him under 1GRA. 25 U.S.C. § 2713. As such, his decision is an agency action wi th
    legal cffecl. It is reviewable only by the Commission and the federal courts. Funher, even if his
    May 19 decision had been an opinion of U1e OGC. the opinion would be reviewablc only by the
    Chaimrnn.

    AN~LYSlS


    I.     T he Secrctar\''s authority under IGRA is strict!\' limited.

   Your statements that the "Secretary has auU1ority for Indian matters and matters related to Indian
   gaming that arc not expressly assigned to any entity under JGR4" and that the Secretary has the
   power to ·'fill any gaps in IGRA." ignore the plam and unambiguous language of IGRA. lt is well
   settled that the proper interpretation of an unambiguous statute requires nothing else. Hartford
   Undcn11riters ins. Co. v. Union Flamers Bank, N.A., 530 U.S. 1, 6 (2000) ("when the statute's
   language is plain. the sole function of the courts - at leas1 where the disposition required by the
   text is not absurd - is to enforce it according to its terms··.) (quoting United States 1•. Ron Pair
   Enterprises. inc.. 489 U.S. 235, 241 (1989) (in mm quoting Caminel!i v. United States, 242 U.S.
   470, 485 (1917)). Comrary to your claims, section 2709 of JGRA specifically and
   unambiguous!~ transfers all of the Secretary·s powers over gaming to the NIGC. 25 U.S.C. 9
   2709. Accordingly, the Secretary retains only those powers that he has been specifically
   delegated under JGRA.

   Section 2709 states tha1 the Secretary's general authority over gaming was expressly taken from
   him and given to the Commission:

          Notwithstanding any other provision of this chapter. the Secretary shall continue to
          exercise those authorities vested in the Secretary on the day before October 17, 1988.
          relating to supervision of lndian gaming until such time as the Commission is organized
          and prescribes regulations ....

   111is section is clear and unambiguous. The Secretary was able to exercise his authority over
   gaming until the Commission presc1ibed the bulk of its regulations in 1993. Sea 57 Fed. Reg.
   1238:? (April 9. I 992) and 58 Fed. Reg. 5802 (January 2, 1993). Consequentl). any authority the
   Secretary may have had over gaming vested ':vith the Commission by 1993.

   To thL· same effect is section '.?.71 l(h), which removed from the Secretary the power to approve
                                           s
   manag~mtnt contract.., undt!r ~5 U.S.C. 81 and vested it Ill the Conunission:




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        The authority of the Secretary under section 81 of this title [25 U.S.C. ~ 81 ],
        relating lo management contracts regulated pursuant to this Act. is hereby
        transferred to the Commission.

   25 U.S.C. § 271 I (h l.

   Therefore, when Congress granted the Department authority under 25 U.S .C. § 2719(b)(l ), it
   \vas not a general grant of authority. Rather, under§ 2719, Congress granted the Secretary
   authority to act only in specifically delimited circumstances: to detennine whether gaming on
   certain parcels may be in the best interest of an Indian tribe and not detrimental to the
   surrounding community, 25 U.S.C. ~ 2719(b)( l)(A); to identify the fonner reserves in Oklahoma
   15 U.S.C. § 271 CJ(a)(2)(A)(i); and to determine reservation status, 2002 Dep't of the Interior and
   Related Agencies l\ppropriations Act, Pub. L. No. 107-63. ~ 134. 115 Stat. 414. 442-43 (2001).
   Jn the balance of IGRA. the Secretary" s authorit) is limited to approving tribal revenue
   nllocar ion plans so as 10 allow per capita payments from net gaming revenue. 25 l 1.S.C
   ~ 2710(h)(:l)(R): apprMal of tribal-state compacts. 25 U.S.C. § 2710(d)(8): and issuance or
   procedures in lieu of a tribal-state compact under specified conditions. 25 l.J.S.C §
   271 O(d)(7)(8)(,·ii).

   Contrary to your claim, it is the NJGC and not the Department that administers JGRA. and it is
   the NIGC and not the Department that fills any "gaps" tha1 ex]st in JGRA. This. the coui1~ have
   made abundantly clear, is why Congress delegated to the Commission and 1101 to the Department
   the authority to "promulgate such regulations and guidelines as it deems appropnate to
   implement the provisions,. ofJGRA. 25 U.S.C. § 2706(b)(l 0). 'NIGC is the agenC) express!~
   charged h:·; Congress with administering the JGRA'' by virtue of25 U.S.C. 2706(b)(l0). Citizens
   .-/gains/ Casino Gambling in Erie Couwy (CACGEC) v. Kempthornc, 471 F. Supp. 2d 295, 321
   (W.D.N.Y 2007). See also, Seneca-Cayuga Tribe of Okla. v. Nat 'l J11dia11 Cam mg Com111'11, 327
   F.3d I 019, l 023 (I Orn Cir. 2003) ("NJGC s broad powers include inspecting tribes ' books and
   recon.ls . .. levying and co ll ecting civil fines, monitoring and sbutting down unauthorized tribal
   games. and promulgating regulations and guidelines to implement JGRA."); Shakopee
   Aldcwakamo11 Sioux Co1111111111ity v. Hope, 16 F.3d 261, 263 (8 1" Cir. 1994) ("IGRA established
   the C'omm]ssion to regulate In dian gaming, and specifically authorized the Commission to
   promulgate regulations and guidelines necessary to implement the provisions of the Act.")~
   CAC'GEC, 471 F. Supp. 2d at 322 (grant of rulemaking authority carries with it ..the primary
   authority to interpret any ambiguous phrases or terms contained in the IGRA.'}

   What is more. NlCTC's role as the administrator of IGRA carries with it the ability to make
   Indian lands determinations. See, e.g.. Grand Traverse Rand of Ottawa & Chippewa !11d1cws ''·
   Umted Stales Auy.• 46 F. Supp. 2d 689, 707 (W.D. Mich. 1999) (the question of restored land is
   within the NlGC"s "special competence"); Co1111(\' ofAmador. California v. United States !>OJ,
   2007 U.S. Dist. LEXIS 95715 at* 17, n. 7 (E.D. Cal. Dec. 12, 2007) ("[O]utside the context of
   the trust application, NJGC retains the authority for determining whether the restored lands
   exception app li es.''); CAC~C. 471 F. Supp. 2d m 303 ("the Indian lands determination is one that




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   ( 'ongress placed in the NlGC' s hands... '"). As shown more fully belov. . the language of IGRA
   makes this so. 1

    IL     Con!:!ress s pecifically d elegated to the NI GC th e a uthoritv to determine the statu s of
           Indian lands as part of its oversight ofln diau gaming.

   That NlGC is responsible fo r administe1ing lGRA means. under JGRJ\'s plai n terms. that NJGC
   has o,·crsigh1 authority over lndian gaming. Kansas 1·. United States, 249 F.3d 12 l 3, 12 I 8 n. l
   ( l 0111 Cir. 2001) ("Although the NlGC is nominally part of ... Interior. Congress has given the
   NIGC exclusive authority to regulate Indian gaming cond ucted pursunnt to JGRA ");For
   example, IGRA provides NTGC with the authority to monitor and inspect the premises on which
   gaming takes place. 25 U.S.C. § 2706(b)(l )-(2). MorCO\ er, JGRA specifically requires the
   Chainnan lo review and approve tribal gam ing ordinances that authorize gaming on lnd ian lands.
   25 l".S.C. § 27JO(b){2) and (d)(l)(A). II also requires the Chamnan lo review and approve
   munage111~nt contracts for tribal gaming operations. 25 l' .S.C. § 27 11. Further, lGRA permits the
   Chaimrnn to take enforcement action against the operators of tribal gaming facili ties that violate
   any section oflGRA. 11GC regulations. or appro\'cd tribal gaming ordinances. 2.5 U.S.C'.
   ~ 2713: 25 C.F.R. parts 573 ro1d 575. Appeals from the Chairman·s actions are heard b) the fu ll
   Commission. which is authorized LO hold heari ngs on appeal and to request all witnesses and
   documents needed to make its decision. 25 U.S.C. §§ 2715 and 2716: 25 C.F.R. parts 539 and
   577: 25 U.S.C. §§ 2706(b)(4), (8), 2713(a)(::!-3). and 2715(a) and (d). Finally. the Chairman's
   enforcement actions are reviewable only by the Commission or the courts. 25 U.S.C.
   ~§ 2713(c). 2714.


   That said. lndian gaming is onl;. pennissible on Jndia11 Lands, which lGRA defines as:

           All lands within the limi ts of an Indian reservation: and any lands title to which is
           either held in trust by the United States for the benefit of any Indian tribe or
           individual subject to restriction by the Umted States against alienation and over
           wh ich an Indian tribe exercises governmental power.

   25 U.S.C § 2703 (4). ln other words, JGRA expressly provides for Indian gaming only where
   land qual ifies as Indian lands imder the Act. Sec, e.g., State ofRhode Jsla11.d v. Narragansetl
   /11dw11 Ji-ihe. 19 F.3d 685, 701 (1st Cir. 1994) (finding that the Act's key provisions are limited
   lO an) Indian tribe having jurisdiction over Indian lands and to Indian lands within such tribe·s
   jurisdiction). lGRA ·s "on Indian lands" requirement is integrally woven throughout the
   regulatory tapestry of the Act. 25 U.S.C. ~ 271 O(a)(l-2). (b)( l ), (d)(l ), (d)(3)(A-B)(pe1m itting
   Class 11 and Class JJl gaming 011~1 · on lndian lands). As Congress established NIGC too' crsec


   1
     We do not mean lo suggest. however, that the Secretary cannot decide the status oflndian lands
   under his own separate authori ty to acq uire lam.I into trust. Co11wr o/Amador, 2007 US Lexis
   9:715 at *7-*8 ("'While NIGC regulates gaming. DOl analyzed whether gaming would he
   permissible on the land. because, under regulations implementing Section .5 of Lhc IRA. 001
   must take into accoun t the purpose for which the land will be used. 25 C'.F.R. ~ 151 . l 1. This is
   1101 lO suggest. however. that oors analysis IS subsequently bindmg upon the NJGC. .. )




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   IndianCase:  21-11643
          gaming.             Document:
                  the regulatory            36the Cha1m1an
                                 authority of      Date Filed:
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                                                                the CommissionPage: 173he
                                                                               may on!~ of 1019
   exercised on Indian lands.

    As the agency head specifically tasked under the statute with the duty to monitor gaming.
    approve management contracts. approve ordinances, and take enforcement action, the Chairman
    must have the power to first determine the extent of his agency's jurisdiction. As that jurisdiction
    is nccessaJily coextensive with lndian lands, IGRA necessarily grants the Chairman the authority
    to make Indian lands determinations in the process of exercising these powers. lt is beyond
    question that administrative agencies have the authority to determine their own jurisdiction prior
    to taking action. Federal Power Commission v. Louisiana Power & Light Co., 406 U.S. 621, 647
    (1972); Newpon News Shiph11ilding & Dry Dock Co. l '. Schau.ffl.er, 303 U.S. 54, 57 (1938) . SeC'
    also Uni1ed Stales 1'. Morton Salz Co., 338 U.S. 632, 641-643 (1950) ("When investigative duties
    are delegated hy statute lo an administrative body, it ... may ... infonn itself as to whether there
    is a probable ,·iolmion of the law.''); Uni1C'd Tra11Sp. Union-Jl!inois Legislative Bd. v. Surface
    Tra nsp. Bd., 169 F.3d 474, 476 (71h Cir. 1999) (agency's detem1ination of its ownjurisdi.ction not
    entitled to Chrvron deference upon judicial review).

    Put slightly differently. where a statute \'Csts an administrative agency with authority to oversee a
    pa11icular industry or subject matter, it necessaril y confers on that agency the authority to
    deicm1 ine whether particular activities, actions or entities fa ll within its jurisdiction. See, q,: ..
    Endicou Johnson Corp. v. Perkins, 31 7 U.S. 501, 508-509 (1943) (Secretary of Labor
    empowered lo determine which employees and government contracts fall within Walsh-Healey
    Public Co111racts Act, mandating minimum wages in government contracts and allowing
    s.inctions for violations and non-compliance.); Relrahle Auromaric Sprinkler Co.. inc. v.
    Consumer l'rod11c:1 Safety Commission, 324 F.3d 726 (D.C. Cir. 2003) (whether sprinkler heads
    arc ··consumer products" within s1atut0ry jurisdiction of Consumer Products Safety
    Commission).

            A. The NIGC Chairman has exclusive authority to make, and is required to make,
               an Indian lands determination wben presented with a tribal gaming
               management contract.

    Congress gave the NIGC Chaimrnn the authority to review and approve gaming management
    contracts. ~5 U.S.C. § 2711. which he is required to do before such a contract is valid. Again, in
    giYing. the Chairman this power, Congress s1ripped it from rhe Secretary. 25 U.S.C. § 27 I l (h).

    Management contTacts have certain submission and content requirements set forth in 1GRA and
    NlGC regulations. 25 U.S.C. ~ 271 J(a)-(c). (g); 25 C.F.R. §§ 531.1. 533.1, and 533.3. Among
    these requirements is that a management contract must relate to a specific gaming site that
    qualifies as Indian lands. To detennine whether to approve a management comract, therefore,
    the Chainnnn must detem1inc whether the desired gaming will occur 0n Ind ian lands that meet
    IGRA ·s requirements. 25 U.S.C. ~§ 2703(4). 27 I 9. To make this detem1ination, the Chainmm
    must conduct an Indian lands analysis prior io contract approval. ln light of this, your suggestion
    that the Chaimian must request land opinions from your office when reviewing a management
    contract is inconsistent with federal law.




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   In fact. the District Court of Kansas emphasized this point:

           The JGRA created the NIGC to. among other things, review management
           contracts for class JJ gaming.... Part of that responsibility incJudcd detcm1ining
           whether or not a tribe exercises governmental authority o\·er the land on which it
           sel:ks to conduct gaming ... .

   Miami 7i'ihC' <f Oklahoma 1· United Stares. 927 F. Supp. 1414, 1423 (D. Kan. 1996).

   TIJL: Nin th CircuJt Court of Appeals echoed this sentiment in AT&T Corp. r. Coeur D 'A 11.:11£:
   1/-J/1c 295 r .3d 899, 902 (9th Cir. 2002). when it addressed the Chairman·s apprcn al of a
   management contract for a tribal telephone lottery:

           The NJGC is statuto1ily obliged to reject any lottery proposal that does not
           conform 10 lGRA .. . In fact, the NIGC has pre,·iously refused to approve
           management agreements when it believed the proposed gaming activity will nol
           lx· conduc:t~d ..on 1ndian lands.. for JGRA purposes.

   295 F.3d ut 909 (citing Mia1111 Tribe of Oklahoma'" U11i1ed States, 5 f. Supp.
   2d 121 ~. 1218 (D. Kan. 1998)). Thus. the NIGC Chaim1an has the exclusive authority to
   delem1inc Indian lands for the purpose of gaming when he reviews and approves management
   contracts.

           B. The NJGC Chairman has exclusive autbority to make, and is required to make,
              an Indian lands determination when presented with a site-specific tribal gaming
              ordinance.

   Next. as with management contracts, Congress gave the Chairman the authority to review tribal
   gaming ordmances lo detem1ine whether they meet IGRA's requirements. The Chairman must
   approve an ordinance before it is valid. 25 U.S.C. ~§ 27l0(b)(2) and (d)(l )(A). Vi'hile IGRA
   requires ordinances to include certain provjsions, 25 U.S.C. § 271 O(b)(2)-(4): 2.5 C.1· .R. § 522.4.
   and parts 556 and 558, tribes often exercise their sovereign legislative powers and include
   additional provisions that are not mandated by IGRA. A common additional provision is a clause
   authorizing gaming on a specific parcel ofland creating a so-called si1f'-spec((ic ord;nancC'. To
   date, U1e Chairnrnn has reviewed over 23 site-specific ordinances and continues to receive such
   requests for approval. The plu in and unambiguous language of IGRA requires the Chairman to
   make an Indian lands determination when faced with a site-specific ordinance authorizing Class
   11 !!aming:

          The Chairm:rn shall approve any tribal ordinance or resolution concerning the
          conduct or re!!ulation
                         ....                        -
                                  of Class 11 ....gaming on the Indian lands v:ithin the tribe·~
          jurisdiction ir such ordinance or resolution provides that .. . .

             *
   25 l f.S.C. 271 O(h)(2 ). B) incorporaung this language b: reference for Class 111 gaming. !GR/\
   requ ires this same dcterminntion for a site-specific Class IIJ ordinances. 25 ll.S.C.
   ~ ~ 7 IO( d l( I )(A )( ii )
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    I hat is. IGRA only authorizes the Chairman to approve a site-specific ordinance if it authonzes
   gaming on /11dian !onds. as JGRA defines the term. Without confirmation that the site-specific
   ordinance authorizes gamjng on indian lands eligible for gaming, the Chairman would have to
   disapprove the ordinance. To approve an ordinance that specifically pe1111ittcd gam ing on
   inclig1hle lands would authorize a tribe to offer gaming that 1GR.A prohibits. AT&TC01p.. 295
   F.Jd at '>08 ("the statutory framework suffices to demonstrate that the NIGC must consider the
   legalit~ oCClass Ill gaming before approving compacts, resolutions. ordinances, and
   managemcn1 contracts ... '").

    Federal courts n.·cognize the NIGC's authori1y to issue land opinions in connection with
    ord inance reviews:

            The NIGC is charged with interpreting and applying the IGRA to Indian lands for
            gaming. SeC' Miami TrihC' of Oklahoma v. United States. 927 F. Supp. 1419, 1422
            (0. Kan. 1996) (holding that NIGC had the authority to determine whether
            particular lands were within the tribe's jurisdiction for purpo&es of determining
            whether they consti1uted .. lndian lands'' within the meaning of the statute).

    (irand ?i-avC'rsC', 46 F. Supp. 2d at 707. Further, the District Court for the Western Distnc1 of
    NL·w York insisted that the Chairman must complete such a determination as part of his dmies:

            I laving fu lly considered the purpose and structure of the IGRA and the authority
            delegated to the NlGC by Congress, this Court rejects Defendants· contention thai
            the NIGC Chaimrnn is not required to make ··1ndian lands'' determinations when
            he acts on a tribal gaming ordinance. To the contrary, whether Indian gaming v. ill
            occur on Indian lands is a threshold jurisdictional question that the NlGC must
            address on ordinance review to establish that: 1) gaming is permitted on the land
            in question under the ]GR.A, and 2) the NJGC will have regulatory and
            enforcement power over the gaming activities occurring on that land.

    C1lCOfC. 471 F. Supp. 2d at 303. In fact, the court in CA CGEC vacated the Chainnan's
    ordinance approval because the Chairman did not make an Indian lands determination on a sitc-
    spccific compact: "Because the Jndian lands determination 1s 011e that Congress placed in
    '/\'JGC 's hands, the NIGC's 2002 ordinance approval is vacated .... " Id. at 303 (emphasis
    added).

    The statutory obligation to review and approve site-specific ordinances grants the NJGC
    Chairman the exclusive authorit) in those instances to determine Indian lands for the purpose of
    gammg.




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            C. The NJGC C hairman has the excJusive authority to make, and is rec1uired to
               make, an Indian lands determination prior to tile initiation of an enforcement
               action.

    Lastly, Congress gave the Chairman authority to bring enforcement actions against any tribal
    gaming operator or manager that \'iolate~ IGRA 's prov isi on~ . NIGC regulations. or tribal gaming
    ordinances. 25 U.S.C. § 2713. To assist the Chainnan in an enforcement investigation. the
    Commission may use its power lo request witnesses and documents and issue subpoenas. 25
    lJ.S.C. § 27l 5(a). AdditionalJy. the Commission may order depositions with proper notice to tht:
    partie~. 25 L . ~ .C. § 2715( d). For \'iolations of lGRA, the Chainnan may assess ci vii fines of up
    to $~5.000 per da~ or c.;losure of all or pan of a gaming operation. 25 U.S.C. ~ 2713(a)-(h}.

    !GRJ\ 's specific language is:

           The Chairman shall have the authority to levy and collect appropriate civil fines.
           not to exceed £25.000 per violation. against the tribal operator of an Jndian game
           or a management contractor engaged in gaming for any violation of this chapter,
           any regulation prescribed by the Commission pursuant to this chapter. or tribal
           regu lations. ordnunccs, or resolutions approved under section 2710 and 27 J 2 of
           this title.

   25 ll.S.C. § 27131.aJ.

   The Chaill11an may only bring enforcement actions against those operations that come within the
   Commission's jurisdiction, and as explained above. the Commission' s jurisdiction extends onl)
   to Indian lands. Accordingly, the Chainnan must have the ability to detem1ine whether the
   operations are on Indian lands in order to be able lo bring an enforcement action in the first
   place.

   Once again. courts recognize this. The District Court for the Western District of Washington
   r~L:cnll y held that '·tribal gaming under JGRA must occur on · 1ndiru1 lands' and the N JGC is the
   ngcncy charged with ensuring this happens.'· North County Communil)• Allianc<' v. Kempt home,
   No. C07-1098-.lCC. slip op. at 14 (W.D. Wash. Nov. 16, 2007).

   Again, then, the Chairman's statutory authority to bring enforcement actions for IGRA violations
   necessarily gives him th e exclusive authority in those instances to detcnnine Indian lands for the
   puq1ose of assessing his jurisdiction. For the same reasons, the Chainnan also has exclusive
   authority to makl.'. an Indian lands detennination as pa11 of investigating whether a tribe is
   gaming 011 lndian lands \\'here gaming is prohibited under JGRA. TI1is was the essence of the
   Chairman's Poarch Band dctcnnination. He acted under the authority expressly granted to him
   Lmdcr lGRA. 25 U.S.C. ~~ ~705(a){ 1 \-(2). 2713(a). and responded to the State of Alabama's
   concern tlrnl lht: Tribe was guming on lands in \'iolation of JGRA. The Chairman issued a
   decision conclud ing thal no enforcement action was warranted because the Tribe was gaming in
   compliance with IGRA. The Chaim1nn·s decision was squarely within this statutory enforccmcnl
   authority.




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   111. Case:
USCA11   Due to it~ status as Document:
              21-11643                  36 regulatory
                              nn independent           agenc'"
                                              Date Filed:      the Secretary
                                                          07/27/2023         does
                                                                         Page:    notofhave
                                                                                177     1019
         thr authority to order the ~JGC to take actions on whether to re2ulatc gaming

    All of that said. the Secretary Jacks the authority to oversee the Chairman·s Poarch decision for
    01her. equall y sufficient rcas011s. NJGC's nominal placemeTll "within'· the Department of th<.:
    1ntcrior is insufficient to give the Secretary any authority over NIGC decisions. Congress. courts.
    and other federal agencies lrnvc all acknowledged NJGC as an independent agency. Your
    analysis ignores this. lt also ignores JGRA 's language and legislative history. case law that
    specifically addresses the NJGC" s independence, the course of dealing between the Depanm cnt
    and l\rJGC that treated the NTGC as independent, and the history of the treatment of the NIGC as
    independent by other offices of the ExecutiYe branch and the Congress .

            ..\.The NJGC' Meets All of the Characteristics of Independent Agencies

    .luslict Sutherland described the independent agency:

            [It is] a hod>' t'f experts who shall gain experience by length of service -
            a hody which shall be independent of executive authority, except in its
            selection, and free to exercise its judgment without the leave or hindrance
            of any other official or any department of the. government.

    1!11111phrc•1 ·.\ f,\-'r 1•. l '11ired )rares 295 U.S. 602, 624. 625-626 (1935) (internal citations
    om illed), cited 111 Breger & Eciles, Es1abltshed hy Practice: The Theory and Opermion of
    lndepcndcm lcdcra/ Agencies. 52 ADMIN. L. RF\'. 1112, 1113 (Fall 2000).

    Numerous other law rcvie\\ aniclcs and treatises have been written on the subject of independent
    agencies and their identifying characteristics. See, e.g., Symposium: The Jndepe11dena o.f
    J11depe11dem Agencies, 1988 DllKf L.J. 215; A Symposium on AdminisLrativc law: The Uncmy
    Co11sritutio11al Sraws o.f 1he Aclministrat1ve Agencies, 36 AM. U. L. Rev. 277 (1987); Geoffrey P.
    Mi 1ler, Independent Agencies, 1986 Sup. CT. REV. 41 ; Peter L. Strauss. The Place of Agc11c1e.\ 111
    (l(wemmC'm: Sepamrion o.f Powers a11d the Fourth Branch, 84 COLUM. L. R.Ev. 573 (1984); and
    Bernard Schwartz. Administrative law§ 1.10 at 20 (3d ed. 1991). The Breger & Edles article is
    noteworthy here. however, not only because it explains those idemifying characteristics but also
    because it ana lyzes the NIGC' as part of its survey of 32 independent agencies. Breger & Edles at
    1139. 1272-1273.

    The following are the fundamental characteristics of agencies ihat are independent of executive
    authority:

                •   /\ multi-member commjssion whose members serve fixed tenJlS.

                •   Protection against removal except "for cause ...

                        The defin ing characteris1ic of the 32 agencies discussed in Breger anti Edlcs 's
                        artic le is that al least one member of the agency is appointed by the President
                        to a full-time, fixed tenn positio11 with i hc advice and consent of"thc Senate




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                        and has protection against summar~ removal b) some form of "for cnuse'·
                        restriction on the Presidcm·s authority. id. at l l 13.

                        This ··for causl ·· rcmO\ al feature continues to be a critical criterion by which
                        scholars typically distinguish between '·independent"" and executive branch
                        agencies. See. e.g.. Da\'is & Pierce. Ad111i11ismnive Law§ :!.5 at 46 (3d ed.
                         1994) (''The characteristic that most sharply distinguishes independent
                        agencies is the existence of a statutory limit on the President"s power to
                        remove the head (or members) of an agency.'' Schwartz. §1.J 0 at 20 ('The
                        key to independence is security of tenure."): and Peter L. Strauss, An
                        J111roducTio11 to Administrmive Justice in !he U11i1ed States 15 (1989)
                        ('"Because [independent commission] members arc appointed for fixed term~
                        from which they ca1mot be dismissed without forn1al cause, they are more
                        remote rrom presidential influence and control than the more usual ·executive·
                        agency.").

                •   Possess a combination of rulemaking, enforcement. and adjudication powers and
                    functio ns.

                •   Members generally appointed by the President with the advice and consent of the
                    Senate.

                        This is not always the case as Breger and Ed les noted with the NIGC: '·for
                        example. the chainnan of the National Indian Gaming Commission is
                        appointed by the President with the advice and consent of the Senate, but the.
                        other two members are appointed by the Secretary of the Interior. All
                        members serve three-year tenns and can only be removed from office for
                        good cause:· Breger and Edles at 11 39.

                •   Typically, agency statutes require political balance. i.e. no more than a bare
                    majority of members may come from the same political party.

                •   Agency has specialized mandate directing it to focus either on particular industry
                    or on specific cross-cutting problems.

                •   Agency makes its own submissions to Congress.

                •   Agency chairperson is the chief executive and appoints and supervises staff and
                    prcpnres the agency's budget and expendirnre of funds.

    Id. at I I I 2. I 138-1142. I 115 and 1165.

    The NIGC' possesses all of these hallmarks of an independent agency:

       •    The Commission is 1_1 multi -mcmhcr body whose members serve fixed terms. 25 U.S.C'
           ~ :270-l (b)(~}(A).




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     • Commission members enjoy secure tenure. Commissioners are rcmovahle only for cause.
                      *
        25 l "... C'. 1704(b){6).

        •   The Commission possesses a combination of ru lemaking, enforcement and adjudication
            powers and functions. Sec, e.g.. 25 U.S.C. § 2706(b)(IO) (the Commission "shall
            promulgate such regulations and guidelines as it deems appropriate to implement the
            provisions of this Acf'); 25 l.i.S.C. § 2706(b)(l )-(4) (Commission to monitor gaming,
            inspect gaming facilities, conduct background investigations and audits): 25 U S.C.
            § 2715(al (subpoena and deposition authority for any matter under investigation); 2)
            ll.S.C. §* 2705(a)(2). 2713(a) (Chainnan has authority to assess civil fines of$25,0CHI
            per day): 25 U.S.C. ~ 2705(a)( 1),27l3(b) (Chaim1an has authority to order temporary
            dosurc of casino): 25 U.S.C. § 2706(b)(8) (Commission ma) hold hearing~ and take
            testimony as necessary): 25 U.S.C. ~ 2713(a)(2) (appeal of Cbairman·s civil fine
            assessment 10 full Commission): and 25 U.S.C. § 2713(b)(2) (appeal of Chairman's
            closure order to ful l Commission).

       •    The Chairman is nppoimcd by the President v. ilh the ad\'icc and consent of the Senate. 2)
            I. i.S.C'. ~ ~704(hH I)(/\).

       •    /\ppo1mments to the Commission arc limited by political party and tribal membership .
            Spcci fic:.tll). no mon. than t\\'O commissioners may he from the same political part) and
            at least two commissioners must he enrolled members of an Indian tribe. 25 U.S.C'
            * 270-t (b)(J).

       •    Congress delegated powers to the Commission in furtherance of a specific mandate,
            namely the oversight and protection of lndian gaming and the promotion of tribal
            oconomic development, tribal self sufficiency, and strong tribal government. 25 U.S.C.
            *~ 2701. 2702

       •    The Commiss10n is required to submit its own repon to Congress with information 011 its
            funding. recommendations for amendments to lGRA. and any other matters considered
            appropriate by the Co1111111ssion. 25 ll.S.C. § 2706(c).

       •    The C'hairman is the chi er executive of the NlGC. He appoints the General Counsel. 25
            li.S.C. § 2707(a). and appoints and supervises other staff of the Commission. 25 U.S.C.
            § 2707(b). /\t the request of the Chairman. "the head of any federal agency is authorizctl
            to d~tail of the personnel of such agency LO the Commission ... : · 25 U.S.C. ~ 2707(<1).
            The Chairman and lhL Commission prepare and adopt the agency·s budget. 25 U.S.C.
            § 2706(a)(l ).

    Moreover. other ~xecutiw dc:panmcnt~ haw indc:pentlcnt agencies ·'within" or '·in" them. For
    t''rnmplc. the Feder:d Lncrg) Regulator~ Commissio11' s (fERC) enabling leg1slation describes it
    as till '·independent rc·gulntor) commission·' \\'ithin the Department of Energy. Notwithstanding
    its locution, couns treat FERC' as t111 entity independent of the Department of Energy. Consumer
    F.11crgr Council ff.lmcrirn \' FERC. (1iJ F.2d -t25, -t72 (0 C'. C'ir 1982) (identifying FER.(' ns



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    lu11ctiom1l ly indepencle111 of the Executh·e Branch due to tenure of commissioners and finding
   that the Supreme Coun ha~ upheld .. the constiturionality of such agenc~ independence·').
   Additionally, the legislation creating the Surface Transportation Board states that •·[t]herc: i~
    hereby established withi n the Dcpmimcnt of Transportation the Surface Transportation Hoard:·
   ..+9 U .S.C. ~ 70 I (a). See also Commo11wealth of Pe1111sylva11ia l'. Swface Tronsponatio11 Board.
   290 r. ~d 522. 524 (3rd Cir. 2002) (''The Surface 1 ransponation Board is the independent federal
   agency established by Congress wirhin the Department of Transportation and has the
   responsibi lity for lhe economic regulation of the country"s railroads."'). Likewise, the legislation
   creating the United States Pnrole Commission provides that ·'ftlhcrc is hereby established an
   indcpenJent agency in the Depa11ment of Justice ... :· 18 U.S.C. § 4202. Sec also U.S.'" C<~v<'r,
   732 F.2d 196, 200 (1984) (describing the Parole Commission as ..an independent agency of the
   t.xt:cutivc subject to the supervisory oversight oflhe Congress .. .'").

           B. IGRA 's Statutory Provisions and Legislative His tor~ Show that NJGC is an
           Independent Agcnc~·

   Congress explicitly made the NlGC an independent agency. lGRA states. ··the purpose of' this
   chapter is ... to declare that the establishment of independent Federal regulatory authority for
   gaming on Indian lands ... and the establishment of a National lndian Gaming Commission art
   nccessar~ to meet congressional concerns regarding gaming and to protect such gaming as a
   1m.:ans of gi.:1H:rming trihal revenue:· 25 U.S.C. § 2702(3)). \.Vhile this language could be
   construed lo create authority independent of tribes and states rather tban to create a regulatory
   body independent of the Executive, a review of the legislative history dispels this notion.

   Again, where ··the resolution of a question of federal law turns on a statute and the intention uf
   Congress, we: look first to the statutory language and then to the legislative history if the
   statutor~ language: is unclear:· Toibb v. Radloff. 501U.S.157, 162 (1991), citing Blum v.
   S1<!1°e11so11, 4<>5 U.S. 886, 896 (1984). Here, the Senate repon accompanying the passage of
   lGRA provides Congress·s imemjon clearl) and unambiguously: the bill ·'established a National
   Indian Gaming Commission as an independent agency within the Department oflnterior.'· S.
   Rep. No. 100-446, at 1 ( 1988). This language clarifies. beyont.l an) doubt, Congress's intention
   to create the NlGC as an independent agency. Lest there be any doubt, however, Congress
   mterated its intention when it amended IGRA in 2005:

           Additionally. it is to be noted tbat the NlGC is an independent regulatory agency.
           This status has ramifications, including. that the agency is not governed by
           Executive Order 13175, which compels agencies other than independent
           regulatory agencies lo consult tribal officials in the development of regulatory
           policies that have tiibal implications. The Executive Order encourages
           independent agencies to observe its precepts, however, and the Committee notes
           with appro\'a] that the Commission, through its current consultation policy. has
           endeavored to do so.

   S. Rep. No. 109-1.::'..2 at 3 (2005).




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        C. Courts
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   Sl·vcnil courts have held that NJGC 1s an independent agency. ln 1991, shortly after IGRA was
   pass<.:c.l and before the NlGC was rully functional. the Tenth Circu it Court of Appeals recognized
   that under IGRA. gaming .. is subject to the supervision of a newly created, independent
   regulatory authority- the National Indian Gaming Commission - established to meet
   congressional concerns regarding gaming and to protect such gaming as a means of generating
   tribal revenue." U111ted Keetoowah Band of Cherokee Indians '" Oklahoma, 927 F.2d 1J70, 117(1
   (I 0111 Cir. 19')1 ). <jl/Oling 25 u.s.c. §§ 2702(3). 2704. !GRA was described by this C()Urt as "a
   comprehensive and pervasive piece of legislation that in many respects preempts other federal
   lmvs th~ll might apply to gaming." Id. , quoting Luc clu Flamheau Band of Lakf! Superior
   Chippewa J11dia11s 1•. Wisco11si11. 743 F. Supp. 645, 648 (D.Wis. I 990). Likewise. in two separate
   cases. the ~cventh Circui1 noted NJoc·s independence. United Swres ex rel. Jin!/'" Trdwl JJe1'.
   Corp .. 49 F.3cl 1208 (7111 Cir. J995) (the NlOC is a "three-member inderendent agency within the
   O~partment of lnterior."): Unit<!d Stares ex rel. Mosay v. Rujja/o Bros. Ma11agc111cn1, 20 f..3d 7'}.9
      111
   (7 Cir. 1994) ("Congress enacted the Indian Gaming Regulntory Act, wh ich estahli shes a threc-
   mcmbcr independent agenc:-i within the Department of lntt.:rior. the National Indian Gammg
   Commission. to supi.:rvise Indian gambling."')

          D. ThC' Cour-;e of Ocaling Between th e Departme nt and NIG(' Sup po rt~ ~ I GC'
             Jndcpendent A ud10rit~ .

   I note that the your current claim stands in stark contrast not 011Jy to the court opin ions discussed
   uhnvL. bur to the Department's own position as stated in Soc and Fox .Nation v. Norton, 240 F.3d
   1250. 12(>5 n. 12 ( J 0111 Cir. 2001) ("Although the Commission is nominally part of the
   Department of the Interior. the Secretary conceded at ornl argument that the Commission
   runctions as an independent entity."').

   You cite to the Departmental Manual for support of your new claim that the Department must
   supcr\'isc the work of the NlGC. Sec Letter from Bernhardt to l logen of 6113/08. This fails to
   acknowledge the true nature of the relationship: the Department is obligated througJ1 contrac1u al
   relationship to providt.: NlGC with administrative services. By statute, the N1GC is free to
   contract elsewhere for such services, though the Department is obligated to provide them upon
   request. 25 u.s.r.
   § 2707{e).

   In ranicular. NJGC contracts with the Department for suppon services such as persom1el
   Sl'rviccs and hearing officials for administrative appeals before the Commission. The NJGC petys
   for :111 services it receives, and the Department provides these services at NIGC's r1,;quest
   because it is required to do so under JGRA. 25 Ll.S.C. § 2707(e). If the NJGC were simply pan
   of the Department, a Congressional mandate of services wou ld be unnecessary. Thus, despite ti1 is
   relationship of contractual service. JGRA indicates that the NlGC 1s mdcpendent from the
   Secretary. and 11 stretches the imagination 10 think th is relationship could give thL: Secretary any
   authority over the NIGC.




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   Further, contrary to your asserlion that the Commission must seek its legal advice from the
   Department. IGRA specifically directs the Chainnan to appoint a General Counsel. 25 U.S.C'.
   * 2707(a). If Congress had intended the Chairman LO rely on the Department for advice, it wou Jd
   not have provided for a separate General Counsel who is answerable only to the Chaim1an. In
   fact. Congress underscored the importance of independent legal advice by making the General
   Counsel the only staff position specifically designated within IGRA. What is more, given that
   IGRA gi,·cs lo the Chairman the authority to appoint a general counsel. the legal advice given by
   the gen~ral counsel's office is for the use and approval of the Chairman and the Commission
   alone. They, and only they. are OGC s clients. As such. even if the Chairman· s May l 9 Poarch
   Band decision was an opinion of the OGC. neither the Secretary nor your office has the ability to
   review. approve. or reject it.

   Looked at slightly differently. Congress has tasked the NIGC with providing technical assistance
   lo the tribc:s. 25 U.S.C. ~ '.2706(<l)(2). ·1t.:<.:hnical assistance encompasses a broad range of
   activities. and one panicular way that the Commission meets this obligation is to pro\·idc legal
   opinions through the OGC on mauers over which the Commission exercises jurisdiction. These
   opi nions may clarify various matters under JGRA from game classifications to Indian lands
   status. The Secretary's interpretation oflGRA. however, would deny the Commission's ability Lo
   opine on Indian lands gcncrall y. This runs afoul of the requirement to providt! technical
   assistance and would improperly prevent NJGC from fulfilling its statmory mandates.

   On occasion, the NJGC does require legal advice in matters of general law. Pursuant to a
   memorandum of understanding with the Office of the Solicitor, the NJGC fonnally requests
   advice and pays for the sen·ice. See Memorandum ofUndersLandjng, from Tadd Johnson,
   Chai1111an of NJGC. 10 Robert More, Director of Administration, Department of the Interior
   \undated). As wiLb the administrative services, the Department provides occasional legal advice
   only through a contractual relationship and the NJGC is free to adopt such advice or obtain it
   dsewhere. As such. when the NIGC seeks to do business with the Department ofJnterior, it
   frequent!; does so through a memorandum of understanding or other cooperative agreement, not
   through any perceived chain of command.

          E. Congress Treats the NIGC' as an Jndepcnden1 Agency

   After all these years of functioning as an independent agency, one would thin1'. Con&rress would
   let the NJGC knov-.' if it did not intend for it to be one. To the contrary, however, Congress
   interacts with the NJGC as an independent agency and recently reiterated its independence.
   Again, in 2005. when Congress raised the cap on the amount of fees the J\TJGC can colJect from
   tribal gaming revenue, the Senate report accompanying the legislation noted the NIGCs status as
   ui1 independent regulatory agency. S.Rcp. No. 109-122 at 3 (2006 ).


   Further. NJGC makes its own submissions to Congress. Pursuant lo lGRA, the NJGC issues its
   own biannual rcpons Lo Congress. 25 U.S.C. § 2706(c). The Commission has submitled reports
   for flscal years 1998, 1999, ~000, 2003 and 2004. Since passage of NlGC fees legislation in
   2005. the NJCiC is required lo comply with the Government Perfomrnnce and Results Act of
   1993 cGPRA) 31 ll.S.C. ~ 11 I 5 et. seq. Furthermore, the NlGC Chairman testifies directly




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   it holds NIGC' oversight hc.:anngs.

           F. The Department of Justice and the National Archives and Records
           Administration Treat the NJGC as an Independent Agency

    The Department of Justice (DOJ) also recognizes lhe NIGC as an independent agency. The
    l\lGC is involved in litigation in its own name. See, e.g., Colo. River Indian Tribes v. Na!'/
    Indian Gaming Comm 'n, :2007 U.S. App. LEXJS 1651 (D.C. Cir. .Ian. 23. 2007); Seneca-Cayuga
    7i·ih<? o,(Okla. 1•. Nat '/ Indian Gaming Comm 'n, 327 F.3d I019, I 02 1 (I oth Cir. 2003); JP/ti/
    C'011.rnlwms. inc 1· \'m '/ 111du111 Ga111illg Comm '11. 1999 U.S. App. LEXIS 11022 (D.C. Cir. Apr.
    29, 1999 ); Cahazon Band o.f Missf011 Indians r. JI/ationa/ Indian Gaming Comm ' 11, 304 U.S. App.
    D.C'. 335 (D.C. ("ir. 1994); Citi::.e11s for Responsihi/ity & Ethics in Wash. v. Nat'/ Jndian Uamim!,
    Comm 'n, 467 f. Supp. 2d 40. 45 (D.D.C. 2006).

    Furthem1ore, in the Unified Agenda listing published twice a year by the National Archives and
    Records Administration, '"'hich summarizes the rules and proposed rules that each federal agency
    expects to issue during the next six months, the NlGC is listed separate]~ from the Departmcm and
    with all of the other independcm agencies. See http://www.gpoaccess.gov/ua/browse 1204.hunl.
    Congress. the courts, the Department. and other federal agencies have all acknowledged NIOC's
    inctependcnce from the Department. Therefore. the Secretary's claims of authority over NJGC are
    unfounded.

    \'.    The Secretarv cannot grant himself more power through regulation than Congress
           has granted through statute.

    Finally. you claim that the Secretary has power to review Commission decisions under the
    Department's regulation 43 C.F.R. § 4.5(a). Yet IGRA specifically states that decisions of the
    Chairman are reviewable only by the Commission and federal courts. 25 U.S.C. §§ 2713, 2714.
    You may nm in terpret 43 C.F.R. ~ 4.5 in a wa) that allows you to usurp the authority that
    Conb'Tess expressly granted to the Commission. '·An agency literally has no power to act ..
    unless and until Congress confers power upon it. . .. An agency may not confer power upon
    itself." La Public 5:erv. Comm 'n 1•. FCC, 476 U.S. 355, 374 (1986).

    Section 4 5 gives the Secretary the authority "to reYiew any decision of any employee . . of the
    Departmem ... or to direct any such employee ... to reconsider a decision .... " ln carrying out
    this autho1ity, the Secretary will issue a written notice, request the administrative record. and
    subsequently issue a new written decision on the matter. 43 C.F.R. § ..+.5(c). While this rule
    clarifies the Secretary's authority to review decisions made by his subordinate divisions, it docs
    not grant him power to review the decisions of those outside hjs chain of command. MCI
    Telecom. 1·. AT&T, ) 12 U.S. 2 I 8, 231 ( 1994): sec also Massachusetts 1•. EPA. 127 S.Ct. 14.18.
    1462 (2007). ·1 hus. the Department'!' regulation in section 4.5 (or any other regulation) docs not
    give the Secretary the authority to revic\\ or oven um decisions of the NlGC Chairn1an.

    The Secretary mny only rcvic"' those decisions under section 4.5 that he has the authority to
    rl'\'iC\\. The Chainrnm is expressly granted enforcement authority over IGRA violations. 25




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   Li.S.C. ~§ 2705. :2713. Th<.: Chairman\ decision in the Poarch maner wa~ not an opinion but n
   delcrmi1wtion of !\JGC jurisdiction and a conc lusion that the Tribe was not violating JGRA. To
   decide\\ hcther the Tribe was violating IGRA. the Chainnan had to delennine whether the lands
   constituted Indian lands on which the Tribe could conduct gaming. The Chairman·s decision was
   a pn:cursor to an enforcement action over which the Secretary can claim no authority.

   Allowing the SecrGlary to re vie\.-\ the Chairman·s exercise of his statutory powers would directly
   contran:ne the express will of Congress. ··To pt:rmit an agency to expand its power in the face of
   a congressional limitation on its jurisdiction would be to !,'Tant Lo the agency power to override
   Congress. This we are both unwilling and unahk to do.'· /.a. Puh/i(' Sen'. Comm '11 v. FCC 476
   U.S. a1 374-375.

   CONCLUSlON

   After thorough reYie\\ of your leuer, statutes. and case law. I conclude that the Secretary does
    not have the broad authorities you claim. Congress created the NJGC' as an independent agency
   to administer JGR.A and thereby vested regulatory authority for Jndian gaming with the
   Chaimrnn. The Oepartrnenf s nuthorit~ under !GR.I\ is limited w 1hai express]) authorized by
   stawtc. Where JGRA is silent in delegation, that authority must necessarily rest with the
   administrator of th<.: statute, the NlGC. Further. JGRA grants NJGC the power to determine its
   jurisdiction to monitor lndian gaming and to take action on site-specific ordinances. management
   contracts. and enforcement. This necessarily grants the agency the power to issue Lndian lands
   decisions in those comexts. The Chairman acted ·within his statutory enforcement authorit1 wl1cn
   he investigated the complaint of the State of Alabama and ultimately determined that the Poarch
   Band was properly gaming on lands within the definition oflGAA. The Chairman· s decisions
   are review able on!} by the Commission and the federal couns. Any re,·iew by the Secretary
   would fail to account for NIGCs status as an independent agency and directly contravene
   express statutory language transferring the Secretary' s authorily over gaming to the Commission.

   For all these reasons, you do not ha\·e the authority lO reviev,' the Chairman· s Poarch Band
   decision or to order the Commission not lo act in compliance with that decision. Conseq uentl y,
   the Commission will continue to regulate the Tallapoosa si1e as mandated under lGRA.

   Sincerely,


~~j~
   Penny .l . Coleman
   Acting General Counsel

   cc: Buford L. Rolin, Poarch Band Tribal Chai rman
      Wilham Perr_\ . Sonosky, Chambers Sachse. Endreson & Perry
      Tro: Kmg. Anorney General, Stale of Alahama




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                       EXHIBIT E
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                          RG279 Records of the Indian Claims
                                   Commission


                        Closed Docketed Case Files, 1947-82

                                     Docket# 21



                     Box 319                         Entry 11UD


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                                 B.l!..'J;'ORE THE INDIAN CLAIMS COM!,'[!SSION



       --
       THE. CREEK NATION,                              )
      /;                    Petitioner,               )
                                                       )   ...   ,.
               vs.                                     )              OOCKET
                                                                        ...  NO, 21
                                                       )
     '\ THE UNITED STATES,                             )
           ~                Defendant,




                / STATEMENT OF SPECIFIC POINTS OF LAW AND AUTHORITIES
                  IN SUPPORT OF MOTION FOR LEAVE TO INTERVENE.




                                                       I,

               nus COML!IS&'ION CJ\11 AND SHOULD GRANT INTERVEt'TION IN PROCEEDINGS BEFORE
        IT ON A PROPER SHOWING.

               1.     lhe right to intervene is ene well-recognized by federal tribunals as
           I
       a fundamental. right; no express statutory authority is required.

                 a.     Whil e in some jurisdictions the authority of courts to al.low

        intervention is not recogni zed in the absence of statute, it has been

        recognized for many years in federal tribunals as a fundamental power of

        courts not dependent on statute.               See Moore, Federal. Practice and Procedure,

        Section 24.
                b.      Rule 24 of the Federal Rules of Civil Procedure now provides for

        inte..-rvention in federal district courts as follows:

                      (a)    Intervention of Right , Upon timely appl.ication anyone
                            11

                             shall be permitted to intervene in an action. (1) \./hen

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                                                                                            '
                            a statute of the u. S. confers an unconditional
                            right to intervene; or (2) when the representation
                            of the applicant's interest by existing parties is
                            or may be inadequate and the applicant is or may be
                            bound by a judgment in the action; or (3) wben t he
                            applicant is so situated as to be adversely affected
                            by a distribution or other disposition of moneys in
                            the custody of the court or of an officer thereof.

                      (b)     "Permissive Intervention. Upon timely application
                            .anyone may be permitted to intervene in an action:
                              (1) When a statute of the U.S. confers a conditional
                             right to intervene; or (2) when an applicant's claim
                             or defense and the main action have a question of
                             law or fact in common. In exercising its discretion
                             t he court shall consider v1hether the intervention
                             will unduly delay or prej~ce the adjudication of the
                             rights of the original parties.



                 c.     ~ile the Federal Rules are not directly applicable to procedure

       before this Commission, Rule 24 is a clear statement of the rule in all.

       federal tribunals, even in t he absence of statute or any specific rule of

       court.     For, as the Committee Note, written at the time of promulgation of

       the Rules, states concerning Rule 24:

                            "This rule amplifies and restates the present federal
                             practice in law and in equity".

            2.        In line with its broad jurisdiction and powers, this Commission has

       the authority to grant intervention.

                 a.    The Act creating this Commission gives it an exceedingly broad

       jurisdiction over Indian claims, with the avowed purpose, as shown by the

       language of the Act and by the Committee Reports, of enabling the Commission to

       determine finally all claims of Indian groups.        (Act of August 13, 1946, 60 Stat.

       1049; Report No. 1466 of the Committee on Indian Affairs of the House of

       Representatives, 79th Congress , 2d Session; Report No. 1715 of the Senate

                                              - ?. -




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'( "v
                   b.          Tbe grant of this broad jurisdiction necessarily implies t he grant

           of authority t o perm.it these claims to be brought and adjudicated in the most

           expeditious and just manner .

                      c.       '!lie Act gives the Commission the power to establish its own rules

           of procedure.           (Act of i;ugust 13, 1946, 60 Stat. 1049, Section 9) .    The Commission

           is thus the master and not the servant of its written rules of procedure, which

           were doubtless promulgated by the Commission for its convenience and that of

           claimants, and not to define the limits ~f the procedural authority of the

           Commission.
                 3.        The Commission should grant intervention where it will avoid multipli.city

           of actions or prevent injustice.

                      a.       It is obviously to the interest of the Col!!Jllission as welI as of

           claimants bet.'ore it to apply rules of procedure granting. intervention, everywhere

           recognized by statute or court decision as promoting a just, equitable and

           expeditious handling of causes.



                                                                             ·:· ', :
                                                                            ... ,,

                 APPLICANTS FOR INTERVENTTON HEREIN ARE A TRIBE, BAND OR OTHER IDENTIFIABLE
                           .   ~




            GROUP WITliIN THE MEANING OF THE INDIAN CLAIMS COM!.!ISSION ACT.
                       =
                 1.        Applicants are members of, claiming on the relat ion of, the Perdido

           Band, a band of Creek Indians, duly organized.

                 2.        Applicants claim1lllder the rights of the Creek nation as constituted

           at the time of the injury, prior to the migration of a nUl!l)er of its members.

                                                        - 3-




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             3~ While the Perdido Band is but -a newly formed band of desce?'.dants of
       the original Creek nation, the effect of gr.antiz:,.g intervention will be to

       pl.ace before this Commission t he cl'aim of the entire Creek nation ;as it existed

       in 1.814 , and t he right of -all living desceDdants of its members to recovert,

            4. The origi nal Creek nation of I ndi'alls is ,a readily identif iable tribe
       or nation whose aboriginal territor y was in Alabama, Georgia ,and Florida.

       An offi c:l:al. census of its members, known ,as P.arsons• ,and Abbott's census, was

       taken in 1832.



                                                III.


             APPT.ICANI'S FOR IN'.l'ERVEll'TIQN HAVE SUCH AN INl'EREST IN THE CON'l'ROVERSY THAT

       Tm SHOULD BE ALLOWED TO I NrERVENE.
            l.     Where the interest of a party is of such direct ·and immediate char.acter

       that he will either gain or lose b y the direct l egal. oper ation and effect of

       judgment, he is entitl.ed to intervene,          (39 Am, Jur 935) •

            .2 .   The injury for which relief i s sought in this proceeding is one inflict ed

       on the Creek nation in 181.4 by the taking of its I-ands.             (Petition, Paragraphs 4 to

       19, inclusive),

            3.     These lands were held as communal property.          (U. S, vs. the Cherokee Nation,

       (1.906) ·202 u. s. 101, '.26 s. ct. 588, 599, ·af'firming (1.905) 40 ct. m.. '252. ).

            4.     The right of compensat ion f or the taking belonged to ·al.l then member s

       of the nation.     u. S, v . Cherokee Nation, supr.a, '26 s. ct. at p 599, ,quoting with
       approval. from the opinion of the Court of Cl'B.ims, -as foll.ows:

                                    "while the United States have ,always, or nearly ·al.ways,
                           '2        treated the members of an Indian tribe -as commun'S.l ewners,
                                     they h·a ve never required that al.l t he communal. owners shall
                                /
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                                join in the conveyance of cession of the land.
                                From the necessities of the case, negotiations have
                                been wi tti representatives of the owners. The chiefs
                                and head men have ordinari1y been the persons who
                                carried on the negoti'ations :and who signed the treaty.
                                But they have not formed ·a body politic or a body
                                corporate, .am they have not assumed to hold the title
                                or be entitled to the purchase money. They have simply
                                acted ,·a s representatives of the owners, making the cession
                                on their behalf, but .al.lowing them to receive the considera-
                                tion per c·apita. In the present case the Cherokee Nation
                                takes the place, so far as communal ownership is involved,
                                of the chiefs :and head men of the uncivilized tribes. This,
                                too, is consonant with the usage of nations. The claims of
                                individuals :against -a foreign power :are always presented,
                                not by them individually, but by their government. The
                                claims .are pressed as international., but the money r eceived
                                is received in trust, to be paid over to the persons entitled
                                to it.•

                 my recovery was distributable per capita to these members.      (U. S. v.

       Cherokee Nation, supra, "26 s. ct. ·at P• 600).

            6.   The organization of the Creeks in what is now Oklahoma has never been

       recognized .as the full successor to the original Creek nation.     The fact that

       this organization represents only those Creeks migrating 'Westitard ·anc1 settling

       in the Indian Territory in what, is now Oklahoma is commonly reoognized in treaties

       ,and Acts of Congress.

                 ,a.   In the Treaty of February 14, 1833, _adjusting the boundaries of the

       Creek lands in the west, it ·was recognized that the Creek representatives signing

       the Treaty were ,authorized to :act only for Creeks west of the Mississippi.      The

       contracting Creeks were described as those "west of the Mis sissippi"-and it

       was stated that their Chief s had "full power and .authority t o.act f or their
       people west of the Mississippi".      The parties to the Treaty also recognized that

       t he greater body of the Creek nation :as of that time remained •on t he east side

       of the Mississippi.·"    (7 Stat. /,J.7).
                 b.    The description of the organization of the Creeks of the Indi'a.n

       Territory .appearing 'in treaties and statutes has commonly recognized the limited

                                             -5-




                                                                              MU001258
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                                                                                         100

       character of petitioner by describing it ·a s the Creek tribe ""est of the

       Mississippi River"   (Treaty of Au.gust 7, 1856, 11. Stat. 699), or as the

       "Creek Nation in the Indian Territory"   (Act of June '28, 1898, JO Stat. 495;

       Act of March l, 1901, 31 stat. 861; Act of' June JO, 1902, 32 Stat. 500).

            7.   This right passed to their descendants r egardless of whether they

       became members of the part of the nation residing in Indian Territory. W. s. v.

       Cherokee Nation, supra, 26 s. Ct • .at p. 600, quoting with appro.-u from the

       opinion of the Court of Claims, as follows :
                     "As to those Cherokees ·..ho remained in Georgia And
                     North Carolina, in Alabama .and Tennessee, they owe
                     no allegiance to t he Cherokee Nation, and the nation
                     owes no political protect ion to them. But they, as
                     collJlllUilal owners of the. lands east of the Mississippi,
                    ·at the tL~e of the treaty of 1835, were equally
                     interested, "1.th the co=unal owners ,mo "ere carried
                     to the West, in the t.,,000,000 fund 1'1hich was the
                     consideration of the cession, so far as it was to be
                     distributed per capita. The Cherokee Nation was not
                     bound to prosecute their claims agai.n st the United
                     States for the unpaid balance of the $5,000,000 fund,
                     but their rights were inextricably interwoven with
                     the rights and equities of the Cherokees who were
        /            citizens of the nation, and the nation properly made
                     no distinction when parting ,vith the Outlet, but
                     demanded justice from the Cherokee point of view for all
                     Cherokees who had been wronged by the nonf'ulfilment of
                     the treaty of New Echota. As to these Eastern nonresident
                     Cherokee aliens the nation acted simply :as an attorney
                     collecting a debt. In its hands the moneys would be an
                     implied trust for the benefit of the equitable owners;"

            s.   Recognition by the United states of the tribal organization.. of the

       migrating Creeks as the po+.itical body of the Creek nation could not constitutiomu1y

       operate to deprive your applicants and others s imilarly situated of their rights .

            9.   These rights were speeific.tlly guaranteed by the Act of February 8,

       1887 and the Act of May 8, 1906 (24 stat. 388, Section 6; 34 stat. 18:?). The

       latter ,a.et amended the earlier act to read in part :as follows,

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       lo
                    "Sec. 6. 1hat at the expiration of the trust neriod and

                   I
                   when the lands have been conveyed t o t he Indiaits by patent



              I
                   in fee, as provided in section five of this act, t hen each
                   and every allottee shall have the benefit of and be subject
                   to the laws, both civil and criminal, of the State oi'
                   Territory in which they 111ay reside; and no Territory shall
                   pass or enforce any law deeying = Y such llldian within its
                   jurisdiction the equal protection of the law. And every
                   Indillll. born within the territorial limits of the United States
                   to whom allotments shall have been made and ~o bas received
                   a patent in fee simple under t he provisions of t his act, or
                   under a:ny l aw or treaty, and every Indian born within the
                   territorial llm.its of the trnited States Ylho has voluntarily
                   taken up within said limits his residence, separate and apart
                   from any tribe of Indians therein, and has adopted t he habits
                   of civilized life, is hereby declared to be a citizen of the
                   United States, and is entitled to al.l the rights, privileges,
                   and 1JDm1m1ties of such citizens; whether said Indian has been
                   or not, by birth or otherwise, a member of any tribe of Indians
                   within the territorial llm.its of the United states Ylithout in
                   any manner impairing or otherwise af'fecting the right of any
                   such Indian to tribal or other property: H~n1ornMMM)E·Unun

                   "And provided further, That the provisions of this act shall
                   not extend to any Indians in the Indian Territory, " n uunn
                   (34 ~ t. 137)
            10.      Applicants, as Creek Indians and descendante of members of the original

       Creek nation, are entitled to share per capita in any recovery with -aJ.i others

      similarly sit uated.

            l l.     Applicants therefore have a direct and immediate interest in this

      proceeding.

            12.    1his interest is not being adequately r epresented by Petitioner,

      representing Oklahoma Creeks, which cl.aims exclusive right for its enrolled

      members and their descendants to any recovery obtained,



                                              IV.


               I
             'ffiIS MbTION !OR LEAVE TO INTERVENE IS TnlELY,

             1.    39 .Am. Jur. 943 states:

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                                                                               MU001260
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                                                       32 6 '7
                                                                                              102

                       "In the absence of statute, if the trial. of a suit
                       will not be delayed thereby, a person mey, with leave
                       of court, intervene at any time before the issues are
                       fully determined between the pl aintiff and the defendant,
                       and it is said to be within the discretion of the court
                       to permit an intervention, even though the defendant is
                       in default, where the application is made at the earliest
                       possible opportunity , 1he tendency of the courts, however,
                       is to exercise their discretion in f avor of the diligent
                       only. 11

            2,   In fact, intervention will be granted even after judgment were it

        in the interest of justice.     (39 Am . Jur . 943).   The defense of laches is

        expressly denied to the United States in cl.aims before this Commissi on (60 Stat .

        1049, Section 2) ,

            3,   1ho claim for which recovery is sought originated in 181.4.
            4.   It is thus the sense of the Congress and the logic of the cl.aim before

        this Court that your applicants should not be penalized for any delay in

        prosecuting their claim.

            5.   No party will be prejudiced by any delay in applicants' having presented

        their claim.

                 a.    1he basic issue in the proceeding remains the s11J1e.

                 b.    No new trial. of this issue is sought or vd.ll be required,

                 c.    Any i ssues presented concerning the interest of applicants in the

        recovery will not require extensive additional. proof .

            6.   Applicants have acted with due diligence to bring this motion upon

        learning of the claim of the Petitioner,



                                             v.

            A SERIOUS INJUSTICE WILL RE.SULT IF INTERVENTION rs NOT GRANTED.

            1.   Since the unlined right asserted is one belonging to the entire Creek

                                            - 8 -




                                                                               MU001261
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            nation, great injustice will result if applicants are not permitted to intervene

            and assert the right of al1 Creeks to participate per capita in the recovery

            which should properly be granted to the original Creek nation ,




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                                                                              MU001262
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                        Closed Docketed Case Files, 1947-82

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                            BEFORE THE INDIAN CLAI/$ COMMISSION



    THE CREEK NATION,                          }
                   Petitioner•                 )
                                                                                     I
            vs .                               I
                                               }
                                                             oocm NO. 21

                                               ~
    THE UNITED STi..TF.S,
                     Defendant,




                        /   M'.l'l'ION TO CHANGE RECORD NAME OF ONE       -~
                             OF 11ovurrs FOR LEAVE TO INTERVENE -     Fil<! A'4• J...lf. It;S" t

                   Come now C, W,   w/,yrn, PfBY, z. ~THERFORD, Jpl!N V, PJlI,LI?S and
    Jfm1 tiltLIAMS, as members of and on th.e relation of The Perdido Friendly
    Creek Indian Band of Alabrune. and Northffst Florida Indians, by their

    attorney, C, LeMoir Thompson, and move this Commission the.t the group on

    the relation of which said individual :m.ovants are appearing before this

    Commission be changed on the records of this Collllllission so as henceforth

    to appear 81l~     Tr   F       Nf ION EAST OiF THE W:SSISSIPPI, end as grounds
    for said motion state that,

                       l,   Prior to August 4, 1951, the group on the relation of

    which the individual move.nts are appearing was known by the name of •The

    Pardi.do Friend)J' Creek Indian Band of' .Alabe:ma and Northwest Florida Indians"

    which name had been du)J' adopted by the members of said group ,

                       2, On August 4, 1951, at a general meeti.Dg of the members
    of s1.1id group, the members of said group, by unanimous resolution du)J' par,sed

    in accordance with the by-law11 of said group, ·changed the nallle of sdd group

    to   •THE ci\EEK NATION E~T ck THE l(tssISSIPPI• ,
                       3,   At this meeting the membership conf'ir!lled, ratified and

    adopte~all actions taken by the gro11p occurring prior to the che.nge of name,



                                              - l -




                                                                                         MU001703
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                                                    ~6'7

                      4. A ca."'ti.fied copy of the minutes of said meeting, including
     the two above described resolutions, is attached hereto as Exhibit          •A• and
     made a part hereof.

                      5. Mo change in the o.rganization or composition or the group
     res•.llt~d t'rom or accompe.nied the cbange in name.

                      6.   A change in the record in this proceeding is necesssry in

     order to reflect th.a above described change or nallle.

                      7.   !lo he~.ring is requested on this Motion for the reason that

     it appears to be one which may be acted upon ex pa.rte under Section 5 {c) of

     the rules or this Colll!llission.

                VIJ!EREFORE, it is prayed th.at this motion be granted.




                                              C. Le~ THOUPSON, '
                                              ATTJ.RNEY FOR C. w. la::GHEE,
                                              RIJBI'.' z. WEATHERFORD, JOHN V.
                                              PHILLIPS AND JOHN UILLIJl.'&:l,
                                              AND THE CREE'C NATION EAST OF
                                              THE MISSISSIPPI, FORMERLY THE
                                              PEJWIDO FRIENDLY CREEK lNDIAN
                                              BAND OF ALABAMA A'lD NORTH'/IEST
                                              FLORIDA INDIA.>iS
                                              Bay ili.nette, Alabama




                                            - 2 -




                                                                                   MU001704
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                                                                 f'4.u . ''f, ,q 5"'1 .




                                          IN THE

                     Wnittb &tatts cttourt of cttlaim~
                                 Appeal Docket No. 14.


               C.   w. MCGHEE, RUBY z. WEATHERFORD, JOHN v. PHIL-
                     LIPS AND JOHN WILLIAMS, as Members of and on
                     the Relation of the Creek Nation East of the Mis-
                     sissippi, AppellQ/nts,
                                               v.
                    T HE CREEK NATION .AND T HE UNITED STATES,
                                         Appellees.


                            BRIEF FOR APPELLANTS.


                                               CLAUDE P EPPER,
                                                    Cafritz Building,
                                                    Washington, D. C.,
                                                    Attorney for Appellants.
               C. L ENOIR THOMPSON,
                 Bay Minette, Alabama,
               FRANK G. HOME,
                 Atmore, Alabama,
               HuGH RozELLE,
                 Atmore, Alabama,
                  Of Counsel.

                            Puss or BYRON s. ADAMS, WASHINGTON, D. C.




                                                                         MU003649
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                                                 The Indian Claims Commission Committed Re-
                                                    versible Error in Denying Appellants'
                                                    Amended Motion for Leave to Intervene ... : 141
                                                 I. The Indian Claims Commission Erred in De-
                                                    termining that '' the Petitioner in this Case
                                                    Has ('The Creek Nation' of Oklahoma) the
                                                    Exclusive Right to Prosecute the Claim Here
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                                                                                                 129
                                                                     IN THE

                                                  fflnittb &tatts t:ourt of Claims

                                                              Appeal Docket No. 14.



                                               C. W. McGHEE, RunY Z. WEATHERFORD, JoHN V. PHIIr
                                                   LIPS AND J oHN WILLIAMS, as Members of and on
                                                   the Relation of the Creek Nation East of the Mis-
                                                   sissippi, Appellants,
                                                                         v.
                                                  THE CREEK NATION AND THE UNITED STATES,
                                                                 A ppeUees.



                                                           BRIEF FOR APPELLANTS.



                                                  This proceeding is one of brother against brother.
                                               Creeks in Oklahoma, suing to repair an injury inflicted
                                               u pon t he common ancestor, seek to deny the right of
                                               their brother Creeks elsewhere to share in the r ecov-
                                               ery.
                                                 This appeal is from an Order of the Indian Claims
                                               Commission entered June 4, 1951, in its docket number
                                               21, The Creek Nation v. Th e United States, denying
                                               a ppellant Creeks' Amended Motion for Leave to Inter-
                                               vene a s parties plaintiff therein. The proceeding be-




                                                                                                     MU003652
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 130                                                                                                                            131
 low, in which intervention was sought and denied, was                      and in return was guaranteed all its lands within boun-
 one brought against the United States before the In-                       daries defined in that treaty. (R. 89, 7 Stat. 35)
 dian Claims Commission under the Indian Claims                                During the War of 1812, certain of the Creeks were
 Commission Act (60 Stat. 959, 25 U.S. C. 70) by "The                       persuaded to assist the British. Much the greater
 Creek Nation", a political body of Creek Indians in-                       number of the Creeks remained loyal to the United
 ha biting the Creek reservation in Oklahoma, to recover                    States, and in fact, fought against the rebellious
 damages for the wrongful taking of lands in what is                        Creeks, incurring great casualties, much suffering, and
 now Alabama and Georgia in 1814 from the original                          serious losses. Finally, of course, with the assistance
 Creek nation of Indians.                                                   of the United States, the uprising was put down. (R.
                                                                            4, 5, 6)
                  STATEMENT OF FACTS.1                                         In purported retaliation for this incident, the United
                                                                            States sent its emissaries to complete a new treaty
   Appellants, C. W. MoGREE, RUBY Z. WEATHERFORD,
                                                                            with the Creek nation under which, on August 9, 1814,
 JonN V. PHILLIPS, and JonN WILLIAMS, are Creek In-
                                                                            the Creek nation was compelled, by duress and threats
 dians, descendants of Creeks who were members of the
                                                                            of force, to convey to the United States 23,267,600
Creek nation of Indians on August 9, 1814, when by a
                                                                            acres of its domain without receipt of any considera-
certain treaty between the United States aud the Creek
 nation the latter ceded to the United States a vast tract                  tion therefor. (7 Stat. 120) (R. 6, 7, 8, 89)
of land in what is now Alabama and Georgia, and mem-
                                                                               It is the claim of petitioner-appellee 1 'The Creek Na-
                                                                            tion" of Oklahoma, as well a s of appellants, that the
bers themselves by blood of that nation. (R. 88).
                                                                            taking of these lands by the United States under this
   The original Creek nation of Indians, once known as
                                                                            treaty was an unfair imposition by the United States
the Muskogee Confederation was a great and powerful
                                                                            upon the Creek nation and inflicted an injury upon it
confederation of Indian tribes who were the aboriginal
                                                                            for which recover y is authorized under the Indian
inhabitants of a large area in what is now the south-
eastern United States, including nearly all of Alabama                      Claims Commission Act. (R. 13, 93)
and Georgia and parts of Florida and Mississippi. (R.                          Subsequent to this treaty, as the white settlers of
                                                                            the United States desired more and more room for ex-
2, 89) On August 7, 1790, the Creek nation entered
                                                                            pansion, it became the policy of the United States to
into a treaty of friendship with the United States
                                                                            move as many Indians as possible westward. (R. 90)
whereunder it placed itself under the protection of th~
                                                                               As the Commission found: "On January 24, 1826, 7
United States, ceded certain lands to the United States
                                                                        '   Stat. 286, the Creek Nation concluded a treaty with the
  1 Since no findings of fact have been made in this proceeding, no evi-    United States by which it ceded an area of its domain
de~~ taken on ~pp~llants' amended motion, and the eviden~e in the
pnneipal proceed1~g 1s not a _part of the record on appeal, the facts are   located in Georgia and lying on the east side of the
taken from un~e":'ed alle~a~1ons of the pleadings and motions herein,       Chattahoochee river. A portion of the tribe wished to
from the Comnt1sS1on 's opuuon and f rom the United States Statutes-at-
La~ge. Much that i s historical appears a proper subject of judicial        move west of the Mississippi river and the treaty pro-
notice.                                                          ·




                                                                                                                                    MU003653
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 132                                                                                                                1 33
 vided (Art. 6) for a 'deputation of five persons' to se-     phan children of the Creeks. Article III authorized
lect a country west of the river as a home for that part      the sale of the selections, and Article IV provided :
of the Creek Nation desiring to move west. " (R. 114)
'rhe area, located in what shortly became the Indian                 ' At the end of five year s, all the Cr eeks entitled
Territory and is now part of Oklahoma, was duly se-                to these selections, and desirous of remaining,
                                                                   shall receive patents therefor in fee simple, from
lected a nd a number of the members of the tribe mi-               the United States.'
grated.
   The pressure of the Federal Government on the              "Article X IT of this treaty quoted above discloses the
Creeks to move westward continued. As the Commis-             desire of the United States to move all Creeks west of
sion found: '' On March 24, 1832, 7 Stat. 366, by treaty      the Mississippi river, and as an inducement to move,
of that date, the Creeks ceded 'all their land, East of       agreed to pay the expenses of removal, provide sub-
the Mississippi river' to the United States. This treaty      sistence during removal and for a year after their ar-
contained this provision (Art. XII) :                         r ival west. However, such removal was not compul-
                                                              sory as to individual Creeks, for the article, as shown
       ' The United States a re desirous that the Creeks      above, contained the proviso 'that this article shall not
    should remove to tbe country west of the Missis-
    sippi, and join their countrymen there; and for           be construed so as to compel any Cr eek Indian to emi-
     this purpose it is agreed, that as fast as the Cr eeks   grate, but they shall be free to go or stay, as they
    are prepared to emigrate, they shall be r emoved          please.' '' (R. 115, 116)
    at the expense of the United States, and shall re-           On February 14, 1833, the "Muskogee or Creek na-
    ceive subsistence while upon the journey, and for         tion of Indians, west of the Mississippi '' represented
    one year after their arrival at their new homes-          by "chiefs and head-men of the said Muskogee or
    Provided however, that this article shall not be
    con-strued slO as to compel awy Creek Indian to           Creek Indians, having full power and authority to act
    emigrate, biit they shall be free to go or stay as        for their people west of the Mississippi, '' entered into
    they plea-se.' (Italics added.)                    '      a treaty with the United States in which title to the
                                                              territory in Oklahoma was confir med and guaranteed
" Article II thereof required the United States to sur-       by the United States. The treaty provided that these
vey the ceded area and allowed 'ninety principal chiefs       lands '' be taken and considered the property of the
of the Cr eek tribe to select one section each, and every     whole Muskogee or Creek nation, as well as of those
other head of a Creek family to select one half section       now residing upon the land, as the great body of said
each, which tracts shall be r eserved from sale for their     nation who still remain on the east side of the Missis-
use for a term of five years, unless sooner disposed of       sippi." Only those settling in the t erritory have ever
by them.' Provisions were also made for tak:ino-      0
                                                        a     derived any benefit from these lands. Grants of money
census of the persons making selections and for mak-          also agreed upon in the tr eaty were expressly stated
ing selection of twenty sections for the benefit of or-·      to be "intended solely for the use and benefit of that




                                                                                                                         MU003654
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 portion of the Creek nation, who are now settled west        mission to the Five Civilized Tribes was created by
 of the Mississippi." (7 Stat. 417)                           Act of March 3, 1893 (27 Stat. 645). By Act of June
    History does not record how many Creeks migrated          10, 1896, this Commission was empowered and directed
 to Oklahoma and how many remained in the South-              to make rolls of the citizens in the Indian Territory of
 east, but it appears that the number staying behind          these tribes to afford the basis of allotment of the
 was so substantial that it might fairly be said that the     tribal lands in the Indian Territory and division of
 Creek nation was divided by the migration. (R. 91, 92)       tribal moneys arising from the sale of lands. (29 Stat.
   The migrating Creeks formed an organization for            321) This allotment was further implemented by the
 the manag·emeut of their affairs in the Indian Terri-        A ct of June 28, 1898, which made additional provisions
 tory and were first called in treaties '' the Creek tribe     for enrollment, and provided that, for the purpose of
 of Indians west of the Mississippi" (Treaty of Au-            this allotment, ''No person shall be enrolled who has
 gust 7, 1856, 11 Stat. 699), sometimes simply "The           not heretofore moved to and in good faith settled in
 Creek Nation" (Treaty of June 14, 1866, 14 Stat. 785)        the nation in which he claims citizenship." (30 Stat.
 and later generally, in treaties and Acts of Congress,       495)
 "The Creek Nation in the Indian Territory" (Act of              A subsequent agreement of March 8, 1900, between
 March 1, 1889, 25 Stat. 757; Act of June 28, 1898, 30        the United States and "The Creek Nation in the In-
 Stat. 495; Act of March 1, 1901, 31 Stat. 861; Act of        dian Territory," confirmed by the Act of March 1,
 June 30, 1902, 32 Stat. 500) . All of these treaties and     1901, prescribing further terms for the allotment of
laws related to affairs of the Creeks in Oklahoma.            Creek lands in the Indian Territory, restricted enroll-
   Commencing in the 1880s, in preparation for the ad-        ment to those persons living in the Creek area in the
mission of Oklahoma to statehood, it became the p olicy       Indian Territory. (31 Stat. 861.)
of the United States to do away with the local self-             By' Act of May 8, 1906, Congress r e-affirmed its
government of the tribes in the Indian Territory, as          guarantee of the rights of Indians who had left their
well as the communal ownership of lands by these              tribes and become citizens of the United States, amend-
tribes. By a series of laws commencing with the Act           ing the Act of February 8, 1887, to provide in part:
of February 8, 1887, Congress provided for eventual
citizenship of the Indians who were members of these              '' Sec. 6. That at the expiration of the trust period
                                                                  and when the lands have been conveyed to the In-
tribes and for the allotment of the tribal lands to the           dians by patent in fee, as provided in section five
individual members. The Act of 1887, in granting citi-            of this act, then each and every allottee shall have
zenship to Indians leaving their tribes, expressly guar-          the benefit of and be subject to the laws, both civil
anteed the existing rights to tribal or other property            and criminal, 0£ the State or Territory in which
of all Indians, including those who had theretofore left          they may r eside; and no Territory shall pass or
their tribes. (24 Stat. 388, Section 6.)                          enforce any law denying any such Indian wi thin
                                                                  its jurisdiction the equal protection of the law.
  In pursuance of the federal policy to extinguish                And every Indian born within the territorial limits
tribal t·igbts in lands in the Indian Territory, a Com-




                                                                                                                     MU003655
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                                                                                                                  137
     of the United States to whom allotments shall have
      been made and who has received a patent in fee              Appellants and the thousands of other Creeks they
      simple under the provisions of this act, or under        r epresent are descended from that portion of the
      any law or treaty, and every Indian born ioithin         Creek nation which remained East of the Mississippi.
     the territorial limits of the United States who has       Because they possessed no territory and were not dealt
     voluntarily taken wp within said limits his resi-         with by the United States as a group, they did not re.
     dence, separate and apart from any tribe of In,..
     dians therein, and has adopted the habits of civi-        tain a general tribal organization, although various
     lized life, is hereby declared to be a citizen of the     groups of them have resided together in small close-
     Uwited States, and is entitled to all the rights,         knit communities and preserved their tribal ties and
     privileges, and immunities of such citizens,              certain of their customs. (R. 83)
     whether said Indian has been or not, by birth or             Appellants and other Creeks in the Southeastern
     otherwise, a member of any tribe of Indians within        States have recently joined together for their common
     the territorial limits of the United States without
     in any ma;n,ner impairing or otherwise affecting         benefit in an organization known first as the "Perdido
     th e right of any such Indian to tribal or other         Friendly Creek Indian Band of Alabama and North-
     property: • • •                                          west Florida Indians'' ; its name has now been changed
     "And provided further, That the provisions of            to '' The Creek Nation East of the Mississippi'' as more
     this act shall not extend to any Indians in the In-      appropriate to its scope. The sole requirement for
     dian T erritory. • • • • " (Italics ours.) ( 34-         membership is that one be a lineal descendant of a
     Stat. 137.)
                                                              member of the original Creek nation and be not en-
    This series of agreements and Acts of Congress pro-       1·olled in petitioner-appellee. (R. 88, 120)
vided for eventual abolition of the jurisdiction of the
Indian tribes over the local affairs of their members,                   STATEMENT OF THE CASE.
and of the tribal title to lands, abolished the enforce-        The Indian Claims Commission is a statutory tri-
ment of tribal laws, did away with the power of the           bunal; proceedings before it are based upon the Indian
 tribes t.o collect money for account of the members or       Claims Commission Act (60 Stat. 959, 25 U.S.C. 70}
for their account and in general diminished and pro-          which authorizes the Commission to hear and de-
vided for eventual abolition of the power and authority       termine all claims of '' any Indian tribe, band, or other
of the tribal organizations. All moneys awarded on            identifiable group of American Indians" against the
claims to be distributed per capita to members or de-         United States for injuries inflicted upon them by the
scendants of members of tribes are distributed directly       United States.
to these membe1·s by the Secretary of the Interior.             The proceeding below was begun by '' The Creek
(Act of June 28, 1898, 30 Stat. 495) (R. 91, 92)              Nation" of Oklahoma on January 29, 1948, by the fil-
   "The Creek Nation" of Oklahoma still maintains             ing of a petition with the Indian Claims Commission,
its tribal organization. (R. 2)                               claiming damages for the taking of lands of the Creek
                                                              nation by the United States under the Treaty of Au-




                                                                                                                     MU003656
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  gust 9, 1814. (R. 55) A trial of the issues on the               On September 4, 1951, appellants filed their Notice
  merits was held on October 17 and 19 and November             of Appeal with the Indian Claims Commission and on
  16, 1949, and January 24, 1950, and arguments were            September 6, 1951, the r ecord on appeal was duly filed
  heard on November 29, 1950, and the issues are now            with the Clerk of th is Court. (R. 126, 128)
  awaiting decision by the Commission.                             The grounds upon which appellants sought to inter-
     On January 5, 1951, the "Perdido Friendly Creek            vene as parties petitioner in the proceedings below are
  Indian Band of Alabama and Northwest Florida In-              stated in their Amended Motion, Petition and State-
  dians" filed a "Motion to Intervene", with a " Peti-          ment of Points and Authorities. Appellants' basic
 tion for Leave to Intervene" attached. (R. 65, 67)             premise is that the injury inflicted by the United States
 T hereafter, on January 15, 1951, petitioner-appellee         in 1814 was to the Creek nation as then constituted and
 "The Creek Nation" filed its objections to this motion         that the right to recover therefor belongs to that na-
 and on January 23, 1951, defendant-appellee, the               tiou, to be enjoyed by all its members. Their position
                                                                is that petitioner-appellee "The Cr eek Nation" of

                                                                                                                            t
 United States, filed its objections. (R. 72, 81) On
 April 4, 1951, a ppellants, as members of and on the          Oklahoma, whose membership is restricted to Creeks in
 relation of the Perdido Friendly Creek Indian Band of          Oklahoma, is not identical with or the full succ.essor
 Alabama and Northwest Florida Indians, filed an                of the Creek nation, and that it improperly claims to
 "Amended Motion for Leave to Intervene", attaching             be, 1hus denying rather than representing tbe rights
 a '' P etition of lntervenors'' and a '' Statement of Spe-    of appellants. Appellants brought their amended mo-
 cific Points of Law and Authorities in Support of Mo-          tion to intervene on the r elation of the "Perdido
 tion for Leave to Intervene". (R. 83, 88, 95) Objec-           Friendly Creek Indian Band of Alabama and Nortb-
 tions to said amended motion were duly filed by peti-          west Florida Indians" now "The Cr eek Nation East/
 tioner-appellee, "The Creek Nation" of Oklahoma, on           of the Mississippi ' ', whose rolls arn open to all those
 April 17, 1951. (R. 104) The amended motion was                who can prove lineal descent from the members of the
 argued on April 18, 1951, before the Indian Claims            orginal Creek nation, as the appropriate way of as-
 Commission. Appellants filed a "Supplement to                 suring ~h.at the.original Creek_ nation be in effect made I
Statement of Specific Points of Law and Authorities            the pehhoncr m the proceeding below, so that judg-j
in Support of Motion for Leave to Intervene" on May            ment may be entered in its favor rather than petition-
14, 1951. On June 4, 1951, the Commission entered its          er's. In appropriating for this judgment and p rovid-
Order denying the amended motion, and filed its per            ing for its distribution, Congress may then appropri-
curia1n opinion. (R. 112, 113)                                 ately direct that rolls be created of all those now mem-
   Thereafter, on appellants' motion, an Order was en-         bers by hlood of the original Creek nation or succeed-
tered noting in the record the change of the name of           ing to the rig·hts of its members.
the " P erdido Friendly Creek Indian Band of Alabama              The position of petitioner-appellee " The Creek Na-
and Northwest Florida Indians" to "The Creek Na-               tion" of Oklahoma is that it is identical with the orig-
tion East of the Mississippi". (R. 125)




                                                                                                                       MU003657
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 inal Creek nation, the successor to its rights, and solely
 entitled to recover for the injury. It further contend-
                                                                   3. I s Petitioner-appellee "The Creek Nation " of
                                                                Oklahoma the proper petitioner solely entitled to as-
                                                                                                                              ,..
 ed below that intervention was procedurally impos-             sert the claim for the injury inflicted upon t he Cr eek
 sible before the Commission, that the motion was not1          nation under the authority of the Treaty of 1814T
 timely, and that appellants are not members of a                  4. Did the Indian Claims Commission bave jurisdic-
 "tribe, band or other identifiable group" entitled             tion to determine whether petitioner-appellee is the
 under the Indian Claims Commission Act to have theit·          party entitled to recover on the claim asserted or
 claims determined by the Commission.                           whether another group should be added or substituted
    The reasons given by the Commission in its per              as petitioner for the purposes of judgmentT
 curia,m opinion for its denial of appellants ' amended                                        \
 motion may be summarized as follows:                                               ARGUMENT.
  1. Appella nts are not members of a '' tribe, band or } /     THE INDIAN CLAIMS COMMISSION COMMITTED
other identifiable group" within the meaning of the               REVERSIBLE ERROR IN DENYING APPEL-
Indian Claims Commission Act in that they do not                   LANTS' AMENDED MOTION FOR LEAVE TO
have a "common claim".                                             INTERVENE.
  2. Petitioner -appellee has the exclusive right to ) /
prosecute the claim for the 1814 injury to the Creek
nation.
                                                           J                              I.
                                                                The Indian Claims Commission Erred in Determining
  3. The jurisdiction of the Commission does not ex-       1/       that "The Petitioner In This Case ['The Creek
                                                                    Nation' of Oklahoma] Has the Exclusive Right to
tend to defining identity of the group entitled to re-
                                                                    Prosecute the Claim Here Asserted."                    /        .,r
cover on any claim placed before it.
   It is appellants' position that the denial of the mo-
tion was error and that a ll of the above grounds for
                                                                .A. The Injury I nfticted by the United States in
                                                                     Exaicting ood Enfo1·cing the Treaty of 1814 was
                                                                                                                         JI~
                                                                                                                               (>~~'II

it a re erroneous.                                                   Suffered by all Creeks, Not Simply Thos e Now in      ~~"'
                                                                     Oklahoma.
             QUESTIONS PRESENTED.
                                                                   One hundred thirty-seven year s ago when a grievous
  1. Are appellants members of a '' tribe, band or              wrong was done to the Creek nation in depriving it of
other identifiable group of American Indians'' within           a large part of its territory in Alabama and Georgia
the meaning of the Indian Claims Commission Act T               without compensation, it was a homogeneous people.
  2. Do appellants have a "common claim" within the             It is doubtful if there was anyone of the Creek blood
meaning of the decisions imposing this requirement              anywhere who was not privileged to call himself a
for jurisdiction of the Commission f                            member of the nation and to share in the enjoyment of
                                                                its common lands and goods. It enjoyed independence




                                                                                                                     MU003658
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     14 2                                                                                                                 143
       and sovereignty. Wbile tbe encroachments of tbe                 Compelling arguments should be required to support
      white settlers had begun, only 24 years bad passed            the denial of relief for this ancestral wrnng to the na-
      since the United States had guaranteed its boundaries         tion as a whole and the granting of relief only to those /
      and promised protection. (7 Stat. 35)                         Creeks who happened to reside on a reservation in
         The burden of the taking of over 23 million acres          Oklahoma on cer tain dates in the early 1900s when a
      fell upon all the Creeks equally, because of their com-       r oll was made of those so residing.
      mon ownership_ It made all of them and all of their              The Commission appears to have r eached this in-
      descendants poorer, by depriving them of their enjoy-        equitable decision as a result of three erroneous con-
      ment of the land and of the fruits of its use or sale        clusions. The first is that "The Creek Nation" of } f,H<.~
      through the suc,ceeding years down to the present gen-       Oklahoma is nothing but the original Creek nation
      eration.                                                     transplanted to Oklahoma. The second is that, because
        The time bas at last come when it appears that the
     United States may make reparation for its mistreat-
     ment of the Creeks, as well as of other Indian groups.
                                                                   it bas maintained a continuous organization, dealt with
                                                                                                                                1
                                                                   by tbe Federal Government, and because it bear s the le-1"~, tJ-
                                                                   name "The Creek Nation", it is the sole representa-
     There would appear to be no question that the repay-          tive of Creek people qualified to present their claims
     ment must be for the benefit of all Creeks, since all         to the Commission. The third is that, conver sely, be- }
\    Creeks were injured. Yet petitioner-appellee contends         cause appellants have been members of no continuous         ut ,J<,'.J... ·


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     that it alone is entitled to the reli"ef for the injury to    political organization of Creeks recognized by the gov-
     all, for the benefit of its members, and the Indian           e rnment, they must be denied the right to pr esent
     Claims Commission has agreed that it alone can prose-         c1aims.
     cute the claim.
        Those now members of "The Creek Nation" of                 B. Petitioner-appellee "The Creek Nation" of Okla-
     Oklahoma are not all, or even nearly all, the members             horna I s Not Identical W ith the Original Creek Na-
     by blood of the original Creek nation. They are simply            tion Which Existed at the Tim e of the Asserted
    those whose ancestors decided to migrate to the In-                Injury.
    dian Te rritory and were there granted new lands and              The Indian Claims Commission was apparently mis-                   · , ft
    allotments, and who have since enjoyed the bouuty              led by the identity of the name of the present '' Creek      M i 'r,•' :_µi,.
    and guardianship of the federal government. They               Nation" of Oklahoma with that of the original Creek
    are, if anything, less injured because of the wrong and        nation into stating in its opinion that appellants, in
    less deserving of r ecompense than the thousands of            effect, concede petitioner-appellees' exclusive right to
    others whose ancestors stayed behind to make their             prosecute the claim in issue by asking that "the mem-
    own way on the small allotments parcelled out to them          bers of the Creek Nation" be granted recovery. (R.
    and accepted the responsibilities of fu ll citizenship.        117). Appellants did and do ask that tbe Creek na-
                                                                   tion be gr anted relief but strongly affirm that petition-




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er-appellee is not the CreeK nation in a generic sense                   it being stated that the signatory chiefs bad "full
nor the Cr eek nation which sustained injury in 1814.                    power and authority to act for their people west of the
    The Creek nation, as a national entity, was disor-                   Mississippi". It was also recited in the treaty that

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ganized and divided as a r esult of events occurring
shortly after the Treaty of 1814. These events are
related in detail in the statement of facts, supra. They
resulted f rom the pressure of the inland movement of
                                                                         the great body of the Creek nation as of that time re-
                                                                         mained " on the east side of the :Mississippi".
                                                                            The political organization of the Cr eeks in the a rea
                                                                         granted to them in the Indian Territory used the name
the whites along the eastern seaboard. In 1814 the                       " The Creek Nation", but this name was almost al-
  'reek nation had ceded land to the United States. I n                  ways accompanied by r estrictive language limiting it
1826 it ceded more land, and a group of its members,                     to those Creeks in the Indian Territory (Tr eaty of
desiring to move westward to avoid the white man, ob-                    August 7, 1856, 11 Stat. 699 ; Act of June 28, 1898, 30
tained permisson to send 5 delegates to the W est to                     Stat. 495; Act of March 1, 1901, 31 Stat. 861 ; Act of
select land, which the United States promised to give                    June 30, 1902, 32 Stat. 500; Act of April 26, 1906, 34
them and to which it promised to move them within 24                     Stat. 137.)
months. (7 Stat. 286) In 1832 the Creek nation ceded                         The rolls of "The Creek Nation" of Oklahoma were
all its land east of the Mississippi, and encouragement                  <'loscd in 1907.
was offered all Creeks to emigrate to the ter ritory west                   The rolls made a t that time were created fo r the e~-
of the Mississippi. At the same time, it was expressly                   press purpose of effecting the allotment of the Creek
ngreed t11at they were not compelled to go, and detailed                 lands iu the Indian Territory in Oklahoma. (Act of
provision was made for a survey, a census and for al-                    June 28, 1898, 30 Stat. 495.) Appellants and other
lotment of sections a nd half-sections of land to those                  Creeks like them cannot now be enrolled. They were
electing to remain. (7 Stat. 366)                                 ft l   neve r entitled to gain enrollment, except by taking up
    As might be expected, many chiefs and heads of fam-',. ,'( '         r esidence in the Creek territory in Oklahoma, for en-
ilics elected to remain in their native surroundings. / >• \ J           r ollment ,vas expressly restricted to those r esiding in
One need only to check Parsons & Abbotts' Census      of{  <J ' .        the Creek reservation or who moved to it prior to a
the Cr eeks in 1832-in the National Archives, subsequent      ·      L   given date. (Act of June 28, 1898, 30 Stat. 495.) Thus
censuses of the Southeastern States and local land and · ,t'\,1 u        the very limitations on membership prove the limita-
hirth records, or the member ship rolls of "The Creek \     g..,.        tions of the organizatiQn, which was for the purpose of
Nat ion East of the Mississippi", to gain an idea of                     g overning affairs of the Creek Indians in Oklahoma,
their great number, alleged in appella nts' original mo-.J               the division of lands located there and the handli.ng of
tion to be approximately 10,000.                                         other administrative and financial matters pertaining
    In the first treaty made by the United States with                   to that group. This, together with the repeated r ec-
those migrating westward, the latter were identified as                  ognition in treaties and Acts of Congress of the re-
'' the Creek nation of Indians west of the Mississippi'',                stricth·e character of petitioner-appellee, conclusively




                                                                                                                                MU003660
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                                                              nor do they claim any, to share in lands or moneys or
proves that "The Creek Nation" of Oklahoma is not             claims arising out of the affairs of petitioner-appellee
the same as the original Creek nation or even a full          in Oklahoma. But appellants have not, simply by not
successor to it, but a restricted organization for the        going to Oklahoma, surrendered their rights to the
government of those Creeks in Oklahoma.                       claim in issue, arising out of an injury to their nation
  To make this restricted organization the successor          in tbe east prior to the migration.. This is made clear
to all rghts of parent nation and membership in it the        in United States v. Cherokee Nation, 202 U. S'. 101, 26
basis of enjoyment of relief granted for the wrong to         S. Ct. 588 (1906) wherein the unorganized eastern
the parent not only will ignore the history of the Creek      Cherokees were claiming to be entitled to share in
nation, but will work a grave injustice upon many of          funds owing by the United States to the Cherokee Na-
those who are blood members of it.                            tion under the Treaty of New Echota of May 23, 1836.
                                                              The Supreme Court said (26 S. Ct. at 599-600), quoting
C. Appellants and Other Creeks Did Not Lose Their             with approval from the opinion of this Court :
    Rights in the Claim in I ssue by Not Emigrating to
    Settle in Oklahoma.                                           "While the United States have always, or nearly
                                                                  always, treated the members of an Indian tribe
   Petitioner-appellee urged very strongly in its ob-             as communal owners, they have never required
jections to appellants' original and amended motions              that all the communal owners shall join in the
that appellants and other similar descendants of mem-             conveyance or cession of the land. From the ne-
bers of the injured Creek nation had forfeited their              cessities of the case, the negotiations have been
                                                                  with representatives of the owners. The chiefs
 rights in the claim by electing not to go west and be-           and head men have ordinarily been the persons
come members of the group there whose descendants                 who carried on the negotiations and who signed
comprise petitioner-appellee. (R. 75-78, 106-110) In              the treaty. But they have not formed a body po-
support of this position it cited and quoted Eastern              litic or a body corporate, and they have not as-
Band of the Cherokee Indians v. United States, 117                sumed to hold the title or be entitled to the pur- '
U.S. 288 (1886) (R. 77). The language quoted might                chase money. They have si mply acted as repre-
                                                                  sentatives of the owners, making the cession on
be somewhat persuasive were it not for the fact that              their behalf, but allowing them to receive the con-
the facts there are so easily distinguishable from those          sideration per capita. In the present case the
at issue here. In that case, unorganized Eastern                  Cherokee Nation takes the place, so far as com-
Cherokees who had failed to migrate westward were at-             munal ownership is involved, of the chiefs and
tempting to claim a share in funds arising from the               head men of the uncivilized tribes. This, too, is
sale of the lands in Oklahoma wbich the migrating                 consonant with the usage of nations. The claims
                                                                  of individuals against a foreign power are always
Cherokees had settled, and from commutation of an-                presented, not by them individually, but by their
nuities granted in exchange for surrender of those                government. The claims are pressed as inter-
Oklahoma lands. They were properly denied the right               national, but the money received is received in
to shar e. Obviously appellants would have no right,              trust, to be paid over to the per sons entitled to it.




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     '' As to those Cherokees who remained in Georgia                voluntarily taken up within said limits his resi-
     and North Carolina, in Alabama and Tennessee,                   dence, separate and apart from any tribe of In-
     they owe no allegiance to the Cherokee Nation, and              dians therein, a nd has adopted the habits of civi-
      the nation owes no political protection to them.               lized life, is hereby decla red to be a citizen of the
     But they, as communal owners of the lands east of               United States, and is entitled to all the rights,
      the Mississippi, at the time of the treaty of 1835,           privileges, and immunities of such citizens,
     were equally interested, with the communal own-                whether said Indian has been or not, by birth or
     er s who were carried to the West, in the $5,000,000           otherwise, a member of any tribe of Indians within
     fund which was the consider ation of the cession,              the territorial liniits of the United S tates without
     so far as it was to be distributed per capita. The
     Cherokee Nation was not bound to prosecute their
     claims against the United States for the unpaid
                                                            •
                                                            1
                                                                    in any manner impairing or otherwise affecting the
                                                                    right of any s'u,eh Indian to tribal or other prop-
                                                                    erty." (Italics ours )
     balance of the $5,000,000 fund, but their rights
    were inextricably interwoven with the rights and                In discussing this statute and the general trend of
     equities of the Cherokees who were citizens of             government policy toward the Indians and Indian
     the nation, and the nation properly made no dis-           t ribes, the Court of Appeals of the District of Colum-
     tinction when parting with the Outlet, but demand-
    ed justice from the Cherokee point of view for all          bia, in United States ex rel. B es{]A,() v. Work, 6 F. 2d
     Cherokees who had been wronged by the nonful-              694, 698 (1925 ), quoting with appr oval from Oakes v.
    fillment of the treaty of New Echota. As to these           United States, 172 F. 305 (C.C.A. 8th, 1909), said:
    Eastern nonresident Cherokee aliens the na tion
    acted simply as an attorney collecting a debt. In               ' ' On this point the court said : 'For many years
    its hands the moneys would be an implied trust                  the treaties and legisla tion rela ting to the Indians
    for the benefit of the equitable owners.                        proceeded largely upon the theory that the welfare
                                                                    of both the Indians and the Whites r equired that
    "After a careful consideration of the circum-                   the form er be kept in tribal communities sepa-
    stances and conditions of these cases, the court is             r ated from the latter, and while that policy pre-
    of the opinion that the moneys awarded should be                vailed, effect was given to tbe original rule r e-
    paid directly to the equitable owners."                         specting the right to share in tribal property; but
  The r ights of those in the position of appellants                Congr ess later adopted the policy of encouraging
were expressly saved and guaranteed by the Act of                   i ndi vidual Indians to abandon their tribal rela-
                                                                    tions and to adopt the customs, habits, and man-
February 8, 1887, 24 Stat. 390, as amended March 3,                 ners of civilized life, and, as an incident to this
1901, 31 Stat. 1447 and May 8, 1906, 34 Stat. 182:                  change in policy, statutes wer e enacted declaring
                                                            j       tha t the right to share in tribal property should
    '' Every Indian born within the territorial limits              not be impaired or affected by such a severance of



                                                            '
    of the United States to whom allotments shall have              tribal r elations, whether occurring theretofore or
    been made and who bas received a patent in fee                  thereafter.'
    simple under the provisions of this Act, or under               '' After citing and quoting from a number of the
    any law or treaty, and every Indian born within                 acts of Congr ess, the court said: 'These acts dis-
    the territorial limits of the United States who baa




                                                                                                                         MU003662
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  close a settled and persistent purpose on the part
  of Congress so to broaden the original rule re-             Thus neither in fact nor in legal fiction is petitioner-
  specting the right to share in tribal property as to      appellee the full successor to the Creek nation, entitled
  place individual Indians who have abandoned               to exclude descendants of its members not presently
  tribal relations, once existing, and have adopted         enrolled in petitioner-appellee from participation in
  the customs, habits, and manners of civilized life,       any recovery.
  upon the same footing, in that regard, as though
  they bad maintained their tribal relations. Not
  only this, but these acts, omitting that of 1865, are     D. Petitioner-appellee "The Creek Nation" of Okla-
  general and continuing in their nature, and there-            homa Is Not Etititled to Represen-t the Entire
  fore are as applicable to the Chippewas in Minne-             Creek Nation in Prosecutvng Claims Before the
  sota as to other Indians, unless the act of 1889 dis-         Indian Claims Commission.
  closes, either expressly or by necessary implica-
  tion, that Congress intended otherwise. In our                P etitioner-appellee, the political organization of the
  opinion that act docs not thus disclose such an in-        Creeks in the Creek territory of Oklahoma, is not rep-
  tention.' "                                                r esentative of all the Creek nation, as demonstrated
  •     •      •     •     •      •     •      •     •      above. It removes any lingering possibility of i ts be-
  '' Confusion seems to have arisen through failure         ing considered the organization entitled to represent
  to d istinguish between membership in an Indian           all by expressly disclaiming the right or obligation. It
  tribe and the mere severance of tribal r elations.        denies, in its "Objections to Amended Motion to Inter-
  T he breaking or severance of tribal relation s oc-
  curs where a member of the tribe abandons the             vene", that the portion of the Cr eek nation includin"'   b

  tribal life, removes from the tribal habitation, and      appellants is entitled to repreesntation before the Com-
  by marriage, exercise of the homestead right, or          mission, or to participate in any recovery. (R. 104-
  otherwise, establishes a residence elsewhere and          111)
  adopts the habits and customs of civilized life.              Tho Commis ion appears to have determined that
  But membership in an Indian tribe is based upon          the long-continued existence of petitioner-appellee and
  the firm foundation of right by blood inherited
  from Indian ancestry.                                    its recor d of dealings with the federal government, as
                                                           contrasted with appellants' lack of formal organiza-
  "Nor is the test one of citizenship. In the ab-          tion for many years and lack of treaty dealings, vested
  sence of a treaty or an act of Congress conferring
  citizenship upon Indains, who ah·eady bad, or who        it with the right to represent the nation. In determin-
  would in th e future, abandon tribal life and adopt      i ng that "the petitioner in this case has the exclusive
  the habits and customs of civilized life, expressly      right to prosecute the claim here asser ted, '' the Com-
  reserved to such Indians all their rights in tribal      mission states that after 1833:
  property held in common for the benefit of the
  membership of the tribe. Hence the mere transfer             '' • • • all dealings of the Federal Government
  of citizenship is not important, so far as the ques-         were made with the Creeks in Oklahoma and we
  tion of the rights in tribal property is con-                find no treaties, contracts or other tra~sactions
  cerned. • • • "                                              witb those members of the tribe who remained




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    east or tbat defendant ever recognized those re-         the right to appear and r epresent themselves and that
    mai~ing east as the Creek Nation.                        portion of the nation not repr esented by petitioner-
                                                             appellee. If there existed a recognized organization
      "There are other instances by which the United
    States recognized the tribal government o~ the           representative of the entire Creek nation, it would
    Creeks in Oklahoma, notably the Act of April 26,         doubtless have exclusive right of r epresentation. But
    1906, 34 Stat. 137, section 28, of which ' contiD;ued    certainly the existence of a recognized organization
    in full force and effect for all purposes, authorized    representative of only part of the nation, which, more-
    by law' the Creek tribal government." (R. 117)           over, takes the position that the remaining unorgan-
                                                             ized portion has no claim, cannot preclude the r emain-
  It is interesting that the Commission selected the
                                                             ing unorganized portion of the larger group from
1906 Act as an instance of r ecognition by the United        being represented.
States of petitioner-appellee. For that act is entitled
"An act to provide for the :final disposition of the af-                                 u.
fairs of t he Five Civilized Tribes in the I ndian T erri-
tory, and for other purposes" (Italics ours),. pe~-          The Commission Erred in Determining that Appellants
tioner-appellee is ref erred to as the '' Creek Tribe in         a.re not Members of a. "Tribe, Band, or Other
the I ndian Te'l"ritory" (Italics ours) and the act deals        Identifiable Group of Indians" Entitled to Have
exclusively with matters relating to the Indian Terri-           Their Claim Determined by the Commission.
tory.                                                             The Commission Determined that Appellants Are
   The fact that the Federal Government recognized            Not Members of Any " Tribe, Baind, or Other Identi-
and dealt with t he political organization of the Creeks      :1:iable Group". In doing so, the Commission ruled
in Oklahoma in regard to Oklahoma affairs is of course        that in order to be an identifiable group under the Act,
no indication that it regarded it as representative of       it is necessary that petitioners have "a common
all Creeks. Furthermore, the fact that the F ederal           claim.'' The Commission held that appellants have
Government had no dealings with those east of the             no common claim but present instead "a common suit
Mississippi, as a group, is equally of no significance,       for individual claims. " (R. 118)
since the latter, unlike the Creeks in Oklahoma, had no           The Commission's ruling that the essential for suit
organization, occupied no bounded grant of territory         before the Indian Claims Commission is t hat the In-
and were not under t he guardianship of the Federal          dians suing have a common claim was in accordance
Government.                                                  with its earlier decisions. The Loyal Creek Band or
   The fact that petitioner-appellee is recognized by the     Group of CreekJndian.s, Ind. Cl. Com. Dkt. No. 1, opin-
Federal Government, whereas appellants can point to          ion entered May 6, 1949; L ewis et al. ex rel. the Creek
no organization recognized as representing all Creeks,        Freedmen .Association, Ind. Cl. Com. Dkt. No. 25, opin-
is certainly no basis for granting petitioner-appellee       ion entered August 4, 1949; Thompson, et al. ex rel.
the representation of all Creeks, or denying appellants      I ndiOlfl,S of Californ,ia, Ind. Cl. Com. Dkt. No. 31, opin-




                                                                                                                      MU003664
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ion entered December 15, 1950. But it committed clear         The claim presented is one for injury to the Creek na-
error in holding that appellants are not members of a         tion as it existed in 1814 from the taking of its com-
group having a common claim.                                  munal lands. Any judgment of the Indian Claims Com-
  The Commission itself has held an individual claim          mission must therefore be in favor of the Creek nation.
to be one for a dil·ect injury to an individual, sustained     Appellants are thus not asserting individual claims of
in his individual capacity. In The Fort Sill Apaches,          themselves or the other Creeks, but are asserting as
Ind. Cl. Com. Dkt. No. 30, opinion entered May 6, 1949,       descendants of members of the Creek nation the com-
in denying the petitioner the right to sue for the al-         mon claim possessed by the nation which, because of
leged false imprisonment of 450 of its members, the            the lack of present organization, can only be presented
Commission said:                                              in a representative suit by individuals.
                                                                 It does not matter whether the Creek nation be re-
     '' • • • The rio·hts
                      c     violated were
                                        . those of the in-    garded as still in existence through blood ties or
     dividuals and who in turn experienced the 'harm,         whether, because of the scattering of many of i ts mem-
     suffering and humilia tion' as a r esult of the al-
     leged wrong. Thus i t would seem that a personal         bers, it be regarded as having ceased to exist as a na-
     or individual wrong bas been inflicted on each In-       tion. In one event, appellants and those similarly situ-
     dian which damaged him individually and ev~n             ated whom they represent, who have for common pro-
     though all the individual members sustained tbeir        tection formed "The Creek Nation East of the Missis-
     respective injul'ies by the same common incident         sippi' ', are members of the nation; in the other event
      ( arrest and imprisonment at the same time and          they are members of an identifiable group in that they
     place), the rights of each individ.ual for the inju.ry
     so sustained would be and remam several and m-           prosecute the common claim of the Creek nation de-
     dependent of each other."                                scended to the present Creeks through lineal descent.
                                                                 One of the Commission's own decis.ions, entered sub-
  On the other hand, a common claim is one for injury         sequent to its decision on appellants' amended motion,
to a group right as distinguished from an individual          demonstra tes this conclusively. In R ed Lake, P em,-
right. The Commission has repeatedly held that a               bina a;nd White Earth B wnds, Ind. Cl. Com. Dkt. No.
claim for the taking of tribal lands is a common claim.       18-A, opinion entered September 17, 1951, one of the
The Chocta;w Nation, Ind. Cl. Com. Dkt. No. 16, opinion       claims was that of the "Pembina Band" for the taking
entered July 14, 1950; McCauley ex rel. the Kaw T ribe        of lands under an 1863 treaty. The United States de-
of India,ns, Ind. Cl. Com. Dkt. Nos. 33, 34 and 35, opin-     fended on the ground that it was not a "tribe, band or
ion entered September 17, 1951; Pawnee l ndiwn Tribe          other identifiable group" at the time of the suit, al-
of Oklalwma, Ind. CL Com. Dkt. No. 10, opinion en-            though it had been at the time of the injury. The issue,
tered July 14, 1950.                                          the facts and the Commission's decision are best pre-
   On the basis of these cases, there can be no question      sented in its own language:
that the Indian Claims Commission is wrong and that
                                                                  "The defendant takes the position that a tribe,
appellants have a common claim of a group character.              band or other group must be an existing political




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  entity in order to have its claim determined by this          Commission by any member of an Indian tribe,
  Commission. Counsel for defendant does not deny               band, or other identifiable group of Indians as the
  the existence of the Pembina Indians as an organ-             r epresentative of all its members. • • • " (Italics
  ized band a nd its r ecognition as such by the United         ours)
  States at the time the treaty of October 2, 1863
  was concluded with said band and the lands in-             Similarly, in the instant case, the Creek nation was
  volved in this claim were ceded by it to the Gov-        organized and r ecognized at the time of the Treaty of
  ernment, but counsel contends that such a band
  of Indians as the Pembina Band no longer exists          1814, it now lacks a comprehensive organization, but
  and has not existed since 1891, at which time its        the descendants of its member s can be identified
  members were merged with either the Red Lake or          through blood lines.
  White Earth Bands of Chippewa Indians, and ar e
  enrolled as members of those bands.                                                 Ill.
  '' A similar contention was made by the defendant        The Commission Erred in Determining that it did not
  in the case of The Loyal Creek Band or Group of
  Creek Indians v. The United States, Docket No. 1,            Have Jurisdiction to Define the Group Entitled
  decided May 6, 1949. In that case this C~mmis-              to Recovery on a Claim Before it.
  sion decided that the three classes of claimants
  who Me permitted to a-ssert claims under the _In-           The Commission appears to have misunderstood the
  dian Claims Commission Act, namely, a 'tnbe,             basic question it was called upon to decide on appel-
  band, or other identifiable group' do not have to        lants' motion. In doing so it abrogated a necessary
  be existing political gro-u,p,s in order to be heard     p art of its jurisdiction, which is part of the jurisdiction
  by the Commission. T he controlling question is          of any tribunal authorized to hear and determine
  whether the claimant group can be identified and         claims. In performing its duty to determine claims of
  have a common claim. We believe that the de-
  cision in that case applies to the contention made      any Indian "tribes, bands or other identifiable group"
  by the defendant in the present suit.                    against the United States, it must determine not only
                                                          whether a claim exists against the United States and in
  '' As the plaintiffs concede that the Pembina In-
  dians are no longer organized as a band, the ques-      favor of someone, but whether the group suing is, in
  tion then is whether members, or descenda,nts of        fact, the injured group or has otherwise acquired title
  members of the P embina B and as it existed and         to the claim. The United States defended petitioner-
  was recognized at the ti1ne of the 1 863 ti·eaty, can   appellee "The Creek Nation's" case on the ground
  be identified. If they can be so identified, then       that no injury had been inflicted on anyone. It could
  any one of their group is authorized by express         as well have asserted the additional defense that ' ' The
  statute to present this claim as a representative
  of all the mem hers, as provided by Section 10 of       Creek Nation" of Oklahoma was not the proper claim-
  the Indian Claims Commission Act (25 U.S.C.             ant, not being the full successor of the original Creek
  70a), which provides that: 'any claim within the        Nation nor entitled to recover full damages for any
  provisions of this Act may be presented to the          injury to it, nor properly repr esentative of the entire




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Creek Nation, the proper claimant. If this had been            t heir interests are those affected. Their amended mo-
done, we doubt that tbe Commission would have ques-            tion and petition raised this question and presented an
t ioned its own power to determine this issue. Cf. The         issue which the Commission should have determined,
K aw Tribe of Indians ex rel. K eena-n Pappan et al.,          probably, in the light of the foregoing decision, by
Ind. CL Com. Dkts. Nos. 33, 34, 35, opinion entered           granting appellants' motion and taking· evidence on the
September 26, 1950.                                           issue presented by its petition and the answers to be
   In T he Fort Sill A paches, Ind. Cl. Com. Dkt. No. 30,     filed to it by the other parties as to "petitioner's right
opinion entered May 6, 1949, this precise question was        to maintain this action for the claim of ' the Creek
presented on motion to dismiss of the United States,          nation'." Yet the Commission appears to have doubted
on the ground t hat necessary parties bad been omitted.       its power to determine whether t he entire Cr eek na-
The Fort Sill ..Apaches, formerly members of the Chi-         tion or only petitioner-appellee and its members were
ricahua and Warm Spring bands of Apaches, were               entitled to prosecute the claim. For it stated that by its
suing on a claim for the taking of the reservation of         amended motion "the Perdido Band is in reality ask-
the Warm Springs band. The United States contended           ing us to determine the individual Indians who may
that other descendants of the Chiricahua and Warm             participate in any award tba.t may be made.' ' (R.
Spring bands were living at Mescalero r eservation and        118)
were entitled to a portion of the claim. While declin-            Appellants contributed to the Commission's error
ing to determine the question on the United States'           in requesting, in the prayer for relief of the "Amend-
motion because of the issues of fact presented, the          ed Petition of Interveners ", that "Interveners be de-
Commission recognized the materiality of the issue           clared entitled to share in said recovery on a per
and its obligation to determine it, saying :                 capita basis with all others who come before this Com-
    '' • • • This contention of the Respondent may           mission a11d establish that they are descendants of the
    be correct in the event the petitioner fails to estab-   members of the original Creek nation or, in the al-
    lish by its proof that it is the legal succes:sor of      ternative, that a commission be cr eated to determine
    the two bands, but we believe t hat it is only after     and make a roll of the living descendants of members
    proof of a ll the r elevant facts and circumstances
    has been r eceived on this issue that the Commis-        of the original Creek nation, in order to determine
    sion may, in view of the allegations of the peti-        who shall be entitled to share in any recovery." It is
    tion, determine petitioner's right to maintain this      d oubtful that the Commission possesses the power to
    action for the claim of the Warm Spring band of          do this or that it is a part of its function to determine
    Apache Indians."                                         the specific individuals to whom an award is to be dis-
                                                             tributed. This may be left to the Secretary of the In-
Since the United States failed to raise this question in
                                                             terior under the direction of Congress once a judgment
the instant proceeding, it became necessary for appel-
                                                             has been entered making it clear that the claim and
lants to do so. This tlley might appropriately do, ~ince
                                                             consequent judgment ar e the property of the original




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Creek nation to be enj oyed by their descendants. It               '' 9. The organization of the Oklahoma Creeks, pe-
                                                                   titioner herein, does not purport to r epresent any
will then be a matter for each individual to establish            Creeks other than those of the Indian Territory.
his descent.                                                       It claims that its members and their descendants
  But even if erroneous, this prayer of appellants does            as shown by its rolls, are entitled to recover and
not, under established rules of pleading, deprive them             keep the full damages for the 1814 injury to the
of the right to that relief to which they ar e entitled.           Creek nation. Its interests are thus to this extent
The allegations of appellants' amended motion ten-                adverse to those of your Applicants for leave to
                                                                  intervene, who claim the right, with all other de-
dered an issue as to the proper petitioner to prosecute           scendants of the original Creek nation, to par-
the claim before the Commission:                                  ticipate in any recovery.
    "5. The injury for which relief is sought in this             "10. The interest of the Perdido Band and its
    proceeding is the taking of lands in Alabama and              members and other Creeks similarly situated, not
    Georgia by the United States from the Creek na-               enrolled or descendants of those enrolled in the
    tion under the Treaty of August 9, 1814 between               organization of the Oklahoma Creeks, are thus not
     the United States and the Creek nation.                      presently represented in this proceeding, in which
    '' 6. T he injury was thus one to the Creek nation,           they have a direct and immediate financial in-
                                                                  ter est." • • •
    as then constituted, and the right to recover there-
    for passed to the descendants of all its members,
    who possessed communal rights to its lands, and         Consistent with its own later decision in the Fort Sill
    the right to participate in any recovery for their      Apaches case, supra, the Commission possessed the
    taking.                                                 power to determine the issue presented as to the right
    "7. Because of the division of its members, and         of appellants to representation, and should have done
    the present lack of any formal organization repre-      so.
    senting all members of the Creek nation, it must
    be regarded for the purpose of claims before this                           CONCLUSION.
    Commission under the Act of August 13, 1946,
    arising out of events prior to the westward migra-          The unsatisfied claims of Indians for abuses prac-
    tion of a portion of its members, as an unorgan-         ticed by the United States upon them have been a
    ized tribe or other identifiable group of Indiani-.     source of discontent among Indians ever J7'vhere and a
    '' 8. Even if the organization of the Oklahoma          source of proper shame to our gover nment for many
    Creeks be regarded as the political successor of        years. In cr eating the Indian Claims Commission,
    the earlier Creek nation, and thereby entitled to       Congress' avowed purpose was to provide a forum
    sue in a representative capacity for wrongs in-         for the r emedy of all wrongs done to Indian groups,
    flicted on the Creek nation, any recovery would be      whether legal wrongs or simply those based upon a
    the rightful property of the original Creek nation,
    distributable to the descendants of those who were      breach of principles of "fair and honorable dealings."
    ifa:; members as of the time of the Treaty of 1814.     {60 Stat. 959, 25 U.S.C. 70)




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   Appellants and the claim they assert surely fall                                APPENDIX.
within this Congressional purpose.                                    BEFORE T HE INDIAN CLAIMS COMMISSION
   They are Creek Indians. They are descendants of
those who were the Creek nation at the time of the                                Dockets No. 21
unconscionable treaty which took its lands. They are
not a few strao-glers, but thousands. They present not                   THE CREEK NATION, Petitioner,
a bundle of individual claims, but a claim for injury to
the nation. Theirs is a claim which, but for the ex-                                     v.
istence of petitioner-appellee, the Commission, con-                     THE UNITED STATES, Defenda;nt.
sistent with its decision in R ed Lake, Pe1nbina a,nd
White Earth B ands, swpra; Loyal Creek B~d or                         Order Denying Motion to Intervene.
Group of Creek Indians, sit,pra, and Snake 0 1· Piut e In-      On the 5th day of January, 1951, a group of Indians,
dians of the Fo-rmer Malheur Reservation in Oregon,          designated as the " P erdido Friendly Cr eek Indian
Ind. Cl. Com. Dkt. No. 17, opinion entered December
                                                             Band of Alabama and Northwest Florida," filed a mo-
29 1950 would certainly have heard.
   'Why, ' then, should the existence of peti~1oner-ap-
                                               ..            tion in the above-entitled cause for leave to intervene
                                                             therein, and thereafter, and on April 4, 1951, the same
 pellee be a bar to appellants ' rights 1 Certamly mem-
                                                             petitioners filed an amended motion accompanied by a
 bership or non-membership in a group in Oklahoma
                                                             changed petition of intervention, and a hearing was
 cannot have been intended by Congress to be a ground        had upon said amended motion and the petition at-
 for distinction among those who are all commonly de-
                                                             tached thereto, on .A.pril 18, 1951, and after argument
scended from the injured group. Certainly petitioner-
                                                             of counsel for the applicant, the petitioner and the de-
a ppellee cannot be held solely entitled to :epresent the
                                                             fendant before the Commission, the same was taken
 Creeks when it disclaims its r epresentation of appel-      under advisement, and the Commission being now fully
 lants and the very existence of their claim.                advised in the premises adjudges that said ·amended
    The decision of the Commission violates the pur-
                                                             motion for leave to intervene in the above-entitled
 poses of the I ndian Claims Commission Act and its
                                                             cause should be denied.
 own precedents. It should be reversed a nd appellants
                                                               IT I s THEREFORE ORDERED AND ADJUDGED by the Com-
 permitted to intervene so that the rights of all de-
                                                             mission that the amended motion for leave to inter-
 scendants of members of the injur ed nation not mem-
                                                             vene, filed her ein on the 4th day of A pril, 1951, by said
 ber s of petitioner-appellee can also be represented and
                                                             "Perdido Friendly Creek Indian Band of Alabama
 a determination made of the group entitled to recover.
                                                             and Northwest F lorida," be and the same is hereby
                          CLAUDE PEPPER,                     denied.
                            Cafritz Building,
                            Washington, D. C.,
                              .Attorney for .Appellants.




                                                                                                                       MU003669
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  Dated at Washington, D. C., this 4th day of June,           tioner, the Creek Nation, nor defendant denies these
1961.                                                         statements.
                       EDOAB E. Wn:T                             The petition of intervention also states that enroll-
                          Chief Commissioner                  ment in the Perdido Band is limited to those Indians
                       LOUIS J. 0 '~1.ARR                     who are descendants of members of the original Creek
                          Associate Co1mnissioner             Nation, and this allegation is not questioned.
                       WM. M. HOLT                               The Perdido Band is not asking for an award inde-
                          Associate Commissioner              pendently of that sought in the above case; on the con-
                                                              trary, they are supporting the p ending claim. What
        BEFORE THE INDIAN CLAIMS COMMISSION                   they are demanding is that they and all other descend-
                                                              ants of members of the original Creek Nation be recog-
                    Docket No. 21                            nized as having the right to participate in any award
           THE Cn.EEK NATION, Petitioner,                     that might be made in the above case even though they
                          v.                                 are not enrolled as members of the petitioner, Creek
           THE U NITED STATES, Defendamt.                    Nation, as now constituted.
                                                                Without going into the history of the Creek Nation
               Opinion of Commission.
                                                              in much detail, it may be stated that this tribe was one
   PER CURIAM, On J anuary 5, 1951, a group of Creek         of the Jarger Indian tribes and originally occupied a
Indians, designated as the "Perdido Friendly Creek           large territory in Georgia, Alabama and F lorida. On
Indian Band of Alabama and Northwest Florida,"               January 24, 1826, 7 Stat. 286, the Creek Nation con-
filed a motion in the above-entitled cause for lea.ve to     cluded a treaty with the United States by which it
file a petition of intervention, which accompanied the       ceded an area of its domain located in Georgia and
motion. Thereafter, and on April 4, 1951, the same           lying on the east side of the Chatahoochee river. A
petitioners, who will hereafter be referred to as !he        portion of the tribe wished to move west of the Missis-
P erdido Band, filed an amended motion accompamed            sippi river and the treaty provided (Art. 6) for a
by another, considerably changed petition of interv~n-       "deputation of five persons" to select a country west
tion and a hearing was had on the amended motion             of the river as a home for that part of the Creek
and 'the petition attached thereto, on April 18, 1951.       Nation desiring to move west. The country was
   The Perdido Band, according to the statements con-        selected and the selection confirmed by treaty, as will
tained in the amended motion and the petition accom-         be shown later. Treaty of Febr. 14, 1833, 7 Stat. 417.
panying it, is composed of descendants of members of             On March 24, 1832, 7 Stat. 366, by treaty of that
 the Creek Nation of Indians who remained in Ala-            date, the Creeks ceded "all their land, East of the Mis-
bama, Georgia and North F lorida under the treaties          sissippi river" to the United States. This treaty con-
 of January 4, 1826 and March 24, 1832, between th.e         tained this provision (Ar t. XII) :
United States and the Creek Nation. Neither the peti-




                                                                                                                     MU003670
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       "The United States are desirous that the Cr eeks        not be construed so as to compel any Creek Indian to
     should remove to the countr y west of the Missis-         emigrate, but they shall be free to go or stay, as they
     sippi, and join their countrymen there; and for           please."
     this purpose it is agreed, that as fast as th~ Creeks       The treaty of Febr. 14, 1833, 7 Stat. 417, confirmed
     a1·e prepared to emigrate, they shall be r emoved at      the selection of land authorized by the 1826 tr eaty
     the expense of the United States, and shall r eceive
     subsistence while upon the journey, and for one           (Art. VIII), and Article I ll thereof provided for a
     year after their arrival at their new homes-Pro-          patent in fee simple to be issued to the "Creek
     vided however, that this article shall not be con-        Nation." Article IV made it unmistakably clear that
     strued so ais to compel any Creek Indi(]/Yl, to emi-      the land ceded under this treaty in what is now Okla-
     grate, but they shall be free to go or stay, as they      homa was for the benefit and use of the entir e Cr eek
     please." ( Italics added.)                                people, for it provided:
Article II thereof required the United States to sur-
                                                                      "It is hereby mutually understood and agreed
vey the ceded area and allowed ' ' ninety principal chiefs         between the parties to this treaty, that the land
of the Creek tribe to select one section each, and every           assigned to the Muskogee. Indians, by the second
other head of a Creek family to select one half section            article thereof, shall be taken and considered the
each, which tracts shall be reserved from sale for their           property of the whole Muskogee or Creek nation,
use for a term of five years, unless sooner disposed of            as well of those now residing upon the land, as the
by them.'' Provisions were also made £or taking a                  great body of said nation who still remain on the
                                                                   east side of the Mississippi; and it is also under-
census of the persons making selections and for                    stood and agreed that the Seminole Indians of
making selection of twenty sections for the benefit of             Florida, whose removal to this country is pro-
 orphan children of the Creeks. Article III authorized             vided for by their treaty with the U. S. da,ted May
 the sale of the selections, and Article IV provided:              9th, 1832, shall also have a permanent and com-
                                                                   fortable home on the lands hereby set apart as the
       '' At the end of five years, all the Cr eeks entitled       country of the Creek nation; and they ( the Semi-
     to these selections, and desirous of remaining,               noles) will hereafter be considered a constituent
     shall receive patents ther efor in fee simple, from           part of said nation, but are to be located on some
     the United States."                                           part of the Creek country by themselves-which
Article XII of this treaty quoted above discloses the              location will be selected for them by the commis-
desire of the United States to move all Creeks west of             sioners who have signed these ar ticles of agree-
the Mississippi river, and as an inducement to move,               ment or convention. " (II Kapp. 390.)
agreed to pay the expenses of removal, provide sub-              The 1826 treaty did not, at least by its terms, con-
sistence during removal and for a year after their ar-         template a removal of the entir e tribe west, but the
rival west. However, such removal was not compul-              1832 treaty discloses a purpose to recognize those who
sory as to individual Creeks, for the article, as shown        migrated to the west as the main governing body of
above, contained the proviso '' that this article shall        the tribe since provision was made f or enabling indi-




                                                                                                                         MU003671
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vidual chiefs and heads of families wishing to do so to       create an identifiable group. It is plain from the state-
remain east and select tracts in their aboriginal land        ments in the amended motion and the alleo-ations of
which was reserved for that purpose in said treaty of         the petition accompanying it that the P erdido Band
1832. This purpose was confirmed by the treaty of             bas no common claim, and is therefore not an "iden-
1833, which was made with the Creek Nation at Fort            tifiable group" under said Act.
Gibson in Indian Territory, and in which the territory           Furthermore, the Perdido Band is in r eality asking
ceded by the United States was assigned to the whole          us to determine the individual I ndians who may par-
Muskogee or Creek Nation-those residing east and              ticipate in any award that may be made. They pray in
those residing west of the Mississippi. Thereafter,           their petition that the members of the Perdido Band
all dealings of the Federal Government ,vere made             be declared entitled to share in the recovery or that
with the Creeks in Oklahoma, and we find no treaties,        a Commission be created to make a roll of the livin()'
contracts or other transactions with those members of        descendants of the original Creek Nation in order t~
the tribe who remained east, or that defendant ever          determine who shall be entitled to share in any re-
r ecognized those remaining east as the Creek Nation.        covery. Counsel for applicants mistake the powers of
   There are other instances by which the United States      tl1e Indian Claims Commission. The Act authorizes
recognized the tribal government of the Creeks in            us to determine claims of Indian tribes, bands or iden-
Oklahoma, notably the Act of April 26, 1906, 34 Stat.        tifiable groups. We have no power to detei·mine the
137, section 28 of which "continued in full force and       membership of the groups who may successfully prose-
effect for all p urposes, authorized by law " the Creek      cute their claims, for that is an administrative func-
tribal government. W e are of the opinion the peti-          tion over which we have no control.
tioner in this case has the exclusive right to prosecute        For the reasons stated above, the amended motion
the claim here asser ted. In fact, the Perdido Band         of the P erdido Band must be denied.
does not really question the right of petitioner to main-       The Commission now bas under advisement for de-
tain the action, for, as before stated, it asked that the   cision only the issue of fact and law relating to the
members of th e Creek Nation be awarded the amount          petitioner's right to recove r. (Sec. 22(b) of Rules of
prayed for , insisting, however, that the award be for      Procedure) . Ordinarily, we would postpone the de-
the benefit of all Creek descendants and not confined       termination of the amended motion of the Perdido
to those enrolled under the various agreements with         Band until after we bad determined that issue, but for
the Creek Nation, confirmed by Acts of Congr ess.           fear longer delay might cause embarrassment to the
   This Commis$ion decided in the Loyal Creek case,         Ba~d because of the expiration of the ti.me for filing
Docket No. 1, and the Western Cherokee case, Docket         claims on August 13, 1951, we concluded an earlier de-
No. 24, that an "identifiable group," under the Indian      termination of the amended motion pr oper.
Claims Commission Act, must h ave a common claim,             Dated this 4th day of June, 1951.
and that a common sni t for individual claims does not




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                      EXHIBIT H
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             ~n tht fflnittd jtatts ~o rt of Oflaims

             C. w. MCGHEE, RUBY z. W E ATHERFORD, JOHN V.
               PHILLIPS AND J o:a:N WILLIAMB AS M EMBERS O:F
               AND ON THE RELATION OF THE C ~lEEK NATION EAS•r
               OF THE MISSISSIPPI, APPELLA.NTS

                                     v.
               THE. C REEK NATION AN D THE UN IT ED S TA'rES,
                                  APP~LLEES



              BRIE F FOR THE APPELLEE, T H E UNITE D STAT ES



                                   WM. AM O RY u r DERH I LL,
                                         Asmt~ 1i .,Htorney Gcn~ral.
              RALPH A. BARNEY,
                 Altomey.




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                                                              Appeals Docket No. 14
                                               C. W. McGHEE, R UBY Z. WEATHERFORD, JOHN V .
                                                 PHILLIPS AND JOHN W ILLIAl\fS AS MEMBERS OF
                                                 AND ON THE RELATION OF THE CREEK NATION EAST
                                                 OF THE MISSISSIPPI, APPELLANTS

                                                                         v.
                                 0               T HE CREEK NATION AND T HE UNITED STATES,
                                                                 APPELLEES



                                                BRIE F FOR THE APPE LLEE, THE UNI~ED STATE S



                                                                    I. The Facts
                                                  Insofar as they relate to this appeal the facts
                                               ar e not in dispute. Prior to 1812 the Cr eek In-
                                               dians were living east of the Mississippi River.
                                                  In that year they j oined with Britain for its sec-
                                               ond war with the United States. On August 9,
                                               1814, a treaty of peace, amity, and cession was
                                0              signed at Fort Jackson. It is the land ceded by this
                                               treaty that is the basis of the case now pending be-
                                               fore the Indian Claims Commission in which the
                                               I ntervenors seek to join. As the r esnlt of a series
                                               of treaties thereafter concluded with the Creek,
                                               Nation it ceded all of its lands east of the Missis-
                                               sippi River and acquired a new domain in what is
                                               now Oklahoma.
                                                                        (1)




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                                 2                                                                         3
    The majority of the Creeks went West, but many                            was filed and presented to the Commission and on
 stayed behind and continued to live in or around                            Jmie 4, 1951, an order5 was made by the Commis-
 their old homes. 1 Those who moved West took                                sion denying The P erdido Band the right to inter-
 with them their form of government and were                                 vene. From that order the appellants, now calling
 recognized by the United States as "The Creek                               themselves the ' ' Creek Nation East of t he Missis-
 Nation.'' 2 Those who remained in foe East aban-                            sippi" appeal.
 doned thefr tribal relationships; and they never                               According to their brief O their '' basic premise is
 continued a tribal government recognized by the                             that the injury inflicted by the United States in
 United States and they entered into no treaties or                          1814 was to the Creek nation as then constit uted
 other political arrangements with the United                                and that the right to recover therefor belongs to
 States3 or with other Indian tribes or groups, and                          that nation, to be enjoyed by all its members." No
 only recently organized themselves, appar ently for                         contention is made that the claim filed by "The
the purpose of this suit. 4                                          0       Creek Nation" is improper, nor bas it been sug-
   On January 29, 1948, "The Creek Nation" filed                             gested that the case was improperly fried; in fact,
its claim with the Commission. The evidence is                               it was specifically stated before the Commission
in, the case has been briefed, argued and submitted.                         that there was no desire to reopen the case. In its
It is now awaiting decison. On January 5, 1951,                              opinion 7 the Commission said :
t he appellants, then calling themselves "The Per-                                   The Perdido Band is not asking for an
dido Friendly Creek Indian Band of Alabama and                                   award independently of that sought in the
Northwest Florida Indians'' :filed a motion to inter-                            above case; on the contrary, they are support-
vene which was obj ected to by "The Creek Nation,"                               ing the pending claim. What they are de-
the original petitioner, and by the Government as                                manding is that they and all other descendants
the defendant. An amended motiou to intervene                                    of members of the original Creek Nation be
                                                                                 recognized as having the right to participate
   1
     Provision was made for a reservation for each out of the                    in any award that might be made in the above
lands ceded. Opinion of Commission, appellants' brief, p. 166.                   case even though they are not enr olled as
   2
     See treaties of Augus t 24, 1835, 7 Stat. 474; November 23,                 members of the petitioner , Creek Nation, as
 1838, 7 Stat. 574 ; January 4, 1845, 9 Stat. 821; J une 13, 1854,   0   (       now constitnted.
11 Stat. 599; and .Tune 14, 1866, 14 Stat. 785.
   3
     In their brief they sa.y : "Furthermore, the fact that the                 Thus it appears that appellants actually are
F ederal Government had no dealings wit,h those east of the                  seeking only to have it determined that they are
Mississippi, as a group, is equally of no significance, since the
latter, unlike the Creeks in Oklahoma, had no organization                   entitled to participate in any judgment ultimately
occupied no bounded grant of territory and were not·unrier th~               awarded in this case. This is not the function of the
guardianship of the Federal Government." [Italics supplied.]                 I ndian Claims Commission.
Br. p. 152. See also Br. p. 155.
   4
     Op. Commission, appellants' Br. p. 168. In their brief                   r, Appellants' Br. p. 163.
appellants say they "have recently joined together for their                  6  l d. p. 139.
common benefit * • *." Id. p. 137.                                            ,, Appellants' Br. p. 165.




                                                                                                                              MU003704
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                              4                                                                                5
                        Il. The Issue                                            tative of all its members; but wherever any
  On the foregoing facts this appeal presents to                                 tribal organization exists, recognized by the
                                                                                 Secretary of t he I nterior as having authority
this Cou rt a single but important question of law                               to represent such tribe, band, or group, such
concerning the adminis1n·ation of the Jndian                                     organization shall be accor ded the exclusive
Claims Commission Act. The issue may be formu-                                   privilege of r epresenting such Indians, unless
lated this way :                                                                 fraud, collusion, or ]aches on the part of such
                                                                                 organization be shown to the satisfaction of
        Where a claim is filed in the name of an                                 the Commission.
     historic Indian tribe by the group commonly
     r ecognized by the United States, may indi-                               To make this statute effective the Commission,
     viduals who claim a right to share with and                             under its "power to establish its own rules of pro-
     participate in any recovery intervene in the                    r
                                                                             cedur e," 0 has provided in Rule 1 as follows :
     action f
                                                                 0       (          (b) Claims by I ndian t ribes, bands, or
  The Government contends that under the law and                                 groups which have tribal organizations r ec-
the Rules of the Commission the intervention                                     ognized by the Secretary of the I nterior as
sought is unauthorized and that the practice ought                               having authority to represent such tribe, band,
not to be countenanced nor permitted in the inter-                               or group shall be filed and presented by the
ests of orderly procedur e.8                                                     duly appointed or elected officers of such or-
                                                                                 ganization, except as provided in paragraph
                       JD. Argum ent                                              (c) of this section.
                                                                                    ( c) Where by virtue of fraud, collusion, or
  The appellants present their argument under                                    !aches on the part of a recognized tribal or-
three main contentions. We will follow this ar-                                  ganization a claim bas not been presented ( or
rangement.                                                                       has not been included as par t of a presented
                                                                                 claim), any member of such tribe, band, or
              A. E xclitsive right to su6.                                       group may file claim on behalf of all the other
  Section 10 of the Indian Olaims Commission Act                                 members of such tribe, band, or group upon
                                                                                 complying with the provisions of section 8 (b).
provides as follows:                                             0       (          ( d) Claims on behalf of any unorganized
       Any claim within the provisions of this Act                               tribe, band, or other identifiable group may
     may be presented to the Commission by any                                   be filed by any member of su ch tribe, band or
     member of an Indian tribe, band, or other                                   identifiable group as the representative of all
     identifiable group of Indians as the r epresen-                             its members.
  8
    In t his connection we think the words of Mr. Justice                           Rule 8 reads as follows:
Frankfurter in the recent case of Cook v. Cook,     U. S.
(decided D ec. 3, 1951) are applicable: "I am not one of those                      Sec. 8. Capacity. (a) Petitions filed by any
who think that procedure is just folderol or noxious moss.                       tribal organization recognized by the Secr e-
Procedure-the fair, orderly and deliberative method by which
claims are to be litigated-goes to the very substance of law."                9 Act Aug.   13, 1946, sec. 9.




                                                                                                                           MU003705
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                          6                                                                    7
     ta1·y of the Interior as having authority to                 Commission Act and it was further alleged that the
     represent a tribe, band, or group need not                   attorney who filed the suit was authorized to do so
     aver the capacity of such organization to sue                by a contract approved by the Secretary of the
     except to the extent required to show the juris-             Interior. The defendant, r ecognizing the historic
     diction of the Commission. When the United
     States desires to raise an issue as to the ca-              fact that a group of Indians known as "The Creek
    pacity of such a recognized tribal organization              Nation'' has existed since the fi.Tst settlement in
     to sue, it shall do so by specific negative aver-           southeastern United States, and still exists today,
    ments, which shall include supporting particu-               took no exception to the filing of the claim.
    lars.                                                           '£be case bad been fully tried, briefed, argued,
        (b) If a petition is filed by one or more
    members of a tribe, band, or other identifiable              and submitted for decision to the Commission when,
    group having a tribal organization which is                  on January 5, 1951, the appellants, calling them-
    recognized by the Secretary of the Interior                  selves "The Perdido Friendly Creek Indian Band
     because the tribal organization has failed or               of Alabama and Northwest Florida," sought to
    r efused to take any action authorized by the                intervene in the case. Admittedly 10 they were not
    act, the petition shall be verified and shall aver           an organized group of Indians recognized by the
    that the petitioner is a member of the tribe,
     band, or group. The petitioner shall also set               Secretary of the Interior; they charged no fraud,
    forth with particularity the efforts of the peti-            collusion, or }aches on the part of the petitioners
    tioner to secure from the duly constituted and               in the filing of the case; they made no complaint
    r ecognized officers of said tribal organization             concerning the manner in which the case was pre-
    such action as be desires and the reasons for                sented to the Commission, and they specifically
    his failure to obtain such action (such as                   denied any desire to reopen the case ;11 apparently
    fraud, collusion, or }aches) or the reasons for
    not making such effort.                                      all they wanted was an adjudication by the Com-
       ( c) Petitions filed by one or more members               mission that the persons who composed the so-
    on behalf of an unorganized tribe, band, or                  called "Perdido Band" had the right to partici-
    other identifiable group shall be verified and               pate in the distribution of any award.
    shall aver ( 1) that the petitioner or petitioners              As between the petitioner-" The Creek Nation"
    are members of the tribe, band, or group (2)         0   (   -and the appellants, there can be no question that
    a description of the unorganized tribe band
    or group of sufficient comprehension t~ iclen~               the former met the requirements of section 10 of the
    tify the tribe, band, or group on whose behalf                 10
    the petition is filed.                                            Appellants' Br. p. 152. In the Amended Motion for Leave
                                                                 to Intervene it is said (p. 2): "Said Perdido Band has not
                                                                 yet been recognized by the Secretary of the Interior."
   On January 29, 1948, "The Creek Nation" filed                   11
                                                                      Amended Motion to Intervene (p. 14): " 13. Applicants
this case before the Indian Claims Commission.                   do not seek to alter or expand in any way in this proceeding
It was alleged that "The Creek Nation" was a                     the claim of the Creeks against the United States * * *. They
                                                                 do not seek to re-open the record for the taking of additional
tribe within the meaning of the Indian Claims                    evidence on these issues * * * ."




                                                                                                                          MU003706
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                               8                                                                              9

act. The United States has consistently r ecognized                                 "petitioner's right to maintain this action for
the duly elected or appointed officials of" The Creek                               the claim of 'the Creek nation'."
Nation'' as having authority to represent the Creek                                The purpose of section 10 clearly was to avoid
Indians both prior 12 and subsequent 1 3 to their re-                           such excursions into secondary questions if that
moval west of the Mississippi River. We believe                                 could be done without harm to the tribe. The con-
that in enacting section 10 the Congress intended                               tingencies provided by Congress were where fraud,
to extend the recognition previously accorded to                                collusion, or !aches was shown on the part of the
the existing tribal organization into the field of                              r ecognized organization. None of these conditions
Indian claims.                                                                  have been suggested by the appellants, nor have
  The reasons are both obvious and practical. In                                they complied with the rules of the Commission.
authorizing the recognized tribal organizations to                              Since the case was filed on January 29, 1948, laches
bring the action the Congress had some assurance                                certainly cannot be charged, nor is it suggested that
that tribal claims would be presented and it would                 0        {
                                                                                fraud or collusion exists. It seems clear , therefore,
avoid a multiplicity of suits by a variety of groups                            that both under the statute and the rules of the
each contending that it was the true l'epresentative                            Commission the intervenors are not entitled, as
of the tribe. That is now what bas happened in                                  against the recognized organization of the Creek
this case.                                                                      Nation, to maintain this action.
  Appellants now seek to divert the inquiry of the                                 The question of whether appellants and other
Commission from a determination of whether the                                  Creeks did or did not lose their rights in the claim
Creek Indians have a recognized claim against the                               by not emigrating to Oklahoma 10 was not before
United States to a determination of whether "The                                the Commission and is not before the Court now.
Creek Nation" or the "Creek Nation East of the                                  The Commission has no power to determine the
Mississippi" has the right to present this claim.                               manner in which any award will be disbursed or
They say: 14                                                                    the persons entitled to receive it. Section 22(a) of
       Their amended motion and petition raised this                            the act provides merely that when the report of
       question and presented an issue which the                                the Commission bas been filed with Congress "there
       Commission should have determined, probably,                O·       (   is hereby authorized to be appropriated such sums
       in the light of the foregoing decision, by grant-                        as are necessary to pay the final determination of
       ing appellants' motion and taking evidence on
       the issue p1·esented by its petition and the an-                         the Commission.''
       swer s to be filed to it by the other parties as to                         The contention by appellants that the rights of
                                                                                those Creeks who did not remove to Oklahoma have
  12
      See treaties of August 7, 1790, 7 Stat. 35; June 29, 1796,
7 Stat. 56; June 16, 1802, 7 Stat. 68; November 14, 1805,
                                                                        j       been fully preserved by the Act of February 8,
7 Stat. 96, etc.                                                                1887, 24 Stat. 390, as amended, does not aid appel-
  1
    a See fn. 2, supra.
  14 Br. p. 159.                                                                 '" Appellants' Br. p. 146.




                                                                                                                                MU003707
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                            10                                                                          11
 lants now. On the contrary, assuming the position                        Indians, descendants of Creeks who were member s
 to be legally corr ect-concerning whieh we express                       of the Creek Nation of Indians on August 9, 1814,
 no opinion-it proves that it is wholly unnecessar y                      when the lands were ceded to the United States.
 for them to intervene to protect their rights.                           Thus we have the situation of an aggregation of
    Since the Commission has no authority to de-                          people who sci11 they are Creek Indians seeking to
 termine the names of persons who would be entitled                       enter a lawsuit without an adjudication that any
to participate 10 in any distribution, the mere fact                      of them is, in fact, a Creek Indian. Thus this case
 that the appellants y<;1ere made parties to the pro-                     differs from t he R ed Lake case, No. 18-.A, decided
 ceeding would not determine their right to partici-                      by the Commission on September 17, 1951, and
 pate. This Court has just r ecently pointed out that                     cited in appellants' brief. 17 There the Commission
as long as Indian funds are tribal in character                           found as a fact that the individual petitioners were
 Congress has full power to legislate concerning                          enrolled members of the P embina Band. The Com-
citizenship and to deal with such pr operty without                       mission, therefore, held that they had authority to
infringing on individual rights. Choctaw Natfon                           maintain the action on behalf of an historic band
v. United States, decided Oct. 2, 1951.                                   which no longer maintained a separate tribal exist-
   .And so it is in this case. We do not know, nor do                     ence but whose members were identified. The lan-
we pretend to say, what disposition Congress will                         guage of the decision is :18
make of any judgment which might be rendered in
favor of the Creeks. But we do know that under                                     As heretofore stated, the Pembina Band of
                                                                                Indians was recognized as a separate and dis-
lVallace v. Adams, 204 U. S. 415; Gritts v. F ,islier,                          tinct band of Chippewa Indians and was dealt
224 U.S. 640, and Lowe v. Fisher, 223 U.S. 95, the                              with as such by the Government at the time
Congress is free to make such disposition of any                                the 1863 treaty was negotiated. The record
such judgment as may seem best to it, without in                                shows that some years thereafter the United
any way making the Government liable to appel-                                  States officials moved the members of the band
lants.                                                                          and settled them on a portion of the White
                                                                                Earth Reservation. They were listed sepa-
      B. Appellants are not a tribe, band, 01·                                  rately ou the census r olls at that reservation
                                                              0       (         as Pembina Indians until 1923-the 1922 roll
         other identifiable gi·ouv of I ndians.
                                                                                showing 519 of them. But apparently due to a
  .At the present stage of the proceedings appel-                               change in the method of making the census
lants have no standing before the Commission or                                 rolls, no separate r oll appears to have been


                                                                  I
this Court. .Admittedly they a1·e not enrolled mem-                             maintained of these Indians as Pembina In-
                                                                                dians after 1922. However, regardless of how
bers of the Creek Nation. They are merely an ag-                                these Pembina Indians were listed on the cen-
gI'egation of individuals who claim to be Creek                                 sus rolls after 1922, we believe the evidence
                                                                           17
  JO This is now apparently admitted by appellants. See Br.                     P. 155.
p. 159.                                                                    18
                                                                                1 Ind. Cls. Comrn'n pp. 575, 589.




                                                                                                                          MU003708
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                           12                                                                       13
      shows quite conclusively there is a group of                  the district court and denying the relief sought,
      Pembina Indians now living who are descend-                   held that enrollment was a prerequisite to par tici-
      ants of members of the Pembina Band that                      pation in the distribution, and that the plaintiff
      was a party to the October 2, 1863, treaty out
      of which the present claim arose, and they can                must fast apply to the Secretary of the Interior
      be identified and have a group claim which                    for enrollment :
      they are entitled to have determined by this                      Then under the J ump case [73 .A.pp. D. C. 14],
      Commission. The existence of such a group                         117 F. 2d 769] if the appellant considers the
      having been established, and our conclusion is                    action of the Secretary arbitrary or capri-
      that it has been, we do not conside1· it necessar y               cious, be may apply to the federal courts for
      for jurisdictional purposes to determine who                      relief. The relief which the appellant re-
      are all the individual members of said group.                     quests here flows as a natural consequence of
      (Indians of California v. United States,                          having her name on the roll, but we cannot
      D ocket No. 31.) The plaintiffs have alleged                      grant the requested relief in a mandamus suit
      in the petition and satisfactorily established                    which itself by-passes the steps which must be
      by the evidence that the named individual                         taken.
      plaintiffs, Rosetti Villebrun and Katherine
      Carl Barrett, are m embers of this group of                      The principle is the same here. In the absence
      Pembina Indians who are descenda11ts of the                   of a previous determination that appellants are
      original members of the Pembina Band and                      Creek Indians they quite obviously have no right
      they are therefore entitled, 1mder Section 10
      of t he Act, to maintain this action in a repre-              to prosecute this action. The Commission does not
      sentative capacity on behalf of themselves and                have jurisdiction to determine the question of
      aJl other members of the claimant group.                      membership in an Indian tribe. This is a questioIJ.
                                                                    which Congress has always reserved to itself.
   This is not the case now under consideration.                      The Congr ess ha s never recognized the Creek
Intervenors have never heen identified as mem-                      Indians, who failed to go West, as an entity. Thus
bers of the Creek Nation, and the Commission is                     the case differ s from that of the Loyal Creeks,2~
without jurisdiction to determine that they are                     who wer e recognized by the Creek Nation and the
members of the Creek Nation entitled to partici-
pate in any judgment. As to this point, a some-
                                                            0   (   United States in the Treaty of June 14, 1866, 14
                                                                    Stat. 785, and the agr eement between the Creek
what analogous situation arose in K ohp(IIIJ v. Ghap-               Nation and the United States of March 8, 1900,
nian, Secretary of the lnterior. 10 Ther e the plain-               ratified by Act of Congress of March 1, 1901, 31
tiff sued for her pro rata distribution of the Osage                Stat. 861, and whose identity was determined by
tribal funds on the ground that she was an Osage                    the roll prepared in accordance with the provisions
Indian although her name did not appear on the                      of the treaty of 1866. In the present case there
approved roll. The court of appeals, in affirming                   has been no recognition by Congress and there has
      190 F. 2d 666.                                                 2
 10                                                                      0 1   Ind. Cls. Comm'n p. 122.




                                                                                                                  MU003709
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                              14                                                              15
been no identification of the persons who compose                   M:r. .Justice Mor r is, in delivering t he opinion or
the group.                                                        the Court, said: 23
   This disposes of the argument that appellants
have a common claim. W e quite agree that a claim                           It is very clear to us that the petitioner
                                                                         White has no standing in this case.... * * I n
for tribal lands under the Indian Claims Commis-                         bis petition filed in this cause, Mr. White al-
sion Act is a common claim, and we have so recog-                        leged that he was a stockholder of the present
nized that fact in this case in the suit filed by "The                   company; but in the stipulation entered into
Creek Nation." The difficulty with appellants'                           with reference to the petition and which served
position is that the persons seeking to intervene                        for an answer to it, this allegation was ex-
have not shown themselves capable of maintaining                         plicitly denied, as well as the other allegations
                                                                         of the petition, and no proof whatever was
the action for that common claim.                                        taken to overcome this denial. On the con-
   The situation is completely analogous to a stock-                     trary, the p r oof adduced on behalf of com-
holders' suit on behalf of a corporation. Admit-                         plainants showed conclusively that be was not
tedly under proper circumstances a stockholder                           a stockholder in fact, whether be was entitled
may sue on behalf of a corporation, but he 1nust be                      so to be or not. And the dismissal of his bill,
Cb stockholder.
                21
                    The case of Scanlon v. Snou·, 2                      as already stated, would seem to indicate that
                                                                         he was not entitled to any interest whatever
App. D.C. 137, is quite analogous to the present                         in the new organization. His petition, there-
sit uation. The com·t in its statement of facts                          fore, in this cause was very properly dismjssed.
said: 22 "In the course of the testimony, or at the
end of it, a petition was filed on behalf of Charles                 With the exception of a previous determination
E. White, asking to be made a party complainant,                  that White had no interest in the corporation the
which was agreed to and allowed. He claimed to                    facts in that case and the present one are t he same.
be a stockholder and adopted the averments of the                 Admittedly the names of ap pellants are not on the
bill. "                                                           rolls of the Cr eek Nation. They are not, theref ore,
                                                                  r ecognized members of t he nation and, hence, a1·e
  21
     See general1y 13 F letcher Cyclopedia, Corporations, sec.    not entitled to prosecute this action.
5972. In the case of Jltlayflower Hotel Stockholders Protective
Committee v. Mayflower Hotel Corp., 73 F. Supp. 721 (1947),          It may be t hat some tribunal of competent juris-
Judge Holtzoff apparently considered the matter so well           diction may determi ne that they ar e legally mem-
settled he did not consider it necessary to cite any authority
for his statement: "In view of the fact that a stockholders'      bers of the Creek Nation and, therefor e, entitled
suit may be brought solely by persons who were stockholders       to participate in an award if there is one. But
of the corporation at tbe time that the cause of action accrued   the Indian Claims Commission has no jurisdiction
and who are still stockholders at the time of the institution
of the suit the plaintiff, Mayflower Hotel Stockholders Pro-      to determine that question. That is a matter for
tective Committee, has no right to bring this action, since       Congress or such tribunal as Congress may
the Committee is not and never has been a stockholder, insofar
as appears from the allegations of the complaint ."                23
  22 P. 146.                                                            P. 147.




                                                                                                                     MU003710
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                          ]6                                                              17
c1·eate.2 • Since the appellants admittedly are not            Claims Commission Act. Certainly, unless the
recognized by the administrative or legislative                Commission and this Com·t are to restrict the term
arm of the Government, they cannot, collectively,             "other identifiable group" to those groups which
be said to be a "tribe, band, or other identifiable           have r eceived recognition by some branch of the
group" within tbe meaning of the Indian Claims                Government or by the Indians themselves,27 t he
Commission Act.                                               term " identifiable group" is meaningless and
                                                              amounts to nothing more than an aggregation of
          C. J urisdiction of Commission                      persons voluntarily associating themselves together
   Under this heading appellants say that the Com-            and giving themselves a name. This was not the
mission must determine "not only whether a claim              intention of the authors of the Indian Claims Com-
exists against the United States and in favor of              mission Act.
some one, but whether the group suing is, in fact,     {         During the 74th Congress three bills were in-
the injured group or bas otherwise acquired title             troduced to create an Indian Claims Commission,28
to the claim.'' 25                                            all of which authorized the Commission to investi-
   The defendant might be willing to concede that             gate claims "of any Indian tribe, band, or other
this position was correct if there were two recog-            communal group of American Indians." Hear-
nized groups competing with each other for the                ings were held on both H. R. 7837 and S. 2731.
right to maintain this action. But that is not this           In the hearings on S. 2731 considerable discussion
case.                                                         ensued concerning the meaning of the words "or
   The appellants have not been r ecognized by any-           other communal group." The following colloquy
one. As a matter of fact they do not pretend to               between Senator Steiwer and the Commissioner of
say just who they are. They say 20 that their "rolls          Indian Affairs makes it clear that the claimants
are open to all those who can prove lineal descent            must not only have a historic identity, but that
from the members of the original Creek nation.''              their claim must be of the ''common'' or ' 'group''
They thus seek to usm·p the f tmctions of Congress.           type: 20
Congress may, or may not, adopt this criterion for     (             Senator Steiwer. ·:f * ·* While I have inter-
"membership" in a reconstituted Creek Nation;                      rupted, may I ask what is the significance of
but the appellants certainly have no authority to                  the word ''communal'' in line 12.
define membership in the Creek Nation and to                         ¥r· Collier . It simply means a community.
determine that all who come within this definition                 It 1s an attempt to go beyond the limitations of
                                                                   the meaning of ''band'' which has been im-
constitute "The Creek Nation" or even an "iden-                    posed by this single definition, and to take a
tifiable group" within the meaning of the Indian
                                                               21
                                                                  M onloya v. United States, 180 U.S. 261 265 ·1 Tully v
 24 Wallace v. Adams, 204 U.S. 415.                           United States, 32 C. Cls. 1.                '             •
                                                               28
 25 Appellants' Br. p. 157.                                       S. 2731; H. R. 6655, and H. R. 7837.
                                                               29
 20 Br. p. 139.                                                   Hearings on S. 2731, 73d Cong., 1st sess., p. 40.




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                        18                                                                  19
    simple group of I ndians who have a common                                      CONCLUSION
    interest, who have siiffered a connnon injury,
    but who may not heretofore have been recog-                For all of these reasons we say that the order
    nized by any branch of the Government.                   of the Commission dated June 4, 1951, denying
                                                             appellants leave to intervene in this case was cor-
          *       *        *      *       *                  rect and should be affirmed.
       Mr. Collier. Yes; because I doubt if there
    is a case anywhere where an Indian has a claim
    that he cannot find another Indian that has
    that kind of claim. We do not want these                                    WM. AMORY UNDERHILL,
    innumerable, heterogenous Indian claims put                                    Assistant Attorney General.
    on the doorstep of the court if we can help
    it. Sonie qualifying word-maybe "com-
    niunal" is not the right wor~hich indi-           (
    cates a historic identity, or an identity of               RALPH A. BARNEY,
    habitat, makes the tlving a communal group,                            Attorney
    a group with historic identity, and not just a
    detached group of people who got together                  JANUARY 1952
    amd made out they were a group so as to get
    into this court.
       Senator Steiwer. The essential thing is that
    they have a common claim, is it not1
       Mr. Collier. Yes; a common claim of a
    group character. [Italics supplied.]
  Thus it appears that Commissioner Collier rec-
ognized that the group must have a "historic
identity" and that he did not have in mind "just
a detached group of people who got together
and made out they were a group so as to get into      (
this court.''




                                                                               *   U. S. GOYUHNl!NT Plil:IMTIJriG OFFICf ; 1UI   H t40S   111




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                           AGREEMENT BETWEEN
        THE NATIONAL PARK SERVICE, U.S. DEPARTMENT OF THE INTERIOR
            AND THE POARCH BAND OF CREEK INDIANS OF ALABAMA
        FOR THE ASSUMPTION BY THE TRIBE OF CERTAIN RESPONSIBILITIES
     PURSUANT TO THE NATIONAL HISTORIC PRESERVATION ACT (16 U.S.C. 4 70)


        WHEREAS, sovereign Indian tribes are uniquely suited to make decisions about
historic resources on tribal lands; and

       WHEREAS, enhancing the role of Indian tribes in the national historic preservation
partnership will result in a stronger and better national effort to identify and protect historic
and cultural resources for future generations of all Americans; and

       WHEREAS, Section 101 (d)(2) of the National Historic Preservation Act provides
that, "A tribe may assume all or any part of the functions of a State Historic Preservation
Officer in accordance with subsections (b)(2) and (b)(3), with respect to tribal lands;" and

        WHEREAS, for the purposes of this agreement tribal lands means all lands within
the exterior boundaries of the Poarch Band of Creek Indians Reservation and any
dependent Indian communities formally recognized as such by the Department of the
Interior; and

       WHEREAS, in accordance with Section 1 01 (d)(2)(A), the chief governing authority
of the Poarch Band of Creek Indians has requested approvai to assume certain of those
functions; and

       WHEREAS, in accordance with Section 101 (d)(2)(B), the Poarch Band of Creek
Indians has designated a tribal preservation official to administer the tribal historic
preservation program; and

       WHEREAS, in accordance with Section 101 (d)(2)(C). the Tribe has provided to the
Secretary of the Interior acting through the National Park Service a plan that describes how
the functions the tribes propose to assume will be carried out; and

       WHEREAS, the National Park Service, on behalf of the Secretary, has reviewed the
Tribe's plan for conformance with the following applicable Federal regulations: 36 CFR 60
and 36 CFR 6_1; and has determined that the plan meets the requirements of those
regulations; and

       WHEREAS, the National Park Service, on behalf of the Secretary, has reviewed the
Tribe's plan and has determined in accordance with Section 101 (d)(2)(0)(i) that the Poarch
Band of Creek Indians is fully capable of carrying out the functions specified in the Tribe's
plan; now, therefore,

     THE NATIONAL PARK SERVICE AND THE POARCH BAND OF CREEK INDIANS OF
ALABAMA DO HEREBY AGREE AS FOLLOWS:

        1. The Poarch Band of Creek Indians assumes responsibility on tribal lands for the
following functions set out in Section 101 (b)(3) of the Act:
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'
            A. Direct and conduct a comprehensive, Reservation-wide survey and maintain an
            inventory of historic and culturally significant properties;

            B. Identify and nominate eligible properties to the National Register of Historic
            Places and otherwise administer applications for listing historic properties on the
            National Register;

            C. Develop and implement a comprehensive, Reservation-wide historic preservation
            plan;

            0. Advise and assist, as appropriate, Federal and State agencies and local
            governments in carrying out their historic preservation responsibilities;

            E. Cooperate with the Secretary, the Advisory Council on Histoiic Preservation, and
            other Federal agencies, State agencies, local governments, and organizations and
            individuals to ensure that historic properties are taken into consideration at all levels
            of planning and development;

            F. Provide public information, education and training, and technical assistance in
            historic preservation;

            G. Consult with the appropriate Federal agencies in accordance with Section 106
            of the Act on:

                   i. Federal undertakings that may affect historic and culturally significant
                   properties on tribal lands;

                   ii. the content and sufficiency of any plans to protect, manage, or to reduce
                   or mitigate harm to such properties;

            H. Cooperate with local governments in the development of local historic
            preservation programs and assist local governments in becoming certified pursuant
            to subsection (c) of the Act;

            I. Advise and assist in the evaluation of proposals for rehabilitation projects that
            may qualify for Federal assistance, such as the historic preservation income tax
            credits.


            2. In accordance with the Tribe's plan noted above, the Alabama State Historic
     Preservation Officer (SHPO) retains no responsibility on tribal land for the functions in
     Section 101 (b)(3).

             3. The Poarch Band of Creek Indians will consider nominations to the National
     Register of Historic Places in accordance with 36 CFR 60. The Tribe's process is set out
     in the Tribe's plan and includes review of nominations by the Historic Preservation Office,
     by the Poarch Band of Creek Indians Cultural Resources Board, and by the Tribal Council.
     The Cultural Resources Board will have access to appropriately qualified individuals in
     carrying out its review of nominations.
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        4. Because all Poarch Band of Creek Indians tribal land is under the direct control
of the Tribal Council, the Tribal Historic Preservation Officer, in accordance with 36 CFR
60, will provide written notice to the Tribal Council of his intent to bring a National
Register nomination before the Cultural Resources Board and the Tribal Council f or
consideration~, The notice shall be sent at least 30 but not more than 7 5 days before the
meeting of the Cultural Resources Board, unless the Tribal Council agre es to an expedited
review period. In submitting a nomination to the Keeper of the National Register. the Tr iba l
Historic Preservation Officer shall also forward to the Keeper all comments received by the
Tribe concerning that nomination. Because Poarch Band of Creek Indians tribal land
includes no privately owned property, the provisions of the Act and of 36 CFR 60
concerning private owner objections to nominations are not applicable.

        5. The Tribe will carry out its responsibilities for review of Federal undertakings
pursuant to Section 106 of the Act in accordance with the regulations (36 CFR Part 800)
of the Advisory Council on Historic Preservation . In the event that the Tribe seeks to
substitute its own review procedures for those established by the Council, such
substitution is subject to a separate negotiation with the Council, pursuant to Section
101 (d)(5) of the Act.

        6. As directed by Article 25 of the Poarch Band of Creek Indians Historic
Preservation Code, the Tribal Historic Preservation Office, relying on its special knowledge,
training, and experience, will evaluate the significance of, and impact on, all properties
surveyed within the reservation. This will be done with regard to historic, architectural,
archeo!ogica!, anthropological, religious, and cultural considerations. The Historic
Preservation Office will, as it deems proper and as it deems needed , consult with
recognized authorities meeting the Secretary of the Interior's Professional Qualifications
Standards.

       7. The Tribal Historic Preservation Officer will, in accordance with Section
101 (d)(4)(C), provide for the appropriate participation in the historic preservation program
by the Tribe's traditional cultural authorities, and for consultation with representatives of
any other tribes whose traditional lands may have been within the Poarch Band of Creek
Indians Reservation, and for consultation with the interested public.

          Concerning the involvement of traditional cultural authorities. the Tribe has
officially recognized William Day, William Bailey, and Gayle Thrower as official
spokespersons in matters concerning tribal culture and historic preservation. These three
individuals also serve as staff of the Tribe's Historic Preservation Department. In addition,
the Preservation Officer will periodically solicit and take into account comments on the
program from all those individuals and groups who may be affected by the program's
activities, as the tribe deems appropriate and consistent with the practice of other tribal
programs. In any case where an action arising pursuant to the Act may affect the
traditional lands of another Tribe, the Preservation Officer will, on an as-needed basis, seek
and take into account the views of that Tribe .

        8. As of the date of this Agreement, there is no land within the Reservation
boundaries that is not held in trust for the Tribe or owned by a non-tribal member. In the
event that this condition changes, the Tribal Historic Preservation Officer will, in
accordance with Section 101 (d)(2)(0)(iii), ensure that, for properties neither owned by
tribal members nor held in trust for the Tribe by the Secretary of the Interior, the property
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owners are aware that they may request the participation of the State Historic
Preservation Officer, along with the Tribal Historic Preservation Officer, in decisions
pursuant to the Act that may specifically affect their property.

        9. As directed by the Poarch Band of Creek Indians Historic Preservation Code, the
Tribal Historic Preservation Office shall prepare and submit to the .Tribal Council an annual
report on historic preservation and educational ac1ivities carri.ed out under its authority, a
copy of which will be provided to the National Park Service at the end of each calendar
year. Included in that report, and specifically under the authority of this agreement, the
Tribal Historic Preservation Office will report the number of properties surveyed and added
to the tribe's inventory and the number of Federal undertakings reviewed pursuant to
Section 106 of the National Historic Preservation Act. The National Park Service is
authori:zed to use this information and similar data from other Tribes assuming formal
responsibilities under section 101 (d) of the Act to report annually to the Administration,
the Congress, and other interested parties on the national accomplishments of this
program.

        10. As of the date of this agreement, the Poarch Band of Creek Indians' Tribal
Historic Preservation Officer is William Day. The Tribe will notify the National Park Service
whenever there is a vacancy in the position and whenever a successor is designated by
the Tribe.

        11. The National Park Service will, in accordance with Section 101 (d)(2)(A) of the
Act foster communication, cooperation, and coordination among the Tribe, the State
Historic Preservation Officer, and Federal agencies in the administration of the national
historic preservation program. All such efforts by NPS will be on an as-needed basis and
will be based on consultation with the Tribe to ensure that tribal values are fully respected.

       12. The National Park Service, upon execution of this agreement, will notify all
Federal Preservation Officers, the Advisory Council on Historic Preservation, and the
Alabama State Historic Preservation Officer, that the Poarch Band of Creek Indians has
assumed formal responsibility on tribal lands for all of the functions set out in Item 1
above. In particular, such notice shall make clear that the Tribe has assumed the role of
the State Historic Preservation Officer on tribal lands for the purposes of consultation on
Federal undertakings pursuant to Section 106 of the National Historic Preservation Act.

        13. The National Park Service will consult with the Poarch Band of Creek Indians
to determine what technical assistance the Tribe needs and wants in order to enhance its
participation in the national historic preservation program. Based on that consultation, NPS
will make available to the Tribe such technical assistance as is appropriate and feasible.
Nothing in this Agreement requires the National Park Service to provide financial
assistance to the Tribe to carry out the functions it has assumed under this agreement.
Only a separate grant agreement, cooperative agreement, or contract obligates the
National Park Service to provide funding for tribal activities.

       14. The National Park Service, pursuant to Sections 101 (d)(2) and 101 (b)(2) of the
Act, and in direct consultation with the Tribe, will carry out a periodic review of the Tribe's
program pursuant to the Act, to ensure that the Tribe is carrying out the program
consistent with this agreement. The review will be a collegial process that involves both
NPS and the Tribe in a mutual evaluation and assessment of the program. Generally, such
a review will occur every four years.




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       15. The Poarch Band of Creek Indians may terminate this agreement for any reason
by providing the National Park Service sixty days' written notice of such termination. The
National Park Service may terminate this agreement upon determining that the Tribe has
not carried out its assumed responsibilities in accordance with this agreement, the Act, or
any other applicable Federal statute or regulation. Unless circumstances warrant
immediate act.ion, NPS will not terminate the agreement without first providing the Tribe a
reasonable and appropriate opportunity to correct any deficiencies .

       1 6. This agreement may be amended by the mutual consent of the Poarch Band of
Creek Indians and the National Park Service.

       17. This agreement shall become effective upon signature by the Director of the
National Park Service or his designee, which signature shall not occur until after the
Chairman of the Poarch Band of Creek Indians has signed the agreement.


FOR THE NATIONAL PARK SERVICE :                  FOR THE POARCH BAND OF CREEK
                                                 INDIANS :         ~




Director                Date
                                                  tZL;C?:7d1 -19
                                                 Chairman                  Date S -2 Lt
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                                 No. 21-11643
                  UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT


                     MUSCOGEE (CREEK) NATION, et al.,
                             Plaintiffs-Appellants,
                                        v.
                           BUFORD ROLIN, et al.,
                            Defendants-Appellants.


 Appeal from the District Court of the United States for the Middle District of
                         Alabama, Northern Division
   District Court No. 2:12cv1079-MHT (CSC) (Hon. Myron H. Thompson)


                 APPELLANTS’ APPENDIX – VOLUME 2


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                                             Seattle, WA 98101
                                             (206) 447-4400

                                             Counsel for Plaintiffs-Appellants
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                          POARCH BAND OF CREEK IND~
                                      5811 Jack Springs Road• Atmore. Alabama 36502
                             Tribal Offices: (251) 368-9136 •Administrative Fax; (251) 368-4502
                                               www. poarchcreeldndians -nsn .gov



                                                 April4,2012
      George Thompson, Jr.
      Mekko, Hickory Ground
      P.O. Box 903
      Henryetta, OK 74437

             Re:     Rdnterment at Hicko;ry Ground

      Dear Mekko Thompson:

              I write to you to provide additional information reg;ard:ing the re-internment at Hickory
      Grounds. As you know, our tribal Nations have been in good faith discussions regarding the
      issue of re-.interment since May 2006. Over the past five years 1 we have had numerous fonnal
      and informal discussions including large delegation meetings of the principals on at least five
      occasions. Throughout this time, our Tribe has attempted to address your delegation's concerns
      and demonstrated our commitment to finding a mutually agreeable resolution by) among other
      things, amending our original ·plans for a memorial garden and interpretative center in the
      northern half of the property in favor of leaving the area in a. natural state, developing security
      plans for. the area of re-interment, and proposing to fully participate in joint preservatio11 effoN
      throughout this region. Most significantly) both our Nations Hgreed to preserve the Hickory
      O:mund ceremonial site in perpetuity and jointly participated in these critical efforts.

            The last official meeting of our delegations was in ~eptember 2010, and we have
     attempted to coordinate a follow-up meeting on several occasions since that time. You
     responded to our last proposal in March 2011 and expressed a desire to schedule another official
     meeting. Although our Nations' delegations intended to meet la~t August, we were unable to do
     so due to scheduling conflicts. Nonetheless, your delegation Vi!;ited the site in any event, and
     introduced a new member of your delegation, John Beaver, M\1.scogee Nation Museum Director
     and Curator, to Robert Thrower, our Tribal Historic Preservati<'n Officer. Since that time, on
     your behalf, Mr. Beaver has been communicating with Mr. Thrower regarding the final inventory
     and potential follow-up visits.

              Given the :five .and a half years of good faith negoti.a.tion.s and the recent productive
     exchanges between Mr. Beaver and M:r. Thrower regarding the final inventory, we were
     disappointed. to learn tha.t the Muscogee Nation/Hickory Ground delegation sought to introduce: a
     resolution. at the National Congress of American Indians Annual Convention this past November,
     which did not name us but clearly related to our .land. We wert: further dismayed to hear that,
     despite continued communications from your d.elegate Mr. Beaver with our THPO, you appeared
     in front of the Senate Committee on Indian Affairs during a rounc,.table discussion i:n early March
     with the same allegations. You indicated during those comme.n.ts that you wished to take



                                         Seeking Prosperity a1Ul SeU Determination
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     possession of the remains. In all of our discussions, you have never requested that we allow the
     Muscogee Nation or Hickory Ground to take possession of the remains.

            We regret that there appears to have been a breakdown 'In our communications and we
     hope that these recent actions are not indicative of a more advers:uial approach on the part of the
     Muscogee Nation. We continue to stand prepared f:o continue a good faith and cooperative
     approach.

             In furtherance of a good faith approach, we wanted to inform you that we have obtained
     the final inventory and are C\l,U'ently preparing for re-interment. With the hope that we can
     continue to work together regarding re~interme:o.t and restore the relationship between Ol.lr sister
     Nations, we welcome your participation in this process. Please let us know as soon as possib]e if
     you would like to join us.

     Best regards,

      iJ~ /,,E;L_
     Buford L. Rolin
     Tribal Chairman
     Poarch Band of Creek Indians

     cc:      George Tiger, Muscogee Nation Principal Chief
              John Beaver, Muscogee Nation. Museum Director/Curator
           .v1.Vlarcella Giles, Attorney for Muscogee Nation & Hickory Ground
              Poarch Band of Creek Indians Tribal Council
             Robert Thrower Poarch Band of Creek Indians THPO
              Venus McGbee P.ri.nce, Poarch Band of Creek Indians Attorney General
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                                                        Apri.1 13, 201~~

                VU U.S.P.S and Facsimile (251) 3684502

                Buford L. Rolin, Tribal Chairman
                Poarch Band of Creek Indians
                5811 Jack Springs Road.
                Atmore, Alabama 36502

                Re:     Hickory Ground

                Dear Chairman Rolin.:

                I am in receipt of your letter dated April 4, 2012 addressed to Mekko Thompson and
                copied to me and other individuals. I would Uke to thank you for keeping me apprised
                during this sensitive cultural matter.

                In the past, Second Chief, Roger Barnett and J .have met with the Poarch Band of Creek
                Indians as Representatives of the National Council for the Muscogee (Creek) Nation.
                Now~ we would like to meet with you as Cbfof ~Lnd Second Chief to discuss past and
                future negotiations and communications between your del1~gation and the Muscogee
                Nation/Hickory Ground delegation.

                As you. arc aware, we both are newly elected, and we ar.e requesting the opportunity to
                have a discussi.on from Tribal Leader to Tribal Leader. We fll'e awate that time is of the
                essence for this sensitive issue, and we are willing to meet with you in Alabama.

                Please call me to discuss arranging a meeting, and if you would Hke for us to come to
                Alabama or if we could make arrangements fol' you to visit the Muscogee (Creek)
                Nation. I look forward to seeing you and hope that we can mret as soon as possible.

                Sincerely1



                Zr~
                P.rinci.pal Chief


                                        PO Box580 Okmulgee, OK 74447-05801-800-482-1979
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                        PoAAcH BAND OF CREEK 1Jb~
                                   5811 Jack Springs Road• Atm.ore, Alabama 36502
                          Tribal Offices: (251) 368-9136 •Administrative Fax: (251) 368-4502
                                            www.poarchcreekindians-nsn.gov_




                                              April 17~ 2012

    · George Tiger                                      George Thompson. Jr.
      Principal Chief                                   Mc~kko, Hickf)ry Ground
      Muscogee Nation                                   P.O. Box903
      P.O. Box 580                                      Henryetta, OK 74437
      Okmulgee, OK 74447--0580



             Re:     Reinterment at Hickory Ground

     Dear Principal Chief Tiger and Mekko Thompson:

             Thank you for your response by letter dated April 13, 2012 regarding Hickory Ground..
     which was brought to my attention this morning. When we did not immediately hear from you
     in response to O\l{ April 41t1 letter, we assumed that you did not wish to participate in the
     reintennent process. Last week we proceeded with the reinterment of our ancestors~ remains and
     associated funerary objects in the manner to which we agreed during our prior discussions. We
     will preserve the area of reintemtent in perpetuity. We welcome you to visit the ceremonial site
     and area of reintennent and hope that we will work together on further preservation efforts.
     Please cont.act me if you would like to visit and/or disc.."USS future communications.


     Best regards,

     /}~ :;C~
     Buford L. Rolin
     Tribal Chairman
     Poarch Band of Creek Indians

     cc:     Roger Barnett, Muscogee Nation Second Chief
             John Beaver, Muscogee Nation Museum Director/Curator
             Marcella GiJes~ Attorney for Muscogee Nation & Hickory Ground
             Poarch Band of Creek Indians Tribal Council
             Roben 'Ibrov.--er, Poarch Band of Creek Indians THPO
             Venus McGhee Prince, Poarch Band of Creek Indians Attorney General




                                      Seeking Prosperity and Seif Determination
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                                                                     The Poarch Band of Creek
Indians has resumed its development plans for a hotel and casino on land it owns in Wetumpka,
Alabama. This decision comes after suspending construction of the project in a show of good
faith so that leadership from Poarch Creek and the Muscogee Nation in Oklahoma could once
again meet to discuss the concerns of both tribes. Poarch Creek made the decision to resume
construction after meeting in Oklahoma this week with elected leaders of the Muscogee Creek
Nation and traditional leaders of Hickory Ground Town (a traditional Indian town within the
Muscogee Nation). After careful consideration of the Muscogee Nation
believes the decision to move forward with its plans represents a fair and balanced approach to
the development and preservation of the property.


a development that is culturally sensitive while ensuring the economic well-being of our Tribal
members, our community, and our State. It is a balanced, reasonable approach for using land that
we own, which has been met with increased opposition from some in Oklahoma. Now, we are
being faced with demands to remove ancestral remains that have already been reinterred. We
can ensure that no more remains will be excavated. It has been almost eight years since any
remains have been unearthed. We cannot change the fact that remains were found and removed.
Those remains are now reinterred and we cannot support disturbi
The Poarch Band of Creek Indians is the only federally recognized Indian tribe in Alabama. Its
tribal members have lived continuously in the region for centuries, specifically near present day
Atmore, Alabama, since the early 1800 s. As a recognized sovereign nation, Poarch Creek is
under no legal obligation to negotiate with any other government about the use of its own land.
However, out of respect for their shared cultural and familial ties, Poarch Creek leadership began
conversations with the Muscogee Nation about the development of the Wetumpka property in
2006. Discussions continued for several years, but opposition by some members of Hickory
Ground and Muscogee Nation to Poarch                                  the Wetumpka site reached a
crescendo when Poarch Creek announced its plans to build a hotel and casino on the property
this summer.
                                   the outcome of this recent trip to Oklahoma made by
representatives of our Tribal Council, said Buford L. Rolin, Poarch Cree
             , we have reached out to the Muscogee Nation with the hope that they would be open
to understanding the facts about the 21st century conditions of what was once Hickory Ground
Town and would recognize that our development in Wetumpka does not alter that. Unfortunately
we have reached an
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Wetumpka is one of several Alabama communities that originated on the site of Hickory Ground
Town, a historic Creek Indian community that, at one time, covered more than 1000 acres. While
both the Poarch Creek and the Muscogee Nation have cultural ties to the land, it was the Poarch
Creek that purchased approximately 34 acres of the original site in 1980.

At the time of the sale, the land had been used for agricultural purposes and was zoned for
commercial use. The Poarch Creek had limited financial resources and had to apply for a grant to
buy the property. Poarch Creek invited the Muscogee Nation to partner with it on the grant
application, but the Muscogee Nation did not commit before the grant deadline.

 We have taken great effort to make sure the original Hickory Ground ceremonial site is
preserved, and the remains that were removed in earlier years have been reinterred at Hickory
Ground Town in a manner previously agreed to by traditional leaders in Oklahoma. The
remaining acreage located on the northern part of Hickory Ground will be preserved in a pristine,
natural state for posterity, said Robert
Office and is a Poarch Tribal Council Member.

The Tribe is in compliance with applicable federal laws, including historic preservation laws,
pertaining to the property. The expansion, in no way, compromises the site as construction plans
do not call for any further excavation. Despite Muscogee claims to the contrary, there will be no
expansion in other areas at the Hickory Ground site.
The development originally included a cultural center as well as a hotel and casino, but Poarch
Creek modified the plans after Muscogee Nation and Hickory Ground representatives expressed
concerns about the site on which the center would be located. Poarch Creek leadership is now
reviewing those plans and has made a commitment to build a center on a nearby site as it moves
forward with the hotel and casino development.
Poarch           Tribal Council will also set aside appropriate acreage of pristine land that has
never been subject to agricultural use or development that can be used by Poarch Creek, as well
as by other Tribes who may be facing sensitive issues of reinterment. The Tribal Council is
establishing a historical and cultural preservation fund that will be made available to other tribes
to support their preservation efforts.


challenges of the future. This development is a reasonable approach to land use; and no one cares
more about the sanctity of our land and the well-being of our people and our neighbors than we




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                                                P0ARcH BAND OF CREEK INDIANS
                                                           5811 Jack Springs Road •Aunore,Alabama 36502
                                                                    Tribal Offices: (251) 368-9136
                                                                   www.poarchcteekindians-nsn.gov


                          Dear Tribal Leader,
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                          As the leader of one sovereign nation to another, I am writing to make sure that you have accurate
                          information concerning the development of the Poarch Band of Creek Indians’ Wetumpka, Alabama
                          trust land. Poarch Creek has taken the utmost care to preserve our tribal history and culture while
                          undertaking projects that assure the financial stability of our Tribal government and jobs for our
                          people.

                          Development of Poarch Creek trust lands near Wetumpka is the subject of an increasIngly belligerent
                          misinformation campaign run by a handful of individuals from Hickory Ground town and the
                          Muskogee Nation in Oklahoma. These men have made violent threats toward our tribal members,
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                          employees, customers and property. They have also attempted to Intimidate, threaten, and
                          humiliate our Tribal leadershIp at national gatherings in Indian Country.

                          One of the leaders of this group was arrested on Poarch Creek trust property last year after he
                          threatened to burn down our casino. He was subsequently convicted of disorderly conduct and
                          trespassing in an Alabama state court. Even after this incident, this individual and other members of
                          his group have harassed and accosted Poarch Creek tribal leaden at multiple national Indian
                          gatherings. Clearly, these are threats to our reputation and our safety that we take very seriously.

                          Attached is a Fact Sheet to help clarify this issue. If you would like to discuss any of these Issues or
                          have additional questions, I and other Members of the Poarch Creek Council would be happy to talk
                          more with you.
Document: 36




                          We think it Is Important to remember that, first and foremost, no one is more aware of the
                          importance of preserving Poarch’s history and culture than we are. We remain committed to the
                          integrity of our Tribe and are actively involved in ensuring the future of Indian Country. We are
                          proud that Chief Calvin McGhee helped craft the Declaration of Indigenous Purpose and that he had
                          the honor of presenting this document to President Kennedy. Former Chairmen Buford L. Rolin and
                          Eddie Tullis continue to provide leadership roles throughout Indian Country In their worl on
                          Healthcare, Aging, and Sovereignty. Our Tribal Council Vice Chairman Robbie McGhee serves on the
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                          boards of the Native American Right Fund, the Center for Native American Youth, the National
                          Indian Child Welfare Association and our entire Tribal Council continuously advocates to strengthen
                          national tribal Indian policy on issues related to education, VAWA, health cam, child welfare,
                          taxation, trust lands protection and other areas of importance to all Tribes.

                          In closing, we remain hopeful that these individuals who are now involved in unproductive and
                          divisive activities will come to understand that our strength, as sovereign Indian nations, depends on
                          our ability to work together on solving the problems and meeting the challenges that affect us all
                          while maintaining the crucial tenets of sovereignty and self-determination. It’s a dangerous road for
                          all of Indian country to take when one sovereign seeks to enforce its will on the trust lands of
                          another.


                                                     94 Q,
                          Stephanie A. Bryan, Tribal Chair
                          Poarch Band of Creek Indians



                                                              Seeking Prosperity and Se(fDetennination
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                               Fact Sheet: Poarch Band of Creek Indians’ Wind Creek Development In
                                                      Wetumpka, Alabama

                           •   Many years ago the Poarch and Muscogee Creek Tribes were separated by
                               historical events. Today, we are separate sovereign nations with completely
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                               separate lands.

                           •   We, the Poarch Band of Creek Indians, have continually lived on our Alabama
                               Tribal lands and survived years of poverty.

                           •   The Poarch Band’s Wetumpka trust property (approximately 34 acres) is a small
                               portion of what had been a large Indian town called Hickory Grounds. The land
                               had been farmed and developed by others for decades.
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                           •   When the property came up for sale, we had no gaming operation and few
                               resources. However, we believed that we should make every effort to purchase
                               the property because it was an opportunity to regain some of our historical lands,
                               protect our ancestors and history, and provide for our people and our
                               communities.
                                   o We asked the Muscogee Nation to jointly apply for a grant to purchase the
                                      property. They did not respond.
                                   o The land was in a part of the country that had been farmed and developed
                                      for well over a century.
                                   o In fact, the current town of Wetumpka, Alabama is built on what was once
                                      the Indian town of Hickory Ground.
Document: 36




                                   o We still believed that the site was historically significant as a center of
                                      Creek Indian trade, government, and economic development

                           •   Unbeknownst to us, a small part of the property we acquired was the site of
                               Creek Ceremonial Grounds. The Ceremonial Grounds have never been
                               disturbed, remain protected, and we have memorialized and preserved the site to
                               this day.
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                                   o Northern 17 acres of our trust property is preserved in perpetuity as a
                                      memorial to the historical significance of the site.
                                   o Remains found within the Ceremonial Grounds were never removed.
                                   o In accordance with Poarch Creek Tribal Law and consistent with the
                                      Muskogee Tribe’s Constitution, remains found outside the Ceremonial
                                      Grounds were interred adjacent to the Ceremonial Grounds with prayer
                                      and ceremony.
                                   o The previously disturbed and fragmented remains found scattered across
                                      the other 17 acres have been reintered with dignity and honor.
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                           •   In the 1990’s, Alabama archeologists asked to study the site and we agreed. At
                               the time:
                                   o There was no visible evidence of a burial ground.
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                                   o The site was eroding because of farming and lack of maintenance.
                                   o We had limited finances and limited technology.
                                   o When evidence was discovered, the archeologists’ work stopped and their
                                      discoveries were stored for several years. The remains and funerary
                                      objects were reinterred according to Indian tradition in April of 2013.

                           •   The Tribe is in compliance with all applicable federal historic and cultural
                               preservation laws pertaining to the property.
Date Filed: 07/27/2023




                           •   Poarch Creek is, and was, under no legal obligation to negotiate with any other
                               sovereign Indian nation about the use of our own land. However, out of respect
                               for our shared cultural and familial ties, Poarch began discussions with the
                               Muscogee about planned development of the Wetumpka property in 2006.


                           •   Since 2006, Poarch regularly reached out to the Muscogee Nation in the hopes
                               that its leadership would be open to understanding the 21st century conditions of
                               the Poarch land in Wetumpka. Negotiations continued for several years, but the
                               Muscogee Nation’s opposition to Poarch Creek’s plans to develop the land
                               reached a crescendo when plans were announced to expand the existing gaming
Document: 36




                               facility into a resort on the property in the summer of 2012.

                           •   We have continued to be open to dialogue with the Muscogee elected leadership
                               and have expressed our desire for a good relationship between the two nations.

                           •   We are encouraged that these efforts are making a difference as evidenced by
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                               the visit of over 150 Muscogee tribal members to our Wind Creek Wetumpka
                               resort. They visited the memorial site, were sewed refreshments, and shared
                               pleasant conversation with Poarch tribal members.

                           •   The Wind Creek Wetumpka development protects our past and helps provide for
                               the future of our tribal members.
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                      EXHIBIT Q
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                                                Preserving America's Herita9e




          November 14, 2006

          Mr. Brad Mehaffy, REM
          NEPA Compliance Officer
          National Indian Gaming Commission
          1441 I Street, N .W .• Suite 9100
          Washington, D.C. 20005

          REF: Proposed App'l'Oval ofa Management Contract far. the Expansion ofExistmg GamitJg
                  Facility by the Poarch Band ofCreek lndiam       ·
                  Wetumpka. Alabama

          Dear Mr. Mehaffy:

          On October 3, 2006. the Ad-visory Council on Historic Preservation (ACHP) received the additional
          documentation regarding the referenced undertaking. ACHP requested this information in response to
          your notification that the National Indian Gaming Commission (NIGC) was 1'8Vieiwing the Poarch Band
          of Creek Indians' (Poarch Band) proposed management<:antract for expansion of the existing gaming
          facility on Hiclcory Ground. a property listed in the National Register of Historic Places. Based upon this
          documentation, it i& apparent that activities undertaken·by ~ Poarch BatKI priar to the completion of the
          review required by Section 106 of the National Historic Preservation Act (Nl1PA) have adversely affected
          the National Register·listed property.

          According to :the documentation provickd, the Poarch Band sponsored extensive investigations and        .
          ultimately data recovery at Hickory Ground between 1988 and the present. Tho investigations included
          archaeological site identification surveys within the approximately 16-acre trust property and the
          approximarely 5--acre tract of fee land. As a result, a multi~mponent archaeological site, HickOfY
          Ground, was delinea~ boundaries expanded, and finally, cxtensiv~ archaeological data l"CQOVCry was
          undertaken. including the removal of ntnnerous human budals. As we understand. the recovered remains,
          artifacts, and sin: documentation ar= in various stages of lnalysis and cur&tion by the Poarch Band's
          consultants.

          Regrettably, the archaeological surveys and data recovery were not canied o~ in compliance with
          Section 106 of the NHPA. Since the Section I 06 process must be initiated by a Federal agency prior to
          the initiation of project activi~ it is unclear why the applicant, a tri~ with a. tribal historic prestsMdion
          office apprcwed by the National Parle Se.vice pursuant to Section 10l(dX2) of the NHPA, p~eded with
          project planning and archeological investigations. As you know, the F~ agency must consult with the
          State Histork Preservation Officer (SHPO), any Indian tn'"bes that attach ~us and cultural
          significance to historic properties llffected by the undertakius, and other appropriate stakeholders, and
          provide adequate notification to the public in carrying out the steps of the Section 10(; review.

                                        ADVISORY COUNCIL ON HISTORIC PRESERV~TION
                                  l 100 Pennsylvania Avenua NW, Suite 809 •Washington, DC 20004
                              Phone: 202-606-8503 • Fax: 202-606-8647 • achp@achp.gov • www.achp.gov
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' .,   l




           Based on the informatioa provi~ there was no Federal agency review of the archaeological
           investigations carried out by the Poateh Band; no consultation with the Alabama SHPO prior to
           excavation of the portion of the site on fee lands, and no consultation with any other Indian tribe,
           particularly the Muscogee Creek Nation. The initial notitk&tion of the ACHP (see 36 CFR 800.6(aX1))
           did not 00C,1W until after the destruction of the site. Furtbutnore. there is no indicatioa that the public bas
           been notified about the nature ofthe underlJlking and its effects on hmonc properties (36 CFR. 800.3(e)).

           In your corrospondcmce, you indicate that the Poarch BaOO completed more than 909/., of the arcbeological
           data recovery within the area of potential etfe<:t fur the proposed project. In the initial letter to the ACHP
           regarding this project, you invited us to participate in consultation to resolVe the potential adverse eff~
           of tM undertaking.You have also indicated that NIGC intends to invite the Alabama SHPO to participate
           in any further Section l 06 consultation, and have outlined steps NIGC will take to complete the Section
           106 review process for any areas where there bas been no land disturbance. NIGC has indicated that it
           propo9eS to develop a memonmdwn of agreement with all parties following consultation.

           Pleaso note. however, that Section l lO(k) of the NHPA t'dqUires that

                   Each Federal agency shall ensure that the agency will not grant a loan, loan guarantee, permit,
                   lioeosc. or other assistance to an applicant who, with intent to avoid the roquiremcnts of section
                   106 of 1his Act. has intentiooally significantly adversely affected • historic property to which the
                   grant would relate. or having 1epl power to prevent it, allowed such signifteant adverse effect to
                   occur, unless the agency, after consultation with the C<>uncil,'determines that circumstances
                   justify granting such assistance desp~ the adverJC effect cteated or permitted by the applicant
                   (16 u.s.c. 470h~2(k)).

           While NIGC bas provided documentation regarding archoological work conduc~ ~ ~.we have no
           indication·ofNJGC's \ifiws J"e8!!!dfni .tb~~licabiUty vf Secllon 1 lO(k) and no tccord of tho views of
           the Alabama SHPO and others, specificatly the Muscogee Creek Nation regarding this matter. In
           accordance with Section 800.9(cX2) of the ACHP's regulations, NIGC must det.ennine whether or not the
           Poarch Band's actions were u.ndertabn with the intmt to avoid tbe requbements of Section 106. lfNIGC
           <krtermines that thia did occur, NIGC should notify the ACHP and provide documentation specifying the
           circumstances under which the adverse effects to the historic property occurred and the degree of damage
           to the integrity of the historic property. Thi8 documentation must include any views obtained from the
           applicant, SHPO, aod other parties known to be interesb:ld in the undertaking. Within thirty days of
           receiving such infunnation. unless otherwise agreed to by NlGC, the ACfflJ will provide the agency with
           its opinion as to whether eircumstlUlces justity NIGC gntlitinc its appro'Val to the applicant and any
           possible mitigation of the adverse effect. If, after QOllSidering tho views of 1he ACHP, NIGC dotmmines
           to grant its approval, NIGC should consuh fmther with the ACHP and oiber COO$U1ting parties to
           conclude a memorandum of agreement for tmttment offtte remaining effects to historic properties
           resulting from the project.

            Should you havo any questions or wish to discuss this matter further, please contact Valerie Hauser,
             ative American Program Coordinator at 202-606-8530, or by email at vhau&er@achp.gov.




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                ce of Federal Agency Programs
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                        TAB 194
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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

MUSCOGEE CREEK NATION, et al.,       )
                                     )
    Plaintiff,                       )
                                     )
v.                                   )                      Civil Action No. 2:12-cv-01079
                                     )
POARCH BAND OF CREEK INDIANS et al., )
                                     )
    Defendants.                      )

        ANSWER OF DEFENDANT AUBURN UNIVERSITY TO SECOND AMENDED
                 COMPLAINT AND SUPPLEMENTAL COMPLAINT

            Defendant Auburn University (“Auburn”) answers the Second Amended Complaint and

Supplemental Complaint as follows:


                                         Prefatory Statement


            Paragraph 42 of the Second Amended Complaint and Supplemental Complaint (“the new

complaint”) states that Auburn is named as a defendant “solely to the extent that this Court enters

orders concerning the possession, custody, control, or relocation of the cultural items at issue.”

Understanding that it is included in this action as a defendant solely for purposes of permitting

the Court to provide full and complete relief should Plaintiffs prevail, Auburn will respond only

to those numbered paragraphs of the new complaint that expressly reference Auburn’s role in

maintaining and storing the cultural items at issue, and the current status of those items.


                                  Responses to Specific Paragraphs


5.          Auburn admits that certain artifacts that were removed from Hickory Ground, including a

small amount of human remains, are being stored and maintained at its Auburn, Alabama



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campus. Certain related photographs and documents are maintained at the Auburn-Montgomery

campus. Exhibit 1 to this answer is hereby incorporated into this response. Auburn denies having

mishandled or improperly stored these artifacts or remains.

32.         Auburn admits that it is a public university created under the Constitution and laws of the

State of Alabama, and that it receives federal funding. Auburn admits that certain artifacts that

were excavated at Hickory Ground, including a small amount of human remains, are currently

being stored and maintained at its Auburn, Alabama campus. Certain related photographs and

documents are maintained at the Auburn-Montgomery campus. Exhibit 1 to this answer is

hereby incorporated into this response.

42.         Auburn admits that Plaintiffs bring claims under the cited statutes and admits that it

receives federal funds. Auburn denies any violation of the cited statutes, or any other law, in

connection with the matters and things alleged in the new complaint. For further response,

Auburn adopts its response to paragraphs 5 and 32. Auburn understands that it is named as a

defendant solely for purposes of allowing the Court, should Plaintiffs prevail, to provide full and

complete relief as to the cultural items presently being stored and maintained by Auburn.

120-122. To the extent, if at all, that these paragraphs are intended to refer to Auburn’s

maintenance and storage of cultural items currently in its possession, the allegations are denied.

261. b. & c.       In response to these sub-paragraphs in Count VII of the new complaint, Auburn

reaffirms its willingness to cooperate with and facilitate whatever relief measures may be

ordered by this Court. Because the nature and scope of any such potential relief is unknown at

this time, however, Auburn reserves its right to be heard in connection with any remedial

requirements affecting or potentially affecting it that may be considered by the Court. Auburn

denies the necessity of any injunction as to it.



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282. b. In response to this sub-paragraph in Count IX of the new complaint, Auburn reaffirms its

willingness to cooperate with and facilitate whatever relief measures may be ordered by this

Court. Because the nature and scope of any such potential relief is unknown at this time,

however, Auburn reserves its right to be heard in connection with any remedial requirements

affecting or potentially affecting it that may be considered by the Court. Auburn denies the

necessity of any injunction as to it.

334.        In response to this paragraph in Count XI, Auburn reaffirms its willingness to cooperate

with and facilitate whatever relief measures may be ordered by this Court. Because the nature

and scope of any such potential relief is unknown at this time, however, Auburn reserves its right

to be heard in connection with any remedial requirements affecting or potentially affecting it that

may be considered by the Court. Auburn denies the necessity of any injunction as to it.

            In response to paragraph (d) ii. of the Prayer for Relief in the new complaint (p. 79),

Auburn reaffirms its willingness to cooperate with and facilitate whatever relief measures may

be ordered by this Court. Because the nature and scope of any such potential relief is unknown at

this time, however, Auburn reserves its right to be heard in connection with any remedial

requirements affecting or potentially affecting it that may be considered by the Court. Auburn

denies the necessity of any injunction as to it.


                                         Additional Defenses


            1.     Auburn, as an arm of the State of Alabama, is protected from suit, and from some

or all of the claims asserted herein, by the Eleventh Amendment of the United States

Constitution.

            2.     Auburn asserts sovereign immunity under Article I, Section 14 of the Constitution



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of Alabama.

            3.     Auburn denies that (i) it has violated any statute or federal regulation, and (ii)

Plaintiffs have been deprived of any legally cognizable right or interest as a result of any alleged

action or inaction of Auburn.


                                 Right to Assert Additional Defenses


            Auburn reserves the right to supplement this answer to raise additional factual and legal

defenses as they may become known through discovery and during the proceedings in this case.

            Respectfully submitted this the 23rd day of March, 2020.


                                                  s/David R. Boyd
                                                 One of the Attorneys for Defendant Auburn
                                                 University

OF COUNSEL:

David R. Boyd (ASB-0717-D52D)                           Jaime S. Hammer (ASB-1557-C00Z)
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    Case 2:12-cv-01079-MHT-CSC Document 194 Filed 03/23/20 Page 5 of 5
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                                CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing with the Clerk of the Court using
the CM/ECF system and service will be perfected upon the following CM/ECF participant(s)
electronically on this the 23rd day of March, 2020:

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                                              Of Counsel


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                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

MUSCOGEE (CREEK) NATION, et al.,                 )
                                                 )
       Plaintiffs,                               )
                                                 )
vs.                                              )
                                                 )               Civil Action Number:
POARCH BAND OF CREEK INDIANS, et                 )             2:12-cv-01079-MHT-CSC
al.,                                             )
                                                 )
       Defendants.                               )
                                                 )

                       NOTICE OF CONSTITUTIONAL QUESTION

       Rule 5.1 of the Federal Rules of Civil Procedure requires Notice to be served when a

complaint contains a constitutional challenge and “the United States, one of its agencies, or one

of its officers or employees in an official capacity” is not a party in the case. United States

agencies and their officers in their official capacity are defendants in this case: the Department of

the Interior; Tara Maclean Sweeney, in her official capacity as Assistant Secretary of Indian

Affairs; David Bernhardt, in his official capacity as Secretary of the Department of the Interior;

and David Vela, in his official capacity as Acting Director of the National Park Service.

However, out of an abundance of caution, Plaintiffs hereby file this Notice of Constitutional

Question.

       In the Plaintiffs’ Second Amended Complaint and Supplemental Complaint filed with

this Court on March 9, 2020, there are conditional constitutional challenges to the Native

American Graves Protection and Repatriation Act (codified at 25 U.S.C. §§ 3001 et seq.)

(NAGPRA) and the Archaeological Resources Protection Act (codified as amended at 16 U.S.C.

§§ 470aa et seq.) (ARPA). More specifically, and as described in further detail in Count VIII of

the Plaintiffs’ Second Amended Complaint and Supplemental Complaint, the Plaintiffs question:
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(1) to the extent NAGPRA and ARPA are construed to allow any tribe other than the Muscogee

(Creek) Nation to consent to the excavation or removal of certain cultural items, whether

portions of NAGPRA and ARPA violate the Plaintiffs’ First Amendment right to the free

exercise of religion; and (2) to the extent NAGPRA and ARPA are construed to provide a higher

priority of ownership of the excavated cultural items to any entity other than Plaintiffs Thompson

and Muscogee (Creek) Nation, whether portions of NAGPRA and ARPA, , violate the Plaintiffs’

First Amendment right to the free exercise of religion.

       The Plaintiffs will serve the Attorney General of the United States with a copy of this

Notice of Constitutional Question and a copy of the paper that raises the constitutional question

(the Plaintiffs’ Second Amended Complaint and Supplemental Complaint), via UPS Next Day

Air.



       Respectfully submitted this 21st day of April, 2020.



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    Case 2:12-cv-01079-MHT-CSC Document 197 Filed 04/21/20 Page 3 of 4
USCA11 Case: 21-11643 Document: 36 Date Filed: 07/27/2023 Page: 290 of 1019


                                     Certificate of Service

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document with the Clerk of Court using the CM/ECF system which will send notification of such

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    Case 2:12-cv-01079-MHT-CSC Document 197 Filed 04/21/20 Page 4 of 4
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       I further hereby certify that on the 21st day of April, 2020, I served the foregoing

document, together with a copy of the Plaintiffs’ Second Amended Complaint and Supplemental

Complaint referenced therein, by mailing a copy thereof via UPS Next Day Air to the U.S.

Attorney General at the following address:

William Barr
Attorney General of the United States
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001




                                             s/ Stewart Davidson McKnight, III
                                             Counsel




                                               4
USCA11 Case: 21-11643   Document: 36   Date Filed: 07/27/2023   Page: 292 of 1019




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                      IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION


 MUSCOGEE (CREEK) NATION, et al.,                    )
                                                     )
        Plaintiffs,                                  )
                                                     )
 vs.                                                 )
                                                     )              Civil Action Number:
 POARCH BAND OF CREEK INDIANS,                       )            2:12-cv-01079-MHT-CSC
 et al.,                                             )
                                                     )
                Defendants.                          )



        FEDERAL DEFENDANTS’ MOTION TO DISMISS SECOND AMENDED
               COMPLAINT AND SUPPLEMENTAL COMPLAINT

       The United States Department of the Interior, Tara MacLean Sweeney, David Bernhardt,

and David Vela (collectively, “Federal Defendants”) hereby move to dismiss Plaintiffs’ Second

Amended Complaint (ECF No. 190) pursuant to Rule 12(b)(1) and Rule 12(b)(6) of the Federal

Rules of Civil Procedure. For the reasons explained in the supporting Memorandum filed

herewith, Federal Defendants respectfully request that this Court dismiss the Second Amended

Complaint in full.

       Respectfully submitted this 23rd day of April, 2020.


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                                                   Natural Resources Section
    Case 2:12-cv-01079-MHT-CSC Document 199 Filed 04/23/20 Page 2 of 4
USCA11 Case: 21-11643 Document: 36 Date Filed: 07/27/2023 Page: 294 of 1019


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USCA11 Case: 21-11643 Document: 36 Date Filed: 07/27/2023 Page: 295 of 1019



                                       Certificate of Service

        I hereby certify that on the 23rd day of April, 2020, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system, which will send notification of

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USCA11 Case: 21-11643 Document: 36 Date Filed: 07/27/2023 Page: 296 of 1019


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USCA11 Case: 21-11643   Document: 36   Date Filed: 07/27/2023   Page: 297 of 1019




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                      IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION


 MUSCOGEE (CREEK) NATION, et al.,                    )
                                                     )
        Plaintiffs,                                  )
                                                     )
 vs.                                                 )
                                                     )              Civil Action Number:
 POARCH BAND OF CREEK INDIANS,                       )            2:12-cv-01079-MHT-CSC
 et al.,                                             )
                                                     )
                Defendants.                          )



        FEDERAL DEFENDANTS’ MOTION TO DISMISS SECOND AMENDED
               COMPLAINT AND SUPPLEMENTAL COMPLAINT

       The United States Department of the Interior, Tara MacLean Sweeney, David Bernhardt,

and David Vela (collectively, “Federal Defendants”) hereby move to dismiss Plaintiffs’ Second

Amended Complaint (ECF No. 190) pursuant to Rule 12(b)(1) and Rule 12(b)(6) of the Federal

Rules of Civil Procedure. For the reasons explained in the supporting Memorandum filed

herewith, Federal Defendants respectfully request that this Court dismiss the Second Amended

Complaint in full.

       Respectfully submitted this 23rd day of April, 2020.


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USCA11 Case: 21-11643 Document: 36 Date Filed: 07/27/2023 Page: 299 of 1019


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USCA11 Case: 21-11643 Document: 36 Date Filed: 07/27/2023 Page: 300 of 1019



                                       Certificate of Service

        I hereby certify that on the 23rd day of April, 2020, I electronically filed the foregoing

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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION


MUSCOGEE CREEK NATION, et. al.,         )
                                        )
            Plaintiffs,                 )    Case No. 2:12-cv-01079-MHT-CSC
                                        )
      v.                                )    Judge Myron H. Thompson
                                        )
POARCH BAND OF CREEK                    )
INDIANS, et. al.,                       )
                                        )
            Defendants.                 )




             FEDERAL DEFENDANTS’ MEMORANDUM IN SUPPORT
             OF THEIR MOTION TO DISMISS PLAINTIFFS’ SECOND
           AMENDED COMPLAINT AND SUPPLEMENTAL COMPLAINT




                                        i
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                                   I.       INTRODUCTION
       Defendants the United States Department of the Interior (“Interior”), Tara MacLean

Sweeney, David Bernhardt, and David Vela (collectively, “Federal Defendants”), hereby move to

dismiss the Second Amended Complaint and Supplemental Complaint (“Second Amended

Complaint”), ECF No. 190, filed filed by Plaintiffs Muscogee Creek Nation, Hickory Ground

Tribal Town, and Mekko George Thompson (collectively “Plaintiffs”) pursuant to Rule 12(b)(1)

of the Federal Rules of Civil Procedure for lack of subject matter jurisdiction, and Rule12(b)(6)

for failure to state a claim upon which relief may be granted.

       This dispute is part of a deeper conflict regarding the Poarch Band of Creek Indian’s

(“Poarch Band”) construction and operation of a gaming facility on land located near Wetumpka,

Alabama (the “Wetumpka property”). The Wetumpka property, which the Poarch Band

purchased in 1980 and is held in trust for its benefit by the United States, is the site of “Hickory

Ground,” the last known capital of the Creek Nation in Alabama before its removal to the Indian

Territory in the eastern sections of present-day Oklahoma. Plaintiffs claim cultural, historic, and

lineal ties to the Wetumpka property and state that it holds religious significance to them. The

Second Amended Complaint seeks injunctive and declaratory relief to have the Wetumpka

property taken out of trust for the Poarch Band and to have the Poarch Band return the entire

Wetumpka property to its natural state. 2d Am. Compl., Prayer for Relief.

       Plaintiffs allege in their Amended Complaint that Federal Defendants violated the Indian

Reorganization Act of 1934 (“IRA”), 25 U.S.C.§ 5123 (Claim I), the Native American Graves

Protection and Repatriation Act (“NAGPRA”), 25 U.S.C. §§ 3001-3013 (Claim VII), the

Archaeological Resources Protection Act (“ARPA”), 16 U.S.C. §§ 470aa-mm (Claim IX), the



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National Historic Preservation Act (“NHPA”), 54 U.S.C. §§ 300101–320303 (Claim X), the

Religious Freedom Restoration Act (“RFRA”), 42 U.S.C. §§ 2000bb-2000bb-4 (Claim XI), and

violated Plaintiffs’ free exercise of religion (Claim VIII). These claims fail and must be

dismissed for several reasons. First, Plaintiffs’ IRA claim challenges Interior’s 1984 decision to

take land into trust for the Poarch Band. This Court lacks jurisdiction over this count because it

is brought well outside the statute of limitations, and Plaintiffs lack standing to challenge the

decision. Second, this Court also lacks jurisdiction over Plaintiffs’ NAGPRA claim because the

Wetumpka property is not federal land under NAGPRA, and Federal Defendants had no duty to

act. Third, Plaintiffs’ allegations under ARPA fail to state a claim because the challenged

activities — the Poarch Band’s construction of a gaming facility on its land — are specifically

exempted by the statute and applicable regulations and no permit is required. In addition, the

Court lacks jurisdiction over this claim because it challenges permits issued more than six years

ago. Fourth, the Court is similarly without jurisdiction over Plaintiffs’ NHPA claim because

Plaintiffs cannot demonstrate that Federal Defendants failed to take a discrete agency action that

they were required to take. They have also failed to state a claim under the NHPA. Fifth,

Plaintiffs fail to state a claim under RFRA, given that the Federal Defendants have not

substantially burdened Plaintiffs’ exercise of religion. And, finally, Plaintiffs’ claims that

NAGPRA and ARPA substantially burden their exercise of religion should be dismissed because

the First Amendment and the Religious Land Use and Institutionalized Persons Act are not

implicated here. Accordingly, for all these reasons, Federal Defendants move for the dismissal

of Plaintiffs’ Second Amended Complaint and Supplemental Complaint.




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                                   II.      BACKGROUND
A.     Factual Background

       Plaintiffs and the Poarch Band claim cultural affiliation with and descent from Creek

Indians that historically inhabited land within the State of Alabama. 2d Am. Compl. ¶¶ 13, 45.

In 1980, the Poarch Band acquired approximately 35 acres of land in the proximity of

Wetumpka, Alabama. Id. ¶ 61. This property included a significant archeological site known as

Hickory Ground, which was an early 19th century tribal town of the Creek Nation. Id. ¶¶ 1–2,

44–54. In the same year the Poarch Band acquired the land, the NPS included the property as a

historic property on the National Register of Historic Places. Id. ¶¶ 3, 61. As a result, the land

was encumbered with a twenty year covenant with measures to protect the archeological site that

elapsed at the end of 2000. Id. ¶¶ 50, 285. In 1984, the Poarch Band gained Federal recognition

and the land was acquired in trust for the benefit of the Poarch Band under the IRA. Id. ¶ 73.

       In the early 1990s, the Poarch Band submitted a management agreement to the Bureau of

Indian Affairs (“BIA”) as part of a plan to develop the site with a community center, bingo hall,

and museum. In 1991, the BIA, as part of its duties under the NHPA, entered into consultation

with the Alabama State Historic Preservation Office (“SHPO”) and the BIA proposed

archeological excavations as a means to resolve any potential adverse effects to Hickory Ground.

Decl. of Devon Lehman McCune (“McCune Decl.”) ¶¶ 2–3, Exs. A, B. 1 The SHPO did not



1 This Court may consider materials outside the four corners of the complaint in support of a

motion to dismiss without converting it to one for summary judgment when jurisdictional facts
are challenged. Factual attacks challenge “the existence of subject matter jurisdiction in fact,
irrespective of the pleadings, and matters outside the pleadings, such as testimony and affidavits,
are considered.” Lawrence v. Dunbar, 919 F.2d 1525, 1529 (11th Cir. 1990) (citations omitted).
The Eleventh Circuit has explained that in a factual attack, the presumption of truthfulness
afforded a plaintiff under Rule 12(b)(6) does not attach, and the court is free to weigh the

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believe excavations would mitigate any potential adverse effects and BIA elevated the matter to

the Advisory Council on Historic Preservation (“ACHP”). Id. In 1992, ACHP and BIA formally

terminated consultation when they failed to reach an agreement. Id. BIA approved the

management agreement, contingent on further archeological work to recover information that

might be lost in development. Id. In 1999, the NPS entered into an agreement with the Poarch

Band for assumption by the Tribe of certain responsibilities pursuant to the NHPA. 2d Am.

Compl., Ex. I (ECF No. 190-1). The Poarch Band began developing the site in 2000.

       Plaintiffs submitted many objections and challenges to the Poarch Band’s construction

activities over the years. On October 31, 1992, after BIA approved the management agreement,

Plaintiff the Muscogee (Creek) Nation (the “Nation”) passed an ordinance objecting to the

Poarch Band’s proposed construction and requesting that the BIA investigate alleged violations

of section 106 of the NHPA, NAGPRA, ARPA, and the Antiquities Act of 1906. McCune Decl.

¶ 4, Ex. C. On October 19, 2002, Plaintiff Hickory Ground Tribal Town (“HGTT”) submitted its

claim for remains or objects and cultural property to the Poarch Band and Interior’s Eastern Area

Office. Id. ¶ 5, Ex. D. In its submission, HGTT alleged violations of NAGPRA and ARPA and

alleged that NHPA section 106 was not properly followed. Id. On October 23, 2002, the

Muscogee (Creek) National Council submitted correspondence to the NPS seeking further

information regarding the 1999 Agreement and the process NPS undertook to review the Poarch

Band’s proposal to assume the responsibilities of the Alabama SHPO. Id. ¶ 6, Ex. E. In addition




evidence. Scarfo v. Ginsberg, 175 F.3d 957, 960–61 (11th Cir. 1999) citing Lawrence, 919 F.2d
at 1529 (quoting Williamson v. Tucker, 645 F.2d 404, 412–13 (5th Cir. 1981))) see also Mowa
Band of Choctaw Indians v. United States, No. 07-0508-CG-B, 2008 WL 2633967, at *1 (S.D.
Ala. July 2, 2008).

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to these specific instances, there have been many communications between Plaintiffs,

municipalities, and other interested parties and Defendants regarding the Poarch Band’s

construction activities on the Wetumpka property. The controversy has been reported and

commented upon in newspapers, internet sites, and other media outlets.

       In 2001, the City of Wetumpka, a member of the Creek Nation, and the Alabama

Preservation Alliance filed a complaint against the Poarch Band, the Department of the Interior,

the Secretary of the Interior, Assistant Secretary-Indian Affairs, the Indian Gaming Commission,

and the BIA in the United States District Court for the Middle District of Alabama. See Compl.,

ECF No. 1, City of Wetumpka v. Norton, No. 2:01-cv-1146-WHA-VPM (M.D. Ala. filed Sept.

28, 2001). In their complaint, plaintiffs alleged violations of ARPA, NAGPRA, section 106 of

the NHPA, APA, National Environmental Preservation Act, and the Indian Gaming Act. Id. The

lawsuit was voluntarily dismissed on November 21, 2011. ECF No. 22.

       In 1987 to 1988 and 2001, the BIA issued ARPA permits to the Poarch Band for test

excavations on Hickory Ground. The BIA issued a permit in 2003 and extended it in 2005 for

more extensive data recovery excavations. McCune Decl. ¶ 7, Ex. F. Over the years, BIA

investigated two possible ARPA violations. The first occurred in 1991 when the Poarch Band

approved archeological work by a professional archeologist, and work was started before the BIA

issued a permit. Id. ¶ 7, Ex. F. The BIA did not consider this to be an intentional violation and

no penalty was assessed. The second occurred in 2001 when the Poarch Band’s contractor began

construction activities in an area within the boundaries of the archeological site. The BIA could

not verify that damages had occurred to the archeological site and no penalty was assessed. Id.

¶ 9, Ex. H. On March 12, 2008, Plaintiff Mekko George Thompson contacted the NPS regarding


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alleged violations of NAGPRA by Auburn University. Id. ¶ 10, Ex. I. Interior investigated these

allegations and on April 21, 2009, found that Auburn University was not in violation of the

statute. Id. ¶ 11, Ex. J.

B.      Procedural History

        Plaintiffs initially brought this litigation in December 2012. Compl., ECF No. 1.

Plaintiffs filed an amended complaint on January 8, 2013. ECF No. 57. On February 27, 2013,

Federal Defendants moved to dismiss the amended complaint, as did other defendants. ECF No.

94; see also ECF Nos. 74, 75, 77, 88, 90. In January 2018, the court stayed the case pending

settlement negotiations. ECF No. 155.

        On March 4, 2020, this Court granted Plaintiffs’ motion to amend their complaint and on

March 9, 2020, Plaintiffs filed their Second Amended Complaint and Supplemental Complaint.

ECF No. 190. The Second Amended Complaint raises eleven counts. Count I asserts that the

Federal Defendants violated the Indian Reorganization Act by taking land into trust for the

Poarch because it was not under federal jurisdiction in 1934. 2d Am. Compl. ¶¶ 190–99. Counts

II through IV “are applicable only if the Court determines that the Department of the Interior

lacked authority to take the Hickory Ground Site into trust for Poarch.” Id. ¶ 200. These counts

assert claims based on Alabama common law against the Poarch Defendants for unjust

enrichment, promissory estoppel, and outrage, all under Alabama common law. 2 Plaintiff asserts



2 Federal Defendants read Counts II–VI to be asserted only against the Poarch Band Defendants

and not against Federal Defendants. To the extent they are asserted against Federal Defendants,
they should be dismissed for failure to state a claim as they do not identify any final agency
action or statute or regulation that Federal Defendants purportedly violated, and for lack of
jurisdiction because they do not identify any final agency action or nondiscretionary duty that
Federal Defendants were required to take. See infra Section IV.

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Claims V through IX if the Court determines that Federal Defendants had authority to take the

land into trust. Id. ¶ 236. Counts V and VI are against the Poarch Defendants for violations of

federal common law. Id.¶¶ 237–40.

       Count VII asserts that the Federal Defendants and the Poarch Defendants violated

NAGPRA in various ways. Count VIII asserts that portions of NAGPRA and ARPA, if

construed in a way that would allow anyone other than Plaintiffs to give authority for excavation

or removal of remains from the site, violate Plaintiffs’ free exercise of religion under the First

Amendment, as well as Religious Land Use and Institutionalized Persons Act (“RLUIPA”) and

RFRA. Count IX asserts a violation of ARPA. Finally, Plaintiffs assert Count X, violation of

the NHPA, and Count XI, violation of RFRA.

                           III.     STATUTORY BACKGROUND
A.     The Indian Reorganization Act of 1934

       In 1934, Congress enacted the IRA to encourage tribes “to revitalize their self-

government,” to take control of their “business and economic affairs,” and to assure a solid

territorial base by “put[ting] a halt to the loss of tribal lands through allotment.” Mescalero

Apache Tribe v. Jones, 411 U.S. 145, 151 (1973). This “sweeping” legislation, Morton v.

Mancari, 417 U.S. 535, 542 (1974), manifested a sharp change of direction in federal policy

toward the Indians. It replaced the assimilationist policy at the time of the General Allotment

Act, which had been designed to “put an end to tribal organization” and to “dealings with

Indians . . . as tribes.” United States v. Celestine, 215 U.S. 278, 290 (1909).

       The “overriding purpose” of the IRA, however, was more far-reaching than remedying

the negative effects of the General Allotment Act. Morton, 417 U.S. at 542. Congress sought to

“establish machinery whereby Indian tribes would be able to assume a greater degree of self

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government, both politically and economically.” Id. Congress thus authorized Indian tribes to

adopt their own constitutions and bylaws, 25 U.S.C. § 476, and to incorporate, 25 U.S.C. § 477.

       Of particular relevance here, section 5 of the IRA provides in pertinent part that:

       [t]he Secretary of the Interior is [hereby] authorized, in his discretion, to acquire,
       through purchase, relinquishment, gift, exchange, or assignment, any interest in
       land[], water rights, or surface rights to lands, within or without existing
       reservations, including trust or otherwise restricted allotments, whether the
       allottee be living or deceased, for the purpose of providing land for Indians.

       …

       Title to any lands or rights acquired pursuant to this Act or the Act of July 28,
       1955 (69 Stat. 392), as amended (25 U.S.C. 608 et seq.) shall be taken in the name
       of the United States in trust for the Indian tribe or individual Indian for which the
       land is acquired, and such lands or rights shall be exempt from State and local
       taxation.

25 U.S.C. § 5108.

       Section 19 of the IRA provides an inclusive definition of those who are eligible for its

benefits, including eligibility for land into trust acquisitions. That section provides that

“‘Indian’. . . shall include all persons of Indian descent who are members of any recognized

Indian tribe now under Federal jurisdiction . . . .” 25 U.S.C. § 5129. The IRA also includes

within its definition of “Indian” “all persons who are descendants of such members who were, on

June 1, 1934, residing within the present boundaries of any Indian reservation,” and “all other

persons of one-half or more Indian blood.” Id.

B.     The Native American Graves Protection and Repatriation Act

       The NAGPRA, 25 U.S.C. §§ 3001-3013, creates procedures through which lineal

descendants and culturally affiliated tribes can recover remains and cultural objects from federal

agencies and museums. It was enacted by Congress subsequent to the enactment of ARPA to


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protect rights to items of tribal cultural significance, including Native American human remains,

funerary objects, sacred objects, and objects of cultural patrimony (collectively “cultural items”).

25 U.S.C. § 3001(3). This repatriation process can proceed on two different tracks, depending on

when the cultural items were discovered. Section three of NAGPRA, relevant here, provides

guidance for determining who should get ownership or control of Native American human

remains and objects discovered and excavated from federal and tribal lands after NAGPRA’s

enactment on November 16, 1990. 25 U.S.C. § 3002(a)-(d). The first priority “in the case of

Native American human remains and associated funerary objects, is “the lineal descendants of

the Native American.” Id. § 3002(a)(1). Section 3(c) allows for the intentional excavation or

removal of human remains on tribal lands, provided that an ARPA permit is issued by the BIA

and consent is given by the tribe owning the land. 25 U.S.C. § 3002(c). NAGPRA is not

prospective and is triggered only after a person has made an inadvertent discovery. San Carlos

Apache Tribe v. United States, 272 F. Supp. 2d 860, 889 (D. Ariz. 2003), aff’d 417 F.3d 1091

(9th Cir. 2005).

C.     The National Historic Preservation Act

       The NHPA, 54 U.S.C. §§ 300101–317108, “requires each federal agency to take

responsibility for the impact that its activities may have upon historic resources, and establishe[d]

the Advisory Council on Historic Preservation (“ACHP”) . . . to administer the Act.” City of

Grapevine, Tex. v. Dep’t of Transp., 17 F.3d 1502, 1508 (D.C. Cir. 1994). It “neither . . .

forbid[s] the destruction of historic sites[,] nor . . . command[s] their preservation.” United

States v. 162.20 Acres of Land, 639 F.2d 299, 302 (5th Cir. 1981). Under section 106 of the

NHPA, federal agencies “shall take into account the effect of the undertaking on any historic


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property,” and “afford the [Advisory Council on Historic Preservation (“ACHP”)] a reasonable

opportunity to comment with regard to the undertaking. 54 U.S.C. § 306108. NHPA’s

obligations are chiefly procedural in nature; the NHPA is a “stop, look, and listen” statute that

merely requires that an agency acquire information before acting. Ill. Commerce Comm’n v.

Interstate Commerce Comm’n, 848 F.2d 1246, 1260-61 (D.C. Cir. 1988).

       As a first step in the section 106 process, agency officials assess whether a proposed

action meets the definition of “undertaking” in 36 C.F.R. § 800.16(y). 36 C.F.R. § 800.3(a).

ACHP promulgates regulations implementing section 106, including the section 800.16(y)

definition, pursuant to its authority under 54 U.S.C. § 304108. The NHPA regulations define

“undertaking” as “a project, activity, or program funded in whole or in part under the direct or

indirect jurisdiction of a Federal agency, including . . . those requiring a Federal permit, license

or approval.” 36 C.F.R. § 800.16(y). If the agency finds there is an undertaking, the action

agency must next initiate consultation with the appropriate State Historic Preservation Officer

(“SHPO”) and/or Tribal Historic Preservation Officer (“THPO”). The action agency must also

plan to involve the public and identify other consulting parties. 36 C.F.R. § 800.3(e-f).

       The third step in the section 106 process is for the agency to determine whether effects on

historic properties will be adverse, using the criteria specified in the regulations, in consultation

with the SHPO. 36 C.F.R. § 800.5(a). If an adverse effect is found, the agency official shall

consult further to resolve the adverse effect pursuant to 36 C.F.R. § 800.6. Id. at 800.5(d)(2).

       Fourth, the agency must attempt to reach agreement with other consulting parties in

developing and evaluating alternatives to avoid, minimize, or mitigate adverse effects. 36 C.F.R.

§ 800.6. Although all consulting parties participate in this step, in most cases, only the action


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agency and the SHPO must actually reach agreement, as expressed in a Memorandum of

Agreement (“MOA”). Id. at § 800.6(b)(1). If the ACHP participates, either on its own initiative

or at the request of the SHPO, tribe or consulting party, it must also be a signatory to the MOA.

Id. at § 800.6(c). In the event that consultation does not lead to an MOA, the agency, SHPO or

the Council may decide that further consultation will not be productive, and the process moves

on to the fifth and final step. Id. at § 800.6(c)(8).

        When the action agency terminates consultation, it must ask ACHP to comment on the

undertaking. 36 C.F.R. § 800.7(a)(1). If the SHPO terminates consultation, the agency and

ACHP may continue consultation and execute a MOA without the SHPO’s involvement. Id. at §

800.7(a)(2). In the absence of a MOA, the undertaking may proceed, but only if the decision is

made by the head of the agency and his or her decision explains the rationale for the decision and

produces evidence that the agency considered ACHP’s comments. Id. at § 800.7(c)(4).

D.      Archaeological Resources Protection Act

        The ARPA was enacted in 1979 with the goal of protecting “archaeological resources”

(including remains) “on public lands and Indian lands.” 16 U.S.C. § 470aa. ARPA prohibits the

excavation or removal of archaeological resources located on public lands and Indian lands

unless done in accordance with a permit or exempted under the Act or implementing regulations.

Id. at § 470cc. In 1984, the Secretary of the Interior promulgated uniform government-wide

regulations under ARPA dealing with the custody of archaeological resources, and amended

them in 1995 to implement the requirements of NAGPRA. 43 C.F.R. § 7.13. The amended

regulations provide that “[a]rchaeological resources excavated or removed from Indian lands

remain the property of the Indian or Indian tribe having rights of ownership over such resources”


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and the Secretary of the Interior may “promulgate regulations providing for . . . the ultimate

disposition of archaeological resources . . . when such resources have been excavated or removed

from public lands and Indian lands.” 43 C.F.R. § 7.13(b)-(c) (emphasis added). The BIA has

promulgated specific regulations that confirm the application of NAGPRA to archaeological

resources that comprise human remains and other NAGPRA cultural items from Indian lands.

See 25 C.F.R. § 262.8(a); Protection of Archaeological Resources, 58 Fed. Reg. 65246, 65248

(Dec. 13, 1993).

E.      Religious Freedom Restoration Act

        The RFRA provides that “Government may substantially burden a person's exercise of

religion only if it demonstrates that application of the burden to the person . . . “is the least

restrictive means of furthering [a] compelling governmental interest,” id. § 2000bb-1.

“Government” is defined as “a branch, department, agency, instrumentality, and official (or other

person acting under color of law) of the United States . . . .” Id. § 2000bb-2(1). This statute was

Congress’s response to a First Amendment decision of the Supreme Court that, in Congress’s

view, “virtually eliminated the requirement that the government justify burdens on religious

exercise imposed by laws neutral toward religion.” Id. § 2000bb(a)(4). RFRA restores the

compelling interest test set forth in Sherbert v. Verner, 374 U.S. 398 (1963), and Wisconsin v.

Yoder, 406 U.S. 205 (1972), and “guarantee[s] its application in all cases where free exercise of

religion is substantially burdened.” 42 U.S.C. § 2000bb(b)(1); see also Navajo Nation v. U.S.

Forest Serv., 535 F.3d 1058, 1068 (9th Cir. 2008). Although RFRA “restored” the standard by

which federal government actions burdening religion were to be judged, it does not expand the




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class of actions to which the standard would be applied. Vill. of Bensenville v. FAA, 457 F.3d 52,

62 (D.C. Cir. 2006) (citing Hall v. Am. Nat’l Red Cross, 86 F.3d 919, 921 (9th Cir. 1996)).

F.     The Religious Land Use and Institutionalized Persons Act

       RLUIPA prevents governments from “impos[ing] or implement[ing] a land use regulation

in a manner that imposes a substantial burden on the religious exercise of a person, including a

religious assembly or institution, unless the government demonstrates that imposition of the

burden on that person, assembly, or institution (A) is in furtherance of a compelling

governmental interest, and (B) is the least restrictive means of furthering that compelling

governmental interest.” 42 U.S.C. §§ 2000cc. “RLUIPA, by its terms, prohibits only state and

local governments from applying regulations that govern land use or institutionalized persons to

impose a ‘substantial burden’ on the exercise of religion.” Navajo Nation, 535 F.3d at 1077

(citing 42 U.S.C. §§ 2000cc; 2000cc-1; 2000cc-5(4)(A)). Generally, RLUIPA does not apply to

a federal government action, and “even for state and local governments, RLUIPA applies only to

government land-use regulations of private land — such as zoning laws — not to the

government’s management of its own land.” Id. (citing § 2000cc-5(5)).

G.     The Administrative Procedure Act

       The APA waives sovereign immunity for suits seeking relief other than money damages

from federal agencies. See 5 U.S.C. § 702. The APA does not, through section 702, create an

independent basis of jurisdiction. See Gallo Cattle Co. v. U.S. Dep’t of Agric., 159 F.3d 1194,

1198 (9th Cir. 1998). With certain exceptions, the APA provides for judicial review of agency

action that is made reviewable by statute or for which there is no other adequate remedy in a

court. 5 U.S.C. §§ 702, 704. Under the APA, the reviewing court may, inter alia, “compel



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agency action unlawfully withheld or unreasonably delayed,” or “hold unlawful and set aside

agency action” that is arbitrary, capricious, or not in accordance with law. Id. § 706. The APA

does not apply to certain categories of agency action, including agency action that is “committed

to agency discretion by law.” Id. § 701(a)(2).

        The APA authorizes suits by “[a] person suffering legal wrong because of agency action,

or adversely affected or aggrieved by agency action within the meaning of a relevant statute . . . .”

 5 U.S.C. § 702. A federal court has authority to review only “final agency action” pursuant to 5

U.S.C. § 704, unless another statute provides a right of action. Wilderness Soc’y v. Alcock, 83

F.3d 386, 388 n.5 (11th Cir. 1996). Two conditions must be satisfied for an agency action to be

final. “First, the action must mark the consummation of the agency’s decision-making process—

it must not be of a merely tentative or interlocutory nature. And second, the action must be one

by which rights or obligations have been determined, or from which legal consequences will

flow.” Bennett v. Spear, 520 U.S. 154, 177–78 (1997) (quotations and citations omitted).

Absent “agency action” within the meaning of the APA, the action is not reviewable. Section

704 specifies that agency action is not final if the agency “requires by rule[,] and provides that

the action meanwhile is inoperative, for an appeal to superior agency authority.” 5 U.S.C. § 704.

 In other words, agency action is not final for purposes of section 704 until “an aggrieved party

has exhausted all administrative remedies expressly prescribed by statute or agency rule . . . .”

Darby v. Cisneros, 509 U.S. 137, 146 (1993).

        Courts also have authority to “compel . . . action unlawfully withheld or unreasonably

delayed.” 5 U.S.C. § 706(1). However, “a claim under § 706(1) can proceed only where a

plaintiff asserts that an agency failed to take a discrete agency action that it is required to take.”


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Norton v. S. Utah Wilderness All. (SUWA), 542 U.S. 55, 64 (2004). To satisfy that standard,

Plaintiffs must identify one of the discrete agency actions in 5 U.S.C. § 551(13) and demonstrate

that the action in question is one that is legally required. See SUWA, 542 U.S. at 61–63. A

court’s power to “compel agency action” is carefully circumscribed to situations where an agency

has ignored a specific legislative command. Hells Canyon Pres. Council v. U.S. Forest Serv.,

593 F.3d 923, 932 (9th Cir. 2010). The Supreme Court made it clear that a “‘failure to act’ is not

the same thing as a ‘denial’” and an agency’s act of saying no to a request properly is challenged

under section 706(2) rather than section 706(1). SUWA, 542 U.S. at 63.

                              IV.       STANDARDS OF REVIEW

        Federal court jurisdiction is limited, present only where authorized by statute or the

Constitution. See Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 377 (1994). Once

challenged, the burden of establishing a federal court’s subject matter jurisdiction rests on the

party asserting jurisdiction. Id. If a plaintiff cannot meet this burden, the case should be

dismissed.

        A motion to dismiss for lack of subject matter jurisdiction must be granted if the court

lacks the statutory authority to hear and decide the dispute. Fed. R. Civ. P. 12(b)(1). Facial

attacks on a complaint “require[] the court merely to look and see if [the] plaintiff has

sufficiently alleged a basis of subject matter jurisdiction, and the allegations in [plaintiff's]

complaint are taken as true for the purposes of the motion.” Lawrence v. Dunbar, 919 F.2d

1525, 1529 (11th Cir. 1990) (citations omitted). Factual attacks challenge “the existence of

subject matter jurisdiction in fact, irrespective of the pleadings, and matters outside the

pleadings, such as testimony and affidavits, are considered.” Id. at 1529 (citations omitted).


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This circuit has explained that in a factual attack, the presumption of truthfulness afforded a

plaintiff under Rule 12(b)(6) does not attach, and the court is free to weigh the evidence. Scarfo

v. Ginsberg, 175 F.3d 957, 960-61 (11th Cir. 1999) (citing Lawrence, 919 F.2d at 1529). Where,

as here, the defendant challenges subject matter jurisdiction, the burden of establishing

jurisdiction falls squarely upon the plaintiff. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561

(1992); Menchaca v. Chrysler Credit Corp., 613 F.2d 507, 511 (5th Cir. 1980).

        A motion to dismiss for failure to state a claim upon which relief can be granted pursuant

to Rule 12(b)(6) tests the sufficiency of the complaint. Christopher v. Harbury, 536 U.S. 403,

406 (2002). A claim may be dismissed under Rule 12(b)(6) either because it asserts a legal

theory that is not cognizable as a matter of law or because it fails to allege sufficient facts to

support a cognizable legal claim. See Kjellvander v. Citicorp, 156 F.R.D. 138, 141 (S.D. Tex.

1994). In Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), the Supreme Court clarified the

specificity in pleading required by Rule 8 necessary to survive a motion to dismiss. The Court

stated that a plaintiff’s obligation to set forth the “grounds” of its entitlement to relief “requires

more than labels and conclusions, and a formulaic recitation of the elements of a cause of action

will not do.” Id. at 555 (citations omitted). The Court added that “[f]actual allegations must be

enough to raise a right to relief above the speculative level . . . on the assumption that all the

allegations in the complaint are true (even if doubtful in fact).” Id. (citations omitted); see also

Davis v. Coca-Cola Bottling Co., 516 F.3d 955, 974 (11th Cir. 2008). “Nor does a complaint

suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 557). In Iqbal, the Supreme Court

stated that a claim must have facial plausibility, which “asks for more than a sheer possibility that


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a defendant has acted unlawfully. Where a complaint pleads facts that are merely consistent with

a defendant’s liability, it stops short of the line between possibility and plausibility of entitlement

to relief.” Id. at 678 (internal quotation marks, brackets and citations omitted).

        Further, federal courts “are not bound to accept as true a legal conclusion couched as a

factual allegation.” Papasan v. Allain, 478 U.S. 265, 286 (1986) (citation omitted). Under Rule

12(b)(6), “conclusory allegations, unwarranted factual deductions or legal conclusions

masquerading as facts will not prevent dismissal.” Davila v. Delta Air Lines, Inc., 326 F.3d

1183, 1185 (11th Cir. 2003); see also S. Fla. Water Mgmt. Dist. v. Montalvo, 84 F.3d 402, 409

n.10 (11th Cir. 1996) (“As a general rule, conclusory allegations and unwarranted deductions of

fact are not admitted as true in a motion to dismiss”) (citing Assoc. Builders, Inc. v. Ala. Power

Co., 505 F.2d 97, 100 (5th Cir. 1974)).

                                      V.        ARGUMENT
        Plaintiffs’ claims against the Federal Defendants should be dismissed for lack of subject

matter jurisdiction and failure to state a claim upon which relief can be granted. Plaintiffs fail to

identify final agency action or a discrete, nondiscretionary duty that Federal Defendants failed to

take and accordingly have not established jurisdiction under the APA. In addition, many of

Plaintiffs’ claims are brought outside the statute of limitations. Plaintiffs also fail to state claims

for violation of the IRA, RFRA, the First Amendment, and the RLUIPA.

A.      Plaintiffs’ IRA Claim fails for lack of subject matter jurisdiction and failure to state
        a claim.

        Plaintiffs’ first claim asserts that Federal Defendants violated the IRA by taking land into

trust for the Poarch Band. Plaintiffs assert that under the Supreme Court’s holding in Carcieri v.

Salazar, 555 U.S. 379 (2009), Interior can only take land into trust for tribes that were under


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federal jurisdiction in 1934 and because the Poarch Band was not federally recognized as a tribe

until 1984, Interior’s taking of land into trust for the Poarch Band was void ab initio. 2d Am.

Compl. ¶¶ 191, 197. According to Plaintiffs, therefore, Interior did not have the authority to

authorize archeological excavations and gaming on the site is illegal. Plaintiffs’ IRA claim

should be dismissed because it is brought outside the statute of limitations and Plaintiffs lack

standing to bring the claim.

        1.      Plaintiffs’ IRA claim was brought outside the statute of limitations.

        Plaintiffs’ claim should be dismissed for lack of subject matter jurisdiction because it is

barred by the applicable statute of limitations. The final agency action challenged, the taking of

land into trust, occurred in 1984, almost 29 years prior to the time of Plaintiffs’ filing their

Complaint (and 25 years prior to the Carcieri decision).

        The Court does not have jurisdiction over Plaintiffs’ claims if they are brought outside the

statute of limitations. See Phillips v. United States, 260 F.3d 1316, 1317 (11th Cir. 2001).

Plaintiffs’ claim alleging a violation of the IRA is properly analyzed under the APA. Match-E-

Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 220–21 (2012)

(challenge of an Interior fee-to-trust decision is a “garden-variety APA claim”). Because the

statute of limitations is a jurisdictional limit, “[t]he burden is on the plaintiff to plead and prove

compliance.” Gibbs v. United States, 865 F. Supp. 2d 1127, 1156 (M.D. Fla. 2012), aff'd, 517 F.

App’x 664 (11th Cir. 2013) (citing In re Agent Orange Prod. Liab. Litig., 818 F.2d 210, 214 (2d

Cir. 1987)).

        Under the APA, a plaintiff has six years to bring a claim. See 28 U.S.C. § 2401(a); U.S.

Steel Corp. v. Astrue, 495 F.3d 1272, 1280 (11th Cir. 2007); Southwest Williamson Cty. Ass’n v.


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Slater, 173 F.3d 1033, 1036 (6th Cir. 1999). The limitations period begins to run from the time

of “final agency action.” Southwest, 173 F.3d at 1036 (citing 5 U.S.C. § 704); Alabama v.

United States, 630 F. Supp. 2d 1320, 1325 (S.D. Ala. 2008). The action challenged by Plaintiffs,

the United States’ decision to acquire the land in trust for the benefit of the Poarch Band,

occurred in 1984. This decision represented the final agency action. See Patchak, 567 U.S. at

216–217; see also McAlpine v. United States, 112 F.3d 1429, 1432-35 (10th Cir. 1997).

       Section 2401(a) operates as a jurisdictional time bar and is not subject to equitable

tolling. See John R. Sand & Gravel Co. v. United States, 552 U.S. 130, 133–34; Ctr. for

Biological Diversity v. Hamilton, 453 F.3d 1331, 1335 (11th Cir. 2006) (per curiam) (finding that

“[t]he terms ‘upon which the Government consents to be sued must be strictly observed and

exceptions are not to be implied’” (citations omitted)). “Failure to sue the United States within

the limitations period is not merely a waivable defense. It operates to deprive federal courts of

jurisdiction.” Dunn-McCampbell Royalty Interest, Inc. v. Nat’l Park Serv., 112 F.3d 1283, 1287

(5th Cir. 1997); see also Hopland Band of Pomo Indians v. United States, 855 F.2d 1573, 1577

(Fed. Cir. 1988) (“Exceptions to the limitations and conditions upon which the government

consents to be sued are not to be implied.” (citing Soriano v. United States, 352 U.S. 270, 276

(1957))).

       Therefore, based upon the applicable six-year statute of limitations, Plaintiffs had until

1990 to challenge the decision to acquire the Wetumpka property in trust. It failed to do so and

this Court therefore lacks jurisdiction over this claim. The Eleventh Circuit has specifically

found that the statute of limitations to challenge the taking of land into trust for the Poarch Band

began running in 1984. See Alabama v. PCI Gaming Authority, 801 F.3d 1278, 1292 (11th Cir.


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2015) (finding that because Alabama was aware that the Secretary took land into trust for the

Poarch Band, the statute of limitations began running at that time). The Eleventh Circuit

affirmed this holding later, holding that when the plaintiff could have raised a timely challenge to

the land-into-trust decision, the statute of limitations had run. Poarch Band of Creek Indians v.

Hildreth, 656 F. App’x 934, 944 (11th Cir. 2016). The court noted that “[t]o recognize an

exception and permit a collateral challenge nearly 30 years later, where the record clearly reflects

that [the plaintiff] could have raised a timely challenge but did not, would turn PCI Gaming on

its head.” Id. Similarly, here, there is no indication that Plaintiffs were not aware that the

Secretary took the land into trust for the Poarch Band in 1984. They could have raised a timely

challenge but did not. They should not be permitted now to challenge a decision that is over

thirty years old.

        Should Plaintiffs argue that the statute of limitations did not begin to run until 2006,

when they assert that they were informed the Poarch Band planned to excavate the site instead of

preserve it from development, the Court should reject this argument for several reasons. 2d Am.

Compl. ¶ 196. First, “[u]nder the APA, a right of action accrues at the time of ‘final agency

action.’” Sierra Club v. Slater, 120 F.3d 623, 631 (6th Cir. 1997) (citing 5 U.S.C. § 704.). The

federal agency action taking the land into trust was complete in 1984 and Plaintiffs’ cause of

action, if any, accrued then. Second, the representation that Plaintiffs were unaware that

excavation was occurring at the site is inconsistent with the Muscogee (Creek) Nation Resolution

issued in 1992 that found that the Poarch Band was endangering Hickory Ground. McCune

Decl. ¶ 4, Ex. C. The Resolution also indicates that the Nation know that when the Poarch Band

purchased the land in 1980, it entered into a twenty-year protective covenant. Thus, any time


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after 2000, the Poarch Band was no longer bound by the covenant to preserve the historical and

archeological integrity of the site. In addition, in 2002, Plaintiff HGTT submitted its claim for

remains or objects and cultural property to the Poarch Band and Interior’s Eastern Area Office,

specifically noting that objects had been excavated. Id. ¶ 5, Ex. D. In short, Plaintiffs’ argument

that its injury did not accrue until it received notice of excavation does not withstand scrutiny.

        Because the statute is jurisdictional, equitable tolling of their IRA claim is not available

to Plaintiffs. Therefore, their IRA claim is barred by the statute of limitations and must be

dismissed for lack of jurisdiction.

        2.      Plaintiffs lack standing to bring their IRA claim.

        Plaintiffs also lack standing to assert a claim under the IRA. Plaintiffs’ alleged injury, the

excavation and disturbance by construction activities on land they claim is historically and

religiously significant, does not stem from the United States’ acquisition of the Wetumpka

property in trust.

        “Because standing is jurisdictional, a dismissal for lack of standing has the same effect as

a dismissal for lack of subject matter jurisdiction under Fed.R.Civ.P. 12(b)(1).” Stalley ex rel.

U.S. v. Orlando Reg’l Healthcare Sys., Inc., 524 F.3d 1229, 1232 (11th Cir. 2008) (quoting Cone

Corp. v. Fla. Dep't of Transp., 921 F.2d 1190, 1203 n. 42 (11th Cir.1991). Before it can reach

the merits of Plaintiffs’ IRA claim, this Court must first determine that it has the jurisdiction to

do so. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 93–94 (1998). The threshold inquiry

in evaluating Plaintiffs’ IRA claim, therefore, is whether they have met their burden and properly

invoked this court’s limited subject matter jurisdiction. See Parker v. Scrap Metal Processors,

Inc., 386 F.3d 993, 1002–03 (11th Cir. 2004) (quoting Wolff v. Cash 4 Titles, 351 F.3d 1348,


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1353 (11th Cir. 2003). Because, as demonstrated below, Plaintiffs fail to meet their burden, this

Court lacks jurisdiction to review the merits of Plaintiffs’ claim.

       Standing is a constitutional requirement imposed pursuant to the “cases and

controversies” provision of Article III. Stalley, 524 F.3d at 1232. To satisfy the constitutional

standing requirements of Article III of the Constitution, Plaintiffs must establish: (1) they

suffered an injury in fact; (2) that the injury is fairly traceable to the challenged conduct; and (3)

that the injury is likely to be redressed by the proposed remedy. Parker, 386 F.3d at 1003–04.

“The injury must be ‘concrete and particularized,’ not ‘conjectural’ or ‘hypothetical,’ and ‘must

affect the plaintiff in a personal and individual way.’” Id. at 1021 n.4 (quoting Lujan, 504 U.S. at

560 & n.1). Plaintiffs must also establish that the injury is “actual [and] imminent.” Stalley, 524

F.3d at 1232. When the injury is a threatened injury, it must be “certainly impending” to

constitute injury in fact for purposes of standing. Babbitt v. Farm Workers, 442 U.S. 289, 298,

vacated by 442 U.S. 289 (1979) (quoting Pennsylvania v. W. Virginia, 262 U.S. 553, 593

(1923)); see also City of Los Angeles v. Lyons, 461 U.S. 95, 101–02 (1983); United States v.

Richardson, 418 U.S. 166, 177- 78 (1974); Whitmore v. Arkansas, 495 U.S. 149, 158 (1990).

Plaintiffs must also demonstrate that the injury is fairly traceable to the challenged action, and

not injury that results from the independent action of some third party. Simon v. E. Ky. Welfare

Rights Org., 426 U.S. 26, 41–44 (1976). Further, Plaintiffs have the burden of establishing all

three prongs of the standing test:

       Since they are not mere pleading requirements but rather an indispensable part of
       the plaintiff’s case, each element must be supported in the same way as any other
       matter on which the plaintiff bears the burden of proof, i.e., with the manner and
       degree of evidence required at the successive stages of the litigation. At the
       pleading stage, general factual allegations of injury resulting from the defendant’s


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       conduct may suffice, for on a motion to dismiss we presum[e] that general
       allegations embrace those specific facts that are necessary to support the claim.

Lujan, 504 U.S. at 561 (internal quotes and citations omitted).

       Here, Plaintiffs’ claim of injury fails to meet the second prong of the test because

Plaintiffs’ alleged injuries by the construction activities on the Wetumpka property is not “fairly

traceable” to the United States’ acquisition of the land in trust decades ago. Even if the United

States had not acquired the land in trust, the Poarch Band would still be the owners of the

Wetumpka property and able to manage the land in their own interests as they are now. The

covenant entered into by Poarch Band when it first purchased the property in 1980 was for the

duration of twenty years, after which the Poarch Band was allowed to use the land, including

engaging in construction activities. In sum, any injury Plaintiffs allege is not the result of Interior

taking the land into trust in 1984.

       Plaintiffs also fail to establish the third prong of the standing test, because declaring the

United States’ decision to acquire the land in trust unlawful will not redress their alleged injury.

There must be a “‘substantial likelihood’ that this injury will be redressed by the relief [sought].”

Region 8 Forest Serv. Timber Purchasers Council v. Alcock, 993 F.2d 800, 808 (11th Cir. 1993)

(quoting Duke Power Co. v. Carolina Envt’l Study Grp., Inc., 438 U.S. 59, 75 n.20 (1978)).

Plaintiffs assert injury due to “Poarch’s construction of a casino over the Plaintiffs’ sacred burial

grounds, its removal of the Plaintiffs’ ancestors from what was intended to be their final resting

place, and its mistreatment of the remains and artifacts. . . .” 2d Am. Compl. ¶ 6. But requiring

the land to be taken out of trust will not redress this injury. The Poarch Band will still own the

Wetumpka property in fee. Plaintiffs’ Second Amended Complaint makes clear that it is not

solely the construction of a gaming facility that they oppose but any construction on the property,

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as well as the removal and alleged mistreatment of remains and artifacts. See, e.g., id. ¶¶ 6, 124–

130, Prayers for Relief. If the land is not held in trust, the Poarch Band will still have the right to

conduct activities on the land. See Yankton Sioux Tribe v. U.S. Army Corps of Engr’s, 396 F.

Supp. 2d 1087, 1094 (D.S.D. 2005) (court found tribe had no standing where it failed to establish

a causal connection between the transfer of land and the complained of conduct). Due to the

attenuated causation alleged by Plaintiffs, Plaintiffs lack standing to challenge the 1984 decision

to take the land into trust and Count I should be dismissed.

B.     Plaintiffs fail to allege jurisdiction for their NAGPRA claim.

       This Court also lacks jurisdiction over Plaintiffs’ NAGPRA claim. While NAGPRA

contains a private right of action, it does not contain a waiver of sovereign immunity and

NAGPRA claims therefore rely on the APA’s waiver of sovereign immunity. 25 U.S.C. § 3013;

San Carlos Apache Tribe, 272 F. Supp. 2d at 886 (“The APA waives the sovereign immunity of

the Government for NAGPRA claims.”). Here, there has been no final agency action for

purposes of the APA because the Wetumpka property is not federal land under NAGPRA, and

Federal Defendants had no duty to act.

       NAGPRA defines “tribal land” as “(A) all lands within the exterior boundaries of any

Indian reservation; (B) all dependent Indian communities; (C) any lands administered for the

benefit of Native Hawaiians . . .” 25 U.S.C. § 3001(15). NAGPRA does not define the term

“reservation.” However, “‘federal lands’ are ‘any land other than tribal lands which are

controlled or owned by the United States’ and lands held in trust by the federal government for

an Indian tribe are ‘tribal,’ rather than ‘federal.’” Rosales v. United States, No. 07-cv-0624, 2007




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WL 4233060, *6 (S.D. Cal. Nov. 28, 2007) (quoting 25 U.S.C. § 3001(15) (internal quotations

omitted)).

       Under NAGPRA, the Wetumpka property is tribal land. In 1980, the Poarch Band

purchased the land in fee. 2d Am. Compl. ¶ 61. In 1984, the United States accepted legal title to

the Wetumpka property in trust for the Poarch Band. Id. ¶ 73. The Supreme Court has held that

“the test for determining whether land is Indian country does not turn upon whether that land is

denominated ‘trust land’ or ‘reservation,’” but on whether the land has been “validly set apart”

for the use of Indians. Okla. Tax Comm'n v. Citizen Band Potawatomi Indian Tribe of Okla., 498

U.S. 505, 511 (1991). Soon after, the Supreme Court interpreted the term “reservation,” as used

in the Indian country statute, 18 U.S.C. § 1151(a), to include formal and informal reservations.

Oklahoma Tax Comm’n v. Sac & Fox Nation, 508 U.S. 114, 123 (1993). In Sac & Fox, the Court

stated that Congress has defined Indian country broadly to include formal and informal

reservations, dependent Indian communities, and Indian allotments. The Court also concluded

that tribal trust land outside a formal reservation boundary qualified as “any Indian reservation”

under 18 U.S.C. § 1151(a), presumably as an informal reservation. 3 To meet the goals of

NAGPRA, the term “any reservation,” as used in the definition of “tribal lands,” may draw on

the interpretation of “any reservation” under 18 U.S.C. 1151(a) and refer to both formal and

informal reservations. Informal reservations may include tribal trust land outside the boundaries

of formal reservations.



3
  See also United States v. Roberts, 185 F.3d 1125, 1131 (10th Cir. 1999) (tribal trust land
outside formal reservation boundary determined to be Indian Country under 18 U.S.C. §
1151(a)); United States v. Azure, 801 F.2d 335, 339 (8th Cir. 1986) (actions of the federal
government in its treatment of Indian land can create a de facto reservation for certain purposes).

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       Because the Wetumpka property is tribal land, no federal agency NAGPRA duty has been

triggered. NAGPRA’s division between tribal control on tribal land and federal duties on federal

land promotes the Tribe’s independence and sovereignty. The NAGPRA statute itself as well as

the administrative history indicates that tribes are afforded responsibility for compliance on tribal

lands, rather than federal agencies:

       Section 3(a)(2)(A) of the Act makes it clear that Indian tribes have preference
       regarding custody of human remains, funerary objects, sacred objects, or objects
       of cultural patrimony excavated intentionally or discovered inadvertently on their
       tribal lands second only to lineal descendants. The regulatory text is consistent
       with Federal recognition of an Indian tribe’s sovereignty regarding
       administration of their lands and has not been changed.

NAGPRA Regulations, 60 Fed.Reg. 62134-01 at 62142 (Dec. 4, 1995) (emphasis added); see

also Rosales, 2007 WL 4233060, at *8. NAGPRA’s regulations further illuminate this division,

discussing the steps for the responsible Indian tribe official following notification of an

inadvertent discovery on tribal land in one subsection, and the steps for the responsible federal

agency official following notification of inadvertent discovery on federal land in another

subsection. Compare 43 C.F.R. § 10.4(e) (“Tribal lands.”) with 43 C.F.R. § 10.4(d) (“Federal

lands.”). At no point does NAGPRA or its regulations assign any nondiscretionary duty to the

federal government in the event of an inadvertent discovery on tribal land. Because the

discoveries here took place on tribal land, Federal Defendants do not have any nondiscretionary

duties that they failed to perform. See SUWA, 542 U.S. at 62–64. As such, the Court lacks

subject matter jurisdiction under the APA.

       Plaintiffs allege that the Defendants failed to consult with Plaintiffs prior to excavation

and removal, failed to obtain Plaintiffs’ consent, and failed to give custody of human remains and

cultural objects found to Plaintiffs. 2d Am. Compl. ¶¶ 241–61. These alleged duties, however,

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are not found in the statute. First, the statutory duty of repatriation under 25 U.S.C. § 3005

applies to “Native American human remains and objects possessed or controlled by Federal

agencies and museums.” Id. § 3005(a) (emphasis added). Similarly, Plaintiffs allege that “no

final inventory or report regarding the cultural items recovered” was prepared, nor were Plaintiffs

consulted regarding such a report. Id. ¶ 254. But this requirement also applies only to “[e]ach

Federal agency and each museum which has possession or control over holdings or collections of

Native American human remains and associated funerary objects . . . .” Id. § 3003 (emphasis

added). Plaintiffs have not alleged, nor can they allege, that any federal agency has “possession

or control” of any items from the Wetumpka property.

       Plaintiffs also allege that NPS violated NAGPRA “by failing to establish a preservation

program for the protection of historic properties that ensures that the agency’s procedures for

compliance with section 106 of the NHPA ‘provide for the disposition of Native American

cultural items from Federal or tribal land in a manner consistent with section 3(c) of

[NAGPRA].’” 2d Am. Compl. ¶ 253. NAGPRA does not contain such a requirement. The

NHPA contains such a requirement, but even if that requirement was violated, it would not be a

NAGPRA violation. See 54 U.S.C. § 306102.

       In addition, Plaintiffs allege a violation of 25 U.S.C. § 3002, which covers inadvertent

discoveries on both federal and tribal lands. As discussed, supra, the Wetumpka property is

tribal land for purposes of NAGPRA. Under section 3002, the person who makes an inadvertent

discovery must notify “the responsible Federal agency official with respect to Federal lands” or

“the responsible Indian tribal official” on tribal lands. 43 C.F.R. § 10.4(b); 25 U.S.C.

§ 3002(d)(1). Upon notification, the federal official has three days to perform specific


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responsibilities, including securing and protecting the discovered items and notifying any

affiliated tribes. 43 C.F.R. § 10.4(d). While the federal official “must” take these steps, the

responsible Indian tribal official “may” take similar steps. Compare id. § 10.4(d) with id.

§ 10.4(e). The only responsibility of a federal agency triggered by an inadvertent discovery on

tribal lands relates to permits. Id. § 10.4(g) (“All Federal authorizations to carry out land use

activities on Federal lands or tribal lands, including all leases and permits, must include a

requirement for the holder of the authorization to notify the appropriate Federal or tribal official

immediately upon the discovery of human remains, funerary objects, sacred objects, or objects of

cultural patrimony pursuant to § 10.4(b) of these regulations.”). In this case, the United States

issued such a permit, which provided that:

       Excavation or removal of any Native American human remains, funerary objects,
       sacred objects, and objects of cultural patrimony must be preceded by consultation
       with or, in the case of tribal lands, consent of the appropriate Indian tribe or
       Native Hawaiian organization. Consultation should be conducted with the lineal
       descendants, tribal land owners, Native American representatives, and traditional
       religious leaders of all Indian tribes and Native Hawaiian organizations that can
       reasonably be assumed to be culturally associated with the cultural items or, if the
       cultural affiliation of the objects cannot be reasonably ascertained, from whose
       judicially established aboriginal lands the cultural items originated.”

McCune Decl. ¶ 8, Ex. G. In issuing such a permit, the federal agencies’ duties regarding

inadvertent discoveries on tribal land was thus satisfied. 43 C.F.R. § 10.4(g).

       Plaintiffs also allege a violation of section 3002(c)(1), which refers to permits under

ARPA, and specifically, 16 U.S.C. § 470cc. Section 470cc(g)(1) provides that no permit is

required “for the excavation or removal by any Indian tribe or member thereof of any

archeological resource located on Indian lands of such Indian tribe . . . .” Here, as discussed,




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supra, the alleged excavation and removals are taking place by the Poarch Band on its own land

and no permit is required under this particular section. 2d Am. Compl. ¶¶ 1–2, 6.

        Because Plaintiffs fail to allege a duty to act under NAGPRA, they also fail to identify a

discrete agency inaction in violation of a nondiscretionary duty, which they must for Federal

Defendants to waive their sovereign immunity under the APA. See SUWA, 542 U.S. at 64.

Accordingly, the Court lacks subject matter jurisdiction over Plaintiffs’ NAGPRA claims.

C.      Plaintiffs’ NHPA claim fails for lack of subject matter jurisdiction.

        Plaintiffs’ Claim X argues that Federal Defendants failed to comply with the NHPA

regulations requiring an agency to take certain actions prior to proceeding with construction or

other action that might adversely impact a site of historical or cultural significance. 2d Am.

Compl. ¶¶ 291–303. Plaintiffs contend that Federal Defendants failed to comply with section

106 of the NHPA, codified at 54 U.S.C. § 306108, and the implementing regulations by failing to

meaningfully consult with Plaintiffs, and failing to take into account the impacts on the

Wetumpka property of allowing a casino resort and of delegating historic preservation

responsibilities to the Poarch Band. Id. Plaintiffs further allege that Federal Defendants violated

the NHPA by failing to seek ways to minimize, avoid, and mitigate the harm, and by continuing

to award the Poarch Band federal historical preservation funds. Id. ¶¶ 304–09. Plaintiffs’ NHPA

claims must be dismissed because they fail to challenge final agency action and to assert that

Federal Defendants did not take a discrete agency action that they were required to take.

        Section 106 of the NHPA requires a government agency to “take into account the effect

of [any] undertaking on any district, site, building, structure, or object that is included in or

eligible for inclusion in the National Register.” 54 U.S.C. § 306108. This requirement is


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governed by numerous federal regulations which establish a procedure generally referred to as

the Section 106 process. See 36 C.F.R. §§ 800–899. “The process is designed to foster

communication and consultation between agency officials . . . and other interested parties such as

Indian tribes, local governments, and the general public.” Pueblo of Sandia v. United States, 50

F.3d 856, 859 (10th Cir. 1995). “Section 106 of NHPA is a ‘stop, look, and listen’ provision that

requires each federal agency to consider the effects of its programs.” Muckleshoot Indian Tribe

v. U.S. Forest Serv., 177 F.3d 800, 805 (9th Cir. 1999). NHPA is a narrow statute. Its main

thrust is to encourage preservation of historic sites and buildings rather than to mandate it. Nat’l

Trust for Historic Pres. v. Blanck, 938 F. Supp. 908, 925 (D.D.C. 1996), aff’d 203 F.3d 53 (D.C.

Cir. 1999).

       NHPA defines “undertaking” as:

       a project, activity, or program funded in whole or in part under the direct or
       indirect jurisdiction of a Federal agency, including--

               (1) those carried out by or on behalf of the Federal agency;

               (2) those carried out with Federal financial assistance;

               (3) those requiring a Federal permit, license, or approval; and

               (4) those subject to State or local regulation administered pursuant to a
                   delegation or approval by a Federal agency.

54 U.S.C. § 300320. “As defined by the Advisory Council regulations, an ‘undertaking’ includes

‘new and continuing projects, activities, or programs and any of their elements not previously

considered under section 106.’” McMillan Park Comm. v. Nat’l Capital Planning Comm’n, 968

F.2d 1283, 1288 (D.C. Cir. 1992) (quoting 36 C.F.R. § 800.2(o) (emphasis added). “[U]nless a

project is federally funded or federally licensed, § 106 does not apply.” Menominee Indian Tribe


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of Wis. v. U.S. Envt’l Prot. Agency, 360 F. Supp. 3d 847, 855 (E.D. Wis. 2018), aff’d, 947 F.3d

1065 (7th Cir. 2020).

         Judicial review under the APA is expressly conditioned on the existence of a final agency

action, if no other statute provides for this review. See Gallo Cattle, 159 F.3d at 1198.

Plaintiffs, however, fail to identify the particular final agency action taken that they challenge.

The Second Amended Complaint therefore does not place Federal Defendants on notice of the

alleged actions that Plaintiffs contend are final and that they intend to challenge. Given the long

history of this dispute and Plaintiffs’ active involvement in objecting to the Poarch Band’s

activities since the late 1980s, Plaintiffs also must identify when these alleged final agency

actions took place. See supra, Section II.A. For example, if Plaintiffs’ complaint is that Federal

Defendants failed to consult with Plaintiffs for construction or excavation of the casino, the

statute of limitations would act as a jurisdictional bar to that claim, as discussed in more detail

below.

         The NHPA does not provide for a private cause of action against Federal Defendants and

it may only be enforced by an action brought pursuant to the APA. San Carlos Apache Tribe v.

United States, 417 F.3d 1091, 1094 (9th Cir. 2005). Therefore, the six-year statute of limitations

applicable to APA actions applies to Plaintiffs’ NHPA claims. See 28 U.S.C. § 2401(a); U. S.

Steel, 495 F.3d at 1280; Southwest, 173 F.3d at 1036.

         Plaintiffs allege that the funding for the acquisition of the Wetumpka property, accepting

the property into trust, approving the Poarch Band’s gaming ordinance, permitting excavations,

and providing funding for preservation programs all constituted undertakings for which Federal

Defendants failed to consult with them under the section 106 process. 2d Am. Compl. ¶ 291–


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320. Setting aside whether these instances even constituted an undertaking as defined by the Act,

most of these actions clearly occurred outside of the relevant statute of limitations. The BIA

issued permits for excavation in 2003 and extended it in 2005. McCune Decl., ¶ 9Ex. G. The

approval of gaming ordinances, 2d Am. Compl. ¶ 289, took place well before 2012. Further,

Plaintiffs allege that Federal Defendants failed to consult with them, but they allege the duty to

consult stems from 54 U.S.C. § 302706, which applies only to listing properties on the National

Register of Historic Sites, and § 302702, which applies to tribes assuming the functions of a

State Historic Preservation Officer. The property was listed on the National Register in 1980,

and Federal Defendants delegated historic preservation duties to the Poarch Band in 1999.

Plaintiffs allege that the Federal Defendants should have involved the Advisory Council on

Historic Preservation, but also assert that the ACHP responded to claims that the site had been

adversely affected in November 2006, more than six years before Plaintiffs brought suit. These

actions are well outside the statute of limitations.

        The only activities alleged to be an undertaking that might possibly have taken place

within the six years prior to Plaintiffs filing this lawsuit is their allegation of the provision of

federal funding to the Poarch Band to implement tribal and federal preservation programs. 2d

Am. Compl. ¶ 318. Despite failing to provide any further details about these programs, such as

the date of funding and the funding agency, these activities do not constitute undertakings for

NHPA purposes. Mere provision of funding is not an undertaking. See Woodham v. Fed.

Transit Admin., 125 F. Supp. 2d 1106, 1110 (N.D. Ga. 2000) (finding that “federal financial

assistance alone is insufficient to trigger the requirements of NHPA.”) (citing Maxwell St.




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Historic Pres. Coal. v. Bd. of Trs. of the Univ. of Ill., No. 00-C-4779, 2000 WL 1141439, at *4

(N.D. Ill. Aug. 11, 2000)).

D.     Plaintiffs fail to allege jurisdiction as to their ARPA claim.

       Plaintiffs have failed to allege that this Court has jurisdiction to hear their ARPA claim

and it must be dismissed. ARPA, 16 U.S.C. §§ 470aa-mm, sets up a permitting system to

regulate excavation and removal of “archaeological resources” from public and Indian lands.

Archaeological resources are defined as material remains of past human life or activities that are

of archaeological interest. In order to obtain an ARPA permit, one must satisfy the Federal land

manager that the “activity is undertaken for the purpose of furthering archaeological knowledge

in the public interest.” 16 U.S.C. § 470cc(b)(2). The findings section of ARPA sets forth

Congress’s intent to prevent “uncontrolled excavations and pillage” and to facilitate orderly

access to archaeological sites by professionals. See 16 U.S.C. § 470aa(a)(3). ARPA and its

implementing regulations establish a permitting regime to allow those focused on archaeological

resources to maintain access to those resources on federal land. Interior has promulgated

uniform regulations for protection of archaeological resources under ARPA. See 43 C.F.R. Pt. 7.

While ARPA does maintain a permitting process, there are exemptions from the permitting

process, which include: “general earth moving excavations,” officials carrying out official duties

under a federal land manager’s direction, and Indian tribes excavating on their own lands. See 43

C.F.R. §§ 7.5(b)(1) and (c); 16 U.S.C. § 470cc(g)(1). Here, Plaintiffs assert various violations of

ARPA, all of which fail to state a claim upon which relief may be granted.

       Plaintiffs assert that the Federal Defendants failed to get their consent “as parens patriae

of the lineal descendants of those buried at the Site and as the tribe with the closest cultural and


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religious connection to the Site,” before excavation. 2d Am. Compl. ¶ 276. They also assert that

Federal Defendants were required to notify, consult, and get consent from Plaintiffs or ensure

that the Poarch Defendants did so. Generally, Plaintiffs assert that activities were undertaken on

the Wetumpka property without a valid ARPA permit, pursuant to an invalid ARPA permit, or in

violation of valid ARPA permits. See 2d Am. Compl. ¶¶ 271–79.

       Plaintiffs’ allegations fail to state a claim because the challenged activities — the Poarch

Band’s construction of a gaming facility on its land — are specifically exempted by the statute

and applicable regulations and no permit is required. See 2d Am. Compl. ¶ 5 (alleging that the

Poarch Band is constructing a gaming facility and related construction on the Wetumpka

property). ARPA provides that, “[n]o permit shall be required . . . for the excavation or removal

by any Indian tribe or member thereof of any archaeological resource located on Indian lands or

such Indian tribe . . . .” 16 U.S.C. § 470cc(g)(1); see also Attakai v. United States, 746 F. Supp.

1395, 1411 (D. Ariz. 1990). In Attakai, the court found that the plaintiffs, a neighboring Indian

tribe, failed to state a claim for a violation of ARPA because the Indian Tribe did not need a

permit “even for excavations of qualifying archaeological resources . . . on its land.” Id. (citing

16 U.S.C. § 470cc(g)(1)).

       Even though ARPA permits, as noted above, were not required, BIA did issue a permit to

Auburn University, dated April 15, 2003. 2d Am. Compl. ¶¶ 108, 114; McCune Decl. ¶ 8, Ex.

G. Any challenge to this permit is outside the statute of limitations and this Court accordingly

lacks jurisdiction. In addition, under 16 U.S.C. § 470cc(f), enforcement of the permit is

committed to the discretion of the Federal land manager (including the imposition of civil

penalties or a request to Justice to pursue criminal penalties). Plaintiffs therefore cannot state a


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claim for relief that the Poarch Band violated the permit. Accordingly, Plaintiffs cannot plead a

cause of action under ARPA and their ARPA claim must be dismissed.

E.      Plaintiffs fail to state a claim for RFRA violations.

        Plaintiffs claim that their religious beliefs have been substantially burdened and assert

that Federal Defendants thus violate RFRA. 2d Am. Compl. ¶¶ 321–334. Plaintiffs’ allegations

do not support a RFRA claim for two reasons. First, RFRA is not implicated because the Federal

Defendants’ actions in this case are not the source of what Plaintiffs contend is a substantial

burden placed on their free exercise of religion. Second, the Plaintiffs’ allegations in and of

themselves, and regardless of whether they are imputed to Federal Defendants, do not state a

claim under RFRA because they do not allege a substantial burden on Plaintiffs’ exercise of

religion.

        At the heart of Plaintiffs’ RFRA claim are the allegations that the excavation and

construction of the casino, parking lots, and other facilities, and operation of the casino on the

Wetumpka property prevent Plaintiffs from fulfilling their religious obligations. 2d Am. Compl.

¶¶ 329–33. Plaintiffs assert that their religion requires them to rebury the remains in accordance

with Plaintiffs’ traditional religious protocol, and protect the site from improper access and use.

Id. In order for RFRA to apply to the Federal Defendants, Plaintiffs must demonstrate that

“‘there is a sufficiently close nexus between the [Federal Defendants] and the challenged action

of [the Poarch Band] so that the action of the latter may be fairly treated as that of the [Federal

Defendants themselves].’” Vill. of Bensenville, 457 F.3d at 62 (quoting Blum v. Yaretsky, 457

U.S. 991, 1004 (1982)); Jackson v. Metro. Edison Co., 419 U.S. 354, 351 (1974). Plaintiffs

cannot do so.


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       First, Plaintiffs have not identified any federal actions that substantially burden their

religious practice. The Village of Bensenville decision is instructive. In that case, plaintiffs, two

suburbs, a church, and individuals located or residing near Chicago’s O’Hare Airport, challenged

under RFRA the Federal Aviation Administration’s (“FAA”) approval of a plan to expand

O’Hare requiring the relocation of a church cemetery. 457 F.3d at 57. The plaintiff groups

challenged the decision on the basis that it burdened their exercise of religion and that the runway

expansion plan, which required the relocation of a cemetery, was not the least restrictive means

of satisfying the government’s compelling interest in reducing delays. Id. In finding that the

burden on religious exercise was not fairly attributable to the FAA, the court examined whether

the FAA’s role in the specific conduct challenged was “‘[m]ere approval of or acquiescence in’

the City’s plan or whether the FAA ‘has exercised coercive power or has provided such

significant encouragement, either overt or covert, that the choice must in law be deemed to be

that of the [FAA].’” Id. at 64 (quoting Blum, 457 U.S. at 1004). The court noted that “absent

government coercion or significant government encouragement of the measure under

inspection,” Id. (quoting Lunceford v. Dist. of Columbia Bd. of Educ., 745 F.2d 1577, 1581 (D.C.

Cir. 1984)), the Supreme Court has held that the federal government may not be held responsible

for a measure taken by a private actor. Id. The court found that it was the City of Chicago that

was the cause of any burden on religious exercise because it was the organizer and builder. The

FAA exercised no coercive power nor provided significant encouragement for the project. Id. at

65.

       Likewise, Plaintiffs do not allege that Federal Defendants exercised any coercive power

or provided significant encouragement for the construction activities at the Wetumpka property.


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The specific activities that they complain burden their religious exercise, excavation and

construction of facilities by the Poarch Band on its own property are the private actions of the

Poarch Band. Although Plaintiffs cite to Federal Defendants’ issuance or non-issuance of

permits, that action is only the mere approval of the Poarch Band’s excavation on its land, which

is insufficient to justify imposition of RFRA’s compelling interest test. See Vill. of Bensenville,

457 F.3d at 66; see also Am. Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 53–54 (1999).

Therefore, RFRA is not applicable to Federal Defendants in this case.

       Second, even if Federal Defendants’ actions could be considered to be significant

encouragement of or coercive power over the specific activities of which Plaintiffs complain,

Plaintiffs’ RFRA claims would still be subject to dismissal because the governmental action

asserted does not “substantially burden” Plaintiffs’ exercise of religion. To establish a prima

facie RFRA claim, Plaintiffs must allege that a governmental action “substantially burdens” their

exercise of religion. Navajo Nation v. U.S. Forst Serv., 535 F.3d 1058, 1068 (9th Cir. 2008).

Under governing Eleventh Circuit precedent, a “substantial burden” is imposed if an action

“completely prevents the individual from engaging in religiously mandated activity, or if the

regulation requires participation in an activity prohibited by religion.” Midrash Sephardi, Inc. v.

Town of Surfside, 366 F.3d 1214, 1227 (11th Cir. 2004) (citing Cheffer v. Reno, 55 F.3d 1517,

1522 (11th Cir.1995)) (applying RFRA, court found no substantial burden when religion did not

require particular means of expressing religious view and alternative means of religious

expression were available); Church of Scientology Flag Serv. Org., Inc. v. City of Clearwater, 2

F.3d 1514, 1550 (11th Cir. 1993) (finding a substantial burden when regulation had the effect of

mandating religious conduct). “In Holt v. Hobbs, the Supreme Court held that a policy


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substantially burdens a prisoner’s religious exercise if it forces him to choose between engaging

in conduct that seriously violates his religious beliefs or facing a serious penalty.” Robbins v.

Robertson, 782 F. App'x 794, 802 (11th Cir. 2019) (quoting Holt v. Hobbs, 574 U.S. 352

(2015)).

       Plaintiffs allege that the excavation and construction activities burdens the exercise of

their religious practices because it will prevent them from performing significant and important

religious activities related to the Wetumpka property, including “return[ing] the bodies of their

ancestors, along with their funerary objects,” to the Wetumpka property. See 2d Am. Compl.

¶¶ 325, 329. These allegations do not demonstrate government action has completely prevented

from engaging in religiously mandated activity, that they are required to participate in an activity

prohibited by their religion, or that their religious conduct is being mandated. Plaintiffs do not

claim that the government will impose a serious penalty on them from exercise of their religion.

Rather, Plaintiffs’ claim that the excavation and construction activities by the Poarch Band effect

their emotional experience or diminishes their spiritual fulfillment, which courts have found fall

short of the “substantial burden” cognizable under RFRA. See Navajo Nation, 535 F.3d at 1069–

70; see also Guam v. Guerrero, 290 F.3d 1210, 1222 (9th Cir. 2002) (A “substantial burden”

requires “substantial pressure on an adherent to modify his behavior and to violate his beliefs,”

including potential sanctions) (citation and internal quotation marks omitted).

       The diminishment of a religious experience does not constitute a “substantial burden”

under RFRA. See Navajo Nation, 535 F.3d at 1069-70; see also Lyng, 485 U.S. at 439. 4 In



4 As the Ninth Circuit observed in Navajo Nation, “[t]hat Lyng was a Free Exercise Clause, not

RFRA, challenge is of no material consequence. Congress expressly instructed the courts to look

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Lyng, the plaintiff tribes challenged the Forest Service’s decision to construct a logging road on

an area of a National Forest that the Tribes considered sacred and where they alleged they

practiced their religion. Id. at 442-43. In rejecting the plaintiffs’ claims, the Court recognized

that the challenged project might “interfere significantly” with the plaintiffs’ religious practices,

but emphasized that the government’s actions neither coerced plaintiffs into violating their

beliefs, nor denied them rights or privileges enjoyed by other citizens as a penalty for their

religious practices. Id. at 447–49. In fact, in Lyng, the Supreme Court found no cognizable

RFRA claim even if it assumed that the proposed logging road “virtually destroy[ed] the . . .

Indians’ ability to practice their religion.” 485 U.S. at 451–52 (quoting opinion below, Nw.

Indian Cemetery Prot. Ass’n v. Peterson, 795 F.2d 688, 693 (9th Cir. 1985)). Similarly, in

Navajo Nation, the Ninth Circuit sitting en banc held that the use of recycled wastewater to

create snow for a ski resort located on a peak claimed to be sacred by several Native American

tribes was not a “substantial burden” because the plaintiffs were not required to choose between a

government benefit and their exercise of religion, or threatened with fines or penalties for

practicing their religion. 535 F.3d at 1070-72. In Snoqualmie Indian Tribe v. FERC, the

plaintiffs alleged that a proposed hydraulic dam would, among other things, deny them access to

waterfalls necessary for their religious experiences. 545 F.3d 1207, 1213 (9th Cir. 2008). The

court of appeals found that:

       [t]he Tribe’s arguments that the dam interferes with the ability of tribal members
       to practice religion are irrelevant to whether the hydroelectric project either forces
       them to choose between practicing their religion and receiving a government




to pre-Smith [Empl. Div. v. Smith, 494 U.S. 872, (1990)] Free Exercise Clause cases, which
include Lyng, to interpret RFRA.” 535 F.3d at 1071 n.13 (citing 42 U.S.C. § 2000bb(a)(5)).

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       benefit or coerces them into a Catch-22 situation: exercise of their religion under
       fear of civil or criminal sanction.
Id. at 1214. Based on Lyng and Snoqualmie, Plaintiffs’ allegations of the excavation and

construction at the Wetumpka property desecrating and damaging the sacred place for the

practitioners of their spiritual beliefs are not germane to the question of whether they are being

penalized by the challenged actions or deprived of otherwise available benefits.

F.     Plaintiffs’ Religious Exercise claim should be dismissed.

       Finally, Plaintiffs’ Count VIII asserts that if NAGPRA and ARPA are construed in a

manner that results in a substantial burden on Plaintiffs’ religion, they violate the First

Amendment, RLUIPA, and the RFRA. This count should be dismissed for several reasons.

       First, Plaintiffs have not identified any final agency action they are challenging. Instead,

they appear to be challenging a ruling that this Court might make. This cannot be the basis for a

proper claim against the Federal Defendants.

       Second, Plaintiffs’ religion has not been substantially burdened by Federal Defendants for

the reasons discussed above. To the extent that Plaintiffs are prevented from practicing their

religion because they cannot access the site or the remains, this is true regardless of Federal

Defendants’ actions. Even if the land is not properly in trust, the Poarch Band would own the

land in fee and would not have to provide Plaintiffs access.

       Third, Plaintiffs have not stated a claim for relief under the First Amendment. The First

Amendment of the Constitution provides that “Congress shall make no law respecting an

establishment of religion, or prohibiting the free exercise thereof....” (emphasis added). “As

interpreted by the Supreme Court, the Free Exercise Clause of the First Amendment does not

prohibit the government from burdening religious practices through generally applicable laws.”


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Multi Denominational Ministry of Cannabis & Rastafari, Inc. v. Gonzales, 474 F. Supp. 2d 1133,

1143 (N.D. Cal. 2007), aff'd sub nom. Multi-Denominational Ministry of Cannabis & Rastafari,

Inc. v. Holder, 365 F. App’x 817 (9th Cir. 2010) (citing Employment Division v. Smith, 494 U.S.

872, 890 (1990)). Government programs that have the incidental effect of “mak[ing] it more

difficult to practice certain religions but which have no tendency to coerce individuals into acting

contrary to their religious beliefs” do not violate the Free Exercise Clause. Lyng, 485 U.S. at

450–51. Plaintiffs do not demonstrate any law prohibiting the exercise of religion. NAGPRA

and ARPA are generally applicable laws aimed at protecting Native American grave sites and

archaeological resources, not at the exercise of religion. Plaintiffs therefore cannot state a claim

for which relief can be granted.

        RLUIPA also does not provide Plaintiffs a cause of action. “RLUIPA, by its terms,

prohibits only state and local governments from applying regulations that govern land use or

institutionalized persons to impose a ‘substantial burden’ on the exercise of religion.” Navajo

Nation, 535 F.3d at 1077. Thus, RLUIPA does not apply to the case at bar, as it neither involves

a state or local government nor a land use regulation.

        And, as discussed above, Plaintiffs have not stated a claim for relief under the RFRA. In

short, Plaintiffs have failed to state a claim that NAGRPA and ARPA violate their free exercise

of religion.

                                    VI.      CONCLUSION
        For the foregoing reasons, Plaintiffs’ Second Amended Complaint should be dismissed

for lack of jurisdiction under Rule 12(b)(1), and for failure to state a claim under Rule 12(b)(6).

        Dated: April 23, 2020          Respectfully submitted,



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                                            PRERAK SHAH
                                            Deputy Assistant Attorney General
                                            Environment & Natural Resources Division

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                                      CERTIFICATE OF SERVICE



                I hereby certify that on April 23, 2020, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to the

parties entitled to receive notice.


                                       /s/ Devon Lehman McCune




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                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

                                                    )
 MUSCOGEE CREEK NATION, et al.,                     )
                Plaintiffs,                         )
                                                    )   No. 2:12-cv-01079-MHT-CSC
        v.                                          )
                                                    )   Judge Myron H. Thompson
 POARCH BAND OF CREEK                               )
 INDIANS, et al.,                                   )
                                                    )
                Defendants.                         )
                                                    )

             DECLARATION OF DEVON LEHMAN McCUNE IN SUPPORT OF
                  FEDERAL DEFENDANTS’ MOTION TO DISMISS

       I, Devon Lehman McCune, hereby declare as follows:

       1.      I am attorney of record appearing in the above-captioned matter for the Federal

Defendants.

       2.      Attached hereto as Exhibit A is a true and correct copy of the Advisory Council

on Historic Preservation’s April 27, 1992, Release on the Federal Historic Preservation

Commission Recommends Against Plans to Develop Hickory Ground in Alabama.

       3.      Attached hereto as Exhibit B is a true and correct copy of the Advisory Council

on Historic Preservation Executive Director’s Report Addendum: Termination of Consultation in

Accordance with § 800.6(b) of the Regulations of the Council dated April 1992.

       4.      Attached hereto as Exhibit C is a true and correct copy of the October 31, 1992,

Muscogee (Creek) Nation Ordinance, NCA92-153, Protecting the Cultural, Historical, and

Archaeological Integrity of Hickory Ground, Alabama.




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       5.      Attached hereto as Exhibit D is a true and correct copy of the October 19, 2002,

letter from the Hickory Ground Tribal Town to the Poarch Band and the United States Bureau of

Indian Affairs regarding claims for remains or objects and cultural property.

       6.      Attached hereto as Exhibit E is a true and correct copy of the October 23, 2002,

letter from the Muscogee (Creek) National Council to the National Park Service regarding the

NPS 1999 Agreement with Poarch Creek.

       7.      Attached hereto as Exhibit F is a true and correct copy of an October 1, 2001,

Briefing Statement prepared for the Assistant Secretary—Indian Affairs, through the Deputy

Commissioner of Indian Affairs, regarding possible violations of ARPA during site preparation

for a gaming facility on trust lands of the Poarch Creek Indians in Wetumpka, Alabama.

       8.      Attached hereto as Exhibit G is a true and correct copy of United States

Department of the Interior Federal Archaeological Permit dated April 15, 2003.

       9.      Attached hereto as Exhibit H is a true and correct copy of the May 20, 2002,

Revised Report submitted by Donald R. Sutherland, PhD, Bureau of Indian Affairs, regarding

inspection of construction activity.

       10.     Attached hereto as Exhibit I is a true and correct copy of the March 12, 2008,

letter from George Thompson, Mekko Hickory Ground Tribal Town, to the Director of the

National Park Service, regarding potential NAGPRA violations.

       11.     Attached hereto as Exhibit J is a true and correct copy of the April 21, 2009, letter

from Will Shafroth, Acting Assistant Secretary for Fish and Wildlife and Parks, Department of

the Interior, to Dr. Jay Gogue, President, Auburn University, regarding potential NAGPRA

violations.




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       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.

       Executed on this 23rd day of April, in Lafayette, Colorado.




                                             /s/ Devon Lehman McCune
                                             Devon Lehman McCune




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 23, 2020, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which will send notification of such filing to the parties

entitled to receive notice.


                                       /s/ Devon Lehman McCune




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               EXHIBIT A
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     approval. of the grapns~d project, the Counci3 encouraged
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    About t~}e ~,ouncil
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    Government's hi.staric preservation regulatory system, conunonly
    kr~cwrs as "Section I.U6 xeview,* which ensures that historic values
    are g3.ven due cansic~~ration in the p3.anning c~~ federally
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    The historical governmental
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    Hand with a histc~ri.~ preservation coven
                                              ant to protect the
    signiEicanc~ of the site. In 3.984, the
                                               3.and was plac~c2 in trust
    for the tZ'ibe by BIA.

    ~ect^.~~ '_,05 con~u~~atzo~
    In ,7anuary 1991, BIA provided the Counc
                                              il wish a copy of thQ
    proposed ~3evelopment plan and taitiga~icsn propos
                                                       al. with a request
    fog ~orma3 revies~. Scibsequez~t discussion focus
                                                 s       ed an project
    goals and abje~tives including possible alternativ
                                                            es which might
    avoid ar .lessen adverse effects ~o the site'
                                                    s signifa.cant
    archec~3.ogical resources which incZuc3e human: rezuai
                                                           ns. These
    discussions proved unsuccessful., hcawever,
                                                  and on February ~8,
    399 , BIA terminated consu~.tati~n and requested
                                                        the final
    commends og the Council,

    ~3IA tP~ainatio~ Bads to Caun~il panel.
    t7pon learning of BIA's decision, ~epresen~a
                                                  tives of th.e I9-member
    ~auncil convened to consider the i.mpiicatic~
                                                   ns a~' th~.s action as
    spe~i.~ied under Federa3, regulations {36 CFR Part
                                                          800, TMPzo~e~t.ion
    cif Historic Properties"}, At the meeting, panel
                                                         ists heard
    presezxtations from BIA, the Poarch Band, and the A3aba
                                                                ma SHPU, as
    we11 as r~pres~ntatives from other tribes within t:.he
                                                               Greek
    i~ati.on, various grgups anc3 organizations and the gener
                                                                al public.
   Reconrmendat'ons r~r future actia~t
   Ba~eci an a review of the f~c~s presented and public test~.
                                                                   mony,
   t.~te panel consec;uently comsszended the tribe's goal of economic
   ~.ndependence t~ be pursued under the provisions oP the Tndia
   Gaming Regu.La~ary Act bit found that the ~raposed under'taki.nn
                                                                      g at
   hickory Grr~und would endanger the signif~.cant historic and
   cultural. values of the National Register-listed site. The pane3.
   also big'hlighted the need fc~r~ TX.~I '~o resolve under the Native
   American Graves Protection and Repatriation Act o~ 199 wh%ch
   tri.}ae within the Creek Nation has c2~sest cultural a~Pil
                                                                iation
   with Hickory Ground. BIB, mush consider theses reeazumendation~
   kae~or~ making fur~.her c~ecisiQns on the pr~aject at hazzd.

   Council members who heard the case included historic preservation
   exg~r~s Avery C, Faulkner, FAIA, peel chaiz~nan; and Lu~i11e C.
   ii~simbri~.3., Newcast~.e, Wyrrming,' and Departnxent of Agricu.itur~
   Assistant S+~eretary far Adm.ir~is~rati~n Charles Hi~ty, Washington,
   I)C, represen~i.ng the Secretary ~f Agric~x3.ture.
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   Council advzses P~es~dent. Can~~ess
   ~sta~lishe~ by the National Hzstoric Preservation Act of 1946,
   the Advisory Council is composed of Maur historic preser~ra~ion
   exper~s, four private citzzens, a g~vern~r, a mayor, the
   Secretaries of Transportation, fit.TD, Treasury, and the Director of
   the (White Hau~e~ Office ~~ Administration, X21 agpozn~ed by the
   President; the Secretaries of the Interior and Agriculture, the
   Architect of the Capitol, the president of the National
   Conference o~ Stake Histari~ Preservation Officers, and the
   chairman of the National Trust for Histaria Preservation. The
   Ccsuncil is tieadc~uartered in Washngtr~n, ~C,

                                   ~~~
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                                    ~prll ~ J92
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      -      Advisory
             Council an
             Historic
             Preservation
             The Old Posi Office Building
             110Q PennsV~v3ni8 .~veni.~e. ~14V. r~809
             Washington. DC'OOO~k




                                   Construction of a Com~aunity Canter/ifuseum
      ~                                        and Bingo Gamiaq Operation at
                                      Hickory Ground, $lmors Countq, Alabama


  ~                                              Executive Direator~s Report

                                                          ADDENDIIM


             The Executive Director's Report identified several issues
             critical to this case for which the National Park Service (NPS},
             acting on behalF of the Department of the Interior, has a policy
             interest, legal responsibility undez statute or a~herwise, or
             serves as a source of technical advice and guidance ~~ the
 —           Federal Government. These issues are:

                     Z. Enforcement of the preservation covenant that was a
`-                   condition of the Federal grant which assisted with the
                     acquisition of Hickory Ground;

`_                   2. Possible violatifln of the Archeological Resources
                     Protection Act pertaining to previous excavations at the
                     site;
                     3. Compliance with the requirements of the Native American
~—                   Graves Protection and Repatri.atian Act in view of the human
                     remains present at the site; and

                     4. Evaluation of the traditional cultural significance of
                     Hickory Ground.

            To ensuxe that the Council members wQUld have the benefit of the
--          opinions of the NPS in its review of the Hickory Ground case, the
            Executive Director wrote to Jerry Rogers, Associate Director,
            Cultural Resources, NPS, on March I6, 1992, requesting that NPS
~--         provide the Council its position on these issues and, if
            possible, to do so by April 3, 2992 (see Executive Director's
            Report, Appendix B).   The printing and distribution schedule for
            the Executive Director's Report did not allow for inclusion o~
            the NPS reply, received on April 8, 1992 (attached, Appendix A,
            Executive Director's Report Addendum). Because of the importance
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        of these issues to Council members' deliberations, this addendum
        provides additional views of the Executive Director with regard
        to how the NPS response might bear upon the Council review o~ the
        Hickory Ground case.


~-     1. Enforcement of the Covenant (see reply 1, 2, & 3)
       NPS confirms that the Federal Government does have the authority
       to enforce the covenant as it "runs with the land and is
       enforceable as part of the Indian trusteeship responsibility."
       With the legal status of the covenant resolved, NPS then examines
       whether proposed project plans are consistent with the covenant
       requirements. Citing standard advice given to State Historic
       Preservation Officers under such circumstances, NPS states that
       when conflicts regarding enforcement arise, accommodations should
       be reached ~'so lang as substantial integrity of the historic
~-     property is retained." NPS apparently did not undertake an
       independent anaiyszs and accepted BIA's argument that this test
       is being met by the proposed development pions by the Poarch
       Band.

       Beyond the more general and subjective test of "substantial"
       integrity suggested by the NPS, it would seem necessary to
`~     critically evaluate the proposed development against the specific
       language of the covenant. The covenant requires that actions by
       the owner should "preserve the historical and archeological
-      integrity of the property        in order to protect and enhance
       those cLualities that made the property elictible .for l.isti.nq in
       the National Register v~ Historic Places" (emphasis added).
       While the NPS apparently does not have sufficient information to
       answer these questions conclusively, it does acknowledge that the
=      proposed deveJ.opment is "extensive," and that there would be
       "damage" to Hickory Ground. NPS further raises the question of
                                                                  sayrr
       delisting the property, concluding that it "is hard to
       whether the extent of damage would be sufficient to justify such
       an action.

       Absent any definitive NPS opinion to the contrary, the Executive
       Director stands firmly behind conclusions expressed in his
       report. The proposed development will significantly threaten
       both the extensive archeological resources off' Hickory Ground as
       well as the other equally important associative and historical
       values that qualffy it for listing in the National Ragister.
~-     Such actions, therefore, appear tv violate the requizements of
       the covenant.


       2. Archeological Resources Protectior. Act fARPA~
       {see reply 4 & 5)
       NPS determined "thars was:a violation of Section 6(a)--excavation
       without a valid permit and possible violation of Section 6(d)--
       causing another person to violate ARPA, although this J.atter has
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                                             3

         not been investigated."     Concluding that BIA's effort to avoid
                                                                implies
         any repetition is "tha appropriate remedial step," NPS
                                                         is nod pursui ng
 —       (though it does not emphatically state) that it
         further investigations.
                                                                        s
         While this ARPA violation is important in understanding factor
                                           , it does not appear to have a
-~       inFluencing previous consultation
         direct bearing on the larger issues confronting the Council at
         this stage. Far the Council's purposes, the NPS reply has
                                                                   NPS
 -       sufficiently clarified questions regarding the status of
         invas~igations.                                                                 ~~

                                                                                "~~d„~e
         3.   Native American Graves Protection and Repatriation Ac_ t~f"d
                                                                    ~--~           ~~~`~
         (NAGPRA1 (see reply 6 & 7}
                                                 is the  presen ce of  Native ~~~5"    ~ ~'"
         An important dimension to this case
                                      Hickor y Ground  and the  ongoin g disput e  ~~    ~-'U~
         ~nerican human remains at                                                ,_,sue ~'~~
                                     the  Creek  Nation  and  the Poarch  Band
         between various tribes oP
                                                                              of   ~lu~
         aver who has jurisdiction over those remains. The resolution
                          partic ularly  import ant,  becaus e NAGPRA sets  forth  ~,~eS s
--       this dispute is
                                                               l     treatm ent
         explicit procedures to be followed in the remova and
         o~ Native American human remains on Federal or tribal lands.
w        Specifically, Section 3(c)(2) of NAGPR.A states that the
         intentional removal from or excavation of Native American
                                                                              if
         cultura3. items from Federal or tribal lands is permitted only
                                                         consul tation  with or,
         "such items are excavated or removed after
--       in the case of tribal lands, the consent of the appropriate {if
         any) Indian tribe" (emphasis added). The dispute concerning
                                                                          remains
         which tribe has the closest cultural affiliation with the
         at Hickory Ground, theref  ore,  must  be resolv ed  in order  for the
~_.
         provisions of NAGPRA  to  be  met.
                                                                         the
         Compliance with NAGPRA could have an significant impact on
         ability of the Poarch Band to proceed with develo    pment  plans at
                                                          ted  the views  of
         Hickory Ground. The Council., therefore, reques
         NPS who has been delegated the responsibilities of the Secretary
                                                                     l's
--       of the Interior under NAGPRA. In response to the Counci
                                                 NAGPRA  apply,  NPS  states
         question at whether the provisions of
         that they do. NPS is uncertain, howeve   r, as to  which  tribal
                                                                             BIA
,_       entity would have jurisdiction over the remains and has asked
                                     to initia te consul tation  with  other
         to request the Poarch Band
                                                                        is
         Creeks in Alabama and Oklahoma to determine which band s)
         traditionally affiliated with the site.

         Lacking any indication from NPS that this issue has been
                                                             ive Director
         confronted and its resolution initiated, the Execut
~-       must reaffirm the imperative nature of recomm endati on IV in the
         Executive Director's Report, i.e., that the Depart ment  of
                                                group has  the  closes t
         Interior should determine which tribal
                                                                     the
         cultural affiliation with the remains at Hickory Ground if ed.
                                      tribal member s are to be resolv
         existing disagreements among
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                                          4


        4. Traditional cultural value of Hickory Ground (see reply 8)
        Citing the role of Hickory Ground as the last governmental center
       of the Creek Nation in the East prior to forced removal, the
       Executive Director asked NPS to provide its vzews on the passible
       traditional cultural significance of the site and to comment on
       how the proposed development might specifically impact upon such
       values. This request seemed appropriate given that the
       Department of interior holds special authority under Section 502
"'     of the National Historic Preservation Act, as amended, to advise
,,     the Federal Government on ways to preserve and conserve
       "intangible e3ements of our cultural heritage." In response to
~..    this requirement, NPS has published National Register Bulletin
       X38, "Guidelines for Evaluating and Documenting Traditional
       Cultural Properties," which was intended to serve as "an aid in
       determining whether properties thought or alleged to have
       traditional cultural significance are eligible far inclusion in
       the National Register" when such properties are being considered
       for nomination to the National Register ar eligibility under the
—      Section 106 process (page 2).

       NPS chose not to issue a definitive response to the Executive
       Director's query as to the traditional cultural value of the
       site; it states "we do not know,~~ continuing: "It is possible
       given that the J.and was purchased in 1980 after a long period out
       of tribal hands; however, consultations and research on this
       question have not occurred." Absent a conclusive statement, the
       Council takes this as acknowledgment that such values are, in
       fact, associated with the site and led NPS to List the property
-      in the National Register in 1980 and provide a Federal grant for
       purchase and protection of the site in that same year. In the
       final analysis, no action more clearly indicates the regard of
_      NPS for the property's significance than the 1980 dacision to
       assist the State in purchasing the site.

       The Executive Director remains convinced that Hickory Ground is a
       site of unique importance to the Creek Nation. The National
       Register nomination form far Hickory Ground states clearly that
       the site is '~primariiy significant as the last capital (1802-
       1814) of the National CQUncil of the Creek Nation in the Creeks
       original homeland...." In Bulletin #38, NPS establishes that a
       traditional cultural property is one that is signa.ficant:

            "because of its association with cultural practices or
            beliefs of a living community that (a) are rooted in that
            community's history, and (bj are important in maintaining
            the continuing cultural identity of the community."

      In the view o€ the Executive Director, Hickory Ground meets this
      test without question.
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                                Appendix   A
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                                           '~    ~Jnited States Department of the Interior                                          ~~
'~                                                                    VATIph~,P,~tK SERb10E
                                       t                                    P.O. Box 31127                                      ~          w
                                                                     GVashington, D.C. 2Q013-'127
                        t?+r nevt.v Rc;rs.R m:                                ,..




                             Dr. Robert D. B~uh
                             Executive Diretior
                             Advisory Couacc~ll oa Historic Preservsdaa
—                            The Old Pou O~ Buildiag
                             110Q Pennsylvaata Avent:c, NW
                             Suite 809
_                            Was~i.ngtoa, DC 20044

                             Deal Dr. Bush:

~-                           Thank you for your tettcr of !riarch 16, 1992, oonetrnQig the HicJcory Qrouad Siie in Weiumpka~ P►labama.
                             This Setter coafu~ms the kcy poinu of our telep~aae coaversatioe on Aged 3, 1942, Your letter askrd for
                             clarification of ci~t questions which are provided below. In ~aez~I, ave arc limited za how much wo eaa say
                             thal is dcPin.itive since there are sa many ~akaowa or unclear aapeas tbaut tka site and the propoacd aeiiott,
                             1. Do w~c agrcx rhst tho pry dcv~meat ~r71 tbrestta a~tfie Hsetvry Ground 3ita ~Sbad is
                             the National Rc~r of i~istocse PSsets? Ot course here would be d~msgc, W~cther it would ix s~fczcut
     _                       to delist the praperty from the National Register is hard to say. I"bt Archeological teatiag aad evaivatioa so
                             far bas been appropriatcEq canservativa. Tho resulia clearly vadicatc tha p~eseace of important ucheviogira!
                             villaga remains and tho ethnohist~ric analysis of the site's identity is rcaaanabb. 13c data are inauffident to
                             precisely aatiapate the ia:paet of davrlopmeat oa t6e site. However, the prnpoted developmcat is ea¢enaiv~
._ -                         when one considers the aggse~t~ of build"~n~s, ui~ides~ roads, puking and landscaping berme and plaaizaga,

                            2 boas the F~ie:al Gait hxv~e the tttt~oriip W eafocx tie an~eaaatY Yes, the tovc~.ant ruaa with
                            the land and is en£orcxabde as part of the Indite trs~stceship reapoaubiiity.

                            3. If the Frdaral Gatiexameat ha~i t1rC iBE3~oritr oD ice,del w~c sntc~d to tskC aaq ad~ioc~? The Bureau of
                            Indian ,affairs (BIA} has indicatrd that they betieve they src tnfoccing the covenant The covenant is nat
,_                          written to praveut the euerciae, of any discretion in land use. It is ~ 20 year reatriaioa shat ends in the year
                            ?00a. Ln addition to protuX~on of tlu integtitY of the sito, it provides the owner with disaetiou for
                            dcvetoping the site so long at this does as thrcatca or damage the archeological rcaaurce, Ia pra~xico, cha
                            enfarcemant of aeariy all rnvzna.ots ~s done by State Fi'istoric Presarntiaa O~aa. The NPS gZaerally hsa
~-                          advised States, when these coaf~i.cts arias, to rich aeeammadation so long as aab:uatial intcg~it3+ of the
                            historic property is retained. In this east, B!A etas aasturc~ NPS that it is taking this approach.

                             4. W'~tat is tho outro~~c of tf~c Servico's ctv~atig~oa of pa6a~e Arrl~eoiogir,~I Rtaoa~ccs Protoctioe~ Ad
                            (ARPA) violaixins7 1n 1991 we determined t4sa,t them wan a violation of $~tiaa 6(a} -- ezravation without a
                            valid Qermit, and posu'hiy of Sccti4u 6(d} -- ranaiag another ptr~a to violate ARPA, ~lt8oagh this ~cter 3u~s
                            not been invcsiigated Theat results have been provided to BIA.

                            5. What nc~oas does t$c Se~vsce prapaa to take re~u~dimg tl~e So~saal iavesti~7 T'ha BIA r,••~o•,;~s
                            chat there wan s viola~on of ARPA procedurq and they hev~e auwed the Servicz that they have taken steps
                            to avoid any repetition The circumatanrxs is this caso era tftat the uaauthorizeci earavation w$s cooductcd
._                          by a professionally gw~i£~ed arc~cologist and the work wan immediately stopped when this ways rtquaaied by
                             BIA. Given this, we be~icvc BIA's effort to reinforx the control pracrss is the agprapriate remedial step.
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                6. Does the Nativ~c Amcriata Gravica Protcciion and R~utriation Acx (NAGPRA) appt~fl Yes.
                                                                                                                           know.
                7. If PFAGPRA ate,Aso c~ dum culhual afIIiatioa to the F~'svmcy ~roctnd S~.cT We do not
                Wa have asked BtA to request that the      Poarch Band  initiate consuItasion  with other Creeks  in Alabama    and
—~              Qk2ahoma gursuani    to NAGPRA.     'I'~is  world be to ~deptify rich   band  or bands  are traditioaal7y affiliated
                with the site aad carmot be limited to federally recc~gnizcd tribes.

_               8, Data ttze Service tbinlc that the pro~crty hss traditioaal cuttaril vah~? We do not 3taow. It is pcssibte
                given that the land was purchased in 19$tl after a long perioci out of tribal heads; however, consultatioaa and
                research Qu this qucsLion have not occurred.

 -              1 wst this infarmadoa wslt be helpful to the Chairasaa and mombors of tho panel. We wi11 sot tx able to
                send some~aZ to t5e April 16 mcatiag hni appreaata the iavitarion. Pieast call on us if we can be of further
                aasissance.
__
                Sincerel


~..
                Jt.rry L. ogers
                Associate Director, Cultural Resonras
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               EXHIBIT C
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                                                       ~C~E~ NASK~


                                                     NGA~IZ-~S3

        AN ORDINANCE C)F THE MUSG()GEE (CREE~C} NATTCsN PROTEGTYNG THE
        CUI.TURAI.,HISI'ORICAI.ANDARCH~OLG?G3C.AT..YI~TTEGRTi'YDFHICKO~t,YGR+t'~tTl~U,
        1►[.AI3AMA
                                                       t
        Section 100. Bc is ez~acred by the Muscoger. tC#cek) Natiaa in Caunci~ Assembled:

        Scccian lfll.   F`n i

                        The Narional Council f~nda that an Qrdinznct is requited to protca Hickory Ground
                        in Wecumpka,Alabunz, because the cultural, historical ar~d urheolc>gic~ integrity of
                        that sirs 'ss threarenttl dry actions of ~Ixt Poarch Band of Cteck Indians, puading
                        approve of an Economic„L7evdopmcne.Plan and._a Bingo_Managtment.~ontract by
                        the U.S. Bureau of Tndiari AF#`airs, and said approvals are dependent upon decisions
                        of nc~ Naaanal Historic Prrservacion Commission,

                        ?TTLE 1.       SUST'ENSIt~N OF             ~C?VERNMEZ3T-TQ-Gt3VERNMEiVT
                                       RELATIC)NSHIP

       Scusor~ 2 i4. Special Finding.          The Natiooa! Councst finds chat rho Poarc3i hand of Creek
                     Indians has taken acrrians which, airhaugh in nc~ir ecanurne inceresc, arc chrcauning
                     xtzc cultural, histories and archcologicat integrity ofHickotp Ground, Alabama. Said
                     actions are conaary ro the wtmrc, tzaditYOns and best incerats of ail .Muscogec
                     people. Said actions ~aue be,ctz t~kcn without consuirarion with the 15rfuscoge~e 3Vatian
                     nar with chc people of Hickory Ground ~"ribal '"own and Hickt~ry Ground
                     Ceremonial Ground, who are locaud here within the baundarirs and wir3iin the body
                     po4icic ofthe Muscogee Nazion. The N~don recxignizes the diffictxlr qucscians which
                     ~risc when oae tribe awns iand which cancxras rho cutcurll arcifacta and human
                     remains of anoctser tribe, but £ails chat when cwa gro~sps of One culture are involved,
                     and char cvinarc hu specific answer cu those gixe~vans, tha€ co ignore rhosa cultural
                     prccedcnzs ix us break chc ont}r boz~ds we have in common.

       5cttson 111. The ~ovcrnmcn~-zo-gavcrnmenc r~ationship between the Mustoge~ Nation and the
                    Paarch Hand of Ctcek Indians whictz was established by C,3tdinance i*tCA 83-32 is
                    hereby suspended urscit such cixnc ~s the Principal Chief crxtifi~rs in wri~ing ro the
                    Speaker of the National Council that Hickory ~Ground> in Alabama, is ~raucrcd by
                    any means re~mrs~cnded in this C7rdinance {Qr a~erwise} to restore its cu3rural,
                    hiscarical xr~d arc~zcnlagicat "ss~ragrity.

                        TITi.E 11.     RECOMMENDAT#C)2~iS TrJ THE STATE OF ALABAMA

       Secrinn 2t11. Special Finding. The National Council fnds chat a eonciccios~ required by the
                     Nazinnal Park Service of the U.S. Depanmcnt of tizc Interior in cfie grant which
                     funded the purchase of Hickory Ground from the ~~atc of Alabama by xhe Pouch
                     Band of Cr~eic iadzans was a prexczvation covenant, vv#:ich rcqurtcs the I'oaxch Band
                     '.CD 3SS11[Tit t~St C{3St ~~ CdI1ttI1tIGCI mainccnanr~ and rtpaiz cif the prapercy so ss co
                     preserve tic historical and uchcologicat inttg~'iry oEche prz~perty for 2(3 years zn order
                     zo protect and enhwtc xhosc propcccics $sat made nc~ progcrtp eligible fair listing in
                     the Natzonai R.egisttr of Historic PIa€cs."; and if this property is removed from dxe
                     National P.;e~isus of Hiscaric I~1acu, it is no longer protected by Scaion ltd of the
                     Historic Preservation Act.
                                                                                                    1
       Section 202. The Prinripai ChicFis authorized to notifg tFic Governor oftie State ofAlab~ma that
                    this covenant has been broken, and to request said Govunor to direct Qr t~ec~ncst the
   Case
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                      At~c~rney Gen~raI of €fie 5cace ofAIabama to negotiate with the Poarrt~ Band {or an
                      exchange 4F gres~searcies, said ~changc try prated tote cutrura~, historirrl and
                      arckyeologicc~ll inxegr ry of Hickory Gmr~nd. tlla6acna, and prorcct -thy ecanamic
                      development inccrescs of the Poarch Band in ~lasa 2 l and Mass l 1 I gaming by nc~
                      Governat oflllabama agreeing ro c~rscur an usy #~u~r~e finding by the Secretary of the
                      Intcrioz undar 25 USC 2?I~~b)(1}(p) rhac acquisirion ofncw lands fc~r gam;ng arc
                      in the best inruesrs of rht Poarrh Band ari+3 ~ ivauld not .be dctrizncntal co the
                      svrrc~~snding community, or, i~ the aitcrn~tive, to fa~c Segal atzion; r~ enFarce the
                      covenant, or c~ quicc tide ca rhis,~ice in the name of nc~ Start of Alabama bccausc
                      of zhe vzo~arion of tht covenant,'~n~ for the purpose of prorectiRg the cultural,
                      ~istarir.~t and arc~~ealc~gica3 integriiy of the. k3ickoty Gtou~ad, Alabama, silt.

                     `I~TLE 1 S 3.    CC;FNFNSIIRE ~}~ THE BLTR.EAL; {~F INDIf'.T~1 .t~FA.IR$

       section 3t~~. Special findings,

                      A_     The ~3urcau of Indian Affairs has a Scga~ zesponszbiliry m consult with
                             fcdcrally rcc~gniz~d tribal grverc~mcssu in martcrs rvhi~h affect culrur.~3,
                           . historarai .and..aschc~Iogical.resourecs.I~scated.:u~on..~ndian Iands..wlsrn said
                             resc~u~crs asp cutatrall~ of hi~torir.~lly rc3a~d ~~ a tribe which ss rPrffercnt From
                             x{~e nriba~ owzner of said lands, including x fait distinction bctwr~n the
                             beneficial owner of the culturat restrtarccs anr3 the accu~t owner o£ title.

                      B.      The Bureau or Indian .A#~a€rs Baas f~ited to crsnsult with ctac Museogce I'~ation
                              and wixh rye pec~plc cif ~3ic~ry Gerund Tribal Town and ~-Iickory Grnwnd
                              C;ezemoaial Ground regarding the prareec~on cif eu[sural, hismricat and
                              arnc~rrtogcal resour€ts located upon. Hickory ~xound, Alabama.

      Secrson 3l~2. Tfae ~urcau cifTnd"aazz Affairs ~s hereby censured for faiFing m consult with zhc
                    1+rinseog~e 2'~3ation regar~#ing nc~ pratcction ref cultural, historical and arc3~eologicai
                    resaur~cs Eoraterl upon Hickory Gwund~ Alaba~rta.

      Secciaa 3(?3. ~'hc Burcxu ofIndian l~f£aizs s`s requcsred to i~vcsri~ace nc~ v~i~iarions of 5crtic~n 106
                    afthc ~Tacional I-~iscoric F'resezv~tion Act,~I~~ti~~      eri~n Graves ~'rocect~c~n ancf
                    Repatriation .t1ct. the Antiquities Act 4f 1~{)6, end the Archeological Resources
                    Prrrcecuan Act ~c zhc Hickory Grr~und site in "Wcn~mpka, A3abama> prior to slaae
                    ap~zov~l cif any further ace€ons ~y the I~oarch Band ta#' Creek Tndia~s in zhc
                    devel€spmcnc +~f any gaming fac~Sit~+ys ~t t~tat site.

        ccian 3P4~   The Muscagec Natiotz rccarnmer~ds chat the ~3urcau c~£ Indian Affairs deny approval
                     for any contract or c:onu~act agrcczzsents svhic#~ wou#d disturb any human resnains oz
                     cu~curat anif~cts at zhc Hi~lst~ry Cxrc~und sire in ~ctumpka, A1~bama, arnd co deny
                     and metigation ptasz urhictt includes ~'he discR7rhancr. of~ay human remains nr cultarat
                     attifacrs.

                     "ISTL~ IV.       PRO`~C3N f:~F GtJT..'T'tIR}~Z., I-iiSTt)RiCAL, ANt7
                                      tIRCHAEC7Lt~GTCAL RESOLJ1~CEa ~SSc~CIA'T'~;D "WTTH
                                      HIGKC}R'~' ~R{JL3PdI), ALA.B.AM.A

      5eerian 401. Special Findings,          The N~tiaaa] Counczl finds:

                     A,       it is iu Xhc incuests of the Muacogee ration rc~ pzau~ct the cuicural, historical
                              and archccslogiea# resources assacaaud ~wich Hickory ~raund. Aiabam~,
                              bccausc ofins impa►-cancc as the d7ug ter rows erf Kusa Town, its ~mpozxarsce
                              as a leadi~a~ ~hi~c Town of ~►c'~S~s~agcc People, its impnxtane~ as the last
                              Capitol of zee JVt      get I~latiosa cast a~ the Missia~ipp's, and Sts imgrr~*ancs~
                              as an inie~nincnx camp created by chi armies o£ the United Sr.~ces as part of
                              the vioknc remove or our           p~ from A3abama in ~iolarion of vur 'Trcary
                              of I83Z with the IJnitcd States of         ~rlca.
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                       B.      Tha peop3e of the Muacogct Nation who lived ac Hickory Gxound,A3abama,
                               did not abandon that sicc, but wore forribIy removtd in violation of our
                               Treary~ of 1832 with the Unitcd States oFAinerica.

       Secrian 4fl2.   The Principal Chief is authorized co implement the following actions, in consulzadon
                       with the recognized Mekko of Hackary Ground_~cremonsal ground, m preservc the
                       cu3tura(, historical ar~d srchtolc7gica~ integrity of ilic sitc known as Hickory Ground,
                       Alabama.

                       A.      T'o ncgociace io acquire tide in Hickory Ground, Alabama, from the Uniccd
                               Braces in crusrt fir the Poaich Band of Cree[t Indians, OI {I'Of71 tI1C SfbCC O{
                               Aiabasna ifsaid ataae should racovct said properry by aegatiazion or by cnurr
                              anion. Said acquisition, and r~xe appropriatzon of any funds ncorssary for
                              said arquisirion, shaft be sut~jeet ro nc~ apprava} flf the Musr~gee Alacion by
                               C?rdinancc.

                       B.     To fi[t naticrs> undo the Native American Graves Protcaion and
                              I2tguciation Acx, for the remains of two or more Iviuscogoc Nation, Hickory
                              Ground..Tc~:wn, individuals .to ..bG~ rtinrcrrcd is~ d~cir origin~I burial sicc at
                              Hickory Ground> .~Sabama, along with a3i arc'tfacrs associated wida said burials.

                       C.     "T'o file noucts, under the Native Arneri,ran Graves Proeeaion and .,~,.
                              Rcparriation Act, for till rather zrchco[ogzczl resourtcs t~kcn from Hickory
                              Ground, Alabama, co be returned to tlu Muscagcc N~cion, fAr cxaminadon
                              by the people of Hictcory Grnuad Tribal Tawas, or their represcnsacivc, and
                              the Nltkko of HirlZOry Ground CercmoniaC Gresund, rsr iris representacivc, ro
                              dctermin~ whether znq arcifa~cs stiouid be renuncd w nc~ peoglr or officers,
                              or whether rhr Muscogee Nation should be nc~ n4rimace cuscadian of these
                              artifacts. The Principal Chief sha21 make xrrangcmcncs For a recognized
                              mnscum to rakt rcmporary custody of said artifacts until such rime as a uibn3
                              museum is construcccd and in operation.

                       D.     To cake any tither aecion whack 'ss nccrssary and groper for die ~rotrscion of
                              the cultural, historical and arrheologicat inugrity of Hickory Ground,
                              fSlabama, which is consistent with the intent az►d purpose of ei~is Ordinance,
                              in consultation with the Narional Council C:ammicscc on HcaEth, Social
                              Services and Culture.
                                                       P
                       E.     To dzrea the Attorney General ro appeal any dettrminacion that the Hiekary
                              Ground peapie of the Musc.~ge~ Narion zee nax culnually relxud ro the size
                              ar Hickory Ground, Alabama, and chcxcfort the bcn~ciai owners of any
                              culnsral artifacts.

                              The Prittripal Chief shall rcqucst, ~ntlts the 3ntcr-Governmental Personnel
                              Act, xhzt nc~ U.S. Foresc Sc~vice prnvidc a I2{3 dap derail for a culcurai
                              archeologist m prepue a consulting report on the cultursl relationship
                              between nc~ site of Hickory ~raand> Alabama, and zhe pcoptc of Hickory
                              Ground Trsbal Town and Hirk~ry Ground Ceramaniai Ground, including
                              consultation wiih Danie3 Pincon (National 3'ark Service Arehcolagist,
                              5ounc~ut~m .Arnc~oIagicat Ccncerj, I'v'ed Jenkins ~Rxngcr, Fort Taulousc
                              Start Puk, tl~abama}> David Fridcl {5ouzhern Methodist Uuivcrs'sty}, Kcnz
                              Rtilly ($ym~olic Ethnogtaphtr, Uruvcrszry of Tcacas}, and any ochtr
                              recognized ethnologist familiar with the Hickory ground, Alabama, sip,

      Scccic,n 403. Auchorizat'son of c~renditx~res.

                       Mileage and per diem for four members of~-lickory Gmund Cuemania3 Ground and
                       Hickory Ground Tribal Town to be present at the rr-intcrmcnt ofrho rtrn~iina which
                       have been unlawfully and urrligiously disturbed. The members shall be g'scked by
                       xhc Principal ChioE and Hickory Ground Mc~ckn to ct~nduct said servio~s consisrrnc


                                                               r   i,
                                                          ..       { ..
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                        with rht nzd ~ional religion of chose persons ziisincerreci.
                                                                                     `i'~iese 2rt allowable casts
                        undo nc~ 7X93 Comprehensive Budget.

         ENACTE.p by the Muscogee (Cruk) Nacianal Council on
                                                                       this 31st day of Uaober, 2992.
        TN V~'IN~S$ "S~~-TF~2EUF, the Presiding ~fficcr of
                                                           the Muscagee (Cccck) National Council has
        heraco attached his signature.             _               ~~             ~'

                                                           c.




                                                       CIar~nc
                                                          ~} t Clo-u~~peaker
                                                                          ~~~_   '
                                                       National ~ouncat
                                                       2viusco~ce ("seek} ikTation



                                                 CERT#FICATIC7N

       T. the ut~dcrsigncd, certify that the foregoing is a true c~crx°act
                                                                           fzom the minutes of the Mnscogec
       (Creek}I*Iaciona] Cauncil. cnmpriscd ofthirty-one
                                                           members with 2? rn~mbcrs attending this meeting
       on cha 3lse day of fJczaber, 2992, ant! that tfxe above is ire canform
                                                                                iry with the pzovisians therain
       adapted by a vote of 21 in favor, 0 against, Q absrcntinns,
                                                                       anc3 chat said ordinance has nat been
       rescinded ~r amended in any way and the about is nc~ signaru
                                                                            rc of the S~ca~ter of the Nariona3
       Council.




                                                      Lisa 3C.   re, Recording 5ersetary
                                                      Nauonat Coixncil
                                                        uscagte ~C;rcek) RTat'son



                                                   APPRt~VAL
       I, the     'pal Ghie of else Moscogce {Crcek} N~~ 'on, hereby ai~ix my aignarure this i5`
       day' ~~
                      ~* > 1992, to the above C~rdsnancx. l'3C;A32-153, authorizing it to become are
       t?rdinancc under Article 1rI> Stetson VI of the Cansacuuon of the Muscc~g
                                                                                  ec {Creek) Narion.




                                                     Bill 5. Fife, mripal C
                                                     Musrx~gec {Creek) Na~ot~
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              EXHIBIT D
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     tictc~er ~9, 2~l(lZ


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     cfc~ Eddie T'~3Iis
     X83 ~ .Iacl~ pr~z~ s F t+a+d
     Atmore, AI.~ ~fsS~l2


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     E.~st+~r~ Area C>f~ce
     1.~t~r~~u~ sa~'I~r~an ~.f~a~r
     7 ~ Stewart Ferry Pilo
     :ti :~ v lle, TAI ?721~


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     I~~ ekary +~r~unci Tribal T+~wn, key end through its cr~di#icanz~l lez~~ersh p
     1~~$ ~c r ~; ~nat~r+~s b~et~rv, ~er~by file c~~xi ~wvit fh+~ T'c~ar h ~3aa~d end its
     ~~~lerai ~at~~ 1VIaza~c~- ~~ ca~flin~+~ b~~c~w.

     1~, cknry f~rc~und '`real'C~wn i.4 tb+~ owner rah all ~rema r~~ ar c~bject~y
     ~c~~[uc~ir~g hu rnai~ r~x~z i~~~, burr vtx ,anc~ itezn~ ~f ~ca~tur~l p~atr xr~c r~~,
     which have been ~'c~un~ in a~~ ~~stori+c c~~ prehistoric c~nt+~~t ai the si~ke
       ~nc~wn ~s ~Tickory ground,~cacated s+~~th cif ~'Ye~mpka, Al~baxacat~, s~a~ti
     h ls~ ~y the ~.I t+ed S~aa~t+e~ in Tru~~t fr~r the Pc~~r~#~ ~3~~+d ~~c~/car by tie
     ~`'~ reh Bated ~n fee ~ rn~le.

     ~). Hick+~ry round Tribal Town claims this c~wners~~p~ a~ tie l~n~ ad
     +~ c~~da~~~ of tine arsons therein fur ~~, ~nci also as the lineal
     ~~scendant~ v~'the p~a-:~~ns whc~ atten~3e~1 tie b~~ials and ~~t that timre
     ~a~aced ~n~~ it~ert~ wi~hi~ ti~~ burial Icic~#inn, aztd a1sc~ the lin~~l
     c~eseenc~n~.~ c~~'the ct~ns r►~' Hi+c cry round Tr ~a1 'T'~       vvk~o;~e
     p rtic~Iar customs v~ re ~`c~ltc~r~ed in e m~kin~ c~~' burials and the
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     a~dc~itic~~ ~~' burial ~t~+ads, end also ~s fie living clescenrlants of ~ncl
     ~rc~»~nt ~netr~bers of the ~c~litical entt#y then ~ncl nvw knc~~►vn as Hick~a
     ~rt~u~nd "~'ri~ra~l Tovvr~ v~ic~ has an tini~~#erupted e~fe~ce f~rr~m time
     irnrn~m~ria~ thr+aagh tie present date, ~n~ also a~ the Indian "I"r be
     under ~~ LISC~ 3~1~ wvhieh ~s re+~o izaed ~s abc~rig z~~tly o~c+~upying t~+e
     ~re~ in which the c~~,~e is were discczvered, being a traditit~c~~~ trib~i tc~~vn
     of the Muscc~gee (+~`re~~~ lea#icon (a ~"eclera~ly reer~ niz~ed tribal
      avernment] end cntit~ ~ '~~ obset-~e r~t~ar ~ustorns end tr~diti€~ns its ~r~rt
     of ~u~r u~int+~rrupted, urnt~ermi~ate~i and inherent ~av~r~i~nty, u~r3er
     M~cc~ee ec~m~nan law,and u~nd+er Arf7icle ~, ~ectit~n 5 ~f the Musecrgee
     {~r~eis) onst~t~ufior~ o ~.~'7~ a r~►~~+~d fallowing ~pprvv~l of the
     ~s~~re e-y ~f #~e~ In~t+eric~r° p~rst~~nt tc~ th+e pr+avisi~~s of the Okla~6c~~~
     Indian' +elf~re r~ct ~nf X936, n~~clut~ r+~ Seci~+at~ 10 sairi Ac#.

     3}, ~- ~c:kor~y +aGre~~nd Tc~in~1 Town c}~irz~~ ill r~e~a~i~s and ob~je+~ts,
     ~v~ether e~p~set~ b~ int~n.tir~~aa~ eacavat~on ar b~ inat~vert+~nt ~i~c~v~ry,

       }. ~1Ci~kory t~r~~und '~`r bal T'~swn a claims that the ~n~ re site i a
      ~C:ultur~rt Pra~e~rty ~;~ c~~~n~~ by tl~e 1~iat~~ve A~erca~n +Grve~ Pr+~te~ttrn
      ~n+~ Rye ~t~tat oz~ ~~t, that the ~uitural Prc~pwerty is a common property
     cifaid ~clus v~ tc~ f~►e p~r~ple ~f ~Iai~~cc~ry round '~'ribal "~' wn,~~d
     ~~kt~aw~~dge:~ that, althr~u~~a tth .e~t+et~t of ~~ae ul~ur~a~ Frop~~-t~ is as ~~t
       nd~fined, tl~e Cultx~ra~ Property ic~elu+des got r~nly the entirety ref ith site
     c~~►~ed y the ~'~arc~ Baand bust also e~ctenc be~~►nd tie ~►~vner~ hip off" the
     ~`+~arch ~3an~3 in~~ ~~e~~~bc~r n ~tl~ +ownership. ~►ne the once hand, the
     t~~:~►rt +nf the Cu~:ural Prc~pe~-ty Maimed is the cer+~u~or~ial rc~uz~d
     (~a et~mes ca[letl by sc~c~lars a sq~re gri nd,or, by casual c~bserver~,
     ~ ~tc~~nnp round), ~whr+~h is ~f gr m~s~r ~~tural impc~ nc~ to the people
     ~f Hiclkary Ground 'Tribal '~'o~~n Muse c~ 'its histo~i~~l ~gbificanc~ to
     e~~r self-gc~verr~m~nt and try the pri~~ pal religion ref n~~►~y ~f t~t+e Hickory
        ~r~und p~p~+e; hav►°~~e~-, t~~ #ht~ ether Land,the core +~nial ground w~►s
     c~nl~~ tie center ~,~ the cc~m un ~y, and every a~kher 1ca~cat +~z~ within the
     Cultural ~'ra~earty is si~r~ificant becau ~e tuf is relative tocatic~r~ in
     ~~p~ri~n ~+~ the cereoani~l grc~u~~.

      .~ick~ry +~rc~~n+d 'I'r ral '`aw n denirs tha# t yre is s~ny ~vi~i~nc~ that
    ~r~y~ dif~'~~ren~t Indian ~rabe has a stranger cultural retat on~hip with the
    rem~N~ car c~b,~~~ets oar ~° Etura~ Froper than ~o+es ~ ~k~ry +Grc~u~c~
    "~"ri~a l " 'c~wve~,, dear es that ar~y items wcr~e ex~cav~tgd ar removed afte~-
    cc~nsu~t~t~an ~it~ Hickc~~~y Ground 'Tnhal Tows,tl~nies that there is any
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           ev e~c+e cif co uliativr~ waiZta car co~+ent by Hickory CTrounc~ Tribal
           Tc~'t~'ca» +denies that the t~tvnership 4f uny remains andlor +object{s} car
           C'ulturz~~ Property has been egpre~sly relinquished by H.i~ckory Ground
           ~'r~~~~ 'I'nwn, and s~enires that ~z~y right of dos ~ssion his been c~b~ainer~
           by fhe ~'crarch Band ar c~#hers try the vc~lt~t~t~ry c€~r~s~nt t~f an ir~c~ividua!
           me ter cif Hickr~ry Grvnnd that had ~ut6ority of alienaCian ~r b~ tie
           h3~~ p~alitic +af ~.ickot~ ~r+aun~ T~ib~:1 T~~n.

          T~~ Pr~rch B.~~d a~,c~ ids federal Land Nl~nag~r have each faile~3 ~~ ale
          ~c►~ic~     r+eq~re+d by th+e I~~tiv+~ A~meric~n +Graves Prot~~tion ~nc~
          ~tepatriatir~n Act +~f Nc«vember 16, 1990, I'.L.. 1+D1-+~01, 10~ S~'~►'I'., 3C1~~3,
         ir~f~rz~ing ~iickor~ Gr~un+~ Tribal'I'own ~h~t the Parch ~ar~d i~ in
         3~nowirrg pt ession +~f r°eror~ains end abje~ts, w~Ceth~r int~rret~ or expc~sec~,
         ~nci whether ey         ed day nte~ttit~nal ea~cava#~crn c►r by in~dvertez~t
         cii~~c~very, ~o1elY because of this hack of le~s~l native, several p~rsc~ns ~a~x~
         ;advised Hic[cory Ground Tribal T`v~n that we can 4n1~F srurr~ise that the
         P~~~rci~ Bernd is se~~~n~~ using fc~r prc~fifi, car tran~p~r-~i~g f+~r ~~le ear prc~~'it
         the rem~in4 and ~~rjec~ claimed, c~nntrary to 18 ~1~f,~ 11"7~i. We hc,p~ tEris
         is gat tY~e cue, Howe ver, ~ the Pt~a~-c~ ~3and has without concul~tit~n
         uni~~t~rally ~llc~we~ a~n~ human rernairss to tie disturb~r3 0~ ca~e~red ~v
         t~~ ~~ tru~ticr~u of its gaming facility, ~til~taes, ~arici~g car other
         c~n.~tru~t~c~~a at the H~~3~~r ~rouud,.r~lahama, site, it wi~~ b~ cur
         ~osz#iQr~ th~€~k ~►y f~i~~rre fo ~trrify Hic~,arr~ Ground Tr~k~~~ "down and
         ~~n~ult + at6~ us,, ~nc~ t~er~~~ a~=oi~lir~g tic ~trst ~af ~c~~s~lt~~a~,stag-c~#=
         tl~e-ari raondestrucfive examination and evatuat~c~t~, and protecti+~n c~#' the
         human remaic~s anc~ ~iuria~T ~ctic~d~, the 1'+c~rch Band is prc~fifing b~ failure
         bra ~nalcie r~quir~d ~~cpenditures four cousul#~tio~n, exa i~at c~n~ evatuat~r~n,
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        amore reprehensible thorn t~r~ o~peniu~ of a ~rav~, c~nl~ss xt is the removal
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          re~ept €~f our rutture that we believe that t~►is action exp~ases ~►ot only
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        t:~rrs~~nr~, tc~ dau~;er an+d disuse. If eve had been car~s~alted eve cc►~1d ~ia~e




    +,~.t',ei                            `fill                          2i CJJi~?Sd'1J()atitT   L`~i~   4~-2:t@°^13#"3hi
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        v+-ar ea the Pc~ar~h Band that this s~utd never Lake p1~ce, and, wir e,
        that if it were to ~apgen that c ur pevp~e have nc~ ceremonies fc~r the re-
        ~uri~~ of c ur dead,such ev+~uts be d c~utsi€~e th!e experience cif ~hi~
         enerat ~► and t case who came befo~-+e whc~ hive t~~ ht us.

           e have aiscr been told that the ~uriaEs of tour r~lat~ves which were
       alis nterred hive been sett to ~~~ve~irties for "'~cient~fc ~nalvsis." We
       hereby c~bj~ct~ end requ~~t that the Pa~r~~t Band, upon receipt cat this
       ~ia~~n,~mmediateIy ncr# fy flee u~aive~ ries inn c stodv ~ 'the reuaains ~f
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       leac3earsh~p t~f ~-~~ck~ry ~r~ux►cl "Tribal fic~w~, and #fat the Pt~arct~ B~r~d
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       a dependent and.secure m~rr~kuu~ry czar maust~leurn uz~fil cur Ieadearshig can
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       ~Ii~k~ry Gro~t~d Tribal Town reminds the Poarc~ ~3a~td that "'''he
       U~rite~d Stat+~s district courts salt have jar sdtc~ior~ c~v~r anv a+c~i~rn
       t~rou~,ht ~ ~n g+~rsou ~lle~ing a vicft~# ~~ of finis ac# and.shall E~~ve tie
       ~u#ht~r ty to issue such c~rder~ a.~ may t~+e nec~c~ary to ~nft~rce the
         ~r~~i mans ~r~' #has ~i:c~ ~2~ `~.:~~+C 301 ]{emphasis added ." k~ ckc~r~r
          ~~e~z~d Tribal '~'c~wn wail not hesitate tc~ rec~+uest anjunc~ive, d~cisrat~ry
       car ~~u table retiefif n+ec~ssary, nciurting but nit limi#ed to the physical
       r~ ov~1 ~r£ ~~~ utility ~r struefi~r+e #cr certain tie I+ a~ an ~+f any
       remains +~r t~b,~+ect, a~ndlc~r the ~-+~interm~nt ~f h~unna~n re~n~ins within t ae
       ~ rave from which they mere t~ken~ in ~ ~ar~tian and manger and by su~~i
       p~rs+axxs ~~ we ~rna~ +deY~~f~.

      {fin A rid fib, 1~'~2, C':vm en ~s ~ve~e issued by ~ panet t~f members gf #hc
      Aviv cry C:uc~a~c i +pan ~st+~ric ~~r+~s~~v~hvn tin Appr+~va~ by the ~tur+~a~u cif
      ~diaz~ A~srs of the P~t~p~se+d Develv~me~nt at Hi~kvey ~rc~und by the
       'c~arc~ I3~r~d +~f Cr+e~k ~n~ans to deveIarp a ~ommt~nity Cent+erf N~u~eum
      ar~ci Bin ~~m~n a r~#i+~t~. '~'he p~z~+~~ mgt pt~rsu~nt # Sec~i~n ~34Q.+6
      (~►) +nf' the ot~~n~ l'~ regul~tionEs, "Protection of`~3i~tQric Pr~per~ es"(36
      ~~R Part 8l~U ,w ick mplexneut Sec#ir~n 106 a►f the National Historic
      Prese~-va~vn ,z~ct, a~ ~anen~ded(16 USC 47~If}..r#, ed~rally r+e~cognied
      Inch :~c~ True z~~y secure private-sector




   ~3~~f~3                           ? Ct S                       r3G:a5'r.~2td ~ YSt~~3 ~5 ~ tri   ~0-#3Q!-t3Q~i
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       ~nan~i~n~ fQr i~ pra~jec~, but it rr~us# t~bt~in B~rreau ~f ~.nc3ia~
       ~,ft`a r~ ~ppraval within tie Department of Tnteric~r. Recommendation
       nna~ie by this p~rne] were clirect+~d to t~ BIA, taut were i~nvred regarding
       e~etermin~tion of the m ost eu~ltura~ly affiliated Mu~co~ee #o ~lickc~~y~
       ~rc~uza even thou~~i the rnenti~n t~f tfie ~IickorY Grc~un+~ C'erexnc~nial
       ~C,r~un~ was made in tie initial funding request to purchase the site b~~
       mother ag~uc~ w~#~i~ the Interiar Tlepartment. Half interes# in this
       ~re~perty was to b~ v~estet~ tc► b~ M~scogee ~Cr+~+~k) ~ta~ion of Q~lahanna,
       but ^ways n~v~r c7e~rl~ ~iari~ed as t~ ~y thi,~ did riot occur car kvhv ~
       p~rma~t~rtt +~+~ven~~t was nt~t pixc+ed c~ tie deed, ~v~icl~ was brrc~a~ht fr~r
      the fur          t~~' pro#ect~+~tt. The BSA ~S treated the P"~arch Band as t~
      stand done 'I'ri~ from the ~re~ianing and ~~s r~ev~r ~4n~idered that #~+~
      tY]usc+c~ee~ culture does n+~i hav+e bans.Tie major pr~rtio~ ~f the
       N cYSCCr~ee pec~p~~ being f+~r+ci6ly removed to C~k[ah piing seenned o«t ~+f the
      c~a~estic~n ft~r t~~e Eastern ~r O~c~e of the B~~ ~c~ con.~ider in their
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     [~ws were ever triggered ti~roe€~hc~ut #fie Uepartm~ent of the interiflr'
      henries,'I'he ~'hief Et~n4l~~st +~f #be Sautheas~t ~t~e~;a+on cif the ~+Iatic~nal
      P's~r~ ~r~vice, while ~ Prafessor cif ~'iorida State University, rvr~ate the
     Pa~r~~ p+etitian fur Rec:cagnitinn end ~evec nc~tifed the BL4. East car
      V{v'e~t) ~~t the c~th~r Musl~og~ian ~T`rib~l +~~ev,~rnment~ st~~utd ~~ ~nclu~ec~
     in ~th~ I'r+~r~.c oaf deci4ic~n-tnal~n~;. This ixtclividuai also sits rrn the
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     ~~ez~ rep~e~t~dly bin adv ~ecl r~~` t ae Poarch Viands activities, regarding
     the HiGkary Grr~und. Tie strategy ~f the Fo~.r~h .Sand's i'reserv~tinn
     +Q►~"ice hay treen to d~elit~erately avoid ~rny ~on~~iderat c~z~ cif their G~amin
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     practices from the ~tat~ Historic Pre~erv~#~o~u Clffic~(S~"Q)of the
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     t}~e related tea the M~~c+~ee cutture. ~o~v,the P~rc~ ~3~ns~ has
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     ~'reserv~~ion CJi'ficer~ cif the ~I,~ thrtw~h their +~'ha rt~»an and
     Yre~earvat on t~fi"~cec regarding dacatians of burials can ~ e ~-Iickc~ry
     ~~-~►und,~i~h hay Ind t~, ~3I.r~, a~prnvx~ both by the ~`H~''{~ and 13L4~~
     A,~sist~nt Secretary. Tie charge cif violatio~a ~f the Arc a~c~ic~gical
     Resource ~'~-+~►te~tion Ac# crf 1 '19~A~2.PA} was nat iz~ves#igat+ec3
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    Pries r-vation Apt ref 1~7~ provides fir the preservat~~n of hi~oric~l anc~
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    ;~l~~ra~i~n~ t~s the te~'r~i~ c~us~~ 1~~ ~ ~eerller,~1 +ar f~cleral~y ~ic~~a~
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      ~etivi~yy gar pro~r~tn. Tc~ carry rout t ~ purposes c~~ ~h~: Act, HADI'A
      all~nw4 for the t~-ans~fer c~~' up tc~ vn~ percc~t +~f the ~p~arc~pri~tiot~s fir the
       project ttr the 5ec~ret~ry ~f t ae Interior. L~~nlike ~e~t an 106, which
      mandates considera~ tin of historic prope~fies during planning,.H.Allt'A
      ~~ des tl~~ im~►ieme t~ti~n tne~tsur +once a~u a~;~r~+~y decision i~ reached.
      A~"A i~ desi nod to pr+~tect ~r~ch~eol+~; +~stl r+~sourc~es tin Federal aid
      Indian 1~~ds sn~ #o en~~ura~e the exchange of information pertainio~ tc~
      ~u~ ~r~►p~rt es betweea~ the Federal Gov+erntnent, Tribst C~overnmcn
      ~nr~ t~e~e ire ec~lc~gic~i ct~xnrnun~ty. AT#.~'A str~engith~r~s its ~rede+ee~sor
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      including private applicants as well ~s Stat+e, Tribal {3fr~F'R+, part 1)
      and ~'e~3erai ag~nce~, must foilc~w prior #c~ excavafirag ~~ rre~:nnoving any
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        C?ctsah~r 23, 2UQ2


        ,fir. Aran h~i~chell
        Uezi~ed States I~epurt~~ent of tie Interior
        3~~tic~nal Park Se to
        I'reservatican ~Zaikiatves
        iR4~ C Street
        ti~ashirxcran, IJ.C. 242Afl

        Dear Ivfr ?1~it~hell:

        T`h~ Muscage~ {Creek} i~Fatianal Ccsun~il is msk~ng it~quir~ iz~sQ t~~sesti~ns relating
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       the ~4~uscc>~;ee ~+~re~k) Nation as specified in tktE 3~'E~~-F'oarc6 B~n~i Agreement regarding Poarch
       un er[akin~s can r~:s~ ~a ~sn psapenies in imore and ~ic~nt~~sm~ry~ cant es in 2h~ state crf Alabama.

       T crcast yoas xvit~ be able tQ respond t~ ihis r~:t~uest ~s scan as p~ssibl~. T`h~ak ycrzr in ~dv ace ~r ya~tzr
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       Sincerely*>




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                                      BRIEFIl~1G STATE11f1ENT


    PREYA~LED ~"QR Assis#an# Secretary - Indian Affairs                             STATE; Alabama
        TH~UUGi~: I3eputy Commissioner of Indian Affairs

    Si,JBMITTED:          C)ctc~ber I, 2Q01

    ISSUE:        Passible violatit~n of the Archeological Resources Protection Act during site
                  preparation for a gaming facility on trust lands of the Poarch Creek Indians in
                  Weturnpka, Alabama

    BACKGROUND:

       In 1980,the Fvarch Creek Indians {Tribe), then. a corporate entity, acquired some 35 acres of
       land in Wetumpka, Alabama, with the assistance of a substantial Historic PreservaEion Fund
       gran, administered through the U.S. Department of the Interior and the Alabama Historical
       Commission. The property is listed in the National Register of Historic Places as the site of
       Hickory Ground, the last capital cif the National Ct~un~il t~f the Greek I~tati~an in the Creek's
       original homeland. The intent ofthe grant was to preserve the site, hence the deed included a
       covenantthat far a perit~d of2t~ years prohibited any development an the site ~.ha# migh#damage
       its archeological re~~urces.

      In 1984,the Tribe was granted federal recagnitior~ and the land in 1?Vetumpka taken info Erust.
      By 1987,the Tribe was looking into the possibility ofestablishzng a Bingo facility on the si#e,
      so b~riveen 1 88 aiaad 1993 they sponsored three(3)ar healo~ieal su~rve~+ and testing operations
      to deternune if some pc~rti4n of the site could be developed without damaging archeological
      resources. These studies found areas where archec~lt~gical resources were less dense than in
      ethers, but nQ area where such resources were tatal~y absent. 3Vlorccaver, the site vas fQUnd #o
      contain Indian burials.

      Efforts to develop the site apparently ceased after 1993. Then,on September 19,2001,the BIA
      Eastern l~.egional Director contacted me about a report he had received abou# possible ground
      disturbing activity at the Wetumpka site.

       T3'hy ~rzight this be ca,f'cc~n~cem to the BIA? The covenant prohibiting devela~rnent that might
      damage archefltogical resources at the Weturnpka site elapsed at the end of the year 20001.
      L3~spate this, tie property remains subject to thy; Archeolog'cal Resources Protection Ac# of
      1973{ARPA}because Qfits trust status. ARPA is a criminal statute that prohibits anyone from
      excavating, remavin~, or damaging archeological resources can Indian trust lands without a
      federally issued permit. The F3IA is responsible Eor enforcing A.FtPA on Indian trust lands.

      Has ground disturbing activity actually taken place at the site? ~''es. See the digital
      photographs flf activity on the site #aken by the Alabama State Archeologist on September 18,
      20{~ 1. ["These phc~tu~raphs are a##ached to the e-mail transmitting this Briefing Statement.]
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        Do isle have reason tc~ F.ielie~~e that archeoivgical r~sour~es at the site have been remraued ar
        dczmag~d"? The Tribe his its sawn Histc~~ic Preservation Qfficer. He informed me fhat no
        areheol~igical resources at the site ~~~ere bezng affected. In contrast, the archer~lc~gical repcsrts
        Qn the site indicate that there are no arias that are completely free cif archeological resources.
        In adciitit~n,the Alabama State Archeologist plus two other professional archeologists employed
        by the Mate an~i familiar ~,vith the site told m~ that tl~e activity they r~bserved was indeed likely
        #o hive ~ffe~te~i archealc~ cal resources. The BIA can Qn1y determine this through an ~sn-site
        inspe~tc~n.

        8~~~', tsr~'t this Tribe err~pt,fr~a theper~niirequirements c~fARP,~? A~ Indian tribe that his
        its c~tivn tribal law {as dc~e~ this one) regulating the excavation Qr rem+~va~ cif arcb~ol+~gical
        re~our~es tin its tribal trust Inds is not required t~a have a federal permit fc~r such excavation or
        re~naval, Neither are its members. Them are, h+~wever, at least three things #o consider in
        interpreting this exemption,

           (1) Whrte the tribal gcrv~~rnmen~ its~If~nay not ~~ed a federal permit, prier salicitc~r vievr~
           have held that individuals whcr cl~ the excavating r~r remtaving must hive federal permits,
           unless they are znen~hers cif the tribe.

           {2} The deferral tc► tribal I~w is far excavat c~r~ and removal in accordance with the purp~uses
           s~f ~t.PA -- %tee. furthering archeol~ ical knr~u~I~dge irz the public interest. An}rthing else
           cc~r~stitutes site darnaga, and #lie deferral may ~c~t apply tc~ "damage."

           ~3~ 'Tl~c Tribe mad nQt have fc3llc~wet3 its own permitting r~c~uirerncnts in this case. Ifsuch
           were tl~e case, the .t~RPA requiremeni for a federal permit mad c~rrie back ir~tt~ play.

         W~~at ~a tribe has its awn, National Park Seruice-approved, Hfstorfc Preservation ~ cer?
        Approval of a Tribal I-~ strsric Preserv~tir~n C7fficer {THPt~~ is related to the ~7ational Historic
        Preservation Act. ~t has nothing #a tic► with ARF'A. ~.ItPA,is :~ criminal statute enforced by the
        fed~rat government. A tribe may ~3esignate its ~'HPt~ to issue tribal arc eolr~gy pezr~its ~r t~a
        enfar~ce tribal laws sin archec~lc~g cal rest~urces, but nett as ~ fi~.nctit~nary fc~r the federal s#atute.

   BIA PUSITIflI~1: The t~nl~ mason for the BIA to beco~rte 1~'1Vt7IY~{~ W1~Yi Ct32T£IiI iIC~IYi~}T ~t
   '~~ etumpka is the possibility that archealc~gi~al resources have been remc~v~d car darn~.ged in violation
   cif AR.PA, such a violation might have occurred if earth containing archeolo~icat resources was
    mr~ved on the site by a heavy equipme~.t aperataz~ vs{ho was nest a merr~laer ~fthe tribe and who di~i
   riot have a tribal or federal permit. Nloret~ver, given ifsuch a~ operator did have a tribal hermit,the
   permit might ncst meet the purposes ~fARPA ifthe t~peraic~r weze na~t a t~ualifi~d ~-cheol+~gist.

   'There appears tc be enough reason to believe i~ this ease that an archec~lagical site may have been
   ~anna~ed in v viation of AR~'A. The formal procedure is fir an investigator from BIA Law
   Enforcement and a BIA archeologist to visit the site to determine if a violation nos occu~~ed and,
   ifso,the dc~ltar value ofany resulting damage. Due to tie passibility ofon,g~ing ground dis#urbance
   a~ the site, this shc~ul~1 be done without dela~r. 1fwe clv ~~c~t investigate #hfs case. ~os~ible vioTatars
   v,,~'AI~='~ k~vharn eve dt~ inuestigate c~ulct claim sve are applying Ih~ I~ztiv arbitrarily and capaciously.
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                                                                                           a         ne
   TKiBAL PC)SiTION: The only indication I have ofthe Tribe's position comes from telepho
                                                                   He  respond ed with hastiIity to my
   conversation I had fln September 27, 24fl1 with their THPO.
   request for information abe~ut wha# was happening at the site, saying it was the business of no one
   but the Tribe. Tribal taw enforcement ~f`ficers are guarding the site.
                                                                                              g they are doing
   Niy impression is that the Tribe claw not believe that ARPA would apply to anythin
                                                                                    to inspect the site unless
   at Wetumpka, and that the Tribe wauid not allow anyone from the BIA
                                                                                                  ation. Ifwe
   forced to da so by a federal(BIA} law enforcement officer as part ofa formal investig
                                                                                                  e to counter
   c~t~ investigate Lhis case, the Tribe rs likely try strongly protest and to seek legal recours
   our cxetron.
                                                                                                            a
   RECOI~iMENDATIONS: Notify the Tribal chairman that the BIA has reasr~n to believe
                                                                                     a BIA law enforce  ment
   viralatic~n ofARPA may have occurred at tiVetumpka and tYiat eve are sending
                                                                                         This investigation
   officer and the BIA's principal archeologist to conduct a formal investigation.
                                                                                                tha# ARPA
   may well conclude that n4 violation has occurred,~r even that circumstances are such
                                                           ency in enforci ng the law.  We should  approach
   does not apply,but is necessary to the BIA's consist
                                                                     if a violatio n has occurre d, it is not
   any investigation with extreme caution, ha~vever, because
                                                                                up being implicat ed.
   entirely c ut cif the questit~n #hat individual Tribal members could end
                                                                     Work number Room number

   PRCI►GRAM CONTACT. Dt~nald Sutherland                                Ztl$-4791       ~#S~1-MIB
                      ~r~heotc~~;istlFederal
                      Preservatign Officer

    cc: Eastern Regional Director
        Director, Office of Trust
           Responsibilz'tiea
        Mary Anne Kenwnrthy
         fJf~ice of the Solicitor
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              EXHIBIT G
           Case
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                                                                                                                                                       Yom' V i 1 j


     Tease use this number
     when reEcrring to this gemiit                                                                                               ICI ~t~I7'n 1941 (5ept. ~9~~)
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                                 UNITED STATES I)EPART~~LEN'T fly
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    T~ :.induct work upon public auc3 Indi
                                              an i~cis owued> conirolIe~d or held trus
    ;:t The .~rchaealc~gical Resoszrres Prot                                       is      t by t2~a Department of the Interior
                                             eccian Act of I~3'79 (P.L. 96-45; 9~ Stac                                          under'.
    7},                                                                                 , 7?i, 16 U.S.C. 470aa-mm) and
                                                                                                                             iu rcgvlauons (~3 CFR
    ~ rn~ ,~zquicics rtu of 1~a6 {P_z~. s~-2fl4;
                                                      34 Scar. X25, iG U.S,~. d31-~ti33} and
                                                                                                a`ts r~gularians {43 CFR 3}.
    1. PcrmiS issued tc~: Aubwg L`nivcrsicy
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    3. _Vamc, address end official status of pers
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             a. to g~naral charge: Io~ri" W:Cortser
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                                   Ai~bu~~nUn  iverairy                                      Crsig 3haicinn,lz,      Auburn Ctn►venity at Mvncgomery,;°
                                      auburn, AT. 34845-5209                                       R~i~c Ov~3, Anbum U'nivcrs~itq, Aubu                L
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   ~#. Activity at~thotf7~c#: F~ca
                                   ~ation, collection and uucns~vt scudy.af
                              Proposaf'for Phnse BI.~rchicolo~icai           a spccif~c ait~, ar described in thn arut
                                                                                                                       ehed appIicatian; Scope of Wack and
                                                                     Tnvesti$attc~ns ,.. (etc.?                                                        ,
   5. C1n laces drscribed a~
                              fallowS: A pordou o~ttr Hickr
                                                         c     ~ry cirox~d proporiy inca~d is the
                                         near Wezvatplw, Alabama; held in                            sass li'? Saccion ~~, 7owuship I8
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                                         attached Swipe of WQric.                                                     ch Craek ind~ans_ Shawn an meg
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  t5. For pericsd:.~~rit IS. 20+~~
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  far permanazu prescrvscit~n;                                                             znatenals collected under this pern
                                     {A copy of a current, valid cura                                                           ~i~ wi11 be depasxted
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  8. Special coudiuflnss 'This permlt,
  19'T~. snd ~~v regutatinns (b3              as ~hec3tcd ab~~e, is s~zbject to
                                                                                  zho provisions o#' tine ArchaecaIogi
                                      CPI 7), or ~tzc Antiquities Amt of                                               r.~l Rcsouiccs Procectfon Act
 CFR 251} an w Ir~d~an 3anda. A11                                          19 16, ic$ regulations (43 CFR 3), and                                       of
                                            perzuirs arc sub3ect co chn prgvisio                                       interdcparrmental regulati+ans (25
 of 149fJ. the r~pul~.i~rns for tIla                                              ns of the 2+7ativa AuieriCan Graves
                                         curarion of FedesaLty-~,wnzd anti                                              Prc~t~ct~on and ttepatriatzau Act
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                                       rsm sf~e,                                                                 ectioru (36 CFR 79), end the spec
 4. D~rtli.min~zy r~por~: 'Within                                                                                                                      ial
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                                    represrsuative phc~ta           d listing ne6y and si~ni~ZCant coii               report of work perfozrs~d u~3cr
  Princigsi .~.i-ch~.c3ogis'~«ierni                                                                      ected
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  &urau of t~d~an Sffaitu, t 8~4 C rvatir~rc 0#~ac~r                                                                                            s# to:
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'Phis information is being                                                                                  A~t1r~t
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                        xivt, Thzs informatipu will bo                                         rc~t e+~      dnii~i`'~e jurfsdiction of the
regvlat~,ry raquiremcnts and                              used to ens~u-c that chc work was
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 The public zeporting burd                                   ulated in cha pernut. Resgon.~o to                              statutory and
                            en for the prclinzinary znd fina                                      thu roquest is required to o~rain a
r~.Vicw-ing instructions, sear                               l repo                                                                   benefit.
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Duc,z comments regardin                                          ttring anti mainca~ning d.zt~, end                                        for
                             g the burden estimate or any                                           coznpiecing arsd reviewing the repo
Nai~ona3 Park   Service, 2&i9 C Street ;~I.W,,                other aspect of this foz
                                                                              m t~ the Information Col2ccti                              rts.
~.ffa~s, t3f~ce of Manage                      Room 3317, Was~ingtoa, D.~                                   on Cicuaxice C~fficcr,
                          ment and Budget, Washingt                       . 24240 and the O~#'tce of Info
                                                    on, Lt.C. 24509.                                      rmation anti Regulatcary
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    ~~T. {Cvi'~Tti'YUED) Special conditions ar         °r:k~cl (.`~C} as apprapriatc to .fvs permit:

     a. ~        'T`his permit shall ~o~ be e.~cciusive in oharacter, and them is b~scby rescrv~3
                                                                                                       unto the landowners cue right tt~ usa~
                  perz~%t nc~ use flf said !and or any pat't thereof for any purgosa.                                                            i~asc ter

    b,           C3c~er uutiturioas n ay be eu$aged in archeological research in the
                                                                                     general arts covered try this ~~ermit. In case :Here
           T     conflict with respeet ca a site nac &pecifieally designated ifl a permit                                                 sbouid be
                                                                                          , the par-rines concerned shall rca~:h agreement
                 thetnsetves as to whzch shall worl~ the site.                                                                             between

    c, .`^       T'~e Department pf the Intarior, including its bureaus and empic~
                                                                                        yees and the iandowncrs and their grantees, shalt
                 blameless for any and all events, dee~c3s or mishaps, r~garritess                                                            6o hcid
                                                                                   of whcthcr or not they arise irora operations under this
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    d. ~         5uch gusdanr,~ arsd protection as is consis[ent with duties of
                                                                                zhc Department of the I¢terior vffc~ial in charge of the
                 afforded tha permit holder anti his garcy.                                                                              a,Yea will b~

   e. X.         Transportation in T7epastmesrc of ~c Interior vehicica ~ano
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                 Depattxtteni u involved.                                                                                               ezpensC k0 the

    ~, x         A.ii cysts sha11 be tame by The permittee.

   g. Y'         Ezcavatz~u or zcmova! of any N~iive American human
                 parrirnnny zriuSl bt jtccx.Cdtd by COI~9tt                       remains, funerary objects, sacred objects. ~xzd
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                 tYatiVC Hawaiian org3fi12at3an, Consu                                                               flf the appmpriait Indian tn`b~ ar
                                                           lut3on shnuid ba conducted wit~i thG Iincat dcsccu
                ~mcricsa npresoutativ~, and craditio~ raligl                                                        ctauta, tuba] land Ctrs, Nasi.ve
                                                                       ous leaders of atl Indian cribs and Native
                :c~saasbly be assusnrd to be culturally asaoczated                                                     Hawaiian o=gantzatinns ctzat cut
                                                                        ~vitk tha ~uTtiu~l luau or. if ~t cultural affiliat'son
                rr,.~.sanabiy ast~:xtaincd, nom whose judicially escabl                                                         of the objcets cannot b~
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  h, x          AU accavarrad areas shaI! be rescortd by fillin
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                condi~fon as is praaicablo.                                                                                 aria in 3s near to r~riginai

  i, ~          1"hc permit~ec xh~21 conduct all operstioc~ in
                                                                such a m~ucr as to proveni the erosion of the lane[,
                resaurces, and dama~o u~ ci~a wstexshed, and do                                                             poiluaon of the water
                                                             ca    nit things nxc~ssary ~o prevent vz rcdace [o c}ie
                the Iaads.                                                                                           fullr.~t e~crent thz scarring of

     ,~_       iilaay findings of m.inai or praecssad rnec~i
                                                             s ar other tressure or crcasuse Lrovt in the
               r,.~ciusivo pmperty of tha landowners, and                                                 area covered by this paretic arc the
                                                           shall not be disturbed or removed from the
               fmm the T7epartment of the inttrlor.                                                    sits witha~t sgeci~c written permission

 lc. ~          Twv roples of tha final report, i cotupleiCd NTLS
                                                                      report dcx,'ut
                                                                                 ueiltaiicm, f4rnx japiianal form 272), and
               for Listing in shQ National Arc~coi4~icai l3atahase                                                             rr..quircd information
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               submittal t9 tt~a ofLtcc issuing the permit:                                                                  Park Servica will ba
               ?rortctuscs for submft~Sng the rcquircd tnfoszztacia
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               sup~rintcudent in et~arge of the area.                                                            d tic obtained from the

a.. ~          Hc2'arc undeztaking any work oa Lauds suLs~i
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               ciao t3fftce of tea Stan Diraccar and from erisc Bl.i~i                                                      shnuid be abra3nez3 tYorn
                                                                       Di~crict Officer in direct charge of the area c~ucarned.
o. ,,,_        Hofor~ tux~erLakiR~ aAy work on lauuds adm3nistczcd
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               office of rho Regional ~ircczor and
                                                       from tha Retugc Mans~cr in charge at the approp
                                                                                                                                be obtained from the
               Possession or use of fireazms in such ar~+r is proh.~~                                             riate Fish end Wildlife RafuYC.
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p,
 , 8tfnre undtrtaking any work on
                                          Indian tribal iaztds or on individually owned trust of rtsizi
     be obtained from the bureau of Indian Afiai                                                        cted Iariiaa 2aszds. clearance st~au3d
                                                      n official having i.snmadiaca jurisdi~doa over chc propercy.
q. ~ t~tt~er special condicic~ns contiaueri on astached
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                                                                                                 ~AY 2 ~ 202
                                           RE~'ISE~ REPORT
            IN61'ECTI+C~N t~F Ct~NS'TRUCTI{JN ACTIVITY C}N TRUST LANDS OF T1~£
            PC1AItCH CREEK T~tDIAI~+IS, WETUM~'KA,ALABAMA,TU DETERMINE IF
             SUCH ACTIVITY MIGHT HA't1'~ QCCASIOII~+TTEU A VIOLATION OF THE
                  ARCHEOLCJGZCAL REStJURCES PRC}TECTIOI*I A{~T 4F 1979

                                               SUar~zrr~v s~

                                        Donald R. Sutherland, PhL?
                            Principal ArcheolcagisUF+ederal Preservation Officer
                                          Bureau ofIndian Affairs


    11~ :+~1i~ i    a

    This report revises a r~pr~rt +~fthe same title, originally submitted to the Bureau cif Indian Affairs'
    {BIf~} Eastern Regit~nal Director in Uctvber, 2001. The revisions are in response to a letter of
    January 28,2UO2,from Craig. T.5heidc~n,Associate Professor,~fAnthrapology,Auburn tJr~iversity
    Montgomery, tea Thomas Maher, Alabama Mate Archaeologist Ms. Sheldon painted out that the
    map location sh+~wn in the report fc~r the ground disturbing activity on Poarch Creek trust lands at
    Wetumpka was incorrect. Althc+ugh 1~Ir. ~held~n was right about the error,the ic~catir~n he gave far
    the activity was alsti incon~ct. Thy actual location, as shtswn in this revised report, was provided
    by the Tribal I~~veltaprnent Planner far the Pr~arch Creek Indians,Joel Lambert,on March 28,2t~U2.

    The corrected locatit~n for the grpund dzsturbing ~+ctivity on I14 acre of Indian trust Ian@ is, as
    described in this revised report, in an area where archec~lcagical resources are more abundant and
    human burials wore proximate thau the Ic~catit~n identified in the original report. To establish a
    vic~latior~ ofthe Arche~logzcal Resources Protc~tiQn Act(ARPA~ or ofthe 1Vative American Graves
    Frc~tecfit~n and Repa.trzation Act{NACrPRA),however,it would still be necessary to show that these
    archec~Ivgical resourr~es or burials had been r~rnoved or damaged,and.that they had been remr~ved
    ~r damaged~this particular activity. With respect to these factors, neit3~sr tthe relative abundance
    of archeological resources nor the proximity of burials changes the findings 4f this report.

    CHRON(7LQ+G~'

     ~.gpte~aber 19. 2QU l — Contacted b~ the Bi.A~ Eastern Regional Director about a rept~ri he dad
    received about possible ground ds'siurbing activity on test lands of Lhe Paarch Creek.Indians in
     W~tumpka,Alabama, The laxxd coc~#~uns the site c~fHickc~ry Ground,an historic Greek Indian town.
    'I'he property is listed in the National Register of~-tistaric Places.

     eptembe~ 24,~2~0~ — Ccantacted(after unsuccessful attempts rrn Sep#~~ber ~tl and 21,2401)Stacy
    Hathom,Staff Archeologistfar the A.~abama Historical Ct~mmission,for any inforntation she might
    have abou# such ac#ivity. I did this because her c~f#ice is Iodated in 1Vlontgomery, Alabama,some
    15 miles from Wetux~capka, which put her ire a convenient position to provide direct professional
    observation of the site. She informed me that the Alabama State Areheoiogist, Tom IVlayer had
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    observed ground disturbing activity at the site on ~epte~nb~r 18,anct had taken digital photographs.
    She e-rnail~ me a selection ofthe photcss taken on Ssptcrnber 18, 2t}~31.

    — Lahr phis day,Team:Maher called one to des~`ibe what he had abs~rv~d. Bath he and YVIs. Hathorn
    +were convinced that the ground disturbing ~etivity had affected archeolo~ieat r~source~ at Hzckt~ry
    Ciroun~l. Fur further ec~nfirmaiion, I contacted a pr+~fessianal archeotog st employed at Fort
    Toula~se Stag Hip#uric Site, lc~catcd near Wetu~npka. fie, tc~o, a~i r~b~erved the ground d~stuz-bin;~
    activity and beizeved it likely to Dave af~'ected archeological resources. Ida not recall this
    individual's name, nt his asscsciat~, Crrc~ It neh~rt (sp•?), farmer Staff Axcheol~gis# with the
    Alabama ~Iistc~ricai CQrs~ issio~, vsras with h~rr~ during the conversation,

    IN SUM: ~y the close of`business azz eptemb~r ~4, 2t}{}1, it agp~~red to me to be possibte that
    archeolcsgi~~i resc~urc~s on ~~dian trust lands nnight have been reznc~~ed or tlama~ed in vioiatit~n t~f
    the ARPA.

    Septem ~r 25.E 2 01 — Consulted with Mary Anne Kenw~rthy, Attorney, Indian Affaixs Divzsic~n
    ~epart~nen~ cif the Interior, t~#~ice of the St~~icitc~r, tt~ d~i~~ ine if a vialatie~n t~f ARP.A, air ether
    federal l~ujs was l+~ ally possible in the cant~xt presented. We concluded that tl~e only way to b+~
    certain whither a violation had. c~ceurr~d was ~c~ visit tie site.

      epterr~ber26 ZC}0 — Cc~nta~ted 8i11 Day,Trit~al Historic Pzeservati~ Q~cerfir the Poarch Creek,
    to c~l~tain details an the gr~ac~~ad d ~t~rbi~ activ at Weturngk~,tc~ determine i~'~ny c~fthe activity
    n-~ ~ht hive requiresi ~ tribal car an AR~'A permit, and, if`s~,to learn ifany permit dad been issu~ri.
    He infarme~l e ~(1) that as far as he knew, ~~Q ar~;he:olr~gi~a1 r~s~urces bati been excavated Qr
    ren-~t~v~d frcam tt~.tst lards, but he vas gt~ing tt~ ~Ietu pica to deterrrn~:in~ if this was so; and (2j that
    hs had nit issued a tribal are ecwlcagy permzt, nc~r had he review~tl any application fc~r an .AR.P1~
    permit in connecti~~c with ~e gr~~,zznd disturbing ac~iv #y. He alst~ intimated to one that the Tribe
    would nc~t welcorrze any outside investi atic~n of what he d~sc~it~ed as a 'I'rit~al utter ~i chat the
    '1"rib~ dad Tribal police pasted tc~ k~e~ ec~p~e {which I supposed tQ include the B )cuff~fthe szte.

    ~ept~~ber 2'7. 2041 — Consulted u~it}~ Mary Aa~ne Kenworth~ over Qgtions for nvestigarang tl~e
    situati~an at Wetu~z~p~Ca. 'T'E~is situation vas that ~e had r~;as~an tt~ suspectthat archeal~gical resources
    rna~ have been damaged,or removed from mast lids,by a nc~n-Tribal c4t~structian cantr~ctc~r who
    did nit have a Tribal arche~Iagy car a~ ARPA permit, bit that we would not ~e a1lc~we~3 can site to
    investigate informally. (?ur ~sgtic~ns were(1)tc~ gc~ to't~etumpka azzci view the ground c3is~urbing
    activity wi~c~ut entering the property or (2) to conduct a fesrrnal inve~tigaC~Qn ~vitttt BIA. Iaw
    ersforcement, vvh~ch would fflrce access tQ t~Ze presperty. Thau~h we did naC prefer c~pti~n {2), xve
    decided to discuss the situation with BIA Law Enfe~rcernent.

    S~t~mb~r 28.20(}1— Briefed ~A Lair n#'orc~ment, aE~ta ~e ~ l~d~e of as~istaz~ce, aa~d began
    planning far travel to'Wetumpka fc~r the Purpose ofcon~uet~ng a fo cal, A~t.PA investigation.

      Briefed Deputy C~ammiss cr~~r ofIrrdia~ A~'fa rs c~z~ thy: s~tuat can ~tnd c~~atinns, She believed the
    Assistant Secretary - Indian Affairs should c~ec~ri~ ~c~w tc~ prc~cee~ ern the matter, so asked me to
    prepare a briefing fir hirn, to inct~c~e ~ rec~mmendat ern i~aat he contact the Tribal Chairman
    regarding a formal ARPA ir~vestigatan.
   Case
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    October i,2t~{~ 1— Cc~ntacte~ b}~ Brian.Pogue,Eastern Regional Assistan# ~tirectar,tc~ inform me that
    a Iaw suit an Weturnpka hid been ~l~d ag~ir~st the ~'aarch Creek and that the Tribal Chairman,
    Eddie 7'uliis, had invzt~d s to inspect ~e site. This occurred before the above referenced briefing
    reached the Assistant .~iecreiary, and opened the way for us t~ visit the site withvui involving BIA
    Lary Enforcement.

      ~tc~ber 2 20{l1 —Made arrangernen~s fr~r navel to "~etur~~pka.

    ~~tcber 3, ~{lU 1— En rc~n~e to Wetum~ka.

    +~ctober 4.2 01 —Met on tie ~'c~arc}~ Creek tz~ust lands a# ~'eturnpka a# about 11:3(? a.m. with Brian
    Pngu~, ~~Idie 'T~~i~, Bi~i ~►~~, ar~d a tribat admministr~tive assistant aid ~h~ triiaai att~rr~ey, yvi~os~
    names i dt~ not r~eall. I~nspea#ed grt~und disturbing acti~~ity.

    May~2b,,~2{3t12 — Repcart revised..

    FLINGS

    1.        Almost all ~ the grauud s3isturbing activity that had Y~een re~rted at Wet~mpka occurred
    ~n fee land belc~n s'r~g to ti3e Po ch Creek. This land is an apprrsxi a~ely 5t1 y~.rd-wide strip,
    bordered on the north by the trust larjd and cn the south by a private dev~elopnnent oaf mul#i-unit
    ~ondc~miniums. According #a ~I~air~nan Tn~1is3 excess dirt fr~ the ~ot~struct an oft~ie private
    developm~~tt was deposited withaut the Tribe's permission can the fee Iand in the mid I990's. The
    grc~uz~ci disturbing ac# vity an tl~e fee ~an~ c~n~rsted t~f stri}~ging surface vegetation, spreading tike
    deposited dirt over the property ar~d evening the surface, The Bound elevation ~fthis property is
    noticeably higher thin that a#'tihe adjacent pragert es. (See t~ttstachrr►ent 1, phtitos.)

    2. 'The a~ly activity that occurred sin trust la~~ was con~aned Co an ~pproxim~tely I+C~~10~ ~r~ot
    square area {~k~ou~ lI~ acre), border+~d opt the south side by xhe fee l~:nd, ~Jegetatian aces sting caf
    fc+ur year~ld scrub trees was first cleared fr+~r~ the area, then, according. to Chairman Tullis, an
    approximately 3 foot l~.yer c~~" fill tal~~n from the fey Viand was s read and leveled over the area.
    While I did ns~t conduct tests to verify tie thickness ofthis fill, the area is c3easly elevated Ibuilt up
    above the adj~ee~t trust i d,(fee Attachment 2,lowerp~otc~.} 1'~Tc~t~uithstanding,fc~r reasons staffed
    in the next paragraph,the thickn~;s~ flfthe fill mattes little diff~r~nce with aspecttv ~SOSSible daunage
    t~ arct~ec~lagical r~scrz~rces.

    A metal buildkng consistzng ofsix 6t?~12 feat,adjoined ~nobil~ units was moved can#o #1us prepared
    area an trust land. `T't~e units rern~in can their wh~~l~d carriages, which are fizrther supported by
    cinder block piers can 2:~2 fool flat concrete slabs that ire resting o tie surface ofthe f~11. Neither
    the wheels nc~r the slabs supporting the piers penetrate znc~re than four inches intcs the ill, and they
    do not penetrate at all i~~c~ the c~ri final girouz~d suz°~ac~.(Sep ACt~ch er~t ~, phr~tc~s,} In fact, even
    if tt~e building site wire neat ca~vered with fill, the piers would nc~t penetrate through the aiready-
    ciisturbed Eby cultivation, previous archeological test n~,etc.) plc~u~ zone.. Archeological testing in
    ~rtd adjacent tt~ the ar~~ has shcawn ih~. pl~r~r zt~ne hers tc~ be ~t least 8 inches t~iek.

    There has been nc~ e~xcav~iic~n relating to utilities, car for and ether pur~sose can the trust land.
    Acctardit~g tt~ Ghairrrman Tullis, parking ic~t~ and ~;rt~und disturbing activity ~'c~r the connection of
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     utilities associated with the building will ail be located an t#~e fee land. A tibile construction office
     and a dumps#er currently located near the area are also an Fee land.

    3.     Infortnatic~n or► the nature and ct~ndition of archeolc~gicai resaurces previously identified
    from within the 100X l Otl area of trust land comes from the foIlrawing sources.

            Mueller, Diatre Silvis. 1~~~, Report az~ the Archaeological Tnvestigatic~ns ~t the Hickory
            Ground (1EE89), Elmore County, Alabama, Part II. Parcel 21 and a Planned Road and
            Sewer Line.

            Sheldon, Craig T., 3ot~n ~,Cottier and Gregory A, Waselkov. i9$8. An Initial Report an
            the Subsurface Testing ofa Pnrtic n ofthe Creek Indian Property at Hickcsry Ground.

            5heidon, Craig T., Bohn W. dottier and Gregory A. Waselkay. 2990. Additional
            l~.rchaeological Investigations of the Hickory Ground Site, Elmore County, Alat~ama,

    4.      Attachment 3 depic#s the archeological investigations thaf have occurred in the area where
    the mobile-unit building is located. Open lines shcsw where in 1987 and I988 Sheldon,e a . bmke
    the ground surface with a tYactc~r drawn disc and cc~liected the artifacts that w+~re thus exposed.
    Filled lines show where Lhey used a blade and hand +excavation 2+~ strip the plow zone to reveal in#act
    `.features" from human activity. These stripped areas were some 11 feel wide and 11 inches deep.

    'I'he test area{#4)running east-west in the place where the mobile-unit building is located revealed
    twenty pflst molds and two pi#s. {3ne af'the pits contained Creek pottery, an iron hoe, a knife and
    ft~rk and a ceramic pipe. T`t~e other ct~ntained Creek pottery, charred bark and peach pits, faunal
    remains and bricks. Artifacts recovered from the portions of the disced transects crossing the
    building sits are under Sheldon, et,~al.'s Field Specimen Catalogue nunnbers lt?1-143, 112-114 end
    i24-326. Sheldon, et_.al. do not #abulate the kinds and quantities of artifacts far those catalogue
    numbers. Neither do they display distributional da#a for artifacts for that portion of the Hickory
    (around site,except far ~' guru 9in their l98$ report,which shows the density ofabc~riginal ceramics
    from surface collec#ions try be relatively low there.

    In 1990, Mueller ~1992~ conducted tests on the fee lend south ofthe mflbile-unit building site. Sloe
    encoun#eyed and excavated ~ histt~ric per%od house structure and four{4)adult burials between 25
    and 50 feet south cif ttae building site, and recovered abut 15{}Ct smell artifacts from surface
    collections and test trenches in the two Sp~St3 foot units adjacent to the site. Approximately one-
    third of tt;e artifacts were fragments of abvrigiz~~l pottery, and another i~ird, flakes from tool
    n3anufacture.'The remaining third included fragments ofbrickJrnortar,glass,metal,and fire-cracked
    rock, plus snxne 3~ funciio~ally defined objects. Two cif these were gun flints. The rest were
    unspecified stone "t+aols,"

    5.     'i'he mobile-unit building is clearly located in an area ofthe Hickory ground site that is likely
    tc~ contain important archeological resources, Despite that, there is no physical evidence tk~at
    archeological resources were remt~ved from Indian trust lands by thesitingofthis building. ItwoUld
    be virtually imp+assibie to end artifacts that could he shown to have t~nce been located within the il4
    acre prepared for the building, A22+1~D to have been removed by this preparation activity. Both are
    prerequisite fc~r establishing an ARPA vic~tatifln,
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     There is aist~ ncs evidence that archeoIo ical resources in the area where the mobile-unit building is
     located c~vere or zn~y be damaged. Because oft~~ layer of fill, which t~es#s can top cifseveral inches
     csfpic~~ zone soil,intact archec~Ingical features located below the plow zone wcauld not be aff~~ted.
     As nc~ie~i earlier, the piers su~sporting the mobile unit building have small footprints and t3o not
     penetrate even into the ptvw zone. Any archeological resrsurces located beneath the building site
     would became less accessible to res~ar~hers, but nc~t irreversibly so, ~s the mobile units are
     rexrzovable.

    There is, further, nc~ evidence that archeological resources in the plow gone on fhe area v~here the
    mc~bite-unit building is IQC~ted were damaged by #h~ siting e~fthis building. The area had. been
    di~turt~ed by repeated cleasin and cultivating in the decades before ixs acquisition by the Poarch
    Creek,and was subject to intensive surface ctatiecting during previous arcl~eol~gical investigations,
    'I'he only pass big effect an the plow zone from site pr~paraf can would be from the uprooting t~f
    scnib trees while clearing the si#e and fr~r~m the rvhecls of heavy equipmen# during the initial
    deposition c,fill. 'These ~etivit es could have displaced orfragrnez~t~d artifacts, but not mc►re sc~ ttzan
    would previous clearing car cultivation. In any case, as ~ac~t~d earlier, it is ~rob~bly impossible to
    prcac3u~e artifacts that ccauld be prt~ven bath to ~aue came frt~rn the area pr~p~.red ft~r ~e building and
    to have been displaced ter dar~ag~d sp~cificaily try this gre~aratian activity.

     b.       Ti~er~ is n~ detnanstrabl~ evide~ace that x violation of AR~'t1 c~ccurr~d on trust lands oftt~e
     Ptrarch creek Indians in V~ettz p ~a, A~aha~n~,hence n~+ reason to launch a formal investigation ar
     c,tl~er~~ise pursue the ma~Ger.

    '~,        There is no evidence that a v c~latian cif NAt~~'RA occurred an trust hands of the Poarc::h
    Creek Indians in 4'~et~rnp a,A.laha~na, Thc~u~h Mueller(i992~ found four burials on fee land end
    Sheldon,et, al. ~ 19$$),one 4n trust.Iand that vtrere lcacated within 6th feet ofthe mobile-uzut building
    site, nra hurs~an remains car cult~r~l items, defined in 3~tACsP~ f~., were visible in or araunc~ the area
    prepared ft~r the building. Mcsre i~npt~rt~nt from fire standp~ n~ ~f establishing any ~*tAGPI~
    ~~iolatican, none exist tha# can be shown tv have conxe from ti~is area. T~ addition, for the reasnn~
    stab in khe second paragraph ender Finding S~ it is highly unlilrely that a,€~y burials that might ire
    present would have been physically affected by site ~arcp~ra#icon fc~r and placement afthe building.

    Attachment3 shames the lncatir~ns cafthe above referenced burials,g3us those ciftethers €pond tc~ date
    on both the #.rust and fey lands. In addition ~a the sources list~:d earlier,infs~rmarion on these burials
    came froze the following sources=

            tvlueiler, I3iane Silvis., 19'91, A Sutnrnary of the 1~,rchaeala~ical M kigation Completed
            from Jaz~txary Thrc~~gh March, t991,~rfAreas A ar~d C at tie I-iickc~r*,j Ground bite,Elmore
            C~u~ty, Alabarn~:.

            Mueller, L3iane Silvia.. 1992.. R~p~rt an tie Archaeolt~gieal Inve tigati+ans at the Hickory
            firound(2.E89}, Elmore ~Caunty,.Alabama:{1~9t1-i991), Part I: Areas A d ~.
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                EXHIBIT J
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                        ~.Inited St.~~Ces I~eparhnent of the Interior
                                         ar~rc~ o~ -rte s~c~r~~                                        `,.`'"~
                                            WASHINGTQN,D.C. 2Q246                                      TAKE i'R1t~E
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                                              APR 2 1X009


     ~ih~. Jay Gagne
     President
     Aubwn U~zivers3ty
     l07 Sarrrford Hall
     Auburn, AL 315849

     T3e~r Dr. Gigue:

    1'c~rszrant tc~ 25 U.S~C. 3{30'7 and 43 C.F.R 1{x.32(e}, this tett~r serves es notice
                                                                                          to Auburn
    t~riiversity that eight all+     or3s({?~24-ti~27_AXIBL~I} concernuig ~ut>urn T.Jns"versity's failure
    to cgm~ly with the z~equirements ofthe ~3ativc Amcric~n Gx~tves Protection
                                                                                      artct R.epairiataon Act
    (NA~PRA} were fited with the Depaztrnent ~fthe Interior_ Based ~u an
                                                                                   irtvestiga#io~ conducted
    ira August 2C1t3S, n~n~c ofchase eight alle aiions has bey sui~staxztia~xl. Addi#ional
                                                                                              ly,the
    Departcrient ofthe In#erior wishes to a~3vise Auburn tl~iversity t~az the National
                                                                                            I~IAGPRA
    Prr~~ran~ is ready tea ~sszst the University in otherwise achieving NAGPRA
                                                                                     et~mpli~r~ce.
     George Tho~npsvn,a resident cif Mekko,Hickory Ground TriUal Tov~n, alleged that:
         l. Auburn University had coutr~I ofNative A~szerica~t human remains, funec~-y objects,
            sacred objects, and objects of cutiurax patrimony fmm the Hickory Grr~3znd site, located
            in or near Wetutn~ka, Alabamt~;
        2. AAft~r Nc~vecnber Ib, 199 ,Auburn Univcrsiiy transferr~i human remains,fc~erary
            objects, ~aacr~d objects, or objects ofcultural patrin~uny from the Hicicc~y Gmund site
            contzary to tl~e provisions afNAGPRA,which transfer c~ns`titutes a failure to comply
            with the requirements of NAGPItA,as set forth at 43 C.F.R 10.i2(b}(l}fi)

         3. After Novem#~ex' Mfr, 2993, Auburn University had not completed sz~mmaries for cultural
            mat~ria3s from the Hickory C.rround site, which ~ruission constitutes a failure to comply
            wish the req~rements cif NA~PRA,as set forth a2 43 C.~,~L 1fl.12(b}(1}{ii}

         4. :4.f~er November 1~, 1995,, r~r a date specified_in an extension issued by the ~~cretary of
            tl~e Interior, Auti~tun Univezz~siity hacl nc~t completed inventories far human remains from
            the Hiekt~ry Ground site, which omission conskitutes ~ failure tt~ c~omp~~+ with the
            requirements of2~IAGPRA, as set forth at 43 C.~'.R 10.22{b}~l}(iii}{0$22_AUBLTRN};
         5. After November 1 ~i, 1995, car six monihs after c~mp2e~tian ofan inventory under an
            extension issued by the secretary ofthe interior Auhum ~.Jniwecszty had not notified
            cu~t~u~ally af~iaterl Indian #rites ofthe ct~mpietian of its inventory for hurtian remains
            from the Hickory Ground sate, w#~ich ~m~ssian constihites a faihue to comply wiih the
            requirements eafN'AGPRt1,as set forth at 43 C.F.R. 10.22(b}(1}{iv~(0823 AUBLfRN}>
         ~. Auburn ~T~iversity re~use~l,~bs~ent an}~ ofiiae exemptiar~s specified in 43 ~.F.R
            i0.1t?(c},to n;patriate human remains,funezary objets,sacm,~ ot~ects, or objects of



  ~0'~                                              Wed k'~cSri~N ~it~ti1 1                  i~:~,ti    6C~~-L~-~
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                cultural patrimnny fmm the Iiickc~ry Grotmd site tc~ a Iiueal
                                                                                    des~cec~dant or culttsratly
                af.~liateri Indian tribe, which refusal ca+r~stitutes a failure to comply
                                                                                          with the requirements
                ofNAGPRA,as set forth at 43 ~.F.R I#3.12 {bx2)(v)(0824_AUBIIRI~f}>
            7. Auburn University repatriated human remains,funerary ~objecEs,
                                                                                     or ok~jects of cultural
               patrimony from the ~~ckory Ground siie before publas~ing the required
                                                                                              notice iu the
               Pcderai Re~3st~r, which Qmission c~nstitut.~s a failure t+~ co3nply
                                                                                     wit~Z tl7e retirements
               csf NAGP~2.~,, ~s set forath at 43 C.F.R. 1 ~~12 {b}~ 1}(vi)(fl825 A
                                                                                    ~BURN);
            S. Auburn University did nc~t cozasult ~.ith lineal descendants,
                                                                               Inciiau tribe officials, and
               traditional xeiigiuus ~eaciers concerning NAG~RA items froru t}~e
                                                                                      Hyckary Groxmd site,
               ~w3~ich omission ~o,~skitutes a failure t~ comply with the requireme
                                                                                      nts ofNAGPRA,as
                J~1+~ ~Ol~+• Al ~~ ~.~.s~ ~V~~~
                                                  4"f\~11~1 ~V1JY~   6}.~~LI11N~Y

            9. Aubum University did not inform the ~recipiersts ofrepatriated NAGP~tA
                                                                                               items from tie
               Hickory Grc~u~d ss"te of k~tt~wn treatmen#s ofthe items with pesticides.,
                                                                                            preservatives, or
               other substances representing a potential hazard w the obje~is ar icy persons
                                                                                                  handling the
               objects, which ou3issit~n crsnsti#ztes a failure to cc~mpl}~ with.the regi~irer~~
                                                                                                 nts of
               r~~~~~,as set fo~.h at 43 G.F.R x(1.12 @){IXviiz~j{t18Z7 A~CTBURN}.
       The zuvestigsiia~ found that
          1. The Hickory mound site, lr.~aied in ~r near ~etuu~pl~a, Alabama is
                                                                                     ovme~i by the }?oarch
              &~,nd of Wreck. Mans ~Po~rch Band ~Creck);
          2. The Paarch Band creek con#za~cted with Aub~un Universrry tc~ cazry out cultuiat
                                                                                                 resource
              management work at the I-iickc~ry Crrouud site, including the cura~ion ofcui#ura[
                                                                                                 n~teriats
              re~m4ved from the site;
          3. The ~'oarch Ban~3 Creek did not transfer any legaF interest in the culturat materials
                                                                                                   frtam
              tt~e Hickory ~raund site to Auburn Urzi~versity;
          4. Auburn University did not rept~tria~e nr uthecwi~e #rsnsfcr NA.GPRA itemsfrom the
              Hickory ~ruund site in any party contrRry tra the pcc~~visi~ans ofNA.GPF~A.

        Based Qn the above fsndings offoci., Y have made the fflllowing deietminations with resge~i to the
        eight allega#ions concerning Auburn; University's faihu~e t~ ccam~ly with.the rcquireznents of
        NAGPRA:
- ~ %`~     I, A.s t}~e Pc~are~ $and Creek ciid zzc~t transfer any Segal interest in the cultural mate riots from
                                                                                       _    _~._ . .
  -'~           the Hickory Ground site to AuburnUniversity, t~ZC universsty does not have a su~ficcent
                legal interest i~ mny NAGPRA ztems from ik~c Hicl~ctry Gm+~d site to treat t}aem as part
                ofits collection fc~r ~uurgc~ses ofNAGPRA. Thus, Auburn University cioe,5 not or did not
                hive possession ar cou#ral ofNAGPRA items from the Hickory Gra~rni site, as the terms
               "possass-iou" anc _"co       l"_one cief"ined a _4...~. C.Q.R.:1~.2(a}~3)(i} &(iii- C'nns~r4uc~1tiY,
                the fc~tiorving allegations have aott~ sub.4taniiated: U821_AiIBUR~+i,                                ~,.
               082 AUBURN,#~52~AUBiJIt~'+t,08~~# AL7~3U~tN, and #1l3215_AUB~IRN.
        `"r 2, As Auburn University ciid not repatriate or otherwise transfer- NAGPRA.items from t~ze
                Hickory C'rround site to any party contrary to tie provisions o~ NA~PRA,the ft~Ilowing
                alie~ratic~ns have nest been snbstanlisze<i:        0 t~UBITRN,OA2~5_A~3BI7RN,and
               t182'~_AU$URN.




   ~~"d                                                   L~2.fi~Ji~'~ t~zid1 ~Nt~ i l~l           i~;LT    6~~-L~-
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 ~~•~ ~alo~




       You may contact NAGPRA Civil En£grcement C~rciinator T~aviti
                                                                           Tarier, ~t(202} 354-~ 108, if
       yt~u have any questions regarding this matter. If you seek technical assistance
                                                                                       on NAGPRA
       corxiplianc~, ~c~u may cva~#ac~i National NAGPF~ Prc~gr3m Mana~~c SJ~erry
                                                                                    Hutt, at(242)35~-
       1~#79.

                                                      Sincerely,
                                                          r.,
                                                                                ~~

                                                      Wig S     oth
                                                      Acting Assistarst secretary for Fish
                                                       aad ~Idlife and Parks


      cc:     ~'reorge Thompson, Mekko, Hickary ~rrourtd Tribal Town
              Sohn W. dottier,,As,~ociate F'rc3fessar, Department of Sociology, Aut#~roptsiagy
                and Soci~I Work, Auburn University
              ~tc~bert "I'~r~c~wer, Tribal Pres~ervatic~n +~f~icer, Poarch Band +~f Creek Indi~r~s


      En~cicrstnes:   25 LT.S.G 3~t?I-3013
                      43 C.P,R. Part 1£}




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                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

 MUSCOGEE CREEK NATION, et al.,                    )
                                                   )
         Plaintiffs,                               )
                                                   )
 vs.                                               )                Civil Action Number:
                                                   )              2:12-cv-01079-MHT-CSC
 POARCH BAND OF CREEK INDIANS, et                  )
 al.,                                              )
                                                   )
         Defendants.                               )
                                                   )

                             TRIBAL DEFENDANTS’ MOTION
                       TO DISMISS SECOND AMENDED COMPLAINT

       COME NOW Defendants Poarch Band of Creek Indians (PBCI), PCI Gaming Authority,

d/b/a Wind Creek Hospitality (PCI Gaming), Stephanie A. Bryan, Robert R. McGhee, Amy Bryan,

Charlotte Meckel, Dewitt Carter, Sandy Hollinger, Keith Martin, Arthur Mothershed, and Garvis

Sells, in their official capacities and members of the PBCI Tribal Council, Larry Haikey, in his

official capacity as the PBCI Tribal Historic Preservation Officer, and Westly L. Woodruff, Stuart

Mark Altman, Venus McGhee Prince, Teresa E. Poust, and Timothy A. Manning, in their official

capacities as board members of PCI Gaming (collectively, the Tribal Defendants) and move for

dismissal of the Plaintiffs’ Second Amended Complaint pursuant to Rules 12(b)(1) and 12(b)(6)

of the Federal Rules of Civil Procedure. As set forth in the brief filed in support of this motion, the

Court lacks subject matter jurisdiction over the Plaintiffs’ claims against the Tribal Defendants,

and the Plaintiffs furthermore have failed to allege facts sufficient to state any claims on which

relief, particularly the relief sought in the Second Amended Complaint, can be granted against the

Tribal Defendants. The Tribal Defendants thus respectfully move and request that all claims

against them be dismissed with prejudice.
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       Additionally, because the Plaintiffs have not stated a single valid claim against the Tribal

Defendants and because PBCI is a necessary party without whom adequate relief cannot be fairly

or equitably granted, the Tribal Defendants move for dismissal of the Second Amended Complaint

in its entirety pursuant to Rule 19 of the Federal Rules of Civil Procedure.

       Respectfully submitted this 23rd day of April, 2020.

                                              s/ Mark H. Reeves
                                              Mark H. Reeves, Georgia Bar No. 141847
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    Case 2:12-cv-01079-MHT-CSC Document 201 Filed 04/23/20 Page 3 of 3
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 23rd day of April, 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the parties entitled to receive notice.


                                               s/ Mark H. Reeves
                                               Mark H. Reeves
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                    IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

MUSCOGEE CREEK NATION, et al.,       )
                                     )
      Plaintiffs,                    )
                                     )
vs.                                  )              Civil Action Number:
                                     )            2:12-cv-01079-MHT-CSC
POARCH BAND OF CREEK INDIANS, et     )
al.,                                 )
                                     )
      Defendants.                    )
                                     )

              BRIEF IN SUPPORT OF TRIBAL DEFENDANTS’ MOTION
                  TO DISMISS SECOND AMENDED COMPLAINT

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                                        INTRODUCTION

       In their Second Amended Complaint (SAC, Doc. 190), Plaintiffs Muscogee Creek Nation

(MCN), Hickory Ground Tribal Town, and Mekko George Thompson ask this Court to, inter

alia, undo a 35-year old federal decision to take property into trust for the benefit of the Poarch

Band of Creek Indians (PBCI), force PBCI to remove tens of millions of dollars in improvements

to land that PBCI has owned for forty years, permanently enjoin PBCI from engaging in any

construction, clearing, grading, or other “ground disturbing” activity on its property, and transfer

de facto control of PBCI’s federal trust land to the Plaintiffs. Attempting to justify their untimely

request for this astoundingly broad relief, the Plaintiffs accuse PBCI, the PCI Gaming Authority

(PCI Gaming), the officials in charge of those tribal entities, PBCI’s Tribal Historic Preservation

Officer (collectively, the Tribal Defendants),1 various federal officials, and a private contracting

company of violating numerous federal laws pertaining to Indian tribes, the preservation of

historic, cultural, and archeological resources on federal and Indian lands, and religious freedom.

They also allege, for the first time in the SAC, various common law infractions. None of the

Plaintiffs’ claims have merit, and they are entitled to none of the relief that they seek.

       As set forth in detail below, the Plaintiffs have failed to establish this Court’s subject

matter jurisdiction over the Tribal Defendants and over many of their claims. They furthermore



1
  The officials named in the SAC include Defendants Stephanie Bryan, Robert McGhee, Amy
Bryan, Charlotte Meckel, Dewitt Carter, Sandy Hollinger, Keith Martin, Arthur Mothershed, and
Garvis Sells, who are sued in their official capacities as members of the PBCI Tribal Council,
Westly Woodruff, Stuart Mark Altman, Venus McGhee Prince, Teresa Poust, and Timothy
Manning, who are sued in their official capacities as PCI Gaming board members, and Larry
Haikey, sued in his official capacity as the Tribal Historic Preservation Officer (THPO). Six
members of the Tribal Council, as well as former Tribal Council members Eddie Tullis, Buford
Rolin, and David Gehman, were newly added to the case as defendants in their individual
capacities (the Individual Defendants) by the SAC. This brief addresses only the claims against
the Tribal Defendants; the newly named Individual Defendants are moving separately to dismiss
the newly asserted tort claim against them.

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have failed to allege facts sufficient to support a claim for relief against the Tribal Defendants

under a single one of the scattershot theories set forth in the SAC. Accordingly, the Tribal

Defendants have moved to dismiss all claims and now file this brief in support of that motion.

                                        BACKGROUND

       The    Tribal   Defendants     dispute   many    of   the   SAC’s     bald   assertions   and

mischaracterizations of alleged facts and will refute them should this case proceed. Nevertheless,

those allegations generally must be taken as true at this stage in the proceedings. 2 The

background information set forth here thus consists of material drawn from the SAC, previously

filed or referenced documents central to the Plaintiffs’ claims, and published federal legal

sources. Even so limited, the facts show that the Plaintiffs have no viable claims against the

Tribal Defendants.

       PBCI is a federally recognized Indian tribe. SAC ¶ 12; see also 84 Fed. Reg. 1200, 1203

(Feb. 1, 2019) (listing federally recognized tribes). It is a successor-in-status to the Creek Nation

and has been a party to federal treaties dating as far back as the early 19th century. See, e.g., 49

Fed. Reg. 24083 (June 11, 1984); Treaty of Fort Jackson, Aug. 9, 1814, 7 Stat. 120 (reserving

land for “friendly” Creek Indians). PCI Gaming is a tribal enterprise wholly owned by PBCI that

is responsible for gaming activity on PBCI lands, including the land at issue here. SAC ¶¶ 20-21.

       In 1980, PBCI acquired property in the vicinity of Wetumpka, Alabama (the Wetumpka

property) that is sometimes referred to as Hickory Ground. Id. ¶ 61. While seeking funding to aid

its acquisition of the Wetumpka property, PBCI applied for a grant from the Alabama Historical




2
  As noted below, to the extent of the Tribal Defendants’ factual challenge to this Court’s subject
matter jurisdiction, no presumption of truth attaches to allegations on that point, and the Court is
free to consider evidence beyond the pleadings.

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Commission (AHC). See generally Doc. 190-1, Ex. A, 3-7.3 In support of its grant request, PBCI

noted that the property was set for commercial development by its then-current owner, that it

“may very well be bulldozed and cleared soon,” and that the proposed acquisition would prevent

the land’s imminent commercial development and facilitate the protection and study of its

archaeological resources. Doc. 190-1 at 5-6. 4 At the same time, PBCI’s application letter

contemplated the potential future development of the property after its acquisition, indicating

that “[p]rior to any type of development of the property a scientifically sound archaeological

program will be conducted to mitigate or minimize effects upon the historic resources.” Id. at 4.

Although the proposal described in PBCI’s grant application letter never came to fruition,5 PBCI

ultimately obtained exclusive fee ownership of the property and entered into a written protective

covenant to preserve it for 20 years. See SAC ¶ 62; July 28, 1980 Protective Covenant, filed

herewith as Exhibit A to the Declaration of Lori Stinson. That written protective covenant made

no reference to the Plaintiffs, as intended third party beneficiaries or otherwise. See Stinson

Decl., Ex. A. The covenant also contemplated archaeological investigation of the property,

mandating the placement of “any archaeological data and material recovered” from the property

with an appropriate institution. See id. at 2. The written protective covenant expired by its own

terms on July 3, 2000. See id.; SAC ¶ 79.




3
  All pin cites to previously filed documents are to the ECF generated page numbers.
4
  Much of the fee land surrounding the Wetumpka property, including part of the Hickory
Ground site, was indeed commercially developed many years ago, some with archaeological
excavation. See, e.g., Doc. 179-1 at 6 (referencing human remains in the possession of Defendant
Auburn University that were excavated from the Hickory Ground historic site on fee land
adjacent to the Wetumpka property during the 1990s); Doc. 190-1 at 5 (describing commercial
developments on surrounding property).
5
  For example, the proposal described in the application letter envisioned joint ownership of the
Wetumpka property by PBCI and a foundation managed by Plaintiff Muscogee Creek Nation.
See Doc. 190-1 at 5-6. This never came to pass.

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       In 1984, the United States confirmed PBCI’s tribal status and acknowledged that PBCI,

like other federally recognized tribes, is eligible for special services and programs provided by

the United States to Indians. See id. ¶ 12; 84 Fed. Reg. at 1203; 49 Fed. Reg. at 24083. Prior to

formally acknowledging PBCI’s status, the United States posted public notice of its proposed

decision and invited public comment. 49 Fed. Reg. at 24083. The proposed decision received no

objections. Id. The United States subsequently accepted title to the Wetumpka property into trust

for PBCI in 1984 and declared it part of PBCI’s initial reservation in 1985. SAC ¶ 73 (citing

Federal Register notices of reservation designation); 1984 Trust Deed, filed herewith as Exhibit

B to the Stinson Declaration.

       During the nearly thirty years between the United States’ decision to accept the

Wetumpka property into trust for PBCI and the filing of the initial complaint in this case, PBCI

and/or trained archeologists conducted a number of archaeological investigations and

excavations on and around the property. See, e.g., SAC ¶¶ 101-02, 107, 116; Doc. 190-1 at 145.

The Plaintiffs raised concerns and objections regarding that archaeological activity at the

Wetumpka property over at least two decades before filing suit. In October of 1992, Plaintiff

MCN formally suspended its government-to-government relationship with PBCI over allegations

that PBCI had allowed excavations, including of human remains, on the property. See Doc. 95-6

at 2, 4-5. 6 In October of 2002, more than a decade before the original complaint, Mekko

Thompson, writing on behalf of Plaintiff Hickory Ground Tribal Town, expressed dismay at the

archaeological excavation of human remains from the Wetumpka property and threatened

litigation, citing many of the federal statutes and legal arguments relied upon in the SAC. See



6
 The letter from MCN suspending the government-to-government relationship states that MCN
would take additional steps “in consultation with” Mekko Thompson, indicating that all
Plaintiffs were aware of the alleged violation in 1992. See Doc. 95-6 at 4.

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Doc. 95-7 at 4-6. That same month, MCN sent a letter objecting to the National Park Service’s

(NPS) 1999 agreement allowing PBCI to assume historic preservation responsibilities at the

Wetumpka property. See Doc. 95-8; SAC ¶ 81.

       The Plaintiffs and PBCI engaged in numerous consultations through the years regarding

the appropriate disposition of remains and objects excavated at the Wetumpka property during

and prior to the Phase III archaeological excavation described in the SAC, with extended

discussions specifically involving reinternment of excavated human remains beginning more

than six years prior to the December 12, 2012, filing of the original complaint. See, e.g., SAC ¶¶

137, 139 (noting that PBCI notified Plaintiffs of a Phase III archaeological excavation in 2006);

Doc. 190-1 at 128 (indicating that re-interment discussions began in May of 2006). In a 2008

letter to NPS, Mekko Thompson specifically stated that representatives of Plaintiffs MCN and

Hickory Ground Tribal Town traveled to Wetumpka on May 9, 2006, to discuss reinternment of

57 or more sets of human remains—the same number alleged to have been excavated from the

Wetumpka property. See Doc. 95-11; SAC ¶ 117. Despite their repeated and longstanding

objections to archaeological excavations on the property and many years of consultations with

PBCI, the Plaintiffs have never alleged that any of the remains or objects recovered from the

Wetumpka property belonged to any identifiable individual.

       PBCI, through PCI Gaming, for many years has operated a gaming facility at the

Wetumpka property pursuant to its inherent sovereign authority as recognized in the Indian

Gaming Regulatory Act (IGRA), 25 U.S.C. §§ 2701, et seq. See, e.g., SAC ¶¶ 20-21; Doc. 190-1

at 145 (referencing a proposed expansion of existing gaming facilities on the Wetumpka property

in 2006). When Plaintiffs filed their initial complaint in December 2012, PBCI had completed a

Phase III archeological excavation of the Wetumpka property and was engaged in additional



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construction activity, including the construction of a casino expansion, a hotel, and resort

facilities. See SAC ¶¶ 102, 150, 165-66; Doc. 159 at 5. That construction activity was completed

no later than 2014. See SAC ¶ 132.

       The Plaintiffs contend that any excavation, “ground disturbing, clearing, grading,

leveling, or construction activity at the Hickory Ground Site” is offensive to them and unlawful

and should be enjoined in perpetuity. See, e.g., id. Prayer for Relief ¶¶ (d)(i). They further allege

that any person who sets foot on at least some portions of the Wetumpka property “without prior

authorization [from the Plaintiffs] and cleansing rituals” or consumes or possesses alcohol

“anywhere near” such portions of the property unlawfully offends their religious beliefs. See

SAC ¶¶ 327-28. Taken together, these statements indicate that almost any conceivable active use

of the Wetumpka property by PBCI, including, but not limited to, residential, commercial, and

municipal uses, would be objectionable and offensive to the Plaintiffs.

                          STANDARD FOR MOTION TO DISMISS

       When deciding a motion to dismiss, the court generally assumes the facts set forth in the

complaint to be true for purposes of the motion and construes them in the plaintiff’s favor. See

Coral Ridge Ministries Media, Inc. v. Amazon.com, Inc., 406 F. Supp. 3d 1258, 1268 (M.D. Ala.

2019) (citations omitted). In addition to the facts so construed, the court may consider matters of

public record and documents attached to or referenced in the complaint as well as documents

attached to the motion, so long as those documents are central to the complaint and their

authenticity is not disputed. Horsely v. Feldt, 304 F.3d 1125, 1134 (11th Cir. 2002); Harris v.

Ivax Corp., 182 F.3d 799, 802 n.2 (11th Cir. 1999); Annen v. Fed. Nat’l Mortg. Ass’n, 2016 WL

11567870, **3-4 (N.D. Ga. Nov. 16, 2016). Furthermore, where a defendant makes a factual

challenge to allegations of subject matter jurisdiction, “‘no presumptive truthfulness attaches to



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[the] plaintiff’s allegations,’” and the Court is free to consider evidence outside of the pleadings

in order to determine its jurisdiction. Willett v. United States, 24 F. Supp. 3d 1167, 1173 (M.D.

Ala. 2014) (quoting Lawrence v. Dunbar, 919 F.2d 1525, 1529 (11th Cir. 1990)).

          In order to survive a motion to dismiss, the complaint must set forth allegations

establishing a claim to relief that is “plausible on its face.” Id. at 1180 (citing Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007)). The allegations “must be enough to raise a right to relief

above the speculative level;” the use of “mere labels and conclusions … will not do.” Twombly,

550 U.S. at 555. “Crucially … the court need not accept as true ‘conclusory allegations,

unwarranted deductions of facts or legal conclusions masquerading as facts.’” Coral Ridge, 406

F. Supp. 3d at 1268 (quoting Oxford Asset Mgmt., Ltd. v. Jaharis, 297 F.3d 1182, 1188 (11th Cir.

2002)).

                                  ARGUMENT AND ANALYSIS

          The Plaintiffs, having waited to bring suit until decades after learning of relevant federal

decisions and allegedly offensive conduct by the Tribal Defendants, now seek staggeringly

sweeping relief that is not justified by any of the litany of federal statutes or common law

doctrines cited in the SAC. For the reasons explained below, the Plaintiffs’ claims should be

dismissed in their entirety due to this Court’s lack of subject matter jurisdiction and the

Plaintiffs’ failure to state a single claim upon which relief—certainly the relief sought in the

SAC—can be granted against the Tribal Defendants. See Fed. R. Civ. P. 12(b)(1) & (6).

          As an initial matter, the Court lacks subject matter jurisdiction over the Plaintiffs’ claims

against the Tribal Defendants due to sovereign immunity. Settled principles of federal Indian

law, discussed in detail infra, provide that one of the many aspects of inherent tribal sovereignty

is a broad immunity from suit without tribal consent or an unmistakable congressional



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abrogation of immunity. Neither condition being met here, the Tribal Defendants are immune

from suit and the Court lacks subject matter jurisdiction over all claims against them.

       The Plaintiffs’ Indian Reorganization Act (IRA) claim fails for multiple reasons in

addition to sovereign immunity. First, the Court lacks subject matter jurisdiction over the IRA

claim because the Plaintiffs lack Article III standing to pursue it. Second, like many of the

statutes cited in the SAC, an IRA claim can be asserted, if at all, only pursuant to the

Administrative Procedure Act, 5 U.S.C. §§ 510, et seq. Because the APA does not provide a

right of action against non-federal parties, the IRA claim (and all other APA claims asserted in

the SAC) necessarily fails to the extent that it is asserted against the Tribal Defendants. And to

the extent that the Plaintiffs seek to assert an APA-based IRA claim against the Federal

Defendants—the only defendants subject to such a claim—this Court lacks subject matter

jurisdiction over that claim because it is hopelessly time-barred.

       The alternatively pled common law claims against the Tribal Defendants fare no better.7

Plaintiffs’ claims for unjust enrichment and promissory estoppel are both time-barred and barred

by the statute of frauds, and the facts alleged, even when taken in the light most favorable to the

Plaintiffs, do not establish all of the elements of either claim. Accordingly, the Court should

dismiss all common law claims against the Tribal Defendants.

       The Plaintiffs’ remaining statutory claims also are defective for various reasons, each of

which is discussed in detail below. Briefly stated, the statutes upon which these claims are based

(1) are inapplicable to the Tribal Defendants on their face or under the facts presented; (2) do not

create private rights of action; (3) do not create any judicially enforceable rights against any




7
 The Plaintiffs’ state law outrage claim is asserted only against the Individual Defendants and
Martin Construction, and thus is not addressed herein.

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entity; or (4) do not and cannot provide the relief that the Plaintiffs seek. For all of these reasons,

the Plaintiffs’ statutory claims should be dismissed in their entirety.

       Even assuming, arguendo, that the Plaintiffs had some viable right of action against the

Tribal Defendants under any of the legal theories laid out in the SAC, none of those theories

justifies the incredibly sweeping, intrusive relief that the Plaintiffs seek. Neither the common law

doctrines nor the federal statutes envision stripping a sovereign government of ownership,

jurisdiction, and control of its property, ordering the permanent fallowing of such property, or

requiring the removal of scores of millions of dollars of development and real property

improvements, at a cost of untold jobs and community wide economic injury. The SAC should

be dismissed—even if it states some valid claim—to the extent that it seeks unavailable relief.

       Finally, because all claims against the Tribal Defendants are due to be dismissed and it

would be impossible for this action to fairly proceed without PBCI’s involvement, the entire

SAC should be dismissed under Rule 19.

I.     The Tribal Defendants’ sovereign immunity deprives the Court of subject matter
       jurisdiction over all claims against them.

       A.      Defendants PBCI and PCI Gaming enjoy sovereign immunity.

       Defendants PBCI and PCI Gaming are immune from suit, and this court accordingly

lacks subject matter jurisdiction over all claims against those defendants. The “Supreme Court

has made clear that a suit against an Indian tribe is barred unless the tribe has clearly waived its

immunity or Congress has expressly and unequivocally abrogated that immunity.” Furry v.

Miccosukee Tribe of Indians of Fla., 685 F.3d 1224, 1226 (11th Cir. 2012). The Eleventh Circuit

repeatedly has recognized that federal courts lack subject matter jurisdiction over unconsented

suits against PBCI, and it also has confirmed “that PCI [Gaming] shares in the Tribe’s immunity

because it operates as an arm of the Tribe.” Alabama v. PCI Gaming Auth., 801 F.3d 1278, 1287


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(11th Cir. 2015); see also Williams v. PBCI, 839 F.3d 1312, 1325 (11th Cir. 2016) (affirming

that the district court lacked subject matter jurisdiction over an ADEA claim against PBCI due to

the Tribe’s sovereign immunity); Freemanville Water Sys., Inc. v. PBCI, 563 F.3d 1205, 1209-10

(11th Cir. 2009) (affirming district court’s dismissal of claims against PBCI and PCI Gaming on

the grounds that their sovereign immunity deprived the district court of subject matter

jurisdiction); Sanderford v. Creek Casino Montgomery, 2013 WL 131432 at *2 (M.D. Ala. Jan.

10, 2013) (“Defendant Creek Casino is indistinguishable from the Tribe for the purposes of tribal

sovereign immunity.”); Allman v. Creek Casino Wetumpka, 2011 WL 2313706, at *2 (M.D. Ala.

May 23, 2011) (holding that PBCI’s sovereign immunity extended to one of the Tribe’s gaming

facilities).

        The Plaintiffs do not allege that Defendants PBCI and PCI Gaming have waived their

immunity or that Congress has abrogated it. In fact, the SAC does not even allege that this Court

has jurisdiction over those two defendants. See SAC ¶¶ 37-42 (alleging the Court’s jurisdiction

over all other defendants, but omitting any reference to PBCI or PCI Gaming). Because PBCI

and PCI Gaming enjoy sovereign immunity, this Court lacks subject matter jurisdiction to hear

claims against them. See Williams, 839 F.3d at 1325; PCI Gaming, 801 F.3d at 1287-88;

Freemanville, 563 F.3d at 1206-07. All claims against PBCI and PCI Gaming should be

dismissed with prejudice pursuant to Rule 12(b)(1).

        B.     The Tribe’s sovereign immunity also applies to the tribal officials sued in their
               official capacities.

        Sovereign immunity also deprives the Court of subject matter jurisdiction over claims

against the members of the PBCI Tribal Council, the PCI Gaming board, and the THPO who are

sued in their official capacities (the Tribal Officials). It is settled law that tribal officials are

protected by their tribe’s sovereign immunity when acting in their official capacity and within


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the scope of their authority. See generally Tamiami Partners, Ltd. v. Miccosukee Tribe of Indians

of Fla., 177 F.3d 1212, 1226 (11th Cir. 1999). Under the doctrine first elucidated in Ex parte

Young, 209 U.S. 123 (1908), however, tribal officials can sometimes be sued for prospective

declaratory and injunctive relief to stop ongoing violations of federal law. See, e.g., Tamiami

Partners, 177 F.3d at 1226. The Plaintiffs allege that the Young doctrine gives this Court

jurisdiction over their claims against the Tribal Officials. SAC ¶ 39. They are incorrect.

       The Young doctrine is inapplicable for at least two reasons here. First, the Plaintiffs

generally seek not to stop ongoing violations of federal law, but to adjudicate the legality of

discrete past acts. Young does not apply in such circumstances. See, e.g., Nicholl v. Attorney

Gen. of Ga., 769 F. App’x 813, 815-16 (11th Cir. 2019). Second, even if the Plaintiffs alleged

ongoing violations of federal law, the Young doctrine is applicable to claims, such as the

Plaintiffs’ IRA claim, that implicate “special sovereignty interests.” Hollywood Mobile Estates

Ltd. v. Cypress, 415 F. Appx. 207, 211 (11th Cir. 2011). The Plaintiffs simply cannot circumvent

tribal sovereign immunity. Accordingly, this Court lacks jurisdiction over their claims against all

Tribal Defendants, and those claims should be dismissed under Rule 12(b)(1).

               1.      The Young doctrine is inapplicable because the Tribal Officials are not
                       engaged in ongoing violations of federal law.

       As an initial matter, the Young doctrine is inapplicable to the extent that the Plaintiffs’

claims are based on alleged past violations of federal law. The “Young doctrine applies only to

ongoing and continuous violations of federal law. In other words, a plaintiff may not use the

doctrine to adjudicate the legality of past conduct.” Summit Med. Assocs., P.C. v. Pryor, 180

F.3d 1326, 1337 (11th Cir. 1999) (citing, inter alia, Papasan v. Allain, 478 U.S. 265, 277-78

(1986)); Nicholl, 769 F. App’x at 815-16 (holding the Young doctrine inapplicable to a claim

based on an alleged past violation of law, even where the effects of that violation remained in


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place); Jones v. Tyson Foods, Inc., 971 F. Supp. 2d 671, 680-81 (N.D. Miss. 2013) (holding

Young inapplicable where the plaintiff alleged an ongoing injury arising out of past violations of

federal law); Burrell v. Teacher’s Ret. Sys. of Ala., 2009 WL 113692, at *3 (M.D. Ala. Jan. 16,

2009) (finding the Young doctrine inapplicable, in part, because the claims “addresse[d] past

conduct, not ongoing violations of federal law”); Baily v. Montgomery, 433 F. Supp. 2d 806,

810-11 (E.D. Ky. 2006) (holding Young inapplicable where plaintiff alleged unlawful past

conduct and sought injunctive relief barring its repetition).

       For Count I of the SAC (the IRA claim), the Plaintiffs fail to adequately allege any

violation of federal law by the Tribal Defendants, past or ongoing. That count principally—and

erroneously—asserts that the United States violated federal law when it took the Wetumpka

property into trust for PBCI in 1934. See SAC ¶¶ 190-99. It goes on to baldly state a legal

conclusion that gaming conducted by PBCI on the property violates IGRA because the land is

not properly in trust, id. ¶¶ 193, 199, but this allegation is inherently contradictory and invalid.

The fact of the matter is that the land is held in trust, and gaming conducted on it is therefore

lawful under IGRA. See SAC ¶ 73 (acknowledging that the land is in trust, but alleging that the

entrustment decision was improper); id. ¶ 286 (conceding that the Wetumpka property includes

reservation and trust lands). But assuming, counterfactually, that the land was not held in trust, it

would be owned by Poarch in fee and, as the Plaintiffs concede, it would “be subject to state, not

federal, law.” Id. ¶ 194. In other words, because the land is trust land, PBCI’s gaming is lawful

under IGRA; if it was not trust land, IGRA would be inapplicable, and there would be no

violation of federal law. See, e.g., Michigan v. Bay Mills Indian Cmty., 572 U.S. 782, 795 (2014)

(holding that IGRA regulates gaming activity on Indian trust lands “and nowhere else”). In




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neither case would Count I allege an ongoing violation of federal law by the Tribal Defendants,

so the Young doctrine is inapplicable to that claim.

        For newly asserted Counts II, III, V, and VI, the alleged violations of law by PBCI

officials relate to the excavation and reburial of remains and objects from the Wetumpka

property, ostensibly without proper consultation with or deference to the Plaintiffs, and the

construction of a hotel and resort and gaming facilities on the property. See generally SAC ¶¶

201-20, 237-40. Taking the SAC’s allegations at face value, all excavation was completed by

2011 and reinternment took place in April of 2012—well in advance of the initial complaint—

and construction activities were concluded by 2014, five years before the Plaintiffs sought leave

to file the SAC that first asserted these claims. See id. ¶¶ 102, 132, 150, 158-59. Again, there is

no allegation of any ongoing and continuing violation of federal law to support application of the

Young doctrine.

        This same timeline of events bars the Young doctrine’s application to the Plaintiffs’

federal statutory claims against the Tribal Officials. Count VII, alleging violations of the Native

American Graves Protection and Repatriation Act (NAGPRA), 25 U.S.C. §§ 3001, et seq.,

accuses the Tribal Defendants of failing to follow appropriate procedures for consulting with the

Plaintiffs before and during intentional excavations and construction on the Wetumpka property.

See SAC ¶¶ 246-50, 255, 258. All excavations having been completed by 2011 and all

construction by 2014, claims based on those activities do not allege any ongoing violation of

federal law.8



8
  Insofar as the Plaintiffs allege that they are entitled to repatriation of certain remains or artifacts
under NAGPRA and that those remains or artifacts are being wrongfully withheld from them,
SAC ¶¶ 251-52, they may allege an ongoing violation of federal law to that limited extent. But
any such claim, in addition to failing for reasons set forth below, is separate and distinct from
allegations based on the conduct of long completed archaeological excavations or the

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       Count IX, based on the Archeological Resources Protection Act (ARPA), 16 U.S.C. §§

470aa, et seq., alleges that the Tribal Defendants made false statements to obtain ARPA permits

for the long-since concluded excavations, failed to consult with the Plaintiffs prior to the

issuance of those permits, failed to comply with the permits and curate archaeological resources,

and performed unpermitted excavations, all before 2011. Id. ¶¶ 102, 273-80. And Count X,

alleging violations of the National Historic Preservation Act (NHPA), likewise focuses

overwhelmingly on asserted failures to consult with the Plaintiffs prior to undertaking excavation

and construction activities, id. ¶¶ 291-311, with additional allegations of failure to mitigate harm

to resources during the construction that concluded no later than 2014. Id. ¶¶ 305-09. Once

again, all of the conduct underlying these allegations has long since ended and cannot provide

the basis for claims to proceed under the Young doctrine.

       The Young doctrine does not afford the Plaintiffs a means of circumventing PBCI’s

sovereign immunity from litigation challenging the legality of past conduct. Accordingly, all

claims against the Tribal Officials based on alleged past violations of federal law must be

dismissed for lack of subject matter jurisdiction under Rule 12(b)(1).

               2.      The Young doctrine is inapplicable because the Plaintiffs’ claims
                       implicate PBCI’s special sovereignty interests in the Wetumpka property.

       Even where its ordinary prerequisites are satisfied, the Young doctrine does not apply in

cases implicating “special sovereignty interests.” Idaho v. Coeur d’Alene Tribe of Idaho, 521

U.S. 261, 281 (1997). This is such a case. In Coeur d’Alene, the Supreme Court declined to

allow the Coeur d’Alene Tribe (CDT) to proceed with a suit seeking a declaration of its

ownership of shore and submerged lands surrounding and underlying Lake Coeur d’Alene and



acquisition, in fee or trust, of the Wetumpka property. The Young doctrine does not allow the
Plaintiffs to pursue these latter claims.

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nearby rivers and streams. See id. at 264-65. CDT named state officials as defendants, id. at 265,

asserted “an ongoing violation of its property rights in contravention of federal law,” and sought

prospective, non-monetary relief, which the Supreme Court acknowledged “is ordinarily

sufficient to invoke the Young fiction.” Id. at 265, 281. Nevertheless, the Supreme Court did not

allow the suit to proceed under the Young doctrine because it implicated “special sovereignty

interests”—namely, the State of Idaho’s sovereign and regulatory interests in its lands. Id. at

281-83. As the Court explained, “if [CDT] were to prevail, Idaho’s sovereign interest in its lands

and waters would be affected in a degree fully as intrusive as almost any conceivable retroactive

levy upon funds in its Treasury.” Id. at 287. The Supreme Court held that these “special

circumstances” barred reliance on the Young doctrine to circumvent sovereign immunity. Id.

       The Plaintiffs in this case seek relief every bit as intrusive on PBCI’s sovereign interests

as the relief that CDT sought in Coeur d’Alene. They explicitly seek, inter alia, (1) to revoke the

trust status of the Wetumpka property, which would convert it to ordinary private property and

completely destroy PBCI’s sovereign and jurisdictional authority over it, (2) to have the property

placed in a constructive trust (with themselves as beneficiaries assuming de facto control of the

property), and (3) issuance of an affirmative injunction directing PBCI to remove tens of

millions of dollars in fixtures and to effectively leave the land untouched in perpetuity. See

generally SAC, Prayer for Relief. In no uncertain terms, the Plaintiffs seek to “remove … land

from the tribe’s jurisdiction or permanently deprive the tribe of its property interests.” Cypress,

415 F. App’x at 211 (recognizing the special circumstances exemption but declining to apply it

where the tribal property interest at issue was a leasehold rather than a jurisdictional or

permanent proprietary interest). Accordingly, Young is inapplicable, the Tribal Officials are

protected by PBCI’s sovereign immunity, and the Court lacks subject matter jurisdiction over the



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Plaintiffs’ claims against them. All of the claims against the Tribal Officials should be dismissed

with prejudice pursuant to Rule 12(b)(1).

II.      The Plaintiffs’ IRA claim should be dismissed for lack of subject matter jurisdiction
         and failure to state a claim upon which relief can be granted.

         Count I of the SAC alleges a violation of the Indian Reorganization Act, 25 U.S.C. §§

5101, et seq., a federal statute that, inter alia, gives the Secretary of the Interior the discretionary

authority to acquire lands in trust for the benefit of Indians.9 See 25 U.S.C. § 5108. The Secretary

exercised this discretionary authority to take the Wetumpka property into trust for PBCI in 1984.

See Stinson Decl., Ex. B. The Plaintiffs allege that the Secretary lacked authorization to take land

into trust for PBCI, that the Secretary’s decision should be treated as void ab initio, and that the

Wetumpka property’s trust status should be revoked, leaving the property in the fee simple

ownership of PBCI. SAC ¶¶ 197-98.

         The Plaintiffs’ IRA claim fails for several reasons in addition to the Tribal Defendants’

sovereign immunity. As an initial matter, this Court lacks jurisdiction over the claim because the

Plaintiffs do not have Article III standing to challenge the trust status of the Wetumpka property.

If the Plaintiffs did have standing, they could not state an IRA claim against the Tribal

Defendants because such a claim may be brought only under the APA, which does not provide a

right of action against nonfederal parties. Finally, even if the Plaintiffs could bring an APA-

based IRA claim against the Tribal Defendants (and to the extent that they have alleged such a

claim against the Federal Defendants), any such claim is hopelessly time barred and beyond this

Court’s subject matter jurisdiction.




9
    The IRA was previously codified at 25 U.S.C. §§ 461, et seq.

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       A.      The Plaintiffs lack standing to challenge the Secretary’s 1984 decision.

       The Plaintiffs lack standing to bring an IRA-based challenge to the Wetumpka property’s

trust status because their alleged injuries are not fairly traceable to the Secretary’s 1984

entrustment decision and could not be redressed by a favorable ruling on this claim in any event.

Standing is a jurisdictional issue that must be assessed at the time the complaint is filed.

Hollywood Mobile Estates Ltd. v. Seminole Tribe of Fla., 641 F.3d 1259, 1264-65 (11th Cir.

2011). “[T]he standing inquiry requires careful judicial examination of a complaint’s allegations

to ascertain whether the particular plaintiff is entitled to an adjudication of the particular claims

asserted.” Id. at 1265 (emphasis added & citation omitted). Supreme Court precedent “make[s]

clear that ‘standing is not dispensed in gross.’ To the contrary, ‘a plaintiff must demonstrate

standing for each claim he seeks to press and for each form of relief that is sought.’” Town of

Chester v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650 (2017) (citation omitted) (quoting Davis v.

Fed. Election Comm’n, 554 U.S. 724, 734 (2008)). Where a plaintiff lacks standing to pursue

any particular claim or relief, the court lacks jurisdiction, and the relevant claim must be

dismissed. See Hollywood Mobile, 641 F.3d at 1265.

       To establish standing, a plaintiff must show (1) an injury in fact that (2) is fairly traceable

to the challenged action of the defendant and (3) is likely, not merely possible, to be redressed by

a favorable decision from the court. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992);

Hollywood Mobile, 641 F.3d at 1265-66. An alleged injury is only redressable “when a favorable

decision would amount to a significant increase in the likelihood that the plaintiff would obtain

relief that directly redresses the injury suffered.” Hollywood Mobile, 641 F.3d at 1266 (emphasis

added) (citation omitted).




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       The Plaintiffs’ alleged injuries arise out of archaeological excavations and construction

activities on the Wetumpka property and the ostensible mistreatment of excavated remains and

artifacts, all of which allegedly occurred in violation of various federal statutes and a putative

commitment by PBCI to preserve the Wetumpka property in perpetuity. See, e.g., SAC ¶¶ 4-8.

The Plaintiffs do not allege that their injuries arise out of the conduct of gaming activity on the

property per se; they would have suffered the same alleged injuries if the property had been

excavated and used as the site for a shopping mall, restaurant, sports stadium, apartment

complex, or any other major public amenity. While their allegations arguably satisfy the first

prong of the standing inquiry, the Plaintiffs can go no further on their IRA claim. Their own

factual allegations and internal tensions in their legal theories demonstrate that they cannot (1)

fairly trace their alleged injuries to the Secretary’s decision to take land into trust for PBCI or (2)

obtain redress of their alleged injuries through any relief available under that act.

       First, the Plaintiffs’ alleged injuries are not fairly traceable to the Secretary’s decision to

accept land into trust for PBCI. PBCI acquired the Wetumpka property in fee in 1980, four years

prior to the Secretary’s decision to take it into trust. See id. ¶ 61; Stinson Decl., Ex. B. When

PBCI acquired the property, it entered into a written protective covenant to preserve the property

for 20 years. SAC ¶ 62; Stinson Decl., Ex. A. Once that covenant expired in 2000, PBCI was

free to engage in the archaeological excavations, construction, and other activities that serve as

the basis for the complaint regardless of whether the Secretary had taken the land into trust.10

Accord Litton Fin. Printing Div. v. NLRB, 501 U.S. 190, 206 (1991) (“[A]n expired contract has

by its own terms released all its parties from their respective contractual obligations ….”).


10
  Indeed, when PBCI applied for a grant to assist its acquisition of the property in 1980, it
explicitly contemplated the possibility of eventually developing the property and committed to
conducting “a scientifically sound archaeological program” in advance of such development.
Doc. 190-1 at 4.

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Because the Secretary’s 1984 decision to take the Wetumpka property into trust was not a

necessary prerequisite to any excavation, construction, or other ground disturbing activity on the

property and did not authorize or approve any such activity, any alleged injuries based on or

arising out of that activity are not fairly traceable to the Secretary’s decision. Accord Yankton

Sioux Tribe v. U.S. Army Corps of Eng’rs, 396 F. Supp. 2d 1087, 1093-94 (D.S.D. 2005)

(dismissing similar claims on standing grounds where the tribal plaintiff could not tie potential

non-compliance with federal statutes to a federal land-transfer decision). The Plaintiffs therefore

lack standing to challenge that decision, and their IRA claim should be dismissed pursuant to

Rule 12(b)(1).

       Second, the Plaintiffs’ alleged injuries are not redressable through their IRA claim. The

reason for this is simple. The requested and only potentially available remedy for the Plaintiffs’

IRA claim is to have the trust status of the Wetumpka property revoked. That would not undo the

archaeological excavation or development on the property or address any of the Plaintiffs’

concerns about the treatment of excavated remains and resources.11 On the contrary, it would

severely reduce the likelihood of the Plaintiffs obtaining the redress of the injuries alleged in the

SAC, as the property’s reversion to fee simple ownership would render the litany of federal

preservation statutes relied upon in other counts of the SAC inapplicable to the property. See,

e.g., 16 U.S.C. §§ 470aa – 470bb (providing that ARPA applies only to public lands and Indian


11
  The Plaintiffs do allege that gaming on the property would be unlawful but for the Secretary’s
decision to take the Wetumpka property into trust, implying that such activity would cease if
they prevail on their IRA claim, but that is irrelevant to their standing. See, e.g., SAC ¶¶ 193,
199. While the Wetumpka property’s trust status is instrumental to PBCI’s ability to conduct
gaming on the property pursuant to IGRA, the Plaintiffs have not alleged that they are injured by
the conduct of gaming activity per se, nor have they sought any relief specifically addressing
gaming activity. Their alleged injuries arise out of archaeological excavations and development
on the property—injuries unchanged by the ultimate purpose or use of the development.



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lands held in trust by or subject to alienation restrictions imposed by the United States); 25

U.S.C. §§ 3001-3002 (providing that NAGPRA applies only to federal lands and Indian

reservation lands); Sugarloaf Citizens Ass’n v. FERC, 959 F.2d 508, 514-15 (4th Cir. 1992)

(citing several cases for the proposition that the NHPA is a narrow statute triggered only when

the federal government has control over a project). In other words, were the Plaintiffs to succeed

on their IRA claim, the alleged statutory grounds for the Court to order the Tribal Defendants to

refrain from any construction, excavation, or other activities on the property, to restore the

property to some prior state, or to treat excavated remains and other archeological resources in

any specific manner would fall away. Rather than redressing their alleged injuries, a favorable

ruling on the Plaintiffs’ IRA theory effectively would foreclose their desired remedies.

       Having had these fatal standing problems pointed out in multiple motions to dismiss their

First Amended Complaint, which asserted only statutory claims, the Plaintiffs attempt to sidestep

them in the SAC by asserting new common law causes of action against the Tribal Defendants.

See SAC, Counts II-III & V-VI. Specifically, they now plead state and federal common law

claims for promissory estoppel and unjust enrichment in the alternative, making the Court’s

disposition of the IRA claim determinative as to which are operable. See SAC ¶¶ 200, 236.

Presumably, they will contend that this confers standing to litigate their IRA claim. It does not.

       As noted above, it is black letter law that a plaintiff must establish standing

independently for each claim in the complaint and each form of relief requested. See, e.g., Town

of Chester, 137 S. Ct. at 1650. If the Plaintiffs lack standing to litigate their IRA claim—and they

do—they cannot manufacture standing by saying that the Court must decide the IRA claim to

ascertain which of their remaining claims are operative. Instead, the Court must dismiss the IRA




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claim due to lack of standing, then address the claims that the Plaintiffs have identified as

operative in the event that the Court does not rule in their favor on the IRA claim.12

       Even if it were possible for a plaintiff to generate standing to litigate a claim in the way

that the Plaintiffs appear to have attempted, the effort would be unsuccessful in this case. This is

because, as discussed in detail above and below, the Plaintiffs’ common law claims themselves

are subject to dismissal for lack of subject matter jurisdiction (due to sovereign immunity) and

failure to state a claim. Because the common law claims fail regardless, there would be no need

for the Court to address the merits of the IRA claim to determine which are operable even if it

were otherwise appropriate to do so.

       For all of the foregoing reasons, the Plaintiffs lack standing to challenge the Secretary’s

1984 decision to accept the Wetumpka property into trust. The Court accordingly lacks subject

matter jurisdiction over Count I of the SAC and should dismiss it under Rule 12(b)(1).

       B.      The Plaintiffs cannot state an IRA claim against the Tribal Defendants.

       Even if they had standing to challenge the Secretary’s 1984 entrustment decision, the

Plaintiffs’ IRA claim would still be subject to dismissal for failure to state a claim to the extent

that it is asserted against the Tribal Defendants. The IRA itself provides no right of action for the

Plaintiffs to sue the Tribal Defendants or anyone else. Rather, as the Eleventh Circuit recently

held, “[t]he proper vehicle for [a plaintiff] to challenge the Secretary’s decisions to take land into

12
   The Plaintiffs also contingently assert a common law outrage claim seeking monetary damages
exclusively against the Individual Defendants and Martin Construction, who are not parties to
this motion or targets of the IRA claim. See SAC Count IV. To the extent that the Plaintiffs may
argue that their method of pleading their outrage claim—such that it is operative only if the
Court rules in their favor on the IRA claim—somehow grants them standing to assert the IRA
claim against the Tribal or Federal Defendants, this is subject to the same problems as their
alternative federal and state common law claims against the Tribal Defendants. That problem is
magnified by the fact that, in this instance, the Plaintiffs would be attempting to generate
standing to sue one group of defendants and obtain one type of relief by asserting an entirely
separate, contingent claim seeking a completely different form of relief against an entirely
different group of defendants.

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trust for the Tribe is an APA claim.” PCI Gaming, 801 F.3d at 1291 (citing Match-E-Be-Nash-

She-Wish Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 220 (2012), for the proposition

that “a challenge to the Secretary’s land-into-trust decision [i]s a ‘garden-variety APA claim’”);

see also Big Lagoon Rancheria v. California, 789 F.3d 947, 953 (9th Cir. 2015) (en banc). Of

course, “it is well settled that suits under the APA may not be pursued against nonfederal

entities, nor may federal courts enjoin nonfederal entities based on the conduct of federal

agencies held to run afoul of the APA.” Friends of Lydia Ann Channel v. U.S. Army Corps. of

Eng’rs, 701 Fed. App’x 352, 358 (5th Cir. 2017) (citing numerous federal appellate decisions);

see also Karst Envtl. Educ. & Prot., Inc. v. EPA, 475 F.3d 1291, 1298 (D.C. Cir. 2007)

(“[N]othing in the APA authorizes claims against nonfederal entities ….”); Sw. Williamson Cty.

Cmty. Ass’n, Inc. v. Slater, 173 F.3d 1033, 1035-36 (6th Cir. 1999). Because a challenge to the

Secretary’s decision to accept the Wetumpka property into trust may be brought, if at all, only

under the APA, and an APA claim cannot be brought against nonfederal parties such as the

Tribal Defendants, Count I of the SAC should be dismissed under Rule 12(b)(6) for failure to

state a claim against the Tribal Defendants.

       C.      Any attack on the Secretary’s 1984 decision is time-barred.

       Even if the Plaintiffs had standing to challenge the Secretary’s 1984 decision and could

do so through a claim against the Tribal Defendants (and to the extent that they do so through a

claim against the Federal Defendants), their claim still must be dismissed on the grounds that it is

long since time barred. As noted above, the only avenue for challenging a land-into-trust

decision by the Secretary of the Interior is through a direct APA claim. See, e.g., Patchak, 567

U.S. at 220; PCI Gaming, 801 F.3d at 1291; Big Lagoon, 789 F.3d at 953. The statute of

limitations for bringing a claim under the APA is six years, and it “begins to run when the



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agency issues the final action that gives rise to the claim.” PCI Gaming, 801 F.3d at 1292; see 28

U.S.C. § 2401(a). The Secretary took the Wetumpka property into trust in 1984—more than

thirty-five years ago, and nearly thirty years before the Plaintiffs filed this lawsuit. See Stinson

Decl., Ex. B. The untimeliness of any challenge to the Secretary’s decision to accept the

Wetumpka property into trust for PBCI is readily apparent.

       PCI Gaming is directly on point and controlling. There, the State of Alabama sued PBCI

and other tribal parties attempting, inter alia, to set aside the Secretary’s decisions to take the

Wetumpka property and other lands within the exterior geographic boundaries of the State into

trust for PBCI. When PBCI moved to dismiss on the grounds that the State’s suit constituted an

improper collateral attack on federal agency action, the State attempted to amend its complaint to

add a direct APA claim against the Secretary. See PCI Gaming, 801 F.3d at 1292. The Eleventh

Circuit upheld the denial of leave to amend, holding that the proposed amendment would have

been futile because the statute of limitations to bring an APA challenge to the Secretary’s 1984

decision had run by 1991. Id.

       The State, as the Plaintiffs presumably intend to do here, tried to argue around the

obvious time bar by alleging that the Secretary’s entrustment decision was ultra vires and that its

challenge thus was not subject to the APA’s statute of limitations. Id. While acknowledging the

existence of an exception allowing otherwise untimely as-applied challenges to certain ultra

vires agency decisions, the Eleventh Circuit held that exception inapplicable to the Secretary’s

1984 decision, explaining that Alabama was contemporaneously aware of the decision and could

have timely challenged it, but did not. Id. (citing Big Lagoon, 789 F.3d at 954 n.6). As the Court

of Appeals succinctly explained, “[b]ecause Alabama could have brought a timely APA




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challenge, we will not carve out an exception to the six-year statute of limitations … to disturb

the Secretary’s long ago decisions to take the lands in question into trust.” Id.

       Less than a year after it decided PCI Gaming, the Eleventh Circuit reviewed another

challenge to the trust status of PBCI trust lands, this one by the Escambia County tax assessor.

See PBCI v. Hildreth, 656 F. App’x 934 (11th Cir. 2016). The assessor, Hildreth, also “argue[d]

that the Secretary’s ultra vires decision to take the land into trust constitutes a valid exception to

the APA’s limitations period.” Id. at 943. The Court of Appeals was unpersuaded, noting that it

had “rejected the same argument on similar facts in PCI Gaming” and that allowing a party with

prior notice of the Secretary’s land entrustment decision to challenge that decision “nearly 30

years later … would turn PCI Gaming on its head.” Id. at 943-44.

       PCI Gaming and Hildreth mandate dismissal of the Plaintiffs’ challenge to the

Wetumpka property’s trust status. Like the State of Alabama and Hildreth, Plaintiffs had

contemporaneous knowledge of the Secretary’s decision and could have brought a timely APA

challenge, but chose not to do so. See, e.g., SAC ¶¶ 216-17 (indicating that the Plaintiffs would

have opposed the trust acquisition of the Wetumpka property had they known that Poarch would

eventually excavate and develop it, necessarily implying contemporaneous awareness of the

decision). Even if they counterfactually deny contemporaneous knowledge of the decision, it is

indisputable that the Plaintiffs were aware of the Secretary’s decision, the Department of the

Interior’s taking action based on that decision, and of PBCI’s allegedly offensive activity on the

Wetumpka property more than 10 years prior to filing this lawsuit in December 2012. See, e.g.,

Doc. 190-1 at 128 (referencing intertribal discussions of reinternment of remains excavated from

the Wetumpka property as far back as May 2006); Doc. 100 at 22 (Plaintiffs’ brief referring to

October 2002 NAGPRA claim by Plaintiffs regarding Hickory Ground excavations); Doc. 95-8



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(2002 letter from MCN complaining that NPS entered into an agreement for PBCI to assume

historic preservation responsibilities on the Wetumpka property without consultation with

MCN); Doc. 95-7 (2002 letter from Mekko Thompson objecting to excavations on the

Wetumpka property, alleging violations of various federal statutes, and claiming ownership,

apparently under NAGPRA, of “all remains or objects” excavated from the Wetumpka trust

property). Accordingly, even assuming, arguendo, that the APA’s six-year limitations period did

not begin to run until the Plaintiffs were aware of any or all of those events, it would still bar the

Plaintiffs’ IRA claim.

       Because the Plaintiffs’ failed to bring their IRA claim within the APA’s six-year

limitations period, this Court lacks subject matter jurisdiction over that claim and should dismiss

it with prejudice under Rule 12(b)(1). See, e.g., Ctr. for Biological Diversity v. Hamilton, 453

F.3d 1331, 1334 (11th Cir. 2006).

III.   The Plaintiffs’ promissory estoppel claim fails a matter of law.

       The Plaintiffs assert a promissory estoppel claim primarily against the Tribal Defendants

based upon their failure to keep an alleged promise to “preserve” Hickory Ground in

perpetuity.13 This claim fails for several reasons, including: (1) it is untimely; (2) it is barred by

the statute of frauds; and (3) the Plaintiffs have not alleged any of the essential elements of the

claim. It should be dismissed.




13
  The SAC includes two counts of promissory estoppel, one under state law and one under
federal common law, offered in the alternative such that only one will be operative depending on
the Court’s disposition of the IRA claim. See SAC Counts III and VI; ¶¶ 200, 236. As the
Plaintiffs allege that the controlling law is substantially the same regardless of which claim is
operative and base the alternative claims on the same facts, id. ¶¶ 238, 240, the Tribal
Defendants will treat them as a single claim for purposes of this brief. The Tribal Defendants
will do the same for the Plaintiffs’ alternatively plead unjust enrichment claims.

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       A.      The promissory estoppel claim is time barred.

       Alabama law imposes a two year statute of limitations on claims for promissory estoppel.

See Ala. Code § 6-2-38(l); Ala. Space Sci. Exhibit Comm’n v. Odysseia Co., Ltd., 2016 WL

9781806, at *11 (N.D. Ala. Sept. 30, 2016). A claim for promissory estoppel accrues, for

limitations purposes, when the plaintiff knew or had reason to know of the defendant’s breach of

the alleged promise. See Ala. Space, 2016 WL 9781806, at *11; see also, e.g., Nettles v. AT&T,

55 F.3d 1358, 1363-64 (8th Cir. 1995); Moisiuc v. Argent Mortg. Co., LLC, 2019 WL 1330283,

at *3 (S.D. Tex. Mar. 25, 2019) (holding that “the latest a cause of action for promissory estoppel

could accrue is when the promisor breaches his promise” (citation omitted)); Newberg v.

Schweiss, 2009 WL 3202380, at *4 (D. Minn. Sept. 30, 2009); Weiss v. Smulders, 96 A.3d 1175,

1187 (Conn. 2014). Alabama courts have not recognized promissory estoppel as a possible

continuing tort.

       The Plaintiffs alleged in 1992 that PBCI was taking actions that allegedly “threatened”

the “cultural, historical and archeological integrity of the site,” and they knew no later than 2002

that excavations, including of human remains, had occurred at the site. See Docs. 95-6, 95-7. The

record further shows that the Plaintiffs sent representatives to Wetumpka, Alabama to discuss

reinternment of excavated human remains on May 9, 2006—more than six and a half years prior

to the filing of the initial complaint in this case. Doc. 190-1 at 128; Doc. 95-8. Even the SAC

concedes that the Poarch Band notified the Plaintiffs of a Phase III excavation at the site by

2006, that the Plaintiffs began an extended dialogue with the Poarch Band that year, and that

Mekko Thompson visited Alabama that year to discuss the issues with representatives of the

Poarch Band and Auburn University. See SAC ¶¶ 137-42. Based on these established facts and

allegations, it is impossible for the Plaintiffs to bring a timely promissory estoppel claim today,



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and it was impossible for them to do so when they filed the initial complaint in the waning days

of 2012. Therefore, the promissory estoppel claim should be dismissed.

               1.      The Plaintiffs’ contention that they seek a constructive trust does not
                       extend the limitations period.

       The Plaintiffs have argued that their promissory estoppel claim is not subject to a two-

year statute of limitations because it is “rooted in equity and seek[s] the equitable remedy of an

injunction and constructive trust.” Doc. 179 at 11. Thus, they assert, the promissory estoppel

claim is “in the nature of recovery of real property” under Alabama Code § 6-2-33(2) and the

applicable statute of limitations is ten years. The Plaintiffs’ attempt to evade the applicable

statute of limitations by seeking inapplicable relief to which they are not entitled is unavailing.

       To begin, constructive trust is a not an independent cause of action, but “a remedy

imposed to prevent the enjoyment of a fraud or of a breach of a fiduciary duty.” Gulf States Steel,

Inc. v. Lipton, 765 F. Supp. 696, 704 (N.D. Ala. 1990), aff’d, 934 F.2d 1265 (11th Cir. 1991); see

also Otwell v. Ala. Power Co., 944 F. Supp. 2d 1134, 1160 n.22, 1161 (N.D. Ala. 2013), aff’d,

747 F.3d 1275 (11th Cir. 2014) (noting defendant was entitled to summary judgment on

plaintiffs’ claim for the remedy of a constructive trust). Two of the cases that the Plaintiffs cited

in support of their motion for leave to amend illustrate underscore the limited availability of this

remedy. In Radenhausen v. Doss, 819 So. 2d 616 (Ala. 2001), for example, the Alabama

Supreme Court explains that constructive trust, as sought by defendants in counterclaiming for

breach of fiduciary duty, conversion, and fraud, “is an equitable remedy; and a request to impose

such a trust is not a cause of action that will stand independent of some wrongdoing.” Id. at 620.

Likewise, in Knowles v. Canant, 51 So. 2d 355 (Ala. 1951), the Alabama Supreme Court held

that constructive trust arises whenever the legal title to property has been “obtained through

actual fraud, misrepresentation, concealments, or through undue influence, duress, taking


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advantage of one’s weakness or necessities, or through any other similar means or under any

other similar circumstances which render it unconscientious for the holder of the legal title to

retain and enjoy the beneficial interest.” Id. at 333, 357. Plaintiffs have not plead fraud or breach

(or even the existence) of any fiduciary duty here, and the alleged facts would not support any

such claim. On the contrary, the alleged facts are that PBCI agreed to a written, 20-year

preservation covenant when it acquired the Wetumpka property—with no assistance from the

Plaintiffs—and that it began to develop the property after that agreement expired in a manner

that is offensive to the Plaintiffs. SAC ¶¶ 62, 79, 100. Constructive trust is not an appropriate

remedy under these facts, and the Plaintiffs’ request for this unavailable remedy cannot alter the

limitations period for their promissory estoppel claim.

       Plaintiffs further argued in support of their motion for leave that their promissory

estoppel claim should be treated as neither a tort claim nor an implied contract claim, relying on

Auburn Univ. v. IBM, 716 F. Supp. 2d 1114, 1118 (M.D. Ala. 2010). Their reliance is misplaced.

While this court opined in Auburn that “it would be improper to classify all unjust-enrichment

claims as either tort claims subject to the two-year statute of limitations or implied-contract

claims subject to the six-year statute of limitation,” it plainly meant that not all such claims

should be treated as torts claims and not all should be treated as contract claims, not that some

should be treated as neither. See id. (finding that the unjust enrichment claim at issue presented a

“classic tort injury” to which the two year limitations period applied). And because the Plaintiffs’

promissory estoppel claim accrued, at the latest, on May 9, 2006—more than six years and a half

years prior to the filing of their initial complaint—it is time barred regardless of whether it is




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subject to the two-year tort limitations period set forth in Ala. Code § 6-2-38(l) or the six year

contract statute of limitations set forth in Ala. Code § 6–2–34(9).14

       Lastly, it is significant that the Plaintiffs only request a constructive trust in the event that

the Court enters a judgment in their favor on the IRA claim alleged in Count I of the SAC. See

SAC Prayer for Relief (a), (b)(ii). Accordingly, any arguments that seeking a constructive trust

alters the limitations period and statute of frauds are unavailable to the extent that the Court rules

against the Plaintiffs on that claim.

               2.      The Plaintiffs do not seek recovery of land.

       Plaintiffs contend that the limitations period for their promissory estoppel claim is

governed by Ala. Code § 6-2-33(2), which addresses “[a]ctions for the recovery of lands,

tenements or hereditaments or the possession thereof.” Consistent with its language, this statute

has been held to apply to cases where the recovery of possession of or title to land is at issue.

See, e.g., I-359, Inc. v. AmSouth Bank, 980 So. 2d 419, 423 (Ala. Civ. App. 2007) (holding that a

10-year statute of limitations applied to claim of breaches of covenants regarding title); Williams

v. Kitchens, 74 So. 2d 457, 463 (Ala. 1954) (indicating that a suit for the “recovery of land” is for

“the immediate enjoyment of its possession, and will not lie for any property whereon no right of

entry exists.”). Here, Plaintiffs do not seek to “recover” the Wetumpka property and have made

no claim that they own or should actually own it. Instead, they object to the Tribal Defendants’

development of property that PBCI independently acquired from a third party.

       The Plaintiffs’ failure to seek recovery of the land differentiates their case from those in

which courts applied the ten-year statute of limitations in Ala. Code § 6-2-33(2). Unlike the


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   Indeed, based on Plaintiff Thompson’s October 19, 2002, letter to PBCI and federal officials
threatening legal action over excavations at the Wetumpka property, see Doc. 95-7, it appears
that the Plaintiffs’ promissory estoppel claim accrued more than 10 years prior to the filing of the
initial complaint, which would render their constructive trust argument moot.

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present case, those cases typically involve disputes where a party sought a constructive trust

because possession or title to the property was disputed. See Haavik v. Farnell, 87 So. 2d 629,

630 (Ala. 1956) (seeking an order giving plaintiff title to certain lands held by his former wife

and his sister); Henslee v. Merritt, 82 So. 2d 212, 214 (Ala. 1955) (seeking to establish trust in

widow’s favor over land sold for division among devisees of deceased husband’s will); Sykes v.

Sykes, 78 So. 2d 273, 274 (Ala. 1954) (seeking to have trust in real property decreed in plaintiff’s

favor as the equitable owner of real estate purchased during her marriage to defendant). In this

case, the Plaintiffs do not claim that they are the rightful owners of the Wetumpka property or

dispute PBCI’s title to it. Thus, the ten year statute of limitations does not apply, and the

Plaintiff’s promissory estoppel claim is time barred.

       B.      The statute of frauds bars the Plaintiffs’ promissory estoppel claim.

       The Plaintiffs’ promissory estoppel claim also fails because it would violate the statute of

frauds. Alabama law does not allow the use of promissory estoppel to enforce an agreement that

is void under the statute of frauds. See Branch Banking & Tr. Co. v. Nichols, 184 So. 3d 337,

347-48 (Ala. 2015); see also Boman v. City of Gadsden, 220 So. 3d 298, 303 n.3 (Ala. 2016);

Martin Marietta Materials, Inc. v. Limestone Redbay, Inc., No. 7:12-CV-02765-HNJ, 2017 WL

3444738, at *7 (N.D. Ala. June 30, 2017). And under Alabama’s statute of frauds, an agreement

that cannot be performed within one year is void unless made in writing. Ala. Code § 8-9-2(1);

see also Boman, 220 So. 3d at 303 n.3 (“Had an unwritten agreement existed, however, it

appears it would be void under the Statute of Frauds because such an agreement by its terms

could not be performed within one year of its making.”); Lee v. Town of Good Hope, 1998 WL

465114, at *11 (N.D. Ala. June 24, 1998). Given that a promise to protect land “in perpetuity” by

its very terms cannot be performed within one year, the statute of frauds bars the Plaintiffs’



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promissory estoppel claim unless the Tribal Defendants made the alleged promise in an

enforceable written contract. They did not.

       The Plaintiffs have not alleged the existence of any written agreement between the parties

wherein the Tribal Defendants committed to preserve the subject property in perpetuity in

exchange for the Plaintiffs’ not objecting to “Poarch’s acquisition of the property, either in fee or

trust, and in supporting Poarch’s federal recognition.” See SAC ¶¶ 214-17. At most, they allege

that the Poarch Band committed to preserving the property in a letter to a third party, the

Alabama Historical Commission, seeking a federal historic preservation grant administered by

that Commission. See SAC ¶¶ 64, et seq. (citing SAC Ex. A, Doc. 190-1). But that application

letter is not a contract, nor does it set forth an unequivocal commitment to preserve the property

in perpetuity without development. On the contrary, it explicitly contemplates eventual

development, stating that “[p]rior to any type of development of the property a scientifically

sound archaeological program will be conducted to mitigate or minimize effects upon the

historic resources.” Doc. 190-1 at 4. Nor does the letter reflect other terms of any alleged

agreement between the Plaintiffs and the Tribal Defendants; indeed, it sets forth no consideration

or commitment by the Plaintiffs and makes no reference whatsoever to PBCI’s eventual federal

recognition or transfer of the property into trust. See generally Doc. 190-1, Ex. A. Accordingly,

to the extent that the Plaintiffs rely upon the letter as the writing necessary to satisfy the Statute

of Frauds, their argument fails because that letter does not set out all essential terms of the

alleged agreement. See Lambert v. First Fed. Mortg., 47 F. Supp. 3d 1310, 1319 (N.D. Ala.

2014) (holding that an alleged agreement violated the statute of frauds where the plaintiffs were

“attempting to enforce what they claim to be a verbal contract with some terms reduced to

writing … and at least one essential term not in writing”).



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       Finally, should the Plaintiffs attempt to assert that any as-yet unidentified written contract

compliant with the statute of frauds does encapsulate the entire agreement that they seek to

enforce via promissory estoppel, their claim still would fail because promissory estoppel cannot

be invoked to enforce an agreement set forth in a valid, written contract. Madison County v.

Evanston Ins. Co., 340 F. Supp. 3d 1232, 1291 (N.D. Ala. 2018) (“A promissory estoppel claim

has no viability in the presence of a valid breach-of-contract claim regarding the same

promise.”); see also Aldridge v. DaimlerChrysler Corp., 809 So. 2d 785, 794 (Ala. 2001)

(indicating that Alabama courts proceed to promissory estoppel analysis only after they have

“determined that no binding contract existed”). In short, the statute of frauds bars enforcement of

the Tribal Defendants’ alleged perpetual preservation promise to the extent that it was not fully

set forth in a valid written contract, and Alabama law provides that promissory estoppel is

unavailable to enforce promises that are set forth in such a contract.15 The facts of this case thus

leave the Plaintiffs with no avenue to assert a viable promissory estoppel claim.

       C.      The Plaintiffs have failed to allege the elements of promissory estoppel.

       Even if the Plaintiffs’ promissory estoppel claim were timely and not barred by the

statute of frauds, it would still fail because the Plaintiffs have not alleged facts establishing the

essential elements of promissory estoppel. Under Alabama law, there are four elements of

promissory estoppel: (1) the defendant made a promise; (2) the defendant should have

reasonably expected to induce action or forbearance of definite and substantial character; (3) the

promise did, in fact, induce action or forbearance; and (4) injustice can be avoided only by

enforcing the promise. AAL USA, Inc. v. Black Hall Aerospace, Inc., No. 2:16-CV-02090-KOB,

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  PBCI did enter into a written, enforceable agreement to preserve the property for 20 years. See
Stinson Decl., Ex. A. That agreement expired in 2000, the Plaintiffs do not allege its breach, and
any such claim would be hopelessly time barred in any case. See SAC ¶¶ 62, 100. To the extent
that the Plaintiffs ask this Court to equitably impose a perpetual preservation agreement on the
Tribal Defendants, they effectively ask it to nullify the written agreement’s express term.

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2018 WL 3368855, at *5 (N.D. Ala. July 10, 2018) (citing Branch Banking, 184 So. 3d at 347).

The Plaintiffs have failed to allege that the Tribal Defendants made an enforceable promise, that

those defendants should have reasonably expected forbearance based on that purported promise,

or that the Plaintiffs detrimentally relied on that promise.

               1.      The Plaintiffs have not alleged an enforceable promise.

       The Plaintiffs generally allege that PBCI “promised to preserve the Hickory Ground Site

in perpetuity.” SAC ¶ 215. It is unclear from the allegations in the SAC, however, what

“preserve” means and thus exactly what the Plaintiffs allege that PBCI promised to do. Because

the alleged promise is not sufficiently clear or specific, it cannot be enforced by this Court.

Moreover, the principal document that the Plaintiffs rely upon as evidence of an alleged promise

also contains numerous statements contradicting those relied upon by Plaintiffs, revealing that

PBCI, in fact, made no promise at all.

       In order “for a promise to create an estoppel, the promise must be sufficiently specific so

that the judiciary can understand the obligation assumed and enforce the promise according to its

terms.” Wyatt v. BellSouth, Inc., 176 F.R.D. 627, 631 (M.D. Ala. 1998). To allege that Poarch

Band promised to preserve the property in perpetuity, without any development, destruction, or

excavation, Plaintiffs cherry-pick a smattering of phrases from the aforementioned grant

application letter that PBCI submitted to the Alabama Historical Society. See SAC ¶¶ 64, 67. Yet

other parts of the same letter contemplate development of the property, archeological excavation,

and plans to minimize destruction of unstudied archeological remains. See generally Doc. 190-1,

Ex. A. Contemplation of development and archeological excavation and commitments to

minimize damage to archeological resources are inconsistent with, and flatly contrary to, PBCI’s

alleged promise to perpetually preserve property without any excavation, destruction, or



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development. And a mere promise to “minimize destruction” is far too general and lacking in

specifics to be enforced by a Court. See, e.g., Aldridge, 809 So. 2d at 794 (holding that a

promissory estoppel claim failed because the alleged promise was “general” and not specific);

Bates v. Jim Walter Res., Inc., 418 So. 2d 903, 905 (Ala. 1982) (holding that a promissory

estoppel claim fails where the alleged promise did not contain material terms); Walk, Inc. v.

Zimmer, 2014 WL 2465311, at* 9 (N.D. Ala. May 30, 2014) (dismissing promissory estoppel

claim that alleged promise in “non-specific terms”).

       Not only is the alleged promise insufficiently specific, even a cursory review of the five-

page letter leads one to the inescapable conclusion that PBCI made no promise at all to preserve

the Wetumpka property in perpetuity, without development, excavation, or destruction, as the

Plaintiffs allege. Indeed, the letter read as a whole, as it must be, makes clear that Poarch Band

intended to develop the property in the future. Specifically, the letter indicates that:

       [T]hrough proper archeological methods and techniques these below the surface
       features can reveal a tremendous amount of information about the Creek way of
       life in the late 1700’s and 1800’s. Upon gaining fee-simple title to the land as
       called for in this proposal plans will be developed to minimize continued
       destruction of the archeological resources. Prior to any development of the
       property, a scientifically sound archeological program will be conducted to
       mitigate or minimize effects upon the historic resources.

Doc. 190-1 at 4. Because the very document on which the Plaintiffs rely contemplated the

eventual development and excavation of the property and did not unequivocally promise to

preserve it in perpetuity, their promissory estoppel claim fails.

       The Plaintiffs also rely, to a much lesser extent, on written congressional testimony

submitted by PBCI’s Chairman in 1983, after PBCI acquired the property, regarding PBCI’s

plans for certain unrelated trust funds. The SAC alleges that PBCI “‘propose[d] to use part of

this money to make that site, not only available to all of our people, but to the general public as

well.’” SAC ¶ 70. It also quotes a portion of the testimony wherein PBCI’s Chairman “proposes

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to use fifty percent of the proceeds of S. 1224 to preserve and to present to both Indian and non-

Indian this unique and historical site.” Id. ¶ 72. This testimony is non-specific and unenforceable.

The statements do not amount to an unequivocal commitment to maintain the property in

perpetuity without development, destruction, or excavation. Rather, it amounts to a non-specific

“proposal” to “preserve and present” the site to Indian and non-Indian people. This is not a

statement that a court could possibly enforce and thus cannot be the basis for a promissory

estoppel claim.16 Because the Plaintiffs have not alleged any judicially enforceable promises by

PBCI, their promissory estoppel claim fails. See Griffin Indus., Inc. v. Irvin, 496 F.3d 1189, 1206

(11th Cir. 2007) (holding that at the motion to dismiss stage “when the exhibits contradict the

general and conclusory allegations of the pleading, the exhibit govern”); seei e.g., Cantrell v.

City Federal Sav. & Loan Ass’n, 496 So. 2d 746, 751 (Ala. 1986) (holding that statements made

were not a promise and without a promise upon which they could have relied, plaintiffs could not

recover on a promissory estoppel theory).

               2.      PBCI could not have reasonably foreseen that the Plaintiffs would rely on
                       statements made in the grant application letter and congressional
                       testimony.

       The promissory estoppel claim also fails because PBCI could not have reasonably

foreseen that the Plaintiffs would rely upon the purported promises at issue. First, because PBCI

made no promise to preserve the property in perpetuity and in fact represented in its grant

application that it contemplated development in the future, it could not have reasonably foreseen

that the Plaintiffs would misconstrue the letter and rely on their erroneous interpretation. Nor

could PBCI have reasonably foreseen that the Plaintiffs would rely upon a vague proposal

contained in congressional testimony about unrelated funding. Second, the fact that PBCI did not


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  The testimony also was given after PBCI acquired the property, meaning that the Plaintiffs
could not possibly have relied upon it to forebear opposing that acquisition.

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make the alleged representations to the Plaintiffs, but to the Alabama Historical Society and

Congress, further undermines any claim that it should have anticipated the Plaintiffs’ reliance.

Third, the grant application letter describes an unrealized “plan” for PBCI and MCN to jointly

own and manage the Wetumpka property, which obviously did not occur. See Doc. 190-1 at 5

(“Under this plan, the property will be jointly owned by both groups of Creeks. They will be

equally responsible for the protection and care of the site.”). PBCI could not reasonably be

expected to foresee the Plaintiffs’ reliance on statements extracted from a proposal that never

came to fruition. In the absence of foreseeable reliance, the Plaintiffs cannot state a claim for

promissory estoppel.

              3.       The Plaintiffs have failed to allege facts establishing detrimental reliance.

       The Plaintiffs also have not alleged facts establishing the essential element of detrimental

reliance, which is the “gravamen of the claim of promissory estoppel ….” Wyatt v. BellSouth,

Inc., 18 F. Supp. 2d 1324, 1326 (M.D. Ala. 1998); see also Madison County, 340 F. Supp. 3d at

1290-91. To establish detrimental reliance, a party must show that it was damaged as a result of

its reliance on another; in other words, there must be a link between the reliance and the

detriment. Accord Bosarge Offshore, LLC v. Compass Bank, 943 So. 2d 782, 787 (Ala. 2006)

(“The notion that detrimental reliance is untethered to damage … is completely unfounded.”).

       The Plaintiffs ground their promissory estoppel claim on their assertion that, based on an

alleged promise from the Tribal Defendants, they refrained from objecting to: (1) PBCI’s 1980

acquisition of the Wetumpka property in fee; (2) PBCI’s 1984 federal recognition; and (3) the

United States’ decision to take the property into trust in 1985. See SAC ¶¶ 61, 73, 214-17. And

they allege that they were harmed by subsequent excavation and construction activity on the

property. But the Plaintiffs do not and cannot establish any causal connection between their



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withholding of objections and their alleged harm. They thus necessarily fail to show detrimental

reliance.

       As to the first assertion, the Plaintiffs do not claim they had any legal or practical

authority to prevent PBCI from acquiring the property in fee. They did not own the land when

PBCI initially purchased it, nor did they provide any funding for its acquisition. Because they

lacked any authority to prevent the purchase, the Plaintiffs cannot establish that their objection

would have carried any weight. And even if they had somehow managed to prevent the Poarch

Band from acquiring the property, their own evidence indicates that the result would have been

imminent commercial development of the property in the 1980s—meaning that even a successful

objection would not have prevented their asserted injury. See Doc. 190-1 at 5. The Plaintiffs

therefore cannot establish that, by refraining from objecting to PBCI’s fee acquisition of the

subject property, they detrimentally relied on any representation by the Tribal Defendants.

       The Plaintiffs’ second and third assertions are equally unavailing. They cannot show that

their objection would have prevented the Poarch Band’s 1984 federal recognition or the United

States’ taking of the property into trust in 1985. And even if the Plaintiffs had successfully

opposed either action, PBCI still would have held the land in fee with the right to excavate and

develop the property as it saw fit after the expiration of the 20-year preservation covenant. Once

again, there simply is no connection between the Plaintiffs’ withholding of objections and the

harm that they allege. Because the Plaintiffs cannot show detriment resulting from their alleged

inaction in reliance on PBCI’s putative promise, they cannot establish a viable promissory

estoppel claim.




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IV.    The Plaintiffs’ unjust enrichment claim should be dismissed.

       Like their promissory estoppel claim, the Plaintiffs’ unjust enrichment allegations fail to

state a claim. The claim fails as a matter of law because: (1) the Plaintiffs have not adequately

alleged necessary elements; (2) it is untimely; and (3) it is barred by the statute of frauds.

       A.      The elements and limitations of unjust enrichment.

       “‘To prevail on a claim of unjust enrichment, the plaintiff must show that the defendant

holds money which, in equity and good conscience, belongs to the plaintiff or holds money

which was improperly paid to defendant because of mistake or fraud.’” Scrushy v. Tucker, 955

So. 2d 988, 1011 (Ala. 2006) (emphasis omitted) (quoting Avis Rent A Car Sys., Inc. v. Heilman,

876 So. 2d 1111, 1122-23 (Ala. 2003)). Importantly, the plaintiff asserting unjust enrichment

must show not only that the defendant has been unjustly enriched, but also that the alleged unjust

enrichment came at the plaintiff’s expense. See United States ex rel. Mathews v. Decatur Hotels,

L.L.C., 2008 WL 11375354, at **6-7 (N.D. Ala. Aug. 21, 2008) (analyzing Scrushy, Dickinson,

and other Alabama case law); see also Rutledge v. Aveda, 2015 WL 2238786, at **13-14 (N.D.

Ala. May 12, 2015) (dismissing a claim by a plaintiff who alleged that the defendant unjustly

retained a benefit provided by third parties); accord Tiller v. State Farm Mut. Auto. Ins. Co., 549

Fed. App’x 849, 856-57 (11th Cir. 2013) (applying Georgia law to hold that “a transfer of some

benefit from plaintiff to defendant is an element of an unjust enrichment claim” and noting that

its holding “conforms to the traditional notion of unjust enrichment”). Additionally, Alabama

law imposes, at the outside most, a six-year limitations period on claims for unjust enrichment—

a limitations period that the Plaintiffs have not met. See Snider v. Morgan, 113 So. 3d 643, 655

(Ala. 2012) (noting that Alabama courts have not determined whether the statute of limitations

for unjust enrichment is two or six years). And like a claim for promissory estoppel, claims for




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unjust enrichment are subject to the statute of frauds. Branch Banking, 184 So. 3d at 347

(holding the statute of frauds bars both promissory estoppel and unjust enrichment claims).

       B.      The Plaintiffs do not allege that the Tribal Defendants have retained a benefit that
               rightfully belongs to the Plaintiffs.

       The Plaintiffs allege that the Tribal Defendants were unjustly enriched by: (1) acquiring

the property at issue at no cost and without objection by the Plaintiffs; (2) allegedly “destroying a

large part” of the Hickory Ground site to accommodate construction of a profitable hotel and

gaming facility; and (3) continuing and expediting construction of that facility without

adequately notifying or consulting with the Plaintiffs and over their objections. See SAC ¶¶ 202,

208-09, 211. Even if accepted as true, these allegations do not provide grounds for the Plaintiffs

to state a viable unjust enrichment claim because the Plaintiffs have not identified any benefit

retained by the Tribal Defendants that rightfully belongs to the Plaintiffs.

       Judge Hopkins’ opinion in Decatur Hotels illustrates the problem with the Plaintiffs’

unjust enrichment theory. There, the plaintiff, a former employee of the defendant hotel

company, filed False Claims Act and unjust enrichment claims alleging that the hotel company

had submitted improper claims for reimbursement under a federal program intended to provide

housing for individuals displaced by Hurricane Katrina. See generally Decatur Hotels, 2008 WL

11375354. In rejecting the unjust enrichment theory, the court emphasized that the plaintiff was

“not seeking restitution from [defendant] for something which she claims it holds that rightfully

belongs to her.” Id. at *6. Instead, the plaintiff argued that Alabama law allowed her to maintain

an unjust enrichment claim merely based on the defendant’s alleged unjust receipt of a benefit

from a third party. Id. at **6-7. The Court rejected the plaintiff’s argument, holding that an

“unjust enrichment claim cannot proceed as a matter of law” when the defendant “does not have

in its possession any money belonging to [the plaintiff].” Id. at *7 (internal quotation omitted)


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(citing Hancock-Hazlett Gen. Constr. Co., Inc. v. Trane Co., 499 So. 2d 1385, 1387 (Ala. 1986));

see also Rutledge, 2015 WL 2238786, at **13-14 (holding that a plaintiff failed to alleged the

elements of unjust enrichment when she contended that it was unjust for the defendants to retain

benefits provided by third parties).

       The Plaintiffs’ unjust enrichment claim suffers the same flaw as those at issue in Decatur

Hotels and Rutledge. While the Plaintiffs contend that the Tribal Defendants were unjustly

enriched by acquiring the subject property “at no cost,” SAC ¶ 202, they do not contend that they

bore the cost of the property or otherwise were deprived of a benefit by the Poarch Band. On the

contrary, the SAC explicitly alleges that the Poarch Band acquired the property via a federal

grant and a donation from the former landowner. Id. ¶ 61. To the extent that the Plaintiffs assert

that they should be able to recover based on a benefit conferred on the Tribal Defendants by third

parties, they fail not only to allege the necessary elements of unjust enrichment, but also the

basic minimum requirements of Article III standing. See Rutledge, 2015 WL 2238786, at **13-

14 (citing U.S. ex rel. Long v. SCS Bus. & Tech. Inst., 999 F. Supp. 78, 92 (D.D.C. 1998)

(holding that where the alleged unjustly retained benefit was conferred by someone other than

the plaintiff, the plaintiff lacks standing to sue for unjust enrichment), rev’d on other grounds by

173 F.3d 870 (D.C. Cir. 1999); see also Bykov v. Radisson Hotels Int’l., Inc., 221 F. App’x 490,

491-92 (8th Cir. 2007) (affirming dismissal of unjust enrichment claim on standing grounds

where plaintiff’s employer, rather than plaintiff, paid allegedly overstated hotel bill). And while

the Plaintiffs allege that the Tribal Defendants were unjustly enriched by constructing and

operating a commercial development on the subject property many years after acquiring it, SAC

¶¶ 209-12, the Plaintiffs offer no explanation of how that allegedly unjust enrichment could be

construed as a benefit that rightfully belongs to them. Simply put, the legal theory of unjust



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enrichment does not match the injuries that the Plaintiffs allege. The unjust enrichment claim

fails as a matter of law, and the Court should dismiss it.

       C.      The Plaintiffs’ unjust enrichment claim is untimely and barred by the statute of
               frauds.

       As explained in Snider, while the statute of limitations for unjust enrichment in Alabama

is unsettled, it certainly is no more than six years. See Snider, 113 So. 2d at 655. Accordingly, to

the extent that the Plaintiffs’ claim of unjust enrichment is based on any of: (a) PBCI’s

acquisition of the property “at no cost to Poarch” in 1980, SAC ¶ 202; (b) the United States’

formal acknowledgement of PBCI’s tribal status and acceptance of the property into trust

without objection from the Plaintiffs in 1984, id. ¶¶ 205-08; or (c) PBCI’s allowing

archaeologists to perform excavations on the property beginning in or before 2006 in violation of

an alleged promise to preserve the property without excavation, id. ¶ 209, any such claim was

time barred when the Plaintiffs filed their original complaint in December 2012.

       Alabama law does appear to allow for a form of continuing unjust enrichment under

limited circumstances, with the Snider court holding that an unjust enrichment claim might be

viable where a defendant was obligated to undertake serial performances and had been unjustly

enriched by failing to do so within the limitations period, see Snider, 113 So. 2d at 655-56, but

no such serial performance obligation is present here. PBCI’s acquisition of the land in fee, its

transfer of the land into trust, and its breach of an alleged obligation to perpetually preserve the

property were all discrete events, each of which occurred outside of the limitations period. Any

unjust enrichment claim based on those actions is therefore time barred and futile, providing a

further reason for Court to deny the Plaintiffs’ request to add a claim of unjust enrichment.

       The Plaintiffs’ unjust enrichment claim suffers also suffers from the same statute of

frauds problem as their promissory estoppel claim. Alabama law does not allow the use of unjust


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enrichment to enforce an agreement or promise that is void under the statute of frauds. See

Branch Banking, 184 So. 3d at 347-48; Davis v. Wells Fargo Home Mortg., Inc., 2016 WL

393850, at **4-5 (N.D. Ala. Feb. 2, 2016) (“Because Wells Fargo’s alleged oral promise to

postpone foreclosure is barred by the Statute of Frauds, the Plaintiff’s unjust enrichment and

fraud claims, which are based on that same oral promise, are likewise barred.”). The Plaintiffs’

unjust enrichment claim relies upon the same purported representations as their promissory

estoppel claim, and it accordingly fails for reasons previously addressed. See SAC ¶¶ 202-03.

       D.      The Plaintiffs’ contention that they seek a constructive trust does not revive their
               unjust enrichment claim or take it outside the statute of frauds.

       Just as they did for promissory estoppel, the Plaintiffs argued in support of their motion

for leave to amend that their claim for unjust enrichment is subject to a ten year statute of

limitations and falls outside the statute of frauds because it seeks constructive trust as a form of

relief. That argument fails in the unjust enrichment context for all of the reasons that it fails in

support of promissory estoppel. See supra Part III.

V.     The Plaintiffs have failed to state a claim on which any relief can be granted under
       NAGPRA and cannot obtain their requested relief in any event.

       Count VII of the SAC alleges that PBCI and the Federal Defendants have committed

numerous violations of NAGPRA. Broadly speaking, these putative violations consist of: (1)

alleged failures to appropriately consult with or obtain consent from the Plaintiffs prior to

archaeological excavation or construction on the Wetumpka property; (2) not transferring

custody of remains and artifacts to the Plaintiffs; and (3) alleged failures to comply with

NAGPRA reporting and record-keeping requirements. See generally SAC ¶¶ 244-55. For reasons

explained in detail below, none of the alleged conduct by the Tribal Defendants constitutes a

violation of NAGPRA. Moreover, even if the Plaintiffs had successfully alleged NAGPRA

violations, any such violations cannot justify the vast majority of the relief demanded in the

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SAC. Accordingly, the Plaintiffs’ NAGPRA claims should be dismissed in their entirety for

failure to state a claim pursuant to Rule 12(b)(6). And to the extent that they seek relief that is

unavailable as a matter of law, they are not redressable and should be dismissed for lack of

standing under Rule 12(b)(1).

          A.      The Plaintiffs misconstrue key aspects of NAGPRA.

          While the SAC purports to identify numerous violations of NAGPRA, it does not state

any claims for which relief can be granted against the Tribal Defendants under that statute. To

understand why, it is helpful to briefly review relevant provisions of NAGPRA and its

implementing regulations.

          First, NAPGRA applies only on federal and tribal lands, and it applies differently on

each. The Wetumpka property is tribal land, which NAGPRA defines as including “all lands

within the exterior boundaries of any Indian reservation.” 25 U.S.C. § 3001(15)(A); see SAC ¶

73 (citing Federal Register notices declaring the Wetumpka property part of PBCI’s

reservation).17

          Second, NAGPRA imposes specific duties on “Federal agencies,” which it defines as

“any department, agency, or instrumentality of the United States” other than the Smithsonian, 25

U.S.C. § 3001(4), and on “museum[s],” which are defined, with certain exclusions not relevant

here, as “any institution or State or local government agency (including any institution of higher

learning) that receives Federal funds and has possession of, or control over, Native American

cultural items.” Id. § 3001(8). Neither the definition of “federal agency” nor the definition of

“museum” includes Indian tribes or tribal enterprises; in fact, NAGPRA separately defines

“Indian tribe” as “any tribe, band, nation … which is recognized as eligible for the special



17
     NAGPRA excludes tribal lands from its definition of “federal lands.” See 25 U.S.C. § 3001(5).

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programs and services provided by the United States to Indians because of their status as

Indians.” Id. § 3001(7). PBCI is an Indian tribe; it is not a federal agency or a museum as those

terms are defined for NAGPRA. See, e.g., Hawk v. Danforth, 2006 WL 6928114, at *1 (E.D.

Wis. Aug. 17, 2006) (“NAGPRA applies mainly to federal agencies and museums, and the Tribe

is neither.”)

        Third, for purposes of determining ownership of human remains and objects, NAGPRA

provides a ranked preference list topped by “lineal descendants,” followed by “the Indian tribe

… on whose tribal lands such objects or remains were discovered.” Id. § 3002. “Lineal

descendant,” in turn, is defined as “an individual tracing his or her ancestry directly and without

interruption … to a known Native American individual whose remains, funerary objects, or

sacred objects are being claimed under these regulations.” 43 C.F.R. § 10.2(b)(1) (emphases

added); see also id. § 10.14(b) (repeating this definition). This definition excludes Plaintiffs

MCN and Hickory Ground Tribal Town from qualifying as lineal descendants, as neither of

those tribal governmental entities are individuals. Additionally, “[t]his standard requires that the

earlier person be identified as an individual whose descendants can be traced.” Id. § 10.14(b).

Accordingly, in the absence of an individually identified earlier person whose descendants can

be traced, there necessarily cannot be “lineal descendants” as that term is used in NAGPRA.

PBCI, as the Indian tribe on whose tribal lands all remains and artifacts at issue in this case were

discovered, is the rightful owner of such remains and artifacts under NAGPRA’s preference list

in the absence of any lineal descendants.

        B.      The Plaintiffs allege no viable NAGPRA claims against the Tribal Defendants.

        The aspects of NAGPRA discussed above provide critical context for the assessment and

rejection of the Plaintiffs’ NAGPRA claims against the Tribal Defendants. For example, many of

the alleged violations rest, in whole or in part, on the erroneous premise that the Plaintiffs are or

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represent the “lineal descendants” of persons whose remains were excavated at Hickory Ground.

See, e.g., SAC ¶¶ 118, 250-52, 256-59. It is clear that the Plaintiffs are not lineal descendants for

NAGPRA purposes, however, because they cannot (and do not even attempt to) identify any

known, historical Native American individual whose remains or funerary objects are at issue,

and thus do not satisfy the definition of lineal descendants set forth in 43 C.F.R. §§ 10.2(b)(1),

10.14(b). The SAC’s repeated statements that Plaintiffs are or represent the lineal descendants of

individuals whose remains were excavated from the Wetumpka property constitute, in the

context of NAGPRA, legal conclusions that are not entitled to any presumption of validity.

Moreover, in the absence of any attempt to identify the alleged historic individuals whose

remains or belongings they claim are at issue, the Plaintiffs’ bald assertions that they qualify as

lineal descendants for NAGPRA purposes are perfect examples of the sort of “labels and

conclusions” and “naked assertion[s] devoid of further factual enhancement” that “will not do”

to sustain a cause of action. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted) (citing

Twombly, 550 U.S. at 555, 557).

       Because the Plaintiffs have not adequately alleged that they are the lineal descendants of

identified individuals whose remains have been recovered from the Wetumpka site, they have no

ownership interest in such remains under NAGPRA. The act specifically provides that where

lineal descendants, as defined in the act’s regulations, cannot be ascertained, remains and

associated funerary objects unearthed on Indian lands belong to “the Indian tribe … on whose

tribal land such objects or remains were discovered.” 25 U.S.C. § 3002(a)(2)(A). Here, that is

PBCI. Therefore, absent adequate allegations of lineal descent from an identified individual—

allegations that the SAC makes no pretense of making—any human remains or associated

funerary objects discovered on the Wetumpka property belong to PBCI. Any allegations or



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claims for relief against the Tribal Defendants that hinge upon the Plaintiffs’ alleged ownership

or entitlement to custody of such objects (or PBCI’s lack thereof) should be dismissed pursuant

to Fed. R. Civ. P. 12(b)(6), as should any allegation that PBCI failed to comply with

requirements to consult with or obtain the consent of lineal descendants. See, e.g., SAC ¶¶ 244,

248, 250-52.

       The Plaintiffs’ claims based on alleged violations of putative requirements for the Tribal

Defendants to consult with or obtain the consent of MCN or obtain certain permits prior to the

intentional excavation or removal of remains or artifacts from Wetumpka property also fail to

state a valid claim. See, e.g., SAC ¶¶ 244-45, 248-50, 257-58. For example, the Plaintiffs allege

that the Tribal Defendants violated NAGPRA by failing to comply with the requirements for

obtaining an ARPA permit (which they contend required their consultation and consent as lineal

descendants, inter alia) prior to engaging in intentional archaeological excavations at the

Wetumpka property. Id. ¶ 244, 248, 250, 256-58. This argument initially fails because the

Plaintiffs are not lineal descendants, and their consultation and consent thus are not required

under the relevant ARPA regulations. See 25 C.F.R. § 262.5(d) (requiring consent of “the

appropriate Indian tribe” as determined under § 262.8(a)); § 262.8(a) (incorporating NAGPRA’s

ranked preference list, where the tribe on whose Indian lands an excavation occurs is second only

to lineal descendants). Putting that aside, the Plaintiffs’ argument still would fail because even

assuming, arguendo, that a violation of ARPA constitutes a violation of NAGPRA, ARPA

explicitly provides that “[n]o permit shall be required … for the excavation or removal by any

Indian tribe or member thereof of any archaeological resource located on Indian lands of such

Indian tribe ….” 16 U.S.C. § 470cc(g)(1). Because the Wetumpka property is PBCI’s “Indian

land,” ARPA explicitly exempts the Tribal Defendants from its permitting requirements with



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respect to intentional excavations at the Wetumpka property. The Tribal Defendants’ alleged

non-compliance with those permitting requirements thus does not violate ARPA and cannot

possibly constitute a NAGPRA violation by extension. 18 The Plaintiffs’ attempt to conjure a

NAGPRA violation from an alleged failure to comply with inapplicable provisions of ARPA

fails as a matter of law, and should be dismissed pursuant to Rule 12(b)(6).

       The Plaintiffs’ allegations that the Tribal Defendants violated NAGPRA’s inadvertent

discovery provisions also fail to state a claim, albeit for slightly different reasons. Preliminarily,

the Plaintiffs have failed to adequately allege that inadvertent discoveries occurred. After making

no allegation of inadvertent discoveries in their original or First Amended Complaint, see

generally Docs. 1, 57, they now offer wholly conclusory and unsupported allegations “on

information and belief” that such discoveries took place. See SAC ¶¶ 134-35, 255. While courts

sometimes construe allegations made on information and belief as satisfying the Iqbal pleading

standard in appropriate circumstances, those courts still require plaintiffs to provide a “factual

basis other than … speculation” supporting such allegations. Daisy, Inc. v. Pollo Operations,

Inc., 2015 WL 1418607, at *6 (M.D. Fla. Mar. 27, 2015) (citing Sinaltrainal v. Coca-Cola Co.,

578 F.3d 1252, 1268 (11th Cir. 2009)); see also, e.g., Sream, Inc. v. Hookah Me Up, Inc., 2019

WL 2269740, at *2 (S.D. Fla. Feb. 5, 2019) (“Factually unsupported allegations based ‘on

information and belief’ are not entitled to assumption of truth.”); Philistin v. Ocwen Loan

Servicing, LLC, 2019 WL 1474329, at **2-3 (S.D. Fla. Mar. 18, 2019). The Plaintiffs offer no

factual basis for their newfound “belief” that the Tribal Defendants made and ignored




18
   The Plaintiffs’ failure to state a claim against the Tribal Defendants under ARPA is discussed
in more detail below.

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inadvertent discoveries of “cultural items” as that term is defined in NAGPRA.19 See 25 U.S.C §

3001(3). Indeed, any such belief is strongly undermined by the fact that trained archaeologists

from Auburn University conducted a Phase III archaeological excavation of the site before the

Tribal Defendants started construction of the facility expansion during which the inadvertent

discoveries supposedly occurred. See SAC ¶¶ 100-104, 108, 230-32, 255. There is no reason to

infer that trained archaeologists conducting an excavation “designed to record the data a site

contains before the project proceeds to construction and the site is lost,” SAC ¶ 103, would fail

to identify or record NAGPRA qualified cultural items, instead leaving them to be lost during

subsequent construction. Because the Plaintiffs have failed to adequately allege that inadvertent

discoveries occurred at all, they fail to state a claim based on violations of duties triggered by

such discoveries, and all such claims should be dismissed under Rule 12(b)(6).

       Even if the SAC adequately alleged that cultural items were inadvertently discovered

during the construction activity that occurred between 2012 and 2014, it still would fail to state a

viable inadvertent discovery NAGPRA claim against the Tribal Defendants for several reasons.

The provision of NAGPRA and the accompanying regulation pertaining to inadvertent

discoveries on tribal lands direct the discovering party to (1) notify appropriate tribal officials,

(2) cease ongoing construction or related activity in the area for thirty days after such notice is

certified received, (3) take reasonable efforts to protect inadvertently discovered cultural items.




19
    To be clear, NAGPRA does not apply to all discoveries of any Native American
archaeological deposits or artifacts, even on federal and tribal lands. Its inadvertent discovery
provision, 25 U.S.C. § 3002(d), is only applicable to and triggered by the discovery of “cultural
items” as defined in the act. It certainly does not apply to soil, to the extent that the Plaintiffs’
allegations are based on the moving of soil that once was located in the vicinity human remains.
See SAC ¶ 231 (alleging that moving soil was an outrageous desecration of human remains); 43
C.F.R. § 10.2(d)(1) (defining “human remains” as “the physical remains of the body of a person
of Native American ancestry”).

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See 25 U.S.C. § 3002(d); 43 C.F.R. § 10.4. 20 Importantly, because any alleged inadvertent

discoveries in this case took place on PBCI’s tribal lands, PBCI was the only entity entitled to

receive notice under these provisions and, to the extent that tribal consent or authorization was

required to resume activities, PBCI was the tribe to provide it. See 25 U.S.C. § 3002(d)(1); 43

C.F.R. § 10.4(b), (e); see also Rosales v. United States, 2007 WL 4233060, at *8 (S.D. Cal. Nov.

28, 2007) (explaining that federal officials must be notified when discovery occurs on federal

lands, and tribal officials must be notified when discoveries occur on tribal lands). Because the

Plaintiffs were not entitled to notification, the Tribal Defendants did not violate NAGPRA by not

providing it and the Plaintiffs were not injured by not receiving it. Any claims based on alleged

inadvertent discoveries therefore must be dismissed with prejudice pursuant to Rule 12(b)(6) and

under Rule 12(b)(1) on the grounds that the Plaintiffs’ lack of any injury, much less one fairly

traceable to a violation by the Tribal Defendants, deprives them of standing to assert this claim.

       The Plaintiffs also erroneously allege a NAGRPA violation arising out of the Tribal

Defendants’ putative violation of an NPS agreement pursuant to which PBCI assumed certain

historic preservation responsibilities. SAC ¶¶ 245, 249. The NPS agreement, however, was

entered into between PBCI and NPS pursuant to the NHPA, and the provisions that the Plaintiffs

accuse PBCI of violating reference only certain obligations under the NHPA. See id.; Doc. 190-1

at 115, 117. While the Tribal Defendants address the Plaintiffs’ failure to state a claim under the

NHPA below, even if PBCI had violated its agreement with NPS, there is no indication that the

Plaintiffs have any right to enforce that agreement at all, much less to assert a NAGPRA claim

based on any such breach. The NPS agreement also appears to be the basis for the Plaintiffs’

assertion that the Tribal Defendants are delegees of federal functions and thus constitute federal


20
  Paragraph 255 of the SAC cites different subsections of § 3002, but from context it is clear
that the Plaintiffs intended to refer to 25 U.S.C. § 3002(d).

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actors, liable as federal officials. See SAC ¶ 246. Whatever the merits—or lack thereof—of this

argument as to the federal functions identified in the NPS agreement, it has no relevance to the

Plaintiffs’ NAGPRA claim. As noted above, PBCI is not a federal agency as that term is defined

in NAGPRA, and the NPS agreement does not delegate to PBCI responsibility for any federal

obligations imposed by NAGPRA. To the extent that the attempt to base any NAGRPA claim on

the NPS agreement, their claim should be dismissed pursuant to Rule 12(b)(6).

       Finally, the SAC alleges that the Tribal Defendants have violated NAGPRA by not

providing a final inventory or report regarding cultural items recovered from the Wetumpka

property. See SAC ¶ 254. This is incorrect. The final inventory/report obligation is found in 25

U.S.C. § 3003 and expanded upon in 43 C.F.R. § 10.9, both of which explicitly apply only to

museums and federal agencies. See id.; Hawk, 2006 WL 6928114, at *1. PBCI, as explained

above, is neither a federal agency nor a museum. The final inventory requirement is this

inapplicable on its face to the Tribal Defendants, and the Plaintiffs’ claim based on alleged

noncompliance with that requirement must be dismissed under Rule 12(b)(6).

       In sum, none of the ostensible violations of NAGPRA alleged in the SAC give rise to a

viable claim against the Tribal Defendants. The Court accordingly should dismiss Count VII in

its entirely for failure to state a claim and, to the extent that it fails to allege injuries that are

fairly traceable to any conduct by the Tribal Defendants, for lack of subject matter jurisdiction

due to the Plaintiffs’ lack of standing.

       C.      NAGPRA does not require that burial sites be maintained in a pristine,
               undisturbed condition and cannot justify the relief sought in the SAC.

       The Plaintiffs appear to assume, incorrectly, that NAGPRA empowers them to demand

that the Wetumpka property remain entirely undisturbed and that any remains found there be left

in place or, if already removed, returned to their initial resting place, with no further activity


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occurring on the site. See, e.g., SAC ¶¶ 256-61. NAGPRA does not contemplate or confer any

such right on the Plaintiffs or anyone else.21 Rather, it explicitly contemplates the removal of

human remains and associated objects and provides steps to be taken for the preservation and

transfer or repatriation of such remains to their rightful Indian owners. See, e.g., 25 U.S.C. §

3002(c) (providing for the “intentional removal … or excavation” of protected Indian cultural

items, which is defined to include human remains); 43 C.F.R. § 10.3 (permitting the excavation

and removal of human remains and protect objects and providing appropriate procedures to

follow). The only provision of NAGPRA that provides for a cessation of construction or other

activity on property containing protected resources is § 3002(d), which provides, in the event of

an inadvertent discovery of cultural items on tribal lands, that construction or other activity shall

be suspended for thirty days to allow the tribe on whose lands the discovery occurred to take

steps to protect and preserve such objects pending their repatriation.

       There is nothing whatsoever in NAGPRA that grants the Plaintiffs the power to insist that

the PBCI forever cease construction or any other activities on its own lands or preserve those

lands in any particular condition. Accordingly, to the extent that the Plaintiffs’ request for a

permanent injunction on construction or other activity at the Wetumpka site or their demand that

the site be restored to some pre-existing condition with remains replaced in their original

locations are based on NAGPRA, they far exceed the scope of relief available under that act (or

any other law). The Court should dismiss the Plaintiffs’ NAGPRA claims against the Tribal

Defendants in their entirety for all of the reasons stated above, but even if it does not, it should

dismiss them to the extent that they seek relief beyond what is available under the act.




21
  As explained above, the Plaintiffs are not “lineal descendants” for NAGPRA purposes, but
even lineal descendants would not be entitled to the relief that the Plaintiffs seek.

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VI.    The Plaintiffs have failed to state a claim upon which relief can be granted against
       the Tribal Defendants under ARPA.

       The Plaintiffs have failed to state a claim on which relief can be granted against any of

the Tribal Defendants under ARPA. As an initial matter, ARPA does not provide for a private

right of action. See Cohen’s Handbook of Federal Indian Law (2005 ed.), § 20.02(2)(d) (Cohen)

(“ARPA does not authorize private actions in federal court.”); Cheavins v. Pub. Serv. Corp. of

Colo., 176 F. Supp. 3d 1088, 1094 (D. Colo. 2016). The act is generally directed to federal

officials, and while it certainly proscribes certain activities by non-federal entities and

individuals, the enforcement mechanisms for these prohibitions consist of statutorily defined

civil and criminal penalties. See 16 U.S.C. §§ 470ee, 470ff; 43 C.F.R. §§ 7.15-7.17. Importantly,

enforcement of ARPA’s civil penalties is left to the relevant federal land manager, and there is a

specific provision providing that private parties who provide information that results in

assessment of civil penalties against a violator are entitled to share in the proceeds of the penalty.

See id.; Cohen, § 20.02[d]. Such an enforcement regime clearly does not contemplate—indeed it

leaves no room for—private civil actions seeking to enforce ARPA, particularly against

nonfederal actors. See, e.g., Lopez v. Jet Blue Airways, 662 F.3d 593, 596-97 (2d Cir. 2011)

(citing Alexander v. Sandoval, 532 U.S. 275 (2001)) (explaining that federal statutes only give

rise to a private right of action where the “text and structure of a statute yield a clear

manifestation of congressional intent to create” one); Love v. Delta Air Lines, 310 F.3d 1347,

1351-54 (11th Cir. 2002) (discussing and applying Sandoval). Accordingly, the Plaintiffs’

ARPA-based claims against the Tribal Defendants should be dismissed for failure to state a

claim upon which relief can be granted.

       Even if ARPA did authorize private civil enforcement actions, the SAC would not state

any valid ARPA claims against the Tribal Defendants for several reasons. First, many of the


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Plaintiffs’ ARPA allegations pertain to ostensible non-compliance with ARPA permitting

requirements or ARPA permits. See, e.g., SAC ¶¶ 275, 277-80. These allegations necessarily fail

to state a claim because ARPA expressly exempts the Tribal Defendants from its permitting

requirements for excavations on PBCI tribal lands. See 16 U.S.C. § 470cc(g)(1) (“No permit

shall be required … for the excavation or removal by any Indian tribe or member thereof of any

archaeological resource located on Indian lands of such Indian tribe ….”); see also Attakai v.

United States, 746 F. Supp. 1395, 1411 (D. Ariz. 1990). Attakai is directly on point, as it

involved the dismissal of ARPA claims for failure to state a claim when the alleged ARPA

violations arose out of the Hopi Tribe’s activities on Hopi lands. 746 F. Supp. at 1411. As the

court explicitly recognized, “no permit is required, even for excavations of qualifying

archaeological resources, by an Indian Tribe on its land.” Id. To the extent that the SAC’s ARPA

claims against the Tribal Defendants hinge on alleged non-compliance with ARPA permitting

requirements or failure to adhere to the terms of such permits,22 they fail as a matter of law and

should be dismissed with prejudice.

       The SAC also fails to state any ARPA claim against the Tribal Defendants to the extent

that it alleges violations by federal defendants or violations of any duties, such as those set forth

in 43 C.F.R. Part 7 and 26 C.F.R. Part 79, that apply only to federal actors. See, e.g., SAC ¶¶

277-78. By its express terms, 43 C.F.R Part 7 applies only to “Federal land managers,” which

“[i]n the case of Indian lands … means the Secretary of the Interior. 43 C.F.R. §§ 7.1(a),

7.3(c)(2). The Tribal Defendants do not control and are not responsible for the alleged actions of

the Secretary of the Interior or any other federal officials, and to the extent that putative claims



22
  To the extent that the Tribal Defendants allegedly failed to comply with permits that they did
obtain, any such alleged violations would still constitute lawful exercise of PBCI’s statutory
authority to excavate its own lands without an ARPA permit.

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against the Tribal Defendants are based on the alleged action or inaction of such officials, they

should be dismissed for failure to state a claim. Similarly, 36 C.F.R. Part 79 prescribes

“standards, procedures, and guidelines to be followed by Federal agencies” to preserve federally

owned and administered archaeological collections. 36 C.F.R. § 79.1(a). It has no applicability to

the Tribal Defendants, and any claim against those defendants based on those regulations should

be dismissed with prejudice.

       Additionally, while it appears the Plaintiffs now have abandoned any attempt to ground

ARPA claims on construction or related activities on the Wetumpka property, it is important to

note that ARPA does not apply to such activities. On the contrary, ARPA applies only to

“purposeful excavation and removal of archaeological resources,” not “construction activities

[or] … excavations which may, or in fact inadvertently do, uncover such resources.” Attakai, 746

F. Supp. at 1410; see also San Carlos Apache Tribe v. United States, 272 F. Supp. 2d 860, 888

(D. Ariz. 2003) (“No ARPA permit is required to conduct activities … entirely for purposes

other than the excavation or removal of archaeological resources.”), aff’d, 417 F.3d 1091 (9th

Cir. 2005). This is particularly significant given that most or all ARPA permitting activities and

excavation of human remains from the Wetumpka property were completed prior to December

2006—more than six years before the Plaintiffs filed their initial complaint. See SAC ¶¶ 117,

137, 139; Doc. 190-1 at 128 (indicating that re-interment discussions began in May of 2006);

Doc. 95-11; Doc. 95-9 (ARPA permit issued to Defendant Auburn University on April 15,

2003). Thus, to the extent that the Plaintiffs seek to base ARPA claims on such activity

(particularly to the extent that those claims rely on the APA—see SAC ¶ 274), it appears that

their claims are time barred.




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       The remaining allegations supposedly supporting the Plaintiffs’ ARPA claims can be

summarily addressed. See SAC ¶¶ 275-76, 278, 281. The Plaintiffs’ attempt to state ARPA

claims based on alleged violations of the NPS agreement, see id. ¶¶ 275, 278(d), fails for reasons

discussed supra—because the NPS agreement incorporates only the NHPA, not other federal

statutes. Alleged ARPA violations contingent on the Plaintiffs status as lineal descendants of

those whose remains were recovered from the Wetumpka property, see id. ¶ 276, fail because the

Plaintiffs do not satisfy the statutory definition of lineal descendants. See supra Part V; 25 C.F.R.

§ 262.8(a) (incorporating NAGPRA’s ranked preference list for ownership of cultural items and

providing that all other items excavated from Indian lands remain the property of the Indian

tribal landowner). Assertions that the Tribal Defendants violated ARPA by failing to keep a non-

existent agreement to perpetually preserve Hickory Ground, see SAC ¶¶ 275, 278(d), fail

because ARPA imposes no such requirement and because, as discussed supra, the Tribal

Defendants made no such agreement.

       For all of the foregoing reasons, the Plaintiffs have failed to state any valid ARPA claim

against the Tribal Defendants, and Count IX of the SAC should be dismissed with prejudice as to

those defendants. But even if that were not the case, the Plaintiffs would not be entitled to the

relief that they seek for alleged violations of ARPA. The act includes statutorily defined civil and

criminal penalties, neither of which approach the relief prayed for in the SAC. See 16 U.S.C. §§

470ee – 470ff. The SAC’s attempt to incorporate NAGPRA’s remedy provision into ARPA by

reference is without support in either statute, and would not avail them in any case given that

NAGPRA likewise does not contemplate the type of relief requested here. See supra Part V.C.

The unavailability of the requested relief provides a separate and independent basis for the

dismissal of the Plaintiffs’ ARPA claims against the Tribal Defendants.



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VII.   The Plaintiffs have failed to state a claim on which relief can be granted under the
       NHPA.

       The Plaintiffs cannot state a claim against the Tribal Defendants under the NHPA

because that act does not create a private right of action generally and, in particular, does not

give rise to a private right of action against nonfederal defendants. It is well settled that the

NHPA does not give rise to any private right of action and can be enforced only against federal

officials, if at all, through an action brought under the APA. See, e.g., Karst, 475 F.3d at 1295

(“NHPA, like NEPA, contains no private right of action ….”); San Carlos Apache Tribe v.

United States, 417 F.3d 1091, 1093 (9th Cir. 2005) (affirming dismissal of NHPA claim on the

grounds that the act creates no private right of action); Sisseton-Wahpeton Oyate v. United States

Dep’t of State, 659 F. Supp. 2d 1071, 1080 (D.S.D. 2009) (holding that “no private right of

action was created by the NHPA”); Martin v. Wilcox Cnty., Ala., 2014 WL 1202943, at *1 (S.D.

Ala. Mar. 21, 2014) (“[T]he NHPA creates no private right of action in favor of the plaintiff

against either the federal government or others.”); Martin v. Ala. Historical Comm’n, 2014 WL

28850, at *3 (M.D. Ala. Jan. 2, 2014) (dismissing NHPA claims on the grounds that the act does

not create a private right of action). Because the NHPA creates no private right of action and an

APA claim cannot be brought against nonfederal parties, the Plaintiffs necessarily fail to state a

claim against the Tribal Defendants under the act. See, e.g., Friends of Lydia Ann, 701 F. App’x

at 358; Karst, 475 F.3d at 1298; Martin, 2014 WL 28850, at *3.

       The Plaintiffs try to avoid this fatal flaw in their NHPA claim by alleging that the Tribal

Defendants are a de facto federal agency to the extent that NPS has contractually delegated

duties to PBCI under the NHPA and thus are subject to suit through the APA. See SAC ¶¶ 288-

90. This is incorrect. The APA applies to federal agencies, which it defines as “each authority of

the Government of the United States ….” 5 U.S.C. § 551. The Tribal Defendants are not an


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“authority of the Government of the United States.” And the mere existence of a contractual

relationship or funding agreement between PBCI and a federal agency such as NPS does not

change that fact. See, e.g., Ritter v. Cecil Cty. Office of Hous. & Cmty. Dev., 33 F.3d 323, 327

(4th Cir. 1994) (holding the APA inapplicable to a claim against a state agency that administered

a federally funded housing program); Day v. Shalala, 23 F.3d 1052, 1064 (6th Cir. 1994)

(holding that a state agency, even if completely funded by and subject to a contractual

relationship with a federal agency, was not subject to suit under the APA); Robbins v. N.Y. Corn

& Soybean Growers Ass’n, Inc., 244 F. Supp. 3d 300, 304-05 (N.D.N.Y. 2017) (holding that a

state entity that collected assessments for a federal agency and was subject to federal audits but

had no federal employees was not subject to suit under the APA); Cheavins, 176 F. Supp. 3d at

1094-95 (holding that a plaintiff could not state a claim against a state agency for direct violation

of the NHPA or violation of the terms of a National Forest Service permit).

       Even if it were possible for a nonfederal actor to be subject to suit under the APA when

performing delegated federal functions, there is no evidence that the Tribal Defendants took on

such a role in this case. On the contrary, the NPS agreement that the Plaintiffs cite throughout the

SAC provides for PBCI’s assumption of roles normally performed by a state agency under the

NHPA. See, e.g., Doc. 190-2 at 188, ¶ 12 (stating that the NPS will provide notice to relevant

state and federal agencies that PBCI “has assumed the role of the State Historic Preservation

Officer on tribal lands for the purposes of consultation on Federal undertakings pursuant to

section 106” of the NHPA); id. at 116 (describing the duties assumed by PBCI under the

agreement). The Tribal Defendants are unaware of any authority indicating that such an

assumption of state agency duties opens the door for the Plaintiffs to bring suit against the Tribal

Defendants under the APA. Accord, e.g., Sw. Williamson, 173 F.3d at 1035 (“By its own terms,



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the APA does not apply to state agencies.”); Day, 23 F.3d at 1064; Cheavins, 176 F. Supp. 3d at

1094-95.

       In light of the foregoing, the specific instances of the Tribal Defendants’ ostensible non-

compliance with the NHPA alleged in the SAC are immaterial. Nevertheless, the Tribal

Defendants will briefly address some of the many flaws in the Plaintiffs’ assertions.

       Part A of Count X claims that the Federal and Tribal Defendants failed to consult or to

meaningfully consult with the Plaintiffs prior to PBCI undertaking excavation and construction

activities on the Wetumpka property. See SAC ¶¶ 291-96. These allegations rely on a duty

supposedly established by 54 U.S.C. § 302706. SAC ¶ 291. That provision provides that “a

Federal agency” shall consult with certain tribes when “carrying out its responsibilities under

section 306108 of this title.” § 302706(b). Section 306108, in turn, directs “[t]he head of any

Federal agency having direct or indirect jurisdiction over a proposed Federal or federally assisted

undertaking” or the authority to license such an undertaking to “take into account the effect of

the undertaking on any historic property.” Id. These provisions are inapplicable here because (1)

the Tribal Defendants are not a federal agency, (2) they certainly are not the head of a federal

agency, and (3) their excavation of and construction on their own tribal lands was not a federal

undertaking. Additionally, the record shows that the excavation in question took place more than

six years prior to the filing of the initial complaint, meaning that any APA claim based on an

alleged failure to consult with the Plaintiffs prior to that activity is time barred. See SAC ¶¶ 137,

139 (noting that PBCI notified Plaintiffs of a Phase III archaeological excavation in 2006); Doc.

190-1 at 128 (indicating that re-interment discussions began in May of 2006); Doc. 95-9 at 2

(ARPA permit for Auburn University to conduct Phase III archaeological excavation at

Wetumpka property issued on April 15, 2003). Finally, the record reflects that the Tribal



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Defendants, while under no legal obligation to do so, did in fact engage in years of discussions

with the Plaintiffs regarding the reinternment of human remains and funerary objects excavated

from the Wetumpka property. See, e.g., SAC ¶ 159 (indicating that PBCI proceeding with

reinternment of excavated human remains “after six years of negotiations”); Doc. 95-1 at 3 (2008

letter from Mekko Thompson indicating that he traveled to Wetumpka on May 9, 2006, at

PBCI’s invitation “to discuss reinternment of 57 or more sets of human remains”). The

Plaintiffs’ dissatisfaction with the result of that consultation does not give rise to a valid claim

under the NHPA, or any other law. See, e.g., Neighborhood Ass’n of the Back Bay, Inc. v. Fed.

Transit Admin., 463 F.3d 50, 60 (1st Cir. 2006) (recognizing that the NHPA “is a procedural

statute that requires agency decisionmakers to stop, look, and listen, but not to reach particular

outcomes” (citation omitted)); Bus. & Residents All. of E. Harlem v. Jackson, 430 F.3d 584, 591

(2d Cir. 2005) (noting that the NHPA is a procedural statute that “does not itself require a

particular outcome”). Part A of Count X does not come close to stating a viable claim against the

Tribal Defendants.

       Part B of Count X alleges that 54 U.S.C. § 306108 requires Interior to “take into account”

the effect of any federal undertaking on a National Register-listed historical site in consultation

with relevant tribes, that the NPS agreement imposes this same obligation on PBCI, and that

PBCI failed to comply with this requirement in connection with its excavation of the Wetumpka

property or construction of its gaming facility.23 SAC ¶¶ 297-98, 300. These allegations fail to

state a claim against the Tribal Defendants for many of the same reasons as those in Part A of

Count X, and the Tribal Defendants will not repeat them here. Additionally, the allegation that



23
  Part B of Count X, and many other portions of the SAC, includes separate allegations against
the Federal Defendants that, while wholly without merit, are beyond the scope of the Tribal
Defendants’ motion.

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the NPS agreement transfers federal agency obligations under § 306108 to PBCI is flatly

contradicted by the agreement, which directs PBCI not to consult with third parties, but to

“[c]onsult with the appropriate Federal agencies in accordance with Section 106 of the Act.”24

Doc. 190-1 at 116 (emphasis added); id. at 118 (stating that PBCI has assumed the role of the

State Historic Preservation Officer, as opposed to that of the head of a federal agency, for

purposes of § 106 consultations). That the NPS agreement did not transfer to the Tribal

Defendants the duties that Part B of Count X claims were violated provides yet another ground

for finding that Part B fails to state a claim against the Tribal Defendants.

         Part C of Count X alleges that 36 C.F.R. § 800.6 imposes on PBCI, via the NPS

agreement, the obligation to consult with MCN regarding how to avoid, minimize, or mitigate

adverse effects of its construction project on the Wetumpka property. SAC ¶ 304. In addition to

failing for reasons already discussed, Part C rests on a flawed premise. As previously explained,

under the NPS Agreement, PBCI assumed the role of the State Historic Preservation Officer

(SHPO), not the role of a federal agency. See Doc. 159-3 at 116, 118. 36 C.F.R. § 800.6 does not

require SHPOs to consult with tribes or third parties. Instead, it provides that an “agency official

shall consult with the SHPO/THPO and other consulting parties, including Indian tribes ….” Id.

To the extent that it applied to excavation and construction at the Wetumpka property at all, §

800.6 may have required a relevant federal official to consult with PBCI and even MCN. But it

plainly imposes no requirement for SHPO/THPOs to consult with third parties.

         Part D of Count X repeats the error of Part C by incorrectly assuming that the NPS

agreement imposed federal agency consultation requirements on PBCI. In fact, Part D expressly

asserts that PBCI’s alleged failure to notify and consult with the Plaintiffs violated, inter alia,



24
     Section 106 of the NHPA is the provision codified, as amended, at 54 U.S.C § 306108.

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Paragraph 1.G of the NPS agreement, the provision directing PBCI to “[c]onsult with the

appropriate federal agencies in accordance with Section 106 of the Act” on particular matters.

Doc. 190-1 at 116 (emphasis added). As the Plaintiffs are not federal agencies, PBCI’s alleged

failure to consult with them necessarily did not violated its obligations under Paragraph 1.G or

any other provision of the NPS agreement.

       Part E of Count X focuses on allegations that the injuries asserted in the SAC could have

been mitigated if the Federal and Tribal Defendants had complied with their ostensible

obligations under the NHPA. See SAC ¶¶ 312-13. Because there is no viable NHPA-based claim

against the Tribal Defendants for reasons already identified, this argument is irrelevant as to

those defendants. Moreover, because the NHPA does not give the Plaintiffs the right to insist on

any course of action, any claim that the consultation they claim to have been entitled to would

have produced a different outcome is entirely speculative.25

       For all of the foregoing reasons, the Plaintiffs have failed to state a claim upon which

relief can be granted against the Tribal Defendants under the NHPA. All such claims should be

dismissed with prejudice under Rule 12(b)(6).

VIII. The Plaintiffs have failed to state a claim against the Tribal Defendants under the
      Religious Freedom Restoration Act.

       Count XI of the SAC alleges that the Tribal Defendants have violated the Religious

Freedom Restoration Act (RFRA), 42 U.S.C. §§ 2000bb, et seq., by: (1) allowing unauthorized

persons to access the Plaintiffs’ ceremonial grounds; (2) altering or disturbing those grounds via

excavation and construction; (3) serving or allowing the presence of alcohol near those grounds;

(4) preventing the Plaintiffs from ensuring that the remains of their ancestors are restored to their

original resting places; and (5) reinterring excavated remains without required protocol. SAC ¶¶

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  The allegations in Part F of Count X apply exclusively to NPS funding decisions and are
beyond the scope of the Tribal Defendants’ motion. See SAC ¶¶ 316-19.

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327-29. The Plaintiffs further allege that these activities require them to choose between

committing acts of civil or criminal disobedience and following their religious beliefs that

require appropriate reinternment of remains excavated from the Wetumpka property, and that

this results in the Federal and Tribal Defendants placing a substantial burden on the Plaintiffs’

exercise of their religion in violation of RFRA. Id. ¶¶ 330, 333. These allegations fail to state a

RFRA claim against the Tribal Defendants for several reasons.

         A.     RFRA is inapplicable to the Tribal Defendants.

         Like many of the statutes on which the Plaintiffs attempt to rely, RFRA does not apply to

the Tribal Defendants. RFRA provides that the “[g]overnment shall not substantially burden a

person’s exercise of religion ….” 42 U.S.C. § 2000bb-1(a). It goes on to define “government” as

“a branch, department, agency, instrumentality, and official (or other person acting under color

of law) of the United States, or of a covered entity.” § 2000bb-2(1). The term “covered entity” is

then defined as “the District of Columbia, the Commonwealth of Puerto Rico, and each territory

and possession of the United States.” § 2000bb-2(2). Because RFRA applies only to certain

“government[s]” and does not include Indian tribes or tribal governments within its definition of

that term, the statute by its terms is inapplicable to the Tribal Defendants.26 The Plaintiffs’

RFRA claims against those defendants thus fail as a matter of law.

         Should the Plaintiffs attempt to evade RFRA’s inapplicability by arguing that the Tribal

Defendants have acted under color of federal law, presumably citing the NPS agreement, any

such argument is invalid. As an initial matter, private actors such as PBCI and the THPO

presumptively do not act under color of law. See Florer v. Congregation Pidyon Shevuyim, N.A.,

639 F.3d 916, 922 (9th Cir. 2011); Harvey v. Harvey, 949 F.2d 1127, 1130 (11th Cir. 1992)

(“Only in rare circumstances can a private party be viewed as a ‘state actor’ ….”). To establish

26
     Even the SAC acknowledges that RFRA applies to “federal governmental action.” SAC ¶ 322.

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that a defendant acts under color of law, a plaintiff must show that the defendant “‘exercised

power by virtue of [federal] law and made possible only because the wrongdoer is clothed with

the authority of [federal] law.’” Florer, 639 F.3d at 922 (quoting West v. Atkins, 487 U.S. 42, 49

(1988)).27 In order to meet this burden, a plaintiff mush show that (1) the alleged deprivation in

question was caused by a right or privilege created by the government or a rule imposed by the

government and (2) the person(s) charged with the alleged deprivation may fairly be

characterized as a governmental actor. Id. at 922 (citing Lugar v. Edmondson Oil Co., 457 U.S.

922, 937 (1982)); Harvey, 949 F.2d at 1130. The Plaintiffs cannot carry their burden of

establishing that the Tribal Defendants acted under color of federal law when engaging in the

activities that allegedly constitute RFRA violations.

       The Plaintiffs fail the first step of the color of law analysis because they cannot identify

any federally established privilege or rule that compelled the Tribal Defendants’ to engage in the

activities that allegedly burden their religious exercise. The only allegations in the SAC

pertaining to the Tribal Defendants’ exercise of federal authority or responsibility relate to the

NPS agreement. And as discussed supra, the only federal duties delegated under that agreement

are limited functions under the NHPA. None of those functions required excavation or

construction on the Wetumpka property or the presence of people or alcohol in its vicinity. Nor

does the NPS agreement evince a federally created privilege authorizing such activity. Simply

put, the federal government did nothing to authorize PBCI to take any of the challenged actions;

PBCI, as the owner of the Wetumpka property, elected to and had the authority to perform those

acts of its own volition. The Plaintiffs thus fail to satisfy the first prong of the color of law



27
  This standard is drawn from § 1983 case law. Courts have held that the inquiry into whether a
defendant acted “under color of law” is the same in the context of § 1983, RFRA, and RLUIPA
actions. See Florer, 639 F.3d at 922.

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analysis. See Florer, 639 F.3d at 923-24 (holding that allegations that the government “allowed”

the defendant to conduct the activity in question did not satisfy the test because the government

did not “dictate” the activity).

        The Plaintiffs also fail the second step of the analysis, as the Tribal Defendants cannot

fairly be characterized as a state actor when performing the allegedly burdensome acts. The

Tribal Defendants can be considered governmental actors only if there exists “‘such a close

nexus between the [government] and the challenged action that seemingly private behavior may

be fairly treated as that of the [government] itself.’” Florer, 639 F.3d at 924 (quoting Brentwood

Acad. v. Tenn. Secondary Sch. Athletic Ass’n, 531 U.S. 288, 295 (2001)). The Eleventh Circuit

recognizes three tests for determining whether such a nexus exists: the public function test, the

state compulsion test, and the nexus/joint action text. Harvey, 949 F.2d at 1130. None of those

tests are satisfied here.

        The public function test requires a plaintiff to show that the defendant is exercising

powers or performing functions “that are ‘traditionally the exclusive prerogative of the State.” Id.

at 1131 (quoting Jackson v. Metro. Edison Co., 419 U.S. 345, 352 (1974)). “Few activities are

exclusively reserved to the states” under this test. Harvey, 949 F.2d at 1131 (citation omitted). It

is not enough that the defendant performs a function having great public importance, even when

such performance is highly regulated and overseen by the government. See Jackson, 419 U.S. at

352-353. Rather, the scope of activities that satisfy the public function test is exceedingly narrow

and includes only actions “traditionally associated with sovereignty, such as eminent domain

….” Id. at 353. See also Florer, 639 F.3d at 924 (“The public function test is satisfied only on a

showing that the function at issue is both traditionally and exclusively governmental.” (citation

omitted)); Harvey, 949 F.2d at 1131; N.B.C. v. Commc’ns Workers of Am., AFL-CIO, 860 F.2d



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1022, 1026 (11th Cir. 1988) (“The public function test for state action has been limited strictly

….”).28

          The Tribal Defendants undertook—and the Plaintiffs allege—no public functions here.

Conducting or allowing archeological excavations, constructing a resort, hosting business

patrons, serving alcohol, and reinterring excavated archeological items fall well short. See, e.g.,

Harvey, 949 F.2d at 1131 (holding that involuntary commitment of the mentally ill does not clear

the bar for the public function analysis); Willis v. Univ. Health Servs., Inc., 993 F.2d 837 (11th

Cir. 1993) (holding that a corporation created for the purpose of assuming the duties of a county

hospital authority and actually assuming such duties was not performing a public function for

state action purposes). The Tribal Defendants are not state actors under the public function test.

          The Plaintiffs likewise fail to satisfy the other state action tests. They cannot seriously

allege state compulsion, as they can point to no governmental directive or mandate that the

Tribal Defendants perform any of the acts allegedly burdening the Plaintiffs’ exercise of their

religion. See Harvey, 949 F.2d at 1130-31 (holding that the state compulsion test was not

satisfied where state law permitted, but did not require or encourage involuntary commitment).

Nor can they satisfy the nexus/joint action test, which requires a showing that the government

“has ‘so far insinuated itself into a position of interdependence with the [private party] that it was

a joint participant in the enterprise.’” Id. at 1131 (alteration in original) (quoting NBC, 860 F.2d

at 1026). Importantly, federal regulation, the existence of a contract between the federal

government and the defendant, and even federal funding of an activity are insufficient to meet



28
   The few activities found to satisfy the public function test include “the administration of
elections, the operation of a company town, eminent domain, peremptory challenges in jury
selection and, in at least limited circumstances, the operation of a municipal park.” Santiago v.
Puerto Rico, 655 F.3d 61, 69 (1st Cir. 2011) (citation omitted). “These activities are
characterized by exclusivity born of pervasive government involvement.” Id.

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this test. See Harvey, 949 F.2d at 1131 (citing multiple cases). Whatever limited involvement the

federal government may have had in the Tribal Defendants activities on the Wetumpka property,

it plainly was not a joint participant in PBCI’s efforts to conduct archeological excavations and

construct and operate resort facilities.

       In sum, RFRA is inapplicable to the Tribal Defendants on its face. And even if it were

possible for to state a RFRA claim against an entity outside the statute based on a state action

theory, the Plaintiffs’ allegations fall well short of establishing that the Tribal Defendants

qualified as state actors when taking the actions that allegedly burden the Plaintiffs’ exercise of

their religion. The RFRA claim against the Tribal Defendants should be dismissed under Rule

12(b)(6).

       B.      The facts alleged in the SAC do not give rise to a RFRA violation.

       Even if RFRA were applicable to the Tribal Defendants, the facts alleged in the

complaint do not give rise to a RFRA violation. In order to implicate RFRA, governmental

action must “substantially burden” a person’s exercise of religion without compelling

justification. 42 U.S.C. § 2000bb-1. In order to constitute a “substantial burden” under RFRA,

governmental activity must “completely prevent[] the individual from engaging in religiously

mandated activity” or constitute “pressure that tends to force adherents to forego religious

precepts or … that mandates religious conduct.” Midrash Sephardi, Inc. v. Town of Surfside, 366

F.3d 1214, 1227 (11th Cir. 2004) (citations omitted); see also Navajo Nation v. U.S. Forest

Serv., 535 F.3d 1058, 1070 (9th Cir. 2008) (“Under RFRA, a substantial burden is imposed only

when individuals are forced to choose between following the tenets of their religion and

receiving a governmental benefit or coerced to act contrary to their religious beliefs by the threat

of civil or criminal sanctions.” (citations omitted)).



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       The Plaintiffs allege that their religion requires them to ensure that their ancestors’

remains and funerary objects are kept or reinterred in their intended final resting places and to

prevent anyone from entering or approaching ceremonial grounds without proper authorization

and rituals or while intoxicated or in possession of alcohol. SAC ¶¶ 325-28. They allege that the

Tribal Defendants have placed a substantial burden on their religious exercise by (1) allowing or

directing excavation and construction on the Wetumpka property that disturbed the remains of

their ancestors, (2) failing to reinter those remains in their original resting places with proper

ceremony, and (3) allowing unauthorized persons and the presence of alcohol near the

ceremonial grounds. Id. ¶¶ 325-29. They further allege that, as a result of the Tribal Defendants’

actions, they are forced to choose between exercising their religious obligations and committing

unspecified acts of civil or criminal disobedience. Id. ¶ 330.

       The Plaintiffs’ argument can be boiled down to a claim that their religious beliefs require

them to have full and unfettered access to and control of PBCI’s property, including the ability to

exclude visitors from it and to prevent the conduct of business on it. Neither RFRA nor any other

law grants them the right to impose what amounts to a “religious servitude” over PBCI’s lands.

Lyng v. Nw. Indian Cemetery Protective Ass’n, 485 U.S. 439, 452-53 (1988). On the contrary, it

is settled that denial of access to or control over another’s property does not constitute a

substantial burden on religious practice. See, e.g., id.; La Cuna De Aztlan Sacred Sites Prot.

Circle Advisory Comm. v. U.S. Dep't of the Interior, 2013 WL 4500572, at *10 (C.D. Cal. Aug.

16, 2013), aff'd, 603 F. App'x 651 (9th Cir. 2015).

       Lyng is instructive. There, the plaintiffs argued that expansion of a federal highway and

timber harvesting on publicly owned land would substantially burden their religion by causing

serious and irreparable damage to sacred sites in the area. See Lyng, 485 U.S. at 442-43. The



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Court accepted that the challenged projects “could have devastating effects on traditional Indian

religious practices,” which required, inter alia, “privacy” and “undisturbed naturalness” on

government lands that they held sacred. Id. at 450-53. But it pragmatically noted that the

plaintiffs’ “beliefs could easily require de facto beneficial ownership” of public lands, and that

“the Constitution simply does not provide a principle that could justify upholding [their] legal

claims.”29 Id. Here, the Plaintiffs expressly seek the remedy that the Lyng Court identified as a

troubling possibility—de facto beneficial ownership of another’s property. And here, as in Lyng,

there is no sound legal basis for awarding it.

       Other case law is in accord. In the La Cuna litigation, the plaintiffs challenged a federal

decision allowing the construction of a fenced solar generation plant that prevented them from

accessing religiously significant sites on federal land. See La Cuna De Aztlan Sacred Sites Prot.

Circle Advisory Comm. v. U.S. Dep’t of the Interior, 2012 WL 2884992, at **1, 6 (C.D. Cal.

July 13, 2012) (La Cuna I); see also La Cuna, 2013 WL 4500572 (La Cuna II), at *2. As here,

the plaintiffs alleged that they were being forced to choose between foregoing access to sites

important to their religious duties and being subject to criminal trespass. See La Cuna II, 2013

WL 4500572, at *10; La Cuna I, 2012 WL 2884992, at *6. The court rejected the claim, citing

Lyng for the proposition that “Plaintiffs face no civil or criminal sanction for practicing their

religion—the choice to use those parts of the [site at issue] is simply not available to them.” La

Cuna II, 2013 WL 4500572, at *10. As the court explained, there is a legally significant

difference between government action that interferes with one’s ability to practice one’s religion

and coercing someone to practice their religion under fear of civil or criminal sanction. La Cuna


29
  As the Ninth Circuit noted in Navajo Nation, the fact that Lyng was a Free Exercise Clause
case rather than a RFRA case “is of no material consequence” in light of Congress’s explicit
instruction for courts to look to Lyng-era case law to interpret RFRA. See Navajo Nation, 535
F.3d at 1071 n.13.

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I, 2012 WL 2884992, at *8 (citing Snoqualmie Indian Tribe v. FERC, 545 F.3d 1207, 1214 (9th

Cir. 2008)). Barring access to a site falls into the former category, and does not constitute a

substantial burden. See id. (“[N]o one is forcing Plaintiffs to trespass.”).

       Similarly, in Slockish v. United States Federal Highway Administration, a group of

plaintiffs argued that the destruction of ancient burial grounds and the construction of a guardrail

blocking access to the site substantially burdened and interfered with their religious exercise. See

2018 WL 4523135, at *2 (D. Or. Mar. 2, 2018), report and recommendation adopted, 2018 WL

2875896 (D. Or. June 11, 2018). Relying on Lyng and Navajo Nation, the court found no

substantial burden because the plaintiffs failed to show that they were being coerced to act

contrary to their religious beliefs under the threat of sanctions or that a governmental benefit was

being conditioned upon conduct that would violate their religious beliefs. Id. at *5. “‘Were it

otherwise,” the court noted, “[e]ach citizen would hold an individual veto to prohibit the

government action solely because it offends his religious beliefs, sensibilities, or tastes, or fails

to satisfy his religious desires.’” Id. at *3 (quoting Navajo Nation, 535 F.3d at 1063).

       The Plaintiffs’ RFRA claims, in essence, amount to a desire for the federal government or

the Tribal Defendants to enact or apply laws in a way that facilitates and favors the Plaintiffs’

exercise of their religion over PBCI’s property rights or any other competing interests. The law

does not require or even allow that; on the contrary, “[t]he First Amendment must apply to all

citizens alike, and it can give to none of them a veto over public programs that do not prohibit

the free exercise of religion.” Lyng, 485 U.S. at 452. There being no public program prohibiting

the Plaintiffs’ exercise of their religion in this case, this Court cannot allow the Plaintiffs’

religious preferences to trump the Tribal Defendants’ rights in their lands. The Plaintiffs’ RFRA

claim should be dismissed pursuant to Rule 12(b)(6).



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IX.    NAGPRA and ARPA do not violate federal law or the Constitution.

       Count VIII of the SAC erroneously alleges that NAGPRA and ARPA, if interpreted as

they are written, substantially burden the Plaintiffs’ exercise of their religion in violation of the

First Amendment of the United States Constitution, RFRA, and the Religious Land Use and

Institutionalized Persons Act (RLUIPA). Specifically, they claim that NAGPRA and ARPA are

unconstitutional to the extent that they require or allow any tribe other than MCN to consent to

the excavation or removal of artifacts from the Wetumpka property or give any other tribe a

higher priority of ownership in such artifacts, because such an outcome would unjustifiably

impose a substantial burden on their religious beliefs. SAC ¶¶ 266-70. This argument fails for

several reasons.

       Count VIII initially fails because it relies on a fatally flawed premise. It is not ARPA and

NAGPRA that give PBCI primacy of ownership over artifacts excavated from PBCI’s tribal

lands. On the contrary, it is only pursuant to those statutes that the Plaintiffs have any possible

claim to ownership of archeological resources recovered from land that they do not own. Much

like the Plaintiffs’ RFRA argument, then, Count VIII of the SAC amounts to a demand that

federal law be interpreted and applied in a way that elevates the Plaintiffs’ religious beliefs

above all other considerations, including PBCI’s property rights. As discussed supra, the law

does not and cannot allow that.

       Additionally, to the extent that Count VIII alleges that ARPA and NAGPRA’s provisions

governing ownership of archeological artifacts amount to a First Amendment violation, it fails to

state a claim against the Tribal Defendants because the First Amendment is inapplicable to tribal

governments. See, e.g., Santa Clara Pueblo v. Martinez, 436 U.S. 49, 56 (1978) (“As separate

sovereigns pre-existing the Constitution, tribes have historically been regarded as unconstrained



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by those constitutional provisions framed specifically as limitations on federal or state

authority.”); Dallas v. Hill, 2019 WL 403713, at *2 (E.D. Wis. Jan. 31, 2019) (“As an initial

matter, the First Amendment … does not apply to Indian tribes and tribal officials.”).

Additionally, ARPA and NAGPRA are neutral laws of general applicability that in no way target

or restrict religious practices as such. Accordingly, and contrary to the SAC’s assertion in ¶¶

266-67, they “‘need not be justified by a compelling governmental interest even if [they have]

the incidental effect of burdening a particular religious practice.’” First Assembly of God of

Naples, Fla., Inc. v. Collier County, 20 F.3d 419, 423 (11th Cir. 1994) (quoting Church of the

Lukumi Bablua Aye, Inc. v. City of Hialeah, 508 U.S. 520, 531 (1993)). The SAC thus fails to

allege a First Amendment violation.

       To the extent that Count VIII alleges that ARPA and NAGPRA violate RFRA, it fails to

state a claim against the Tribal Defendants for all of the reasons set forth above in response to the

Plaintiffs’ RFRA claim. Finally, Count VIII fails to assert an RLUIPA violation for at least three

reasons. First, RLUIPA, like RFRA, does not apply to Indian tribes. See 42 U.S.C. § 2000cc-5(4)

(providing a definition of “government” that does not include tribes or tribal officials). Second,

an RLUIPA violation requires a substantial burden on religious exercise, which does not exist

here for reasons discussed above in Part VIII.B. See, e.g., Midrash Sephardi, 366 F.3d at 1225.

Third, there is no land use regulation at issue here, which is a necessary prerequisite to an

RLUIPA claim not involving an institutionalized person. See, e.g., 42 U.S.C. § 2000cc(a)(1)

(barring the imposition or implementation of “a land use regulation in a manner that imposes a

substantial burden” on religious exercise); Cutter v. Wilkinson, 544 U.S. 709, 715 (2005)

(indicating that RLUIPA targets land use regulation and religious exercise by institutionalized




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persons). Count VIII thus fails to state a claim generally, and particularly against the Tribal

Defendants, and the Court should dismiss it pursuant to Rule 12(b)(6).

X.     The Plaintiffs have not identified any legal basis for the sweeping relief sought in the
       SAC.

       For all of the reasons discussed above, none of the Plaintiffs’ allegations of statutory and

common law violations state a claim on which relief can be granted against the Tribal

Defendants. Even if the Court were to conclude otherwise, however, it is readily apparent that

there is no basis for it to award the sweeping relief requested in the SAC. In particular, the

Plaintiffs have identified no legal basis—and none exists—to remove the Wetumka property

from trust, to permanently enjoin the Tribal Defendants from “undertaking or providing

assistance for any further ground disturbing, clearing, grading, leveling, or construction activity”

on the property, to order PBCI to tear down improvements on the property and restore it to its

pre-construction condition, or to require the replacement of excavated remains and artifacts in

their original location. SAC Prayer for Relief. All of these remedies far exceed those available

under or contemplated by any of the federal statutes or common law doctrines set forth in the

SAC.

       It is hornbook law that “plaintiffs bear the burden of showing their entitlement to relief.”

Pittman v. Cole, 267 F.3d 1269, 1288 (11th Cir. 2001). With respect to the requested items of

relief highlighted in the preceding paragraph, the Plaintiffs have failed to even make allegations

that, if ultimately proven true, would enable them to carry that burden. Accordingly, their claims

should be dismissed with prejudice to the extent that they seek (1) a permanent injunction or

declaration of illegality of construction and other activity on the Wetumpka property, (2) an

order requiring the Tribal Defendants to restore the Wetumpka property to any previous state or




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reinter any remains in situ, or (3) any other form of relief that would amount to granting them de

facto ownership of PBCI’s property.

XI.    Because the Plaintiffs have no valid claims against PBCI and this case cannot
       appropriately be resolved in its absence, the entire SAC should be dismissed
       pursuant to Rule 19.

       As explained throughout this brief, all of the Plaintiffs’ claims against PBCI and the other

Tribal Defendants are barred by sovereign immunity or fail to state a claim and should be

dismissed. The SAC therefore should be dismissed as to all Defendants, as it is clear that PBCI is

a required party under Fed. R. Civ. P. 19(a) and that adjudication of the case in its absence could

not provide an adequate remedy without prejudicing PBCI’s interests in the extreme. Rule 19(b)

therefore requires dismissal of the entire case.

       Rule 19(a) provides that a party is necessary if it “claims an interest relating to the subject

of the action and is so situated that disposing of the action in [its] absence may: (i) as a practical

matter impair or impede that [party’s] ability to protect the interest; or (ii) leave an existing party

subject to a substantial risk of incurring double, multiple, or otherwise inconsistent obligations

because of the interest.” Fed. R. Civ. P. 19(a)(1). “‘[P]ragmatic concerns, especially the effect on

the parties and the litigation, control’ this analysis.” Fla. Wildlife Fed’n, Inc. v. U.S. Army Corps

of Eng’rs, 859 F.3d 1306, 1316 (11th Cir. 2017) (quoting Focus on the Family v. Pinellas

Suncoast Transit Auth., 344 F.3d 1263, 1280 (11th Cir. 2003)). If a necessary party cannot be

joined, Rule 19(b) directs the court to consider whether the case can proceed in its absence,

taking into account: (1) whether a judgment rendered in the missing party’s absence might

prejudice it or existing parties; (2) the extent to which the court could structure a judgment to

limit that prejudice; (3) whether a judgment in the missing party’s absence would be adequate;

and (4) whether the plaintiff would have an adequate remedy of the case was dismissed for



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nonjoinder. Fed. R. Civ. P. 19(b). Where the missing party cannot be joined due to sovereign

immunity, courts are required to give special solicitude to its interests under this test “out of

recognition that any consideration of the merits in the sovereign’s absence is ‘itself an

infringement on … sovereign immunity.’” Fla. Wildlife, 859 F.3d at 1318 (quoting Republic of

Philippines v. Pimentel, 553 U.S. 851, 865 (2008)).

       PBCI is indisputably a necessary party under Rule 19(a). The overarching objective of

the SAC’s claims against the Tribal and Federal Defendants is to deprive PBCI of jurisdiction

and control over part of its reservation, to order it to expend substantial resources to remove

scores of millions of dollars in real property improvements from its land, and to literally

dismantle one of its major economic engines. PBCI thus has an incredibly strong interest relating

to the subject matter. And it is clear that allowing this matter to proceed against the Federal

Defendants in PBCI’s absence, potentially leading to an order affecting the status of the PBCI

Reservation or otherwise directing action on its property, could both impair PBCI’s ability to

protect its interest and subject the Federal Defendants to a risk of incurring multiple or

inconsistent obligations with respect to complying with a potential court order and their trust

duties to PBCI as a federally recognized Indian tribe. Under these circumstances, the pragmatic

concerns of Rule 19(a) are easily satisfied. See, e.g., Fla. Wildlife, 859 F.3d at 1316-17 (holding

that a suit over a Florida water control project could not proceed against a federal agency in the

absence of a state entity that operated and maintained much of the project, as in injunction of the

former would impede the latter’s discretion and impair cooperation between the entities); N.

Arapaho Tribe v. Harnsberger, 697 F.3d 1272, 1281-82 (10th Cir. 2012) (affirming dismissal of

a case brought by one Indian tribe that, if adjudicated, would have prejudiced the interests of

another tribe that could not be joined); Hardy v. IGT, Inc., 2011 WL 3583745, at *5 (M.D. Ala.



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Apr. 23, 2011). While this Court in Hardy “struggle[d] to envision a more severe practical

impediment to [PBCI’s] interests” than a determination that gaming on its reservation was

illegal, this case clears that bar by asking the Court to determine that the existence of the

Reservation itself, as well as all of PBCI’s activities on it, are unlawful. Hardy, 2011 WL

3583745, at *5. PBCI is unquestionably a necessary party under Rule 19(a).

       It is beyond dispute that this case cannot proceed in equity and good conscience without

PBCI’s involvement and that PBCI is accordingly indispensable under Rule 19(b). In addition to

being a fundamental “affront to [PBCI’s] sovereignty,” Fla. Wildlife, 859 F.3d at 1318,

adjudicating this case in PBCI’s absence, given the relief that the Plaintiffs seek, would risk

inevitably and catastrophically affecting PBCI’s interests, and there is no way that the Court

could tailor or limit any order adverse to PBCI’s interests to avoid that result. Id. at 1318-19; Pit

River Home & Agric. Co-op Ass’n v. United States, 30 F.3d 1088, 1101 (9th Cir. 1994)

(recognizing propriety of dismissal of suit implicating tribal property and governance when

necessary tribal defendant could not be joined); Rosales, 2007 WL 4233060, at *5 (holding that a

tribe was an indispensable party to a suit against federal officials seeking to enjoin the tribe’s

activities on its own property); see also Hardy, 2011 WL 3583745, at *6 (noting that the Rule

19(b) prejudice test is “essentially the same as the practical impediment of an interest test under

Rule 19(a)”). Nor would a judgment in PBCI’s absence be adequate, as it would not be binding

on PBCI and thus could not achieve the Plaintiffs’ aims. See Fla. Wildlife, 859 F.3d at 1319;

Hardy, 2011 WL 3583745, at *7. And while dismissing the entire case may mean that the

Plaintiffs lack a remedy for their alleged injuries, that potential prejudice cannot, as a matter of

law, outweigh the prejudice to PBCI of proceeding with this case in its absence. See Fla.

Wildlife, 859 F.3d at 1320 (citing Pimentel, 553 U.S. at 872); Pit River, 30 F.3d at 1102-03;



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Hardy, 2011 WL 3583745, at *7 (holding that the prejudice of allowing a suit to go forward in

PBCI’s absence outweighed the prejudice of leaving a plaintiff without a remedy).

       Simply stated, there is no way that any aspect of this case fairly could or should move

forward without PBCI’s participation. Thus, to the extent that the Court dismisses all claims

against PBCI, it should dismiss the entire case pursuant to Rule 19.

                                        CONCLUSION

       This case presents emotionally charged issues that are doubtlessly important to the

Plaintiffs. There is similar emotion on the Tribal Defendants’ side, as PBCI has struggled for

many years to benefit its people by creating viable economic development on its own land

through the exercise of its inherent rights as a self-governing sovereign. However, whatever the

emotions on either side, the key consideration here is that the SAC has no legal merit. The

Plaintiffs’ beliefs and emotions, however heartfelt, cannot overcome sovereign immunity, nor

can they give rise to valid claims in the absence of supporting law. The statutes upon which the

Plaintiffs attempt to rely represent a finely wrought, carefully tailored and balanced federal

scheme for dealing with Indian tribes, issues pertaining to their sovereignty, and the protection

and preservation of historical, cultural, and archeological resources on Indian lands. In

considering the appropriate balancing of those interests, Congress has legislated in a way that,

for all of the reasons discussed above, leaves the Plaintiffs without a viable cause of action

against any of the Tribal Defendants. Accordingly, the SAC, and all claims stated therein, should

be dismissed with prejudice.

       Respectfully submitted this 23rd day of April, 2020.


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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 23rd day of April, 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the parties entitled to receive notice.



                                               s/Mark H. Reeves
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                                 No. 21-11643
                  UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT


                     MUSCOGEE (CREEK) NATION, et al.,
                             Plaintiffs-Appellants,
                                        v.
                           BUFORD ROLIN, et al.,
                            Defendants-Appellants.


 Appeal from the District Court of the United States for the Middle District of
                         Alabama, Northern Division
   District Court No. 2:12cv1079-MHT (CSC) (Hon. Myron H. Thompson)


                 APPELLANTS’ APPENDIX – VOLUME 3


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                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

 MUSCOGEE CREEK NATION, et al.,                     )
                                                    )
         Plaintiffs,                                )
                                                    )
 vs.                                                )                Civil Action Number:
                                                    )              2:12-cv-01079-MHT-CSC
 POARCH BAND OF CREEK INDIANS, et                   )
 al.,                                               )
                                                    )
         Defendants.                                )
                                                    )

                          INDIVIDUAL DEFENDANTS’ MOTION
                       TO DISMISS SECOND AMENDED COMPLAINT

        COME NOW Defendants Stephanie A. Bryan, Robert R. McGhee, Sandy Hollinger, Keith

Martin, Arthur Mothershed, Garvis Sells, Eddie L. Tullis, Buford Rolin, and David Gehman, all

in their individual capacities (the Individual Defendants), and move for dismissal of the claim

alleged against them in the Plaintiffs’ Second Amended Complaint pursuant to Rule 12(b)(6) of

the Federal Rules of Civil Procedure. As set forth in the brief filed in support of this motion, the

Plaintiffs have failed to allege facts sufficient to state a claim on which relief can be granted against

any of the Individual Defendants. Those Defendants thus respectfully move and request that all

claims against them be dismissed with prejudice.

        Respectfully submitted this 23rd day of April, 2020.

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 23rd day of April, 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the parties entitled to receive notice.



                                               s/ Mark H. Reeves
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                     IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

 MUSCOGEE CREEK NATION, et al.,        )
                                       )
       Plaintiffs,                     )
                                       )
 vs.                                   )              Civil Action Number:
                                       )            2:12-cv-01079-MHT-CSC
 POARCH BAND OF CREEK INDIANS, et      )
 al.,                                  )
                                       )
       Defendants.                     )
                                       )

               BRIEF IN SUPPORT OF INDIVIDUAL DEFENDANTS’
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                                      INTRODUCTION
       In the recently filed Second Amended Complaint (SAC, Doc. 190), Plaintiff Mekko

Thompson (Plaintiff Thompson) added a new claim of outrage against nine defendants, past and

present members of the Poarch Band of Creek Indians’ (PBCI) Tribal Council who are now sued

for the first time in their individual capacities (the Individual Defendants). The Individual

Defendants move to dismiss this claim pursuant to Federal Rule 12(b)(6) on several grounds. First,

the claim must be dismissed because Plaintiff Thompson’s allegations only involve the Individual

Defendants’ legislative activities as members of the PBCI Tribal Council, and the claim is thus

barred by legislative immunity. Second, the SAC fails to adequately allege all of the necessary

elements of an outrage claim. Third, because the outrage claim against the newly-named Individual

Defendants does not relate back to the filing of the original Complaint for statute of limitations

purposes, it is untimely. The outrage claim against the Individual Defendants should be dismissed

for any and all of these reasons.

                                       BACKGROUND
       A thorough and detailed description of the relevant facts is set forth in the concurrently

filed Brief in Support of Tribal Defendants’ Motion to Dismiss and will not be repeated here. Only

a handful of the facts alleged in the SAC are relevant to the issue at hand.1

       PBCI acquired the property at issue in this litigation in 1980, in the face of its imminent

commercial development by third parties. SAC ¶ 61; SAC Ex. A, Doc. 190-3, at 5.2 To fund its

acquisition of the property, PBCI used a combination of federal preservation grant funds and a



1
   While the Individual Defendants vehemently dispute many of the allegations and
characterizations of putative facts in the SAC, they will treat those allegations and
characterizations as accurate for purposes of this filing as they would be required to do in the
context of a motion to dismiss.
2
  All pin cites to previously filed documents are to the ECF generated page number.
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donation from the previous private landowner. SAC ¶ 61. When it acquired the property, PBCI

agreed to a written protective covenant to preserve the property for 20 years. Id. ¶ 62. PBCI also

contemporaneously indicated that “[p]rior to any type of development of the property a

scientifically sound archaeological program will be conducted ….” Doc. 190-3 at 4. The 20-year

protective covenant expired in 2000. SAC ¶ 79. After the expiration of the 20-year protective

covenant, PBCI arranged for professional archaeologists affiliated with Auburn University to

conduct Phase III archaeological excavations on the property prior to its potential development.

Id. ¶¶ 100-01. Some of the cultural items, including human remains, excavated from the property

are still in storage. Id. ¶ 121.

        The Plaintiffs, Muscogee (Creek) Nation, Hickory Ground Tribal Town, and Plaintiff

Thompson, allege that the PBCI first notified them of excavation on the property in 2006, at which

point the Plaintiffs and the PBCI began a prolonged dialogue about the excavation and the proper

treatment of excavated material. Id. ¶¶ 137, 139. The Plaintiffs further allege that they visited and

spoke with representatives of PBCI and Auburn University in 2006 regarding human remains and

associated funerary objects that had been excavated from the property. Id. ¶ 142; see also Doc. 95-

11 at 2 (indicating that a meeting took place in Wetumpka, Alabama on May 9, 2006). PBCI

oversaw the reinternment of excavated remains and funerary objects in 2012. SAC ¶ 150. The

Plaintiffs filed suit against PBCI, the PCI Gaming Authority, several tribal officers in their official

capacities, and numerous other defendants, but not the Individual Defendants, on December 12,

2012. See Doc. 1. The Plaintiffs allege that construction of PBCI’s hotel and gaming facility took

place from 2012-2014. See SAC ¶ 132; see also Doc. 124-1; Doc. 159 at 5, 11. They do not allege

that any wrongful excavation or construction activity has taken place on the property since 2014.




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       In the Complaint filed in 2012, Plaintiff Thompson named the then-current members of the

PBCI Tribal Council as defendants in their official capacities, seeking declaratory and injunctive

relief for alleged violations of several federal laws. Plaintiff Thompson brought no outrage claim,

did not sue anyone in an individual capacity, and did not seek monetary damages until the Second

Amended Complaint, filed on March 9, 2020.3 SAC ¶ 24. The SAC contains no allegations of

discrete, individual conduct by the Individual Defendants. Rather, the SAC adds former and

present “members of the Poarch Tribal Council” in their individual capacities and alleges only that

they have ordered or authorized certain activity. SAC ¶¶ 24, 223, 226. In briefing in connection

with his request for leave to file the SAC, Plaintiff Thompson further elaborated on the nature of

the allegations against the Individual Defendants by saying that those who remain on the PBCI

Tribal Council possess, by voting majority, the “power to stop the continuing outrageous, ultra

vires conduct, but have chosen not to.” Doc. 179 at 10 (citing to Tribal Council’s constitutional

powers and majority voting requirements).

                      STANDARD FOR MOTION TO DISMISS
       When deciding a motion to dismiss, the court generally assumes the facts set forth in the

complaint to be true for purposes of the motion and construes them in the plaintiff’s favor. See

Coral Ridge Ministries Media, Inc. v. Amazon.com, Inc., 406 F. Supp. 3d 1258, 1268 (M.D. Ala.

2019) (citations omitted). To survive a motion to dismiss, the complaint must set forth allegations

establishing a claim to relief that is “plausible on its face.” Id. at 1275 (citing Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007)). The allegations “must be enough to raise a right to relief

above the speculative level;” the use of “mere labels and conclusions … will not do.” Twombly,




3
  The Plaintiffs initially sought leave to file the SAC on June 5, 2019, see Doc. 159, but treating
the SAC as if it were filed on that date would not alter the analysis set forth herein.
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550 U.S. at 555. “Crucially … the court need not accept as true ‘conclusory allegations,

unwarranted deductions of facts or legal conclusions masquerading as facts.’” Coral Ridge, 406

F. Supp. 3d at 1268 (quoting Oxford Asset Mgmt., Ltd. v. Jaharis, 297 F.3d 1182, 1188 (11th Cir.

2002)).

                                          ARGUMENT
          Plaintiff Thompson fails to state a claim on which relief can be granted against the

Individual Defendants for three principal reasons. First, because all of the acts alleged arise from

the collective action of the Individual Defendants undertaken in exercise of their legislative

authority as members of PBCI’s Tribal Council, the outrage claim is barred by the doctrine of

legislative immunity. Second, the Individual Defendants’ alleged conduct is not sufficiently

extreme and outrageous to support a claim of outrage. Third, the outrage claim is barred by the

statute of limitations because Plaintiff Thompson cannot meet the requirements of Federal Rule of

Civil Procedure 15(c) governing the relation back of claims, and the SAC has not alleged any

tortious conduct by the Individual Defendants within the two-year statute of limitations for

outrage. The Court should dismiss the Individual Defendants from this case.

I.        The outrage claim is barred by legislative immunity.

          The outrage claim is barred because the Individual Defendants are protected by legislative

immunity. Plaintiff Thompson’s allegations of outrage stem from the collective action of the

Council Members undertaken in the exercise of their legislative authority as members of PBCI’s

governing Tribal Council. “The principle that legislators are absolutely immune from liability for

their legislative activities has long been recognized in Anglo-American law.” Bogan v. Scott-

Harris, 523 U.S. 44, 48 (1998). Legislative immunity is broad-sweeping, and applies to both

claims for damages and claims for declaratory and injunctive relief. Hous. Inv’rs, Inc. v. City of

Clanton, 68 F. Supp. 2d 1287, 1295 (M.D. Ala. 1999); see also Cmty. House, Inc. v. City of Boise,
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623 F.3d 945, 959 (9th Cir. 2010) (citing Supreme Court of Va. v. Consumers Union of the U.S.,

Inc., 446 U.S. 719, 732-733 (1980)). “Whether an act is legislative turns on the nature of the act,

rather than on the motive or intent of the official performing it.” Bogan, 523 U.S. at 54. Legislative

immunity applies to members of a tribal government, including each of the Individual Defendants.

Runs After v. United States, 766 F.2d 347, 354 (8th Cir. 1985) (tribal council members enjoy

“absolute legislative immunity”); Grand Canyon Skywalk Dev., LLC v. Hualapai Indian Tribe of

Ariz., 966 F. Supp. 2d 876, 885-86 (D. Ariz. 2013) (holding same).

       Plaintiff Thompson makes sweeping allegations that the Council Members “order[ed]” and

“authorized” certain acts related to the property (SAC ¶¶ 223, 226), but does not allege that any

Individual Defendant committed any outrageous act alone or outside the context of collective,

legislative action of PCBI’s Tribal Council.4 In fact, in support of their motion for leave to amend

their Complaint to add the outrage claim, the Plaintiffs attempted to justify the addition of

individual capacity claims by arguing that the Individual Defendants who remain on the PCBI

Tribal Council possess, by voting majority, the “power to stop the continuing outrageous, ultra

vires conduct, but have chosen not to.” Doc. 179 at 10 (citing to Tribal Council’s constitutional

powers and majority voting requirements). That argument reveals that Plaintiff Thompson’s claims

against the Individual Defendants derive not from their individual actions, but rather from their

collective authority to take legislative action on behalf of the Tribe, specifically through a majority

vote of the PBCI Tribal Council. Housing Investors, 68 F. Supp. 2d at 1295-96 (finding that




4
 The Plaintiffs allege that Individual Defendants Stephanie Bryan and Buford Rolin, current and
former chairpersons of the PBCI Tribal Council, respectively, sent letters to the Plaintiffs regarding
the Tribe’s actions. SAC ¶¶ 153, 158, 168. The Plaintiffs also allege that Individual Defendant
Eddie Tullis, former chairman of the PBCI Tribal Council, testified regarding a bill governing
disbursement of Indian Commission Claims awards. Id. ¶¶ 70-71. But none of these acts relate to
or give rise to the outrage claim.
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members of a city council and planning commission were entitled to legislative immunity for

voting to reject a proposed housing project). Because the Individual Defendants’ alleged actions

(or inactions) giving rise to the outrage claim are plainly legislative in nature, they are entitled to

legislative immunity, and Plaintiff Thompson’s outrage claim should be dismissed.

II.     Plaintiff Thompson fails to state a claim for outrage.

        Even if the outrage claim was not barred by legislative immunity, Plaintiff Thompson has

not sufficiently alleged all of the elements of outrage for each Individual Defendant. The

independent “tort of outrage is a very limited cause of action that is available only in the most

egregious circumstances.” Thomas v. BSE Indus. Contractors, Inc., 624 So. 2d 1041, 1044 (Ala.

1993). A tort of outrage requires: “(1) that the defendant’s conduct was intentional or reckless; (2)

that the conduct was extreme or outrageous; and (3) that it caused emotional distress so severe that

no reasonable person could be expected to endure it.” Sykes v. Payton, 441 F. Supp. 2d 1220, 1222

(M.D. Ala. 2006). To satisfy the second element, “the conduct must be ‘so outrageous in character

and so extreme in degree as to go beyond all possible bounds of decency, and to be regarded as

atrocious and utterly intolerable in a civilized society.’” Id. (citation omitted). Plaintiff Thompson

has failed to allege the requisite intent and, in any event, the Individual Defendants’ conduct is not

sufficiently extreme and outrageous to support a claim of outrage.

        To satisfy the first element, Plaintiff Thompson would have to allege that the conduct of

each Individual Defendant was intentional or reckless. As a threshold matter, and as discussed in

Section I supra, while Plaintiff Thompson broadly asserts that the Individual Defendants

collectively committed outrageous acts intentionally, see, e.g., SAC ¶ 223, he fails to articulate

what each Individual Defendant actually did. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (holding

that, to survive a motion to dismiss, “a complaint must contain sufficient factual matter, accepted

as true, to ‘state a claim [for] relief that is plausible on its face.’” (citation omitted). Without even
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identifying the discrete, allegedly outrageous acts that each Individual Defendant committed,

Plaintiff Thompson certainly cannot sufficiently allege that each of them possessed the requisite

mental state for committing an act of outrage. This alone prevents Plaintiff Thompson from stating

a claim for outrage.

       Plaintiff Thompson also must allege that the conduct of each Individual Defendant was

extreme or outrageous. In Alabama, conduct has reached the level of tortious outrage only in three

circumstances: “(1) wrongful conduct in the family-burial context, Whitt v. Hulsey, 519 So.2d 901

(Ala. 1987); (2) barbaric methods employed to coerce an insurance settlement, National Sec. Fire

& Cas. Co. v. Bowen, 447 So.2d 133 (Ala. 1983); and (3) egregious sexual harassment, Busby v.

Truswal Sys. Corp., 551 So.2d 322 (Ala. 1989).” Little v. Robinson, 72 So. 3d 1168, 1172 (Ala.

2011). The conduct alleged here, causing the archeological excavation and analysis of the remains

of unidentified historic individuals and artifacts, does not fall into any of these categories and does

not rise to the level required to maintain a claim for tortious outrage. Indeed, a contrary holding

would effectively outlaw the practice of archeology in the State of Alabama.

       Plaintiff Thompson no doubt intends to liken the Individual Defendants’ alleged conduct

to that found in cases holding that acts associated with family burials may sometimes constitute

tortious outrage. He cannot do so. Plaintiff Thompson alleges desecration—in the form of

scientific excavation, study, and storage—of unidentified archaeological findings on land that

belongs to PBCI, not destruction of a family cemetery plot or desecration of a recently deceased

person’s remains such as has been found to constitute outrage. See, e.g., Gray Brown-Serv.

Mortuary, Inc. v. Lloyd, 729 So. 2d 280 (Ala. 1999) (affirming a jury’s finding of outrage where

funeral-home employees disinterred the plaintiff’s wife’s remains, removed them from her casket,

destroying it in the process, poured caustic chemical on the body, and reinterred the remains in a



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fouled crypt); Whitt, 519 So. 2d at 902 (upholding a jury verdict of outrage where the defendant

bulldozed part of a fenced family burial plot on neighboring property); Levite Undertakers Co. v.

Griggs, 495 So. 2d 63 (Ala. 1986) (affirming jury finding of outrage where undertaker wrongfully

retained remains of plaintiff’s husband to force payment of funeral expenses). The Individual

Defendants are unaware of any case finding outrageous conduct in the context of the archeological

excavation and study of the remains of unknown individuals. Accordingly, Plaintiff Thompson’s

allegations do not rise to the level of outrage under Alabama law.

        Even if the exhumation and analysis of the archeological remains was sufficiently

egregious to support a claim of outrage, Plaintiff Thompson’s claim still would fail. While Plaintiff

Thompson makes broad accusations that the Individual Defendants collectively ordered and

authorized exhumation of sacred items, he does not allege that any single defendant directly

participated in the actual exhumation, specifically ordered or directed any exhumation, or ordered

or directed in the method that were used to study and store excavated materials. Accord Hughes v.

City of Montgomery, 2013 WL 146397, at *2 (M.D. Ala. Jan. 14, 2013) (dismissing outrage claim

for failing to sufficiently plead that defendants were liable for alleged conduct). By failing to allege

sufficient facts that would allow the Court to make a reasonable inference as to liability, if any, for

each Individual Defendant, Plaintiff Thompson fails to properly satisfy the second element of an

outrage claim as to any of them.

        Finally, the tort of outrage must cause “emotional distress so severe that no reasonable

person could be expected to endure it.” Sykes, 441 F. Supp. 2d at 1222. In order to be actionable,

alleged conduct “must go beyond all bounds of decency and, basically, bring tears to the eyes of a

thick-skinned person.” Johnson v. Fed. Express Corp., 147 F. Supp. 2d 1268, 1277 (M.D. Ala.

2001). The archeological excavation and study of a historic site, even including human remains



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found there, simply does not rise to this level. Plaintiff Thompson alleges that he has suffered

“abject pain, sorrow, anguish, torment, suffering, helplessness, grief, and anger.” SAC ¶ 225.

While this may be subjectively true, the proper standard is that of an objective reasonable person.

The archeological removal and study of unidentified remains and artifacts is not substantially

“severe” from an objective standpoint. As such, Plaintiff Thompson’s allegations do not establish

the tort of outrage.

III.    The outrage claim is time barred.

        Even if Plaintiff Thompson had alleged the elements of a viable outrage claim that was not

barred by legislative immunity, any such claim would be untimely. Prior to the SAC, the Plaintiffs

have never asserted an outrage claim or any other claim against the Individual Defendants. Because

Plaintiff Thompson cannot meet the standards of Federal Rule 15(c), specifically that the

Individual Defendants should have known back in 2012 that they would have been sued then but

for a mistake regarding their identities, the outrage claim does not relate back and is long since

barred by the statute of limitations.5 Moreover, Plaintiff Thompson has failed to allege any conduct

by each or any of the Individual Defendants within the limitations period that would give rise to a

claim of outrage. Therefore, the continuing tort doctrine does not revive the outrage claim.




5
  The law is unsettled as to whether Alabama rules or the Federal Rules of Civil Procedure govern
relation back in cases like this one, where the Plaintiffs seek to bring a purely state law claim
pursuant to this Court’s supplemental jurisdiction. See, e.g., Estate of Rowell v. Walker Baptist
Med. Ctr., 290 F.R.D. 549, 561 (N.D. Ala. 2013) (“Eleventh Circuit authority on whether relation
back is governed by federal or state law in federal court is presently unsettled ….”). That question
need not be resolved, however, as Alabama’s Rule 15(c)—the rule governing relation back of
amendments changing parties or the naming of a party and the only rule that could potentially
provide for the relation back of the SAC’s proposed outrage claim—is modeled after its federal
counterpart, and the outcome is the same regardless of which rule the Court applies. See Ex parte
Profit Boost Mktg., Inc., 254 So. 3d 862, 869 (Ala. 2017) (assessing Federal Rule 15(c) case law
in addressing a question under Ala. Rule 15(c)).
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       A.      The outrage claim does not relate back.

       When, as here, a plaintiff amends a complaint to add a defendant, but does so after the

running of the statute of limitations, Rule 15(c) “controls whether the amended complaint may

‘relate back’ to the filing of the original complaint and thereby escape a timeliness objection.”

Powers v. Graff, 148 F.3d 1223, 1225 (11th Cir. 1998) (citation omitted). The Rule allows relation

back for amendments changing the party only if within 120 days of the original filing of the

Complaint the party brought in by amendment:

       (i) received such notice of the action that it will not be prejudiced in defending on
       the merits; and (ii) knew or should have known that the action would have been
       brought against it, but for a mistake concerning the proper party’s identity.

Fed. R. Civ. P. 15(c)(1)(C) (emphasis added).

       The Eleventh Circuit has held that the purpose of “Rule 15(c) is to permit amended

complaints to relate back to original filings for statute of limitations purposes when the amended

complaint is ‘correcting a mistake about the identity of the defendant.’” Powers, 148 F.3d at 1226

(citation omitted). That is not the case here. Rather than correcting his misidentification of a

defendant to a claim set forth in or contemplated by the initial complaint, Plaintiff Thompson seeks

to add an entirely new claim—common law outrage—against the Individual Defendants. The

relation back doctrine is flatly inapplicable under these circumstances. See Wells v. HBO & Co.,

813 F. Supp. 1561, 1567 (N.D. Ga. 1992) (denying motion to amend to add officers of corporate

defendant when the plaintiff knew the identity of the officers from the outset); see also Stewart v.

Bureaus Inv. Grp., LLC, 309 F.R.D. 654, 659-61 (M.D. Ala. 2015) (“[T]he relation-back doctrine

does not apply in instances where a plaintiff attempts to join entirely new defendants in addition

to existing defendants.”).

       Plaintiff Thompson maintained in support of his motion for leave to file the SAC that the

requirements of Rule 15(c)(1)(C) are met because the Individual Defendants were named in their

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official capacities in the original Complaint and thus on notice of the litigation. This argument

completely disregards the second half of the Rule. For relation back to occur, a newly-added

defendant must have had reason to believe at the time of the original complaint that he was omitted

due to mistaken identity. The Eleventh Circuit explained the importance of this aspect of Rule

15(c) in Powers, a case in a similar posture to this one. There, the plaintiff filed claims against a

corporation based on alleged wrongdoing by the company and its brokers for manipulation of the

market for certain securities. Powers, 148 F.3d at 1225. After the running of the statute of

limitations, the plaintiff sought to add individual control persons. The plaintiff relied upon Itel

Capital Corp. v. Cups Coal Co., 707 F.2d 1253 (11th Cir. 1983), to argue that the amended

complaint should relate back. Powers, 148 F.3d at 1226. The Eleventh Circuit disagreed,

explaining that “Itel established no general rules about suits originally filed against a corporation

where the plaintiff later attempts to add corporate control persons or owners as individual

defendants.” Id. The Court further explained that the purpose of Rule 15 does not support relation

back in “cases where the newly added defendants were known to the plaintiff before the running

of the statute of limitations and where the potential defendants should not necessarily have known

that, absent a mistake by the plaintiff, they would have been sued.” Id. The Court further pointed

out that the plaintiff in Powers knew that the added defendants could be proper parties and that

“[t]he same law and circumstances would give Defendants no reason to believe that they were

omitted from the original complaint on account of mistake as opposed to some kind of strategic

choice by Plaintiffs.” Id. at 1227, n.8; see also Krupski v. Cost Crociere S.P.A., 560 U.S. 538, 541

(2010) (holding that “relation back under Rule 15(c)(1)(C) depends on what the party to be added

knew or should have known”).




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        The same is true here. Plaintiff Thompson obviously knew of the Individual Defendants’

identities when he filed the original Complaint because he named them in their official capacities.

And yet, he failed to add them in their individual capacities and omitted a claim of outrage

altogether. This was a strategic choice not a mistake in identity. And the Individual Defendants

had no reason to suspect otherwise, because the original complaint sought only injunctive and

declaratory relief that could not be entered against them in their individual capacities (but were

potentially available in official capacity claims). Only in the newly-minted outrage claim did

Plaintiff Thompson first assert any claim for monetary relief that would not have been available in

his original, official capacity action.

        As Powers makes clear, Rule 15(c) is intended to allow the correction of mistakes; it does

not apply where, as here, the plaintiff knew the identity of a potential defendant at the time of the

initial complaint, but chose, for whatever reason, not to sue that potential defendant. See also

Stewart, 309 F.R.D. at 661-62; Nobles v. Rural Cmty. Ins. Servs., 303 F. Supp. 2d 1279, 1286-87

(M.D. Ala. 2004) (Thompson, J.) (denying motion to amend because their “‘mistake’ was a

mistake in legal judgment not a mistake in the naming of the party”); Wells, 813 F. Supp. at 1567

(“[E]ven the most liberal interpretation of ‘mistake’ cannot include a deliberate decision not to sue

a party whose identity plaintiff knew from the outset.”). Having alleged official capacity claims

against each of the Individual Defendants in the initial complaint in this case, see Doc. 1, Plaintiff

Thompson cannot deny knowledge of their identity. Moreover, just like the corporate control

defendants in Powers, the Individual Defendants had no reason to suspect that they were not named

individually due to a mistake as to their identity, as opposed to it being a strategic choice by

Plaintiff Thompson to seek only declaratory and injunctive relief. Having made a deliberate




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decision not to name the known Individual Defendants in their individual capacities in 2012,

Plaintiff Thompson cannot now claim that his newly adopted legal theory relates back to that date.

       B.      The outrage claim against the Council Members is time barred.

       Whether it relates back or not, the outrage claim is time barred. Under Alabama law, a

claim for outrage must be brought within two years. See, e.g., Ala. Code § 6-2-38(l); Strange v.

Travelers Indem. Co., 915 F. Supp. 2d 1243, 1244 (N.D. Ala. 2012) (“Alabama, which recognizes

the tort of outrage under severely limited circumstances, has a two-year statute of limitations for

the tort.”). A claim for outrage accrues “at the moment the plaintiff actually suffers … distress by

becoming aware of the distress-inducing information or conduct.” Holloway v. Am. Media, Inc.,

947 F. Supp. 2d 1252, 1270 (N.D. Ala. 2013). According to the SAC, the Plaintiffs became aware

of the allegedly outrageous conduct—the excavation of remains from PBCI’s Wetumpka

property—in 2006, so any claim for outrage first accrued at that time. See SAC ¶ 137.

       While the initial accrual date is not necessarily dispositive, because outrage sometimes can

be a continuing tort under Alabama law, see Cont’l. Cas. Ins. Co. v. McDonald, 567 So. 2d 1208,

1216 (Ala. 1990), that is of no help to Plaintiff Thompson here. Even assuming, arguendo, that

Plaintiff Thompson has alleged facts supporting a continuing tort theory, Alabama continuing tort

law still requires that a claim be brought within two years of the last outrageous act. See Mardis v.

Robbins Tire & Rubber Co., 669 So. 2d 885, 888 (Ala. 1995); McMillian v. Johnson, 1994 WL

904652, at *18 (M.D. Ala. Feb. 18, 1994). Because Plaintiff Thompson sought leave to file the

SAC on June 5, 2019, he could not base a timely outrage claim on conduct occurring prior to June

5, 2017.6 Plaintiff Thompson alleges no such conduct. On the contrary, the conduct alleged in



6
  This assumes the limitations period goes back to the date that Plaintiff Thompson sought leave
to file the SAC. If calculated from the actual filing date, only conduct after March 9, 2018 would
be covered.
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support of the outrage claim pertains to the excavation of remains and funerary objects prior to

and during the construction of the Tribe’s hotel and gaming facility—conduct that allegedly

concluded by 2014 at the latest. See SAC ¶¶ 132, 223-39; see also, e.g., Doc. 124-1; Doc. 159 at

10 (noting that the outrage claim is asserted “against the individuals who served as Poarch officials

at the time the excavation and construction took place” rather than against the current Tribal

Council members (emphasis added)); Doc. 159 at 5 (noting that the archaeological excavation

“concluded in 2011”); Doc. 159 at 11 (alleging that construction at the site continued through at

least 2014, but no further); Doc. 179 at 9. Accordingly, even under a continuing tort theory, the

absolute latest that Plaintiff Thompson possibly could have brought a viable outrage claim arising

out of excavation or construction activity on the property was some time in 2016.

       That Plaintiff Thompson continues to be distraught over actions taken outside of the

limitations period, see SAC ¶¶ 225, 233, does not suffice to make his claim viable or timely. See,

e.g., Jennings v. City of Huntsville, 677 So. 2d 228, 230 (Ala. 1996). Otherwise, any plaintiff with

a permanent injury would have an evergreen right of action. The continuing tort doctrine operates

when wrongful conduct is ongoing, not when the harm for concluded conduct lingers. It does not

apply here. 7

                                        CONCLUSION
       Plaintiff Thompson’s effort to obtain money damages against the Individual Defendants in

their personal capacities for their collective actions as members of the PBCI Tribal Council fails

for multiple reasons. It is barred by legislative immunity. It is not supported by sufficient


7
  To the extent Plaintiff Thompson relies upon any more recent activity to support his outrage
claim, including the continued storage of remains alleged in passing in ¶ 226 of the SAC, he fails
to allege any conduct by any Individual Defendant related to that activity. In any event, the
allegedly improper storage of archeological artifacts does not rise to the requisite level of extreme
and outrageous conduct under Alabama law.

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allegations, particularly as to each Individual Defendant’s conduct, to satisfy the elements of

outrage under Alabama law. And it is hopelessly time barred. Each of these problems constitutes

a separate and sufficient ground for the Court to dismiss the outrage claim under Rule 12(b)(6)

and to dismiss the Individual Defendants from this case.



       Respectfully submitted this 23rd day of April, 2020.


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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 23rd day of April, 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the parties entitled to receive notice.


                                               /s/Mark H. Reeves
                                               Mark H. Reeves




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                            UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF ALABAMA
                                           OFFICE OF THE CLERK
                                           ONE CHURCH STREET
                                       MONTGOMERY, ALABAMA 36104

DEBRA P. HACKETT, CLERK
                                                                                   TELEPHONE (334) 954-3600

                                            July 8, 2020




                                  NOTICE OF CORRECTION


       From:                      Clerk=s Office

       Case Style:                Muscogee (Creek) Nation et al v. Poarch Band of Creek
                                  Indiana, et al

       Case Number:               2:12-cv-1079-MHT-CSC

       Referenced Document:       Document 210, 211, 212, Responses and Memorandums

       This notice has been docketed to enter the correct pdfs of the referenced documents into
       the record. The original pdfs did not contain signatures. The correct pdfs are attached to
       this notice.
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                      IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

MUSCOGEE (CREEK) NATION, et al.,       )
                                       )
        Plaintiffs,                    )
                                       )
vs.                                    )
                                       )          Civil Action Number:
POARCH BAND OF CREEK INDIANS, et       )        2:12-cv-01079-MHT-CSC
al.,                                   )
                                       )
        Defendants.                    )
                                       )


      PLAINTIFFS’ RESPONSE AND MEMORANDUM IN SUPPORT OF RESPONSE
       TO FEDERAL DEFENDANTS’ MOTION TO DISMISS SECOND AMENDED
                 COMPLAINT AND SUPPLEMENTAL COMPLAINT
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                                 TABLE OF ABBREVIATIONS
APA:                      Administrative Procedures Act

ARPA:                     Archaeological Resources Protection Act

BIA:                      Bureau of Indian Affairs

Federal Defendants: United States Department of the Interior, National Park Service, Bureau of
                    Indian Affairs, Tara Sweeney (the Assistant Secretary for Indian Affairs
                    within the Department of the Interior), David Vela (Acting Director of the
                    National Park Service within the Department of the Interior), and David
                    Bernhardt (Secretary of the United States Department of the Interior).

IGRA:                     Indian Gaming Regulatory Act

IRA:                      Indian Reorganization Act

NAGPRA:                   Native American Graves Protection and Repatriation Act

NHPA:                     National Historic Preservation Act

NPS Agreement:            National Park Service Agreement, Dkt. 190-1, Ex. I

Poarch:                   Poarch Band of Creek Indians

RFRA:                     Religious Freedom Restoration Act

RLUIPA:                   Religious Land Use and Institutionalized Persons Act

Tribal Defendants:        Poarch, the PCI Gaming Authority, the officials in charge of those
                          entities, 1 and the Poarch Tribal Historic Preservation Officer




1
 For Poarch, these officials are Tribal Council members Stephanie Bryan, Robert McGhee, Amy Bryan, Charlotte
Meckel, Dewitt Carter, Sandy Hollinger, Keith Martin, Arthur Mothershed, and Garvis Sells. Dkt. 190 at 8. For PCI
Gaming Authority, these officials are Board members Westly Woodruff, Billy Smith, Eddie Tullis, Teresa Poust,
and Timothy Manning. See Dkt. 207 at 1; Dkt. 190 at 8-9.


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                                    I.      INTRODUCTION
       Plaintiffs Muscogee (Creek) Nation, Hickory Ground Tribal Town, and Mekko George

Thompson seek relief from this Court for the systematic, wrongful, and ongoing desecration of

the sacred historic burial place of their ancestors at Hickory Ground caused by the excavation,

construction and operation of an opulent and highly profitable casino by the Poarch Band of

Creek Indians. Poarch dug up Plaintiffs’ ancestors from their intended final resting places, with

some remains and related artifacts removed from the site entirely, while others were scattered

about the site and then paved over or buried beneath the buildings.

       Poarch’s conduct, and the conduct of the individually-named defendants, represents a
shocking betrayal of unequivocal commitments made by Poarch when it acquired the Hickory

Ground property. Poarch assured Plaintiffs and represented in its application for federal

preservation grants that it would protect the property from excavation and development in

perpetuity. As a result, Plaintiffs did not oppose that acquisition or Poarch’s efforts to have the

land taken into trust by the Federal government. The Tribal Defendants then reneged on their

promises and desecrated Hickory Ground in pursuit of profit.

       Poarch and the Federal Defendants later entered into an agreement that obligated Poarch

to take on cultural and historic preservation obligations imposed by various federal statutes.

Poarch and its officials violated that agreement and the applicable federal laws by failing to

consult with, or obtain consent from, Plaintiffs before conducting excavation and construction at

Hickory Ground. The Federal Defendants failed in their independent obligations to oversee and

enforce those obligations, and by allowing the illegal conduct. Plaintiffs are now barred from

exercising and fulfilling the tenets of their religion because they are prevented from returning

their ancestors to their rightful resting places and conditions.

       Defendants do not dispute that Hickory Ground was and is a sacred place, that Plaintiffs’

ancestors were buried there, or that the ancestors have been ripped from the resting place that the

Tribal Defendants promised Plaintiffs they would preserve in perpetuity. Instead, they raise a




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plethora of technical legal reasons why they cannot be held responsible for the harm they have

caused.

          At this stage of the litigation, Plaintiffs’ only obligation is to allege a “short, plain

statement of the case” demonstrating that their claim for relief is plausible. For the reasons

explained in detail below, Plaintiffs have more than met that burden. Plaintiffs request that the

Court deny the motions to dismiss in their entirety and allow this litigation to proceed so that

these claims can be presented for resolution on the merits based on a fully developed record.

                                      II.      BACKGROUND

          This case arises from the Poarch Band of Creek Indians’ desecration of the sacred

grounds and burial places of Plaintiffs’ ancestors in Wetumpka, Alabama. The Muscogee

(Creek) Nation, Hickory Ground Tribal Town, and the Tribal Town chief, Mekko Thompson,

know this sacred place as “Hickory Ground.” Poarch acquired Hickory Ground by promising it

would always preserve and protect the site. Instead, it removed over 57 bodies of Plaintiffs’

ancestors, and thousands of Plaintiffs’ cultural artifacts, from the sacred place to bulldoze it for

construction of Poarch’s third casino. Plaintiffs brought this lawsuit to seek redress for this

greedy, tragic, outrageous, and illegal act.

          The Hickory Ground Tribal Town was one of over forty Tribal Towns within the

Muscogee (Creek) Nation before the Nation was forcibly removed from Alabama to Oklahoma

Territory in the early 1800s on the Trail of Tears. Hickory Ground was the last tribal capital of

the Muscogee (Creek) Nation before removal. The members of the Hickory Ground Tribal Town

took the embers from the ceremonial grounds at Hickory Ground on their long journey to

Oklahoma Territory to maintain their sacred ties to their homeland and the original birthplace of

their Tribal Town. The members of the modern-day Hickory Ground Tribal Town are matrilineal

descendants of those buried at Hickory Ground in Alabama, and continue their centuries-old

religious ceremonies today. See Dkt. 190 at 7, 13, 72–73.

          Although Poarch never historically resided at Hickory Ground, it acquired Hickory

Ground in 1980 using federal preservation grant funds. In its application for the funds, Poarch

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promised that it would “prevent development on the property” and preserve Hickory Ground

“without excavation.” See id. at 19. Poarch emphasized that this preservation would benefit

Plaintiffs: because Hickory Ground “is of major importance in the history of the Muscogee

(Creek) Nation,” the Site would “be a place where Creeks from Oklahoma may return and visit

their ancestral home; the “existing Hickory Ground tribal town in Oklahoma” in particular “will

be pleased to know their home in Alabama is being preserved.” Id. Vowing that its purchase of

Hickory Ground would save the property from being demolished by development, Poarch

cautioned that “[d]estruction of archaeological resources in Alabama . . . destroy[s] the cultural

history of Creek people.” Id. at 5.

        The federal government awarded the requested preservation grant funds to Poarch.

Pursuant to the standard terms of preservation grant awards, a protective covenant was placed on

Hickory Ground for 20 years. Despite its repeated promises to protect the sacred site, Poarch

began a years-long desecration of Hickory Ground after the covenant expired in 2000 to clear the

land for construction of its third casino. Dkt. 190 at 24–44. At the time, Poarch already had

casinos in Atmore and Montgomery. Poarch did not notify the Muscogee (Creek) Nation about

the excavations until 2006. Id. at 33. 2
        To make way for the $246 million casino resort, Poarch exhumed over 57 human remains

of Plaintiffs’ ancestors and removed thousands of artifacts in a massive excavation that
concluded in 2011. In 2012, Poarch unilaterally reburied many of these remains away from their

original resting places, using invented ceremonies that disrespected the dead and left the spirits


2
  Plaintiffs dispute the Tribal and Federal Defendants’ assertions that Plaintiffs knew in 1992 or 2002 that Poarch
did not plan to abide by its promises to preserve Hickory Ground. For example, a Bureau of Indian Affairs
Archeologist and Federal Preservation Officer issued a Briefing Statement to the Assistant Secretary of Indian
Affairs recounting that Poarch conducted limited exploratory testing at the Site around 1992 “to determine if some
portion of the site could be developed without damaging archeological resources,” and such activity “ceased after
1993” after the testing found “no area where such resources were totally absent.” Dkt. 200-2 at PDF p. 29. Indeed,
as of April 1999, Poarch’s Office of Cultural and Historic Field Methodology had a policy that “‘[u]nder no
circumstances are the burials on the Poarch Creek Indians Reservations, or lands under their control, to be
excavated, nor are they to be subjected to any examination or testing. Burial sites take precedence over any project
or program plan.’” Dkt. 190 at 25-26 (quoting Dkt. 190-1, Ex. J). Hickory Ground Tribal Town’s October 19, 2002
letter ultimately states that Hickory Ground Tribal Town heard rumors through third parties that Poarch may be
disturbing the site, and “hope[s] this is not the case.” Dkt 200-1 at PDF page 26; see also Dkt. 190 at 26, ¶ 92.

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of Plaintiffs’ ancestors in perpetual unrest. Many remains and artifacts have never been reburied.

Id. at 5–6, 30–37.

       The Department of the Interior, National Park Service, and Bureau of Indian Affairs

facilitated Poarch’s desecration of Hickory Ground by illegally providing assistance to Poarch

and failing to comply with applicable law.

        Poarch’s mistreatment of Plaintiffs’ ancestors and cultural items, and the Federal

Defendants’ facilitation of this mistreatment, violated the National Historic Preservation Act,

Native American Graves Protection and Repatriation Act, Archaeological Resources Protection

Act, Religious Freedom Restoration Act, Indian Reorganization Act, Poarch’s preservation

agreement with the National Park Service, and Poarch’s promises to protect Hickory Ground

“without excavation.” In addition, Poarch has been unjustly enriched to the tune of hundreds of

millions of dollars through its breach of its promises to protect Hickory Ground in perpetuity.

Dkt. 190 at 46–48, 53–76. Now, having affirmatively chosen to move forward with construction

without legal basis, even after Plaintiffs filed this lawsuit, Poarch calls the casino “improvements

on the property” that it insists it should get to keep. Dkt. 202 at 72. The law does not allow this.

        Plaintiffs brought this action to bring peace to their ancestors by returning them to their

intended final resting places in accordance with their religious duties. Plaintiffs seek to hold

Poarch to its promises to protect and preserve Hickory Ground, and to hold Federal Defendants

to their obligations under the law. Hickory Ground should be restored, to the greatest extent

possible, to its condition prior to construction of the casino. The remains and artifacts should be

returned to their original resting places.

                       III.    STANDARD FOR MOTION TO DISMISS

        Rule 8(a)(2) of the Federal Rules of Civil Procedure requires only a “short and plain

statement of the claim showing that the pleader is entitled to relief.” Rule 12(b)(6) allows a party

to assert by motion a defense of “failure to state a claim upon which relief can be granted.” To

survive a motion to dismiss under Rule 12(b)(6), a complaint must contain sufficient factual

matter, accepted as true, to “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal,

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556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A

claim has facial plausibility when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id.

“[O]nce a claim has been stated adequately, it may be supported by showing any set of facts

consistent with the allegations in the complaint.” Twombly, 550 U.S. at 563.

       “Specific facts are not necessary; the statement need only ‘give the defendant fair notice

of what the...claim is and the grounds upon which it rests.’” Erickson v. Pardus, 551 U.S. 89, 93

(2007) (alteration in original) (quoting Twombly, 550 U.S. at 555). “In addition, when ruling on

a defendant's motion to dismiss, a judge must accept as true all of the factual allegations

contained in the complaint.” Id. at 93–94. The court must assume that the factual allegations set

forth in the complaint are true and must construe them in the light most favorable to the plaintiff.

Reese v. Ellis, Painter, Ratterree & Adams, LLP, 678 F.3d 1211, 1215 (11th Cir. 2012); Arthur

v. Thomas, 974 F. Supp. 2d 1340, 1343 (M.D. Ala. 2013). All reasonable inferences must be

drawn in the plaintiff’s favor. K.T. v. Royal Caribbean Cruises, Ltd., 931 F.3d 1041, 1043 (11th

Cir. 2019).

       A motion under Rule 12(b)(6) does not pose the question of whether the plaintiff can

ultimately prevail on the merits—“a well-pleaded complaint may proceed even if it strikes a

savvy judge that actual proof of those facts is improbable, and ‘that a recovery is very remote

and unlikely.’” Twombly, 550 U.S. at 556; see also 5B Charles Alan Wright & Arthur R. Miller,

Federal Practice & Procedure § 1357 (3d ed. 2020) (“Whether the plaintiff ultimately can

prevail on the merits is a matter properly determined on the basis of proof, which means on a

summary judgment motion or at trial by the judge or a jury, and not merely on the face of the

pleadings.”). The burden of persuasion is on the party moving under Rule 12(b)(6) to

demonstrate that no legally cognizable claim for relief exists. Cohen v. Bd. of Trs. of the Univ. of

the D.C., 819 F.3d 476, 481 (D.C. Cir. 2016) (quoting 5B Wright & Miller, supra § 1357) (“All

federal courts are in agreement that the burden is on the moving party to prove that no legally
cognizable claim for relief exists.”). The complaint may be dismissed “only if it is clear that no

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relief could be granted under any set of facts that could be proved consistent with the
allegations.” Hishon v. King & Spalding, 467 U.S. 69, 73 (1984).

                                            IV.      ARGUMENT

A.      Plaintiffs state a claim over which this Court has jurisdiction under the Indian
        Reorganization Act.

        Federal Defendants and Tribal Defendants both argue that this Court should dismiss

Plaintiffs’ Indian Reorganization Act claim because it is untimely and because Plaintiffs do not

have standing. Both groups of Defendants’ arguments are addressed here. 3 Plaintiffs’ Indian

Reorganization Act claim is timely because their claim is an “as-applied” challenge under the

Administrative Procedures Act that was filed within six years of the date Interior’s decision was

applied to Plaintiffs. Plaintiffs also have standing because their particularized, concrete, and

ongoing injuries result from Interior’s decision to take land into trust and thereby allow the

excavation and construction that desecrated Hickory Ground, and Plaintiffs’ requested relief

would redress that injury by unwinding the trust decision that enabled the illegal excavation and

construction.

        1.       The Indian Reorganization Act and its application here.
        The Indian Reorganization Act of 1934, 25 U.S.C. § 5123 et seq., was intended to reverse

prior policy of weakening the status of tribes as self-governing entities and dispossessing them of

their lands. See Op. Solic. Dept. Int. M-37045, Reaffirmation of the United States’ Unique Trust

Relationship with Indian Tribes and Related Indian Law Principles, 2017 WL 7805664, at *5

(Jan. 18, 2017). Indians had been “stripped of their property,” and the Indian Reorganization’s

land provisions were intended to “put[ ] a halt to the loss of tribal lands.” See id.




3
  Plaintiffs’ Indian Reorganization Act claim is against Secretary Bernhardt, not Tribal Defendants, consistent with
innumerable other cases challenging the Secretary’s authority to take land into trust. Though Tribal Defendants
appear to acknowledge this, see Dkt. 202 at 21 (addressing the claim “to the extent that it is asserted against the
Tribal Defendants”), they dedicate ten pages to opposing the claim, see id. at 16-25. Tribal Defendants’ Rule 19
argument with respect to this claim is addressed in Section IV.J of Plaintiffs’ Response to Tribal Defendants’
Motion to Dismiss.

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        As Poarch emphasized in its application for federal preservation funds, Hickory Ground

is within the Muscogee (Creek) Nation’s original homelands. Dkt. 190 at 18–19. Hickory

Ground was the Nation’s last tribal capital before the Nation was stripped of its land in the

southeast and forcibly removed to what is now Oklahoma. See Dkt. 190 at 13. Poarch, on the

other hand, stated in its petition for federal recognition that it historically resided within an 18-

mile radius around Tensaw, Alabama, about 160 miles away from Wetumpka. See

Recommendation and Summary of Evidence for Proposed Finding for Federal Acknowledgment,

p. 1–2 of 121 (Dec. 29, 1983), available at https://www.bia.gov/sites/bia.gov/files/assets/as-
ia/ofa/petition/013_prchcr_AL/013_pf.pdf. 4

        One way the Indian Reorganization Act provided means for tribes to regain lands was

through authorizing the Secretary of the Interior to acquire land and hold it in trust for the

purpose of providing land for tribes “now under Federal jurisdiction.” Carcieri v. Salazar, 555

U.S. 379, 381–82 (2009) (citing 25 U.S.C. §§ 5108 & 5129 (previously §§465 & 479). In

Carcieri v. Salazar, 555 U.S. 379 (2009), the Supreme Court held that qualifying tribes are

“those tribes that were under the federal jurisdiction of the United States when the IRA was

enacted in 1934.” Id. at 395; see also Dkt. 190 at 21.

        The federal government has construed “under federal jurisdiction” to involve an inquiry

into whether (1) the United States took actions reflecting federal obligations, duties,
responsibility for, or authority over a tribe in or before 1934, and (2) that relationship continued

through     1934.      Dkt     190      at    21     (citing    Sol.     Op.     M-37029,       available      at

https://www.doi.gov/sites/doi.opengov.ibmcloud.com/files/uploads/M-37029.pdf). On March 9,

2020, the same day Plaintiffs filed their Second Amended Complaint, the Solicitor’s Office

withdrew       Opinion       M-37029 5        and     issued      Opinion       M-37054,        available      at

https://www.doi.gov/sites/doi.gov/files/uploads/m-37054.pdf, along with a March 5, 2020 memo

4
  Tensaw too was part of the Muscogee (Creek) Nation’s territory, so the individuals living there “applied for and
were given permission by the council of the Creek Nation to settle on the Alabama-Tensaw River lands.” Id. at 3.
5
  See Withdrawal Memorandum at https://www.doi.gov/sites/doi.gov/files/uploads/m-37055.pdf (last visited July 2,
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titled “Determining Eligibility under the First Definition of ‘Indian’ in Section 19 of the Indian

Reorganization                Act                 of            1934”              (available              at

https://www.indianz.com/News/2020/03/11/doisol031020.pdf) and a March 10, 2020 memo
titled “Procedure for Determining Eligibility for Land-into-Trust under the First Definition of

‘Indian’     in    Section     19     of    the        Indian   Reorganization     Act”     (available     at

https://www.indianz.com/News/2020/03/11/doisol030520.pdf) (all sites last visited July 2,

2020). While this new guidance has been criticized as “incomprehensible and so convoluted that

it couldn’t guide any lawyer in the field,” 6 it turns on the same inquiry as the government’s prior

interpretation: whether the tribe had a government-to-government relationship with the United

States in 1934. See Sol. Mem., Procedure for Determining Eligibility for Land-into-Trust under

the First Definition of ‘Indian’ in Section 19 of the Indian Reorganization Act 6, 8. The guidance

establishes specific presumptive indicia of having such a government-to-government

relationship, see id. at 2–7, and if no such indicia exists for a tribe, then Interior is required to

consider whether the “cumulative weight of an applicant’s evidence” establishes that the tribe

was “under federal jurisdiction.” As demonstrated by the facts alleged in the Second Amended

Complaint and discussed below, Poarch cannot demonstrate the existence of the required

“government-to-government” relationship, so the new guidance does not alter Poarch’s failure of

that test.

        Poarch was not federally recognized until 1984. It has admitted in its own submissions to

the federal government and federal courts that it had no relationship with the federal government

for at least 140 years before it was recognized, including in 1934. In 2005, Poarch emphasized

that “the federal government clearly ended its relationship with Poarch Creek following removal

[in 1832]” and “the historical record amply demonstrates that,” as of the 1830s, the federal

government had “terminated the government-to-government relationship with the Creek in

6
  Megan Mineiro, Native Tribe Could Lose Its Land Under New Trump Administration Guidelines, Courthouse
News Service (May 20, 2020), https://www.courthousenews.com/native-tribe-could-lose-reservation-land-under-
new-trump-administration-guideline/ (quoting District of Columbia district court judge in hearing regarding an
Indian Reorganization Act challenge).

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Alabama through a broad course of dealings that included express statements by top federal

officials disclaiming any federal relationship with the Tribe” until Poarch was federally

recognized in 1984. Dkt. 190 at 21 (citation omitted). In the 1950s, Poarch took a consistent

position, stating that it was “but a newly formed band of descendants of the original Creek

nation” that was “not under the guardianship of the Federal Government” and had “possessed no

territory and were not dealt with by the United States as a group” since the 1830s. Id. at 22–23

(citations omitted).

       The United States agreed that there was no government-to-government relationship with

Poarch before 1984. The Department of the Interior Solicitor’s Office stated in 2008 that it “does

not believe that the Poarch Creek Band ever had a government-to-government relationship with

the United States until it was [recognized in 1984],” and in the same year the National Indian

Gaming Commission agreed that “the United States specifically and repeatedly disclaimed any

relationship with the Poarch Band” from the 1830s until 1984. Id. at 22 (alteration in original;

citations omitted). In 1952, the United States wrote in an appellate brief to the United States

Court of Claims that “those [Creeks] who remained in the East [after removal] abandoned their

tribal relationships; and they never continued a tribal government recognized by the United

States and they entered into no treaties or other political arrangements with the United States . . .

and only recently organized themselves, apparently for the purpose of this suit.” Id. at 23

(citation omitted). The brief also stated that these eastern Creeks were “not recognized by the

administrative or legislative arm of the Government.” Id. (citation omitted). The Court of Claims

found that the United States had “no occasion for further dealings with [those Creeks who

remained east of the Mississippi] since 1832.” Id. at 24 (quoting McGhee v. Creek Nation, 122

Ct. Cl. 380, 391 (1952), cert. denied, 344 U.S. 856 (1952)).

       Plaintiffs allege that because Poarch was not “under federal jurisdiction” within the

meaning of the Indian Reorganization Act, Interior never had authority to take the Hickory

Ground Site into trust for Poarch. Id. at 24, 45. Plaintiffs also allege that the federal government

performed new applications of its land-into-trust decision through (1) granting permits under the

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Archaeological Resources Protection Act covering certain time frames and allowing excavation

at Hickory Ground that occurred through the year 2011, see Dkt. 190 at 28, 30, and (2) denying

Plaintiff Mekko Thompson’s Native American Graves Protection and Repatriation Act claim in

2009 based on its determination that Poarch retained legal interest in the “NAGPRA items from

the Hickory Ground site,” id. at 34.

       Because the Hickory Ground Site was not validly taken into trust, Interior did not have

authority to grant permits allowing Poarch to undertake the archaeological excavations. Dkt. 190

at 45. Any such excavation would be subject to state law. Id. Likewise, in denying Mekko

Thompson’s resulting NAGPRA claim, the federal government erred in determining that the

lands from which the items were taken were “tribal lands” belonging to Poarch within the

meaning of NAGPRA. Dkt. 190 at 34.

       Absent the land-into-trust decision and the Department of the Interior’s re-applications of

that decision with respect to the excavation and disposition of excavated remains and other

objects, Poarch could not have conducted the excavation or built its casino. Indeed, as discussed

in Section IV.A.2 of Plaintiffs’ Response to Tribal Defendants’ Motion to Dismiss, neither

federal nor state law allows gaming at the Site, so there would have been no point to constructing

the casino. Dkt. 190 at 45–46.

       2.      Plaintiffs’ Indian Reorganization Act claim is timely because the Federal
               Defendants applied their decision to Plaintiffs less than six years before this
               lawsuit was filed.
       Both the Federal Defendants and Tribal Defendants argue that Plaintiffs’ claim that the

Department of the Interior did not have authority to take the Hickory Ground Site into trust for

Poarch is untimely because the land was taken into trust in 1984 and the statute of limitations

under the Administrative Procedures Act (“APA”) therefore expired in 1990. This argument

incorrectly assumes that Plaintiffs’ cause of action accrued on the date of agency action in 1984.

Instead, because Plaintiffs’ are challenging Interior’s action as ultra vires, and because Interior




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did not apply its decision to Plaintiffs until within six years of this lawsuit, Plaintiffs’ claim is

timely.

          The APA allows a party who is “adversely affected or aggrieved” by a federal agency’s

decision to challenge the action as ultra vires, procedurally deficient, or as an arbitrary policy

choice. 5 U.S.C. §§ 702, 706(2)(A)–(D). Such a challenge must be “filed within six years after

the right of action first accrues.” 28 U.S.C. § 2401(a).

          When an APA claim accrues depends on the nature of the claim. Claims under the APA
that challenge the action “on the grounds that an agency exceeded its constitutional or statutory

authority”—just as the Plaintiffs’ Indian Reorganization Act claim does—accrue when the

agency applies the action to the “specific challenger.” Alabama v. Shalala, 124 F. Supp. 2d 1250,

1270 (M.D. Ala. 2000) (first citing Wind River Mining Corp. v. United States, 946 F.2d 710, 715

(9th Cir. 1991); then citing Public Citizen v. Nuclear Regulatory Comm’n, 901 F.2d 147, 152

(D.C. Cir. 1990)). As stated above, Plaintiffs allege that the federal government applied its land-

into-trust decision to Plaintiffs through (1) granting ARPA permits that allowed the excavation

that occurred through 2011 and (2) denying Plaintiff Mekko Thompson’s Native American

Graves Protection and Repatriation Act claim in 2009 based on its determination that Poarch

retained legal interest in the “NAGPRA items from the Hickory Ground site,” Dkt. 190 at 34.

                      a) The Department of the Interior applied its decision to Plaintiffs by
                         issuing ARPA permits dependent on both “Indian lands” status and
                         prior notification to the Muscogee (Creek) Nation.

          As explained in Section IV.D below, the Archaeological Resources Protection Act

requires that permits first be obtained from the federal government before excavations on “Indian

lands” by third parties can occur. 16 U.S.C. § 470ee(a). Here, the Department of the Interior

illegally granted permits to Auburn University to excavate on “Indian lands.” See Dkt. 190 at

29–30, 62–63; Dkt. 200-1 at PDF p. 37. That excavation extended through 2011, and the permits

covered only some of this time period; much of the excavation took place without a permit at all.

Dkt. 190 at 28, 63.


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       Before issuing those permits, Interior was required to (1) determine that it had the

authority to issue the permits; and (2) “notify any Indian tribe which may consider the site as

having religious or cultural importance,” 16 U.S.C. § 470cc(c). Dkt. 190 at 61. The notice

requirement is intended to give tribes an opportunity to intervene in development activity in

order to safeguard cultural items. See S. Rep. No. 101-473, at 10 (1990). Interior incorrectly

determined the lands were “Indian lands,” see, e.g., Dkt. 200-1 at PDF p. 37, Section 8, and

issued the permits without notifying or consulting with the Muscogee (Creek) Nation, who

clearly attached religious and cultural importance to these “Indian Lands.” Dkt. 190 at 54–55,

61–63. “With the grant of each ARPA permit, Interior performed a new application of its

unauthorized decision to take lands into trust for Poarch, as the ARPA permits only allowed

excavations to take place ‘on lands under the jurisdiction of the Department of Interior.’” Dkt.

190 at 30.

       With respect to the accrual of this claim, Poarch first notified Plaintiffs of the excavation

in 2006, and only through subsequent related public records requests did Plaintiffs receive copies

of the permits for the excavation that were illegally issued by Interior. Due to no fault of

Plaintiffs, both the Tribal Defendants and the Federal Defendants failed to notify Plaintiffs of the

excavation in violation of the law, and Plaintiffs first learned that Interior had issued the permits

after being notified of the excavation in 2006 by Poarch. This claim is subject to equitable tolling

and therefore accrued when Plaintiffs obtained records of the permits. See Crosby Lodge, Inc. v.

Nat'l Indian Gaming Comm’n, No. 306-CV-00657-LRH-RAM, 2008 WL 5111036, at *5 (D.
Nev. Dec. 3, 2008) (“Equitable tolling applies in situations where, ‘despite all due diligence, [the

party invoking equitable tolling] is unable to obtain vital information bearing on the existence of

the claim,’” and “[t]he party invoking tolling need only show that his or her ignorance of the

limitations period was caused by circumstance beyond the party’s control . . . and that these

circumstances go beyond a ‘garden variety claim of excusable neglect”) (quoting Socop–

Gonzalez v. I.N.S., 272 F.3d 1176, 1193 (9th Cir. 2001)) (alteration in original). Plaintiffs’ claim



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arising from Interior’s re-application of its land-into-trust decision in issuing ARPA permits is

therefore timely under the APA.

                    b) The Department of the Interior also applied its decision to Plaintiffs by
                       disposing of Mekko Thompson’s NAGPRA claim in 2009 on the basis
                       that the Site qualified as “tribal lands.”

        In 2008, Mekko George Thompson, on behalf of Plaintiffs, submitted a NAGPRA

complaint to the federal government relating to the excavation at Hickory Ground. Dkt. 190 at

33–34. The Department of Interior rejected Mekko Thompson’s claims in 2009, based largely on

its incorrect determination that Poarch retained legal interest in the “NAGPRA items from the

Hickory Ground site.” Id. at 34. Under NAGPRA, the tribal landowner is second in line for

repatriation after lineal descendants for items excavated from “tribal land,” see 25 U.S.C.

§ 3002(a); Dkt. 190 at 60. “Tribal land” means, in relevant part, “all lands within the exterior

boundaries of any Indian reservation.” 25 U.S.C. § 3001(15). 7 In disposing of Mekko
Thompson’s claim, Interior determined that NAGPRA and its provisions governing “tribal land”

applied to Hickory Ground, and disregarded Mekko Thompson’s lineal descendancy claim in

deciding that Poarch, as the owner of “tribal land,” retained legal interest in the excavated items.

The fatal flaw in this argument is that Interior did not have authority to take Hickory Ground into

trust as a reservation for Poarch, so Hickory Ground was not then, and is not now, “tribal land.”

        Thus, Interior’s 2009 denial of Mekko Thompson’s NAGPRA claim was “a new

application of its unauthorized decision to take lands into trust for Poarch, as the determination

relied not only on an incorrect application of NAGPRA, but on the presumption that the lands

were ‘tribal lands’ belonging to Poarch within the definitions in NAGPRA.” Dkt. 190 at 34.

Plaintiffs’ claim arising from Interior’s re-application of its land-into-trust decision in disposing

of Mekko Thompson’s NAGPRA claim is therefore timely under the APA.




7
  “Tribal land” also includes “dependent Indian communities” and lands administered for Native Hawaiians, but
those categories are irrelevant here as no party has suggested the lands qualify under either definition.

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                   c) Plaintiffs’ Indian Reorganization Act claim did not arise more than six
                      years prior to December 12, 2012, when they filed this lawsuit.

       As alleged in the Second Amended Complaint, “[b]ecause the Hickory Ground Site was

not validly taken into trust, Interior did not have authority to grant permits allowing the phase III

archaeological excavations.” Dkt. 190 at 45. Plaintiffs’ Indian Reorganization Act claim arising

from Interior’s re-application of its land-into-trust decision accrued after 2006, as discussed

above. Interior also re-applied its land-into-trust decision in 2009 when it rejected Mekko

Thompson’s NAGPRA claim.

        Federal Defendants and Tribal Defendants incorrectly argue that Alabama v. PCI

Gaming Auth., 801 F.3d 1278, 1287 (11th Cir. 2015) and Poarch Band of Creek Indians v.

Hildreth, 656 F. App’x 934, 944 (11th Cir. 2016) are controlling, see Dkt. 200 at 19–20; Dkt.

202 at 23–24. Defendants are wrong, because unlike the plaintiffs in PCI Gaming and Hildreth,

Plaintiffs here could not have challenged the land-into-trust decision within six years of that

decision.

       A basic requirement of an APA claim is that the plaintiff be “adversely affected or

aggrieved” by a federal agency’s decision. 5 U.S.C. § 702. In 1984 when the Secretary of the

Interior took Hickory Ground into trust for Poarch, the Muscogee (Creek) Nation had no reason

to know it would be adversely affected by the decision. See generally Plaintiffs’ Response to

Tribal Defendants’ Motion to Dismiss, §§ IV.C & D. Poarch itself had represented just four

years earlier that it would preserve Hickory Ground “without excavation,” and the Muscogee

(Creek) Nation reasonably relied on those assurances. See id. As discussed above, it was not until

within six years of this lawsuit that Interior’s decision was applied to adversely affect Plaintiffs.

       In contrast, the plaintiffs in PCI Gaming and Hildreth were aggrieved immediately upon

the agency taking action. In PCI Gaming, the Eleventh Circuit held that Alabama’s request to

amend its complaint to add an “as-applied” APA claim against the Secretary would be futile

because Alabama was notified of the land-into-trust decision that removed state power from the

lands in 1984. See 801 F.3d at 1292. The court did not go into great detail on its ruling, but


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Interior is required to notify an affected state of a land-into-trust decision precisely because of

the resulting jurisdictional shift and related immediate effects on the state. See 25 C.F.R.

§ 151.12(d)(2)(ii).

       Hildreth also involved a state governmental entity that was immediately impacted by the

land-into-trust decision. There, the plaintiff Tax Assessor of Escambia County sought a ruling

that Poarch’s Atmore lands were subject to county taxation despite being notified at least as early

as 1986 that the land-into-trust transaction removed the land from the County’s taxing

jurisdiction. 656 F. App’x at 937, 943–44.

       Plaintiffs’ “as-applied” challenge to the Secretary’s ultra vires action is thus

distinguishable from the plaintiffs in PCI Gaming and Hildreth. Because the Federal Defendants

did not apply the decision to Plaintiffs, and Plaintiffs were not “aggrieved,” until within six years

of the date of filing their lawsuit, their APA claim is timely. And, to the extent the parties

disagree over when the Plaintiffs were aggrieved, Plaintiffs are entitled to resolve that factual

dispute on the merits.

       3.      Plaintiffs have standing to bring their Indian Reorganization Act Claim
               because they have alleged particularized, concrete, and actual or imminent
               injury resulting from the Secretary’s decision that will be redressed by a
               finding that Hickory Ground is not validly held in trust.
       Both Tribal Defendants and Federal Defendants argue that Plaintiffs lack standing to

bring an Indian Reorganization Act-based challenge to Hickory Ground’s trust status because

their injuries are not fairly traceable to the land-into-trust decision and could not be redressed by

a favorable ruling. Dkt. 200 at 23, Dkt. 202 at 16-21. This is plainly wrong. But for Interior

making the legally incorrect determination that the Hickory Ground Site was “Indian land,” it

would not and could not have granted the ARPA permits allowing excavation at the Site, and the

excavation and subsequent construction of the casino would not have happened. Indeed, there

would have been no reason to make way for a casino when gambling would have been illegal

under both state and federal law. See Dkt. 190 at 46. Reversing Interior’s decision will directly

redress this error. Furthermore, Plaintiffs go into great detail in the Second Amended Complaint

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about the significant and ongoing harm the excavation and construction is causing to them.

Plaintiffs’ requested injunction to unwind the illegal excavation and construction would redress

their injury. See Dkt. 190 at 76–77. Plaintiffs therefore have standing.

       Article III injury “may be minimal” and even “‘an identifiable trifle’ is sufficient to
establish standing” if the alleged harm affects the plaintiff in a “personal and individualized

way.” Preminger v. Peake, 552 F.3d 757, 763 (9th Cir. 2008) (first quoting Council of Ins.

Agents & Brokers v. Molasky-Arman, 522 F.3d 925, 932 (9th Cir. 2008); then quoting Lujan v.

Defs. of Wildlife, 504 U.S. 555, 560 n.1 (1992)). As the cases discussed below make clear,

standing exists if the harms suffered by the party challenging the “fee-to-trust” decision would

have been avoided if that decision had come out the other way.

       In Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak, another case

challenging a fee-to-trust decision, the plaintiff “contended that he lived ‘in close proximity to’

the [property] and that a casino there would ‘destroy the lifestyle he has enjoyed’ by causing

‘increased traffic,’ . . . ‘an irreversible change in the rural character of the area,’ and ‘other

aesthetic, socioeconomic, and environmental problems.’” 567 U.S. 209, 213 (2012). The Court

held that the “economic, environmental, and aesthetic harm [suffered] as a nearby property

owner” established standing. Id. at 224–228. And the Court of Appeals decision that the

Supreme Court affirmed found “no doubt” that Article III standing was satisfied: “[T]he impact

of the Band’s facility on [the plaintiff’s] way of life constituted an injury-in-fact fairly traceable

to the Secretary’s fee-to-trust decision, an injury the court could redress with an injunction that

would in effect prevent the Band from conducting gaming on the property.” Patchak v. Salazar,

632 F.3d 702, 704 (D.C. Cir. 2011) (emphasis added), aff’d and remanded sub nom. Match-E-

Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567 U.S. 209 (2012).

       Similarly, where plaintiffs lived near a planned casino and would suffer increased traffic

as a result of construction of the casino, they satisfied standing requirements. See Geyser v.

United States, No. CV 17-7315-DMG (ASX), 2018 WL 6990808, at *7 (C.D. Cal. Aug. 30,

2018). In Upstate Citizens for Equal., Inc. v. United States, two towns, a civic organization, and

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several residents of the area near the questioned trust land who alleged “loss of enjoyment of the
aesthetic and environmental qualities of the agricultural land surrounding the casino site,” “loss

of tax revenue currently generated by the agricultural land that comprises the casino site,” and

“the loss of business and recreational opportunities, such as retail stores and restaurants, that will

be forced out by the casino” was enough to establish standing. 841 F.3d 556, 565–66 (2d Cir.

2016).

         Likewise, the Picayune Tribe had standing to contest a land-into-trust decision for

another tribe because the planned gaming on that land would “have a devastating economic

impact” on the Picayune Tribe. Stand Up for California! v. U.S. Dep’t of the Interior, 919 F.

Supp. 2d 51, 56 n.7 (D.D.C. 2013). The injury to the Picayune Tribe “will be fairly traceable to

the defendants’ conduct since it will result, if at all, because of the defendants’ decision to

transfer-in-trust the . . . Site and permit gaming thereon.” Id. And, “the Picayune Tribe's injury in

fact is likely to be redressed by a favorable decision because, if the plaintiffs are successful on

the merits, the Secretary’s determinations will likely be vacated, and the economic injury to the

Picayune Tribe will not occur.” Id.; see also TOMAC v. Norton, 193 F. Supp. 2d 182, 188

(D.D.C. 2002), aff’d sub nom. TOMAC, Taxpayers of Michigan Against Casinos v. Norton, 433

F.3d 852 (D.C. Cir. 2006) (the link between Interior’s actions and a group of residents’ injuries

to their enjoyment of their neighborhoods and viewing local wildlife is “easy to identify”
“because the taking of the site in trust is a necessary prerequisite to both Class II and III

gaming,” and the residents’ claims against the land-into-trust decision were redressable “since a

decision not to take the land in trust would prevent the [tribe] from building a casino on that site

and from satisfying the requirements of IGRA for casino gambling”) (emphasis in original);

Citizens Against Casino Gambling in Erie Cty. v. Hogen, No. 07-CV-0451S, 2008 WL 2746566,

at *20 (W.D.N.Y. July 8, 2008) (Plaintiffs’ challenge to land-into-trust decision to prevent casino

construction was redressable because “were the Court to agree that the Buffalo Parcel is not

‘Indian lands’ within the meaning of the IGRA, no [tribal] gaming can lawfully occur on that

restricted fee land”).

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       Plaintiffs’ alleged harms are several orders of magnitude worse than the harms alleged in

Patchak and the other cases discussed above. As discussed in greater detail in Sections IV.C and

D of Plaintiffs’ Response to Tribal Defendants’ Motion to Dismiss, Plaintiffs have rights to the

preservation of the land arising not only from Poarch’s promises but also from common law

rights to gravesites and their contents. As Plaintiffs allege in the Second Amended Complaint,

Hickory Ground is sacred to them; it has “profound cultural and religious importance.” Dkt. 190

at 14. Hickory Ground’s desecration is violating their deeply held religious beliefs and

destroying their cultural history—just as Poarch warned it would in its application for federal

preservation funds. See Second Amended Complaint, Dkt. 190 at 13–14, 17, 19, 28, 31–32, 37,

44, 72–76. Plaintiffs’ cultural identity and religion is inextricably tied to their homelands and

ancestors; they owe constant and continuing duties to care for their ancestors and their

ceremonial grounds. See id. at 72–76. Thus, Hickory Ground is part of Plaintiffs’ culture and

way of life. The unique importance of Hickory Ground to Plaintiffs is similar to the significance

of Bethlehem in Christianity, and to Philadelphia in the history of the United States. This place

dates back to the time of the beginnings for Hickory Ground Tribal Town and was the last tribal

capital of the Muscogee (Creek) Nation prior to its forcible removal from the southeast. See Dkt.

190 at 13. Thus, Plaintiffs will suffer ongoing injury to their cultural identity, heritage, and way

of life if Poarch’s continuing desecration of Hickory Ground is allowed.
       Like the injury to the Picayune Tribe in Stand Up for California!, the injuries to Plaintiffs

here are traceable to the Secretary’s decision and are likely to be redressed by a favorable

decision from this Court. The ongoing harm to Plaintiffs has resulted because of the Secretary’s

decision to take the land into trust and permit excavation thereon, just as the Picayune Tribe’s

injury would result from the “defendants’ decision to transfer-in-trust the . . . Site and permit

gaming thereon.” Stand Up for California!, 919 F. Supp. 2d at 56 n.7.

       Finally, Plaintiffs’ injury in fact is likely to be redressed by a favorable decision, because

as with the Picayune Tribe’s claim, “if the plaintiffs are successful on the merits, the Secretary's

determinations will likely be vacated, and the economic injury to the [plaintiff] will not [continue

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to] occur.” Id. Federal Defendants’ and Tribal Defendants’ arguments that Poarch would still be
able to develop its property in fee are simply red herrings. The tribes in all of the above cases

already held their lands in fee prior to the land-into-trust decision. See Patchak, 632 F.3d at 703

(noting “[t]he Band owned the land and wanted to construct and operate a gambling facility

there”); Geyser, 2018 WL 6990808, at *2 (noting the property was “fee land owned by the

Tribe”); Upstate Citizens, 841 F.3d at 563 (“All of the land was already owned by the Tribe.”);

Stand Up for California!, 919 F. Supp. 2d at 55 (noting the transaction was “fee-to-trust”).

Absent the disputed fee-to-trust decisions, each tribe could still develop its fee land in

accordance with applicable law—development that might cause similar injuries to the plaintiffs.

However, the issue is not what speculative use might have been made of the fee land—which use

the parties are free to dispute once the use is made—but rather what use and resulting harm arose

from the trust decision. See Stand Up for California!, 919 F. Supp. 2d at 56 n.7; TOMAC, 193 F.

Supp. 2d at 188; Citizens Against Casino Gambling in Erie Cty., 2008 WL 2746566, at *20.

       Plaintiffs have shown they will suffer a particularized, concrete, and actual or imminent

injury resulting from the Secretary’s decision that will be redressed by a finding that Hickory

Ground is not validly held in trust. Plaintiffs therefore have standing. Their Indian

Reorganization Act claim is also timely because it was raised within six years of Interior

applying its decision to Plaintiffs. This Court should deny Federal Defendants’ and Tribal
Defendants’ motions to dismiss this claim.

B.     The Plaintiffs properly allege subject matter jurisdiction for their NAGPRA claim.

       The Federal Defendants have moved to dismiss the Plaintiffs’ NAGPRA claim for lack of

subject matter jurisdiction. They argue that the Plaintiffs have not alleged an appropriate agency

action under the APA, and that the Court accordingly lacks jurisdiction. But jurisdiction and the

right of action in this case is provided by NAGPRA. And while the APA provides a waiver of

sovereign immunity in this case, the APA’s procedural requirements, including its various

requirements regarding agency actions, are not jurisdictional. So dismissal on that basis for lack


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of jurisdiction cannot be granted, and the Federal Defendants’ motion to dismiss the NAGPRA

claim for lack of subject matter jurisdiction must be denied. Even if that were not the case, the

Plaintiffs’ NAGPRA claim is sufficient to withstand the motion to dismiss.

       1.      Dismissal cannot be granted on the basis of a procedural requirement in the
               APA that is not jurisdictional in nature.
       NAGPRA provides both subject matter jurisdiction and a private right of action in this

case. And the APA provides a waiver of sovereign immunity for NAGPRA claims against the

federal government. Accordingly, this Court has subject matter jurisdiction over the Plaintiffs’

NAGPRA claim against the Federal Defendants. Importantly, the procedural requirements of the
APA are not jurisdictional and do not limit the APA’s waiver of sovereign immunity in this case.

Thus, they cannot serve as a basis for dismissal for lack of subject matter jurisdiction, as the

Federal Defendants argue.

                   a) NAGPRA grants a private right of action.

       NAGPRA’s enforcement provision, 25 U.S.C. § 3013, provides: “The United States

district courts shall have jurisdiction over any action brought by any person alleging a violation

of this chapter and shall have the authority to issue such orders as may be necessary to enforce

the provisions of this chapter.” (Emphasis added.) NAGPRA’s implementing regulations also

recognize that “the United States District Courts have jurisdiction over any action brought that
alleges a violation of the Act.” 43 C.F.R. § 10.17(a).

       Not surprisingly, given that plain language, courts are in agreement that NAGPRA’s

enforcement provision vests the federal courts with jurisdiction over claims alleging violation of

NAGPRA. E.g., Thorpe v. Borough of Thorpe, 770 F.3d 255, 259 (3d Cir. 2014), cert. denied,

136 S.Ct. 84 (2015) (“NAGPRA’s jurisdictional provision vests federal courts with jurisdiction

over ‘any action brought by any person alleging a violation of’ NAGPRA.”); Pueblo of San

Ildefonso v. Ridlon, 103 F.3d 936, 939 (10th Cir. 1996) (stating that Section 3013 “explicitly

vests jurisdiction in federal courts,”); Yankton Sioux Tribe v. U.S. Army Corps of Eng’s, 209 F.



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Supp. 2d 1008, 1016 (D. S.D. 2002) (“The Court has jurisdiction in this case pursuant to 25

U.S.C. § 3013….”).

         Courts are also in agreement (and the Federal Defendants concede) that NAGPRA’s

enforcement provision creates a private right of action. 8 Indeed, as the Bonnichsen court stated,
“[i]t is difficult to see how Congress could be more express than that.” 969 F. Supp. at 627.

Accordingly, NAGPRA provides both jurisdiction and a private right of action in this case.

                      b) Plaintiffs’ NAGPRA claim for non-monetary relief can proceed under
                         APA Section 702’s broad waiver of sovereign immunity.

         The APA provides a waiver of sovereign immunity for NAGPRA claims against the

federal government. 9 The APA states, in pertinent part:

         [1] A person suffering legal wrong because of agency action, or adversely
         affected or aggrieved by agency action within the meaning of a relevant statute, is
         entitled to judicial review thereof. [2] An action in a court of the United States
         seeking relief other than money damages and stating a claim that an agency or an
         officer or employee thereof acted or failed to act in an official capacity or under
         color of legal authority shall not be dismissed nor relief therein be denied on the
         ground that it is against the United States or that the United States is an
         indispensable party.
5 U.S.C. § 702. The distinction (in brackets, above) between the first and second sentences is

important for purposes of this discussion. As discussed below, it is the second sentence of

Section 702 that provides the waiver of sovereign immunity, and that is relevant here.



8
  E.g., Geronimo v. Obama, 725 F. Supp. 2d 182, 185 (D.D.C. 2010) (stating that Section 3013 “expressly provides
for a private right of action.”); White v. Univ. of Cal., No. 12-01978, 2012 WL 12335354, at *2 (N.D. Cal. Oct. 9,
2012) (unpublished)\ (“Significantly, NAGPRA includes an enforcement provision that creates a private right of
action.”), aff’d, 765 F.3d 1010 (9th Cir. 2014); Rosales v. United States, No. 07-0624, 2007 WL 4233060, at *3
(S.D. Cal. Nov. 28, 2007) (unpublished) (“NAGPRA creates a private right of action…”); San Carlos Apache Tribe
v. United States, 272 F. Supp. 2d 860, 886 (D. Ariz. 2003) (“There is a private right of action under NAGPRA….”),
aff’d 417 F.3d 1091 (9th Cir. 2005); Bonnichsen v. U.S. Dep’t of Army, 969 F. Supp. 614, 627 (D. Or. 1997) (stating
that NAGPRA appears to establish a private right of action); Dkt. 200 at 25 (“NAGPRA contains a private right of
action....”).
9
  At least one court, in one of the most prominent NAGPRA cases to date, has suggested that an argument can be
made that NAGPRA itself provides a waiver of sovereign immunity. Bonnichsen, 969 F.Supp. at 627 n.17 (“An
argument can be made in favor of an implied waiver of sovereign immunity in § 3013, since a primary purpose of
NAGPRA is the repatriation of remains and other items that are in the possession of federal agencies or that may be
discovered on federal lands.”). Although the Plaintiffs do not waive this argument, they do not assert it for purposes
of the Federal Defendants’ motion to dismiss.

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        The waiver of sovereign immunity in the second sentence of Section 702 is not just for

APA claims, but is for all claims seeking non-monetary relief. E.g., Trudeau v. Fed. Trade

Comm’n, 456 F.3d 178, 186 (D.C. Cir. 2006) (“We have previously, and repeatedly, rejected [the

argument that the waiver applies only to actions arising under the APA], expressly holding that

the ‘APA’s waiver of sovereign immunity applies to any suit whether under the APA or not.’”).

This specifically includes NAGPRA claims. White, 765 F.3d at 1024 (stating that suits

concerning the United States under NAGPRA are authorized under the APA, “which contains an

express limited sovereign immunity waiver for suits seeking non-monetary relief against the

United States”); Geronimo, 725 F. Supp. 2d at 185 (“The waiver of sovereign immunity

applicable to a claim under NAGPRA is the waiver found within the [APA].”); San Carlos

Apache Tribe, 272 F. Supp. 2d at 886 (“The APA waives the sovereign immunity of the

Government for NAGPRA claims.”).

        The combination of a grant of jurisdiction with a private right of action in NAGPRA, and

the a waiver of sovereign immunity in the APA, provides this Court with subject matter

jurisdiction over the Plaintiffs’ claim of NAGPRA violations, and the Federal Defendants’

motion to dismiss for lack of jurisdiction should be denied.

                    c) Section 702’s waiver of sovereign immunity is not dependent upon an
                       “agency action” being reviewed.

        Despite the statutory guidance and precedent, the Federal Defendants nevertheless argue

that this Court lacks subject matter jurisdiction over the Plaintiffs’ NAGPRA claim. They say

that a discrete agency inaction in violation of a nondiscretionary duty is required for a waiver of

sovereign immunity, and hence for jurisdiction, under the APA. Not true. The “agency action” of

Section 702’s first sentence does not apply here, and the APA’s other procedural requirements

are not jurisdictional in nature.

        The “agency action” provision in the first sentence of Section 702 is not relevant here,

because “[c]laims not grounded in the APA,” like the NAGPRA claim here, “‘do[] not depend

on the cause of action found in the first sentence of [Section] 702.’” Navajo Nation v. Dep’t of

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the Interior, 876 F.3d 1144, 1170 (9th Cir. 2017) (second alteration in original) (citation

omitted). As discussed above, NAGPRA provides its own cause of action, so only the waiver of

sovereign immunity in the second sentence of Section 702 is relevant. In 1976, Congress

amended Section 702 to add the second sentence, which provides “a broad waiver of sovereign

immunity for actions seeking relief other than money damages against federal agencies, officers,

or employees.” Delano Farms Co. v. Cal. Table Grape Comm’n, 655 F.3d 1337, 1344 (Fed. Cir.

2011). The two sentences of Section 702 are quite distinct from one another. Michigan v. U.S.

Army Corps of Eng’rs, 667 F.3d 765, 774 (7th Cir. 2011) (“The first and second sentences of §

702 play quite different roles.” (internal quotation marks omitted)). The first sentence provides

an “omnibus judicial-review provision, which permits suit for violations of numerous

statutes…that do not themselves include causes of action for judicial review,” while the second

sentence provides the “broad waiver of sovereign immunity” discussed above. Navajo Nation,

876 F.3d at 1168 (emphasis added) (internal quotation marks omitted).

       Importantly, the second sentence is not limited by the first sentence. By placing the

waiver of sovereign immunity in Section 702, Congress did not mean to limit that waiver to

actions arising under the APA. E.g., Delano, 655 F.3d at 1345 (rejecting an argument that “the

placement of the waiver of sovereign immunity in section 702 of the APA suggests that the

waiver was meant to be limited to actions arising under the APA itself or under a statute directed

at the review of ‘agency action’ as that term is defined in the APA.”); see also Presbyterian

Church v. United States, 870 F.2d 518, 525 (9th Cir. 1989) (rejecting an argument that the

waiver of sovereign immunity in the second sentence applies only if there is an agency action

under the first sentence, finding that the second sentence contains no limitation regarding

“agency action,” and concluding that the waiver “was clearly intended to cover the full spectrum

of agency conduct, regardless of whether it fell within the technical definition of ‘agency

action’”); Treasurer of N.J. v. U.S. Dep’t of Treasury, 684 F.3d 382, 399–400 (3d Cir. 2012)

(agreeing with Delano, Presbyterian Church, and others on this point). This differs from the

situation where a litigant is claiming a right of review under the first sentence of Section 702.

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Compare Lujan v. Nat’l Wildlife Fed’n., 497 U.S. 871, 882 (1990) (review under the first

sentence of Section 702 (and not under a separate federal statute, as is the case here) must

identify some “agency action”). Thus, the waiver of sovereign immunity in the second sentence

of Section 702 applies in this case without regard to the “agency action” provision of the first

sentence of Section 702.

       The waiver of sovereign immunity also applies regardless of the APA’s other procedural

requirements, because the APA’s other procedural requirements are not jurisdictional in nature.

The U.S. Supreme Court recognized decades ago that the APA is not a jurisdiction-granting

statute. Califano v. Sanders, 430 U.S. 99, 107 (1977) (holding that the APA does not grant

subject-matter jurisdiction). As discussed above, it merely provides a cause of action for some

cases (for which there must still be an independent basis of jurisdiction), and a waiver of

sovereign immunity. And while a handful of federal courts over the subsequent years

occasionally and incorrectly “loosely referred” to certain requirements of the APA as being

“jurisdictional,” Trudeau, 456 F.3d at 184, that has changed drastically in more recent years.

       In the 2006 case of Arbaugh v. Y & H Corp., the U.S. Supreme Court established a

“readily administrable bright line” regarding whether statutory requirements are jurisdictional:

       If the Legislature clearly states that a threshold limitation on a statute’s scope
       shall count as jurisdictional, then courts and litigants will be duly instructed and
       will not be left to wrestle with the issue. But when Congress does not rank a
       statutory limitation on coverage as jurisdictional, courts should treat the
       restriction as nonjurisdictional in character.
546 U.S. 500, 515-16 (2006) (internal footnote and citation omitted).

       The Trudeau court was one of the first federal appellate courts to consider the effect of

the APA’s requirements after Arbaugh. The Trudeau court noted that the courts that had

previously “loosely referred” to certain requirements of the APA as being “jurisdictional,” 456

F.3d at 184, did not have “the benefit of the ‘bright line’ that the Court recently drew between

jurisdictional and nonjurisdictional requirements in Arbaugh.” Id. at 184 n.6. The Trudeau court

proceeded to consider the effect of Section 704 of the APA, which requires “agency action” for


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claims made reviewable by statute (such as NAGPRA) and “final agency action” for claims for

which there is no other remedy. Id. at 184-85; 5 U.S.C. § 704 (“Agency action made reviewable

by statute and final agency action for which there is no other adequate remedy in a court are

subject to judicial review.”). The “final agency action” requirement of Section 704 was the one

relevant in Trudeau. The Trudeau court reaffirmed prior cases holding “that the APA’s final

agency action requirement is not jurisdictional,” 456 F.3d at 184, held that Section 702’s waiver

of sovereign immunity applied regardless of whether there was a “final agency action,” and

stated that the “district court therefore had subject-matter jurisdiction ... and its dismissal of the

complaint for lack of jurisdiction pursuant to Rule 12(b)(1) was erroneous.” Id. at 187.

         Nearly every federal appellate court since has followed suit in holding that the APA’s

procedural requirements are not jurisdictional in nature. While these cases have most often

pertained to the requirements of Section 704, courts have reached the same conclusion with

respect to other provisions of the APA as well, and the conclusion should be the same for any

requirements of the APA. Cf. 14 Charles Alan Wright & Arthur R. Miller, Federal Practice and

Procedure Jurisdiction § 3659 (4th ed.) (“[N]umerous circuits have held that the APA’s waiver

of sovereign immunity under § 702 extends to all challenges to Government actions, regardless

of whether other requirements of the APA cause of action—particularly that agency action be

final—are met.” (emphasis added)).

         Thus, the federal appellate courts are now in “near-unanimity” that the second sentence

of Section 702 waives sovereign immunity broadly for all causes of action that meet its terms,

and does not incorporate the requirements of Section 704. Navajo Nation, 876 F.3d at 1172. 10

10
   The D.C. Circuit, Federal Circuit, and 1st, 3rd, 6th, 7th, 8th, and 9th Circuits are all in accord. E.g., Navaho
Nation, 876 F.3d at 1172; Perry Capital LLC v. Mnuchin, 864 F.3d 591, 621 (D.C. Cir. 2017); (stating that the
finality requirement and adequate remedy bar of Section 704 does not determine whether there is subject matter
jurisdiction); Muniz-Muniz v. U.S. Border Patrol, 741 F.3d 668, 672 (6th Cir. 2013) (“We now join all of our sister
circuits who have done so in holding that § 702’s waiver of sovereign immunity extends to all non-monetary claims
against federal agencies and their officers sued in their official capacity, regardless of whether plaintiff seeks review
of ‘agency action’ or ’final agency action’ as set forth in § 704.”); Treasurer of N.J., 684 F.3d at 400 (“Accordingly,
section 704 in limiting review to ‘final agency action’ concerns whether a plaintiff has a cause of action under the
APA that can survive a motion to dismiss under Rule 12(b)(6) but does not provide a basis for dismissal on grounds
of sovereign immunity.”); Delano, 655 F.3d at 1344 (“We hold that section 702 of the APA waives sovereign
immunity for non-monetary claims against federal agencies….[i]t is not limited to ‘agency action’ or ‘final agency

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The Eleventh Circuit has not addressed this issue since the Supreme Court decided Arbaugh. See

Nat’l Parks Conservation Ass’n v. Norton, 324 F.3d 1229, 1240 (11th Cir. 2003) (referring

loosely, in a pre-Arbaugh decision, with little analysis, to Section 704’s “final agency action”

requirement as “implicat[ing] federal subject matter jurisdiction”). As noted by the Trudeau

court, the National Parks court did not, at that time, have the benefit of Arbaugh’s bright-line

rule regarding jurisdictional and nonjurisdictional requirements. See 546 U.S. at 515-16. And

Arbaugh itself suggests that this type of decision, which is not “meticulous” on the “subject-

matter jurisdiction/ingredient-of-claim-for-relief dichotomy,” “should                         be accorded ‘no

precedential effect’” on the question of a federal court’s authority to adjudicate a claim. Id. at

511. Moreover, the National Parks court relied on D.C. Circuit case law for the proposition that

finality is jurisdictional under the APA, 324 F.3d at 1236 (citing Indep. Petrol. Ass'n of Am. v.

Babbitt, 235 F.3d 588, 594 (D.C. Cir. 2001)), but the D.C. Circuit no longer follows the case law

on which National Parks relied. Vietnam Veterans of Am. v. Shinseki, 599 F.3d 654, 661 & n.8

(D.C. Cir. 2010) (commenting that cases such as Independent Petroleum Association ignored a

U.S. Supreme Court footnote “that the judicial review provisions of the APA are not

jurisdictional”); Friends of Animals v. Bernhardt, __ F.3d __, 2020 WL 3244011, at *6 (D.C.

Cir. 2020) (“[F]inality under the APA is no longer considered jurisdictional”); Flytenow, Inc. v.

F.A.A., 808 F.3d 882, 888 (D.C. Cir. 2015) (“After a period of uncertainty in our circuit, it is

‘now firmly established’ that finality under the APA is non-jurisdictional.”); National Parks can

also be distinguished because it involved claims brought directly under the APA, rather than




action,’ as those terms are defined in the APA.”); Michigan, 667 F.3d at 775 (explaining that “the conditions of §
704 affect the right of action contained in the first sentence of § 702, but they do not limit the waiver of immunity in
§ 702’s second sentence”); Nulankeyutmonen Nkihtaqmikon v. Impson, 503 F.3d 18, 33 (1st Cir. 2007) (“We have
previously held that the APA’s finality requirement is not jurisdictional in nature.”); Red Lake Band of Chippewa
Indians v. Barlow, 846 F.2d 474, 476 (8th Cir. 1988) (“[T]he waiver of sovereign immunity contained in section 702
is not dependent on application of the procedures and review standards of the APA. It is dependent on the suit
against the government being one for non-monetary relief.”). The Fifth Circuit appears to be alone in holding
otherwise. Navajo Nation, 876 F.3d at 1172 n.36. See Ala.-Coushatta Tribe of Tex. v. United States, 757 F.3d 484,
489 (5th Cir. 2014) (treating “agency action” as a requirement for establishing a waiver of sovereign immunity
under Section 702).

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under another federal statute providing jurisdiction and a private cause of action, as here. 324

F.3d at 1231.

        Since Arbaugh, several circuits have similarly found that a provision of the APA that

excepts “agency action [that] is committed to agency discretion by law,” 5 U.S.C. § 701(a)(2), is

not jurisdictional, e.g., Chehazeh v. Attorney General of the U.S., 666 F.3d 118, 125 n.11 (3d Cir.

2012) (agreeing with Ochoa and Vahora that even if Congress has committed an action to

agency discretion, it does not deprive the courts of jurisdiction under the APA); Vahora v.

Holder, 626 F.3d 907, 917 (7th Cir. 2010) (agreeing with Ochoa that the issue of whether an

action is committed to agency discretion “is not termed properly one of jurisdiction”); Ochoa v.

Holder, 604 F.3d 546, 549 (8th Cir. 2010) (explaining that if a plaintiff complains about an

action that is committed to agency discretion by law, it does not mean that a court lacks subject

matter jurisdiction over the claim; instead the court will properly grant a motion to dismiss the

complaint for failure to state a claim). Notably, the Ochoa court, which the other circuits

followed, was clearly applying Arbaugh in its decision, noting with an omitted citation to

Arbaugh that “[t]he Supreme Court’s recent proscription against ‘drive-by jurisdictional rulings’

compels us to make this distinction in the interest of facilitating the clarity sought by the Court.”

Id.

                     d) APA Section 706 is procedural and neither confers nor restricts the
                        Court’s jurisdiction.

        While there appears to be a dearth of similar case law regarding 5 U.S.C. § 706

specifically, which is the provision the Federal Defendants rely upon for their jurisdictional

argument, all of the same considerations apply to the requirements of that section, which are

procedural, not jurisdictional, in nature. 11 First, as discussed above, the APA is not a jurisdiction-
granting statute. Nor does it restrict jurisdiction. Trudeau, 456 F.3d at 185 (stating that “the APA

neither confers nor restricts jurisdiction”) (emphasis added). If the provisions of Section 706 do


11
 Section 706 sets forth procedures regarding how the reviewing court should conduct its review. It is discussed in
more detail in Section IV.B.2.c.(2)below.

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not grant jurisdiction, then, by the same token, they cannot deprive a federal court of any

jurisdiction it otherwise has. Cf. id. at 184–85 (making the same point about Section 704).

Accordingly, the only issue relating to jurisdiction is whether Section 706 limits Section 702’s

waiver of sovereign immunity. It does not.

       As the courts in the decisions discussed above have reasoned in reaching their

conclusions that other provisions of the APA are not jurisdictional, neither the text, nor the

legislative history, of Section 702 supports any limitation of its waiver. As the Presbyterian

Church court stated first:

       On its face, the 1976 amendment is an unqualified waiver of sovereign immunity
       in actions seeking nonmonetary relief against legal wrongs for which
       governmental agencies are accountable. Nothing in the language of the
       amendment suggests that the waiver of sovereign immunity is limited to claims
       challenging conduct falling in the narrow definition of “agency action.”
870 F.2d at 525 (internal footnote omitted). Attempting to restrict the waiver of sovereign

immunity, such as to only actions challenging agency action, “offends the plain meaning of the

amendment.” Id. This reasoning applies with equal force here. Subsequent courts have similarly

noted the absence of various terms from the text of Section 702 in concluding that the absent

terms did not limit Section 702’s waiver. E.g., Delano, 655 F.3d at 1344 (noting that nothing in

the text of Section 702’s waiver limits its scope to “agency action” or “final agency action”);

Trudeau, 456 F.3d at 187 (noting that Section 702’s waiver sentence “does not use either the

term ‘final agency action’ or the term ‘agency action.’”). It is axiomatic that courts must not read
into statutes language that is not there. On its face, Section 702’s waiver does not reference

Section 704’s requirements of “agency action” or “final agency action,” much less the “discrete

agency inaction in violation of a nondiscretionary duty” requirement under Section 706(1)

advanced by Federal Defendants as the basis for dismissal (language which is not even in Section

706(1), but rather is a paraphrase of case law interpreting 706(1)). Accordingly, the express

language of Section 706 does not limit Section 702’s waiver of sovereign immunity.




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        Moreover, nothing in the legislative history of the 1976 amendment suggests that

Congress intended to limit the waiver. Presbyterian Church, 870 F.2d at 525. “On the contrary,

Congress stated that ‘the time [has] now come to eliminate the sovereign immunity defense in all

equitable actions for specific relief against a Federal agency or officer acting in an official

capacity.’” Id. (emphasis and alteration in original); see also, e.g., Trudeau, 456 F.3d at 187

(“Nor does the legislative history refer to either limitation. To the contrary, the House and Senate

Reports’ repeated declarations that Congress intended to waive immunity for ‘any’ and ‘all’

actions for equitable relief against an agency make clear that no such limitations were intended.”

(internal citations omitted)).

        “The APA is a procedural statute that provides no substantive requirements but merely

provides the framework for judicial review of agency action.” Ochoa, 604 F.3d at 549. Nothing

about Section 706 suggests that it is any different than the rest of the APA in that regard. It

simply sets forth procedures regarding how a reviewing court should conduct its review. See

Delano, 655 F.3d at 1344 (characterizing Sections 704 and 706 as providing merely “rules

governing” judicial review under the APA). Other courts are in agreement that Section 702’s

waiver of sovereign immunity is not limited by the APA’s procedures and review provisions,

which would logically include those in Section 706. E.g., Red Lake Band of Chippewa Indians

v. Barlow, 846 F.2d 474, 476 (8th Cir. 1988) (“[T]he waiver of sovereign immunity contained in

section 702 is not dependent on application of the procedures and review standards of the APA.

It is dependent on the suit against the government being one for non-monetary relief.”).

Michigan, 667 F.3d at 775 (“Moreover, the waiver in § 702 is not limited to claims brought

pursuant to the review provisions contained in the APA itself.”). Like the rest of the APA,

Section 706 is procedural, not jurisdictional, in nature, and it does not limit the waiver of

sovereign immunity provided in Section 702.

        The primary case upon which the Federal Defendants rely, Norton v. Southern Utah

Wilderness Alliance, 542 U.S. 55 (2004), or SUWA, as they refer to it, is not to the contrary.

Nowhere in SUWA does the Court discuss, much less decide, the issues of whether Section 706 is

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jurisdictional in nature, or whether it limits Section 702’s waiver of sovereign immunity. 12 And
even if the Court’s silence on those issues could somehow be construed to mean something, only

Section 706(1) was at issue in that case, id. at 57, and the Plaintiffs here have primarily, although

not exclusively, invoked Section 706(2), which SUWA does not address. See generally Or. Nat.

Desert Ass’n v. U.S. Forest Serv., 957 F.3d 1024, 1031 n.6 (9th Cir. 2020) (characterizing SUWA

as “inapposite” in a case involving Section 706(2), because SUWA pertains to Section 706(1));

All. to Save Mattaponi v. U.S. Army Corps of Eng’rs, 515 F. Supp. 2d. 1, 10 (D.D.C. 2007)

(noting that SUWA “does not reach claims encompassed within § 706(2),” which are “unaffected

by SUWA”).

         This Court should decline the Federal Defendants’ invitation to issue a proscribed

“drive-by jurisdictional ruling[]” that conflates the APA’s nonjurisdictional procedural

requirements with subject matter jurisdiction. Cf. Arbaugh, 546 U.S. at 511. Dismissal of

Plaintiffs’ NAGPRA claim for lack of subject matter jurisdiction would be erroneous. Trudeau,

456 F.3d at 187 (holding that the APA’s waiver of sovereign immunity applied regardless of

whether there was a final agency action, so the district court had subject matter jurisdiction and

“its dismissal of the complaint for lack of jurisdiction pursuant to Rule 12(b)(1) was

erroneous.”). Because the Federal Defendants only argue that the NAGPRA claim should be

dismissed for lack of jurisdiction, their motion to dismiss should be denied with respect to the

NAGPRA claim without further consideration.

         2.       Even if the APA’s procedural requirements were jurisdictional (they are
                  not), Plaintiffs have plausibly alleged a claim based on agency actions.
         Only if this Court were to hold, contrary to the great weight of authority discussed above,

that the APA’s procedural requirements are jurisdictional, must it consider the Federal


12
  SUWA, which is discussed in more detail in Section IV.B.2.c.(2), below, does state that “a claim under § 706(1)
can proceed only where a plaintiff asserts that an agency failed to take a discrete agency action that it is required to
take.” 542 U.S. at 64 (emphasis in original). However, in light of Arbaugh’s more recent admonitions, and the
subsequent case law discussed above concluding that the APA’s procedural provisions are nonjurisdictional and do
not limit Section 702’s waiver of sovereign immunity, this is more appropriately understood as speaking to the issue
of whether a plaintiff has stated a claim.

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Defendants’ subject matter jurisdiction arguments under Rule 12(b)(1). “[A] federal court may

dismiss a federal question claim for lack of subject matter jurisdiction only if: (1) ‘the alleged

claim under the Constitution or federal statutes clearly appears to be immaterial and made solely

for the purpose of obtaining jurisdiction’; or (2) ‘such a claim is wholly insubstantial and

frivolous’” (meaning that the claim has no plausible foundation or is clearly foreclosed by a prior

Supreme Court decision). Blue Cross & Blue Shield of Alabama v. Sanders, 138 F.3d 1347, 1352

(11th Cir. 1998) (citing Bell v. Hood, 327 U.S. 678 (1946)). Notably, the test is not whether a

claimant can prevail on the cause of action. Id.

       If the Federal Defendants are correct that Section 706(1) is jurisdictional, then the

question of whether the Plaintiffs have satisfied that section intertwines jurisdiction and the

merits, and consequently is not appropriate for dismissal under 12(b)(1). See Morrison v. Amway

Corp., 323 F.3d 920 (11th Cir. 2003) (“[T]he district court should only rely on Rule 12(b)(1) ‘[i]f

the facts necessary to sustain jurisdiction do not implicate the merits of plaintiff’s cause of

action.’”) (citing Garcia v. Copenhaver, Bell & Assocs., 104 F.3d 1256, 1261 (11th Cir.1997));

S.E.C. v. Mut. Benefits Corp., 408 F.3d 737, 741–42 (11th Cir. 2005) (if the challenge to the

court’s jurisdiction is also a challenge to the existence of a federal cause of action, the proper

course of action for the district court is to “find that jurisdiction exists and deal with the

objection as a direct attack on the merits of the plaintiff’s case”); see also Wright & Miller, 5B

Fed. Prac. & Proc. Civ. § 1350 (3rd ed.).

       In any event, the Court should not proceed to consider dismissal of the Plaintiffs’

NAGPRA claim any further, because the Federal Defendants have not argued that the NAGPRA

claim should be dismissed on any basis other than lack of subject matter jurisdiction.

Specifically, they have not argued that the NAGPRA claim should be dismissed for failure to

state a claim. While the Federal Defendants move to dismiss the case as a whole for both lack of

subject matter jurisdiction and failure to state a claim, they specifically argue one basis or the

other (or sometimes both bases) for dismissal with respect to each claim. And nowhere do they

argue that the NAGPRA claims should be dismissed for failure to state a claim.

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        If the Court nevertheless proceeds to further consider dismissal of the NAGPRA claim, it

must do so under the standard for a motion to dismiss for failure to state a claim under Rule

12(b)(6). See, e.g., Treasurer of N.J. v. United States, 684 F.3d 382, 400 (3d Cir. 2012)

(“Accordingly, section 704 in limiting review to ‘final agency action’ concerns whether a

plaintiff has a cause of action under the APA that can survive a motion to dismiss under Rule

12(b)(6) but does not provide a basis for dismissal on grounds of sovereign immunity.”);

Chehazeh v. Attorney General, 666 F.3d 118, 125 n.11 (3d Cir. 2012) (agreeing with Ochoa that

even if Congress has committed an action to agency discretion, it does not deprive the courts of

jurisdiction; rather, the “question is whether a plaintiff can state a claim for relief from such

action under the APA”); Ochoa v. Holder, 604 F.3d 546, 549 (8th Cir. 2010) (explaining that if a

the action at issue is committed to agency discretion, the court should grant a motion to dismiss

the complaint for failure to state a claim); Geronimo v. Obama, 725 F.Supp.2d 182, 186 (D. D.C.

2010) (dismissing a NAGPRA claim for under Rule 12(b)(6) where the plaintiff alleged no

federal agency involvement whatsoever); cf. Arbaugh, 546 U.S. at 511 (criticizing “unrefined

dispositions” that do not meticulously distinguish between dismissal for lack of subject matter

jurisdiction or failure to state a claim).

        Plaintiffs have met the Twombly standard for pleading a plausible claim. Much of the

Federal Defendants’ argument is premised on the assertion that the land in question is “tribal

land,” not “Federal lands,” for purposes of NAGPRA. However, as discussed in Section IV.B.2,

infra, at least some of the land in question is “Federal lands” for purposes of NAGPRA. And, as

discussed in Section IV.B.2.c, infra, the Plaintiffs have alleged violations of NAGPRA that also

constitute sufficient agency actions under the APA. No “final agency action” is required under

the APA in this case. Accordingly, even though the Court should not undertake further

consideration of the Plaintiffs’ NAGPRA claim at this point, if it does, it should still deny the

Federal Defendants’ motion to dismiss the NAGPRA claim.




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                   a) “Federal lands” are at issue in this case for purposes of NAGPRA.

       The Plaintiffs have alleged that the Hickory Ground Site includes both reservation land

and trust land. Dkt. 190 at 64. Importantly, the Federal Defendants do not contest that allegation.

Land status matters here because NAGPRA distinguishes between “tribal land” and “Federal

lands” in some ways, as discussed in Section IV.B.2.c, below. While reservation land constitutes

“tribal land” for purposes of NAGPRA, any off-reservation trust land in this case constitutes

“Federal lands” for purposes of NAGPRA.

       NAGPRA defines “Federal lands,” in relevant part, as “any land other than tribal lands

which are controlled or owned by the United States.” 25 U.S.C. § 3001(5). Land held in trust by

the United States is plainly “owned or controlled by the United States,” so as long as the trust

land in question here does not fall within the definition of “tribal land” (which it does not, for the

reasons explained below), then it constitutes “Federal lands” for NAGPRA purposes.

       NAGPRA defines “tribal land,” in relevant part, as “(A) all lands within the exterior

boundaries of any Indian reservation; [and] (B) all dependent Indian communities.” 25 U.S.C.

§ 3001(15). NAGPRA’s implementing regulations indicate that the phrase “dependent Indian

communities” should be interpreted pursuant to 18 U.S.C. § 1151. 43 C.F.R. § 10.2(f)(2)(ii).

Section 1151 defines the term “Indian country” for purposes of criminal jurisdiction, but its

definition of “Indian country” is sometimes used for other purposes as well. In paraphrase,

Section 1151 defines “Indian country” as (a) reservation land, (b) dependent Indian communities,

and (c) certain allotments not relevant here. Significantly, however, only the “dependent Indian

communities” category of Section 1151 is relevant for NAGPRA purposes, because it is the only

category referenced in NAGPRA’s implementing regulations with respect to the definition of

“tribal lands.” See also 60 Fed. Reg. 62134, 62140 (Dec. 4, 1995) (referencing the “dependent

Indian communities” subsection of 18 U.S.C. 1151(b) specifically).

       The Federal Defendants argue that all of the land in question, apparently including any

off-reservation trust land, is “Indian country,” and therefore constitutes “tribal land” under

NAGPRA. But they are painting with far too broad a brush. Under NAGPRA, the question is not

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whether land is “Indian country,” but rather, whether it meets NAGPRA’s definition of “tribal

land” because it is either (1) within the exterior boundaries of an Indian reservation, or (2) a

dependent Indian community. If Congress had intended the definition of “tribal land” in

NAGPRA to merely mirror the definition of “Indian country” in 18 U.S.C. § 1151, it could have

simply said so, as it has done in numerous other federal statutes. E.g., 15 U.S.C.

§ 657a(b)(5)(C)(i) (defining the term “Indian reservation” as having “the same meaning as the

term ‘Indian country’ in section 1151 of Title 18,” with certain exceptions); 25 U.S.C.

§ 1304(a)(3) (“The term ‘Indian country’ has the meaning given the term in section 1151 of Title

18”); 28 U.S.C. § 1738B(b)(9) (defining the term “State” to include “Indian country (as defined

in section 1151 of title 18)”).

        Congress did not make NAGPRA’s definition of “tribal land” coextensive with “Indian

country.” Rather, it included within NAGPRA’s definition of “tribal land” only the narrower

categories of (1) reservation land and (2) dependent Indian communities. Had Congress wished

to include off-reservation trust land within the coverage of NAGPRA, it certainly knew how to

do so. See, e.g., 25 U.S.C. § 1903(10) (defining “reservation” as including both “Indian country”

as defined in 18 U.S.C. § 1151 and any trust lands not covered by that section); 25 U.S.C.

§ 2703 (4) (defining “Indian lands” as including both reservation lands and trust lands). The fact

that it did not do so here indicates that Congress did not intend to include off-reservation trust

land in the definition of “tribal land” (unless it constitutes a dependent Indian community; this is

not the case here). See also 60 Fed. Reg. 62134, 62140 (rejecting a suggestion to include off-

reservation trust lands in the definition of tribal lands found in NAGPRA’s implementing

regulations because it would be “inconsistent with the Act’s definition of tribal lands”); id. at

62142 (“Lands outside the exterior boundary of an Indian reservation that are held in trust by the

United States for an Indian tribe do not meet the statutory definition of tribal lands. These lands

are under federal control. . . .”).

        Accordingly, to the extent the Hickory Ground Site is within the boundaries of Poarch’s

reservation, it constitutes “tribal land” under NAGPRA. The parts of the Hickory Ground Site

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that include trust land lying outside the boundaries of Poarch’s reservation constitute “Federal

lands” under NAGPRA because they do not qualify as a “reservation” under NAGPRA.

                   b) The off-reservation trust land is not “reservation” land for purposes of
                      NAGPRA.

       As noted above, the Federal Defendants have not challenged the Plaintiffs’ allegation that

the Hickory Ground Site includes both reservation land and trust land. The Federal Defendants

contend that the term “reservation” as used in NAGPRA should be interpreted coextensively

with the term “reservation” under the Indian Country Statute, 18 U.S.C § 1151, which recognizes

informal reservations. See Dkt. 200 at 25. This argument fails for three reasons. First, what

matters here is whether the land constitutes reservation land for purposes of NAGPRA, not for

purposes of Section 1151(a). Second, NAGPRA’s definition of “tribal land” should be

interpreted narrowly, according to what it actually says (which the cases cited by the Federal

Defendants do not contradict). Third, reading NAGPRA’s “reservation” provision to include

informal or de facto reservations would render its “dependent Indian communities” provision

largely superfluous, in contravention of the canon of statutory construction against surplusage.

       The issue here is whether the off-reservation trust land at Hickory Ground constitutes

land “within the exterior boundaries of any Indian reservation” for purposes of NAGPRA

pursuant to 25 U.S.C. § 3001(15)(A). Notably, neither that section, nor the relevant provision of

NAGPRA’s implementing regulations, 43 C.F.R. § 10.2(f)(2)(i), refers to 18 U.S.C. § 1151(a).

Accordingly, this Court need not, and should not, turn to case law interpreting 18 U.S.C.

§ 1151(a) to determine whether the off-reservation trust land in this case constitutes reservation

land for purposes of NAGPRA. According to a plain meaning interpretation, it does not—it is off

the reservation, and therefore not “within the exterior boundaries of any Indian reservation.”

       Congress could easily have incorporated 18 U.S.C. § 1151’s definition of Indian country

into NAGPRA definition of “tribal land” by reference, but it did not. And it could have made

NAGPRA’s definition of “tribal land” more inclusive, but it did not. This indicates that

NAGPRA’s definition of “tribal land” is specific and limited, and should not be given the

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flexible interpretation, based on a different statute, that the Federal Defendants urge. Indeed, the

legislative history of NAGPRA supports this proposition. H.R. Rep. No. 101-877, at 15 (1990)

(“The term ‘tribal land’ . . . is for purposes of this Act only and may be inapplicable in other

circumstances.”).

       The cases the Federal Defendants cite do not involve NAGPRA’s definition of “tribal

land.” Rather, they involve the question of whether certain land constitutes “Indian country”

more broadly. See Dkt. 190 at 25. Those cases also involve completely different legal issues. See

Okla. Tax Comm’n v. Citizen Band Potawatomi Indian Tribe, 498 U.S. 505, 507 (1991)

(addressing state regulatory authority in Indian country); Okla. Tax Comm’n v. Sac & Fox

Nation, 508 U.S. 114, 116 (1993) (addressing federal criminal jurisdiction in Indian country).

Accordingly, they do not support the proposition that the reservation land provision of

NAGPRA’s definition of “tribal land” should be read to include informal reservations as in case

law interpreting a definition of an entirely different term (“Indian country”) in an entirely

different federal statute (18 U.S.C. § 1151(a)).

       The issue in Citizen Band Potawatomi Indian Tribe was whether a state had the authority

to tax a tribe’s cigarette sales on trust land. 498 U.S. at 507. The state argued that the tribe’s

sovereign immunity should not apply because the land was not a “reservation.” Id. at 511. The

Court did not specifically cite 18 U.S.C. § 1151, and (unlike the instant case) no specific

definition in another federal statute was at issue. The Court’s holding was narrow: it held that the

trust land “qualifies as a reservation for tribal immunity purposes.” Id. at 510 (emphasis added).

       The issue in Sac & Fox Nation was whether a state had the authority to impose its income

and motor vehicle taxes on tribal members in a tribe’s territory. 508 U.S. at 116. The state argued

that the tribe’s reservation had been disestablished. Id. at 121. The Court cited 18 U.S.C. §

1151’s definition of “Indian country,” id. at 115, 123, but no specific definition in another

federal statute was involved. While the Court alluded to the possibility that an “informal

reservation” might constitute “Indian country,” id. at 123, 125, the Court did not so hold.



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Instead, the Court remanded the case for a determination of whether the land in question was

“Indian country.” Id. at 126, 128.

       The circuit court cases to which the Federal Defendants cite are likewise inapposite. See

Dkt. 200 at 25 n.3 (citing United States v. Roberts, 185 F.3d 1125 (10th Cir. 1999), and United

States v. Azure, 801 F.2d 336 (8th Cir. 1986)). Roberts and Azure are both criminal cases

involving questions of federal criminal jurisdiction under 18 U.S.C. § 1151 directly. The Roberts

court, admitting that “the relationship between informal reservations and dependent Indian

communities is not entirely clear under the current case law,” did not actually determine whether

the tribal government complex in question was a reservation under 18 U.S.C. § 1151(a) or a

dependent Indian community under 18 U.S.C. § 1151(b), although it did determine that the land

was Indian country regardless. 185 F.3d at 1133. And while the Azure court was more decisive,

its holding was narrow, like that of the Potawatomi Court—it held that the tribal housing area in

question “can be classified as a de facto reservation, at least for purposes of federal criminal

jurisdiction.” 801 F.2d at 339 (emphasis added).

       Accordingly, the cases upon which the Federal Defendants rely illustrate, at best, that in

some areas of federal Indian law, and under appropriate factual circumstances, it may be

appropriate to apply a more flexible interpretation of the term “reservation” as used in 18 U.S.C.

1151(a). But that statute is not at issue here, and the statute that is at issue—NAGPRA’s

definition of “tribal land”—should be read to mean what it says: that “tribal land” includes only

reservation land (according to a plain meaning of the term “reservation,” which would not

include informal reservations) and dependent Indian communities (which could, under

appropriate circumstances not met here, include informal reservations). If Congress had wanted

to include more, it would have said so.

       Finally, the canon against surplusage cautions strongly against the interpretation of

NAGPRA’s “tribal land” definition advanced by the Federal Defendants. Under the canon of

surplusage, “[i]f possible, every word and every provision is to be given effect. None should be

ignored. None should needlessly be given an interpretation that causes it to duplicate another

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provision or to have no consequence.” ANTONIN SCALIA & BRYAN A. GARNER, READING LAW:
THE INTERPRETATION OF LEGAL TEXTS, 174 (2012). Explained further:

        Because legal drafters should not include words that have no effect, courts avoid a
        reading that renders some words altogether redundant. If a provision is susceptible
        of (1) a meaning that gives it an effect already achieved by another provision, or
        that deprives another provision of all independent effect, and (2) another meaning
        that leaves both provisions with some independent operation, the latter should be
        preferred.
Id. at 176 (internal citation omitted); see also Yates v. United States, 574 U.S. 528, 543 (2015)

(“We resist a reading of [a statute] that would render superfluous an entire provision passed in

proximity as part of the same Act.”). If any informal or de facto reservation could constitute a

“reservation” for purposes of NAGPRA, then the “dependent Indian community” portion of

NAGPRA’s definition of “tribal land” would be rendered largely superfluous because, in many

cases, a de facto reservation is a dependent Indian community. See, e.g., Azure, 801 F.2d at 339

(stating that a tribal housing area on trust land near a tribe’s reservation could be classified as a

de facto reservation and a dependent Indian community); United States v. Papakee, 485 F. Supp.

2d 1032, 1041, 1044–45 (N.D. Iowa 2007) (holding that the Meskwaki Settlement is an informal

reservation, but that even if it were not, a tribal housing area on trust land within the Settlement

“can be considered a ‘dependent Indian community’”). Interpreting NAGPRA’s definition of
“tribal land” in accordance with its plain meaning—as including only formal reservations under

the “reservation” provision of the definition—would avoid that surplusage while still allowing

informal or de facto reservations to fall under the “dependent Indian communities” provision in

situations not presented here.

        The Federal Defendants have not denied that there is some reservation land in question

and some off-reservation trust land at Hickory Ground. Under NAGPRA’s definition of “tribal
land,” the reservation land constitutes land “within the exterior boundaries of any Indian

reservation,” 25 U.S.C. § 3001(15)(A), but the off-reservation trust land does not. 13

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  “Tribal land” also includes a “dependent Indian community” and lands administered for Native Hawaiians, 25
U.S.C. § 3001(15), but no party has suggested that either of those two categories applies here.

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                          c) The Federal Defendants had duties to act under NAGPRA and the
                             Plaintiffs have alleged a viable claim under both NAGPRA and the APA
                             that the Federal Defendants violated those duties.

            The Plaintiffs’ NAGPRA claim alleges multiple violations of NAGPRA by the Federal

Defendants. These violations constitute agency actions reviewable under the APA. The

NAGPRA claim should survive the Federal Defendants’ motion to dismiss.

                                        (1)      NAGPRA Requirements.

            NAGPRA is a remedial human rights statute passed after “decades of struggle by Native

American tribal governments and people to protect against grave desecration, to repatriate
thousands of dead relatives or ancestors, and to retrieve stolen or improperly acquired religious

and cultural property back to Native owners.” Jack R. Trope & Walter R. Echo-Hawk, The

Native American Graves Protection and Repatriation Act: Background and Legislative History,

24 ARIZ. ST. L.J. 35 (1992). It specifically affords protection to Native American “cultural
items,” which include human remains, associated funerary objects, unassociated funerary

objects, sacred objects, and other objects of cultural patrimony. 14 25 U.S.C. § 3001(3).

            Among other things, Section 3002 of NAGPRA provides prohibits such items from being

disturbed unless several carefully-prescribed requirements are met:

            “The intentional removal from or excavation of Native American cultural items
            from Federal or tribal lands . . . is permitted only if—
            (1) such items are excavated or removed pursuant to a permit issued under [16
            U.S.C. 470cc] which shall be consistent with this chapter;
            (2) such items are excavated or removed after consultation with or, in the case of
            tribal lands, consent of the appropriate [Indian tribe];
            (3) the ownership and right of control of the disposition of such items shall be as
            provided in subsections (a) and (b); and
            (4) proof of consultation or consent under paragraph (2) is shown.”
25 U.S.C. § 3002(c) (emphasis added).

            The permit required by Section 3002(c)(1) is a federal permit issued under the ARPA to

excavate or remove any archaeological resource located on public lands or Indian lands. 16

U.S.C. § 470cc(a). If harm to, or destruction of, any religious or cultural site may result, notice to

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     Each of these terms is further defined in the statute, but the definitions are not of central relevance here.

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“any Indian tribe which may consider the site as having religious or cultural significance” is

required before the permit may be issued. 16 U.S.C. § 470cc(c); see also 43 C.F.R. § 10.3(c).

While there is an exception under the ARPA for tribes performing archaeological excavations on

their own lands, 16 U.S.C. § 470cc(g)(1), that does not apply to non-tribal individuals or entities,

even if they are acting on behalf of a tribe. Id.; see also 25 C.F.R. § 262.4(c) (clarifying that

consultants, advisors, and others serving by contractual agreement as agents for Indian tribes are

not exempt from permit requirements under the ARPA, although they may be able to expedite

the permit). Nor does it apply to individual tribal members in the absence of tribal law regulating

the excavation or removal of archaeological resources on Indian lands. 16 U.S.C. § 470cc(g)(1).

Indeed, in some limited circumstances, the exception may not even apply to tribal employees,

particularly if the tribe does not ensure that permit requirements have been met by other

documented means. 25 C.F.R. § 262.4(c)(2).

       The consultation requirements of Section 3002(c)(2) are further detailed in 43 C.F.R.

§§ 10.3 and 10.5. Notably, these requirements do not depend solely on the Federal Defendants

receiving notice of an excavation or inadvertent discovery—the requirements are also triggered if

they otherwise become aware of it. 43 C.F.R. § 10.5(b). Under Section 10.5, consultation must

be conducted with lineal descendants, tribes on whose aboriginal lands the excavation will occur,

tribes that are culturally affiliated with the cultural items, and tribes that have a demonstrated

cultural relationship with the cultural items. 43 C.F.R. § 10.5(a). The consultation requirements

are extensive, and include development of a plan of action that will cover topics such as how the

cultural items will be treated, the planned disposition of the cultural items and more. 43 C.F.R.

§ 10.5(b)-(e). Moreover, Federal Agencies are instructed to enter into comprehensive agreements

with tribes that are affiliated with the cultural items “whenever possible.” 43 C.F.R. § 10.5(f). If

a planned activity is also subject to review under Section 106 of the NHPA, then the federal

agency should coordinate its NAGPRA and NHPA consultation and agreement processes. 43

C.F.R. § 10.3(c)(3).



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       Of the ownership and control requirements in Section 3002(c)(3), those under Section

3002(a) are primarily relevant here. They control to whom ownership or control of cultural items

must be given. Ownership or control of human remains and associated funerary objects is in the

lineal descendants of the deceased. 25 U.S.C. § 3002(a)(1). If the lineal descendants cannot be

ascertained, then ownership or control will be as provided for unassociated funerary objects and

other cultural items. 25 U.S.C. § 3002(a)(2). Ownership or control of those items is in inter alia,

first the tribe on whose tribal land the objects or remains were discovered, and second the tribe

which has the closest cultural affiliation with such remains or objects. Id.

       NAGPRA does not relieve the federal government of responsibility for actions occurring

on tribal land. Also notably, NAGPRA does not limit the federal government’s responsibility to

its obligations under NAGPRA. 25 U.S.C. § 3009. And NAGPRA expressly recognizes the

“unique relationship between the Federal Government and Indian tribes,” 25 U.S.C. § 3010,

which includes its trust responsibility to tribes. See, e.g., Seminole Nation v. United States, 316

U.S. 286, 297 (1942) (stating that the federal government, in its dealings with Indians, “has

charged itself with moral obligations of the highest responsibility and trust. Its conduct, as

disclosed in the acts of those who represent it in dealings with the Indians, should therefore be

judged by the most exacting fiduciary standards”); Cobell v. Norton, 240 F.3d 1081, 1086 (D.C.

Cir. 2001) (“The federal government has substantial trust responsibilities toward Native

Americans. This is undeniable.”).

                               (2)     APA Requirements.

       The APA establishes a presumption in favor of judicial review for one suffering legal

wrong because of agency action. Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., __ U.S.

__, 2020 WL 3271746, at *7 (2020). As discussed in Section IV.B.1, above, in a case like this,

where another federal statute provides a jurisdiction and a cause of action, the second sentence of

Section 702 of the APA provides a waiver of sovereign immunity. 5 U.S.C. § 702. The other

provisions of the APA set forth the procedures for a reviewing court to follow.


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       For example, under Section 704, “[a]gency action made reviewable by statute and final

agency action for which there is no other adequate remedy in a court are subject to judicial

review.” 5 U.S.C. § 704 (emphasis added). That means that where, as here, another federal

statute authorizes judicial review, no “final agency action” is required—only an “agency

action.” Cf. Norton v. S. Utah Wilderness All., 542 U.S. 55, 61–62 (2004) (“Where no other

statute provides a private right of action, the ‘agency action’ complained of must be ‘final agency

action.’”); Lujan v. Nat’l Wildlife Fed., 497 U.S. 871, 882 (1990) (“When, as here, review is

sought not pursuant to specific authorization in the substantive statute, but only under the general

review provisions of the APA, the ‘agency action’ in question must be ‘final agency action.’”);

Wilderness Soc. v. Alcock, 83 F.3d 386, 388 n.5 (11th Cir. 1996) (“Agency action is subject to

judicial review only if it is ‘final agency action’ or ‘[a]gency action made reviewable by statute.’

Since the NFMA does not provide for judicial review of agency actions taken pursuant to the

Act, we have jurisdiction over a challenge under the NFMA only if the agency action is final.”)

(internal citation omitted); Iowa League of Cities v. E.P.A., 711 F.3d 844, 863 n.12 (8th Cir.

2013) (“[W]e decline to conjure up a finality requirement for ‘[a]gency actions made reviewable

by statute’ where none is located in the text of the APA, particularly where the Supreme Court

has implied that the two phrases incorporate distinct requirements.”). The Federal Defendants

appear to recognize that no “final agency action” is required for purposes of the NAGPRA claim.

But because their argument regarding NAGPRA does contain one errant reference to a lack of

“final agency action,” Dkt. 200 at 24, it is important to highlight that point here—only “agency

action” is required.

       The APA defines “agency action” as including “the whole or a part of an agency rule,

order, license, sanction, relief, or the equivalent or denial thereof, or failure to act.” 5 U.S.C.

§ 701(b)(2) (incorporating by reference certain definitions from 5 U.S.C. § 551, including the

definition of “agency action”); 5 U.S.C. § 551(13) (defining “agency action”).

       Section 706 outlines procedures for the scope of review, including what actions the

“reviewing court shall” take. 5 U.S.C. § 706. First, the reviewing court must “compel agency

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action unlawfully withheld or unreasonably delayed.” 5 U.S.C. § 706(1). Second, the reviewing

court must “hold unlawful and set aside [certain] agency action, findings, and conclusions,”

including those “found to be (A) arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law; . . . [and] (D) without observance of procedure required by law.” 5 U.S.C.

§ 706(2) (emphasis added).

       In Southern Utah Wilderness Alliance (“SUWA”), the U.S. Supreme Court proclaimed

that a claim for agency inaction under § 706(1) “can proceed only where a plaintiff asserts that

an agency failed to take a discrete agency action that it is required to take.” 542 U.S. at 64

(emphasis in original). SUWA pertained to Section 706(1), and several courts since SUWA have

concluded that it did not impact Section 706(2) (which, as discussed in Section IV.B.2.c), below,

is the primary focus of the Plaintiffs’ NAGPRA claim). E.g., Oregon Natural Desert Assoc. v.

United States Forest Serv., 957 F.3d 1024, 1031 n.6 (9th Cir. 2020) (characterizing SUWA as

“inapposite” in a case involving Section 706(2), because SUWA pertains to Section 706(1));

Alliance to Save Mattaponi v. U.S. Army Corps of Engineers, 515 F. Supp. 2d. 1, 10 (D. D.C.

2007) (noting that SUWA “does not reach claims encompassed within § 706(2),” which are

“unaffected by SUWA”). Alliance further explains:

       “This reading is bolstered by the fact that according to the plain terms of APA,
       ‘failures to act’ fall under the scope of both § 706(1) and § 706(2): the Act defines
       an ‘agency action’ as ‘the whole or a part of an agency rule, order, license,
       sanction, relief, or the equivalent or denial thereof, or failure to act.’ 5 U.S.C. §
       551(13) (emphasis added). Thus, plaintiffs’ claim here—that EPA wrongly failed
       to exercise discretion in their favor—is directed not at an ‘agency action
       unlawfully withheld,’ but rather at a consummated ‘agency action’ that APA
       views as final, notwithstanding the fact that the agency ‘did’ nothing. The court,
       therefore, has subject matter jurisdiction over these claims pursuant to § 706(2).”
Id. Accordingly, SUWA should not apply to any claims for action or inaction that the Plaintiffs

bring under 5 U.S.C. § 706(2).

       SUWA itself also illustrates the type of case to which it should apply. In SUWA, the

federal agency had a relatively vague statutory mandate to manage certain public lands “in a

manner so as not to impair the suitability of such areas for preservation as wilderness.” Id. at 59.

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Environmental groups wanted the federal agency to protect the public lands from off-road

vehicles. Id. at 60–61. Accordingly, they brought suit under Section 706(1), seeking declaratory

and injunctive relief for the federal agency’s alleged failure to do so. Id. The Court concluded,

inter alia, that while the statute was mandatory as to the object to be achieved, it left the agency

a great deal of discretion in deciding how to achieve it and did not mandate, with the clarity

necessary to support judicial action under 706(1), the total exclusion of off-road vehicles. Id. at

66. As discussed in Section IV.B.2.c(3), below, the instant case is easily distinguishable from

SUWA.

        Moreover, SUWA should be inapplicable where, as here, a separate federal statute

provides a cause of action that, by its own terms is not limited to compelling non-discretionary

action unlawfully withheld. See Center for Biological Diversity v. United States Forest Service,

640 F. App’x 617, 619 (9th Cir. 2016) (unpublished). The statute at issue in that case “grants

courts the power to ‘restrain any person who has contributed to’ disposal of a solid or hazardous

waste that presents an imminent and substantial danger, and to ‘order such person to take such

other action as may be necessary.” Id. (quoting 42 U.S.C. § 6972(a)) (emphasis added).

Similarly, NAGPRA provides: “The United States district courts shall have jurisdiction over any

action brought by any person alleging a violation of this chapter and shall have the authority to

issue such orders as may be necessary to enforce the provisions of this chapter.” 25 U.S.C.

§ 3013 (emphasis added).

                              (3)     Plaintiffs’ Claims.

        In considering whether Plaintiffs have alleged plausible claims under NAGPRA, the

court should focus on the purposes for which it was passed—as remedial human rights

legislation intended to protect Indians and Indian tribes, such as the Plaintiffs, from the

desecration of their ancestors’ graves and to require the return of their wrongfully taken

ancestors and cultural items to them. Jack R. Trope & Walter R. Echo-Hawk, The Native

American Graves Protection and Repatriation Act: Background and Legislative History, 24


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ARIZ. ST. L.J. 35, 59–60 (1992). “In interpreting NAGPRA, it is critical to remember that it must
be liberally interpreted as remedial legislation to benefit the class for whom it was enacted. Id. at

76. And the federal government is primarily responsible for administering and enforcing

NAGPRA. It is unusual and shocking for another federally recognized Indian tribe, acting on its

own reservation and trust lands, to be the party accused of wrongdoing, as here. But that scenario

does not excuse the Federal Defendants’ abdication of their responsibility to enforce NAGPRA

and uphold their trust responsibilities to the Plaintiffs. The Plaintiffs are entitled to the

protections of NAGPRA for their ancestors and cultural items, regardless of who desecrated their

graves and sacred site and wrongfully took the remains and cultural items therein.

        Plaintiffs have alleged, among other things, 15 that the Federal Defendants, in violation of

NAGPRA, knowingly allowed the excavation of the Plaintiffs’ ancestors, their funerary objects,

and other cultural items from the Hickory Ground Site without appropriate notice, consultation,

permits, or proper disposition of the items excavated. The Federal Defendants also failed to

perform independent obligations they had along the way, such as giving notice to the Plaintiffs at

various points, and engaging in consultation with the Plaintiffs. They also had obligations to

ensure that NAGPRA’s consultations requirements were fulfilled by others, and to ensure that

the Plaintiffs were given ownership and control of the excavated remains and cultural items.

        More specifically, the Plaintiffs have alleged that at least 57 sets of human remains and

associated funerary objects were excavated from the Hickory Ground Site. Dkt. 190 at ¶ 117.

And numerous other cultural items were removed from the site. Id. at ¶119. They have further

alleged that the Federal Defendants knew about this excavation, and the Plaintiffs’ concerns

about it. They state that concerns about violations of NAGPRA at the Hickory Ground Site were

brought to the Federal Defendants’ attention on several occasions, by several individuals. Id. at

¶¶ 90, 93–94, 142. They also point out that the Federal Defendants did issue one or more

permits, and knew or should have known of the removals based on conditions of the permits,

15
   The Plaintiffs streamline their arguments for purposes of the instant motion only; they do not waive any other
allegations set forth in the Second Amended Complaint, or any arguments pertaining thereto.

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such as submitting reports of work performed under the permit(s). Id. at ¶¶ 108–111.

Accordingly, this is not a case in which the Federal Defendants were legitimately unaware of

what was happening.

       Anyone other than Poarch itself who engaged in intentional excavation, whether on

“tribal land” or “Federal lands” for purposes of NAGPRA, was required to obtain a permit

under the ARPA (and Poarch itself was required to obtain a permit for any intentional

excavations on Federal lands), as discussed above. 25 U.S.C. § 3002(c)(1); 16 U.S.C. §

470cc(g)(1). That includes archaeologists affiliated with Auburn University and its associated

archaeologists, who the Plaintiffs allege conducted excavations, Dkt. 190 at ¶ 101, and any other

non-tribal individuals or entities who discovery may reveal conducted excavations, even if they

were contracted by Poarch or otherwise acting on Poarch’s behalf. 16 U.S.C. § 470cc(g)(1); see

also 25 C.F.R. § 262.4(c) (clarifying that consultants, advisors, and others serving by contractual

agreement as agents for Indian tribes are not exempt from permit requirements under the ARPA).

Individual Poarch tribal members would also have been required to obtain permits if, as it

appears may be the case, there was an absence of tribal law regulating the excavation or removal

of archaeological resources on Indian lands (or the excavation may have been in violation of that

law if it did exist). See 16 U.S.C. § 470cc(g)(1); Dkt. 190 at ¶¶ 87–89 (Poarch had a policy in

place at one time prohibiting excavation, but upon information and belief, later reversed it).

Indeed, in limited cases, it could even include Poarch tribal employees, particularly if permit

requirements were not met by other means, which there is no indication that they were. Any

excavation that took place without a permit was in violation of NAGPRA and the Federal

Defendants could and should have stopped it.

       Moreover, the Federal Defendants were required to provide notice to the Muscogee

(Creek) Nation before granting any permit(s) they did issue. 16 U.S.C. § 470cc(c); see also 43

C.F.R. § 10.3(c). The Plaintiffs allege that the Federal Defendants issued one or more permit(s),

Dkt. 190 at ¶ 108, and the Federal Defendants concede that they issued at least one permit, but



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they do not cite to any materials properly before this Court showing they provided the required

notice to the Plaintiffs before doing so.

       When the Federal Defendants received notice or otherwise became aware of an

excavation or inadvertent discovery on any “Federal lands” for purposes of NAGPRA, as

discussed in Section IV.B.2.c(1), above, they were required to initiate consultation with the

Plaintiffs. 43 C.F.R. § 10.5(b). Plaintiffs fall within all of the categories for which consultation is

required under 43 C.F.R. § 10.5(a). Plaintiffs Mekko Thompson and Hickory Ground Tribal

Town are lineal descendants of the excavated ancestors. Dkt. 190 at ¶¶ 2, 13–14, 45–46, 118,

147. And the Hickory Ground Site is within the aboriginal lands of the Muscogee (Creek)

Nation, which is also culturally affiliated with the cultural items, and which also has a

demonstrated cultural relationship with the cultural items. IdDW௅1RQHRIWKLVZDV

unknown to the Federal Defendants. Yet the Plaintiffs have alleged that the Federal Defendants

did not consult with them before granting the permit(s). Id. at ¶ 112. And the Federal Defendants

do not contest that allegation, or suggest that they fulfilled it at any time. Had the Federal

Defendants fulfilled NAGPRA’s consultation requirements, perhaps, at the very least, the

Plaintiffs’ ancestors could have been treated in a culturally appropriate way, which the Plaintiffs

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       As noted above, as part of the consultation process, the Federal Defendants also should

have entered into a comprehensive agreement with the Muscogee (Creek) Nation if possible. 43

C.F.R. § 10.5(f). Because the Hickory Ground Site is listed on the National Register of Historic

Places, Dkt. 190 at ¶ 50, the Federal Defendants also should have coordinated their NAGPRA

and NHPA consultation and agreement processes. 43 C.F.R. § 10.3(c)(3).

       The Federal Defendants also had a duty to ensure that ownership and control of the

excavated cultural items was given to the appropriate parties. This required ownership and

control of the human remains and associated funerary objects to go to Plaintiffs Mekko

Thompson and Hickory Ground Tribal Town, as lineal descendants. 25 U.S.C. § 3002(a)(1). The

Federal Defendants appear to argue that they have no duty with respect to the disposition of the

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cultural items under 25 U.S.C. § 3002(c)(3) because they do not possess or control the cultural

items. While they may not have physical possession of the cultural items, they do have a legal

interest in the cultural items as the owner of all land in question, which falls within the definition

of control. 43 C.F.R. § 10.2(a)(3)(ii) (defining “control” to include a legal interest in cultural

items, with or without physical custody). See also Native American Graves Protection and

Repatriation Act Regulations  )HG 5HJ  ௅ Dec. 4, 1995) (explaining that

the term “control” extends not just to cultural items in federal agency collections or museums,

but also to cultural items intentionally excavated or inadvertently discovered on Federal or tribal

lands, and the Federal agencies are responsible for their appropriate treatment and care, even

when held by non-governmental repositories). Allowing other parties to exert ownership or

control over the cultural items without an appropriate determination of who was entitled to

ownership and control under NAGPRA constitutes a NAGPRA violation and is reviewable under

the APA. Cf. Navajo Nation v. United States Dept. of Interior, 819 F.3d 1084, 1086 (9th Cir.

2016) (“By deciding to undertake NAGPRA’s inventory process, the Park Service conclusively

decided that it, and not the Navajo Nation, has the present right to ‘possession and control’ of the

remains and objects”).

       Indeed, even the Federal Defendants’ decision(s) that they had no obligations under

NAGPRA with respect to the Hickory Ground Site, e.g., Dkt. 190 Compl. ¶ 145, is subject to

review under NAGPRA and constitutes a sufficient agency action under the APA. See 43 C.F.R.

§ 10.1(b)(3) (“Any final determination making the Act or this part inapplicable is subject to

review under [25 U.S.C. § 3013].”); Navajo Nation, 819 F.3d at 1086 (Park Service’s decision to

inventory remains and objects was a determination of “possession and control” and constituted a

final agency action).

       Both the NAGPRA violations committed by the Federal Defendants and those they

permitted to occur in violation of NAGPRA are continuing. The Plaintiffs have yet to receive the

required notices for the ARPA permits issued by the Federal Defendants. They have yet to be

invited to consult with the Federal Defendants. Some of the cultural items, including human

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remains, to which the Plaintiffs are entitled to ownership and control are still in storage, outside

of their ownership and control. Dkt. 190 at ¶¶ 120–124. The rest also remain outside of their

ownership and control, having been reburied by Poarch away from their final resting places in

2012, knowingly contrary to the Plaintiffs’ wishes. Id. at ¶¶ 150, 160–62. The Plaintiffs also fear

that the NAGPRA violations are capable of repetition and evading review. Id. at ¶¶ 184–188.

        The foregoing NAGPRA violations are reviewable under the APA. As discussed above,

only an “agency action” is required in this case, because NAGPRA makes claims of NAGPRA

violations reviewable. Various “agency actions” occurred here. A permit issued under NAGPRA

and the ARPA, such as the one(s) in question here, constitutes a “license” under the APA. 5

U.S.C. § 551(8) (defining “license” to include “an agency permit”). The requirement of a license

also constitutes a “sanction” under the APA, with the failure to require the license accordingly

constituting a “failure to act” thereunder. Id. at §§ 551(10)(F) (defining “sanction” to include a

“requirement, revocation, or suspension of a license”) and (13) (including “failure to act” in the

definition of “agency action”). Likewise, giving a required notice, or conducting a required

consultation, constitutes a “sanction” under the APA, with the failure to take the required action

constituting a “failure to act.” Id. at §§ 551(10)(G) and (13). Various decisions under NAGPRA

constitute “order[s]” under the APA, such as a decision that NAGPRA does not apply, or a

decision that directly or indirectly recognizes a right to ownership or control in a party. Id. at §

551-(6) (defining “order”); see also 43 C.F.R. § 10.1(b)(3) (“Any final determination making the

Act or this part inapplicable is subject to review under [25 U.S.C. § 3013].”); Navajo Nation, 819

F.3d at 1086 (Park Service’s decision to inventory remains and objects was a determination of

“possession and control” and constituted a final agency action). All of these constitute “agency

action” reviewable under the APA. 5 U.S.C. § 701(a)(2) (incorporating by reference certain

definitions from 5 U.S.C. § 551, including the definition of “agency action”); 5 U.S.C. § 551(13)

(defining “agency action” as including “the whole or a part of an agency rule, order, license,

sanction, relief, or the equivalent or denial thereof, or failure to act.” ).



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       This Court must “compel agency action unlawfully withheld or unreasonably delayed.” 5

U.S.C. § 706(1). As discussed above, SUWA arguably should not apply here, because NAGPRA,

which provides jurisdiction and a right of action here, broadly authorizes this Court to issue

“such orders as may be necessary to enforce the provisions of this chapter.” 25 U.S.C. § 3013.

But even if SUWA does apply with respect to Section 706(1), the Plaintiffs here have asserted

that the Federal Defendants failed to take discrete agency actions that they were required to take,

such as issuing notices and engaging in consultation. These types of actions are distinguishable

from those in SUWA, where the statutory mandate was vague, and the claimants sought to

require the agency to do something it was not clearly required to do. Moreover, the Plaintiffs do

not argue that a particular result is mandated (which could be problematic under SUWA), just that

the requirements of NAGPRA must be followed going forward, and past failures must be

corrected.

       This Court must also “hold unlawful and set aside [certain] agency action, findings, and

conclusions,” including those “found to be (A) arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law; . . . [and] (D) without observance of procedure required by

law.” 5 U.S.C. § 706(2). As discussed above, SUWA does not affect Section 706(2). And the

Plaintiffs primarily rely on Section 706(2) for their NAGPRA claim. Dkt. 190 at 55 ¶ 247 (using

language from Section 706(2) specifically). Accordingly, this Court may hold unlawful and set

aside any of the foregoing agency actions that it finds to be arbitrary, capricious, an abuse of

discretion, otherwise not in accordance with law, or without observance of procedure required by

law. This would logically include failure to require a required permit, failure to provide a

required notice before issuing a required permit, failure to engage in a required consultation,

making a de facto determination of ownership and control without appropriate consideration and

procedures, determining that NAGPRA or certain NAGPRA requirements do not apply without

appropriate consideration, and more.

       Finally, even if the land in question were all “tribal land” for purposes of NAGPRA

(which it is not), it cannot be the case that the Federal Defendants, who hold the land in trust and

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have asserted control (at least by statute and regulation, if not in practice, as they should) over

the excavation and disposition of cultural items on the land, can simply turn a blind eye and

allow the desecration of the Hickory Ground Site. The federal government’s failure to uphold its

responsibilities under NAGPRA (whether by promulgating regulations that allow it to turn a

blind eye in situations like this one, or by affirmatively turning that blind eye) violates its trust

responsibility to the Plaintiffs under the “unique relationship” recognized in NAGPRA. This

failure is arbitrary and capricious for purposes of the APA. See generally Pyramid Lake Paiute

Tribe of Indians v. Morton, 354 F. Supp. 252, 257–58 (D. D.C. 1972) (finding an agency action

that failed to demonstrate an adequate recognition of the government’s fiduciary duty to a tribe

to be “arbitrary, capricious, an abuse of discretion, and not in accordance with law”).

       At this stage in the proceedings, the Plaintiffs do not have to show that they will

ultimately prevail on the merits. The Federal Defendants have argued that this Court lacks

jurisdiction because of a procedural requirement in the APA. The Plaintiffs have shown that this

argument is incorrect as a legal matter, and the Federal Defendants motion to dismiss the

NAGPRA claim should therefore be denied. Even if this Court proceeds to further consider the

Federal Defendants’ arguments (which it should not), it should do so under a Rule 12(b)(6)

standard, which the Plaintiffs have met. The Plaintiffs have stated a facially plausible claim that

gives the defendant fair notice of what the NAGPRA claim is and the grounds upon which it

rests. Even if the Court were to apply a Rule 12(b)(1) standard, the Plaintiffs’ NAGPRA claim is

not clearly immaterial, made solely for the purpose of obtaining jurisdiction, or wholly

insubstantial and frivolous. The Plaintiffs have alleged viable claims that the Federal Defendants,

inter alia, failed to provide them with notice before issuing one or more permits, failed to consult

with them upon becoming aware of excavations on federal land, and failed to ensure that

ownership and control of human remains and funerary objects went to lineal descendants, all

agency actions that violate NAGPRA and are reviewable under the APA. The Federal

Defendants’ motion to dismiss should be denied with respect to the Plaintiffs’ NAGPRA claim.



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C.      Plaintiffs’ NHPA claim against the Federal Defendants does not fail for lack of
        subject matter jurisdiction.

        The purpose of NHPA is the preservation of historic resources. See Nat’l Indian Youth

Council v. Watt, 664 F.2d 220 (10th Cir. 1981). The Hickory Ground Site has been listed on the

National Register of Historic Places since 1980. See Dkt. 190 at 5, 14. Accordingly, it is a

“historic property” subject to NHPA. 54 U.S.C. § 300308 (defining “historic property” as

including sites included on the National Register).

        Section 106 of NHPA (codified at 54 U.S.C. § 306108) requires Federal agencies to take

into account the effects of their undertakings on historic properties. 36 C.F.R. § 800.1. This is

commonly referred to as the “Section 106 process.”

        The section 106 process seeks to accommodate historic preservation concerns
        with the needs of Federal undertakings through consultation among the agency
        official and other parties with an interest in the effects of the undertaking on
        historic properties, commencing at the early stages of project planning. The goal
        of consultation is to identify historic properties potentially affected by the
        undertaking, assess its effects and seek ways to avoid, minimize or mitigate any
        adverse effects on historic properties.
Id. Federal agencies must complete the Section 106 process before approving the expenditure of

any Federal funds or issuing any license. 54 U.S.C. § 306108; 36 C.F.R. § 800.1.

        In considering the Federal Defendants’ NHPA obligations in this case, it is important to

keep in mind the Federal Defendants’ trust responsibility to the Plaintiffs. Like NAGPRA,

NHPA expressly recognizes the “unique legal relationship” the Federal Government has with

tribes. 36 C.F.R. § 800.2(c)(2)(ii). The Federal Defendants should be held to a heightened

standard of accountability in light of this trust responsibility.

        1.      The Tribal Defendants’ assumption of NHPA obligations did not absolve the
                Federal Defendants of their own NHPA obligations.
        The Tribal Defendants’ assumption of NHPA obligations did not absolve the Federal

Defendants of their own continuing NHPA obligations. NHPA provides for a tribe to assume all

or part of the functions of a State Historic Preservation Officer with respect to tribal land. 54

U.S.C. § 302702. Section 302702 incorporates by reference 54 U.S.C. § 302302, which makes


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evaluation of such a program mandatory not less than every 4 years, and generally requires

disapproval of the program if, at any time, the Secretary determines that a major aspect of the

program is not consistent with the historic preservation program regulations.

       Poarch entered into such an agreement with Federal Defendants the National Park

Service and Department of the Interior for the assumption of NHPA responsibilities (the “NPS

Agreement”). Dkt. 190-1 at 115-19. Under the NPS Agreement, Poarch expressly assumed

responsibility for certain NHPA functions on tribal lands. Id. These include, inter alia, to

cooperate with various other entities to “ensure that historic properties are taken into

consideration at all levels of planning and development;” to consult with appropriate Federal

agencies regarding any “Federal undertakings that may affect historic and culturally significant

properties on tribal lands;” and to consult with appropriate Federal agencies regarding “the

content and sufficiency of any plans to protect, manager, or mitigate harm to such properties.”

Id. Poarch also agreed to “carry out its responsibilities for review of Federal undertakings

pursuant to Section 106 of the Act in accordance with [its implementing regulations].” Id. at 117.

       Of paramount importance, Poarch also expressly agreed to provide for “consultations

with representatives of any other tribes whose traditional lands may have been within [Poarch’s

reservation].” Id. Even more specifically, in any case where an action covered by NHPA might

affect the traditional lands of another tribe, Poarch agreed to “seek and take into account the

views of that Tribe.” Id. These provisions are an integral and mandatory part of any such

agreement. See 54 U.S.C. § 302704 (Secretary may only enter into such an agreement if it

provides for appropriate participation by “representatives of other Indian tribes whose traditional

land is under the jurisdiction of the Indian tribe assuming responsibilities,” among other things).

       Poarch’s assumption of these responsibilities did not absolve the Federal Defendants of

their responsibilities.   See 54 U.S.C. § 306102 (providing that each Federal agency must

establish a program that inter alia, appropriately considers the preservation of historic property

under its jurisdiction or control, and that it carries out its preservation-related activities in

consultation with tribes and others who are carrying out historic preservation activities); 36

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C.F.R. 800.2(a) (stating that Federal agencies have a statutory obligation to fulfill the

requirements of section 106 and to ensure that an agency official, which may be a SHPO or

THPO, takes responsibility for Section 106 compliance). The NPS agreed to carry out a periodic

review to ensure that Poarch was carrying out its program consistent with the NPS Agreement.

Dkt. 190-1 at 118. And it reserved the right to terminate the NPS Agreement if Poarch was not

carrying out its assumed responsibilities in accordance with the NPS Agreement, NHPA, or “any

other applicable Federal statute or regulation.” Id. at 119. 54 U.S.C. § 302302 makes both of

these things mandatory. So even though Poarch may have assumed certain historic preservation

obligations under the NHPA, the Federal Defendants remained responsible for compliance with

the NHPA, including the Section 106 process.

       2.      The Plaintiffs have alleged various “undertakings” under the NHPA.
       “Undertaking” means a “project, activity, or program funded in whole or in part under the

direct or indirect jurisdiction of a Federal agency.” 54 U.S.C. § 300320. It includes projects,

activities, or programs carried out by or on behalf of a Federal agency, those carried out with

Federal financial assistance, and those requiring a Federal permit, license, or approval. Id.

Courts have construed the statute to mean that only a Federal permit, license, or approval is

required for an action to be a federal undertaking—federal funding is not necessarily required.

See United Keetoowah Band of Cherokee Indians v. Fed. Comm. Comm’n, 933 F.3d 728, 734

(D.C. Cir. 2019); Sheridan Kalorama Hist. Ass’n v. Christopher, 49 F.3d 750, 755 (D.C. Cir.
1995) (finding that the definition of “undertaking” included projects requiring a federal permit or

merely federal approval, because a narrower reading would “deprive the references to licensing

in § 106 of any practical effect); Standing Rock Sioux Tribe v. U. S. Army Corps of Eng’rs, 205

F. Supp. 3d 4 (D.D.C. 2016) (“An undertaking is defined broadly to include any ‘project,

activity, or program’ that requires a federal permit.”); Fein v. Peltier, 949 F.Supp. 374, 379

(D.V.I. 1996) (reading the phrase “funded in whole or in part” as modifying only the word

“program,” and finding that “an undertaking for purposes of section 106 includes a project or


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activity under the direct or indirect jurisdiction of the NPS which requires its prior approval,

regardless of whether the project or activity is funded in whole or in part by the federal

government.”).

       The federal decision need not be particularly formal, and it need not result in affirmative

action in order to constitute an undertaking.        For example, the construction of wireless

communication towers has been held to constitute an undertaking subject to NHPA review based

on an online registration process for the towers that takes mere minutes to complete. CTIA-

Wireless Ass’n v. Fed. Comm. Comm’n, 466 F.3d 105, 114 (D.C. Cir. 2006). A decision to take

no action has also been held to constitute an undertaking. Nat’l Trust for Hist. Pres. v. Blanck,

938 F. Supp. 908, 920 (D. D.C. 1996). In that case, Walter Reed Army Medical Center made a

decision not to excess (i.e., sell) historic buildings, even though it was not using the buildings,

did not have the resources to maintain the buildings, and had allowed the condition of the

historic buildings to significantly deteriorate. Id. at 910, 919–20. As the court explained, “[t]hat

decision had the sort of serious and long-term consequences” for the historic buildings that the

NHPA requires be undertaken in accordance with the Section 106 process. Id. at 920.

       As in Blanck, the decision to allow the excavation (whether with or without required

ARPA permits) “had the sort of serious and long-term consequences” for the National Register-

listed Hickory Ground Site that should have triggered the Section 106 process. It would be

nonsensical if a short, online registration process for something that might have an impact on a

historic site was an undertaking, as in CTIA-Wireless, but a decision to allow excavation of a

known Muscogee (Creek) Nation historic burial and ceremonial site was not.

       By these standards, several “undertakings” occurred in connection with the desecration of

the Hickory Ground site.      Both the issuance of ARPA permits and the decision to allow

excavation of the Hickory Ground Site to occur without required ARPA permits constitute

undertakings. Although issuance of an ARPA permit alone is generally not an undertaking

requiring compliance with Section 106 of NHPA, 43 C.F.R. § 7.12, the excavation of the

Hickory Ground Site was an undertaking, and thus NHPA required the Section 106 process to be

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completed before any federal funds could be approved in connection with the project and before

any permits allowing activity at the site were issued. See Sheridan Kalorama Hist. Ass’n v.

Christopher, 49 F.3d 750, 754 (D.C. Cir. 1995) (it is the project that constitutes the undertaking,

not the decision to fund or license). The excavation took place on land owned by the federal

government in trust for Poarch, for which the federal government had delegated Poarch historic

preservation responsibilities subject to NPS oversight. See Fein, 949 F. Supp. at 379 (concluding

that the NHPA applied, citing federal ownership of the land and a contractual obligation not to

disturb historic ruins on the land and to allow NPS representatives to enter upon the property at

reasonable times). Moreover, the Plaintiffs have alleged facts sufficient to support a reasonable

belief that the excavation was federally funded, in whole or in part. See Dkt. 190 at 65, 71

(indicating that Poarch appears to generally receive federal historic preservation funds on an

annual basis); 54 U.S.C. §§ 302906, 302907 (authorizing grants to tribes for the preservation of

their cultural heritage, as well as for the purposes of carrying out a historic preservation

program). Such funding would make the project an undertaking.

       Construction and operation of the casino and hotel on the Hickory Ground Site also

constituted an undertaking, because an Indian gaming facility is by its very nature a project

conducted with the approval and extensive involvement of the federal government. From the

very earliest days of the Indian gaming industry, the federal government has been extensively

involved in all aspects of Indian gaming. The federal government actively promoted gaming as a

way of meeting federal goals for tribes, such as economic development and self-determination.

California v. Cabazon Band of Mission Indians, 480 U.S. 202, 217 & n.21 (1987). Multiple

departments of the federal government, including Federal Defendant the Department of the

Interior, provided financial assistance to tribes to develop the nascent industry. Id. at 218.

Federal Defendant the Secretary of the Interior originally approved tribal gaming ordinances,

regulated the gaming activities, and reviewed management contracts for tribal gaming facilities.

Id. Indeed, the very reason the Indian gaming industry exists as it does is because of the

important tribal and federal interests involved, which preempt state regulation. See id. at 216–

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22 (balancing the interests of the federal government first, tribal governments second, and state

government third, in order to determine whether state regulation was preempted, and determining

that it was).

        After Cabazon, the federal government further formalized its regulation of the Indian

gaming industry by enacting the Indian Gaming Regulatory Act (“IGRA”), codified at 25 U.S.C.

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Department of the Interior, 25 U.S.C. § 2704(a), and granted the NIGC extensive authority over

Indian gaming operations. For example, gaming can only be conducted with an ordinance

approved by the NIGC Chairman. 25 U.S.C. § 2710(b)(1)(B). The NIGC is required to monitor

gaming conducted on Indian lands on a continuing basis, and to inspect and examine all premises

located on Indian lands on which gaming is conducted. 25 U.S.C. § 2706(b). IGRA imposes

requirements regarding the uses of gaming revenues and, notably for purposes of this case, the

construction of gaming facilities. 25 U.S.C. § 2710(b). The NIGC even plays a role in the hiring

and retention of employees. Id.; 25 U.S.C. § 2710(c) (primary management officials and key

employees must be licensed, and background checks must be conducted and sent to the NIGC

before licenses are issued; NIGC may require the suspension of a license if it does not approve of

the employee). NIGC approval is required, and the NIGC mandates terms, for certain contracts.

25 U.S.C. § 2711 (requiring the Chairman’s approval of management contracts and collateral

agreements, setting limits on the term of management contracts and fees under such contracts,

and prescribing certain other terms in the contracts). The NIGC has the authority to close a

gaming operation. 25 U.S.C. § 2713(b). And, notably for purposes of this case, the NIGC is

funded by tribal gaming operations—the casino built on the Hickory Ground Site is required to

pay a percentage of its revenues to the NIGC. 25 U.S.C. § 2717(a).

        Pursuant to NIGC regulations, a tribe must notify the NIGC at least 120 days before

opening any new gaming facility. 25 C.F.R. § 559.2(a). Assuming Poarch complied with this

requirement, as it should have, the federal government accordingly had at least four months’

notice that the casino was under construction. Finally, the NIGC prescribes extremely detailed

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standards for all aspects of tribal gaming operations. See, e.g., 25 C.F.R. Part 543 (Minimum

Internal Control Standards for Class II Gaming).

       The federal government’s ownership of the Hickory Ground Site; its extensive

involvement in the gaming operation, from construction on; and its receipt of revenues from the

gaming operation make the planning, construction, and operation of the gaming facility an

undertaking for NHPA purposes. Cf. Fein, 949 F. Supp. at 379; CTIA-Wireless, 466 F.3d at

114–15 (retention of approval authority constituted an undertaking). This is not a situation in

which non-federal land and resources were used for a construction project. See, e.g., Ringsred v.

City of Duluth, 828 F.2d 1305, 1306, 1308-09 (8th Cir. 1987) (parking ramp to be built adjacent

to a pre-IGRA Indian gaming facility was not an undertaking for purposes of NHPA because it

would be built on City land, using City funds, the federal government would provide no financial

aid and receive no revenue from it, there were no federal licensing requirements, and the federal

government would have no input regarding design or construction).

       Finally, each extension of the NPS Agreement without appropriate review and without

terminating the NPS Agreement for noncompliance constituted an undertaking. The National

Park Service was statutorily mandated to evaluate Poarch’s historic preservation program at least

every four years, and was required to disapprove the program if, at any time, the Secretary

determined that a major aspect of the program was not consistent with historic preservation

program regulations. 54 U.S.C. § 302302. The National Park Service was also contractually

obligated by the NPS Agreement to carry out this review. Dkt. 190-1 at 118. And it reserved the

right to terminate the NPS Agreement if Poarch was not carrying out its assumed responsibilities

in accordance with the NPS Agreement, NHPA, or “any other applicable Federal statute or

regulation.” Id. at 119. Yet the National Park Service did not conduct these required reviews.

Dkt. 190 at 27. Its failure to do so, particularly when doing so would have revealed the Federal

Defendants’ egregious violations of the NPS Agreement, NHPA, and other applicable federal

statutes and regulations and could have prevented some or much of the desecration of the

Hickory Ground Site, should be treated as an extension of the NPS Agreement constituting an

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undertaking requiring NHPA review. Cf. Pit River Tribe v. United States Forest Service, 469

F.3d 768, 787 (9th Cir. 2006) (holding that extension of leases was a federal undertaking

requiring NHPA review).

       3.      The Federal Defendants violated the NHPA.
       In carrying out its obligations under the Section 106 process, a Federal agency must

consult with Indian tribes, among others. 54 U.S.C. § 302706(b); Id. § 306102(b). If a historic

property may be affected by an undertaking, the agency official must consult with any Indian

tribe that “attaches religious and cultural significance” to the historic property. 36 C.F.R. §

800.2(c)(2)(ii); 36 C.F.R. § 800.3(f)(2). The Federal Defendants had the duty to consult with the

Muscogee (Creek) Nation, as a tribe—indeed the primary tribe—that attaches religious and

cultural significance to the National Register listed Hickory Ground Site, with respect to any

undertakings that might affect the Hickory Ground Site.

       Consultation obligations arise throughout the Section 106 process.           For example,

consideration of adverse effects to a historic property must be done in consultation with any tribe

that attaches religious and cultural significance to the property. 36 C.F.R. § 800.5. If a party

disagrees with a finding of no adverse effect, then the agency official must either consult with

the party to resolve the disagreement or request the Advisory Council on Historic Preservation to

review the finding. Id. § 800.5(c)(2). If an adverse effect is found, the agency official must

consult further to develop and evaluate alternatives or modifications to the undertaking that
could avoid, minimize, or mitigate adverse effects. Id. § 800.5(d)(2); 36 C.F.R. § 800.6. The

consultation process is intended to give a tribe “a reasonable opportunity to identify its concerns

about historic properties, advise on the identification and evaluation of historic properties,

including those of traditional religious and cultural importance, articulate its views on the

undertaking’s effects on such properties, and participate in the resolution of adverse effects.” 36

C.F.R. § 800.2(c)(2)(ii)(A).




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       Plaintiffs have alleged that the Federal Defendants did not engage in consultation with

the Muscogee (Creek) Nation at any of these required points in the consultation process, with

respect to any of the undertakings discussed above. Dkt. 190 at 66. The Federal Defendants do

not dispute this allegation. These failures to consult caused real-world harm to Plaintiffs. The

Federal Defendants’ wholesale disregard of these consultation obligations deprived the Plaintiffs

of the opportunity to identify their concerns about undertakings at the Hickory Ground Site and

to participate in the resolution of adverse effects. If Plaintiffs had been consulted as they should

have been, perhaps the parties would have been able to avoid the egregious harms that occurred.

At a minimum, the Plaintiffs could have advised as to how to treat their ancestors’ remains and

cultural items in a culturally appropriate fashion.

       The repeated extension of the NPS Agreement also violated NHPA’s review and

disapproval requirements. As discussed above, each extension should be treated as an

undertaking requiring NHPA review. See Pit River Tribe, 469 F.3d at 787. This is particularly

true if the NPS Agreement was initially approved without consultation with the Muscogee

(Creek) Nation. See id. at 786–87 (stating that a federal agency does not satisfy the National

Environmental Policy Act (“NEPA”) by ignoring the statute at the critical stage, then hiding

behind the assertion that the decision has already been made).

       Finally, the Federal Defendants’ continued granting of historic preservation program

funds to Poarch, even as Poarch was destroying the National Register-listed Hickory Ground Site

and thereafter, violates NHPA. 54 U.S.C. § 306113 provides:

       Each Federal agency shall ensure that the agency will not grant a loan, loan
       guarantee, permit, license, or other assistance to an applicant that, with intent to
       void the requirements of section 306108 of this title, has intentionally
       significantly adversely affected a historic property to which the grant would
       relate, or having legal power to prevent it, has allowed the significant adverse
       effect to occur, unless the agency, after consultation with the Council, determines
       that circumstances justify granting the assistance despite the adverse effect
       created or permitted by the applicant.




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Plaintiffs have alleged facts sufficient to support a reasonable belief that the excavation was

federally funded, in whole or in part. See Dkt. 190 at 65, 71 (indicating that Poarch appears to

generally receive federal historic preservation funds on an annual basis); 54 U.S.C. §§ 302906,

302907 (authorizing grants to tribes for the preservation of their cultural heritage, as well as for

the purposes of carrying out a historic preservation program). Having pleaded a plausible claim

on this issue, the Plaintiffs should be allowed to conduct discovery in order to obtain information

in the exclusive possession and control of the Defendants to determine whether any portion of

that funding related to the Hickory Ground Site.

       4.      The Federal Defendants’ NHPA violations are reviewable under the NHPA
               and the APA and are subject to redress under the Court’s broad equitable
               powers.
       The Federal Defendants’ NHPA violations are reviewable under the NHPA. Most or all

of the NHPA violations discussed above took place within the six years before the Plaintiffs filed

their original Complaint. Thus, they are within the APA’s six-year statute of limitations.

       The NHPA expressly contemplates enforcement actions by “any interested person.”

       In any civil action brought in any United States district court by any interested
       person to enforce this division, if the person substantially prevails in the action,
       the court may award attorney’s fees, expert witness fees, and other costs of
       participating in the civil action, as the court considers reasonable.

54 U.S.C. § 307105 (emphasis added).

       Courts across the country have found that section provides a private right of action.

Boarhead Corp. v. Erickson, 923 F.2d 1011, 1017 (3d Cir.1991); Vieux Carre Prop. Owners,

Residents & Assoc., Inc. v. Brown, 875 F.2d 453, 458 (5th Cir.1989); Yankton Sioux Tribe v.

United States Army Corps of Engineers, 194 F.Supp.2d 977, 990 (D. S.D. 2002). See also

Narragansett Indian Tribe v. Rhode Island Dept. of Transp., 903 F.3d 26, 29-30 (1st Cir. 2018)

(“We have previously assumed, without deciding, that the NHPA creates some type of private

right of action….we can continue to indulge in this assumption, again…because the Tribe in its

complaint does not purport to bring any claim to enforce the NHPA.”). But see Karst Envtl.


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Educ. & Prot., Inc. v. Envtl. Prot. Agency, 475 F.3d 1291, 1295 (D.C. Cir. 2007) (stating in

passing, and without analysis, that NHPA contains no private right of action); San Carlos

Apache Tribe v. United States, 417 F.3d 1091, 1099 (9th Cir. 2005) (agreeing with its “sister

circuits” that the attorney fees provision “demonstrates Congressional intent that individuals may

sue to enforce the NHPA,” but concluding that it does not give rise to a private action against the

government).

       As discussed in Section IV.B.1, above, the APA provides a broad waiver of sovereign

immunity where, as here, another federal statute provides the cause of action. 5 U.S.C. § 702.

This waiver of sovereign immunity is not limited by the “agency action” requirement found in

the first sentence of Section 702. Nor is it limited by the other procedural requirements of the

APA, such as those of 5 U.S.C. § 706. And because the NHPA makes the Federal Defendants’

actions reviewable, only an “agency action” is required under 5 U.S.C. § 704, not a “final agency

action.”

       The Federal Defendants’ actions with respect to the following undertakings are all agency

actions for which relief is available under Section 706 of the APA: issuance of ARPA permits

and the decision to allow excavation of the Hickory Ground Site to occur without required

ARPA permits; approval of the construction and operation of the casino and hotel on the Hickory

Ground Site; and extension of the NPS Agreement without appropriate review and without

terminating the NPS Agreement for noncompliance. The Federal Defendants’ continued granting

of historic preservation program funds to Poarch even as it destroyed the Hickory Ground Site

and thereafter, in violation of the NHPA, is also an agency action for which relief is available

under Section 706 of the APA.

       Even if the Court were to find, contrary to the weight of the authority, that NHPA does

not provide a private right of action, in which case a “final agency action” would be required,

Plaintiffs have alleged final agency actions reviewable under Section 706 of the APA as well. In

order to be a “final agency action,” the action must mark the consummation of the agency’s

decisionmaking process—it must not be of a merely tentative or interlocutory nature. Bennett v.

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obligations have been determined, or from which legal consequence will flow. Id. at 178.

“‘[C]ourts consider whether the practical effects of an agency’s decision make it a final agency

action, regardless of how it is labeled.’” Havasupai Tribe v. Provencio, 906 F.3d 1155, 1163

(9th Cir. 2018) (quoting Columbia Riverkeeper v. U.S. Coast Guard, 761 F.3d 1084, 1094–95

(9th Cir. 2014)). Courts therefore “‘focus on both the practical and legal effects of the agency

action,’ and define the finality requirement ‘in a pragmatic and flexible manner.’” Id. (quoting

Or. Nat. Desert Ass’n v. U.S. Forest Serv., 465 F.3d 977, 982 (9th Cir. 2006)).

       The agency actions alleged here meet these standards. A decision to issue an ARPA

permit (or not to require one when one should be required) is a final decision, not interlocutory in

nature, from which legal consequences will flow (and tragically did in this case). Further

discovery would be required to determine exactly when the Federal Defendants’ approval of the

casino on the Hickory Ground Site became final, but it necessarily must have occurred at some

point between the preparation for construction and the present day, otherwise the casino would

not be in operation, given the federal government’s ability to shut it down. Likewise, each

decision to extend the NPS Agreement and each award of historic preservation program funds to

Poarch constitute final agency actions—there were to be no further decisions or actions, and

consequences flowed from each of the foregoing decisions. The Court should conclude that the

NHPA provides a private right of action, so only an “agency action” is required. But even if it

concludes that a “final agency action” is required, Plaintiffs have alleged sufficient facts to find

one or more final agency actions as well.

       Finally, the Court has broad equitable powers to order appropriate relief in an NHPA

case. See, e.g., Vieux Carre Property Owners, Residents & Assoc., Inc. v. Brown, 948 F.2d

1436, 1447 (5th Cir. 1991) (“There is, in other words a broad range of remedies that could

conceivably emerge from NHPA review. We find it inappropriate to pre-judge those results as

being limited to the extremes of either maintaining the status quo or totally demolishing the

park.”); see also Montana Wilderness Ass’n v. Fry  ) 6XSS G  ௅  '

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Mont. 2006) (noting in a NEPA/NHPA/ESA case that the court’s equitable powers were broad,

and listing its options for injunctive relief, which included requiring that a pipeline be removed,

although it ultimately chose to order the pipeline shut down instead). The Court should exercise

those equitable powers on the basis of a fully-developed record and after fact finding. Slockish v.

United States Federal Highway Admin., 682 F. Supp. 2d 1178, 1185 (D. Or. 2010). Resolution

at an earlier stage would be premature. “Such a determination will best be made in any remedial

phase of this litigation after the facts have been established and the legal issues have been

decided.” Id.

       At this stage of the case, all the Court needs to decide is whether Plaintiffs have alleged a

plausible claim for relief under the NHPA. Once the facts are determined, the Court can decide

whether the Federal Defendants violated the NHPA and the NPS Agreement; whether an order in

the nature of mandamus requiring them to abide by the NHPA going forward is needed to

prevent further tragedies of this nature; and whether to issue an injunction requiring them to

consult with the Plaintiffs during such restoration of the Hickory Ground Site as the Court may

order. Those are important decisions that should be made on a full record.

D.     Plaintiffs allege jurisdiction under the Archaeological Resources Protection Act.

       As alleged in the Second Amended Complaint, Dkt. 190 at 11, this Court has jurisdiction

to hear the Plaintiffs’ Archeological Resources Protection Act (“ARPA”) claim under 28 U.S.C.

§ 1331 (federal question jurisdiction). The claim is reviewable under the APA, which also

provides a waiver of sovereign immunity. 5 U.S.C. § 702.

       The purpose of ARPA is to secure “the protection of archaeological resources and sites

. . . on public lands and Indian lands.” 16 U.S.C. § 470aa(b). Under ARPA, “[n]o person may

excavate, remove, damage, or otherwise alter or deface, or attempt to excavate, remove, damage,

or otherwise alter or deface any archaeological resource located on public lands or Indian lands

unless such activity is pursuant to a permit issued under [16 U.S.C. § 470cc].” 16 U.S.C. §

470ee(a) (emphasis added); see also 25 C.F.R. § 262.3(a). For purposes of ARPA, “Indian


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lands” means, in relevant part, land held in trust by the United States for Indian tribes. 16 U.S.C.

§ 470bb(4). “Public lands” means certain lands owned and administered by the United States,

such as national parks, national forests, etc. 16 U.S.C. § 470bb(3). The Hickory Ground Site

constitutes “Indian lands” for purposes of ARPA, because it is held in trust by the United States

for Poarch.

        The permit requirement is a very important part of the process under ARPA (and

NAGPRA, which incorporates it) for preserving ancestral and cultural relics, because it requires

the Federal land manager to “notify any Indian tribe which may consider the site as having

religious or cultural importance” before issuing a permit that may result in harm to a religious or

cultural site. 16 U.S.C. § 470cc(c). This notice requirement is intended to give tribes an

opportunity to intervene in development activity in order to safeguard cultural items. See S. Rep.

No. 101-473, at 10 (1990). Failing to give notice to the appropriate tribes before issuing a permit

and allowing excavation to be conducted on Indian lands without a required permit are both very

serious lapses of oversight.

        Plaintiffs allege that the Federal Defendants issued one or more ARPA permit(s), Dkt.

190 at 29, and the Federal Defendants concede that they issued at least one such permit, Dkt. 200

at 34, but the Federal Defendants do not claim to have provided the required notice to the

Plaintiffs before doing so. This permit, and any other permit that the Federal Defendants issued

without notice to the Plaintiffs, violated the mandatory notice requirements under ARPA.

        The Federal Defendants argue that they were not required to issue other permits because

of two exceptions to ARPA’s permit requirement—an exception for tribes excavating on their

own lands, and an exception for general earth moving excavations. Dkt. 200 at 33. But the

Second Amended Complaint pleads a plausible claim that neither of these exceptions applies in

this case.

        While there is an exception to the permit requirement for tribes (and sometimes tribal

members, depending on the circumstances) performing the excavation or removal of

archaeological resources on their own Indian lands, 16 U.S.C. § 470cc(g)(1), as discussed in

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Section IV.B.2.c above, that exception does not apply to others performing excavation on a

tribe’s behalf. 25 C.F.R. § 262.4(c). Indeed, in some circumstances, it may not even apply to

tribal employees. Id. So while Poarch itself may not have needed a permit, those performing

excavation and removal of archaeological resources on its behalf did, and the Federal Defendants

had a duty to ensure that they obtained the appropriate permits. To the extent the Federal

Defendants allowed any excavation to occur without a permit, as the Plaintiffs have alleged, Dkt.

190 at 63, they violated ARPA. At minimum, Plaintiffs have pleaded sufficient facts to be

entitled to conduct discovery and have this claim resolved on a fully-developed record.

       The plain language of the other exception in ARPA’s implementing regulations relied

upon by the Federal Defendants demonstrates that it is not applicable in this case.           That

exception excludes from the permit requirements activities that are “exclusively for purposes

other than the excavation and/or removal of archaeological resources, even though those

activities might incidentally result in the disturbance of archaeological resources,” 43 C.F.R.

§ 7.5(b)(1) (emphasis added). But that exception applies only to “activities on the public lands.”

Id. (emphasis added). Under the facts alleged here, the lands at issue here are “Indian lands,” not

“public lands,” for purposes of ARPA, so this exception does not apply and cannot excuse

excavation done without satisfying the notice requirements that are a prerequisite to validly

issuing a permit under ARPA.

       Even assuming (incorrectly) that this exception applied to Indian lands (it does not), the

exception does not apply in a situation such as this one, where the actor knew that archaeological

resources were present and that excavation would cause their excavation and removal.

       [T]he actions of the plaintiff in this case are easily characterized as ‘purposeful
       excavation and removal of archaeological resources’ inasmuch as Fein was made
       aware through the language of the Deed that historical ruins were present in the
       area he proposed to build a house. He and his agents were thus charged with the
       knowledge that any digging on the site would certainly cause the excavation and
       removal of archaeological resources, which would be ‘purposeful’ and not
       inadvertent.



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Fein v. Peltier, 949 F.Supp. 374, 380 (D. V.I. 1996) (emphasis added). Thus, the court concluded

that an ARPA permit was required. Id. Plaintiffs have well-pleaded allegations that the Hickory

Ground site was so extensively populated with human remains and cultural artifacts that any

amount of excavation would disturb them. Dkt. 190 at 30–31, 41. Put differently, excavation at

Hickory Ground would not have involved “incidental” disruption of Plaintiffs’ ancestors—it was

a site devoted to their eternal resting places. Accordingly, to the extent the Federal Defendants

allowed excavations to occur at the Hickory Ground Site without the appropriate permits, they

violated ARPA.

       Plaintiffs have alleged plausible claims that the Federal Defendants violated ARPA

requirements beyond those involving notice and permits. Primary among these is the requirement

that archaeological resources excavated or removed from Indian lands remain the property of the

Indian or Indian tribe having rights of ownership over such resources. 43 C.F.R. § 7.13. As

discussed in Section IV.B.2.c, above, that tribe was the Muscogee (Creek) Nation, according to

the order of priority set forth in 25 C.F.R. § 262.8. The Federal Defendants’ violation of this

requirement is ongoing.

       The Federal Defendants also had duties regarding the curation of excavated cultural

items. To issue any permit in the first place, the Federal land manager had to determine, among

other things, that the applicant “possesses adequate curatorial capability for safeguarding and

preserving the archaeological resources and all associated records.” 43 C.F.R. § 7.8(a)(6).

Plaintiffs’ allegations regarding the deplorable and disrespectful manner of storage of the human

remains and cultural items found at Hickory Ground state a plausible claim that this requirement

was either ignored entirely or was not satisfied. Dkt. 190 at 50 (describing human remains placed

in newspaper and plastic bins and left in a non-air-conditioned shed through numerous hot

Alabama summers). Federal agencies are also required to ensure that archaeological resources

excavated pursuant to ARPA are curated pursuant to 36 C.F.R. Part 79. 36 C.F.R. § 79.3(a).

Those regulations set specific standards for the curation and use of such archaeological

resources, which include inventory and recordkeeping, proper storage and conservation, safety

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and security, availability for tribal religious uses, and more. See, e.g., 36 C.F.R. § 79.9; 36 C.F.R.

§ 79.10. The conditions in which these sacred items were stored here as described in the Second

Amended Complaint do not come anywhere near those standards.

        The Federal Defendants’ action of allowing excavation of the Hickory Ground Site to

take place without required permits, inaction of failing to provide notice to the Muscogee

(Creek) Nation before issuing any permit(s) they did issue, and failure to ensure appropriate

curation of the items, are unquestionably agency actions that are reviewable under Section 706 of

the APA.

        Nor is there any doubt that the Plaintiffs’ ARPA claim is timely. Plaintiffs allege that the

Phase III excavation ended in 2011, Dkt. 190 at 28, the year before the original Complaint in this

matter was filed in 2012, making it well within the statute of limitations.                       Second, any

excavation, removal, damage, alteration, or defacement to archaeological resources by or at the

direction of the Tribal Defendants without a required permit violated ARPA, regardless of

whether it occurred during the Phase III excavation or during the subsequent construction of the

casino (which the Plaintiffs allege concluded in 2014, Dkt. 190 at 32). For all of the foregoing

reasons, the Plaintiffs have stated a timely and plausible claim under ARPA, and the Federal

Defendants’ motion to dismiss the ARPA claim should be denied.

E.      The Plaintiffs have stated a claim against the Federal Defendants and Tribal
        Defendants under RFRA.

        Federal Defendants and Tribal Defendants contend that Religious Freedom Restoration

Act (“RFRA”), 42 U.S.C. § 2000bb, et seq., does not apply here because there is not a sufficient

nexus between federal actions and the Tribal Defendants’ actions and because the federal actions

are not substantially burdening Plaintiffs’ religion. Dkt. 200 at 35; Dkt. 202 at 62–69. 16 These
arguments cannot require dismissal because the well-pleaded allegations state a plausible claim

that the Tribal Defendants are federal actors, and therefore their actions are federal actions under

16
   Because Tribal Defendants and Federal Defendants advance very similar arguments in their motions to dismiss
Plaintiffs’ RFRA claim, Plaintiffs address both Tribal Defendants’ and Federal Defendants’ arguments in this brief
for the sake of convenience and efficiency.

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RFRA. Further, Plaintiffs have alleged that these federal actions are preventing them from

practicing their religion and forcing them to choose between violating their religious mandates

and facing civil or criminal penalties. Therefore, the federal actions are substantially burdening

Plaintiffs’ exercise of their religion. No compelling government interest justifies this substantial

burden, and even if there were such an interest, there are means that are less restrictive on

Plaintiffs’ religion to fulfill that interest.

        1.       RFRA provides broader protections for religious liberty than were provided
                 prior to the Supreme Court’s 1990 decision in Employment Division v. Smith.
        RFRA prohibits the federal government from taking any action that substantially burdens
the exercise of religion unless that action constitutes the least restrictive means of serving a

compelling government interest. Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 690–91

(2014). Congress enacted RFRA in response to the Supreme Court’s decision in Employment

Division, Department of Human Resources of Oregon v. Smith, 494 U.S. 872 (1990) (hereinafter

Smith), holding that neutral state laws not targeting specific religious practices do not violate the

free exercise clause of the First Amendment. Id. at 877-83. The effect of the ruling was to deny

unemployment benefits to two Native Americans who were fired for ingesting peyote as part of

religious ceremony. Id. at 874–75.

        The dissent in Smith cautioned that the Court’s deviation from its prior decisions seemed

to stem from the fact that Smith involved Native American religion, as opposed to a religion with

which the Court might be more familiar. Id. at 920–21 (Blackmun, J., dissenting). The dissent

cautioned that the Court should not “turn a blind eye to the severe impact of a State’s restrictions

on the adherents of a minority religion,” and must instead “scrupulously apply its free exercise

analysis to the religious claims of Native Americans, however unorthodox they may be.” Id. The

dissent emphasized that this is especially important “in light of the federal policy-reached in

reaction to many years of religious persecution and intolerance-of protecting the religious

freedom of Native Americans” as embodied in the American Indian Religious Freedom Act, 42

U.S.C. § 1996, providing that:

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       it shall be the policy of the United States to protect and preserve for American
       Indians their inherent right of freedom to believe, express, and exercise the
       traditional religions . . . , including but not limited to access to sites, use and
       possession of sacred objects, and the freedom to worship through ceremonials and
       traditional rites.
Id. at 920 (quoting 42 U.S.C. § 1996). Failing to live up to these standards means that “both the

First Amendment and the stated policy of Congress will offer to Native Americans merely an

unfulfilled and hollow promise.” Id. at 921.
       The purpose of RFRA was to restore the compelling interest test as set forth in Sherbert

v. Verner, 374 U.S. 398 (1963), and Wisconsin v. Yoder, 406 U.S. 205 (1972).” 42 U.S.C.

§ 2000bb(b)(1). RFRA “provide[s] even broader protection for religious liberty than was

available under” Sherbert or Yoder because the government must also show that it used the least

restrictive means to achieve its compelling interest. Burwell, 573 U.S. at 695.

       2.      RFRA applies to the Tribal and Federal Defendants because Tribal
               Defendants were federal actors who had been delegated federal authority
               and obligations in the NPS Agreement.
       Federal Defendants and Tribal Defendants contend that there is not a sufficient nexus

between any federal actions and the Tribal Defendants’ actions for RFRA to apply. Dkt. 200 at

35; Dkt. 202 at 62. Not so. The federal government’s delegation of enumerated federal

preservation functions and powers to the Tribal Defendants, which is subject to compliance with

federal regulations, federal oversight, and entwinement with both state and federal governments,

makes the Tribal Defendants federal actors subject to RFRA.

       First, the National Park Service delegated federal functions and obligations under the

National Historic Preservation Act to Tribal Defendants, making the Tribal Defendants actions

those of government officials. See Dkt. 190 at 55, 72. Second, even if Tribal Defendants were

acting as a private entity, as they contend, they are acting under color of law within the meaning

of 42 U.S.C. § 2000bb-2(1) and therefore subject to RFRA because they are acting (1) as a

delegee of federal functions, (2) as a joint actor with the federal government, and (3) as a party

entwined with governmental policies and (4) whose management or control is entwined with the

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government. Each of these independently establishes Tribal Defendants as federal actors.

Brentwood Acad. v. Tenn. Secondary Sch. Athletic Ass’n, 531 U.S. 288, 296 (2001) (a challenged

activity may be state action when “a private actor operates as a ‘willful participant in joint

activity with the State or its agents,’” when the private actor “has been delegated a public

function by the State,” when it is “entwined with governmental policies,” or when government is

“entwined in [its] management or control” (citations omitted)).

       In the Eleventh Circuit, the listed factors from Brentwood have been incorporated into

three tests: (1) the public function test; (2) the state compulsion test; and (3) the nexus/joint action

test. Focus on the Family v. Pinellas Suncoast Transit Auth., 344 F.3d 1263, 1277 (11th Cir.

2003) (quoting Willis v. Univ. Health Servs., Inc., 993 F.2d 837, 840 (11th Cir. 1993)); see also

Ala. Mun. Ins. Corp. v. Ala. Ins. Underwriting Ass'n, No. 2:06CV291-CSC, 2008 WL 4493433

(M.D. Ala. Sept. 30, 2008) (applying the Brentwood factors). Under the public function test, a
private entity acts under color of state law when it exercises powers that are “traditionally and

exclusively governmental.” Nat’l Broad. Co. v. Commc’ns Workers of Am., AFL-CIO, 860 F.2d

1022, 1026 (11th Cir. 1988) (quoting Jackson v. Met. Edison Co., 419 U.S. 345, 353 (1974)).

Under the joint action/nexus test, courts consider whether “the State had so far insinuated itself

into a position of interdependence with the [private party] that it was a joint participant in the

enterprise.” Id. (quoting Jackson, 419 U.S. at 357–58). “To charge a private party with state

action under this standard, the governmental body and private party must be intertwined in a

‘symbiotic relationship.’” Id. (quoting Jackson, 419 U.S. at 357).

       The factors enumerated above from Brentwood and incorporated in the public function

and joint action/nexus tests are plainly embodied in the delegation of the vital federal

preservation functions to Tribal Defendants, and show that Tribal Defendants satisfy the public

function and nexus/joint action tests. Under the NPS Agreement between Poarch and the federal

government, Poarch assumed “the functions of a State Historic Preservation Officer . . . . with

respect to tribal lands.” Dkt. 190-1 at PDF p. 115 (emphasis added) (quoting 16 U.S.C. § 470a).

In addition, before allowing a delegation of responsibility to Tribal Defendants, the Secretary

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was required to determine “that the tribal preservation program is fully capable of carrying out
the [delegated] functions” and that the preservation plan “defines the remaining responsibilities

of the Secretary and the State Historic Preservation Officer.” 16 U.S.C. § 470a(d)(C)(2)(D)(i)–

(ii) (emphasis added). The delegated functions under the NPS Agreement are comprehensive,

leaving no “remaining responsibilities” for the State Historic Preservation Officer. See Dkt. 190-

1 at PDF p. 115–16. Several of the delegated functions require ongoing joint action with the

federal and state government. For example, Poarch agreed to “[a]dvise and assist, as appropriate,

Federal and State agencies and local governments in carrying out their historic preservation

responsibilities”; to “[c]ooperate with the Secretary, the Advisory Council on Historic

Preservation, and other Federal agencies, State agencies, local governments, and organizations

and individuals to ensure that historic properties are taken into consideration at all levels of

planning and development”; to “[c]onsult with the appropriate Federal agencies in accordance

with Section 106 of the Act” on certain matters. Id. at PDF p. 116. Upon execution of the

Agreement, the National Park Service sent notification to several federal and state entities that

Poarch had “assumed formal responsibility on tribal lands for all of the [listed] functions.” Id. at

PDF p. 118.

       In turn, the federal government assumed oversight of the delegation. For example, the

Agreement requires Advisory Council on Historic Preservation involvement if Tribal Defendants
want to deviate from the Council’s procedures for reviewing federal undertakings. Id. at PDF p.

116. It also requires Tribal Defendants to provide an annual report on their activities pursuant to

the delegated functions; to notify the National Park Service of vacancies and successors to the

Tribal Historic Preservation Officer position; and to undergo regular reviews of the Tribe’s

program “to ensure that the Tribe is carrying out the program consistent with this agreement.” Id.

If the Tribe fails to “carr[y] out its assumed responsibilities in accordance with th[e] agreement,

the [NHPA], or any other applicable Federal statute or regulation,” the National Park Service can

terminate the agreement. Id. at PDF p. 119. In addition, federal regulations require that the

“agency official”—defined as “a State, local, or tribal government official” who has been

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delegated federal responsibilities—take “legal and financial responsibility for section 106
compliance in accordance with [the Section 106 process].” 36 C.F.R. § 800.2.

        Importantly, the delegation itself, as well as the delegated functions, obligated the Federal

Defendants and Tribal Defendants to notify and consult with the Muscogee (Creek) Nation with

respect to activity subject to the delegation that could affect the Nation’s aboriginal tribal lands.

Even before the delegation occurred, the Secretary was required to consult with “other tribes . . .

whose tribal or aboriginal lands may be affected by the conduct of the tribal preservation

program.” 16 U.S.C. § 470a(d)(C)(2)(D); see also Dkt. 190 at 64, 66. Tribal Defendants and

Federal Defendants were required to seek ways to “develop and evaluate alternatives or

modifications to the undertaking that could avoid, minimize, or mitigate the adverse effects” of

the casino project on the Site through consulting with the Muscogee (Creek) Nation. 36 C.F.R.

§ 800.6; Dkt. 190 at 68. The NPS Agreement also obligated Tribal Defendants to consult with

“representatives of any other tribes whose traditional lands may have been within the Poarch

Band of Creek Indians Reservation,” in “any case where action arising pursuant to the [NHPA]

may affect the traditional lands of another Tribe,” and where individuals or groups “may be

affected by the program’s activities.” Dkt. 190 at 24–25, 69. Given the broad scope of this

delegated authority, Tribal Defendants—as federal actors—are carrying out delegated federal

functions and they are doing so in a manner that substantially burdens Plaintiffs’ exercise of their
religion.

        Federal Defendants rely on the D.C. Circuit’s decision in Village of Bensenville, 457 F.3d

52 (D.C. Cir. 2006) to argue that there is an insufficient basis for a federal nexus in this case.

However, in Bensenville, the court found the federal government played merely a “peripheral

role” in issuing a single approval for the City of Bensenville’s airport reconfiguration plan. Id. at

65. The airport reconfiguration was carried out subject to federal regulations, but not pursuant to

a broad delegation of federal functions—as Tribal Defendants’ excavation and construction was

here. Id. The federal government’s role in Bensenville was solely as a regulator, whereas here the

Tribal Defendants themselves carried out their activities as federal actors pursuant to the

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delegation of federal functions. Thus, Tribal Defendants’ actions are federal actions subject to
RFRA. See Brentwood Acad., 531 U.S. at 289 (private association was a state actor because its

“nominally private character is overborne by the pervasive entwinement of public institutions

and public officials in its composition and workings”); Evans v. Newton, 382 U.S. 296, 299, 301

(1966) (private trustees to whom a city had transferred a park were nonetheless state actors

barred from enforcing racial segregation, since the park served the public purpose of providing

community recreation, and “the municipality remain[ed] entwined in [its] management [and]

control”); Dotson v. Shelby Cty., No. 13-2766-JDT-TMP, 2014 WL 3530820, at *13 (W.D.

Tenn. July 15, 2014) (finding private entity that provided food service at a prison to be a state

actor for purposes of Plaintiffs’ Religious Land Use and Institutionalized Persons Act and Free

Exercise claims).

       For the same reasons, Tribal Defendants’ reliance on Florer v. Congregation Pidyon

Shevuyim, N.A., 639 F.3d 916, 922 (9th Cir. 2011), is misplaced and not persuasive. The plaintiff

in Florer failed to present any evidence that the government delegated its obligations to the

private entity at issue. Id. at 925 (private entity’s professional standards were not governed by

the state). In contrast, here there are clear delegations of federal functions governed by federal

law and federal oversight. See, e.g., 36 C.F.R. § 800.2 (defining a “tribal government official

who has been delegated legal responsibility for compliance with section 106 in accordance with
Federal law” as an “agency official” obligated to comply with federal law); Dkt. 190-1 at PDF p.

115 (noting that the Secretary reviewed and approved Poarch’s preservation plan for

conformance with federal regulations).

       Tribal Defendants’ affirmative and ongoing choice to carry out their delegated federal

functions made them federal actors. As discussed below, their actions have and continue to

substantially burden Plaintiffs’ exercise of their religion, which violates RFRA.




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       3.      Tribal Defendants, as federal actors, are substantially burdening Plaintiffs’
               religious exercise by forcing them to choose between fulfilling their religious
               duties or facing criminal and civil penalties.
       Federal Defendants and Tribal Defendants assert that the facts alleged in the Second

Amended Complaint do not give rise to a RFRA violation because the governmental activity

does not “substantially burden” Plaintiffs’ exercise of religion. However, as Plaintiffs have

alleged, the manner in which Tribal Defendants—as federal actors—are carrying out their

delegated federal functions is causing a substantial burden to Plaintiffs’ continuing and

affirmative religious duties to care for the Hickory Ground ceremonial site and for the graves and

bodies of the deceased by preventing them from carrying out those duties. Dkt. 190 at 72–76.

This forces Plaintiffs to choose between either abandoning their religious beliefs or facing civil

or criminal sanctions for fulfilling their religious duty to their ancestors. See id. at 73, 75. No

compelling government interest justifies the continued desecration of the Hickory Ground Site,

as its acquisition was made for the precise purpose of preserving the Site for the benefit of

Plaintiffs. Id. at 75. Nor is a complete prohibition of Plaintiffs fulfilling their religious

obligations the least restrictive means to serve any compelling government interest that may

exist, given Tribal Defendants’ broad landholdings and well-demonstrated ability to serve their

self-governance and economic interests at those locations. Plaintiffs have therefore stated a claim

against Tribal Defendants under RFRA.

       Hickory Ground is a place of profound religious importance to Plaintiffs; for Hickory

Ground Tribal Town and Mekko Thompson in particular, this place represents their origin in this

world. Dkt. 190 at 13. Without bothering to consult with or seek consent from Plaintiffs, Tribal

Defendants exhumed Plaintiffs’ ancestors, placed them in a perpetual state of unrest, and

continue to desecrate the burial and ceremonial site by mistreating the remains and funerary

objects and allowing prohibited persons and substances in and around the ceremonial grounds.

Id. at 73–76. Tribal Defendants’ actions were fully subject to their delegated federal functions,

and Tribal Defendants affirmatively contend their actions comported with those functions. See

Dkt. 202, Sections V-VII.

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        Tribal Defendant’s actions have caused, and are causing, Plaintiffs to fail in their

religious duties because Plaintiffs are not being permitted to complete required religious protocol

and return the bodies of their ancestors, along with their funerary objects, to their original and

intended final resting places. Id. at 73–76. Tribal Defendants’ actions are preventing Plaintiffs

from fulfilling this duty, forcing Plaintiffs to choose between either abandoning their religious

beliefs or facing civil or criminal sanctions for fulfilling their religious duty to their ancestors.

See id. at 73, 75. Tribal members have already been arrested and charged with crimes for

attempting to comply with their religious duties. Id. at 73; Dkt. 100 at 23.

        These are precisely the kinds of situations that constitute a substantial burden on

Plaintiffs’ religious exercise.

        The Supreme Court in Wisconsin v. Yoder held that a government act substantially

burdens free exercise if it “affirmatively compel[s a person], under threat of criminal sanction, to

perform acts undeniably at odds with fundamental tenets of their religious beliefs.” 406 U.S. at

218. A substantial burden is also exerted when the government act causes “pressure that tends to

force adherents to forego religious precepts,” Midrash Sephardi, Inc. v. Town of Surfside, 366

F.3d 1214, 1227 (11th Cir. 2004), or when the government makes the practice of religion more

expensive in the context of business activities, see Burwell, 573 U.S. at 710. Thus, the Supreme

Court had “little trouble” concluding that a law that required business owners to choose between

following their religion and dropping their business health insurance, for which they would face

penalties, substantially burdened the owners’ religion. Id. at 719–20.

        Similarly, in Comanche Nation v. United States, 2008 WL 4426621 (W.D. Okla. 2008),

the court found that construction of a federal building near a site the Comanche held sacred

would impose a substantial burden on their religious practices because the proposed location was

the central sight-line to the site and an unobstructed view was required to practice the Comanche

religion. Id. at * 2, 17 (noting that the building “would further encroach on the last remaining

open viewscape on the southern approach to the [sacred site]”). Because other land was available

to the government, the planned location was not the least restrictive alternative. Id. at *18. The

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Comanche thus established a likelihood of prevailing on their RFRA claim, and the court granted

a preliminary injunction. Id. at *7.

       The burden on Plaintiffs’ religion in this case is greater than the burden held to be

substantial in Comanche. Tribal Defendants’ actions have put Plaintiffs’ ancestors and the sacred

site of Hickory Ground Tribal Town’s origin in a state of perpetual unrest that Plaintiffs are

compelled by their religion to remedy. See id.; Dkt. 190 at 73–76. When Hickory Ground Tribal

Town members attempted to comply with their religious duties at Hickory Ground in 2013, they

were arrested and charged with crimes. See id.; Dkt. 100 at 23. Like the plaintiffs in Burwell,

Plaintiffs are forced to either follow their religion and face these consequences or violate their

religion with the heart-wrenching knowledge that they are leaving their mutilated ancestors in a

state of perpetual unrest and their sacred place of origin desecrated. And, like the plaintiff in

Comanche, Tribal Defendants’ religious exercise is prevented by the development at Hickory

Ground.

       This case is distinguishable from the magistrate’s recommendation in Slockish v. United

States Federal Highway Administration (and cases cited therein), cited by Tribal Defendants.

No. 3:08-CV-01169-YY, 2018 WL 4523135, at *6 (D. Or. Mar. 2, 2018). In that case, the

plaintiffs failed to show that they were forced to act contrary to their religious beliefs by the

threat of civil or criminal sanctions. Id. Notably, at the pleading phase, the magistrate observed

that “[w]ithout the artifacts and free access to the site, plaintiffs may be forced to act contrary to

their religious beliefs,” and furthermore that it could not ascertain whether the defendants “took

the least restrictive means for implementing the Project and whether they followed all

appropriate procedures.” Id. at *10 n.9. As a result, the district court denied the defendants’

earlier motion to dismiss for failure to state a claim. See Slockish v. U.S. Fed. Highway Admin.,

No. CV-08-1169-ST, 2011 WL 7167042, at *9 (D. Or. Sept. 21, 2011), report and

recommendation adopted in part, No. 3:08-CV-1169-ST, 2012 WL 398989 (D. Or. Feb. 7, 2012)

(noting that fact issues needed to be resolved in order to determine the existence of a substantial

burden and whether defendants took the least restrictive means in implementing the project).

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Whatever the decision might be in this case on a fully-developed record, the allegations in the

Second Amended Complaint undoubtedly state a plausible claim under RFRA.

       Tribal Defendants also rely on La Cuna De Aztlan Sacred Sites Protection Circle

Advisory Committee v. U.S. Department of the Interior, but that case is also distinguishable

because the plaintiffs there did not “demonstrate that they have in fact been barred from the

Project site or received actual threats of arrest,” and alleged a burden on their religion that was in

the nature of decreased “spiritual fulfillment” and visits to a religious site, as opposed to

affirmative religious duties to take action at the Site. No. 2:11-CV-00395-ODW, 2012 WL

2884992, at *7–8 (C.D. Cal. July 13, 2012). Here, Plaintiffs have been barred from Hickory

Ground, because virtually all of it is covered over in concrete and asphalt, and they would face

civil and criminal penalties if they took action to return their ancestors to their intended resting

sites and protected the ceremonial grounds as their religion requires. Thus, La Cuna De Aztlan is

inapposite.

       That is precisely the “substantial burden” that the Tribal Defendants have imposed on

Plaintiffs here. They have paved over the vast majority of the ceremonial and burial grounds at

the Hickory Ground Site, and are desecrating the entirety of the Site by mistreating the remains

and funerary objects and allowing prohibited persons and substances in and around the

ceremonial grounds. Worse, neither the Tribal Defendants nor the Federal Defendants ever

consulted with the Plaintiffs prior to the delegation of federal duties or prior to the excavation.

Nor are the Defendants covering a small part of a sacred ground with tainted snow; they

disrupted the burial grounds with heavy machinery and wrenched Plaintiffs’ ancestors from their

graves and mutilated them, leaving them strewn among construction debris, plastic bins, Auburn

University, and the makeshift reburial site that was hurriedly filled in 2012. See Dkt. 190 at 50–

52; Dkt. 179-1 a6–7. This case is also distinguishable from Navajo Nation v. U.S. Forest Service,

because the Navajo there were not forced “to act contrary to their religion under the threat of

civil or criminal sanctions,” 535 F.3d 1058, 1070 (9th Cir. 2008), unlike the prohibitions

applicable to Plaintiffs here, see Dkt. 190 at 73; Dkt. 100 at 23.

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       In contrast, here the Tribal Defendants have paved over the vast majority of the

ceremonial and burial grounds at the Hickory Ground Site, and are desecrating the entirety of the

Site by mistreating the remains and funerary objects and allowing prohibited persons and

substances in and around the ceremonial grounds. Furthermore, the Defendants in this case never

consulted with the Plaintiffs prior to the delegation of federal duties or prior to the excavation.

Nor are the Defendants just creating snow; they wrenched the Plaintiffs’ ancestors from their

graves and mutilated them, leaving them strewn among construction debris, plastic bins, Auburn

University, and the makeshift reburial site that was hurriedly filled in 2012. See Dkt. 190 at 50–

52; Dkt. 179-1 at PDF pp. 6–7.

       The Federal Defendants also improperly rely on Snoqualmie Indian Tribe v. FERC, 545

F.3d 1207 (9th Cir. 2008). In that case, Snoqualmie argued that a planned federal action would

“interfere with” (as opposed to completely prevent) tribal members’ practice of religion, and did

not establish that they would face criminal or civil sanctions for complying with their religion.

Id. at 1214. Here, Plaintiffs have asserted that Defendants’ actions are completely preventing

them from fulfilling their religious duties, and that if they did obey their religious tenets, they

would face civil and criminal sanctions just as they did when they attempted to fulfill their duties

in 2013.

       Nor are Defendants helped by Lyng v. Northwest Indian Cemetery Protective

Association, 485 U.S. 439 (1988). In that case, the challenged project ensured that “[n]o sites

where specific rituals take place were to be disturbed,” and the route of the project was planned

to as far removed as possible from spiritual sites. Id. at 454. This case is the opposite of Lyng;

Plaintiffs’ spiritual sites were disrupted, unearthed, paved over and now lie beneath a mammoth

structure where activities abhorrent to their traditions take place, with human remains displaced

and subjected to varying forms of continuing mistreatment.

       Because Plaintiffs establish a substantial burden on the exercise of their religion, the

burden of persuasion shifts to the Defendants to prove that the challenged conduct is “in

furtherance of a compelling government interest” and is implemented by “the least restrictive

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means” of furthering that interest. 42 U.S.C. § 2000bb-1(b). When “‘a plausible, less restrictive

alternative is offered . . . it is the Government’s obligation to prove that the alternative will be

ineffective to achieve its goals.’” Vill. of Bensenville v. Fed. Aviation Admin., 457 F.3d 52, 77

(D.C. Cir. 2006) (quoting United States v. Playboy Entm’t Group, 529 U.S. 803, 816 (2000)).

Here, there is no compelling government interest that justifies the continued desecration of the

Hickory Ground Site, and there are less restrictive means to accomplish any compelling interest

that may exist. Id. at 75–76. The acquisition of Hickory Ground, made with federal preservation

funds, was made for the purpose of preserving the Site for the benefit of Plaintiffs—a fact known

at the time of acquisition by both Interior (who provided the funds) and Tribal Defendants (who

asked for the funds). As discussed in Sections IV.C and D. of Plaintiffs’ Response to Tribal

Defendants’ Motion to Dismiss, Tribal Defendants voluntarily undertook obligations to

perpetually preserve the Site, and had protected it for over two thirds of the time it owned the

Site by the time this suit was filed. By 2005, Poarch was operating IGRA gaming at its casinos

in Montgomery17 and Atmore (opened in 1985) 18. Like the defendant in Comanche, Tribal
Defendants have alternatives available to them. For example, Poarch has numerous trust and fee

properties and therefore has ample opportunity to pursue its interests on its own lands. See Wind

Creek Hospitality Property Overview, available at https://windcreekhospitality.com/properties-

2/overview (last visited July 6, 2020) (listing ten casino and resort locations). Furthermore, the
public interest, as expressed in NAGPRA, ARPA, the NHPA, the ARPA permit conditions, and

the NPS Agreement, is to preserve sites of historic, cultural, and religious importance, with

paramount importance placed on consultation with affected tribes. Requiring Poarch not to

substantially burden Plaintiffs’ religion at just one of its parcels of land does not impose any

obligations beyond those Tribal Defendants already undertook when acquiring Hickory Ground.




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   See U.S. Department of the Interior Office of Inspector General Semiannual Report to Congress 9 (Oct. 2006),
available at https://www.doioig.gov/sites/doioig.gov/files/Semiannual-OCT2006SAR.pdf (last visited July 3, 2020).
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   See Dkt. 190 at 28.

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       Because Tribal Defendants’ actions are federal actions, and because those federal actions

are substantially burdening Plaintiffs’ exercise of religion by forcing Plaintiffs to choose between

religious compliance and sanctions without a compelling government interest, this Court should

deny Federal Defendants’ motion to dismiss Plaintiffs’ RFRA claim.

F.     This Court should not dismiss Count VIII of the Second Amended Complaint.

       Because Tribal Defendants and Federal Defendants advance very similar arguments in

their motions to dismiss Count VIII, Plaintiffs address both Tribal Defendants’ and Federal

Defendants’ arguments in Section IV.I of their Response to Tribal Defendants’ Motion to

Dismiss for the sake of convenience and efficiency.

                                     V.      CONCLUSION

       For the reasons explained in detail above, the Court should reject the Federal Defendants’

improper efforts to obtain a dismissal of this case before discovery and before the claims can be

presented to the Court on the basis of a fully-developed record. Plaintiffs’ have satisfied the

requirements of Rule 8 and Rule 12(b)(6) with thorough factual allegations stating facially

plausible claims for relief. The Court should deny the Federal Defendants’ motion in its entirety

and allow this case to proceed forward on the merits. If the motion is granted to any extent,

Plaintiffs request that the Court condition such dismissal on the ability of Plaintiffs to submit a

revised complaint. This is consistent with the liberal policy in favor of allowing amendments
under Fed. R. Civ. P. 15(a)(2) (the “court should freely give leave when justice so requires.”).
See also Espey v. Wainwright, 734 F.2d 748, 750 (11th Cir. 1984).




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      Respectfully submitted this 6th day of July, 2020.



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                                        Certificate of Service

        I hereby certify that on the 6th day of July, 2020, I caused to be electronically filed the

foregoing document with the Clerk of Court using the CM/ECF system which will send

notification of such filing to all parties entitled to receive notice.



                                                s/ Lauren J. King
                                                Lauren J. King, Of Counsel




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                      IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

MUSCOGEE (CREEK) NATION, et al.,       )
                                       )
        Plaintiffs,                    )
                                       )
vs.                                    )
                                       )          Civil Action Number:
POARCH BAND OF CREEK INDIANS, et       )        2:12-cv-01079-MHT-CSC
al.,                                   )
                                       )
        Defendants.                    )
                                       )


      PLAINTIFFS’ RESPONSE AND MEMORANDUM IN SUPPORT OF RESPONSE
      TO INDIVIDUAL DEFENDANTS’ MOTION TO DISMISS SECOND AMENDED
                 COMPLAINT AND SUPPLEMENTAL COMPLAINT
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                                   I.      INTRODUCTION
       Plaintiff Mekko George Thompson (“Mekko Thompson”) has stated a plausible claim for

outrage. The claim must not be dismissed on the basis of legislative immunity, not only because

it would be premature, but also because legislative immunity does not attach to the conduct

alleged. The outrage claim is timely. It is a continuing tort that is not time barred and, in any

event, it relates back to the filing of the original Complaint in this matter, which was

unquestionably timely. For these reasons and the additional reasons laid out in more detail

below, this Court should deny the Individual Defendants’ Motion to Dismiss.

                                    II.     BACKGROUND

       The circumstances most relevant to Mekko Thompson’s outrage claim are discussed

below. A more complete discussion of the factual background is set forth in the Plaintiffs’ Brief

in Response to the Tribal Defendants’ Motion to Dismiss filed contemporaneously herewith.

       A.    Hickory Ground Is A Historic Burial Site Sacred To Muscogee (Creek)
       Nation.
       Defendants Stephanie A. Bryan, Robert R. McGhee, Sandy Hollinger, Keith Martin,

Arthur Mothershed, and Garvis Sells are members of Tribal Council of the Poarch Band of Creek

Indians (“Poarch”). Dkt. No. 190 at 8, ¶ 19. Defendants Eddie L. Tullis, Buford Rolin, and

David Gehman are former members of the Poarch Tribal Council. Id. at 9, ¶ 24. Collectively,

these current and former Tribal Council members are hereinafter referred to as the “Individual

Defendants.”

       Over an extended period of time, the Individual Defendants intentionally and

outrageously caused the desecration of the Hickory Ground Site. Id. at 50, ¶ 223. The Hickory

Ground Site is a sacred site that is also listed on the National Register of Historic Places. Id. at

5, ¶¶ 2-3. Historically, the Hickory Ground Site was home to the Hickory Ground Tribal Town

of the Muscogee (Creek) Nation. Id. at 5, ¶ 2. It was the last capital of the Muscogee (Creek)

Nation before the Muscogee (Creek) Nation, including Hickory Ground Tribal Town, was

forcibly removed from Alabama. Id. at 5, 7, ¶¶ 2, 12. George Thompson is the Mekko, or chief,


                                                 1
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of the current Hickory Ground Tribal Town, which has resided in Oklahoma since its forced

removal. Id. at 7, ¶¶ 12, 14. His ancestors have served as Mekko of Hickory Ground Tribal

Town since time immemorial. Id. at 13, ¶ 46. As Mekko, he has heightened moral and religious

obligations to care for the graves and bodies of the deceased members of Hickory Ground Tribal

Town, and failing in that duty is considered to be a failure to his ancestors, Hickory Ground

Tribal Town, clan, and culture. Id. at 50, ¶ 225.

        Among the spiritual and religious beliefs of Mekko Thompson, Hickory Ground Tribal

Town, and the Muscogee (Creek) Nation are: that burial and ceremonial grounds are sacrosanct
and must not be entered, let alone disturbed, without the proper religious protocol, id. at 17, ¶ 55;

that ancestors must be left at peace in their final resting places, together with their

possessions/funerary items, id. at 17, ¶ 56; that their descendants have a religious duty to care for

the graves and remains of the deceased, id. at 17, ¶ 57; that certain burial protocols must be

followed, id. at 17, ¶ 58; that archaeological examination violates the sanctity of the ancestors

and destroys their spiritual existence until they are put back at peace using appropriate religious

protocol, id. at 32, ¶ 127; that the soil that surrounds a body is considered part of the body, and

separating it from the body is akin to removing a limb, id. at 32, ¶ 128; and that it is sacrilegious

to have alcohol near ceremonial grounds, id. at 73, ¶ 328. As Poarch tribal members and Tribal

Council members, the Individual Defendants were presumably at least somewhat familiar with

some or all of these beliefs. See, e.g., id. at 37, ¶ 162 (describing a letter from Individual

Defendant Rolin acknowledging that “the beliefs and customs of the [Hickory Ground

ceremonial grounds leadership]” required “reinterment in [the original resting] place”); id. at 51-

52, ¶ 229 (stating that the “Muscogee (Creek) Nation trusted Poarch and Poarch’s leadership,

who claim to be Creek people, to understand the Muscogee (Creek) members’ religious and

cultural duties to their ancestors.”).




                                                    2
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       B.   Poarch Promised To Preserve Hickory Ground, But Then Desecrated It For
       Money.

       Human burials, associated funerary objects, other cultural items, remains of ceremonial

grounds, and remains of various structures are located almost everywhere throughout the

Hickory Ground Site. Id. at 15-17, 30-31, ¶¶ 54, 116. Poarch had long promised to preserve the

Hickory Ground Site, acknowledging that destruction of the Hickory Ground Site would destroy

the cultural history of Creek people. Id. at 18-20, ¶¶ 67-71. Nevertheless, sometime between

2000 and 2011, Poarch 1 directed excavations at the Hickory Ground Site. Id. at 28, ¶¶ 100-102.
Poarch failed to direct appropriate protocols, such as keeping remains and surrounding soil

together. Id. at 32, ¶ 129. At least 57 sets of human remains and associated funerary objects

were exhumed during this period. Id. at 31, ¶ 117. These are the direct lineal ancestors of

Mekko Thompson and other Hickory Ground Tribal Town members. See id. at 31, ¶ 118.

Numerous other cultural items were removed as well. Id. at 31, ¶¶ 119-20. Poarch directed the

storage of these ancestors and their possessions in a manner that is abhorrent in the Muscogee

(Creek) religion (e.g., separated from their surrounding soil and associated funerary objects,

stored in newspaper and plastic bins in a non-air conditioned shed, etc.). Id. at 31, 50-51, ¶¶

120-124, 226.

       Mekko Thompson and the other Plaintiffs engaged in extensive traditional dispute

resolution efforts and other efforts to stop Poarch’s outrageous conduct, but their efforts were to

no avail. Id. at 33-35, ¶¶ 139-49. In April 2012, Poarch abruptly, without appropriate notice to

Mekko Thompson and the Muscogee (Creek) Nation and in a manner abhorrent to their religion,

reinterred most of the ancestors’ remains and possessions away from their original and intended

final resting places.   Id. at 35-36, ¶¶ 150-159.    Needless to say, the appropriate religious

1
  As Mekko Thompson’s outrage claim demonstrates, Mekko Thompson believes that the
Individual Defendants bear responsibility for all acts relevant to the outrage claim, whether
because they authorized, directed, conducted, or participated in the acts. To the extent that the
Plaintiffs have been able to determine, through their own investigatory efforts, which Individual
Defendants have committed specific acts, they have so alleged. But further development of the
record will be necessary in order to determine all specific acts taken by each Individual
Defendant.


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protocols were not followed. Id. at 37, ¶ 164. To add insult to injury, Poarch then issued a false

and misleading press release about these events. Id. at 37, ¶¶ 166-67.

       Poarch then proceeded to build a casino and hotel right on top of the sacred and historic

Hickory Ground Site—on top of remains and funerary items left behind by the excavations,

historic remains of structures, and other cultural items. Id. at 39-43, ¶¶ 179-183. The main

entrance of the facility directly abuts the principal ceremonial site. Id. Construction of the

casino likely destroyed many other cultural items forever. Id. at 28, ¶ 105. Poarch did not

ensure that construction activity was stopped when cultural items were discovered, and did not
ensure that adequate records were kept of such discoveries. Id. at 33, ¶¶ 134-35. Sometime

during construction, Individual Defendant Bryan again added insult to injury by distributing a

false and misleading letter about the events to other tribes nationwide. Id. at 37-39, ¶¶ 168-178.

Poarch’s motivation for this shocking conduct is simple: the casino generates hundreds of

millions of dollars in gambling and resort revenue each year for Poarch and its members. Id. at

46, 48, ¶¶ 202, 211.

       The exhumations and construction may have since stopped (at least for now), but the

injury to Mekko Thompson and the other Plaintiffs continues. Some of their ancestors’ remains

and cultural items remain in storage (in plastic bins in Wetumpka and in forgotten boxes at

Auburn University) others remain beneath the casino, others remain improperly reinterred, and

others are at risk of being disinterred at the whim of the Individual Defendants. Meanwhile, the

Individual Defendants continue to desecrate the Hickory Ground Site by allowing the general

public access to the site, and authorizing/directing the service of alcohol at the site. See id. at 50-

52, 73; Dkt. 179-1 at PDF pp. 6-7. And not only are Muscogee (Creek) Nation members

prevented as a practical matter from accessing the site by the presence of the casino, they have

even been arrested for attempting to perform ceremonies at the Hickory Ground Site. Dkt. 190 at

39-43, 73, ¶¶ 179-183, 325. Moreover, the Individual Defendants have never corrected the false

and misleading information they distributed in the public realm. The Individual Defendants




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could reverse, stop, or at least mitigate, the harm they have caused and continue to cause, but

they have consistently refused to do so.

       These events have caused Mekko Thompson to fail in his moral and religious duties, and

have caused him “abject pain, sorrow, anguish, torment, suffering, helplessness, grief, and

anger.” Id. at 50, ¶ 225. He lives with an “enduring feeling of helplessness and fear…that this

will happen again, id. at 51, ¶ 227, and the “irreparable anguish of knowing that the ancestors

were wrenched from what was intended to be their final resting places, disrespected, and

grotesquely mistreated.” Id. at 51-52, ¶ 229. Together with the other Plaintiffs, he has filed this
lawsuit, in part, so that the Individual Defendants will be held accountable for their egregious

actions. See id. at 51, ¶ 227.

       C.      Individual Defendants Had Timely Notice Of These Claims.

       Each of the Individual Defendants was named as a defendant in the original Complaint

and the First Amended Complaint filed in this matter. Dkt. Nos. 1, 57. Accordingly they have

always had notice of this matter, and have always been parties to this matter. The Second

Amended Complaint merely clarifies that they were named as defendants in their individual

capacities as well. Compare Dkt. No. 57 at 5, ¶ 13, with Dkt. No. 190 at 8-9, ¶¶ 19, 24. See also

Dkt. No. 159-4 at 2. The Second Amended Complaint arises out of the same conduct and series

of occurrences as alleged in the original Complaint, but it adds additional specificity and

clarification. For example, the original Complaint stated:

       Defendants’ actions proximately caused and continue to cause harm to
       Plaintiffs. Plaintiffs are experiencing severe emotional distress because of
       the violation of the burial sites of their ancestors and the violation of their
       religious and cultural beliefs, including but not limited to their inability to
       respect their ancestors, pray on the ceremonial ground, and keep Hickory Ground
       sacred.
Dkt. No. 1 at 10, ¶ 39 (emphasis added).       It also stated that the ground-disturbing activities

(which ultimately continued with respect to excavation until 2011, and with respect to

construction activities until 2014, see Dkt No. 190 at 28, 32, ¶¶ 100-02, 132, “are damaging



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the Plaintiffs including but not limited to causing severe emotional, spiritual and dignitary

harm.” Dkt. No. 1 at 16, ¶ 67. The Second Amended Complaint more clearly states an express

claim of outrage against the Individual Defendants. Dkt. No. 190 at 49-52, ¶¶ 221-29, 233-35.

The outrage claim is asserted as a continuing tort. The Individual Defendants now move to

dismiss the outrage claim. Dkt. Nos. 204, 205. For the reasons that follow, their motion must be

denied.

                        III.   STANDARD FOR MOTION TO DISMISS

          Rule 8(a)(2) of the Federal Rules of Civil Procedure requires only a “short and plain
statement of the claim showing that the pleader is entitled to relief.” Rule 12(b)(6) allows a party

to assert by motion a defense of “failure to state a claim upon which relief can be granted.” To

survive a motion to dismiss under Rule 12(b)(6), a complaint must contain sufficient factual

matter, accepted as true, to “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A

claim has facial plausibility when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id.

“[O]nce a claim has been stated adequately, it may be supported by showing any set of facts

consistent with the allegations in the complaint.” Twombly, 550 U.S. at 563.

          “Specific facts are not necessary; the statement need only ‘give the defendant fair notice

of what the...claim is and the grounds upon which it rests.’” Erickson v. Pardus, 551 U.S. 89, 93

(2007) (alteration in original) (quoting Twombly, 550 U.S. at 555). “In addition, when ruling on

a defendant's motion to dismiss, a judge must accept as true all of the factual allegations

contained in the complaint.” Id. at 93-94. The court must assume that the factual allegations set

forth in the complaint are true and must construe them in the light most favorable to the plaintiff.

Reese v. Ellis, Painter, Ratterree & Adams, LLP, 678 F.3d 1211, 1215 (11th Cir. 2012); Arthur

v. Thomas, 974 F. Supp. 2d 1340, 1343 (M.D. Ala. 2013). All reasonable inferences must be




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drawn in the plaintiff’s favor. K.T. v. Royal Caribbean Cruises, Ltd., 931 F.3d 1041, 1043 (11th

Cir. 2019).

       A motion under Rule 12(b)(6) does not pose the question of whether the plaintiff can

ultimately prevail on the merits—“a well-pleaded complaint may proceed even if it strikes a

savvy judge that actual proof of those facts is improbable, and ‘that a recovery is very remote

and unlikely.’” Twombly, 550 U.S. at 556; see also 5B Charles Alan Wright & Arthur R. Miller,

Federal Practice & Procedure § 1357 (3d ed. 2020) (“Whether the plaintiff ultimately can

prevail on the merits is a matter properly determined on the basis of proof, which means on a
summary judgment motion or at trial by the judge or a jury, and not merely on the face of the

pleadings.”).      The burden of persuasion is on the party moving under Rule 12(b)(6) to

demonstrate that no legally cognizable claim for relief exists. Cohen v. Bd. of Trs. of the Univ. of

the D.C., 819 F.3d 476, 481 (D.C. Cir. 2016) (quoting 5B Wright & Miller, supra § 1357) (“All

federal courts are in agreement that the burden is on the moving party to prove that no legally

cognizable claim for relief exists.”).

                                         IV.   ARGUMENT

       Mekko Thompson need only state a claim that is plausible on its face, and that gives the

Individual Defendants fair notice of the grounds upon which it rests. With respect to his claim of

outrage, he has done this, while the Individual Defendants have not met their burden of showing

that he has not.

       Nor are the Individual Defendants entitled to a dismissal at the pleading state of the case

based on their affirmative defenses.       Dismissal on the basis of the affirmative defense of

legislative immunity would be premature, and legislative immunity does not apply to the facts

and conduct alleged in the Second Amended Complaint.              Dismissal on the basis of the

affirmative defense of the statute of limitations would also be inappropriate. In a case like this,

outrage is a continuing tort that is not time barred. Moreover, the outrage claim relates back to




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the filing of the original Complaint, which was unquestionably timely.           Accordingly, the

Individual Defendants’ motion to dismiss must be denied.

       A.      Mekko Thompson has pleaded facts supporting a plausible claim for outrage.

       The tort of outrage was first recognized by the Alabama Supreme Court in Am. Rd. Serv.

Co. v. Inmon, 394 So. 2d 361, 365 (Ala. 1980). The Court stated:

       we now recognize that one who by extreme and outrageous conduct intentionally
       or recklessly causes severe emotional distress to another is subject to liability for
       such emotional distress and for bodily harm resulting from the distress. The
       emotional distress thereunder must be so severe that no reasonable person could
       be expected to endure it. Any recovery must be reasonable and justified under the
       circumstances, liability ensuing only when the conduct is extreme. By extreme
       we refer to conduct so outrageous in character and so extreme in degree as to go
       beyond all possible bounds of decency, and to be regarded as atrocious and utterly
       intolerable in a civilized society.

Id. (internal citations omitted). The elements of the tort are, accordingly:

       (1) that the defendants either intended to inflict emotional distress, or knew or
       should have known that emotional distress was likely to result from their conduct;
       (2) that the defendants’ conduct was extreme and outrageous; and (3) that the
       defendants’ conduct caused emotional distress so severe that no reasonable person
       could be expected to endure it.
Callens v. Jefferson Cty. Nursing Home, 769 So. 2d 273, 281 (Ala. 2000); see also, e.g., Exford

v. City of Montgomery, 887 F. Supp. 2d 1210, 1230 (M.D. Ala. 2012).

       Courts often repeat the maxim that the Alabama Supreme Court has only recognized the

tort of outrage in three circumstances: “(1) wrongful conduct in the family-burial context; (2)

barbaric methods employed to coerce an insurance settlement; and (3) egregious sexual

harassment.” Little v. Robinson, 72 So. 3d 1168, 1172 (Ala. 2011) (internal citations omitted)

(quoting Potts v. Hayes, 771 So. 2d 462, 465 (Ala. 2000). But other circumstances may also

give rise to a viable claim of outrage. Ex parte Bole, 103 So. 3d 40, 53 (Ala. 2012) (“That is not

to say, however, that the tort of outrage is viable in only the three circumstances noted in

Potts.”); Yeldell v. Wells Fargo Bank, No. 09-01584, 2011 WL 13287064, at *19 (N.D. Ala.




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Mar. 2, 2011) (unpublished) (stating that “no court has specifically held that a plaintiff may

recover for outrage only in these three circumstances”). 2
        Courts applying Alabama law have found that the tort of outrage was sufficiently pled

and/or supported by sufficient evidence in numerous circumstances involving the improper

treatment of human remains.            In one case with hauntingly familiar facts, a mortuary that

inappropriately disinterred, desecrated, and reinterred/disposed of human remains was held liable

for $2 million. Gray Brown-Service Mortuary, Inc. v. Lloyd, 729 So. 2d 280, 284, 286 (Ala.

1999) (affirming a $2M general verdict for claims including outrage). An outrage claim was also

upheld when a portion of an old cemetery was damaged by the defendants conduct, which

included clearing of the land and knocking down a fence and tombstones. Whitt v. Hulsey, 519

So. 2d 901, 905-06 (Ala. 1987). In another case in which an outrage claim was asserted, a

funeral home was held liable for refusing to turn over a family member’s body until the family

paid for services it claimed it had already rendered. Levite Undertakers Co. v. Griggs, 495 So.

2d 63, 64-65 (Ala. 1986) (affirming judgment in favor of plaintiffs, albeit without analysis of the

outrage claim). Liability for outrage was also upheld when a cemetery operator refused to allow

burial in a particular cemetery lot just 30 minutes before the scheduled funeral, which required

the plaintiffs to procure a different lot in the same cemetery. Cates v. Taylor, 428 So. 2d 637,

640 (Ala. 1983).

       Given the powerful emotional, cultural, religious, and personal interests surrounding the

handling of human remains, it is no surprise that outrage claims have been recognized in these

circumstances or that conduct like that alleged in the Second Amended Complaint has been

determined to be outrageous. As shown below, Mekko Thompson has pleaded a plausible claim


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  Alabama courts and federal courts applying Alabama law have recognized outrage claims in a wide range of
contexts. See, e.g., Edwards v. Hyundai Motor Mfg. Alabama, LLC, 603 F. Supp. 2d 1336, 1355 (M.D. Ala. 2009)
(supervisor’s sexual harassment of an employee); Holmes v. Oxford Chem., Inc., 672 F.2d 854, 857 (11th Cir. 1982)
(90% reduction in disability payment); O’Rear v. B.H., 69 So. 3d 106, 119 (Ala. 2011) (doctor providing addictive
drugs in return for sex), abrogated on other grounds by Ex parte Vanderwall, 201 So. 3d 525 (Ala. 2015); Cont’l
Cas. Ins. Co. v. McDonald, 567 So. 2d 1208, 1212-13, 1221-22 (Ala. 1990) (insurer’s improper withholding of
funds to force a settlement); Rice v. United Ins. Co. of Am., 465 So. 2d 1100, 1102 (Ala. 1984) (firing of pregnant
employee for refusing to take disability leave).


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for outrage. Such a claim should not be dismissed at the pleading stage “because reasonable

[people] could differ as to the outrageousness of [a] defendant’s conduct, [and] it [is] for the jury

to determine whether the conduct was sufficiently extreme and outrageous to result in liability.”

Rubin v. Matthews Int’l Corp., 503 A.2d 694, 699 (Me. 1986). Accordingly, the Individual

Defendants’ motion to dismiss for the outrage claim should be denied.

               1.      The Individual Defendants either intended to inflict emotional
                       distress, or knew or should have known that emotional distress was
                       likely to result from their conduct.

       The Individual Defendants concede that Mekko Thompson has alleged “that the
Individual Defendants collectively committed outrageous acts intentionally.” Dkt. No. 205 at 11.

And they reference Mekko Thompson’s allegations regarding excavation of the Hickory Ground

Site, desecration of what they disrespectfully term the “archaeological findings,” the continued

storage of some of the human remains and cultural items excavated, id. at 12, and the oversight

of the reinterment of some excavated remains and funerary objects, id. at 12-13. While the

Individual Defendants’ characterization of these events is obviously much different than Mekko

Thompson’s is, it is Mekko Thompson’s version of events that must be presumed to be true and

given the benefit of all reasonable inferences at this point. See Reese, 678 F.3d at 1215. The

Individual Defendants’ recognition of these allegations shows that they have fair notice of what
the claim is and the grounds upon which it rests. That should be the end of the court’s inquiry as

to the first element of Mekko Thompson’s claim of outrage.

       The court need not, and should not, proceed further in order to find that Mekko

Thompson’s allegations are sufficient to state a claim with respect to this element. But if it does,

the court should find that the allegations are, indeed, sufficient. Among other things, Mekko

Thompson alleges:

       The Individual Defendants, knowing that Hickory Ground and the human remains
       and funerary objects buried there were sacred in the culture and traditional
       religion of Mekko Thompson, intentionally and outrageously caused the
       desecration of Hickory Ground by ordering that the bodies and funerary objects


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       buried there be exhumed, disassociated, dismantled, analyzed, and reinterred in a
       manner considered abhorrent in the Muscogee (Creek) traditional religion.


Dkt. No. 190 at 50, ¶ 223. Accepting these allegations as true and drawing all reasonable

inferences in favor of the Plaintiff, as the court must (see Section III, above), it would be

impossible to conclude that knowing something is sacred to someone, yet intentionally

proceeding to desecrate it, does not meet the intent element for a claim of outrage.

       Mekko Thompson also alleges various other acts by Individual Defendants that a

reasonable person would know, or should know, were likely to result in emotional distress.

Without limitation, these acts include that the construction at Hickory Ground, authorized and
directed by the Individual Defendants, “likely destroyed many cultural items forever,” Dkt. No.

190 at 28, ¶ 105; that Poarch (necessarily via the Individual Defendants) directed the storage of

Mekko Thompson’s ancestors and their possessions in an “abhorrent” manner, id. at 31, 50-51,

¶¶ 120-124, 226; that they wrongfully reinterred the remains and funerary objects of Mekko

Thompson’s ancestors, without appropriate notice to Mekko Thompson, in a location and

manner that they knew violated Mekko Thompson’s religious beliefs, id. at 35-37, ¶¶ 153-58,

162, 164; that they intentionally concealed their conduct from Mekko Thompson, id. at 51, ¶

227; and that they affirmatively and repeatedly lied about their conduct (including on a nation-

wide scale), id. at 37-39, 51, ¶¶ 166-178, 228.

       The Individual Defendants’ argument that Mekko Thompson should be required to allege

specific actions by each Individual Defendant is unavailing. The authority they cite for this

proposition is easily distinguishable. That case, Hughes v. City of Montgomery, No. 12-1007,

2013 WL 146397 (M.D. Ala. Jan. 14, 2013) (unpublished), involved a claim of outrage brought

against private citizens but premised solely on allegedly improper acts by a police officer, with

only the threadbare allegation that the police officer was acting at the “behest” of the private

citizens (which the private citizens, moreover, denied). Id. at *1-2. The plaintiff alleged no

actions whatsoever by the private citizens. Id. at *2. Here, by contrast, Mekko Thompson has

alleged that the Individual Defendants authorized, directed, conducted, and/or participated in


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various actions. And unlike in Hughes, where private citizens have no authority to direct the

actions of police officers, Tribal Council members do have the authority, or at least the apparent

authority, for the authorizations and directions complained of here (although that does not

necessarily mean that they were acting in that capacity, or within the scope of that authority, or

otherwise properly).

       There is no obligation to plead the facts showing the Individual Defendants’ intent with
specificity. Fed. R. Civ. P. 9(b) (“Malice, intent, knowledge, and other conditions of a person's

mind may be alleged generally.”). Nor is it reasonable to expect Mekko Thompson to be able to

identify with specificity all of the acts of each Individual Defendant at this point in the

proceedings, or what their intent was, when no discovery has taken place. To the extent the

Plaintiffs have been able to identify, through their own investigational efforts, specific acts by

specific Individual Defendants, they have alleged those acts with specificity. E.g., Dkt. No. 190

at 35-37, ¶¶ 153-158, 162 (describing specific actions and acknowledgments by Individual

Defendant Buford Rolin concerning the wrongful reinterment of Mekko Thompson’s ancestors);

id. at 37-39, ¶¶ 168-178 (describing a “false and misleading” letter that Individual Defendant

Stephanie Bryan mailed to tribal leaders nationwide regarding the circumstances in question).

Having pleaded a plausible claim for outrage, Mekko Thompson is entitled to proceed with

discovery to obtain the information that is necessarily within the Individual Defendants’ sole

control to determine which Individual Defendants took which actions, and what their intent was

in taking those actions. See, e.g., Schultes v. Kane, 856 N.Y.S.2d 684, 687 (N.Y. App. Div.

2008) (reversing the dismissal of a claim for intentional infliction of emotional distress with

respect to a defendant because the question of that defendant’s intent “cannot be resolved

without further development of the record”).

       At this stage in the proceedings, Mekko Thompson is not required to prove all of the

elements of his outrage claim, but merely to state a plausible claim, giving defendants fair notice

of what the claim is and the grounds upon which it rests; specific facts are not necessary, see

Section III, above. Mekko Thompson has done so with respect to the intent element.


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               2.      The Individual Defendants’ conduct was extreme and outrageous.

       “The sentiment of all civilized peoples regards the resting place of the dead as hallowed

ground.” Smith & Gaston Funeral Dirs, Inc. v. Dean, 80 So. 2d 227, 232 (Ala. 1955) (quoting

10 Am. Jur. Cemeteries § 22). “The tenderest feelings of the human heart center around the

remains of the dead.” Lamm v. Shingleton, 55 S.E.2d 810, 813 (N.C. 1949). “Who so disturbs a

dead body merely to suit his own convenience does so at his own risk. He may do a wrong for

which he should be punished. He knows what he is doing.” Gostowski v. Roman Catholic

Church of the Sacred Hearts, 186 N.E. 798, 800 (N.Y. 1933). Accordingly, “[l]egal authorities
have long acknowledged the likelihood of mental anguish resulting from the mishandling of dead

bodies.” Carney v. Knollwood Cemetery Ass’n, 514 N.E.2d 430, 433 (Ohio Ct. App. 1986).

Alabama courts too have recognized viable claims of outrage in a number of circumstances

involving damage to burial grounds; improper disinterment, desecration, and/or reinterment of

human remains; and other conduct involving the dead and their burial rites resulting in severe

emotional distress. See Section IV.A above.

       Most relevant of the Alabama precedent is Whitt, 519 So. 2d 901. In that case, the

plaintiffs were unspecified “descendants” of an ancestor who had died in 1853—more than 130

years ago at the time of the lawsuit. Id. at 902. They alleged that in 1983, the defendant

damaged a portion of the old family cemetery in which their ancestor was buried, including by

clearing a portion of the land and knocking down a fence and several tombstones. Id. at 902,

904-906. They sued for outrage, among other claims. The Alabama Supreme Court affirmed

judgment in the plaintiffs’ favor, stating with respect to the outrage claim:

       We are persuaded that sufficient evidence was presented to support the
       submission of the outrageous conduct count to the jury. The evidence at the very
       least supports an inference that Whitt acted recklessly in clearing the land around
       the cemetery where relatives of the plaintiffs were buried. We realize that there
       may be differences of opinion regarding the dividing line between merely
       offensive conduct and conduct that is atrocious and intolerable in a civilized
       society. Great respect is afforded the resting place of the dead….“Our decisions
       lay much stress upon the sacredness of the resting ground of the dead ..., and the


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       exclusive right of interment and possession being shown, guard the spot against
       unlawful invasion and give a right of action for any illegal interference....” Under
       the particular facts of this case, and in view of the deep human feelings involved,
       we find the evidence sufficient to support the claim of outrageous conduct, where
       the alleged act was the desecration and destruction of a portion of a family burial
       ground.
Id. at 906 (internal citations omitted) (second and third alterations in original).

       Substantial persuasive precedent from other jurisdictions is in accord. E.g., Ceasar v.

Shelton Land Co., 646 S.E.2d 689, 690-91 (Ga. Ct. App. 2007) (reversing grant of summary

judgment in favor of defendants on plaintiffs’ claims, which included claim for intentional

infliction of emotional distress, 3 where defendants had bulldozed over an old cemetery
containing children of plaintiffs’ indirect ancestors, even though plaintiffs did not know the

children’s names, nobody had been buried there in many years, and the family did not tend the

area); Contreraz v. Michelotti-Sawyers, 896 P.2d 1118, 1121 (Mont. 1995) (“[W]e hold that one

who negligently removes, withholds, mutilates, embalms, provides funeral, burial, or crematory

services, or operates upon the body of a dead person or prevents its proper interment or

cremation is subject to liability to the deceased person’s close relatives for resulting emotional

distress.”); Carney, 514 N.E.2d at 431, 433 (affirming denial of defendants’ motion for directed

verdict after jury verdict in favor of plaintiffs on plaintiffs’ claim for emotional distress resulting

from disturbance of ancestor’s gravesite and improper disposal of some of ancestor’s remains);

Scarpaci v. Milwaukee Cty., 292 N.W.2d 816, 820, 835 (Wis. 1980) (concluding that plaintiffs’

complaint for performing an autopsy on their deceased child without their permission and after

they had made it known they did not want an autopsy states a claim upon which relief can be

granted); Papieves v. Lawrence, 263 A.2d 118, 121 (Pa. 1970) (“We conclude that recovery may

be had for serious mental or emotional distress directly caused by the intentional and wanton acts

of mishandling a decedent’s body which are here alleged.”); Codell Constr. Co. v. Miller, 202


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  Other jurisdictions may use other terms, such as “intentional infliction of emotional distress.”
This is equivalent to the tort of outrage. Archie v. Enter. Hosp. & Nursing Home, 508 So. 2d
693, 694-95 (Ala. 1987) (explaining that the tort of outrage is often referred to as the intentional
infliction of emotional distress, and that they state the same cause of action).


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S.W.2d 394, 397, 399 (Ky. 1947) (stating that descendants’ allegations regarding highway

project’s destruction of ancestor’s graves were sufficient to state a cause of action, even though

descendants had not visited graves in 40 or more years, did not know their ancestors, and did not

remember them; but reversing jury verdict based on erroneous jury instructions); Gostowski, 186

N.E. at 799-800 (affirming a jury verdict that included damages for mental suffering and

anguish where funeral flowers were moved to another grave and the body was reinterred in

another lot without notice).

       Even less egregious conduct, such as failing to deliver a memorial stone on time, or
removing foliage from a burial ground, may constitute outrage, according to persuasive

precedent. E.g., Rubin, 503 A.2d at 696, 700 (finding that the complaint stated a cause of action

for intentional infliction of emotional distress where the defendant failed to deliver a memorial

stone in time for an unveiling ceremony as promised); O’Neal v. Veazey, 84 S.E. 962, 963 (Ga.

1915) (affirming verdict for plaintiffs and stating that damages for injury to the peace and

happiness of the plaintiffs are recoverable where defendant removed trees and bushes from burial

ground of plaintiffs’ ancestors).

       The West Virginia Supreme Court of Appeals case of Whitehair v. Highland Memory

Gardens, Inc., 327 S.E.2d 438 (W. Va. 1985), is particularly instructive as persuasive precedent.

In that case, the defendant undertook to relocate bodies buried in a cemetery in preparation for

construction of a new highway. Id. at 439. The plaintiff alleged that the remains of her sister

and two aunts were lost or misplaced after removal, that the defendant failed to remove all of the

remains of her cousin, and that the remains of her uncle and father were left behind and

presumably now rest under the new highway. Id. Moreover, the defendant failed to notify her of

the disinterment so that she could be present, despite its assurances that it would do so. Id. at

440. The Court found the failure to notify the plaintiff of the disinterment was actionable, as was

the losing of bodies, and parts of bodies, after disinterment, thereby preventing reinterment. Id.

at 442. Accordingly, the Court reversed the dismissal of the plaintiff’s complaint for failure to

state a claim upon which relief could be granted. Id. at 444. Notably, this was the result even


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though the defendant had the lawful authority to disinter and reinter the remains—the issue was

the manner in which the acts were performed. Id. at 440.

       Mekko Thompson has alleged conduct by the Individual Defendants that was similarly

extreme and outrageous, including, without limitation, the improper exhumation of his ancestors

and their possessions, in violation of his and the Muscogee (Creek) Nation’s religious beliefs,

Dkt. No. 190 at 17, ¶¶ 55-56, 60; the removal of his ancestors and their possessions from their

final resting places, in violation of his and Muscogee (Creek) Nation’s religious beliefs, id.; the

archaeological study of his ancestors and their possessions in violation of his and Muscogee
(Creek) Nation’s religious beliefs, id. at 32, ¶ 127; the storage, at Poarch’s direction (necessarily

via the Individual Defendants), of his ancestors and their possessions in a manner abhorrent to

the Muscogee (Creek) religion, id. at 31, ¶¶ 120-124; the failure to instruct personnel not to

separate the surrounding soil from remains, in accordance with Muscogee (Creek) Nation

religious beliefs, id. at 32, ¶ 128; the reinterment of some of the ancestors’ remains without

appropriate notice to Mekko Thompson, and in a location and manner that violated Mekko

Thompson’s and Muscogee (Creek) Nation’s religious beliefs, id. at 35-37, ¶¶ 150-59, 164; and

the subsequent nationwide issuance of false and misleading press releases and other

communications regarding their actions, 4 id. at 37-39, 51, ¶¶ 166-178, 228. The damage done in
Whitt was minor in comparison to the damage in this case. And the subsequent treatment of the
ancestors’ remains and lack of appropriate notice of the reinterment should be actionable as in

Whitehair.



4
  The Individual Defendants reference some of these communications and assert that they do not
“relate to or give rise to the outrage claim.” Dkt. No. 205 at 10 n.4. Not so. The outrage claim
specifically incorporates by reference all of the factual allegations stated previously. Dkt. No.
190 at 49, ¶ 221. And the communications they reference do relate to the outrage claim—they
involve the lack of appropriate notice of the reinterment (which is actionable as outrage, per
Whitehair, 327 S.E.2d at 442), the knowledge that the location of the reinterment violated Mekko
Thompson’s religious beliefs (which is relevant to the intent element of the outrage claim), and
the harmful propaganda campaign subsequent to the reinterment (which supports the claim of
outrage, in accordance with Rice, 465 So. 2d at 1102).


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       Additionally, several circumstances further support the conclusion that Mekko Thompson

has sufficiently pled this element of his outrage claim. First, Mekko Thompson has alleged a

pattern of activity encompassing an extended period of time, which the Rice court cited as a

distinguishing factor supporting a claim of outrage. Rice v. United Ins. Co. of Am., 465 So. 2d

1100, 1102 (Ala. 1984). Second, the Individual Defendants’ alleged behavior involved a great

many persons (including Auburn University, federal government agencies and officials,

construction companies, press releases to the general public, and false and misleading

communications to other tribes nationwide) in addition to Mekko Thompson and the Individual
Defendants, which the Rice court also cited as a distinguishing factor. Id. Third, the outrageous

actions alleged by Mekko Thompson were allegedly directed toward an illegal purpose—

violation of federal laws, 5 which the Rice court also cited as a distinguishing factor. Id. Finally,
because they were acting under the cloak of federal delegated authority, 6 the Individual

Defendants were in a position of elevated trust and had a greater responsibility to observe the

law, as there were essentially no checks on their conduct concerning the Hickory Ground Site.

Taken together, these factors strongly support denial of their motion to dismiss. See Woodley v.

City of Jemison, 770 So. 2d 1093, 1096 (Ala. Civ. App. 1999) (stating that a police officer is in a

position of heightened public trust, and holding that the question of whether conduct that

breached that public trust was outrageous should go to the jury).

       The Individual Defendants’ disingenuous attempt to characterize their conduct as

“archaeological excavation and study of the remains of unknown individuals,” Dkt. No. 205 at

13, falls far short of their burden to prove that no legally cognizable claim for relief exists. Only

their actions actually relating to the exhumation and study of Mekko Thompson’s ancestors and

their possessions and historic Tribal Town could even arguably qualify as archaeological

excavation and study. Yet as alleged in Plaintiffs’ Second Amended Complaint and discussed

5
  See Plaintiffs’ Brief in Response to Tribal Defendants’ Motion to Dismiss for discussion of the
alleged federal law violations.
6
  See Plaintiffs’ Brief in Response to Tribal Defendants’ Motion to Dismiss for discussion of
delegated federal authority, which is beyond the scope of the instant Brief.


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further in Plaintiffs’ Brief in Response to the Tribal Defendants’ Motion to Dismiss, this so-

called “archaeological excavation and study” was conducted in violation of federal law. See,

e.g., Dkt. No. 190 at 26-27, ¶¶ 91-99.

       Even if this conduct were lawful (which it was not), that would not defeat Mekko

Thompson’s claim. As in Whitehair, 327 S.E.2d at 440-41, the manner in which the acts in

question were performed would still give rise to a viable claim of outrage. And as discussed

above, Mekko Thompson has alleged numerous other actions by the Individual Defendants that

in no way relate to any “archaeological excavation and study,” including, without limitation,
destruction of cultural items with the construction of the casino; building the casino over cultural

items; reinterring Mekko Thompson’s ancestors without appropriate notice to Mekko Thompson,

in a location they knew violated Mekko Thompson’s religious beliefs, and in a manner abhorrent

to those beliefs; issuing false and misleading press releases to the general public; and sending a

false and misleading letter to other tribes nationwide.

       Finally, Mekko Thompson’s ancestors are not “unknown individuals.” Regardless of

whether he might or might not know all of their names currently, he knows that they are his

ancestors, and he is their lineal descendent, according to their (and his) traditional kinship

system. Dkt. No. 190 at 55, ¶ 251. In some cases, the individuals may be even more closely

identifiable as his direct ancestors based on the location of their burial. E.g., id. at 13-14, ¶¶ 46,

52 (describing how Mekko Thompson’s ancestors have served as Mekko of Hickory Ground

Tribal Town since time immemorial, and how mekkos are buried in a certain location). No

finding of direct descendancy or recency of death is necessary in order to allege a viable claim of

outrage. In Whitt, 519 So. 2d 901, there was neither a finding of direct descendancy, nor a

finding that the grave of the ancestor in question was one of those damaged. And the ancestor in

question had passed away 130 years ago at the time of the desecration. Id. at 902. Persuasive

precedent from other jurisdictions supports this proposition as well. E.g., Ceasar, 646 S.E.2d at

690-91 (reversing grant of summary judgment in favor of defendants on plaintiffs’ claims, which

included claim for intentional infliction of emotional distress, where defendants had bulldozed


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over an old cemetery containing children of plaintiffs’ indirect ancestors, even though plaintiffs

did not know the children’s names, nobody had been buried there in many years, and the family

did not tend the area); Codell Constr., 202 S.W.2d at 397, 399 (stating that descendants’

allegations regarding highway project’s destruction of ancestor’s graves were sufficient to state a

cause of action, even though descendants had not visited graves in 40 or more years, did not

know their ancestors, and did not remember them; but reversing jury verdict based on erroneous

jury instructions)

       At this stage in the proceedings, Mekko Thompson is not required to prove all of the
elements of his outrage claim, or to show that he will ultimately prevail on the merits, see

Section III, above. Mekko Thompson has alleged extreme and outrageous conduct by the

Individual Defendants sufficient to defeat their motion to dismiss.

               3.    Mekko Thompson has stated a plausible claim that the Individual
               Defendants’ conduct caused emotional distress so severe that no reasonable
               person could be expected to endure it.

       Mekko Thompson has alleged that the Individual Defendants’ actions have caused him to

fail in his moral and religious duties, and have caused him “abject pain, sorrow, anguish,

torment, suffering, helplessness, grief, and anger.” Dkt. No. 190 at 50, ¶ 225. He lives with an

“enduring feeling of helplessness and fear…that this will happen again, id. at 51, ¶ 227, and the
“irreparable anguish of knowing that the ancestors were wrenched from what was intended to be

their final resting places, disrespected, and grotesquely mistreated,” id. at 51-52, ¶ 229. He has

alleged that his emotional distress (which is continuing) is so severe that no reasonable person

could be expected to endure it. Id. at 52, ¶ 233.

       This is more than sufficient to survive a motion to dismiss for failure to state a claim.

Thomas v. Williams, 21 So. 3d 1234, 1240 (Ala. Civ. App. 2008) (“We further conclude that

Thomas’s cursory statement that she was ‘subjected to severe emotional distress’ was sufficient

to survive a motion to dismiss.”); Papieves, 263 A.2d at 122 (reversing dismissal, holding that

plaintiffs had stated a cause of action by averring “that they have suffered emotional disturbance,


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mental anguish, embarrassment, and humiliation as a direct consequence of the defendants’

intentional acts in withholding the body of their son from them and burying it without

authorization”); cf. Edwards v. Hyundai Motor Mfg. Alabama, LLC, 603 F. Supp. 2d 1336, 1355

(M.D. Ala. 2009) (denying summary judgment and stating that it is for a jury to decide whether

the defendant’s behavior was outrageous and had caused the plaintiff to suffer extreme emotional

distress where the plaintiff had presented evidence that the defendant’s behavior “caused her

significant emotional distress; she broke down in tears, lost sleep, and even sought medical help

because of depression”); Carney, 514 N.E.2d at 432-33 (affirming denial of defendants’ motion
for directed verdict on plaintiffs’ claim for emotional distress resulting from disturbance of

ancestor’s gravesite and improper disposal of some of ancestor’s remains where the relatives

“testified that they were horrified, angry, and saddened, and that they wept and were unable to

sleep”).

       Even if some additional proof of reasonableness were necessary at this stage in the

proceedings (which it is not), Mekko Thompson’s emotional distress is reasonable. Contreraz,

896 P.2d at 1122 (“It is reasonable that a family member would become emotionally distressed

after learning of, but not seeing, a debasing, humiliating, or disrespectful act committed to the

decedent’s body.”). The results favorable to the plaintiffs in Whitt and similar cases from other

jurisdictions discussed above (e.g., Ceasar, Codell Constr., and Whitehair) also support the

reasonableness of Mekko Thompson’s emotional distress.          Indeed, the circumstances in a

number of the cases discussed above were less egregious than the outrage Mekko Thompson has

alleged.

       Finally, the reasonableness of Mekko Thompson’s emotional distress cannot be

determined in accordance with an ethnocentric worldview that does not respect Mekko

Thompson’s religious beliefs (including the importance of religious connection with ancestors)

and ignores the impact of historical traumas such as forced relocation and centuries of

desecration of Indian graves, theft of cultural patrimony, and horrific practices in the name of

archaeology, scientific study, and museology. The Individual Defendants’ attempt to minimize


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their conduct as “archaeological removal and study of unidentified remains and artifacts,” Dkt.

No. 205 at 14, and hence suggest that the severity of Mekko Thompson’s emotional distress is

not reasonable, comes dangerously close to urging the adoption of just such an ethnocentric

standard.

       Mekko Thompson’s allegations of severe emotional distress are more than sufficient to

survive a motion to dismiss. Although he does not need to prove reasonableness at this time, the

severity of his emotional distress is reasonable. A finding that his emotional distress is not

reasonable would be premature at this time, when there has been no opportunity to develop the
record in order to prove the outrageousness of the Individual Defendants’ conduct, the nature of

Mekko Thompson’s religious beliefs, and the reasonableness of his emotional distress, inter alia.

In summary, Mekko Thompson has adequately pled each element of his outrage claim and the

Individual Defendants’ motion to dismiss must, accordingly, be denied.

       B.      The outrage claim should not be dismissed on the basis of legislative
               immunity.

       Dismissal of the outrage claim on the basis of legislative immunity would be

inappropriate for two reasons. First, it would be premature. Second, as a substantive matter,

legislative immunity does not attach to the conduct alleged.

               1.      It would be premature to dismiss on the basis of legislative immunity.

       Dismissal on the basis of legislative immunity would be premature for several reasons.

First, analysis of legislative immunity as an affirmative defense under Rule 12(b)(6) is generally

limited to the face of the complaint, and the complaint in this case contains no allegations of

legislative acts. Second, the Individual Defendants have failed to meet their burden because they

have identified no legislative acts to which legislative immunity would attach. Third, dismissal

at this stage is not advisable where the law on an issue is not settled, as is the case regarding the

question of legislative immunity for Tribal Council members. And fourth, the record is not




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sufficiently developed to support a determination as to whether the Individual Defendants are

entitled to legislative immunity.

       Legislative immunity is an affirmative defense, not a jurisdictional bar. State Emps.

Bargaining Agent Coal. v. Rowland, 494 F.3d 71, 77 n.4 (2d Cir 2007) (“It is well-settled that

legislative immunity is not a jurisdictional bar, but is rather a personal defense.”); Scott v.

Taylor, 405 F.3d 1251, 1255 (11th Cir. 2005) (referring to legislative immunity, in passing, as “a

personal defense”). In considering whether to grant a motion to dismiss on the basis of an

affirmative defense under Rule 12(b)(6), analysis is generally limited to the face of the complaint
and attachments thereto. Brooks v. Blue Cross & Blue Shield of Fla., Inc., 116 F.3d 1364, 1368

(11th Cir. 1997). Nowhere in the Second Amended Complaint do the Plaintiffs allege or identify

legislative acts by the Individual Defendants (see Section B.2, below, for discussion of what

constitutes a legislative act). For that reason alone, dismissal is not proper on the basis of

legislative immunity. Cf. Fortner v. Thomas, 983 F.2d 1024, 1028 (11th Cir. 1993) (noting that

an affirmative defense generally will not support dismissal on a rule 12(b)(6) motion unless the

defense “clearly appears on the face of the complaint”); Marx v. Gumbinner, 855 F.2d 783, 788-

89 (11th Cir. 1988) (if a government official moves to dismiss under Rule 12(b)(6) on the basis

of absolute immunity, the court must determine only whether the allegations of the complaint

disclose activities protected by absolute immunity and grant or deny the motion on that basis),

abrogated on other grounds by Burns v. Reed, 500 U.S. 478 (1991).

       Moreover, the Individual Defendants, who have the burden of persuasion on this issue,

have not identified any legislative acts to which they claim legislative immunity attached (see

Section B.2, below, for discussion of what constitutes a legislative act). They begin their

argument regarding legislative immunity with the general assertion that the allegations stem from

their “collective action” as Council Members, and end their argument with the conclusory

statement that their actions “are plainly legislative in nature.” Dkt. No. 205 at 9, 11. Yet

nowhere in between do they identify any legislative actions they claim to have taken.

Accordingly, by failing to identify any legislative acts, the Individual Defendants have failed to


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show that they are entitled to legislative immunity, and dismissal also should not be granted on

that basis.

        The Individual Defendants have asserted no Constitutional or legislative basis for their

claimed legislative immunity.     Therefore, Mekko Thompson can only assume they assert

common law legislative immunity.        The United States Supreme Court has long extended

legislative immunity to federal legislators, but has only more recently extended it to state and

regional legislators, in 1951 and 1979, respectively. Bogan v. Scott-Harris, 523 U.S. 44, 49

(1998). Not until 1998 did it extend legislative immunity to local legislators. Id. at 49, 54. And
it has not yet extended legislative immunity to Tribal Council members. The question of

whether Tribal Council members are entitled to legislative immunity appears to have been

addressed by only a handful of tribal courts, three federal district courts, and the Eighth Circuit

(this case law is discussed in Section B.2, below). No federal court in the Eleventh Circuit has

considered the issue, nor have the Alabama courts. With no binding precedent on this issue, and

very little persuasive precedent, the law regarding this question remains unsettled. Where, as

here, the law is not settled regarding a claimed governmental immunity, it is not advisable to

dismiss a complaint at this early stage of the proceedings. See Sass v. Dist. of Columbia, 316

F.2d 366, 366-68 (D.C. Cir. 1963); cf. Likes v. DHL Express, No. 10-2989, 2011 WL 13230347,

at *6 (N.D. Ala. July 26, 2011) (unpublished) (denying a motion to dismiss for failure to state a

claim where the Eleventh Circuit law on the issue in question was unsettled); L.D.G., Inc. v.

Robinson, 290 P.3d 215, 222 (Alaska 2012) (stating, albeit with regard to a different legal issue,

that where the law is unsettled, there is at least a viable claim, such that Rule 12(b)(6) dismissal

is inappropriate).

        Likewise, a case like this should not be dismissed on grounds of legislative immunity at

such an early stage of the litigation, based upon the sparse record. See N.Y. State Corr. Officers

& Police Benevolent Ass’n v. New York, 911 F. Supp. 2d 111, 136 (N.D.N.Y. 2012) (“At this

stage of the litigation, based upon the sparse record, the Court cannot state as a matter of law,

that defendants are entitled to legislative immunity.”); cf. Stock W. Corp. v. Taylor, 942 F.2d


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655, 664-65 (9th Cir. 1991) (concluding that it was premature for the district court to have

granted summary judgment on the basis of tribal official immunity when “we cannot say on the

record before us whether Taylor was acting within his representative capacity, and whether he

was within the scope of his delegated authority”); Hegner v. Dietze, 524 N.W.2d 731, 735

(Minn. Ct. App. 1994) (affirming the district court’s denial of summary judgment in favor of

tribal official because a factual dispute remained over whether the official’s position with the

tribe was sufficient to provide him with the claimed immunity and/or privilege); Likes, 2011 WL

13230347, at *5 (noting the “underdeveloped record,” in combination with unsettled law in the
Eleventh Circuit on the issue in question, in denying the defendant’s motion to dismiss for failure

to state a claim). To determine whether any immunity applies, it will be necessary to analyze the

precise nature of the Individual Defendants’ actions to determine whether they constitute

legislative acts (and, then, whether there is some reason to qualify or limit it). The record is

simply not developed enough to undertake that analysis at this time. Dismissal on the basis of

legislative immunity would be premature.

               2.     Legislative immunity does not attach to the conduct alleged.
       Legislative immunity only attaches to actions taken “in the sphere of legitimate

legislative activity.” Bogan, 523 U.S. at 54 (citation omitted). “Whether an act is legislative

turns on the nature of the act, rather than on the motive or intent of the official performing it.”

Id. Speech and debate in the legislature is the heart of what is protected, and other elements of

the legislative process such as committee reports, resolutions, and the act of voting are also

protected. Gravel v. U.S., 408 U.S. 606, 617, 625 (1972). But the fact that legislators perform

certain acts in their official capacity as legislators does not necessarily make all such acts

legislative in nature. Id. at 625. For example, a legislator’s communications with the executive

branch and administrative agencies is not protected legislative activity. Id. The Eleventh Circuit

draws a line between legislative actions and administrative actions. Corn v. City of Lauderdale

Lakes, 997 F.2d 1369, 1392-93 (11th Cir. 1993). For example, acts of zoning enforcement,



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rather than rulemaking, are not legislative. Crymes v. DeKalb Cty., 923 F.2d 1482, 1485 (11th

Cir. 1991). “If the facts utilized in making a decision are specific, rather than general, in nature,

then the decision is more likely administrative.” Id. “Moreover, if the decision impacts specific

individuals, rather than the general population, it is more apt to be administrative in nature.” Id.

       Accordingly, the Bogan Court found that the actions of City Council members in

introducing, voting for, and signing an ordinance were legislative because they were integral

steps in the legislative process. 523 U.S. at 55-56. But a Senator’s private publication of

materials he had introduced into a subcommittee record was not legislative. Gravel, 408 U.S. at
625-26. In Corn, 997 F.2d 1369, a City Council’s adoption of three ordinances which affected a

property was protected by legislative immunity, but its decision to deny the site plan for the

property was not. Id. at 1371, 1393. The Eleventh Circuit has characterized the following types

of acts as legislative: “voting, speech making on the floor of the legislative assembly, preparing

committee reports, and participating in committee investigations and proceedings.” Yeldell v.

Cooper Green Hosp., Inc., 956 F.2d 1056, 1062 (11th Cir. 1992) (internal citations omitted). By

contrast, it has characterized the following types of acts as non-legislative: “the public

distribution of press releases and newsletters, the acceptance of bribes in return for votes on

pending legislative business, the administration of penal facilities, and the denial of licenses.”

Id. In addition, the Yeldell court held that personnel decisions are administrative, not legislative,

acts. Id. at 1062-63.

       The very few courts that have considered the question of legislative immunity for Tribal

Council members have also recognized (or denied) legislative immunity depending on whether

the actions in question were legislative in nature. Indeed, the cases support the proposition that

tribal lawmaking activity must be directly at issue in order for legislative immunity to attach.

The only federal appellate court to consider the question is the Eighth Circuit in the case of Runs

After v. United States, 766 F.2d 347 (8th Cir. 1985). Directly at issue in that case was the

validity of two Tribal Council resolutions precluding certain tribal members from running for

positions on the Tribal Council. Id. at 348-49. The Eighth Circuit affirmed the district court’s


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dismissal of the complaint for a number of reasons, including legislative immunity, stating: “we

believe that the individual members of the Tribal Council would enjoy absolute legislative

immunity from liability . . . for official actions taken when acting in a legislative capacity. . . .

Here, the two Tribal Council resolutions at issue are essentially legislative acts.” Id. at 354-355.

Runs After accordingly illustrates the type of case in which legislative immunity is appropriate—

where adoption of tribal laws was directly at issue—which is not this type of case.

       In Wisconsin v. Baker, 464 F. Supp. 1377 (W.D. Wis. 1978), the Tribal Council passed,

and intended to enforce, ordinances to regulating hunting, fishing, ricing, trapping, and boating.
Id. at 1379.   The State of Wisconsin sought a judgment against Tribal Council members

declaring that the “promulgation and enforcement” of the laws was invalid. Id. The Tribal

Council members asserted legislative immunity, but the court found that legislative immunity did

not bar the claim because, “[d]espite the reference to promulgation of the codes, the action is

clearly directed toward defendants’ enforcement of the codes.” Id. at 1387. The court implied

that the enforcement of the codes was an exercise of executive powers, not legislative powers.

Id. The court also noted that the State did not seek to compel any legislative action. Id. Baker

accordingly illustrates that even some involvement of tribal lawmaking activity may not be

sufficient for the protection of legislative immunity to apply—if the action is primarily directed

toward something outside the legislative sphere, and does not seek to compel legislative action,

then legislative immunity may not be a bar.

       Also instructive is Tohono O’Odham Nation v. Ducey, No. 15-01135, 2016 WL 3402391

(D. Ariz. June 21, 2016) (unpublished).        In Ducey, a state official sought to compel the

production of notes, minutes, and agendas from closed sessions of two tribal legislative bodies,

and to compel witnesses to testify about discussions at those closed sessions. Id. at *1. The tribe

asserted legislative privilege. Id. at *3. In analyzing the question of legislative immunity for the

first tribal legislative body, the court found the following factors relevant: (1) that the closed

sessions involved ad hoc decision making (i.e., actions taken for a particular purposes rather than

for the general public good) rather than legislative action; (2) that the actions were narrowly


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focused—on efforts to purchase land to develop a casino; (3) that the actions were not legislative

in nature (the court noted that the tribe had not identified a single piece of relevant legislation);

and (4) that there were no hallmarks of traditional legislation—all that was revealed was that the

tribal legislative bodies discussed the project in closed session. Id. at *4-5. The court found that

the tribe had not shown that the relevant actions were legislative. Id. With respect to the other

tribal legislative body, two resolutions were potentially relevant, so the court concluded that it

would need to review notes pertaining to the two resolutions in camera to determine whether

they were entitled to legislative privilege. Id. at *5. The Ducey court also discussed the
possibility that it may be appropriate to qualify or limit legislative immunity in certain

circumstances. Id. at *5-6. 7 Ducey accordingly illustrates what types of tribal actions may be
legislative—those specifically relating to resolutions—and what types may not—ad hoc decision

making, project-specific administrative actions, etc.      It also illustrates the careful analysis,

specificity, and care that should go into these determinations (which, as discussed above, would

make dismissal at this stage inappropriate).

       The Second Amended Complaint neither alleges nor references any legislative acts—no

Tribal Council resolutions, no ordinances, no speech/deliberation regarding the same, no reports

regarding the same, nothing that would normally be construed as falling within the legislative

sphere. Nor have the Individual Defendants identified any such legislative acts. Thus, the

Individual Defendants have not shown that they are entitled to the protection of legislative

immunity.

       Nor does it appear that they can. While it is possible that the Individual Defendants may

have passed certain resolutions or laws that relate to the allegations in this case that could

ultimately be found entitled to the protection of legislative immunity, Mekko Thompson has also

alleged numerous other actions that are not of the type normally considered legislative, such as

ad hoc decision-making, administrative actions with respect to the casino project, failing to give

7
  This issue may become relevant if the Individual Defendants identify any actions that they
claim are entitled to legislative immunity.


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appropriate notice of the reinterment of his ancestors, conducting the reinterment with

“ceremonies” that violate the Muscogee (Creek) Nation religion, 8 issuing of press releases and
other non-legislative communications, and more. See, e.g., Dkt. 190 at 35-39, 47-48. These are

not legislative acts, so legislative immunity does not attach. In summary, dismissal on the basis

of legislative immunity would be premature, and legislative immunity does not attach to the

conduct alleged in any event.

       C.     Dismissal on the basis of the statute of limitations would not be appropriate,
       but even if it were, the outrage claim is timely.

       Dismissal on the basis of the statute of limitations would not be appropriate, but even if it

were, Mekko Thompson’s outrage claim is timely. The outrage claim is asserted as a continuing

tort, alleging a pattern of extreme and outrageous conduct by the Individual Defendants

continuing up to (and past) the filing of the original Complaint, and even the Second Amended

Complaint. As such, it is timely filed. Even if that were not the case, however, it relates back to

the filing of the original Complaint and is, accordingly, timely.


               1.      The outrage claim is timely.

       “The statute of limitations is an affirmative defense, so ‘a Rule 12(b)(6) dismissal on

statute of limitations grounds is appropriate only if it is apparent from the face of the complaint

that the claim is time-barred.’” Boyd v. Warden, Holman Corr. Facility, 856 F.3d 853, 872 (11th

Cir. 2017) (citation omitted). Yet instead of meeting their burden of showing that it is apparent

from the face of the complaint that the claim is time barred, the Individual Defendants concede

that “outrage sometimes can be a continuing tort under Alabama law,” Dkt. No. 205 at 18, and

that Mekko Thompson has alleged conduct “concluded by 2014 at the latest,” id. at 19. While

8
 Note that even prayer opening a legislative session should not be considered legislative. Doe v.
Pittsylvania Cty., 842 F. Supp. 2d 906, 916 (W.D. Va. 2012) (stating that “legislative immunity
only applies to activities integral to the legislative process and does not embrace non-legislative
acts such as opening prayers”). But see Dobrich v. Walls, 380 F. Supp. 2d 366, 376-77 (D. Del.
2005) (holding that school board members were entitled to legislative immunity in connections
with policies and practices adopted regarding opening prayers for meetings).


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Mekko Thompson disputes that the conduct in question concluded in 2014, these concessions by

the Individual Defendants demonstrate that dismissal is not appropriate because it is not apparent

from the face of the complaint that the claim is time barred. Moreover, as the following

discussion will illustrate, that is not the case here. Accordingly, the statute of limitations is not

currently an appropriate basis for dismissal.

       The outrage claim is timely. The statute of limitations begins to run upon the Individual

Defendants’ last tortious act. Here, Mekko Thompson has alleged a pattern of outrageous

conduct, continuing up to (and past) not only the filing of the original Complaint, but the Second
Amended Complaint as well. This constitutes a continuing tort of outrage that is not time barred.

Even if the statute of limitations were deemed to have begun running earlier (which it should not

be), the Second Amended Complaint relates back to the original Complaint, as discussed below,

and is therefore timely. The Alabama Supreme Court has held that the statute of limitations for

the tort of outrage is two years. Archie v. Enter. Hosp. & Nursing Home, 508 So. 2d 693, 695

(Ala. 1987). The statute of limitations normally begins to run not from the date of a defendant’s

actions, but rather from the date of the plaintiff’s injury. Payne v. Ala. Cemetery Ass’n, 413 So.

2d 1067, 1072 (Ala. 1982) (holding that where bodily remains and a casket went missing in

1975, the statute of limitations did not begin to run until 1979, when it was discovered that the

remains and casket were missing and the injury to the plaintiff actually occurred); see also

Stephens v. Creel, 429 So. 2d 278, 280 (Ala. 1983) (explaining in dicta that “in the tort context a

showing of injury or damage is an integral part of the cause of action”).

       However, the Alabama Supreme has also recognized that the tort of outrage may be a

continuing tort. Cont’l Cas. Ins. Co. v. McDonald, 567 So. 2d 1208, 1216 (Ala. 1990). This

term describes “a defendant’s repeated tortious conduct which has repeatedly and continuously

injured a plaintiff.” Moon v. Harco Drugs, Inc., 435 So. 2d 218, 220 (Ala. 1983). For statute of

limitations purposes, “an action such as this, arising from continuing dealings between the

parties, will not be barred until two years after the last tortious act by the defendant, particularly




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where the defendant's conduct does not cross the threshold and become an actionable tort until it

is demonstrably extreme and outrageous.” McDonald, 567 So. 2d at 1216 (emphasis added).

       In McDonald, the plaintiff alleged an ongoing pattern (going back five years or more, and

continuing until he filed suit) by an insurance company of delaying payments and refusing to pay

for medically necessary items in an attempt to get him to settle his medical claim. Id. at 1210,

1212, 1215-17, 1220. The defendant argued that the plaintiff’s outrage claim was barred by the

statute of limitations. Id. at 1215. The court held that it was not, because it was a “continuing

tort,” with the conduct “continuing even up to the time the action was filed.” Id. at 1217. Citing
the relatively high standard for an outrage claim, the court explained its reasoning as follows:

       Thus, there is clearly a threshold beyond which an insurance company's
       recalcitrance must go before it crosses into outrageous conduct. If we were to
       hold that McDonald was barred from bringing this action upon the expiration
       of…two years after the first time he suffered severe emotional distress over
       CNA’s handling of his claim, we would place plaintiffs in the untenable position
       of not knowing whether their claim is premature and thus subject to summary
       judgment for lack of a genuine question of material fact,…or has been in
       existence long enough for the period of limitations to run, as CNA argues here.
       The better policy would be to encourage cooperation and attempts to work out
       differences, like McDonald's attempts in this case, and to preserve the cause of
       action should those attempts prove futile.
Id. at 1216.   McDonald is the case most similar to the instant case, as well as the most

instructive. And it clearly contemplates that a plaintiff could suffer severe emotional distress as

a result of a defendant’s actions on numerous occasions, without the statute of limitations

beginning to run until the last of those occasions.

       By contrast, in Jennings v. City of Huntsville, 677 So. 2d 228 (Ala. 1996), the plaintiff

alleged actions by the defendants that culminated in, and ended with, the plaintiff’s arrest and

conviction.    Id. at 230.    The plaintiff sought to characterize the defendants’ actions as

“continuous torts,” claiming that their injuries to him continued and renewed every day he was in

jail and every day afterwards that the defendants remained silent about their actions.             Id.

Unsurprisingly, the court disagreed. Id. Likewise, in Moon, 435 So. 2d 218, the plaintiff alleged

personal injuries arising from a pharmacy selling the wrong insulin. Id. at 219. The court held


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that the injury occurred, and the cause of action accrued, when the plaintiff became ill from

taking the insulin, not when she later discovered she was taking the wrong insulin. Id. at 220.

Thus, the claim was time barred. Id. In an attempt to get around the statute of limitations, the

plaintiff attempted to argue that the pharmacy’s negligence constituted a “continuous tort,”

beginning on the date of the sale and continuing on every occasion when she injected herself

with the insulin. Id. at 221. This argument, if successful, would have brought the claim within

the statute of limitations. But the court rejected this plaintiff’s “continuous tort” argument as

well. Id. These cases are easily distinguishable from the present case. Both Jennings and Moon
involve one action, or a discrete set of actions, by the defendants with a definite end date,

followed by no further actions by the defendants, and expiration of the statutory limitations

period. Thus, the plaintiffs had to resort to artifice in their unsuccessful attempts to evade the

statute of limitations—that each day in jail, or each injection of insulin continued the defendants’

torts. As discussed below, that is not at all the case here, where the Individual Defendants’

conduct continued (and still continues) over an extended period.

       Here, as in McDonald, the Mekko Thompson has alleged an ongoing pattern of

outrageous behavior by the Individual Defendants that has repeatedly and continuously caused

him severe emotional distress going back numerous years, and continuing until (and past) the

filing of the original Complaint, as well as the Second Amended Complaint. That is the very

definition of a continuing tort of outrage.

       The allegations in both the original Complaint and the First Amended Complaint

emphasize the continuing nature of the outrage. The original Complaint specifies that:

       Defendants’ actions proximately caused and continue to cause harm to
       Plaintiffs. Plaintiffs are experiencing severe emotional distress because of
       the violation of the burial sites of their ancestors and the violation of their
       religious and cultural beliefs, including but not limited to their inability to
       respect their ancestors, pray on the ceremonial ground, and keep Hickory Ground
       sacred.




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 Dkt. No. 1 at 10, ¶ 39 (emphasis added); Dkt. No. 57 at 10, ¶ 39. The ground-disturbing

 activities (which ultimately continued with respect to excavation until 2011, and construction

 activities until 2014, see Dkt. No. 190 at 28, 32-33, ¶¶ 100-102, 132-133, “are damaging the

 Plaintiffs including but not limited to causing severe emotional, spiritual and dignitary

 harm,” Dkt. No. 1 at 16, ¶ 67; Dkt. No. 57 at 16, ¶ 67. The Second Amended Complaint alleges

 that “Poarch’s construction of a casino over the Plaintiffs’ sacred burial grounds, its removal of

 the Plaintiffs’ ancestors from what was intended to be their final resting place, and its

 mistreatment of the remains and artifacts has caused, and continues to cause, harm to the
 Plaintiffs,” who “bring this lawsuit to remedy past damage and stop further damage.” Dkt.

 No. 190 at 6, ¶¶ 6, 9 (emphasis added).             The Second Amended Complaint likewise

 specifies that that the harm and emotional distress from the outrageous conduct “is, and will be,

 continuing until such time as Poarch is required to take appropriate remedial measures.” Id. at

 52, ¶ 233 (emphasis added). It further alleges that some remains of Plaintiffs’ ancestors and

 other sacred items have still not been reinterred and are being mistreated and damaged, and

 that all remains located outside of their original burial locations will not be at peace until they

 are back in their intended final resting places. Id. at 17, 31, 50-52, ¶¶ 55-56, 60, 117-124,

 223, 225-233. All of these are atrocities in the Muscogee (Creek) religion that continue to

 cause severe emotional distress to Mekko Thompson. Id. at 50-52, ¶¶ 225-233. As then-

 Poarch chairman and Tribal Defendant Buford Rolin acknowledged in 2010, “the beliefs and

 customs of the [Hickory Ground ceremonial grounds leadership]” require “reinterment in

 [the original resting] place.” Id. at 37, ¶ 162. Both complaints seek an injunction to stop the

 continuing harm.     See Dkt. No. 1 at 24-25, ¶¶ 100-106; id. at 25 (requesting injunction

 enjoining Defendants from “disturbing the Hickory Ground premises” and “restor[ing] Hickory

 Ground to its pre-excavation condition and to reinter the remains and objects at the sacred

 places where they were excavated” in order to “stop such activities and prevent the harms

 [Plaintiffs] suffer.”); Dkt. No. 57 at 25-26, ¶¶ 100-106; Dkt. No. 190 at 58, 79-80, ¶ 261.




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       Accordingly, Mekko Thompson asserts that the Individual Defendants’ tortious acts

continue to the present. Even if the court were to adopt the Individual Defendants’ approach

(which it should not)—that the last allegedly tortious act concluded in 2014, with the completion

of construction of the Tribe’s hotel and gaming facility—the original Complaint (to which the

Second Amended Complaint relates back) was actually filed before that so it is not time barred.

The only other possible approach (which the court should not adopt either) would be to

determine that the statute of limitations began to run at some earlier date of injury. However, as

McDonald instructs (and as the discussion regarding elements of outrage in Section A, above
illustrates), that would involve an analysis and determination of precisely when, in the extended

course of continuing dealings between the parties, the threshold for the tort of outrage was met.

In other words, when did the Individual Defendants’ conduct become sufficiently outrageous,

and Mekko Thompson’s emotional distress become sufficiently severe, to establish the elements

of the tort of outrage? Such an analysis is not appropriate here for several reasons. First, as

discussed above, it goes beyond what is permitted for analysis of an affirmative defense in the

context of a Rule 12(b)(6) motion. Second, as discussed and illustrated in Section A, above, the

record is simply not yet developed enough to undertake such an analysis. And third, it would be

inconsistent with the McDonald court’s instruction that “[t]he better policy would be to

encourage cooperation and attempts to work out differences…and to preserve the cause of action

should those attempts prove futile.” 567 So. 2d at 1216. That is exactly what the Plaintiffs in

this case did, both before and after filing suit, see Dkt. No. 190 at 33-34, ¶¶ 139-144 (describing

extensive traditional dispute resolution efforts); Dkt. No. 156 (staying case in January 2018

pending settlement negotiations); Dkt. No. 161 (lifting the stay approximately a year and a half

year later, when settlement discussions were unsuccessful), and they should not now be

penalized for it. In summary, the outrage claim is timely.




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                        2.      Although it does not need to, the outrage claim relates back to
                                the filing of the original Complaint.

        It does not actually matter whether the outrage claim relates back to the filing of the

original Complaint because, as discussed in Section C.1 above, the outrage claim is a continuing

tort that continued up to (and past) even the filing of the Second Amended Complaint.

Assuming for the sake of argument that relation back was required, the outrage claim does

properly relate back to the filing of the original Complaint because (1) it arises out of the same

conduct, transaction, or occurrence set out in the original pleading; and (2) the Individual

Defendants were already parties to the case, and the Second Amended Complaint merely
clarifies that they are being sued in the individual capacities, as well as their official capacities.

                        a)      Change in capacity is not a change in parties.

        Rule 15(c)(1) of the Federal Rules of Civil Procedure 9 provides, in relevant part, that an
amendment to a pleading relates back to the date of the original pleading when:

        (B) the amendment asserts a claim or defense that arose out of the conduct,
        transaction, or occurrence set out—or attempted to be set out—in the original
        pleading; or
        (C) the amendment changes the party or the naming of the party against whom a
        claim is asserted, if Rule 15(c)(1)(B) is satisfied and if, within the period provided
        by Rule 4(m) for serving the summons and complaint, the party to be brought in
        by amendment:
                (i) received such notice of the action that it will not be prejudiced in
                defending on the merits; and
                (ii) knew or should have known that the action would have been brought
                against it, but for a mistake concerning the proper party's identity.


9
  Mekko Thompson agrees with the Individual Defendants’ assessment that that law is unsettled
as to whether Alabama or Federal Rules of Procedure govern relation back in cases like this one,
but that the rules and their interpretations are substantially similar. Chumney v. U.S. Repeating
Arms Co., 196 F.R.D. 419, 428 (M.D. Ala. 2000) (noting that the language of Alabama Rule of
Civil Procedure 15(c) is “virtually identical to its federal counterpart,” and that an Alabama state
court would have “presumably reached a result identical to the one which a federal court would
reach in applying Rule 15(c) of the Federal Rules of Civil Procedure.”); Ex parte Novus Utils.,
Inc., 85 So. 3d 988, 996 (Ala. 2011) (“We note that federal decisions construing the Federal
Rules of Civil Procedure are persuasive authority in construing the Alabama Rules of Civil
Procedure because the Alabama Rules were patterned after the Federal Rules.”).


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(emphasis added). Mekko Thompson asserts that a mere change in capacity, for a defendant who

is already a party, does not constitute a change in party for purposes of Rule 15(c)(1)(C). 6A

Wright & Miller, supra § 1498.2. (“An amendment by which plaintiff seeks to change the

capacity in which defendant is being sued also does not change the parties before the court and

typically will relate back without needing to meet the other requirements in Rule 15(c)(1)(C).”);

cf. First Nat’l Bank of Birmingham v. Chichester, 352 So. 2d 1371, 1373 (Ala. Civ. App. 1977)

(“Though the amendment here was designated as an addition of parties defendant, it was in fact

and effect a mere change in the capacity of the defendants…. Of course, the amendment related
back….”). The cases cited by the Individual Defendants are not to the contrary. For example, in

the case of Powers v. Graff, 148 F.3d 1223 (11th Cir. 1998), on which the Individual Defendants

primarily rely, the issue was not merely a change in capacity, but rather a change in parties. The

plaintiffs in that case originally sued a corporation then, in their Fourth Amended Complaint

three years later, added control persons of the corporation as defendants. Id. at 1225. Notably,

these defendants were not previously parties to the case in any capacity—they were entirely new

defendants. Id. at 1227-28. Therefore, Rule 15(c)(1)(C) did not apply in Powers.

       Accordingly, the outrage claim need only assert a claim or defense that arose out of the

conduct, transaction, or occurrence set out—or attempted to be set out—in the original pleading,

which it does. An amended complaint relates back to the original complaint when “the same

substantial facts are pleaded merely in a different form.” Prior v. Cancer Surgery of Mobile,

P.C., 959 So. 2d 1092, 1095 (Ala. 2006). In Prior, a plaintiff’s amended complaint made new

factual allegations, and attempted to hold a defendant vicariously liable for the actions of a

different doctor, on a different day, from what she had alleged in the original complaint. Id. at

1097. The court found that the amended complaint did not relate back. Id. By contrast, in

Callens, 769 So. 2d 273, the plaintiff amended her complaint to add claims for personal injury

and negligent hiring, training, and supervision. Id. at 276. The plaintiff alleged that the new

claims arose out of the same events as the claims in the original complaint. Id. at 278. The court

reversed the trial court’s dismissal of the new claims, stating that it was possible that the


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negligent acts alleged could have related back to the date of the original complaint. Id. Here, the

Individual Defendants do not dispute that the outrage claim “arose out of the conduct,

transaction, or occurrence set out—or attempted to be set out—in the original pleading” as

required by Rule 15(c)(1)(B). Therefore, the court should conclude that the outrage claim relates

back to the filing of the original Complaint.

                       b)      The outrage claim relates back to the initial filing.

       Even if the change in capacity did constitute a change in party (which it did not), the
outrage claim should still relate back under Rule 15(c). “The purpose of the relation back

concept is to permit a claim to be tried on its merits rather than being dismissed based on a

technicality so long as the purpose underlying the statute of limitations has been satisfied.” Ex

parte Novus Utils., Inc., 85 So. 3d 988, 997 (quoting Mitchell v. CFC Fin., LLC, 230 F.R.D.

548, 549–50 (E.D. Wis. 2005)); see also James Wm. Moore, Moore's Federal Practice §

15.19(3)(a) (3d ed. 2020).

       The primary purpose of statutes of limitation is to ensure that defendants have
       notice of an action against them before evidence has been lost or becomes
       unavailable and with enough time to prepare an adequate defense. Thus, if a
       party has been notified of litigation involving a specific factual occurrence, it has
       received the protection that the statute of limitations requires. Under such
       circumstances, courts should freely grant leave to amend.

 Ex parte Novus Utils., 85 So. 3d at 997 (internal citations omitted). Even the case primarily
 relied upon by the Individual Defendants, Powers, notes that “the relation back provisions of

 Rule 15 are to be somewhat liberally applied.” 148 F.3d at 1226.

       The sole basis for the Individual Defendants’ argument that the outrage claim does not

relate back is that it is levied against “newly-added” defendants. Dkt. No. 205 at 6, 16-18.

While their argument might hold water if these defendants were truly brand new to the

litigation and did not have notice of the claims against them, under Rule 15(c),

amendments to the capacity in which existing defendants are named do relate back and are

timely if the original complaint against such defendants was timely.



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       Here, all nine Tribal Council defendants that Plaintiffs name in their individual and

official capacities in the Second Amended Complaint were already named in the First Amended

Complaint in their official capacities. Compare Dkt. N o . 57 at 5, ¶ 13, with Dkt. No. 190 at

9, ¶ 24. 10 Relation back under Rule 15(c) focuses on whether defendants were aware of the
claims asserted against them in an amended complaint within the statute of limitations.

Tellingly, the only cases cited by the Individual Defendants involve addition of entirely new

parties to the lawsuit, and not amendments like this one that are limited to the capacity in which

existing defendants are named. See, e.g., Powers, 148 F.3d at 1225 (involving the addition of

control persons of a corporation as defendants, when they had not been previously made

defendants in any capacity).

       Numerous courts have rejected the Individual Defendants’ argument that a proposed

amendment to the capacity in which an existing defendant is named does not relate back because

the initially-named capacity should be deemed an affirmative choice by the plaintiff not to name

the correct defendant.   In Itel Capital Corp. v. Cups Coal Co., 707 F.2d 1253 (11th Cir.

1983), the Eleventh Circuit held that an amendment adding a company owner as a defendant

related back because the original complaint named his company as a defendant. Id. at 1258.

The court held that as owner of the company, he “was on notice as to the action when it was

first filed,” and “knew or should have known, but for a mistake by [the plaintiff], that he

would have been named as a defendant when the complaint was filed.” Id. The Individual

Defendants seize on the word “mistake,” arguing that the outrage claim cannot relate back

10
  As the Supreme Court made clear in Krupski v. Costa Crociere S.p.A., 560 U.S. 538 (2010),
“focusing on [Plaintiffs’] knowledge” regarding defendants’ identities, as the Individual
Defendants do here, is “the wrong starting point.” Id. at 548. “Rule 15(c)(1)(C)(ii) asks what
the prospective defendant knew or should have known…, not what the plaintiff knew or
should have known at the time of filing her original complaint.” Id. Furthermore,
“[n]othing in the case law or in the text of Rule 15(c) limits its applicability to
unsophisticated plaintiffs, particularly in light of the Supreme Court’s repeated statements
in Krupski that it is a defendant’s knowledge that is relevant for Rule 15(c) analysis.”
Patrick v. Garlick, 66 F. Supp. 3d 325, 328 (W.D. N.Y. 2014) (quoting Gerloff v. Hostetter
Schneider Realty, No. 12-9404, 2014 WL 1099814, at *5 (S.D.N.Y. Mar. 20, 2014)).



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because it was not a “mistake” not to name the Individual Defendants in their individual

capacities originally. See, e.g., Dkt. No. 205 at 14-17. However, the Itel court also instructs that

“we read the word ‘mistake’ in Rule 15(c) liberally.” Itel, 707 F.2d at 1258 n.9.

       In Hill v. Shelander, 924 F.2d 1370 (7th Cir. 1991), the Seventh Circuit found that an

amendment naming a defendant police officer in his individual capacity related back where the

prior complaints did not identify a capacity. Id. at 1377-78. The Seventh Circuit reversed the

district court’s grant of summary judgment on statute of limitation grounds, concluding that:

       [the plaintiff’s] amendment relates back to the filing of the suit because [the
       officer] was already before the court and the effect of the amendment was merely
       to correct the capacity in which he was sued. Since there was no surprise
       to defendant, and because plaintiff satisfied the requirements of Rule 15(c), it is
       fair and wholly consistent with the spirit of the Rule to permit relation back.

Id. at 1378. The court added that “[e]ven if [the plaintiff’s] first complaint named [the officer]

in his official capacity rather than in no capacity at all, it would be entirely consistent with

Rule 15(c) to permit relation back” because the plaintiff sought redress for alleged injuries the

officer personally inflicted on the plaintiff and alleged that the officer bore responsibility

for using excessive force. Id.

       Indeed, “[i]t would be a bizarre result were this Court to hold that a plaintiff could amend

his complaint under Rule 15(c) when he identified the wrong defendant, but could not amend his

complaint when the right defendant is named in the wrong capacity.” Id. at 1377.                “The

very purpose underlying relation back is to permit amendments to pleadings when the

limitations period has expired, so long as the opposing party is not unduly surprised or

prejudiced,” and a mere amendment to capacity “greatly reduces the risk that a party will be

without notice, because the party itself has already been identified correctly and has received

notice.” Id. Because “Rule 15(c) is a liberal pleading rule designed to prevent parties from

nipping legitimate grievances in the bud by asserting formal objections,” preventing

amendment “would carve out a restrictive exception to Rule 15(c), inconsistent with its broad

purposes.” Id.


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       Similar facts have resulted in the same outcomes in the Fourth, Fifth, and Eighth Circuits.

See Robinson v. Clipse, 602 F.3d 605, 609-10 (4th Cir. 2010) (finding amendment related back

where plaintiff sought to replace defendant police department with police officer in his

individual capacity); Sanders-Burns v. City of Plano, 594 F.3d 366, 379-80 (5th Cir. 2010)

(amendment naming police officer in individual capacity related back where officer was already

a defendant by virtue of being named in his official capacity; “relation back is appropriate

because the defendant is already before the court” (internal citation and quotation omitted));

Sunkyong Int’l, Inc. v. Anderson Land & Livestock Co., 828 F.2d 1245, 1251-52 (8th Cir. 1987)
(plaintiff’s proposed amendment related back where plaintiff sought to name defendants in their

individual capacities and as trustees, and original complaint named defendants only in

individual capacity; “[a]n amendment which simply changes the capacity in which a person is

sued, without changing the ultimate liability sought to be imposed, relates back to the date of

filing the original complaint” (internal citations and quotation marks omitted)).

       Here, the nexus for purposes of notice is identical to the nexus in Hill and much closer

than the nexus in Itel. All the individual Council members of the Poarch Band—and not just

the Poarch Band itself—were named in the original complaint. Furthermore, in the original

complaint, Plaintiffs alleged that, given Defendants’ knowledge that Hickory Ground “contained

the burial sites of Plaintiffs’ ancestors” and has “historical, cultural, and spiritual significance to

Plaintiffs,” “[i]t was for[e]seeable that excavating the human remains and associated

funerary objects of Plaintiffs’ ancestors would cause emotional harm to Plaintiffs.” Dkt. No. 1

at 10, ¶ 38; Dkt. No. 57 at 10, ¶ 38.           Plaintiffs also alleged that “Defendants’ actions

proximately caused and continue to cause harm to Plaintiffs,” who “are experiencing severe

emotional distress because of the violation of the burial sites of their ancestors and the

violation of their religious and cultural beliefs, including but not limited to their inability to

respect their ancestors, pray on the ceremonial ground, and keep Hickory Ground sacred.”

Dkt. No. 1 at 10, ¶ 39; Dkt. No. 57 at 10, ¶ 39.




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       The Tribal Defendants responded by asserting that Poarch tribal officials “retain

sovereign immunity when acting in their official capacity.” Dkt. No. 101 at 3. Thus, the

Tribal Defendants knew, or should have known, that the emotional distress claims were

intended to be against them in their individual capacities. See, e.g., Hill, 924 F.2d at 1378

(holding that even if plaintiff had expressly named the defendant in his official capacity in

plaintiff’s original complaint (rather than not specifying capacity), the fact that plaintiff

sought a remedy unavailable in an official capacity suit effectively notified defendant that the

lawsuit was against him personally); Sanders-Burns, 594 F.3d at 378 (5th Cir. 2010) (finding
that defendant was sufficiently notified because “[t]he inclusion of the affirmative defense of

qualified immunity…suggests that the attorney representing [the defendant] in his official

capacity, is likely to have communicated to [the defendant] that he may have been sued in

his individual capacity”). Thus, the Tribal Defendants’ response indicated that they were on

notice that, but for misnomer by Plaintiffs, they would have been named in their individual

capacities.

       The Tribal Defendants cite no case in which amended pleadings to make a change in

capacity has been held to bar relation back under Rule 15(c).         Instead, the overwhelming

weight of authority allows relation back where the amendment merely changes the capacity in

which the defendant is named.       Furthermore, “[c]onstructive notice satisfies Rule 15(c)’s

requirements and can be imputed to a new defendant through her attorney if that attorney

also represents the parties originally sued.” Lindley v. Birmingham, 652 F. App’x 801, 804

(11th Cir. 2016). Thus, Mekko Thompson’s outrage claim relates back.

                                     V.     CONCLUSION

       Mekko Thompson has stated a plausible claim for outrage. And neither legislative

immunity nor the statute of limitations provides an appropriate basis for dismissal. Accordingly,

the Court should deny the Individual Defendants’ motion to dismiss in its entirety. If the motion

is granted to any extent, Plaintiffs request that the Court condition such dismissal on the ability



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of Plaintiffs to submit a revised complaint. This is consistent with the liberal policy in favor of
allowing amendments under Fed. R. Civ. P. 15(a)(2) (the “court should freely give leave when

justice so requires.”). See also Espey v. Wainwright, 734 F.2d 748, 750 (11th Cir. 1984).



       Respectfully submitted this 6th day of July, 2020.



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                                        Certificate of Service

        I hereby certify that on the 6th day of July, 2020, I caused to be electronically filed the

foregoing document with the Clerk of Court using the CM/ECF system which will send

notification of such filing to all parties entitled to receive notice.



                                                s/ Lauren J. King
                                                Lauren J. King, Of Counsel




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                    IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

MUSCOGEE (CREEK) NATION, et al.,     )
                                     )
      Plaintiffs,                    )
                                     )
vs.                                  )
                                     )           Civil Action Number:
POARCH BAND OF CREEK INDIANS, et     )         2:12-cv-01079-MHT-CSC
al.,                                 )
                                     )
      Defendants.                    )
                                     )


 PLAINTIFFS’ RESPONSE AND MEMORANDUM IN SUPPORT OF RESPONSE TO
 TRIBAL DEFENDANTS’ MOTION TO DISMISS SECOND AMENDED COMPLAINT
                  AND SUPPLEMENTAL COMPLAINT
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APA:                      Administrative Procedures Act

ARPA:                     Archaeological Resources Protection Act

BIA:                      Bureau of Indian Affairs

Federal Defendants: United States Department of the Interior, National Park Service, Bureau of
                    Indian Affairs, Tara Sweeney (the Assistant Secretary for Indian Affairs
                    within the Department of the Interior), David Vela (Acting Director of the
                    National Park Service within the Department of the Interior), and David
                    Bernhardt (Secretary of the United States Department of the Interior).

IGRA:                     Indian Gaming Regulatory Act
IRA:                      Indian Reorganization Act

NAGPRA:                   Native American Graves Protection and Repatriation Act

NHPA:                     National Historic Preservation Act

NPS Agreement:            National Park Service Agreement, Dkt. 190-1, Ex. I

Poarch:                   Poarch Band of Creek Indians

RFRA:                     Religious Freedom Restoration Act

RLUIPA:                   Religious Land Use and Institutionalized Persons Act

SHPO:                     State Historic Preservation Officer

THPO:                     Tribal Historic Preservation Officer

Tribal Defendants:        Poarch, the PCI Gaming Authority, the officials in charge of those
                          entities, 1 and the Poarch Tribal Historic Preservation Officer




1
 For Poarch, these officials are Tribal Council members Stephanie Bryan, Robert McGhee, Amy Bryan, Charlotte
Meckel, Dewitt Carter, Sandy Hollinger, Keith Martin, Arthur Mothershed, and Garvis Sells. Dkt. 190 at 8. For PCI
Gaming Authority, these officials are Board members Westly Woodruff, Billy Smith, Eddie Tullis, Teresa Poust,
and Timothy Manning. See Dkt. 207 at 1; Dkt. 190 at 8-9.


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                                    I.      INTRODUCTION
       Plaintiffs Muscogee (Creek) Nation, Hickory Ground Tribal Town, and Mekko George

Thompson seek relief from this Court for the systematic, wrongful, and ongoing desecration of

the sacred historic burial place of their ancestors at Hickory Ground caused by the excavation,

construction and operation of an opulent and highly profitable casino by the Poarch Band of

Creek Indians. Poarch dug up Plaintiffs’ ancestors from their intended final resting places, with

some remains and related artifacts removed from the site entirely, while others were scattered

about the site and then paved over or buried beneath the buildings.

       Poarch’s conduct, and the conduct of the individually-named defendants, represents a
shocking betrayal of unequivocal commitments made by Poarch when it acquired the Hickory

Ground property. Poarch assured Plaintiffs and represented in its application for federal

preservation grants that it would protect the property from excavation and development in

perpetuity. As a result, Plaintiffs did not oppose that acquisition or Poarch’s efforts to have the

land taken into trust by the Federal government. The Tribal Defendants then reneged on their

promises and desecrated Hickory Ground in pursuit of profit.

       Poarch and the Federal Defendants later entered into an agreement that obligated Poarch

to take on cultural and historic preservation obligations imposed by various federal statutes.

Poarch and its officials violated that agreement and the applicable federal laws by failing to

consult with, or obtain consent from, Plaintiffs before conducting excavation and construction at

Hickory Ground. The Federal Defendants failed in their independent obligations to oversee and

enforce those obligations, and by allowing the illegal conduct. Plaintiffs are now barred from

exercising and fulfilling the tenets of their religion because they are prevented from returning

their ancestors to their rightful resting places and conditions.

       Defendants do not dispute that Hickory Ground was and is a sacred place, that Plaintiffs’

ancestors were buried there, or that the ancestors have been ripped from the resting place that the

Tribal Defendants promised Plaintiffs they would preserve in perpetuity. Instead, they raise a
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plethora of technical legal reasons why they cannot be held responsible for the harm they have

caused.

          At this stage of the litigation, Plaintiffs’ only obligation is to allege a “short, plain

statement of the case” demonstrating that their claim for relief is plausible. For the reasons

explained in detail below, Plaintiffs have more than met that burden. Plaintiffs request that the

Court deny the motions to dismiss in their entirety and allow this litigation to proceed so that

these claims can be presented for resolution on the merits based on a fully developed record.

                                      II.      BACKGROUND
          This case arises from the Poarch Band of Creek Indians’ desecration of the sacred

grounds and burial places of Plaintiffs’ ancestors in Wetumpka, Alabama. The Muscogee

(Creek) Nation, Hickory Ground Tribal Town, and the Tribal Town chief, Mekko Thompson,

know this sacred place as “Hickory Ground.” Poarch acquired Hickory Ground by promising it

would always preserve and protect the site. Instead, it removed over 57 bodies of Plaintiffs’

ancestors, and thousands of Plaintiffs’ cultural artifacts, from the sacred place to bulldoze it for

construction of Poarch’s third casino. Plaintiffs brought this lawsuit to seek redress for this

greedy, tragic, outrageous, and illegal act.

          The Hickory Ground Tribal Town was one of over forty Tribal Towns within the

Muscogee (Creek) Nation before the Nation was forcibly removed from Alabama to Oklahoma

Territory in the early 1800s on the Trail of Tears. Hickory Ground was the last tribal capital of

the Muscogee (Creek) Nation before removal. The members of the Hickory Ground Tribal Town

took the embers from the ceremonial grounds at Hickory Ground on their long journey to

Oklahoma Territory to maintain their sacred ties to their homeland and the original birthplace of

their Tribal Town. The members of the modern-day Hickory Ground Tribal Town are matrilineal

descendants of those buried at Hickory Ground in Alabama, and continue their centuries-old

religious ceremonies today. See Dkt. 190 at 7, 13, 72–73.

          Although Poarch never historically resided at Hickory Ground, it acquired Hickory

Ground in 1980 using federal preservation grant funds. In its application for the funds, Poarch


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promised that it would “prevent development on the property” and preserve Hickory Ground

“without excavation.” See id. at 19. Poarch emphasized that this preservation would benefit

Plaintiffs: because Hickory Ground “is of major importance in the history of the Muscogee

(Creek) Nation,” the Site would “be a place where Creeks from Oklahoma may return and visit

their ancestral home; the “existing Hickory Ground tribal town in Oklahoma” in particular “will

be pleased to know their home in Alabama is being preserved.” Id. Vowing that its purchase of

Hickory Ground would save the property from being demolished by development, Poarch

cautioned that “[d]estruction of archaeological resources in Alabama . . . destroy[s] the cultural
history of Creek people.” Id. at 5.

        The federal government awarded the requested preservation grant funds to Poarch.

Pursuant to the standard terms of preservation grant awards, a protective covenant was placed on

Hickory Ground for 20 years. Despite its repeated promises to protect the sacred site, Poarch

began a years-long desecration of Hickory Ground after the covenant expired in 2000 to clear the

land for construction of its third casino. Dkt. 190 at 24–44. At the time, Poarch already had

casinos in Atmore and Montgomery. Poarch did not notify the Muscogee (Creek) Nation about

the excavations until 2006. Id. at 33. 2
        To make way for the $246 million casino resort, Poarch exhumed over 57 human remains

of Plaintiffs’ ancestors and removed thousands of artifacts in a massive excavation that
concluded in 2011. In 2012, Poarch unilaterally reburied many of these remains away from their

original resting places, using invented ceremonies that disrespected the dead and left the spirits


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  Plaintiffs dispute the Tribal and Federal Defendants’ assertions that Plaintiffs knew in 1992 or 2002 that Poarch
did not plan to abide by its promises to preserve Hickory Ground. For example, a Bureau of Indian Affairs
Archeologist and Federal Preservation Officer issued a Briefing Statement to the Assistant Secretary of Indian
Affairs recounting that Poarch conducted limited exploratory testing at the Site around 1992 “to determine if some
portion of the site could be developed without damaging archeological resources,” and such activity “ceased after
1993” after the testing found “no area where such resources were totally absent.” Dkt. 200-2 at PDF p. 29. Indeed,
as of April 1999, Poarch’s Office of Cultural and Historic Field Methodology had a policy that “‘[u]nder no
circumstances are the burials on the Poarch Creek Indians Reservations, or lands under their control, to be
excavated, nor are they to be subjected to any examination or testing. Burial sites take precedence over any project
or program plan.’” Dkt. 190 at 25-26 (quoting Dkt. 190-1, Ex. J). Hickory Ground Tribal Town’s October 19, 2002
letter ultimately states that Hickory Ground Tribal Town heard rumors through third parties that Poarch may be
disturbing the site, and “hope[s] this is not the case.” Dkt 200-1 at PDF page 26; see also Dkt. 190 at 26, ¶ 92.


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of Plaintiffs’ ancestors in perpetual unrest. Many remains and artifacts have never been reburied.

Id. at 5–6, 30–37.

       The Department of the Interior, National Park Service, and Bureau of Indian Affairs

facilitated Poarch’s desecration of Hickory Ground by illegally providing assistance to Poarch

and failing to comply with applicable law.

       Poarch’s mistreatment of Plaintiffs’ ancestors and cultural items, and the Federal

Defendants’ facilitation of this mistreatment, violated the National Historic Preservation Act,

Native American Graves Protection and Repatriation Act, Archaeological Resources Protection
Act, Religious Freedom Restoration Act, Indian Reorganization Act, Poarch’s preservation

agreement with the National Park Service, and Poarch’s promises to protect Hickory Ground

“without excavation.” In addition, Poarch has been unjustly enriched to the tune of hundreds of

millions of dollars through its breach of its promises to protect Hickory Ground in perpetuity.

Dkt. 190 at 46–48, 53–76. Now, having affirmatively chosen to move forward with construction

without legal basis, even after Plaintiffs filed this lawsuit, Poarch calls the casino “improvements

on the property” that it insists it should get to keep. Dkt. 202 at 72. The law does not allow this.

       Plaintiffs brought this action to bring peace to their ancestors by returning them to their

intended final resting places in accordance with their religious duties. Plaintiffs seek to hold

Poarch to its promises to protect and preserve Hickory Ground, and to hold Federal Defendants

to their obligations under the law. Hickory Ground should be restored, to the greatest extent

possible, to its condition prior to construction of the casino. The remains and artifacts should be

returned to their original resting places.

                       III.    STANDARD FOR MOTION TO DISMISS

       Rule 8(a)(2) of the Federal Rules of Civil Procedure requires only a “short and plain

statement of the claim showing that the pleader is entitled to relief.” Rule 12(b)(6) allows a party

to assert by motion a defense of “failure to state a claim upon which relief can be granted.” To

survive a motion to dismiss under Rule 12(b)(6), a complaint must contain sufficient factual

matter, accepted as true, to “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal,


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556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A

claim has facial plausibility when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id.

“[O]nce a claim has been stated adequately, it may be supported by showing any set of facts

consistent with the allegations in the complaint.” Twombly, 550 U.S. at 563.

       “Specific facts are not necessary; the statement need only ‘give the defendant fair notice

of what the . . . claim is and the grounds upon which it rests.’” Erickson v. Pardus, 551 U.S. 89,

93 (2007) (alteration in original) (quoting Twombly, 550 U.S. at 555). “In addition, when ruling
on a defendant’s motion to dismiss, a judge must accept as true all of the factual allegations

contained in the complaint.” Id. at 93–94. The court must assume that the factual allegations set

forth in the complaint are true and must construe them in the light most favorable to the plaintiff.

Reese v. Ellis, Painter, Ratterree & Adams, LLP, 678 F.3d 1211, 1215 (11th Cir. 2012); Arthur

v. Thomas, 974 F. Supp. 2d 1340, 1343 (M.D. Ala. 2013). All reasonable inferences must be

drawn in the plaintiff’s favor. K.T. v. Royal Caribbean Cruises, Ltd., 931 F.3d 1041, 1043 (11th

Cir. 2019).

       A motion under Rule 12(b)(6) does not pose the question of whether the plaintiff can

ultimately prevail on the merits—“a well-pleaded complaint may proceed even if it strikes a

savvy judge that actual proof of those facts is improbable, and ‘that a recovery is very remote

and unlikely.’” Twombly, 550 U.S. at 556; see also 5B Charles Alan Wright & Arthur R. Miller,

Federal Practice & Procedure § 1357 (3d ed. 2020) (“Whether the plaintiff ultimately can

prevail on the merits is a matter properly determined on the basis of proof, which means on a

summary judgment motion or at trial by the judge or a jury, and not merely on the face of the

pleadings.”). The burden of persuasion is on the party moving under Rule 12(b)(6) to

demonstrate that no legally cognizable claim for relief exists. Cohen v. Bd. of Trs. of the Univ. of

the D.C., 819 F.3d 476, 481 (D.C. Cir. 2016) (quoting 5B Wright & Miller, supra § 1357) (“All

federal courts are in agreement that the burden is on the moving party to prove that no legally
cognizable claim for relief exists.”). The complaint may be dismissed “only if it is clear that no


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relief could be granted under any set of facts that could be proved consistent with the
allegations.” Hishon v. King & Spalding, 467 U.S. 69, 73 (1984).

                                      IV.     ARGUMENT

A.     Tribal Defendants’ authority does not include unchecked power to violate
       applicable law; they do not have sovereign immunity under Ex Parte Young.

       1.      Defendants Poarch Band of Creek Indians and PCI Gaming do not have
               sovereign immunity from Plaintiffs’ claims against them as delegees of
               federal authority.
       Plaintiffs have sued the Poarch Band (“Poarch”) and PCI Gaming in their capacities as

delegees of federal preservation responsibilities under the National Historic Preservation Act

(“NHPA”). These responsibilities also include obligations to comply with related laws, including

the Native American Graves Protection and Repatriation Act and the Archeological Resources

Protection Act. Specifically, the Second Amended Complaint alleges that “[a]s a delegee of

federal functions, Poarch and its officials performing the delegated functions are federal actors,

liable as federal officials” and that “[w]hen the National Park Service delegates its authority, the

delegee carries out the delegated responsibilities on behalf of the National Park Service. Poarch’s

assumption of responsibility under the NHPA pursuant to federal law means that Poarch acts as a

de facto government agency with respect to the delegated responsibilities.” Second Amended

Complaint, Dkt. 190 at 55, 64. The Second Amended Complaint also alleges that, among other

things, Poarch and its agents failed to comply with the NHPA responsibilities delegated by the
National Park Service. See id. at 55, 64–69. These responsibilities incorporate obligations under

the Native American Graves Protection and Repatriation Act, see 54 U.S.C. § 306102(b)(5)(C),

and the Archaeological Resources Protection Act, see 36 C.F.R. § 800.2(a)(1).

       Poarch and PCI Gaming cannot have it both ways: they cannot accept federal “legal

responsibility” under the NHPA and their agreement with the National Park Service and at the

same time retain sovereign immunity. Such a result would impermissibly allow the federal

government and its delegees to frustrate the purpose of the Administrative Procedure Act’s

waiver of sovereign immunity.


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       The Administrative Procedure Act (“APA”) generally waives the federal government’s
immunity from a suit “seeking relief other than money damages and stating a claim that an

agency or an officer or employee thereof acted or failed to act in an official capacity or under

color of legal authority” and further provides that anyone “suffering legal wrong because of

agency action, or adversely affected or aggrieved by agency action within the meaning of a

relevant statute, is entitled to judicial review thereof.” 5 U.S.C. § 702.

       “[T]he APA is a waiver of sovereign immunity in cases to which it applies. . . .” Wonders

v. Crutchfield, No. 1:12-CV-514-WKW, 2013 WL 2453535, at *4 (M.D. Ala. June 4, 2013)

(quoting 5 U.S.C. § 702). The APA applies “except to the extent that—(1) statutes preclude

judicial review; or (2) agency action is committed to agency discretion by law.” 5 U.S.C. §

701(a). The Supreme Court has held that “judicial review of a final agency action by an

aggrieved person will not be cut off unless there is persuasive reason to believe that such was the

purpose of Congress.” Abbott Labs. v. Gardner, 387 U.S. 136, 140 (1967) (quoting 5 U.S.C. §

702), abrogated on other grounds by statute as recognized in Califano v. Sanders, 430 U.S. 99,

105 (1977).

       This protection for aggrieved persons—the right for judicial review—does not simply

disappear when the agency delegates its authority to another entity, as the National Park Service

did here in its agreement delegating National Historic Preservation Act responsibilities to
Poarch. Instead, the delegation comes with a mandate that the “agency official”—defined as “a

State, local, or tribal government official” who has been delegated federal responsibilities—take

“legal and financial responsibility for section 106 compliance in accordance with subpart B of

this part [“the Section 106 process”].” 36 C.F.R. § 800.2 (emphasis added). Put differently, the

delegee steps into the shoes of the agency that made the delegation in the first place.

       Thus, when NPS delegated preservation responsibilities to Poarch, Poarch was required,

among other things, to:

       a.      Follow Section 106 of the NHPA in accordance with the regulations codified at

               36 C.F.R. § 800 et seq., which mandates consultation with any tribe that attaches


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                religious and cultural significance to a historic site, see 16 U.S.C. §§ 470a(d)(6),
                470f; 36 C.F.R. § 800.1 et seq.;

         b.     ”[P]articipat[e] in the historic preservation program and “consult[] with

                representatives of any other tribes whose traditional lands may have been within

                the Poarch Band of Creek Indians Reservation”; and

         c.     “In any case where an action arising pursuant to the [NHPA]may affect the

                traditional lands of another Tribe . . . seek and take into account the views of that

                Tribe.”

NPS Agreement, Dkt. 190-1 at 117 §§ 5, 7; see also Second Amended Complaint, Dkt. 190 at

24–25.

         Under Tribal Defendants’ theory of the case, aggrieved persons could seek redress where

federal authority is exercised by federal agencies in violation of applicable law, but not if the

exact same authority is exercised by a federal delegee in violation of applicable law. Although

the delegee would not have the authority to act but for the federal delegation, the Tribal

Defendants contend that the accompanying accountability falls into the ether after delegation

occurs. Such a result would be absurd and “would make a sham of the reconsideration required

by federal law.” Arlington Coal. on Transp. v. Volpe, 458 F.2d 1323, 1329 (4th Cir. 1972)

(jurisdiction over the delegee’s action prevents “emasculation of remedy clearly available against
the federal respondents”).

         The Tenth Circuit addressed a similar delegation issue in Caddo Nation of Oklahoma v.

Wichita & Affiliated Tribes, 786 F. App’x 837, 840–42 (10th Cir. 2019). In that case, the Caddo

Nation sued the Wichita Tribe for violations of the National Historic Preservation Act in

developing an area that may have been located on grave sites. The Wichita Tribe’s development

project was funded using a Department of Housing and Urban Development (“HUD”) grant,

which empowered HUD to delegate its responsibilities and “require that a grantee like

Wichita Tribe comply with both NEPA and NHPA.” Id. at 840 (citing 42 U.S.C. § 3535(d); 24

C.F.R. §§ 58.1, 58.4, 58.5, 1003.605). The Wichita Tribe moved to dismiss Caddo Nation’s


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complaint on the basis of tribal sovereign immunity. The district court rejected this defense but
dismissed the complaint on other grounds. On cross-appeal, the Wichita Tribe challenged the

district court’s conclusion that the claims were not barred by sovereign immunity.

       The Tenth Circuit Court of Appeals affirmed the district court’s conclusion that the

Caddo Nation’s claims were not barred by sovereign immunity because HUD had delegated its

National Historic Preservation Act responsibility to the Wichita Tribe. The court explained that

“[b]y specifically accepting and assuming HUD’s rights, duties, and obligations to act in

conformity with NEPA and NHPA, Wichita Tribe waived its sovereign immunity for just the

type of APA-based suit at issue in this case.” Id. at 841. In reaching this conclusion, the court

observed that the statutory and regulatory scheme “could not be more clear: HUD can condition

the provision of a grant to an Indian tribe on the tribe’s acceptance of HUD’s obligation to

comply with NEPA and NHPA, an obligation enforceable via the APA.” Id. at 840

(citing 5 U.S.C. § 702; 42 U.S.C. §§ 5304(g), 5306(a)). That is precisely why the Poarch

delegees have no sovereign immunity to Muscogee (Creek) Nation’s APA-based claims.

       Similarly, in James River & Kanawha Canal Parks, Inc. v. Richmond Metropolitan

Authority, the court held that because the Richmond Metropolitan Authority “purposefully

availed itself of the benefits of federal laws,” it “constitute[d] a waiver of sovereign immunity as

to the requirements of the federal statutes involved.” 359 F. Supp. 611, 624 (E.D. Va.
1973), aff'd, 481 F.2d 1280 (4th Cir. 1973). In that case, the plaintiff challenged the proposed

construction of an expressway that would require destruction or relocation of the historically

significant James River and Kanawha Canal. Among other things, the plaintiff sought

compliance with the NHPA. The court held that jurisdiction over this claim extended to the

United States defendants and “to the nonfederal defendants as well, since it is alleged that they

have taken advantage of the benefits conferred by federal law and because their activities could

otherwise make a ‘sham’ of federal statutory requirements if these requirements must be met in

this case.” Id. at 622 (citing Arlington Coalition on Transportation v. Volpe, 458 F.2d 1323,

1329 (4th Cir. 1972)). See also S.C. Wildlife Fed’n v. Limehouse, 549 F.3d 324, 330 (4th Cir.


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2008) (“Where ‘the challenged activities’ of state actors ‘would make a sham of the
reconsideration required by federal law,’ federal courts may entertain suits against state actors ‘to

preserve federal question jurisdiction in the application of federal statutes.’”) (quoting Arlington

Coalition, 458 F.2d at 1329); Named Individual Members of San Antonio Conservation Soc. v.

Texas Highway Dep’t, 446 F.2d 1013, 1028 (5th Cir. 1971) (by accepting federal funding and

participation, the state “voluntarily submitted itself to federal law. It entered with its eyes open,

having more than adequate warning of the controversial nature of the project and of the

applicable law.”).

       Here, as in Caddo Nation and James River, Poarch has accepted federal benefits in the

form of a delegation of National Historic Preservation Act authority and acceptance of

preservation grant funds. The NPS Agreement and the applicable regulations obligate Poarch to

comply with federal law, and Poarch certified it would comply in the NPS Agreement. See NPS

Agreement, Dkt. 190-1 at PDF p. 117 §§ 5, 7. A ruling that Poarch and its agents were not

subject to the very laws with which they certified they would comply would render the

certification meaningless and would allow circumvention of laws that carry out vital policies of

national importance—like protecting historically significant places.

       2.      Tribal official Defendants are not immune from Ex Parte Young claims for
               ongoing violations of applicable law.
       Under the doctrine of Ex Parte Young, tribal sovereign immunity does not bar a suit for

prospective relief against tribal officers allegedly acting in violation of applicable law. See

Michigan v. Bay Mills Indian Community, 572 U.S. 782, 796 (2014); Santa Clara Pueblo v.

Martinez, 436 U.S. 49, 59 (1978) (“As an officer of the [tribe], [the tribe’s governor] is not

protected by the tribe’s immunity from suit”). The Eleventh Circuit expressly held in Alabama v.

PCI Gaming Authority that Poarch tribal officials were not immune from a claim alleging that

they were “engaged in ongoing conduct that violates federal law,” noting that “[s]everal other

circuits similarly have held that the Ex parte Young doctrine applies to make tribal officials




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subject to suit to enjoin ongoing violations of the Constitution or federal law.” 801 F.3d 1278,
1288 & n.19 (11th Cir. 2015). 3

        The “applicable law” implicating the Ex Parte Young doctrine as it pertains to tribal

officials includes federal law, PCI Gaming, 801 F.3d at 1288, including federal common law,

Crowe & Dunlevy, P.C. v. Stidham, 640 F.3d 1140, 1156 (10th Cir. 2011), and state law, see Bay

Mills, 572 U.S. at 796; PCI Gaming, 801 F.3d at 1290. “Given that tribal immunity arises from

tribes’ statuses as sovereigns, it is unremarkable that they too can be sued for prospective,

injunctive relief based on violations of [applicable] law,” including applicable state law. Gingras

v. Think Fin., Inc., 922 F.3d 112, 121-24 (2d Cir. 2019), cert. denied sub nom. Sequoia Capital

Operations, LLC v. Gingras, 140 S. Ct. 856 (2020).

        “In determining whether the doctrine of Ex parte Young avoids an Eleventh Amendment

bar to suit, a court need only conduct a ‘straightforward inquiry into whether [the] complaint

alleges an ongoing violation of [applicable] law and seeks relief properly characterized as

prospective.’” Va. Office for Prot. and Advocacy v. Stewart, 563 U.S. 247, 255 (2011)

(alterations in original) (quoting Verizon Md. Inc. v. Pub. Serv. Comm’n of Md., 535 U.S. 635,

645 (2002)).

        The Tribal Defendants’ principal argument is that the Young doctrine does not apply

because the Tribal Officials’ violations of law are not ongoing. Dkt 202 at 11–14. They also
argue that if the Tribal Officials are engaged in ongoing violations of law (they are), the Young

doctrine still wouldn’t apply because Plaintiffs’ claims implicate “special sovereignty interests.”

Id. at 11. Not so. The Second Amended Complaint plainly alleges the ongoing violations for

which Plaintiffs seek prospective injunctive relief. The “special sovereignty interests” exception

to the doctrine has been cabined to the facts from Idaho v. Coeur d’Alene Tribe of Idaho, 521

U.S. 261 (1997), and the claims here do not approach those facts in any way.

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  These other circuits include the D.C. Circuit, the Eighth Circuit, the Ninth Circuit and the Tenth Circuit. See
Vann v. Kempthorne, 534 F.3d 741, 750 (D.C. Cir. 2008); N. States Power Co. v. Prairie Island Mdewakanton Sioux
Indian Cmty., 991 F.2d 458, 460 (8th Cir.1993); Burlington N. & Santa Fe Ry. Co. v. Vaughn, 509 F.3d 1085, 1092
(9th Cir. 2007); Crowe & Dunlevy, P.C. v. Stidham, 640 F.3d 1140, 1154 (10th Cir. 2011).


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                    a) The Complaint alleges ongoing violations of law.

       Tribal Defendants advocate a standard for “ongoing violations” that would insulate a

sovereign actor’s ongoing harm from judicial review whenever it is caused by an action taken in

the past. That result would turn Ex Parte Young on its head.
       Three cases from the Eleventh Circuit demonstrate that actions in the past can result in

ongoing harm for which injunctive relief is available under Ex Parte Young. In Curling v.

Secretary of State of Georgia, the Eleventh Circuit rejected the defendants’ contention that the

Plaintiffs had not alleged an ongoing violation of law because their claims centered on the

unreliability of voting machines in past elections. 761 F. App’x 927, 932 (11th Cir. 2019). The

Court held that the showing of the past unreliability of the machines was to show “that past is

prologue to their future injuries caused by the same election system.” Id. (citing Lynch v. Baxley,

744 F.2d 1452, 1456 (11th Cir. 1984) (“Past wrongs do constitute evidence bearing on whether

there is a real and immediate threat of repeated injury which could be averted by the issuing of

an injunction.”).

       Similarly, a state inmate’s claim for injunctive relief was allowed to proceed under Ex

Parte Young because the failure to remedy the loss of his court files constituted an ongoing

violation of his right of access to the court. Schwindler v. Comm’r, Ga. Dep’t of Corr., 605 F.

App’x 971 (11th Cir. 2015). The Eleventh Circuit emphasized that “most importantly,” the

inmate was seeking “the replacement of his lost or destroyed files, to the extent possible,” and

that the district court had improperly “ignored the possibility that the Commissioner’s continued

refusal to attempt to replace the files that were lost . . . is itself an ongoing violation” of the

inmate’s right to have access to the courts. Id. at 972; see also Lane v. Cent. Ala. Cmty. Coll.,

772 F.3d 1349, 1351 (11th Cir. 2014) (reaffirming that requests for reinstatement after loss of

employment “constitute prospective injunctive relief that fall within the scope of

the Ex parte Young exception”).

       Finally, Hollywood Mobile Estates Ltd. v. Cypress, 415 F. App’x 207 (11th Cir. 2011),

illustrates the difference between what does and does not fall within the ambit of Ex Parte


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Young. A landlord sued to recover possession of certain leased premises and for rents collected
from subtenants. The defendant was the Seminole Tribe of Florida. The Eleventh Circuit held

that Ex Parte Young’s sovereign immunity exception did not apply to the business’s request for

return of rent, because it was a request for monetary damages from a past legal breach “rather

than a prospective request for relief.” Id. at 209. However, the exception did apply to the

business’s request for an injunction compelling them to return possession of the leased premises.

Id. The Eleventh Circuit rejected the Seminole Tribe’s argument that the injunction request was

not prospective because “it would remedy past, rather than future, harms” and “really requests an

undoing of what was done in the past.” Id. The court reasoned that the alleged past wrong

(eviction) gave rise to the ongoing harm of depriving the business of its right to occupy the

property. Id. The court concluded that the business’s request for an injunction “directing the

tribal defendants to restore it to the property” constituted prospective relief that would “cure [the]

ongoing violation,” and the tribal officials therefore did not have immunity to the claim. Id.

       As Curling, Schwindler, and Hollywood Mobile Estates indicate, the appropriate inquiry

to determine whether a claim alleges an ongoing violation is whether the plaintiff seeks

injunctive relief, as opposed to damages. “If the violation has ceased, the only remedy available

would be retrospective compensatory damages, which are barred by the Eleventh Amendment;”

thus, Ex Parte Young cannot be employed where “a pattern of illegal conduct by [government]
officers ceases” such that injunctive relief would not provide a remedy. 13 Wright & Miller, Fed.

Prac. & Proc. § 3524.3 (3d ed.). Importantly, “[t]he line between retroactive and prospective

relief cannot be so rigid that it defeats the effective enforcement of prospective relief.” Hutto v.

Finney, 437 U.S. 678, 690 (1978). Thus, a plaintiff who “seeks a declaration of the past, as well

as the future, ineffectiveness of the [defendant]’s action” does not run afoul of Ex Parte Young

so long as the plaintiff does not seek monetary damages from a past breach of legal duty from the

sovereign via its officials (named in their official capacities). Verizon Md., Inc., 535 U.S. at 646.

       Plaintiffs seek declarations of the illegality of certain of the Tribal Officials’ past

conduct, but seek only prospective, non-monetary relief against them designed to address the


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ongoing harm from that conduct. Plaintiffs’ claims therefore satisfy the “straightforward inquiry”
into whether the complaint alleges an ongoing violation of law and seeks prospective relief. Each

claim is addressed in turn.

                               (1) Count I: Ongoing violation of the Indian Reorganization Act.

       Count I alleges that, because Poarch was not “under federal jurisdiction” within the

meaning of the Indian Reorganization Act, 25 U.S.C. § 5123 et seq., the Secretary did not have

authority to take land into trust for Poarch and the land is “properly considered fee land subject

to state, not federal, law.” Dkt. 190 at 45. If so, “[g]aming on the Hickory Ground Site is thus not

legal under applicable Alabama law and the Indian Gaming Regulatory Act.” Id. at 46.

       Count I is is a claim against the Secretary, not Poarch, and does not require Poarch’s

involvement, as discussed in Section IV.J below. However, Plaintiffs address Poarch’s

arguments here.

       Tribal Defendants attempt to dismiss Count I by advancing a “heads I win, tails you lose”

proposition. See Dkt. 202 at 12–13. They argue that if the land is not validly in trust, then it is not

subject to the Indian Gaming Regulatory Act and there is no violation under that statute. If the

land is validly held in trust, then the gaming there is lawful under the Indian Gaming Regulatory

Act. But Plaintiffs specifically allege that gaming is not legal under “applicable Alabama law” as

well as the Indian Gaming Regulatory Act. Dkt. 190 at 46.

       If the legal basis for gaming at the Hickory Ground site is the Indian Gaming Regulatory

Act, that statute requires that the gaming occur on “Indian lands,” which are limited to trust and

reservation lands. This requirement is not met if the land is not validly in trust. See Indian

Gaming Regulatory Act, 25 U.S.C. §§ 2703(4), 2710 (defining “Indian lands”; stating that tribes

may engage in gaming on “Indian lands” subject to certain restrictions). Nor would the gaming

be legal under state law. For example, Alabama Code Section 13A enumerates numerous

criminal gambling offenses that would apply to the gambling activity at Hickory Ground.

       In Bay Mills—which also involved a question of whether a tract of land qualified as



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“Indian lands”—the Supreme Court specifically stated that the State of Michigan could pursue

state law claims against Bay Mills officials under Ex Parte Young:

       Michigan could bring suit against tribal officials or employees (rather than the
       Tribe itself) seeking an injunction for, say, gambling without a license. See [Mich.
       Comp. Laws Ann.] § 432.220; see also § [Mich. Comp. Laws Ann.]
       600.3801(1)(a) (West 2013) (designating illegal gambling facilities as public
       nuisances). As this Court has stated before, analogizing to Ex parte Young, 209
       U.S. 123, 28 S.Ct. 441, 52 L.Ed. 714 (1908), tribal immunity does not bar such a
       suit for injunctive relief against individuals, including tribal officers, responsible
       for unlawful conduct. See Santa Clara Pueblo, 436 U.S., at 59, 98 S.Ct. 1670.

Bay Mills, 572 U.S. at 795–96 (emphasis in original). Accordingly, “tribal officials may be

subject to suit in federal court for violations of state law under the fiction of Ex parte

Young when their conduct occurs outside of Indian lands.” PCI Gaming, 801 F.3d at 1290. “The

Supreme Court has already blessed Ex parte Young-by-analogy suits against tribal officials for

violations of state law,” and “[t]here is a minimal intrusion on sovereignty if federal courts are

available as forums for enforcing violations of a state’s law against tribal officials because tribes

cannot empower their officials to violate [applicable] state law.” Gingras, 922 F.3d at 121–22.

       The Tribal Defendants’ motion to dismiss conveniently ignores Plaintiffs’ allegations that

gaming at Hickory Ground is illegal under state law. See Dkt. 190 at 46. Just as tribes are not

empowered to authorize their officials to violate applicable federal law, they also lack the power

to authorize their officials to violate applicable state law. Thus, Count I alleges a violation of

applicable law, regardless of whether Hickory Ground is considered fee or trust land.

       Count I also alleges an ongoing violation of law. The Eleventh Circuit already held that a

plaintiff adequately alleged ongoing violations of law by alleging that gaming at a site was

illegal because the site was not validly held in trust. “Because [the plaintiff] alleges that the

Individual [Poarch] Defendants are engaged in ongoing conduct”—namely, gambling on lands

not validly taken into trust—“that violates federal law, the Individual Defendants are not entitled

to immunity.” PCI Gaming, 801 F.3d at 1288, 1290.




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       Similarly, here Plaintiffs allege that Tribal Officials are engaged in ongoing conduct—

violation of applicable state and federal law—and resolution of certain of Plaintiffs’ causes of

action depends on whether Hickory Ground was validly taken into trust.

                              (2) Counts II and V: Ongoing Unjust Enrichment.

       Counts II and V allege (under state and federal law, respectively) that Poarch unjustly

enriched itself by acquiring the Hickory Ground Site without objection from Plaintiffs based on

promises that it would perpetually protect the Site, and enjoying ongoing profits based on

contraventions of those promises. Dkt. 190 at 46-48. Poarch promised, among other things, that

it would provide “permanent protection of the site”; and that “Hickory Grounds may also be a

place where Creeks from Oklahoma may return and visit their ancestral home.” Id. at 46-47.

       These counts allege an ongoing violation of state and federal law: they allege that Poarch

is continuing to be unjustly enriched because, instead of providing “permanent protection of the

Site” as it promised, Poarch is operating a casino resort “that is generating hundreds of millions

of dollars in gambling and resort revenues” while sacred remains and burial objects remain

displaced from their intended resting places. Id. at 46-48.

       Counts II and V also seek prospective relief to remedy the ongoing violation: Plaintiffs

ask the Court to “impose equitable remedies, among other things, requiring the Poarch Council

Defendants, PCI Gaming Authority Board Defendants, and Poarch THPO to abide by Poarch’s

promises and restore the property, to the greatest extent possible, to its preexcavation and pre-
construction condition.” Id. at 48. Similar to the prospective claim in Schwindler seeking

“replacement of [] lost or destroyed files, to the extent possible,” Counts II and V seek to remedy

the continuing unjust enrichment by means of an injunction requiring the return of displaced

sacred items and restoration of the Site to the extent possible. This prospective relief would

remedy the ongoing failure of the Poarch Council Defendants, PCI Gaming Authority Board

Defendants, and Poarch THPO to fulfill the promise of “permanent protection of the Site.”




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                               (3) Counts III and VI: Promissory Estoppel.

       Counts III and VI allege (under state and federal law, respectively) that Poarch promised

the Muscogee (Creek) Nation and Hickory Ground that it would preserve the Hickory Ground

Site in perpetuity; that the Muscogee (Creek) Nation relied on that promise in not objecting to

(and instead supporting) Poarch’s acquisition of the site, and that Poarch was aware that if

Poarch had instead disclosed that it would desecrate the site, the Muscogee (Creek) Nation

would have sought to prevent the acquisition. Second Amended Complaint, Dkt. 190 at 48-49.

       These counts allege an ongoing violation of state and federal law: they allege that Poarch

is continuing to violate state and federal law regarding promissory estoppel by continuing to
desecrate the Site in violation of its promise to protect the site, to the detriment of Plaintiffs. Id.

at 46-48.

       Counts III and IV also seek prospective relief to remedy the ongoing violation: Plaintiffs

ask the Court to “impose equitable remedies, among other things, requiring the Poarch Council

Defendants, PCI Gaming Authority Board Defendants, and Poarch THPO to abide by Poarch’s

promises and restore the property, to the greatest extent possible, to its preexcavation and pre-
construction condition.” Id. at 49. As with the unjust enrichment claim, these counts seek to

remedy Poarch’s continuing failure to fulfill its promise to permanently protect the Site by means

of an injunction requiring the return of displaced sacred items to their intended final resting

places and restoration of the Site to the extent possible.

                               (4) Count VII: Ongoing violations of the Native American Graves
                                   Protection and Repatriation Act.

       Count VII alleges that Tribal Defendants violated the Native American Graves Protection

and Repatriation Act (“NAGPRA”) by failing to (1) consult with, and obtain consent of, the

Muscogee (Creek) Nation, before intentionally removing or excavating Native American cultural

items; and (2) dispose of any removed items in accordance with NAGPRA, under which Mekko

Thompson has the right to custody of human remains and funerary objects and the Muscogee




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(Creek) Nation has the right to custody of all other cultural items at the Site. See Second

Amended Complaint, Dkt. 190 at 53-58.

       Count VII alleges an ongoing violation of federal law: it alleges that the Tribal Officials

are violating NAGPRA by failing to give custody of the human remains and funerary objects

from the Hickory Ground Site to Mekko Thompson (id. at 55-56), failing to give custody of

other cultural items found at the Site to the Muscogee (Creek) Nation (id.), and failing to comply

with the inadvertent discovery, consent, and consultation requirements of NAGPRA, resulting in

ongoing improper treatment, storage, and displacement of the excavated items (id. at 56-57).
Tribal Defendants admit that Plaintiffs “may allege an ongoing violation of federal law” in their

claims that they are entitled to repatriation of remains and artifacts. See Dkt. 202 at 13 n.8.

       Count VII also seeks prospective relief: an injunction requiring the Tribal Officials to

come into compliance with NAGPRA by seeking the consent of the Muscogee (Creek) Nation to

the excavation and construction, and reversing any unconsented-to actions, including restoration

of the site to the extent possible if the Nation does not consent to any excavation or construction

that was subject to NAGPRA. Id. at 58. In addition, even if the Court determines consent is not

required, NAGPRA requires that excavated items subject to NAGPRA be given to Mekko

Thompson and the Nation, as described above. Id. at 55-56.

                               (5) Count IX: Ongoing violations of the Archeological Resources
                                   Protection Act.

       Count IX alleges that Tribal Officials violated the Archeological Resources Protection

Act (“ARPA”) by failing to meet the prerequisites for excavation at the Hickory Ground Site.

See Second Amended Complaint, Dkt. 190 at 61-63. In other words, the items at the Site never

should have been excavated because the legal prerequisites were not met, and the excavated

items were wrongfully displaced, and continue to be wrongfully displaced, from the Site. This is

the very thing the Archeological Resources Protection Act seeks to avoid.

       Thus, Count IX alleges an ongoing violation: the continuing wrongful displacement of

the excavated remains and other items from the archaeological site. Id.


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       Count IX also seeks prospective relief: an injunction requiring the Tribal Officials to

come into compliance with the Archeological Resources Protection Act by seeking the consent

of the Muscogee (Creek) Nation to the excavation and other activities subject to the

Archeological Resources Protection Act, and reversing any unconsented-to actions, including

restoration of the site to the extent possible if the Nation does not consent to any such activity.

Id. at 64. In addition, even if the Court determines consent is not required, the Archeological

Resources requires that excavated items subject to the Act be curated in accordance with

particular requirements under the law. Id. at 63.

                               (6) Count X: Ongoing violations of the National Historic
                                   Preservation Act.

       Count X alleges that Tribal Officials violated the National Historic Preservation Act by

failing to carry out its obligations as a delegee of federal preservation responsibilities under the

Act. See Second Amended Complaint, Dkt. 190 at 64-69. (specifying multiple failures and

violations of delegated duties). As a result, damage is occurring at the Site that could have been

avoided had Tribal Officials fulfilled their legal responsibilities, including ongoing mistreatment

of the excavated remains and items. Id. at 5, 6, 31, 70. This ongoing mistreatment includes

improper storage and handling of remains and items that have yet to be reburied and continued

displacement of all remains and items from their intended resting places, id.—displacement that
never would have occurred if Defendants had complied with the law.

       Count X alleges ongoing violations: the continuing wrongful displacement and improper

treatment of the excavated remains and other items from the Site. Id. at 5, 6, 31, 64-71.

       Count X also seeks prospective relief: an injunction requiring Tribal Officials to comply

with the National Historic Preservation Act and consult with the Muscogee (Creek) Nation

during restoration of the Site to avoid or mitigate further adverse effects to the Site. Id. at 72.




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                                     (7) Counts XI and VIII: Ongoing violations of the Free Exercise
                                         Clause, Religious Freedom Restoration Act, and Religious
                                         Land Use and Institutionalized Persons Act.

         Counts XI and VIII allege an ongoing violation of federal law: it alleges that the Tribal

Officials are substantially burdening Plaintiffs’ religious obligations to (1) remove their

ancestors from what is in Plaintiffs’ religion akin to purgatory by returning them to their

intended resting places and (2) adhere to religious protocol in the reburial and maintenance of the

Site thereafter. Second Amended Complaint, Dkt. 190 at 72-76, 59-61.

         Plaintiffs also seek prospective relief: an order requiring Tribal Officials to “cease

preventing Plaintiffs from fulfilling their religious obligations” by restoring the Site to its pre-
excavation condition. Id. at 76, 78-79.
         One key, common thread runs through all counts against Tribal Officials in the Second

Amended complaint: Plaintiffs seek prospective relief for ongoing violations of law. Nowhere is

there a claim for damages against Tribal Officials for past acts. All counts therefore satisfy the

“straightforward inquiry” required under Ex Parte Young.

                       b) None of Plaintiffs’ claims implicate “special sovereignty interests.”
         The Tribal Officials claim that even if they are committing ongoing violations of

applicable law, their “special sovereignty interests” prevent the application of the Young

doctrine. “Special sovereignty interests” are a “unique” and “narrow” exception to Young

established by the Supreme Court in Idaho v. Coeur d'Alene Tribe of Idaho, 521 U.S. 261

(1997). Nearly all appellate circuit courts that have addressed this exception after the Verizon

Court clarified the “straightforward inquiry” under Ex Parte Young have either (1) held that

Couer d’Alene applies only where “an action implicates the exact issues of Coeur d'Alene itself,

namely navigability of waters or the state’s control over submerged lands,” 4 or (2) held that the

exception no longer exists after Verizon. 5
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 Lacano Investments, LLC v. Balash, 765 F.3d 1068, 1074 (9th Cir. 2014) (internal citations and quotations
omitted); see also:
    x Eleventh Circuit: Hollywood Mobile Estates, 415 Fed. Appx. at 211 (explaining that the interests must be
         of the type in Coeur d’Alene, i.e., “the functional equivalent of a quiet title action against the state”); Lane
         v. Cent. Alabama Cmty. Coll., 772 F.3d 1349, 1351 (11th Cir. 2014) (observing that the exception in Coeur


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           Last year in Curling, the Eleventh Circuit limited Coeur d’Alene to its facts. 761 F. App'x
927, 933–34 (11th Cir. 2019) (Couer d’Alene was an “unusual case” with facts that gave rise to a

narrow exception to Ex parte Young). The Eleventh Circuit in Curling held that there was

nothing so unusual about the claim that state election officials weren’t comporting with the

Constitution that “warrants applying Coeur d’Alene Tribe’s narrow exception.” 761 F. App’x at

934. In making this observation, the court relied on the Tenth Circuit’s opinion in Tarrant Reg’l

Water Dist. v. Sevenoaks, 545 F.3d 906, 912 (10th Cir. 2008). That case held that Verizon limited

the “reach” of Coeur d’Alene Tribe, and the Tenth Circuit later clarified that Verizon eliminated

the special sovereignty interests inquiry from the Ex Parte Young analysis altogether. Muscogee

(Creek) Nation v. Pruitt, 669 F.3d 1159, 1167 n.4 (10th Cir. 2012) (citing Verizon, 535 U.S. at

645; Hill v. Kemp, 478 F.3d 1236, 1259 (10th Cir.2007); see also Columbian Fin. Corp. v. Stork,

702 F. App’x 717, 722 (10th Cir. 2017) (“we have recognized that, after Verizon Maryland, this

inquiry [regarding special sovereignty interests] is no longer required”).

           This case does not implicate the issues involved in Coeur d’Alene. The facts are instead

similar to those in Hollywood Mobile Estates, 415 Fed. Appx. 207, where a business sued tribal

officials to regain possession of leased premises from the tribe from which the business was

           d’Alene was driven by the “particular and special circumstances” of that case, and holding that the
           exception did not apply because “[t]his case is not like Coeur d’Alene”).
      x    D.C. Circuit: Vann v. Kempthorne, 534 F.3d 741, 756 (D.C. Cir. 2008) (“we cannot extend Coeur
           d'Alene beyond its ‘particular and special circumstances,’ 521 U.S. at 287, 117 S.Ct. 2028, which involved
           the protection of a State's land”);
5
    See:
       x   Fifth Circuit: Williams On Behalf of J.E. v. Reeves, 954 F.3d 729, 739 (5th Cir. 2020) (“We have never
           before applied the holding of Coeur d’Alene in a context outside of the unique land rights challenge in that
           case. . . . To the contrary, this circuit has rejected the idea that Coeur d’Alene affects the traditional
           application of Ex parte Young.”) (internal quotations and citations omitted).
      x    Seventh Circuit: Indiana Prot. & Advocacy Servs. v. Indiana Family & Soc. Servs. Admin., 603 F.3d 365,
           372 (7th Cir. 2010) (“Although Coeur d'Alene Tribe seemed to introduce a new balancing approach (and
           new uncertainty) to the application of Ex parte Young, . . . the Supreme Court then turned away from that
           balancing approach [involving special sovereignty interests] in Verizon Maryland and returned to the
           “straightforward” inquiry into “whether [the] complaint alleges an ongoing violation of federal law and
           seeks relief properly characterized as prospective.” 535 U.S. at 645); Ameritech Corp. v. McCann, 297 F.3d
           582, 588 (7th Cir.2002) (“While the Supreme Court [in Coeur d'Alene Tribe] seemed to advocate this
           balancing approach, a majority of the Court in Verizon rejected it.”).
      x     Tenth Circuit: Muscogee (Creek) Nation v. Pruitt, 669 F.3d 1159, 1167 n.4 (10th Cir. 2012) (noting that
           the special sovereignty interests exception was abrogated by Verizon).



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allegedly wrongfully ejected. The tribal officials argued that the business’s claims should be

barred under Coeur d'Alene because it implicated special sovereignty interests, given that the

relief the business sought required “(1) ordering the tribal council members into session; (2)

compelling them to place matters on the agenda contrary to established procedures; and (3)

forcing members to abandon their obligations of office and vote as the court has directed,

contrary to the interests of the Tribe.” Id. at 210. The Eleventh Circuit rejected the argument that

Coeur d'Alene applied on those facts:

        Here, the requested injunction would merely affect the tribe's possessory rights to
        the property for the remainder of the lease term. It would not remove the land
        from the tribe's jurisdiction or permanently deprive the tribe of its property
        interests. The fact the tribal officials may have to take a vote to effect compliance
        with such an injunction does not create a “special sovereignty interest.” We
        therefore hold that the district court erred in concluding the relief sought
        implicates special sovereignty interests. Instead, we hold, based on this record and
        these parties, that HME’s request for an injunction restoring it to the premises is
        not barred by tribal sovereign immunity.
Id. at 211.

        Here, the Tribal Officials make the same “special sovereignty interests” arguments as the

tribal officials in Hollywood Mobile Estates. And, as in Hollywood Mobile Estates, Tribal

Officials alleged sovereignty interests do not merit application of Coeur d’Alene.

        First, this court’s clarification that the Wetumpka property was not validly taken into trust
in 1984 under the Indian Reorganization Act would not “extinguish” Poarch’s “control over a

vast reach of lands and waters long deemed . . . to be an integral part of its territory.” Coeur

d'Alene, 521 U.S. at 282. The Wetumpka property would still be under Poarch’s control, just in

fee status—as it always should have been since Poarch’s acquisition of the property in 1980.

        Nor is the Wetumpka property “long deemed” to be Poarch’s territory. Poarch acquired it

in 1980, and in its application for federal recognition, Poarch acknowledged that it did not

historically occupy or control the land. Poarch’s professed origin was in the “small geographic

area” of “an eighteen-mile radius” around Tensaw, Alabama. See Recommendation and

Summary of Evidence for Proposed Finding for Federal Acknowledgment, p. 1-2 of 121 (Dec.


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29,       1983),        available        at       https://www.bia.gov/sites/bia.gov/files/assets/as-
ia/ofa/petition/013_prchcr_AL/013_pf.pdf. Individuals who resided in part of the Muscogee

(Creek) Nation’s territory—which spanned most of what later became Alabama, including what

is now Wetumpka—did so pursuant to permission from the Nation. Id. at 3 (these individuals

“applied for and were given permission by the council of the Creek Nation to settle on the

Alabama-Tensaw River lands”).

       Second, the promissory estoppel claims in the Second Amended Complaint do not seek to

give Plaintiffs’ “de facto control of the property,” as Tribal Defendants allege (dkt. 202 at 15).

Instead, the claims seek injunctive relief to compel Poarch officials to comply with Poarch’s

own promises. Poarch’s promises that Hickory Ground would be permanently protected so that

“Creeks from Oklahoma may return and visit their ancestral home” where their ancestors were

buried are sufficient to establish a constructive trust to fulfill those promises. Dkt. 190-1, Ex. A

at PDF pp. 4-5, 7; see infra at 40 to 50. That Poarch is now unhappy with its own promises does

not give it special sovereign interests to break them.

       Third, issuance of an affirmative injunction directing Poarch officials to restore Hickory

Ground to its pre-excavation state does not implicate special sovereignty interests. That relief is

in keeping with Poarch’s own promises that it acquired Hickory Ground to prevent development

of the property and preserve it for the Muscogee (Creek) Nation in recognition that it was the
Nation. It is also in keeping with various other laws that prohibited excavation and development

on the property, including but not limited to the Native American Graves Protection and

Repatriation Act, the Archeological Resources Protection Act, the National Historic Preservation

Act, and the Religious Freedom Restoration Act. When Plaintiffs filed this suit, Poarch was just

beginning construction. Poarch and its officials chose to continue construction knowing that it

was illegal, and now argue that because construction is completed, this Court cannot require it to

comply with applicable law by undoing what the law prohibited it from doing in the first place.

Because governmental authorities have an obligation to cure violations of law, “judicial authority

may be invoked” if those authorities “fail in their affirmative obligations,” and “the scope of a


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district court's equitable powers to remedy past wrongs is broad, for breadth and flexibility are
inherent in equitable remedies.” Hutto, 437 U.S. at 687 n.9 (internal quotation and citation

omitted). These powers include “bring[ing] an ongoing violation to an immediate halt.” Id.

       As in Curling, Plaintiffs’ claims seek injunctive relief to bring Tribal Defendants into

compliance with applicable law. Quite simply and logically, a tribe “has no interest in protecting

a sovereignty concern that has been taken away” in the form of applicable law prohibiting certain

conduct. Vann v. Kempthorne, 534 F.3d 741, 755-56 (D.C. Cir. 2008). “The tribe does not just

lack a ‘special sovereignty interest’ in [conduct that would violate applicable law]—it

lacks any sovereign interest in such behavior.” Id. at 756.

       The Tribal Defendants have no special interest in conducting their affairs in a manner that

violates the law. The Tribal Defendants are not immune from Plaintiffs’ claims.

B.     The Plaintiffs’ Indian Reorganization Act claim should not be dismissed for lack of
       subject matter jurisdiction and failure to state a claim upon which relief can be
       granted.

       Because Plaintiffs’ Indian Reorganization Act claim is against Secretary Bernhardt, not

Tribal Defendants, and because Tribal Defendants and Federal Defendants raise the same

arguments in support of their motion to dismiss Plaintiffs’ Indian Reorganization Act claim,

Plaintiffs address both groups of Defendants’ arguments in Section IV.A of their Response to the

Federal Defendants’ Motion to Dismiss.

C.     The Plaintiffs’ promissory estoppel claim should not be dismissed.
       Plaintiffs’ promissory estoppel claim asserts that, in acquiring Hickory Ground, Poarch

promised to protect the Site from development and preserve the culturally significant historical
and burial grounds for Plaintiffs’ benefit. Dkt. 190 at 48. Plaintiffs relied on this promise by

cooperating with Poarch’s application to purchase the Site and foregoing other potential avenues

to block development on these sacred cultural grounds. Id. Plaintiffs therefore ask this Court to

impose the equitable remedies of an injunction and a constructive trust to halt Poarch’s misuse of

Hickory Ground and restore the Site to its original state. Id.



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        Tribal Defendants contend that Plaintiffs’ promissory estoppel claim is barred by the

statute of limitations and the statute of frauds. See Dkt. 202 at 26–32. These defenses fail,

however, because both erroneously presuppose that Plaintiffs’ claim sounds in contract. As

discussed below, Alabama case law makes clear that that promissory estoppel is an equitable

remedy, and the nature of the claim must be analyzed on a case by case basis. Because Plaintiffs

seek the imposition of a constructive trust, rather than monetary damages or the enforcement of a

specific contractual term, their claim is properly characterized as one in the nature of recovery of

land. Accordingly, the applicable 10-year statute of limitations has not yet run, and the statute of
frauds is inapplicable.

        Tribal Defendants also contend that Plaintiffs have failed to state a claim for promissory

estoppel. Dkt. 202 at 32–37. But Plaintiffs have plausibly alleged that they detrimentally relied

on Poarch’s representation that it would preserve Hickory Ground for the cultural benefit of the

Muscogee (Creek) Nation. While Tribal Defendants may dispute the veracity of these

allegations, Plaintiffs have met their burden at this early stage to plausibly allege the elements of

promissory estoppel.

        1.       The promissory estoppel claim is timely.

                      a) A ten-year statute of limitations governs the promissory estoppel claim.

        Tribal Defendants argue that the promissory estoppel claims 6 are time-barred by the two-
year statute of limitations in Alabama Code § 6-2-38(l). This statute does not apply to Plaintiffs’

promissory estoppel or unjust enrichment claims because they do not assert a claim in the nature

of damages for personal injury as contemplated by Alabama Code § 6-2-38(l).



6
  The Second Amended Complaint includes a count of promissory estoppel under state law in the event the Court
rules in Plaintiffs’ favor on Count I (under the Indian Reorganization Act) and a count of promissory estoppel under
federal law in the event the Court does not rule in Plaintiffs’ favor on Count I. See Second Amended Complaint,
Dkt. 190, Counts III and VI at 48-49, 53. As the controlling law and relevant facts are substantially the same
regardless of which claim is operative, as the Tribal Defendants have treated them as a single claim for purposes of
their brief, Plaintiffs treat them as a single claim in this brief as well. The Plaintiffs will do the same for the
alternatively pled unjust enrichment claims, as the Tribal Defendants did in their brief. Second Amended Complaint,
Dkt. 190, Counts III and VI at 46-48, 53.


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        Rather, these claims are rooted in equity and seek the equitable remedy of an injunction

and constructive trust to enforce Poarch’s promise of protection of the Hickory Ground site. See

Second Amended Complaint, Dkt. 190 at 46-49, 76-77. They are therefore claims in the nature

of recovery of real property under Alabama Code § 6-2-33(2), which provide a ten-year statute

of limitations.

        This Court’s decision in Auburn University v. IBM, 716 F. Supp. 2d 1114, 1118 (M.D.

Ala. 2010) teaches that the determination of which statute of limitations should apply to a

particular claim depends on the nature of the claim itself. It recognizes that claims will not
always fall into the same category for limitations purposes and certainly does not hold or

otherwise dictate that promissory estoppel claims must be classified as either tort claims or

implied-contract claims. Indeed, the Alabama Code Article governing statutes of limitations is

structured this way: each section sets out a time limit, see Alabama Code §§ 6-2-31 to -40, and

then various categories of claims are provided under each one. The court must decide the

category in which a particular claim fits to determine the applicable statute of limitations.

        Thus, in Auburn University, this Court noted that the threshold issue was whether the

claim at issue—unjust enrichment—fit into the category described by Alabama Code § 6-2-38(l);

i.e., “whether the claim at issue seeks recovery for an injury that arises from contract.” Auburn

Univ., 716 F. Supp. 2d at 1118 (emphasis in original). Because unjust enrichment claims vary,

including claims “for enrichment flowing from a breach of the corporate fiduciary duties of

loyalty and due care” that “clearly arise from tort injuries” and claims “for enrichment flowing

from the rendering of substantial performance on a merely technically invalid contract” that

“clearly arise from contract injuries,” “it would be improper to classify all unjust-enrichment

claims as either tort claims subject to the two-year statute of limitations or implied-contract

claims subject to the six-year statute of limitation.” Id.
        Another court in the Northern District recently determined that the approach of the court

in Auburn University in “determining the appropriate statute of limitations according to the

circumstances from which the unjust enrichment claim arises” is a “well-reasoned approach,”


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especially “[g]iven the lack of binding authority on th[e] issue” of the appropriate statute(s) of
limitation for unjust enrichment claims. Branch Banking & Tr. Co. v. McDonald, No. 2:13-CV-

000831-KOB, 2013 WL 5719084, at *7 (N.D. Ala. Oct. 18, 2013). Noting that the options were

between a six- and ten- year statute of limitations for the plaintiff’s particular unjust enrichment

claim, the court decided that because the claim arose from a negotiable instrument, the six-year

statute of limitations applied. Id.

        Like unjust enrichment claims, the nature of promissory estoppel claims vary such that

they may fit in different categories, it would not be appropriate to treat all promissory estoppel

claims as fitting in only one or two categories for statute of limitation purposes. Rather, the focus

is on the nature of the claim. Id. Where the claim is for enforcement of a right in land, Alabama

case law indicates that the ten-year statute of limitations governing actions for the recovery of

lands should apply.

        It is “well settled” under Alabama Supreme Court law “that an action for establishment of

a resulting trust is subject to the statute of limitations of ten years,” as such action is “in the

nature of a suit for the recovery of land since land is the subject matter of the suit.” Sykes v.

Sykes, 78 So. 2d 273, 276 (Ala. 1954) (internal quotation and citations omitted; emphasis added);

see also Henslee v. Merritt, 82 So. 2d 212, 214 (Ala. 1955) (same). The court in Robinson v.

Sanders, 530 So. 2d 821, 821 (Ala. 1988) (per curiam) affirmed the lower court’s judgment

based on the 10-year statute of limitations applicable to the remedy of constructive trust, as such

remedy was one “for recovery of land” under Alabama Code § 6-2-33.

        Tribal Defendants misconstrue the facts in order to circumvent application of the ten-year

statute of limitations. They incorrectly state that Plaintiffs’ allegations are merely that Poarch

obtained property subject to a 20-year preservation covenant and then “began to develop the

property after that [covenant] expired in a manner that is offensive to the Plaintiffs. Dkt. 202 at

28. What Plaintiffs actually allege in Counts III and VI is that “Poarch promised the Muscogee

(Creek) Nation and Hickory Ground that it would preserve the Hickory Ground Site in

perpetuity”; that the Muscogee (Creek) Nation “relied on that promise to its detriment in not


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objecting to Poarch’s acquisition of the property”; and that Poarch was aware that if Poarch had

instead disclosed that it would desecrate the site, the Muscogee (Creek) Nation would have

sought to prevent the acquisition. Second Amended Complaint, Dkt. 190 at 48-49, 53 (emphasis

added).

          Poarch was quite clear that (1) its promises were perpetual, and not limited to just 20

years, and (2) were expressly intended to benefit the Muscogee (Creek) Nation and Hickory

Ground Tribal Town:

          x   “Acquisition of the property is principally a protection measure. Acquisition will
              prevent development on the property.” Dkt. 190-1, Ex. A at PDF p. 4.

          x   “The Hickory Ground site will continue to enhance [Creek youth’s] understanding of

              their history, without excavation.” Id. (emphasis added).

          x   “There is still an existing Hickory Ground tribal town in Oklahoma. They will be

              pleased to know their home in Alabama is being preserved.” Id.

          x   “In order to halt the destruction [i.e., clearing and leveling the land] planned for the

              site and to insure [sic] against future destruction, funds for acquisition of fee simple

              title are requested.” Id. at PDF pp. 4-5 (emphasis added).

          x   “Specific end products of the project is to provide protection for a particularly

              important site in Creek History. . . . Hickory Grounds may also be a place where

              Creeks from Oklahoma may return and visit their ancestral home.” Id. at PDF p. 5.

See also Second Amended Complaint. Dkt. 190 at 18-20, 44, 46-49.

          The Alabama Supreme Court recently detailed the nature of the constructive trust remedy

in Mitchell v. K & B Fabricators, Inc., 274 So. 3d 251 (Ala. 2018). “Equity may impress
a constructive trust on property in favor of one beneficially entitled thereto when another holds

title to the property by fraud, commission of wrong, abuse of a confidential relationship, or any

other form of unconscionable conduct”; or “who, against the rules of equity and against good

conscience, in any way either has obtained or holds and enjoys legal title to property that in

justice that person ought not to hold and enjoy.” Id. at 266 (internal quotations and citations


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omitted). The obligation is “imposed not because of the intention of the parties but to prevent
unjust enrichment”; thus, “[a] constructive trust is the formula through which the conscience of

equity finds expression. When property has been acquired in such circumstances that the holder

of the legal title may not in good conscience retain the beneficial interest, equity converts him

into a trustee.” Id. (internal quotations and citations omitted). “[A]ctual or intentional fraud is not

an essential element of a constructive trust . . . a constructive trust may be imposed to prevent

unjust enrichment, without regard to actual fraud.” Hughes v. Branton, 141 So. 3d 1021, 1026

(Ala. 2013) (quotation and citation omitted). A constructive trust may be also impressed upon

property when the owner of the property has abused a confidential or fiduciary relationship.

Radenhausen v. Doss, 819 So. 2d 616, 620 (Ala. 2001). 7

        Plaintiffs have pleaded the traditional bases for establishment of a constructive trust as

the remedy for their promissory estoppel claims. Poarch’s promises were unequivocal, and

expressly involved, and were made for the benefit of, Plaintiffs, in connection with the wrongful

acquisition of real property.

        Poarch clearly does not intend to keep those promises—and, as Plaintiffs allege, Poarch

knew that if it disclosed this to the Muscogee (Creek) Nation, “the Muscogee (Creek) Nation

would have objected immediately to Poarch’s acquisition of the land in any status (fee or trust)

and made efforts to prevent the acquisition.” Second Amended Complaint, Dkt. 190 at 48-89.

This is exactly the kind of unconscionable conduct that merits a constructive trust remedy.

Furthermore, a claim of promissory estoppel premised on unconscionable conduct in the

acquisition and possession of real property falls within the category of “[a]ctions for the recovery

of lands, tenements or hereditaments, or the possession thereof,” under Alabama Code § 6-2-33



7
  The responsibilities of a fiduciary flow to “all persons who occupy a position out of which the duty of good faith
ought in equity and good conscience to arise. It is the nature of the relation which is to be regarded, and not the
designation of the one filling the relation.” Line v. Ventura, 38 So. 3d 1, 12-13 (Ala. 2009). This includes
relationships in which “one person has gained the confidence of another and purports to act or advise with the
other's interest in mind,” and “arises in cases in which confidence is reposed and accepted, or influence acquired,
and in all the variety of relations in which dominion may be exercised by one person over another.” Id. at 13
(quoting Bank of Red Bay v. King, 482 So. 2d 274, 284 (Ala. 1985)).


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governing actions for which there is a ten-year statute of limitations.8
         Plaintiffs’ allegations, which the Court is required to accept as true for purposes of this

motion, dispute the Tribal Defendants’ assertions that Plaintiffs knew in 1992 or 2002 that

Poarch did not plan to abide by its promises to preserve Hickory Ground. For example, a

Bureau of Indian Affairs Archeologist and Federal Preservation Officer issued a Briefing

Statement to the Assistant Secretary of Indian Affairs recounting that Poarch conducted limited

exploratory testing at the Site around 1992 “to determine if some portion of the site could be

developed without damaging archeological resources,” and such activity “ceased after 1993”

after the testing found “no area where such resources were totally absent.” Dkt. 200-2 at PDF p.

29. Hickory Ground Tribal Town’s October 19, 2002 letter ultimately states that Hickory

Ground Tribal Town heard rumors through third parties that Poarch may be disturbing the site,

and “hope[s] this is not the case.” Dkt 200-1 at PDF page 26; see also Dkt. 190 at 26, ¶ 92.

Because these are issues of disputed fact, they should be resolved on a properly-developed

record and are not an appropriate basis to dismiss the claim. See Twin City Fire Ins. Co. v.

Hartman, Simons & Wood, LLP, 609 F. App'x 972, 976 (11th Cir. 2015).

         Plaintiffs’ meritorious claim for promissory estoppel and a remedy of a constructive

trust is timely because it is a claim in the nature of recovery of lands (as discussed in the next
section) and is therefore accorded a ten-year statute of limitations.




8
  Tribal Defendants misapprehend Plaintiffs’ request to impose a constructive trust in the event that the Court enters
a judgment in their favor on Count I (under the Indian Reorganization Act). Dkt. 202 at 29 (citing Second Amended
Complaint, Prayer for Relief at 76 (paragraphs (a), (b)(i))). Plaintiffs’ request for a remedy under the federal
common law of promissory estoppel to “h[o]ld [Poarch] to its promises to perpetually preserve Hickory Ground,”
Second Amended Complaint, Prayer for Relief at 77 (paragraph (c)(i)), is premised on the same unconscionable
conduct in the acquisition and possession of real property as the state law promissory estoppel claim, and seeks
equivalent protections over the real property under federal common law, and therefore falls within the category of
“[a]ctions for the recovery of lands, tenements or hereditaments, or the possession thereof,” for which federal
common law would provide a ten-year statute of limitations through Alabama Code § 6-2-33.


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                   b) Alabama Code § 6-2-33(2) provides a ten-year statute of limitations for
                      all claims “in the nature of” recovery of land.

       As the above cases hold, the categories of actions falling within Alabama Code § 6-2-

33(2) include those “in the nature of” a suit for recovery of land. In other words, the plaintiff

need not literally seek recovery of land, as the Tribal Defendants contend.

       For example, in Glass v. Cook, the court held that a complaint seeking rescission of a

lease on the grounds of fraud was governed by the ten-year statute, as “[t]his suit is in essence

one to recover land and is controlled by the ten-year statute.” 57 So. 2d 505, 507-08 (1952)

(emphasis added). Similarly, Branch Banking & Tr. Co. v. McDonald, No. 2:13-CV-000831-
KOB, 2013 WL 5719084 (N.D. Ala. Oct. 18, 2013) involved a claim for an “equitable

mortgage” after the mortgage on a property was erroneously recorded as satisfied and discharged

and the discharged debtor then failed to pay on the erroneously discharged mortgage despite

promises that he would continue to make payments. The court held that the “equitable mortgage”

claim was an action for the recovery of lands subject to the ten-year statute of limitations in § 6-

2-33(2). Id. at *6 (citing Barnett v. Waddell, 27 So. 2d 1 (Ala. 1946)) (action for equitable

mortgage subject to 10-year statute of limitations as an action for the recovery of lands).

       The language in Section 6-2-33(2) referring to “[a]ctions for the recovery of lands,

tenements or hereditaments, or the possession thereof,” and its inclusion of claims “in the nature

of recovery of lands” seeking a constructive trust remedy reflect long-established common law.
Specifically, state and federal common law hold that where a landowner promises specific use

(or non-use) of land, the landowner can be held to its promises in the form of a constructive trust.

As discussed above, claims to enforce promises regarding the use of land are “in essence” or “in

the nature of” claims seeking recovery of lands.

       “A dedication of land” by a landowner “may be defined to be an act by which the owner

of the fee appropriates to some public use an easement in the land.” Forney v. Calhoun Cnty., 84

Ala. 215, 220 (1887). The landowner’s promise that land will be used for a particular purpose

“may be done by writing, or it may be done verbally—without any writing. It may be express, or



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it may be implied. It may be by a single act, or by a series of acts properly indicative of the

owner's intention.” Id. The uses to which the land may be dedicated include any “use of a public

nature,” including a graveyard. Id. at 220-21. Once accepted, the dedication “is irrevocable,”

even where the original dedication “was voluntary in the sense of being made without any

valuable consideration.” Id.

       Especially “[w]here the owner of land intentionally, or by culpable negligence, leads the

public to believe that he has dedicated it to a public use, he will, upon every principle of fair and

conscientious dealing, be estopped from denying the fact of such dedication to the prejudice of
those whom he has thus misled.” Id. at 221 (emphasis in original). Thus, “[a] court of chancery

will intervene to protect the public in the enjoyment of this easement against any interference of

the owner of the legal title, bringing to their assistance the prompt aid of its injunctive relief.” Id.

(citing Beatty v. Kurtz, 27 U.S. 566 (1829)) (other citations omitted).

       Beatty v. Kurtz established the principle that equitable principles can be used to enforce

promises regarding the protection of burial grounds. 27 U.S. 566 (1829). In that case, two

individuals (Beatty and Hawkins) platted an addition to Georgetown, indicating on the plat that a

particular parcel was for the use of the Lutheran Church. An informal group of Lutherans used

the parcel for a church and burial grounds. The group sued after heirs of Beatty and Hawkins tore

down fences and tombstones on the parcel to make way for redevelopment plans. A unanimous

Supreme Court held that the Lutheran group’s interest in the parcel had been “consecrated to

their use by perpetual servitude or easement” through Beatty and Hawkins’ indication that the

parcel was intended for the Lutherans’ use.
       [T]he sepulchres of the dead are to be violated; the feelings of religion, and the
       sentiment of natural affection of the kindred and friends of the deceased are to be
       wounded; and the memorials erected by piety or love, to the memory of the good,
       are to be removed so as to leave no trace of the last home of their ancestry to
       those who may visit the spot in future generations. It cannot be that such acts are
       to be redressed by the ordinary process of law. The remedy must be sought, if at
       all, in the protecting power of a court of chancery; operating by its injunction to
       preserve the repose of the ashes of the dead, and the religious sensibilities of the
       living.



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Id. at 584-85. Thus finding that Beatty and Hawkins had promised that the land would be used

for a particular purpose that included burials, the court imposed a constructive trust preventing

development of the land.

       Thus, the equitable remedy of a constructive trust has special application in the context of

burial grounds. The common law provides that the dead have rights “which are committed to the

living to protect,” and most significantly, the right to an undisturbed repose in perpetuity. It is

“an offense against good morals” to mortgage a plot of ground in a cemetery that is “dedicated

exclusively, under the sanctions of the law, as a sanctuary for the dead of one’s family, and
already consecrated by the ashes of one’s kindred”; to do so “is contrary to its equity, and is

within the evils it was designed to cure, and our moral nature protests against it.” Thompson v.

Hickey, 8 Abb. N. Cas. 159, 166 (N.Y. Sup. Ct. 1880). “[B]urial places dedicated to public use . .

. are not to be degraded to the sordid enterprises of the money-maker.” Brown v. Maplewood

Cemetery Ass’n, 89 N.W. 872, 877 (1902). Even absent a dedication of land to a particular use

involving burial grounds, Alabama Code § 35-1-4(a) imposes upon owners of private land “on

which a cemetery, graves, or burial sites are located” a “duty to allow ingress and egress to the

cemetery, graves, or burial sites” by “descendants of the deceased persons buried there.” That

such protection of access arises automatically even on private lands underscores Alabama’s

recognition of the principles established in common law.

       Poarch’s promises that Hickory Ground would be permanently protected amply support

the establishment of a constructive trust to enforce those promises. Before acquiring Hickory

Ground, Poarch knew of its cultural and religious importance to the Muscogee (Creek) Nation

and the Hickory Ground Tribal Town, and was aware that there were burials at the site. In its

application for federal preservation funds, Poarch noted the presence of burial remains at the site

and cautioned that destruction of archeological resources “destroy[s] the cultural history of Creek

people” and that past destruction had given anthropology and archaeology “a bad name” because

the excavation ignored “the significance . . . to Native Americans.” Dkt. 190-1, Ex. A at PDF p.

7. After emphasizing the importance of the Hickory Ground Site to the Muscogee (Creek)


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Nation, Poarch promised that “[t]he Hickory Ground site will continue to enhance [Creek

youth’s] understanding of their history, without excavation,” noting that the “existing Hickory

Ground tribal town in Oklahoma” will be “pleased to know their home in Alabama is being

preserved” and promising that, as a “[s]pecific end product[] of the project is to provide

protection for a particularly important site in Creek History,” “Hickory Grounds may also be a

place where Creeks from Oklahoma may return and visit their ancestral home.” Id. at PDF pp. 3-

5. These promises were shared with the Muscogee (Creek) Nation; the Poarch’s letter states that

the preservation project was to be undertaken by two “Native American Groups,” including the
Creek Nation Foundation in Oklahoma that represented the Muscogee (Creek) Nation. See id. at

PDF p. 3, 5. The detailed nature of the allocation of responsibility between Poarch and the

Muscogee (Creek) Nation demonstrates that the two groups had discussed the preservation

project and the related commitments at length: one half of the Site’s appraised value would be

donated to the Creek Nation Foundation; the property would be jointly owned by the two groups

(who would be “equally responsible for the protection and care of the site” as a cultural resource

management endeavor to “guard[] and preserv[e] a site directly connected with their entire

history”); and an Attorney for the Creek Nation Office of Justice would handle legal matters for

the Creek Nation Foundation. Id. at 5–6. See also generally Dkt. 190 at 18–20, 44, 46–49.

       Three years later, the Poarch Chairman publicly testified in a Congressional hearing that

Poarch was “in ownership of one of the last historical sites of the Creek nation before the

removal to Oklahoma,” and “propose[d] to use part of this money” that was the subject of the

hearing “to make that site, not only available to all of our people, but to the general public as

well.” Id. at 20 (citing S. Hrg. 98-200 at 21-22 (May 26, 1983)). The Poarch Chairman’s written

testimony that was also submitted to Congress reiterated in a section titled “preservation of a

historical site” that “there is a strong desire among our people to preserve and share our unique

history. To this end our tribe has acquired titled [sic] to ‘Hickory Ground’, one of the most

important Creek historical sites. We propose to use fifty percent of the proceeds of S. 1224 to

preserve and to present to both Indian and non- Indian this unique and historical site.” Id. (citing


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S. Hrg. 98-200 at 24 (5/26/1983)). 9 A representative of the Muscogee (Creek) Nation Chief
testified at the same hearing and was present when the Poarch Chairman made these promises. 10
        Poarch’s promises are of the kind described in Forney, Beatty, and Thompson and are in

the nature of recovery of land—imparting easement-like rights in the beneficiaries—warranting

the equitable remedy of a constructive trust. The Plaintiffs’ promissory estoppel claim requesting

that this Court hold Poarch to its promises of protecting Hickory Ground in perpetuity, including

for the purpose of the Muscogee (Creek) Nation and the Hickory Ground Tribal Town visiting

their “ancestral home,” thus falls within the category of claims under Alabama Code § 6-2-33

that have a ten-year statute of limitations.

        2.       Plaintiffs have alleged the elements of promissory estoppel.
        “Although the full contours of the doctrine of promissory estoppel are ill-defined and still

developing as part of Alabama's common law,” Sykes v. Payton, 441 F. Supp. 2d 1220, 1223

(M.D. Ala. 2006) (citing Corbin on Contracts § 8.12), and should be informed by the above-cited

cases governing promises relating to lands that house burial grounds, Alabama follows the

definition of the doctrine set forth in the Restatement of Contracts. Specifically, to state a claim

for promissory estoppel, a plaintiff must allege “(1) that the defendant made a promise (2) that

the defendant should have reasonably expected to induce action or forbearance of definite and

substantial character; (3) the promise did, in fact, induce action or forbearance; (4) and injustice

can be avoided only by enforcing the promise.” Id. at 1224 (citing Bush v. Bush, 278 Ala. 244,

177 So.2d 568, 570 (1964)). Plaintiffs have properly alleged these elements and facts

establishing a plausible claim for purposes of Rule 12(b)(6).




9
  Poarch received the funds. See Pub. L. 98–390, 98 Stat. 1356 (1984) (providing for funds to go to “Eastern Creek
entities” who obtain federal recognition by December 30, 1984); 49 Fed. Reg. 24,083-01 (June 11, 1984) (extending
federal recognition to Poarch).
10
   Poarch is correct that the testimony was given after Poarch acquired Hickory Ground in fee. Dkt. 202 at 35 n.16.
However, it was given before the Site was taken into trust, and Plaintiffs allege that these assurances led the
Muscogee (Creek) Nation not to object or seek to prevent Poarch’s acquisition “either in fee or trust.” See Second
Amended Complaint. Dkt. 190 at 20, 46-49.


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        The Second Amended Complaint plainly alleges the elements of promissory estoppel:

(1) “Poarch promised the Muscogee (Creek) Nation and Hickory Ground that it would preserve

the Hickory Ground Site in perpetuity”; (2) “Poarch was aware that, had the Muscogee (Creek)

Nation known that Poarch would not protect the Hickory Ground Site as it promised and instead

would destroy Plaintiffs’ sacred burial grounds and religious sites, the Muscogee (Creek) Nation

would have objected immediately to Poarch’s acquisition of the land in any status (fee or trust)

and made efforts to prevent the acquisition”; i.e., Poarch expected to induce forbearance of

definite and substantial character; (3) “[t]he Muscogee (Creek) Nation relied on that promise to
its detriment in not objecting to Poarch’s acquisition of the property, either in fee or trust, and in

supporting Poarch’s federal recognition”; and (4) “[t]he injustice of Poarch enriching itself by

breaking its promises and thereby causing irreparable harm to the Muscogee (Creek) Nation and

Hickory Ground can only be avoided by enforcing those promises.” Dkt. 190 at 48–49.

       Tribal Defendants argue that Plaintiffs have not alleged (1) an enforceable promise, (2)

that Poarch should have reasonably expected to induce action or forbearance, or (3) that

Plaintiffs relied to their detriment on Poarch’s promises. Dkt. 202 at 32–33. These claims are

without merit and are belied by the facts.

                   a) Plaintiffs allege an enforceable promise.

       Tribal Defendants inexplicably insist that Poarch’s application for preservation funds to

acquire Hickory Ground, which expressly states that the acquisition was to “prevent

development on the property” and “insure against future destruction,” Dkt. 190-1 at PDF p. 4–5,

instead “makes clear that Poarch Band intended to develop the property in the future.” Dkt. 202

at 34. Tribal Defendants then argue that Plaintiffs have not alleged an enforceable promise. This

assertion defies logic, law, and fact.

       First, Tribal Defendants claim that it is unclear what “preserve” means in Plaintiffs’

allegation that Poarch “promised to preserve the Hickory Ground Site in perpetuity.” Dkt. 202 at




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33. Plaintiffs detail exactly what they mean: In Paragraph 202 11 Plaintiffs allege that Poarch
“promise[d] that it would perpetually protect the Site,” and Paragraph 212 reiterates that the

promise was “permanent protection.” In Paragraph 203, Plaintiffs directly quote Poarch’s

application for federal preservation funds, in which Poarch does not mince words about whether

Hickory Ground would be “preserved”:

        In its application for federal preservation grant funds, Poarch expressly assured
        that its acquisition of the Hickory Ground Site would result in the “existing
        Hickory Ground tribal town in Oklahoma…. know[ing] their home in Alabama is
        being preserved,” “without excavation”; that Poarch would provide “permanent
        protection of the site”; and that “Hickory Grounds may also be a place where
        Creeks from Oklahoma may return and visit their ancestral home.” Poarch warned
        that “[d]estruction of archaeological resources in Alabama … destroy[s] the
        cultural history of Creek people.”
Paragraphs 67 and 68 (also re-alleged in the Promissory Estoppel claim, ¶214), provide more

detailed direct quotes from Poarch’s application: “Poarch unequivocally represented and

promised that “[a]cquisition of the property is principally a protection measure. Acquisition will

prevent development on the property . . . . [P]lans will be developed to minimize continued

destruction of the archaeological resources.” Dkt. 190 at 18–19 (quoting Dkt. 190-1 at 4). Poarch

also stated that a trained anthropologist would “act as an advisor to the tribal councils [of Poarch
and the Muscogee (Creek) Nation] on plans for permanent protection of the site.” Id. (quoting

Dkt. 190-1 at 6). Numerous promises focused on the Muscogee (Creek) Nation’s continued

access to their “preserved” “original homeland”:

        “The property will serve as a valuable resource for cultural enrichment of Creek
        people. . . . The Creek people in Oklahoma pride in heritage and ties to original
        homeland can only be enhanced. There is still an existing Hickory Ground tribal
        town in Oklahoma. They will be pleased to know their home in Alabama is being
        preserved. . . . The Hickory Ground site will continue to enhance [Creek youth’s]
        understanding of their history, without excavation. . . . Specific end products of
        the project is to provide protection for a particularly important site in Creek
        History.”



11
  The Promissory Estoppel claim begins by re-alleging all prior allegations, which include but are not limited to
Paragraphs 202-213. See Dkt. 190 at 48, ¶ 214.


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Id. at 19 (quoting Dkt. 190-1 at 5, 6). Poarch was very clear that it was requesting preservation

funds “[i]n order to halt the destruction planned for the site and to insure [sic] against future

destruction. . . . As the landowner is very much interested in developing the property for

commercial purposes it is felt acquisition of fee simple title is necessary to prevent destruction of

the site.” Dkt. 190 at 19, ¶ 68 Id. (quoting Dkt. 190-1 at 5).

          Tribal Defendants contend that Poarch’s preservation fund application letter “leads one to

the inescapable conclusion that [Poarch] made no promise at all to preserve the Wetumpka

property in perpetuity, without development, excavation, or destruction.” Dkt. 202 at 34. All of
this is expressly contradicted in Poarch’s own application letter, which states that Poarch is

acquiring the Site “to insure against future destruction,” including “destruction” from

“developing the property,” and that the Site “will continue” to enhance Creeks’ understanding of

their history “without excavation.” To the extent further explanation of the meaning of

“preserve” is needed, the above preservation promises made by Poarch comport with the
dictionary definition of the term. Merriam-Webster defines “preserve” as “to keep safe from

injury,       harm,     or     destruction: PROTECT.”            Preserve,   Merriam-Webster.com,

https://www.merriam-webster.com/dictionary/preserve (last visited June 29, 2020).

          Tribal Defendants accuse Plaintiffs of cherry-picking statements from the preservation

fund application, but it is Tribal Defendants who contort specific parts of the letter into a warped
meaning that no reasonable person would derive from such clear commitments to protect and

preserve Hickory Ground. The letter must be read as a whole, and Poarch’s statement that

“[p]rior to any type of development of the property a scientifically sound archaeological program

will be conducted to mitigate or minimize effects upon the historic resources” must be read in

conjunction with Poarch’s promises of preservation, including in the very next paragraph where

Poarch states that:

          [t]he Creek people in Oklahoma pride in heritage and ties to original homeland
          can only be enhanced. There is still an existing Hickory Ground tribal town in
          Oklahoma. They will be pleased to know their home in Alabama is being
          preserved. The site may serve as an open air classroom where Creek youth can


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       learn of their heritage. Interpretive programs can be developed around the vast
       array of history connected with Hickory Ground. The Creek Nation East of the
       Mississippi, Inc. (Poarch Band of Creeks) has already conducted CETA
       sponsored training in archaeological methods for Creek youth. The Hickory
       Ground site will continue to enhance their understanding of their history, without
       excavation.
Dkt. 190-1 at PDF p. 4. The next paragraph unequivocally underscores that the acquisition of the

Site is to (1) “halt the destruction planned for the site” that would involve “clear[ing] and

level[ing] the land to “develop[] the property for commercial purposes,” and to (2) “insure

against future destruction.” Id. at PDF pp. 4–5. These paragraphs, along with the other

representations in the application, simply cannot be read to effectively say, as Tribal Defendants
contend, that Poarch intends to ensure against future destruction and development of the Site by

acquiring the Site and destroying it through development. Indeed, the application goes on to say

that “[a] matter of great importance about this project is the involvement of Creek People

through their government in the management and protection of their archaeological resources.”

Id. at PDF pp. 6–7 (emphasis added). At the most, these statements reflect an intention to

perform non-invasive, non-destructive archaeological test digs to educate Creek citizens about

their history and about archaeology; as “[d]estruction of archaeological resources in Alabama . . .

destroy[s] the cultural history of Creek people,” so such digs would “continue to enhance [Creek

people’s] understanding of their history, without excavation” while “bridging the communication

gap between archaeology and Native Americans.” Id. at PDF pp. 4, 7.

       It would be nonsensical to read Poarch’s promises to “prevent development on the

property” and “insure against future destruction” of the site such that the Muscogee (Creek)

Nation and Hickory Ground Tribal Town “will be pleased to know their home in Alabama is

being preserved” with the understanding that those promises left room for Poarch develop and

destroy the property in the future.

       Even if Poarch’s promises weren’t so clear, this Court has recognized that “[a]n express

promise is not necessary to establish a promissory estoppel. It is sufficient that there be

promissory elements which would lull the promisee into a false sense of security.” Sykes v.



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Payton, 441 F. Supp. 2d at 1224 (citing Mazer v. Jackson Ins. Agency, 340 So. 2d 770, 774 (Ala.

1976)). Here, the Muscogee (Creek) Nation had been in detailed communications with Poarch on

plans to save Hickory Ground from development and preserve it for the benefit of Creeks in

Oklahoma and future generations. Nothing in Poarch’s application letter indicated that Poarch, in

trying to save Hickory Ground from development and ensure against future destruction—for the

benefit of the Muscogee (Creek) Nation and Hickory Ground Tribal Town—instead intended to

accomplish that development and destruction itself. And nothing indicated that the Muscogee

(Creek) Nation’s subsequent inability to participate in the acquisition would cause Poarch to
abandon its promises. Indeed, after the acquisition occurred, Poarch reaffirmed its commitment

to preserve the Site in its Congressional testimony. Poarch’s communications with the Muscogee

(Creek) Nation quite reasonably gave the Nation a sense of peace and security that Poarch would

take care of the sacred site just as it promised. Just as Poarch stated in its application letter, its

promises made the Muscogee (Creek) Nation and Hickory Ground Tribal Town “pleased to

know their home in Alabama is being preserved.”

       Poarch’s promises to perpetually protect Hickory Ground were specific, unambiguous,

and unequivocal. Plaintiffs have alleged an enforceable promise.

                   b) Poarch reasonably foresaw that the Muscogee (Creek) Nation would
                      rely on the promises made in the grant application letter, the
                      congressional testimony, and related communication between the
                      parties.

       Tribal Defendants next complain that Poarch could not have reasonably foreseen that

Plaintiffs would rely on its promises. As described in detail above and in the Second Amended

Complaint, Poarch strongly emphasized the importance of the Hickory Ground Site to the

Muscogee (Creek) Nation and Hickory Ground Tribal Town in its application for federal

preservation funds. Dkt. 190 at 18-20, 46-49. Poarch knew there were burials on the Site. See

Dkt. 190-1 at PDF p. 7. And, by virtue of Hickory Ground being a tribal town, Poarch knew or

should have known that there were ceremonial grounds at the Site. John Reed Swanton, Modern

Square Grounds of the Creek Indians 9 (Smithsonian Institution, 1931), available at


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https://repository.si.edu/bitstream/handle/10088/23920/SMC_85_Swanton_1931_8_1-46.pdf
(“every Creek town had [a ceremonial] ground”). Poarch shared the application letter for federal

preservation funding and related correspondence with the Muscogee (Creek) Nation, as the

acquisition was intended to be a joint project. Dkt. 190 at 19–20. And, after the acquisition

occurred, Poarch confirmed its plan to continue preserving the Site before Congress and a

representative for the Chief of the Muscogee (Creek) Nation.

       Poarch knew that the Muscogee (Creek) Nation objected to development of Hickory

Ground because the two groups were working together to save the Site from development. See

Dkt. 190-1 at PDF pp. 5–6. And Poarch knew that, absent the assurances it made about the

perpetual preservation of the Site, the Muscogee (Creek) Nation would continue to attempt to

save the Site and prevent Poarch’s purchase. The same is true for Poarch’s 1983 testimony: had

Poarch revealed then that it had abandoned plans to preserve Hickory Ground, the Muscogee

(Creek) Nation would not have supported its bid for federal recognition and would have objected

to, and attempted to prevent, Poarch’s acquisition of the Site in trust the next year. Indeed,

disbursement of Indian Claims Commission funds—the subject of the Congressional hearing—

was contingent on achieving federal recognition by the end of 1984. See S. Hrg. 98-200; Pub. L.

98–390, 98 Stat. 1356 (1984) (providing for funds to go to “Eastern Creek entities” who obtain

federal recognition by December 30, 1984). As Plaintiffs have alleged, given the importance of

the Site to the Muscogee (Creek) Nation, “Poarch was aware that, had the Muscogee (Creek)

Nation known that Poarch would not protect the Hickory Ground Site as it promised and instead

would destroy Plaintiffs’ sacred burial grounds and religious sites, the Muscogee (Creek) Nation

would have objected immediately to Poarch’s acquisition of the land in any status (fee or trust)

and made efforts to prevent the acquisition.” Dkt. 190 at 48–49. Thus, Poarch reasonably should

have foreseen that the Muscogee (Creek) Nation would rely on its promises in the application for

federal funds, its Congressional testimony, and related communications.

       That the project went forward without the Muscogee (Creek) Nation does not mean, as

Tribal Defendants appear to argue, that the promises Poarch made—based on the supposedly


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mutual reverence both groups held for Hickory Ground—were rendered unreliable or

nonexistent. Nothing about the circumstances suggests that the Muscogee (Creek) Nation was

forcing an unenthusiastic but grudgingly-accepting Poarch Band to protect a sacred Site, or that

without the Nation’s participation, Poarch would indulge unstated desires to destroy the Site.

When the Muscogee (Creek) Nation was ultimately unable to join in the project, the Muscogee

(Creek) Nation trusted that Hickory Ground would be protected, in reasonable reliance on

Poarch’s statements about the importance of the Site and unequivocal promises to preserve it.

Dkt. 190 at 47–49. See also Sykes v. Payton, 441 F. Supp. 2d at 1225 (“the plaintiffs have alleged
that they took the actions outlined above in reliance on [defendant]’s unequivocal

representations. Thus, they have sufficiently pled this element of promissory estoppel.”). 12

                      c) Plaintiffs allege detrimental reliance.

         The Tribal Defendants incorrectly assert that Plaintiffs have not alleged a link between

Plaintiffs’ reliance and the harm they suffer. The gist of Tribal Defendants’ argument is that

Plaintiffs did not have “legal or practical authority” to prevent Poarch from acquiring the site in

trust or fee, so there is no causal connection between Plaintiffs’ harm and their forbearance

from attempting to prevent Poarch’s acquisition of Hickory Ground in fee or trust. Tribal

Defendants simply misapprehend the concept of forbearance.

         In defining the doctrine of promissory estoppel, “[Alabama] has adopted § 90 of the

Restatement of Contracts First which states in pertinent part: ‘A promise which the promisor

should reasonably expect to induce action or forbearance of definite and substantial character

and which does so is binding if injustice can be avoided only by enforcement thereof.’” Wyatt v.

Bellsouth, Inc., 18 F. Supp. 2d 1324, 1326 (M.D. Ala. 1998) (emphasis added) (quoting Davis v.

Univ. of Montevallo, 638 So. 2d 754, 757 (Ala. 1994)). Likewise, in the context of constructive


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   Notably, “reliance is evaluated objectively both for reasonableness and foreseeability. Customarily, that
evaluation is done by the [factfinder] as fact issues based on all surrounding circumstances.” Sykes v. Payton, 441 F.
Supp. 2d at 1224 (quoting 3 Corbin on Contracts § 8.11).




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trust, a beneficiary’s acceptance “may be shown either by some positive conduct of the proper

public officers evincing their consent in behalf of the public, or may be inferred from official

acts of implied recognition on their part, or by long public use, or from the beneficial nature of

the dedication.” Forney., 84 Ala. at 220.

       The Tribal Defendants incorrectly assert that Plaintiffs lacked legal or practical authority

to prevent Poarch from acquiring Hickory Ground in fee or in trust. As Plaintiffs allege in their

Second Amended Complaint, “[h]ad the Muscogee (Creek) Nation known that Poarch would

desecrate Hickory Ground, it would have taken steps to prevent Poarch from acquiring the land”
either in fee or in trust, “and would have opposed Poarch’s bid for federal recognition.” Dkt.

190 at 47. Instead, in reliance on Poarch’s promises, the Muscogee (Creek) Nation did not take

such actions. Id. Had Poarch disclosed its true plans for the Site, the Muscogee (Creek) Nation

would have certainly informed the Alabama Historical Commission and the Department of

Interior, and presumably Poarch would not have received the preservation funding it

purportedly needed to purchase Hickory Ground in the first instance. Furthermore, had it known

that no party was intervening to save Hickory Ground from development, the Muscogee (Creek)

Nation—or another party truly dedicated to preserving the Site—could have independently

applied for the preservation funds or outright purchased the Site. It is not a foregone conclusion,

as Tribal Defendants contend, that had Poarch not purchased the Site, no other party would have

tried to save Hickory Ground and plans for development would have been executed. Indeed,

Poarch’s assurances were intended to, and would have, made any party who would have

otherwise intervened feel secure that Hickory Ground would be preserved in perpetuity.

       With respect to Poarch’s trust acquisition of Hickory Ground, Plaintiffs allege that the

Department of the Interior had no legal authority under the Indian Reorganization Act to take

the site into trust for Poarch because Poarch was not “under federal jurisdiction” in 1934. See

Dkt. 190 at 44–45. Had Poarch revealed in 1983 that it planned to develop the Site instead of

reaffirming its commitment to preserve Hickory Ground, the Muscogee (Creek) Nation would

have raised this argument to prevent the trust transaction. See id. at 48–49. If a court agreed


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with the Muscogee (Creek) Nation that the acquisition was illegal, no casino would have been

built at the site because gaming would not have been legal at the site. See id. at 46.

       This case is similar to Mazer v. Jackson Ins. Agency, wherein developers were planning

to develop an office park adjacent to residential houses in the city of Mountain Brook. 340 So.

2d 770 (Ala. 1976). The developers requested that the Mountain Brook Planning Commission

pass a resolution containing assurances to the homeowners. In 1955, the developers recited the

assurances in the Mountain Brook Planning Commission’s resolution in a memorandum to the

homeowners. Those assurances were that development would only occur if there were
protections for the residential area, including a buffer between the development and homes that

would be left as “natural woodland.” Id. at 771. The memorandum stated that the developers had

presented those conditions to the legislative delegation that was considering whether to annex the

area to the city, and that the developers felt the homeowners “will be very happy indeed over the

conclusion.” Id. at 771–72. About 20 years later, the Mountain Brook Planning Commission

rezoned the buffer zone, and the developers announced they would clear-cut and develop the

zone. The court found that promissory estoppel barred the development, rejecting the developers’

claim that the homeowners failed to prove an enforceable promise or detrimental reliance.

       The court held that although the developers’ memorandum in Mazer “did not state the

assurances as promises from the Developers, but as provisions of the Planning Commission’s
resolution,” it “contained sufficient promissory elements to support a promissory estoppel,”

including that “it was the desire and purpose of the Developers to develop their property ‘in a

manner which would be an asset to all of the surrounding property owners,’” and “‘to assure the

residents of the good faith of the developers that they would not develop the property in a

manner inconsistent with [the] assurances.’” Id. at 773–74. The court held that “[t]he clear

implication of the language of the memorandum was that the assurances represented the future

intentions of the Developers with regard to their property.” Id. at 774. The homeowners would

have opposed the development without the assurances, and the resolution and memorandum

were “to assure the residents of the Developers’ good faith.” Id. Thus, “[c]ommon sense and the


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evidence compel the conclusion that the Developers intended that the [homeowners] cease their

opposition to annexation in reliance on the assurances stated in the memorandum.” Id. The court

also found that the homeowners’ cessation of opposition to the development “was forbearance of

a definite and substantial character.” Id. In addition, there was detriment to the homeowners

because the annexation that facilitated the development (which they’d ceased to oppose in

reliance on the assurances) reduced the homeowners’ power to influence decisions of officials on

zoning. Id. at 774–75. “Finally, if the Developers are permitted to ignore the assurances given in

the memorandum, the Homeowners will lose the protection that was the sole reason for their
ceasing to oppose annexation and will thereby suffer a serious injustice” in the form of making

their property less desirable. Id.

        Like the developers in Mazer, Poarch knew the Muscogee (Creek) Nation objected to

development on the property, and would try to prevent Poarch’s acquisition of Hickory Ground

had it known that Poarch planned to impose the same destruction it was promising to prevent.

Poarch’s communications with the Muscogee (Creek) Nation were for the same purpose as the

developers’ memorandum to the homeowners in Mazer: “to assure the [recipients] of the good

faith of the developers that they would not develop the property in a manner inconsistent with

[the] assurances.” As in Mazer, the clear implication of Poarch’s communications to the

Muscogee (Creek) Nation was that the assurances represented Poarch’s future intentions with

regard to the property.

        As in Mazer, the Muscogee (Creek) Nation’s forbearance—in the form of not objecting

to or seeking to prevent Poarch’s acquisition of Hickory Ground—was of a definite and

substantial character. The Muscogee (Creek) Nation’s reliance on Poarch’s promises resulted to

the Nation’s detriment, because after the purchase—just like after annexation in Mazer—the

Nation’s power to influence what occurred at the property was significantly diminished. Had the

Nation known that Poarch would clear-cut and develop Hickory Ground, it could and would

have taken action to prevent Poarch’s acquisition and ensure the property was acquired either by

the Nation or another party dedicated to its preservation.


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       Finally, as in Mazer, if Poarch is permitted to ignore the promises given in its

communications with the Muscogee (Creek) Nation, the Muscogee (Creek) Nation will lose the

protection that was the very reason it did not seek to prevent Poarch’s acquisition of Hickory

Ground, and will thereby suffer a serious injustice. See also Sykes v. Payton, 441 F. Supp. 2d at

1225. Plaintiffs’ ancestors have been wrenched from their graves and their sacred site and last

tribal capital before removal is being desecrated. That injustice can only be avoided by enforcing

Poarch’s promises.

       3.      The Promissory Estoppel Claim is Not Barred by the Statute of Frauds.
       Tribal Defendants seek dismissal of Plaintiffs’ promissory estoppel claim, arguing that

“Alabama law does not allow the use of promissory estoppel to enforce an agreement that is void

under the statute of frauds.” Dkt. 202 at 30. Tribal Defendants’ request to dismiss this claim

should be rejected for three reasons.

       First, their argument is premised on the erroneous assumption that Plaintiffs’ claim must

sound in contract. Promissory estoppel does not require that the plaintiff seek to enforce the

terms of an oral contract. See, e.g., Bush, 177 So.2d at 578 (applying promissory estoppel to a

will, which is neither a promise nor a contract). As discussed in Sections IV.C.1 and .2, supra,

Plaintiffs’ promissory estoppel claim is one the nature of recovery of land, not enforcement of a

contract or oral agreement. Accordingly, the statute of frauds does not apply to this claim and the
motion should be denied.

       Second, the statute of frauds is no barrier to the imposition of a constructive trust, which

is the remedy Plaintiffs’ seek based on their claim for promissory estoppel. A constructive trust

arises by operation of law and is not subject to the statute of frauds. Alabama Code § 19-3B-

1301 states that “[n]o trust concerning lands, except such as results by implication or

construction of law, . . . can be created, unless by instrument in writing.” (emphasis added); see

also Newell v. Newell, 254 So. 3d 878, 881 (Ala. 2017). A constructive trust is “a creature of

equity,” which “springs from a desire to prevent the statute of frauds from being used as a shield




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which would otherwise allow a party to be unjustly enriched.” Ralston Oil & Gas Co. v. July

Corp., 719 P.2d 334, 339 (Colo. Ct. App. 1985). Thus, if this Court concludes that a constructive

trust is appropriate, “the statute of frauds is no obstacle to the establishment of such trust.”

Perryman v. Pugh, 114 So.2d 253, 259 (Ala. 1959); see also Cole v. Adkins, 358 So. 2d 447,

448–51 (Ala. 1978) (“A constructive trust is properly impressed upon property under certain

limited circumstances even though the Statute of Frauds makes an oral agreement to convey land

unenforceable.”).

       Third, even assuming for the sake of argument only that that the statute of frauds applies
here, dismissal of the promissory estoppel claim would still not be appropriate because Plaintiffs

have alleged sufficient facts to show that the Tribal Defendants partially performed on their

promises. See Houston v. McClure, 456 So. 2d 788, 789 (Ala. 1984) (affirming a trial court’s

award of specific performance of a contract otherwise subject to the statute of frauds based on a

showing part performance). Plaintiffs have alleged that Tribal Defendants initially performed in

accordance with their promises, giving Plaintiffs reason to believe that Poarch intended to abide

by those promises for decades. See Dkt. 190 at 45. As discussed above, it was not until the 2000s

that Poarch violated its promises. At this early stage, these facts are sufficient to remove the

promissory estoppel claim from the operation of the statute of frauds.

       In sum, Plaintiffs have alleged the elements of promissory estoppel: the Muscogee

(Creek) Nation reasonably relied on specific promises of protection for Hickory Ground that

Poarch extended so that the Nation would acquiesce to Poarch’s purchase of Hickory Ground,

resulting in harm to the Muscogee (Creek) Nation when Poarch disregarded its promises and

began desecrating the sacred site. Plaintiffs’ promissory estoppel claim is in the nature of

recovery of real property because it seeks imposition of a constructive trust. Therefore, the

statute of frauds does not apply and the claim should not be dismissed.




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D.        The Plaintiffs’ unjust enrichment claim should not be dismissed.

          As with Plaintiffs’ promissory estoppel claim, Tribal Defendants contend that Plaintiffs’

unjust enrichment claim does not allege all of the elements of unjust enrichment, that it is time-

barred because it is subject to no more than a six-year statute of limitations, and that it is barred

by the statute of frauds. These arguments lack merit and this aspect of the motion should be

denied.

          First, Plaintiffs have alleged a claim of unjust enrichment by asserting that Poarch is

unjustly retaining a benefit—unrestrained use of the Hickory Ground Site—that belongs to

Plaintiffs, because Poarch promised Plaintiffs certain restraints on the use of the Site in exchange

for Plaintiffs’ non-objection to Poarch’s acquisition of Hickory Ground. Second, as with

promissory estoppel, a ten-year statute of limitations governs unjust enrichment claims in the

nature of recovery of property, so the Plaintiff’s unjust enrichment claim is timely. Third, the

statute of frauds does not bar the unjust enrichment claim, because Plaintiffs’ unjust enrichment

claim is in the nature of recovery of land such that the statute of frauds is not implicated.

          1.     Unjust enrichment claims include the loss of rights in property.
          Tribal Defendants incorrectly insist that, to prevail on a claim of unjust enrichment, it is

necessary to show that the defendant holds money that rightfully belongs to the plaintiff. Dkt.

202 at 38–39. A claim for money is not the only form of unjust enrichment claim; such a claim

can also encompass claims in the nature of recovery of real property, see supra at 40 to 45, or

rights in or to property.
          Thus, “unjust enrichment can include claims for money and property.” Micor Indus.,

Inc. v. C2JS Holdings, Inc., No. 12-02654, 2012 WL 5931707, at *4 (N.D. Ala. Nov. 26, 2012).

A plaintiff with a claim relating to property can establish unjust enrichment by showing “unjust

retention of a benefit to the loss of another or the retention of money or property of another

against the fundamental principles of justice or equity and good conscience.” Id. (internal

quotation marks and citation omitted). “Whenever one person adds to the other’s advantage in

any form, whether by increasing his holdings or saving him from expense or loss, he has


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conferred a benefit upon the other.” Id. (emphasis added) (quoting Am. Family Care v. Fox, 642

So.2d 486, 488 (Ala. Civ. App. 1994)). As discussed above, an appropriate remedy for an unjust

enrichment claim relating to property would be a constructive trust over the property. Id.; see

supra at 40 to 45.

       2.      Plaintiffs allege that the Tribal Defendants have retained a benefit to the loss
               of the Muscogee (Creek) Nation.
       The Second Amended Complaint alleges that the Muscogee (Creek) Nation benefited

the Tribal Defendants by withholding objections to Poarch’s acquisition of Hickory Ground that

they otherwise would have raised had they known Poarch would break its promises to

perpetually protect the site. Dkt. 190 at 46–48. As stated in Mazer, 340 So. 2d at 774,

forbearance of the kind the Muscogee (Creek) Nation exercised here is “definite and

substantial,” and that forbearance was the precise benefit Poarch sought by making the

assurances that eliminated any opposition to its acquisition of Hickory Ground. The Muscogee

(Creek) Nation’s lack of objection in reliance on Poarch’s promises resulted in Poarch obtaining

federal preservation funds and purchasing Hickory Ground—two things the Muscogee (Creek)

Nation would have acted to prevent had Poarch revealed its plans to desecrate Hickory Ground.

Dkt. 190 at 46–48.
       The Restatement (First) of Restitution § 1 cmt. b (Am. Law Inst. 1937), which was cited
as authoritative in Jordan v. Mitchell, 705 So.2d 453, 458 (Ala. Civ. App. 1997), defines an

unjust enrichment as follows:

       A person confers a benefit upon another if he gives to the other possession of or
       some other interest in money, land, chattels, or choses in action, performs services
       beneficial to or at the request of the other, satisfies a debt or a duty of the other, or
       in any way adds to the other's security or advantage. He confers a benefit not only
       where he adds to the property of another, but also where he saves the other from
       expense or loss.”
Thus, is it not limited to a pecuniary benefit, but can be an intangible benefit that adds to

another’s advantage.




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       Quite simply, like the developers in Mazer, 340 So. 2d at 773, Poarch made promises of

protection to receive a benefit: no opposition to its plans. Like the homeowners in Mazer, 340

So. 2d at 774, the Muscogee (Creek) Nation did not oppose acquisition in exchange for the

Tribal Defendants’ promises that there would not be unchecked use of the property; that instead

the property would be used in a manner beneficial to the Nation and consistent with its

undisputed nature as a sacred burial site. Poarch, like the developers in Mazer, therefore owed

the forbearer something: use of the property in conformance with its promises.

       Poarch is not entitled to desecrate Hickory Ground; its undertaking of obligations to
preserve the Site was the reason the Muscogee (Creek) Nation did not object to its acquisition,

and the reason it was able to acquire the Site. See Dkt. 190 at 47–48. As the court explained in

Mazer, “if the [acquirer of the property is] permitted to ignore the assurances given [to the

forbearers], the [forbearers] will lose the protection that was the sole reason for their ceasing to

oppose [the acquisition] and will thereby suffer a serious injustice.” Mazer, 340 So. 2d at 775. As

alleged throughout the Second Amended Complaint, by taking away the protection that belongs

to the Muscogee (Creek) Nation, Poarch is causing extreme cultural, religious, and emotional

harm to Plaintiffs. Poarch thus is retaining a benefit—unbridled use of the Hickory Ground

Site—where the “bridle” rightfully belongs to the Muscogee (Creek) Nation. A constructive trust

effectively returns that “bridle” to the Nation by converting Poarch to a trustee and enforcing

Poarch’s promises. Mitchell, 274 So. 3d at 266.

       Thus, contrary to the Tribal Defendants’ contentions, Poarch is indeed benefiting from

usurping a right that belongs to Plaintiffs: the right to protection of their sacred ancestral home.

Plaintiffs have alleged that Tribal Defendants have retained a benefit to the loss of the Muscogee

(Creek) Nation.

       3.      Plaintiffs’ unjust enrichment claim is timely.
       The Tribal Defendants argue that the statute of limitations for unjust enrichment can be

no more than six years. However, as the Tribal Defendants acknowledge, in Alabama there is a




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lack of authority definitively stating the statute of limitations applicable to an unjust enrichment

claim. Dkt. 202 at 41. As with promissory estoppel, because the nature of unjust enrichment

claims vary such that they may fit in different categories provided under Title 6, Chapter 2 of

the Alabama Code, the focus is on the nature of the claim. For the same reasons that a ten-year

statute of limitation applies to Plaintiffs’ promissory estoppel claim, see supra at 40 to 50, a ten-

year statute of limitations governs their unjust enrichment claim.

       Like their promissory estoppel claim, Plaintiffs’ unjust enrichment claim is rooted in

equity and seeks the equitable remedy of an injunction and constructive trust to enforce Poarch’s
promise of protection of the Hickory Ground site. See Dkt. 190 at 46–48, 76–77. The basis of

Plaintiffs’ unjust enrichment claim is based on Poarch’s continuing usurpation and deprivation of

Plaintiffs’ right to the protections Poarch promised. To remedy the unjust enrichment—i.e.,

Poarch’s retention of unchecked use of Hickory Ground where a specific “bundle of sticks” with

respect to that use was effectively given to Plaintiffs—Plaintiffs seek return of that bundle of

sticks in the form of a constructive trust enforcing those promises. See id. A claim of unjust

enrichment premised on unconscionable conduct in the acquisition and possession of real

property falls within the category of “[a]ctions for the recovery of lands, tenements or

hereditaments, or the possession thereof,” under Alabama Code § 6-2-33 governing actions for

which there is a ten-year statute of limitations. In other words, Plaintiffs’ unjust enrichment

claim is a claim in the nature of recovery of real property under Alabama Code § 6-2-33(2), and

is subject to a ten-year statute of limitations. See supra at 40 to 50.

       As stated on page 45, Plaintiffs have made allegations disputing the Tribal Defendants’

assertions that Plaintiffs knew in 1992 or 2002 that Poarch did not plan to abide by its promises.

On this motion, the Court must consider Plaintiffs’ allegations as true. Furthermore, the Tribal

Defendants concede that “Alabama law does appear to allow for a form of continuing unjust

enrichment under limited circumstances,” such as “where a defendant was obligated to

undertake serial performances.” Dkt. 202 at 41 (citing Snider v. Morgan, 113 So. 3d 643, 655–

56 (Ala. 2012)).


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        Though the Tribal Defendants assert that “no such serial performance obligation is

present here,” id., that is precisely the obligation Poarch undertook when it promised to

permanently preserve Hickory Ground. Indeed, in their statute of frauds argument, the Tribal

Defendants assert that “a promise to protect land ‘in perpetuity’ by its very terms cannot be

performed within one year,” id. at 30, as the obligation to protect the land presumably requires

serial acts of “performance” in the form of continual efforts to preserve the site. The Tribal

Defendants cannot have it both ways.

        The Alabama Supreme Court explained in Snider that the statute of limitations for an
unjust enrichment claim runs from the last date the defendant was unjustly enriched. See 113

So. 3d at 655-56. In Snider, the court held that an estate was unjustly enriched each time a

payment on a mortgage came due and estate failed to make that payment. Id. Here, Poarch is

similarly unjustly enriched, because each day it owes an affirmative duty to protect Hickory

Ground, and instead it reaps casino revenues while failing to fulfill its obligation to preserve the

site (and while continually mistreating, and causing damage to, Plaintiffs’ ancestors’ remains

and sacred artifacts).

        Plaintiffs’ meritorious claim for unjust enrichment and a remedy of a constructive trust

is timely because it is a claim in the nature of recovery of lands and is therefore accorded a ten-
year statute of limitations.

        4.      The statute of frauds does not bar Plaintiffs’ unjust enrichment claims.
        Tribal Defendants advance substantially the same statute of frauds argument raised in

opposition to Plaintiffs’ promissory estoppel claim. Dkt. 202 at 41–42. The statute of frauds is

inapplicable to Plaintiffs’ unjust enrichment claims for the same reason it does not apply to its

claim for promissory estoppel—namely, Plaintiffs’ unjust enrichment claim does not seek

specific performance of a contractual term. Instead, Plaintiffs ask this Court to remedy Tribal

Defendants’ unjust enrichment flowing from their dishonest and inequitable conduct by

imposing a constructive trust. As discussed in Section IV.C.3, supra, the statute of frauds does




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not bar enforcement of a constructive trust. See Perryman, 114 So.2d at 259. Tribal Defendants’

statute of frauds defense is therefore inapposite.

         Like Plaintiffs’ claim for promissory estoppel, Plaintiffs’ claim for unjust enrichment

does not depend on the enforcement of the terms of a contract. Courts widely recognize that a

claim for unjust enrichment is an alternative basis, which is distinct from a breach of contract

claim. See, e.g., Kennedy v. Polar-BEK & Baker Wildwood P’ship, 682 So. 2d 443, 447 (Ala.

1996) (recognizing that express contracts and implied contracts are “incompatible”); Berry v.

Druid City Hosp. Bd., 333 So. 2d 796, 798–99 (Ala. 1976) (explaining that courts imply
contracts to prevent unjust enrichment and that an implied contract “is not a contract at all”);

Restatement (Third) of Restitution and Unjust Enrichment § 1 cmt. a (Am. Law Inst. 2011)

(observing that unjust enrichment is “an independent basis of liability” and serves as a “cause of

action as well as the remedy”). The Tribal Defendants have been unjustly enriched by Plaintiffs’

acquiescence in Poarch’s purchase of Hickory Ground. “The law may impose any obligations

that justice requires,” Berry, 333 So.2d at 798–99, including the imposition of a constructive

trust.

         In sum, Plaintiffs have alleged the elements of unjust enrichment: a benefit—their

acquiescence in Poarch’s purchase of Hickory Ground—exchanged for promises that Poarch

would protect the sacred site, which protections Poarch has unjustly done away with for its own

enrichment and to the Plaintiffs’ detriment. As with promissory estoppel, Plaintiffs’ unjust

enrichment claim is in the nature of recovery of real property because it seeks imposition of a

constructive trust. Therefore, the statute of frauds does not apply and the claim is timely.

E.       The Plaintiffs have stated a claim under NAGPRA.

         NAGPRA is human rights legislation passed after “decades of struggle by Native

American tribal governments and people to protect against grave desecration, to repatriate

thousands of dead relatives or ancestors, and to retrieve stolen or improperly acquired religious

and cultural property back to Native owners.” Jack F. Trope and Walter R. Echo-Hawk, The



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Native American Graves Protection and Repatriation Act: Background and Legislative History,

24 ARIZ. ST. L.J. 35, 36 (1992). “In interpreting NAGPRA, it is critical to remember that it must
be liberally interpreted as remedial legislation to benefit the class for whom it was enacted.” Id.

at 76. NAGPRA was intended to prevent situations just like this one, where the Plaintiffs’

ancestors, their funerary objects, and other religious and cultural items were wrongfully

disinterred without appropriate notice to or consultation with the Plaintiffs and have been

wrongfully kept from the Plaintiffs’ custody. In a shocking and grimly ironic twist, the alleged

wrongdoer in this case is another federally recognized Indian tribe. The Plaintiffs are entitled to

the protections of NAGPRA for their ancestors and cultural items regardless of who commits the

wrongful acts.

            Plaintiffs have provided detailed allegations showing that the Tribal Defendants violated

NAGPRA by, inter alia, failing to follow NAGPRA requirements with respect to intentional

excavations at the Hickory Ground Site, inadvertent discoveries at the Hickory Ground Site, and

the ownership and control of the ancestors buried at the Hickory Ground Site. This Court has

broad equitable powers to order appropriate relief with respect to Plaintiffs’ NAGPRA claim and

the relief that Plaintiffs seek here is within the scope of that equitable authority. The Tribal

Defendants’ motion to dismiss the Plaintiffs’ NAGPRA claim should be denied.

            1.       NAGPRA requirements.
            NAGPRA affords protection to Native American “cultural items,” which include human

remains, associated funerary objects, unassociated funerary objects, sacred objects, and other

objects of cultural patrimony. 13 25 U.S.C. § 3001(3). NAGPRA applies to (1) the intentional

excavation and removal of cultural items, and (2) the inadvertent discovery of cultural items.

With respect to intentional excavations, Section 3002 of NAGPRA provides:

            “The intentional removal from or excavation of Native American cultural items
            from Federal or tribal lands…is permitted only if—
            (1) such items are excavated or removed pursuant to a permit issued under [16
            U.S.C. 470cc] which shall be consistent with this chapter;

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     Each of these terms is further defined in the statute, but the definitions are not of central relevance here.


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       (2) such items are excavated or removed after consultation with or, in the case of
       tribal lands, consent of the appropriate [Indian tribe];
       (3) the ownership and right of control of the disposition of such items shall be as
       provided in subsections (a) and (b); and
       (4) proof of consultation or consent under paragraph (2) is shown.”

25 U.S.C. § 3002(c). The relevant provisions of this subsection are discussed in more detail

below. With respect to inadvertent discoveries, Section 3002 of NAGPRA provides:

       Any person who knows, or has reason to know, that such person has discovered
       Native American cultural items on Federal or tribal lands after November 16,
       1990, shall notify, in writing, the Secretary of the Department, or head of any
       other agency or instrumentality of the United States, having primary management
       authority with respect to Federal lands and the appropriate Indian tribe…with
       respect to tribal lands, if known or readily ascertainable. . . . If the discovery
       occurred in connection with an activity, including (but not limited to)
       construction, mining, logging, and agriculture, the person shall cease the activity
       in the area of the discovery, make a reasonable effort to protect the items
       discovered before resuming such activity, and provide notice under this
       subsection.    Following the notification under this subsection, and upon
       certification by the Secretary of the department or the head of any agency or
       instrumentality of the United States or the appropriate Indian tribe or Native
       Hawaiian organization that notification has been received, the activity may
       resume after 30 days of such certification.

25 U.S.C. § 3002(d)(1) (emphasis added). In the event of inadvertently-discovered cultural

items excavated or removed, the disposition is the same as for intentionally-excavated cultural

items, 25 U.S.C. § 3002(d)(2), which is discussed in more detail below.

       As an initial matter, it is important to point out that, by their terms, these provisions apply

to everyone, not just to federal agencies and museums. The requirements for intentional

excavations are simply generally applicable. And the requirements for inadvertent discoveries

apply to “any person,” which includes an “individual, partnership, corporation, trust, institution,

association, or any other private entity, or, any official, employee, agent, department, or

instrumentality of the United States, or of any Indian tribe . . . or of any State or political

subdivision thereof.” 43 C.F.R. § 10.2(a)(5). In addition, these provisions draw certain

distinctions between “Federal lands” and “tribal land.” “Tribal land” means, in relevant part,

“(A) all lands within the exterior boundaries of any Indian reservation; [and] (B) all dependent


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                                 No. 21-11643
                  UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT


                     MUSCOGEE (CREEK) NATION, et al.,
                             Plaintiffs-Appellants,
                                        v.
                           BUFORD ROLIN, et al.,
                            Defendants-Appellants.


 Appeal from the District Court of the United States for the Middle District of
                         Alabama, Northern Division
   District Court No. 2:12cv1079-MHT (CSC) (Hon. Myron H. Thompson)


                 APPELLANTS’ APPENDIX – VOLUME 4


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Indian communities.” 25 U.S.C. § 3001(15). “Federal lands” means, in relevant part, “any land

other than tribal lands which are controlled or owned by the United States.”              25 U.S.C.

§ 3001(5).

       The permit required for intentional excavations under Section 3002(c)(1) is a federal

permit issued under ARPA to excavate or remove any archaeological resource located on public

lands or Indian lands. 16 U.S.C. § 470cc(a). If harm to, or destruction of, any religious or

cultural site may result, notice to “any Indian tribe which may consider the site as having

religious or cultural significance” is required before the permit may be issued. 16 U.S.C.
§ 470cc(c); see also 43 C.F.R. § 10.3(c). While there is an exception under the ARPA for tribes

performing archaeological excavations on their own lands, 16 U.S.C. § 470cc(g)(1), that

exception does not apply to non-tribal individuals or entities, even if they are acting on behalf of

a tribe. Id.; see also 25 C.F.R. § 262.4(c) (clarifying that consultants, advisors, and others serving

by contractual agreement as agents for Indian tribes are not exempt from permit requirements

under the ARPA, although they may be able to expedite the permit). Nor does it apply to

individual tribal members in the absence of tribal law regulating the excavation or removal of

archaeological resources on Indian lands. 16 U.S.C. § 470cc(g)(1). Indeed, in some limited

circumstances, it may not even apply to tribal employees, particularly if the tribe does not ensure

that permit requirements have been met by other documented means. 25 C.F.R. § 262.4(c)(2).

       The consultation provisions of Section 3002(c)(2) are further detailed in 43 C.F.R.

§§ 10.3 and 10.5. Consultation is required for intentional excavations on “Federal lands” and

suggested for intentional excavations on “tribal land.” 43 C.F.R. § 10.3(b)-(c). Under Section

10.5, consultation must be conducted with lineal descendants, tribes on whose aboriginal lands

the excavation will occur, tribes that are culturally affiliated with the cultural items, and tribes

that have a demonstrated cultural relationship with the cultural items. 43 C.F.R. § 10.5(a). The

consultation requirements are extensive, and include development of a plan of action that will

cover topics such as how the cultural items will be treated, the planned disposition of the cultural

items and more. 43 C.F.R. § 10.5(b)-(e).


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       In addition, intentional excavations on “tribal land” require the prior “consent of the

appropriate [Indian tribe]” under 25 U.S.C. § 3002(c)(2). Neither that section nor the relevant

provisions of NAGPRA’s implementing regulations, 43 C.F.R. §§ 10.3, 10.5, clarify the meaning

of “appropriate” tribe. However, BIA regulations regarding the issuance of permits for such

excavations suggest that “[d]etermination as to which tribe is the appropriate tribe shall be made

in accordance with [25 C.F.R.] § 262.8(a).” 25 C.F.R. § 262.5(d). That section, in turn, gives

first priority to lineal descendants for human remains and funerary objects.             25 C.F.R. §

262.8(a)(1). For other items, the tribal landowner generally has first priority, followed by the
tribe who aboriginally occupied the land, but the tribe “having the strongest cultural relationship

with such remains or objects” may take precedence over both in certain circumstances. 25

C.F.R. § 262.8(a)(2).

       Of the ownership and control requirements referenced in Sections 3002(c)(3) and

3002(d)(2) for both intentional excavations and inadvertent discoveries, those under Section

3002(a) are primarily relevant here. They control to whom ownership or control of cultural

items must be given. Ownership or control of human remains and associated funerary objects is

in the lineal descendants of the deceased. 25 U.S.C. § 3002(a)(1). If the lineal descendants

cannot be ascertained, then ownership or control will be as provided for unassociated funerary

objects and other cultural items. 25 U.S.C. § 3002(a)(2). Ownership or control of those items

vests first in the tribe on whose tribal land the objects or remains were discovered, and second

the tribe which has the closest cultural affiliation with such remains or objects. Id.

       With respect to inadvertent discoveries, three requirements apply to everyone, on both

federal land and tribal land: (1) they must provide immediate notice of the discovery; (2), they

must stop any ongoing activity for at least 30 days; and (3) they must make a reasonable effort to

protect the discovered cultural items. 25 U.S.C. § 3002(d)(1); 43 C.F.R. § 10.4(a)-(c). If the

discovery is on federal lands, they must notify the appropriate federal official, and if the

discovery is on tribal land, they must notify the appropriate tribal official. On federal lands, this

triggers consultation requirements and, if the discovered cultural items must be excavated or


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removed, the requirements for intentional excavations must be followed (ARPA permit,

consultation, appropriate disposition, etc.). 43 C.F.R. § 10.4(d). On tribal land, the tribal official

is suggested to take immediate steps to further secure and protect the cultural items, and, if the

discovered cultural items must be excavated or removed, the requirements for intentional

excavations must be followed (ARPA permit, consultation, appropriate disposition, etc.). 43

C.F.R. 10.4(e).

       2.         Plaintiffs’ claims.
       In considering the Plaintiffs’ claims, it is important to keep in mind that NAGPRA is, as
discussed above, remedial human rights legislation that must be liberally interpreted to benefit

the class for whom it was enacted, which includes the Plaintiffs. The wrongs done to the

Plaintiffs are exactly those that NAGPRA was intended to prevent and redress. Applying

NAGPRA in such a way so as to compound another grievous historical wrong—the forced

removal of the Plaintiffs from the Hickory Ground Site—by allowing a newly recognized tribe to

desecrate the Hickory Ground Site with impunity and take ownership and control over the

Plaintiffs’ ancestors and their cultural items to which they are not entitled contravenes the intent

of NAGPRA.

       As an initial matter, the Tribal Defendants have duties under NAGPRA even if they are

not a federal agency or museum. The Tribal Defendants seem to imply that NAGPRA does not
apply because they are not a federal agency or museum. Dkt. 202 at 43. This is wrong. As

discussed above, the duties with respect to intentional excavations and inadvertent discoveries

apply to everyone, not just to federal agencies and museums.

       To the extent those duties turn on land status, both “federal lands” and “tribal land,” as

defined in NAGPRA, are at issue here. The Plaintiffs have alleged that the Hickory Ground Site

includes both reservation land and trust land. Dkt. 190 at 64 ¶ 286. And the Tribal Defendants

do not directly contest that allegation, providing only the conclusory statement that “[t]he

Wetumpka property is tribal land.” Dkt. 202 at 43. However, only the portion of the Hickory



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Ground Site that is within the boundaries of Poarch’s reservation is “tribal land” within the

definition of NAGPRA. 24 U.S.C. § 3001(15). Any off-reservation trust land constitutes

“Federal lands” under NAGPRA. 24 U.S.C. § 3001(5). The Plaintiffs explain this distinction in

more detail in Section IV.B of the Plaintiffs’ Brief in Response to the Federal Defendants’

Motion to Dismiss, filed contemporaneously herewith.

       The Tribal Defendants violated NAGPRA when they directed or allowed any intentional

excavations at the Hickory Ground Site to take place without the appropriate permits. This

permit requirement is a very important part of NAGPRA, because, as discussed above, it should
ensure that the Muscogee (Creek) Nation receives prior notice of any excavation on the Hickory

Ground Site, as a tribe who considers the site to have religious or cultural significance, 16 U.S.C.

§ 470cc(c); see also 43 C.F.R. § 10.3(c). Importantly, anyone other than Poarch itself who

engaged in intentional excavation, whether on “tribal land” or “federal lands” for purposes of

NAGPRA, was required to obtain a permit under the ARPA, as discussed above. 25 U.S.C. §

3002(c)(1); 16 U.S.C. § 470cc(g)(1).       That includes archaeologists affiliated with Auburn

University and its associated archaeologists, who the Plaintiffs allege conducted excavations at

the Tribal Defendants’ direction, Dkt. 190 at 28 ¶ 101, and any other non-tribal individuals or

entities who discovery may reveal conducted excavations, even if they were contracted by

Poarch or otherwise acting on Poarch’s behalf. 16 U.S.C. § 470cc(g)(1); see also 25 C.F.R.

§ 262.4(c) (clarifying that consultants, advisors, and others serving by contractual agreement as

agents for Indian tribes are not exempt from permit requirements under the ARPA, although they

may be able to expedite the permit). It may also include individual Poarch tribal members, as it

appears that there may have been an absence of tribal law regulating the excavation or removal

of archaeological resources on Indian lands (or the excavation may have been in violation of that

law if it did exist). See Dkt. 190 at 25–26 (describing how Poarch had at least a policy in place

at one time prohibiting excavation, but upon information and belief, later reversed it). Indeed, in

limited cases, it could even include Poarch tribal employees, particularly if permit requirements

were not met by other means, which there is no indication that they were. Any excavation that


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took place without a permit was in violation of NAGPRA and the Poarch should not have caused

it to occur.

        To the extent they conducted or directed any intentional excavations on “Federal lands,”

the Tribal Defendants had a duty to consult with the Plaintiffs, and they should have done so for

intentional excavations on “tribal land” as well. 43 C.F.R. § 10.3(b)–(c). This consultation must

be conducted with lineal descendants, tribes on whose aboriginal lands the excavation will occur,

tribes that are culturally affiliated with the cultural items, and tribes that have a demonstrated

cultural relationship with the cultural items. 43 C.F.R. § 10.5(a). The Plaintiffs fall within all of
these categories. Plaintiffs Mekko Thompson and Hickory Ground Tribal Town are lineal

descendants of the excavated ancestors. 14 Dkt. 190 at 1, 7, 14, 31, 34. And the Hickory Ground
Site is within the aboriginal lands of the Muscogee (Creek) Nation, which is also culturally

affiliated with the cultural items, and which also has a demonstrated cultural relationship with

the cultural items. Id. at 1, 14. The Tribal Defendants knew all of this. Yet the Plaintiffs have

alleged that the Tribal Defendants did not consult with them before commencing the intentional

excavations. Id. at 30. And the Tribal Defendants do not contest that allegation, or suggest that

they fulfilled it at any time. Had the Tribal Defendants fulfilled NAGPRA’s consultation

requirements, perhaps, at the very least, the Plaintiffs’ ancestors could have been treated in a

culturally appropriate way, for which the Plaintiffs would have had the opportunity to provide

direction. 43 C.F.R. § 10.5(b)–(e).

        To the extent they conducted, directed, or allowed intentional excavations on “tribal

land,” the Tribal Defendants also had a duty to obtain the prior consent of the Muscogee (Creek)

Nation as the “appropriate” tribe under 25 U.S.C. 3002(c)(2); 25 C.F.R. § 262.8(a); 25 C.F.R.

§ 262.5(d). Because Plaintiffs Mekko Thompson and Hickory Ground Tribal Town are lineal

descendants, 15 the Muscogee (Creek) Nation was in first priority as the appropriate tribe. 25

14
   The Tribal Defendants argue that Plaintiffs Mekko Thompson and Hickory Ground Tribal Town are not lineal
descendants. E.g., Dkt. 202 at 44. This issue will be discussed in connection with the ownership and control
violation, below, as it is more central to that violation.
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   As noted in the previous footnote, the Tribal Defendants dispute this, and it will be discussed below.


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C.F.R. § 262.8(a)(1). And even if that were not the case, the Muscogee (Creek) Nation, as the

tribe “having the strongest cultural relationship with such remains or objects” could have taken

precedence over Poarch (as the current tribal landowner) for this purpose had it been given the

appropriate opportunity to do so. 25 C.F.R. § 262.8(a)(2).

       With respect to any inadvertent discoveries on both “federal lands” and “tribal land,” the

Tribal Defendants had specific duties to: (1) provide immediate notice of the discovery, or

ensure that others provided them with immediate notice, as applicable; (2) stop any ongoing

activity for at least 30 days; and (3) make a reasonable effort to protect the discovered cultural
items. 25 U.S.C. § 3002(d)(1); 43 C.F.R. 10.4(a)–(c). If the discovery was on federal lands,

they had a duty to engage in consultation with the Plaintiffs and, if the discovered cultural items

had to be excavated or removed, to follow the requirements for intentional excavations (ARPA

permit, consultation, appropriate disposition, etc.). 43 C.F.R. 10.4(d). And if the inadvertent

discovery was on tribal land, they still should have taken immediate steps to further secure and

protect the cultural items, and, if the discovered cultural items had to be excavated or removed,

to follow the requirements for intentional excavations (ARPA permit, consultation, appropriate

disposition, etc.). 43 C.F.R. 10.4(e). There is no indication that they fulfilled any of these

duties, and they do not argue that they did.

       Instead, they argue that because Poarch itself was the tribe to which the immediate notice

had to be provided, there was no NAGPRA violation. Dkt. 202 at 49. Tellingly, that does not

address whether the notice requirement was actually complied with, much less whether the

important requirements of work stoppage and protection of the cultural items were complied

with. Moreover, notice to the appropriate federal official was still required with respect to any

inadvertent discoveries on Federal lands. And even on tribal land, anyone making an inadvertent

discovery still had to immediately notify the Tribal Defendants, and the Tribal Defendants had a

duty to ensure that they did so, rather than turning a blind eye to the destruction and later arguing

that because it occurred at their direction, no notice, work stoppage, or protection was required.




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       The Tribal Defendants also argue that the Plaintiffs “have failed to adequately allege that

inadvertent discoveries occurred.” Dkt. 202 at 47. This is incorrect. The Plaintiffs allege that

cultural items were present in almost all areas of the Hickory Ground Site. Dkt. 190 at 30; see

also id. at 41 (depicting extensive distribution of burials). They further allege that it would have

been “virtually impossible to undertake any construction activities without a high probability of

damaging” human remains and other cultural items. Dkt. 190 at 30 (emphasis added). The

Tribal Defendants nevertheless imply that inadvertent discoveries are not likely to have occurred

during construction because a Phase III excavation was previously conducted. Dkt. 202 at 47–
48. But as the Plaintiffs have explained, the purpose of a Phase III excavation is to record data

about a site, not to remove all remains and cultural items a site may contain. Dkt. 190 at 28. In a

Phase III archaeological excavation some items are removed, but others are left at the site. Id..

At this point, the Plaintiffs are not required to identify specific inadvertent discoveries of cultural

items. Discovery will reveal those details. The Plaintiffs have made allegations sufficient to

support a very reasonable belief that inadvertent discoveries (and destruction) of cultural items

occurred.

       Finally, the Tribal Defendants had a duty to give ownership and control of the Plaintiffs’

ancestors, their funerary objects, and their other cultural items to the Plaintiffs. 25 U.S.C.

§ 3002(c)(3).   As discussed above, this duty does not apply only to federal agencies and

museums, as the Tribal Defendants seem to imply, but rather, is a central and generally

applicable provision of NAGPRA. Id. As lineal descendants of the deceased, Dkt. 190 1, 7, 14,

31, 34, Plaintiffs Mekko Thompson and Hickory Ground Tribal Town are entitled to ownership

and control of their ancestors’ remains and associated funerary objects. 25 U.S.C. § 3002(a)(1).

The Tribal Defendants argue that Plaintiffs Mekko Thompson and Hickory Ground Tribal Town

are not lineal descendants of the excavated ancestors. Dkt. 202 at 44. NAGPRA itself does not

contain a definition of “lineal descendant,” but NAGPRA’s implementing regulations define

“lineal descendant” as:




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       an individual tracing his or her ancestry directly and without interruption by
       means of the traditional kinship system of the appropriate Indian tribe . . . or by
       the common law system of descendance to a known Native American individual
       whose remains, funerary objects, or sacred objects are being claimed under these
       regulations.
43 C.F.R. § 10.2(b)(1).      By making traditional kinship system the primary standard for

determining lineal descendants (the definition originally only referred to the traditional kinship

system; the common law system was added as an alternative in response to a comment received),

the Department of the Interior intended that tribes would be able to determine for themselves, as

an intramural matter firmly within tribal authority, who qualifies as a lineal descendant. See 60
Fed. Reg. 62134, 62135 (Dec. 4, 1995) (“Reference to traditional kinship systems is designed to

accommodate the different systems that individual Indian tribes use to reckon kinship.”).

According to the Plaintiffs’ traditional kinship system, Plaintiffs Mekko Thompson and Hickory

Ground Tribal Town are the lineal descendants of the ancestors buried at the Hickory Ground

Site. Dkt. 190 at 1, 7, 14, 31, 34.

       While, as the Tribal Defendants point out, Dkt. 202 at 44, Hickory Ground Tribal Town

may not be an “individual” according to the common sense of the word (although the term

“individual” is not defined, so that cannot be ruled out), its members are individuals and lineal

descendants. Allowing a determination of their status as lineal descendants to turn on such a

technicality, particularly at this early stage of the case, would be contrary to NAGPRA’s

remedial purpose. The Tribal Defendants’ other argument, that the ancestors are not “known

Native American individual[s],” see Dkt. 202 at 44, is unavailing for the same reason. In

addition, the Plaintiffs’ ancestors are not unknown individuals.       The definition of “lineal

descendant” does not require that the deceased be identifiable by name, it only requires that they

be known. Regardless of whether the Plaintiffs might or might not know all of the deceased’s

names currently, they know that the deceased are their ancestors, and that they are the lineal

descendants of the deceased, according to their (and the ancestors’) traditional kinship system.

In some cases, the individuals may be even more closely identifiable as the Plaintiffs’ direct

ancestors based on the location of their burial.       E.g., Dkt. 190 (describing how Mekko


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Thompson’s ancestors have served as Mekko of Hickory Ground Tribal Town since time

immemorial, and how mekkos are buried in a certain location).               Thus, Plaintiffs Mekko

Thompson and Hickory Ground Tribal Town are lineal descendants of the ancestors buried at the

Hickory Ground Site.

       Even if Plaintiffs Mekko Thompson and Hickory Ground Tribal Town were not lineal

descendants (which they are), the Muscogee (Creek) Nation would be entitled to ownership and

control of the cultural items as the tribe which has the closest cultural affiliation with the cultural

items. 25 U.S.C. § 3002(a)(2)(B). Although the Tribal Defendants might normally occupy a
higher position of priority for ownership and control as the current tribal landowner with respect

to cultural items discovered on its reservation only, 25 U.S.C. § 3002(a)(2)(A), the Muscogee

(Creek) Nation should take precedence in this case, as the tribe “having the strongest cultural

relationship with such remains or objects” (as well as, next in priority, the Indian tribe who

aboriginally occupied the lands). 25 C.F.R. § 262.8(a)(2). Moreover, the drafters of NAGPRA

did not intend that the interests of tribes with the closes cultural affiliation would be disregarded

as they have been here. See S. Rep. No. 101-473, at 9 (1990) (“The Committee also recognizes

that there may be circumstances where human remains or objects found on one Indian tribe’s

lands may be culturally affiliated with a different Indian tribe.         In these situations . . . the

Committee intends that a determination of the right of possession shall be based on the best

available evidence given the totality of the circumstances.”).

       3.      NAGPRA provides a private right of action and broad equitable authority to
               the Court to craft a remedy for the Tribal Defendants’ violations.
       NAGPRA creates a private right of action and vests federal courts with jurisdiction over

claims of NAGPRA violations. NAGPRA’s enforcement provision, 25 U.S.C. § 3013, provides:

“The United States district courts shall have jurisdiction over any action brought by any person

alleging a violation of this chapter and shall have the authority to issue such orders as may be

necessary to enforce the provisions of this chapter.” (emphasis added). This provides a private

right of action, e.g., Geronimo v. Obama, 725 F. Supp. 2d 182, 185 (D. D.C. 2010) (stating that


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Section 3013 “expressly provides for a private right of action.”), and also vests the federal courts

with jurisdiction over NAGPRA claims, e.g., Thorpe v. Borough of Thorpe, 770 F.3d 255, 259

(3d Cir. 2014) (“NAGPRA’s jurisdictional provision vests federal courts with jurisdiction over

‘any action brought by any person alleging a violation of’ NAGPRA.”); Pueblo of San Ildefonso

v. Ridlon, 103 F.3d 936, 939 (10th Cir. 1996) (stating that Section 3013 “explicitly vests

jurisdiction in federal courts”).

        On its face, Section 3013 broadly authorizes courts to issue appropriate relief, as

necessary to enforce NAGPRA. E.g., Castro Romero v. Becken, 256 F.3d 349, 354 (5th Cir.
2001) (characterizing Section 3013 as granting “broad enforcement power”). This includes the

type of declaratory, injunctive, and other relief sought by the Plaintiffs. E.g., Yankton Sioux Tribe

v. U.S. Army Corps of Eng’rs, 194 F. Supp. 2d 977, 986 (D.S.D. 2002) (“The Court has the

authority to require the Corps to comply with its duties under NAGPRA and its implementing

regulations by issuing a writ of mandamus….”); Bonnichsen v. U.S. Dep’t of Army, 969 F. Supp.

614, 627 (D. Or. 1997) (“Section 3013 establishes a right to declaratory and injunctive relief to

redress violations of NAGPRA.”). The Tribal Defendants appear to object not to the form of the

relief requested, but to the nature or scope of the relief requested. But those objections are

premature. C.f., e.g., Vieux Carre Prop. Owners, Residents & Assocs., Inc. v. Brown, 948 F.2d

1436, 1447 (5th Cir. 1991) (“There is, in other words, a broad range of remedies that could

conceivably emerge from NHPA review. We find it inappropriate to pre-judge those results as

being limited to the extremes of either maintaining the status quo or totally demolishing the

park.”); Slockish v. U.S. Fed. Highway Admin., 682 F. Supp. 2d 1178, 1184-85 (D. Or. 2010)

(noting in an NHPA/NEPA case that the court could order a highway removed, but concluding:

“It is premature, in any event, at this stage of the case to set the precise parameters of the Court’s

equitable authority. Such a determination will best be made in any remedial phase of this

litigation after the facts have been established and the legal issues have been decided”). And

even if the Tribal Defendants’ objections were not premature, the scope of relief the Plaintiffs

request is within the Court’s equitable powers. C.f., e.g., West v. Sec’y of Dep’t of Transp., 206


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F.3d 920, 925 (9th Cir. 2000) (stating in a NEPA case that “upon finding that defendants failed

to comply with NEPA, our remedial powers would include remanding for additional

environmental review and, conceivably, ordering the [highway] interchange closed or taken

down.”); Mont. Wilderness Ass’n v. Fry, 408 F. Supp. 2d 1032, 1034-35, 1039 (D. Mont. 2006)

(noting in a NEPA/NHPA/ESA case that the court’s equitable powers were broad, and listing its

options for injunctive relief, which included requiring that a pipeline be removed, although it

ultimately chose to order the pipeline shut down instead).

       The Tribal Defendants mischaracterize the relief the Plaintiffs seek with respect to their
NAGPRA claim. Dkt. 202 at 50-51. Importantly, with respect to their NAGPRA claim, the

Plaintiffs do not seek a permanent injunction on any activity at the Hickory Ground Site, or an

order that the Hickory Ground Site be maintained in a pristine state forever, as much as the

Plaintiffs might desire that. What the Plaintiffs do request is that the Tribal Defendants be

required to comply with NAGPRA. Dkt. 190 at 58. As cases cited in the preceding paragraph

illustrate, this could involve some degree of rolling back actions that were taken without

NAGPRA compliance; and it is not clear what the outcome of the NAGPRA process would be;

but there is at least a possibility that some of the adverse effects could be ameliorated through an

appropriate interactive process. The Plaintiffs also request a declaratory judgment that the Tribal

Defendants have violated NAGPRA, as well as an order requiring them to comply with

NAGPRA going forward, so that this tragedy is not repeated. Dkt. 190 at 78. The Plaintiffs

allege that there are still human remains, funerary objects, and other cultural items in the ground

at the Hickory Ground Site and on other Poarch lands, Dkt. 190 at 44, that Poarch could also

destroy if not held accountable. The requested relief is within this Court’s authority to grant.

       In summary, the Hickory Ground Site is the Plaintiffs’ aboriginal land, from which they

were forcibly removed. The individuals buried there are the Plaintiffs’ ancestors. The Tribal

Defendants must not be allowed to flout NAGPRA, desecrate the Plaintiffs’ ancestors’ graves,

and deprive the Plaintiffs of ownership and control over their ancestors and other cultural items.

The Plaintiffs have alleged a viable NAGPRA claim, and this Court has broad authority to issue


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appropriate relief. The Tribal Defendants’ motion to dismiss the NAGPRA claim should be

denied.

F.        The Plaintiffs have stated a claim against the Tribal Defendants under ARPA.

          Federal law provides that “[n]o person may excavate, remove, damage, or otherwise alter

or deface, or attempt to excavate, remove, damage, or otherwise alter or deface any

archaeological resource located on public lands or Indian lands unless such activity is pursuant to

a permit issued under [16 U.S.C. § 470cc].” Archaeological Resources Protection Act (“ARPA”)
16 U.S.C. § 470ee(a); see also 25 C.F.R. § 262.3(a). For purposes of ARPA, “Indian lands”

means, in relevant part, land held in trust by the United States for Indian tribes. 16 U.S.C.

§ 470bb(4). “Public lands” means certain lands owned and administered by the United States,

such as national parks, national forests, etc. 16 U.S.C. § 470bb(3). Accordingly, the Hickory

Ground Site constitutes “Indian lands” for purposes of ARPA, because it was held in trust by the

United States for Poarch when Poarch breached its promises to protect this sacred site from

excavation and development.

          The permit requirement of ARPA (which is incorporated into NAGPRA) is a vital

component of the cultural preservation and protections in those statutes. It is intended to give

tribes who “may consider the site as having religious or cultural importance” prior notice of any

planned excavation that may harm a religious or cultural site. 16 U.S.C. § 470cc(c). While there

is an exception to the permit requirement for tribes (and sometimes tribal members, depending

on the circumstances) performing the excavation or removal of archaeological resources on their

own Indian lands, 16 U.S.C. § 470cc(g)(1), as discussed in Section IV.E.2 above, that exception

does not apply to others performing excavation on a tribe’s behalf. 25 C.F.R. § 262.4(c).

Indeed, in some circumstances, it may not even apply to tribal employees. Id. Even if Poarch

itself may not have needed a permit, the people and entities performing excavation and removal

of archaeological resources on its behalf did, and Poarch had a duty to ensure that they obtained




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the appropriate permits. To the extent any excavation occurred without a permit, as the Plaintiffs

have alleged, see Dkt. 190 at 63, it violated ARPA.

       Worse, the Tribal Defendants violated ARPA even with respect to permits that were

obtained. Plaintiffs allege, on information and belief, that Poarch officials falsely represented in

the permit application that no religious or cultural site would be harmed or destroyed by the

proposed work at the Hickory Ground Site. Dkt. 190 at 62. Before issuing a permit, BIA

regulations required Poarch, as the tribe having jurisdiction over the lands, to “either state that no

religious or cultural site will be harmed or destroyed by the proposed work or specify terms and
conditions that the permit must include in order to safeguard against such harm or destruction.”

25 CFR § 262.5(c)(1). As the Tribal Defendants have given no indication that they required any

safeguards (much less that such safeguards were implemented), presumably they falsely

represented that no harm or destruction would occur. Having pleaded a plausible claim on this

issue, Plaintiffs should be allowed to conduct discovery in order to obtain the information that is

in the exclusive possession and control of Poarch about it.

       Second, the Tribal Defendants or their agents failed to obtain the Muscogee (Creek)

Nation’s consent for any permits that were issued. If the lands involved in a permit application

are Indian lands, the applicant is required to obtain the consent of the “appropriate Indian tribal

authority” for the permit. 43 C.F.R. § 7.35. As discussed in more detail in Section IV.E.2, above,

25 C.F.R. § 262.5(d) provides that “[d]etermination as to which tribe is the appropriate tribe shall

be made in accordance with § 262.8(a),” which makes the Muscogee (Creek) Nation the

appropriate tribe. The Tribal Defendants’ argument that Plaintiffs Mekko Thompson and

Hickory Ground Tribal Town are not lineal descendants for this purpose is unavailing, as also

discussed in Section IV.E.2, above.

       There is also no question that Plaintiffs’ ARPA claim is timely under the APA’s six-year

statute of limitations. Plaintiffs allege that the Phase III excavation ended in 2011, Dkt. 190 at

28, not in 2006 as the Tribal Defendants inexplicably assert. Because the original Complaint in

this matter was filed in 2012, there is no statute of limitations that would bar this claim relating


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to the Phase III excavation when the allegation is taken as true. In fact, construction activities for

the casino resulting in further disturbance of buried human remains and artifacts took place even

after the original Complaint was filed. Dkt. 190 at 32 (casino construction activities continued

until 2014). The claims from that activity cannot be deemed untimely.

       Finally, excavation, removal, damage, alteration, or defacement to archaeological

resources at Hickory Ground by or at the direction of the Tribal Defendants without a required

permit violated ARPA, regardless of whether it occurred during the Phase III excavation or

during the subsequent construction of the casino (which the Plaintiffs allege concluded in 2014,
Dkt. 190 at 32). The casino construction activities are not exempt from ARPA’s prohibition on

conducting those activities on Indian lands without a permit. 16 U.S.C. § 470ee(a). ARPA’s

implementing regulations do provide an exception to the permit requirements for activities that

are “exclusively for purposes other than the excavation and/or removal of archaeological

resources, even though those activities might incidentally result in the disturbance of

archaeological resources.” 43 C.F.R. § 7.5(b)(1) (emphasis added). But that exception applies

only to “activities on the public lands.” Id. (emphasis added). The lands at issue here are

“Indian lands,” not “public lands” for purposes of ARPA, so this exception does not apply.

       Assuming solely for the sake of argument that this exception could apply on Indian lands

like Hickory Ground, the exception does not apply in a situation such as this one, where the actor

knew that archaeological resources were present and that excavation would necessarily cause

their excavation and removal.

       [T]he actions of the plaintiff in this case are easily characterized as ‘purposeful
       excavation and removal of archaeological resources’ inasmuch as Fein was made
       aware through the language of the Deed that historical ruins were present in the
       area he proposed to build a house. He and his agents were thus charged with the
       knowledge that any digging on the site would certainly cause the excavation and
       removal of archaeological resources, which would be ‘purposeful’ and not
       inadvertent.
Fein v. Peltier, 949 F.Supp. 374, 380 (D. V.I. 1996) (emphasis added).              Thus, the court

concluded that an ARPA permit was required.             Treating as true Plaintiffs’ well-pleaded


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allegations that ancestral remains and artifacts were present throughout the Hickory Ground Site,

making it impossible to conduct excavation and construction activity without disturbing them

(Dkt. 190 at 30-31, 41), there is no way that this disruption could be deemed not “purposeful” or

“incidental” for purposes of the exception, and it should not apply.

       NAGPRA provides the cause of action for the Tribal Defendants’ ARPA violations. See

Dkt. 190 at 63. NAGPRA does not merely require one to obtain an ARPA permit, it requires that

the items be excavated or removed “pursuant to” that permit, 25 U.S.C. 3002(c)(1)—in other

words, with a permit and in accordance with the requirements of that permit. And as discussed
above, NAGPRA broadly authorizes the district courts to “issue such orders as may be

necessary” to enforce its provisions, which include the incorporated ARPA requirements. 25

U.S.C. § 3013.

G.     The Plaintiffs have stated a claim against the Tribal Defendants under the NHPA.

       The Tribal Defendants entered into an agreement with the National Parks Service to

fulfill all responsibilities and obligations applicable to Hickory Ground under the National

Historic Preservation Act (“NHPA”) (codified as amended at 54 U.S.C. §§ 300101-307108).

Dkt. 190 at 24. As explained in more detail below and alleged in the Second Amended

Complaint, the Tribal Defendants became responsible for compliance with NHPA through that

agreement, they undertook actions that required certain steps under NHPA, they violated those
requirements and those violations are reviewable pursuant to NHPA. Accordingly, Plaintiffs

have pleaded a plausible claim under NHPA and the Tribal Defendants’ motion to dismiss this

claim should be denied.

       1.        NHPA imposes a mandatory process for assessing impacts on historic places.
       The purpose of NHPA is the preservation of historic resources. Nat’l Indian Youth

Council v. Watt, 664 F.2d 220, 226 (10th Cir. 1981). The Hickory Ground Site has been listed

on the National Register of Historic Places since 1980. Dkt. 190 at 5, 14. Accordingly, it is a




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“historic property” subject to NHPA. 54 U.S.C. § 300308 (defining “historic property” as

including sites included on the National Register).

       Section 106 of NHPA (codified at 54 U.S.C. § 306108) requires Federal agencies to take

into account the effects of their undertakings on historic properties. 36 C.F.R. § 800.1(a). This

is commonly referred to as the “Section 106 process.”

       The section 106 process seeks to accommodate historic preservation concerns
       with the needs of Federal undertakings through consultation among the agency
       official and other parties with an interest in the effects of the undertaking on
       historic properties, commencing at the early stages of project planning. The goal
       of consultation is to identify historic properties potentially affected by the
       undertaking, assess its effects and seek ways to avoid, minimize or mitigate any
       adverse effects on historic properties.
Id. Federal agencies must complete the Section 106 process before approving the expenditure of

any Federal funds or issuing any license. 54 U.S.C. § 306108; 36 C.F.R. § 800.1(c).

       2.      NHPA’s requirements apply to the Tribal Defendants because they assumed
               NHPA obligations by agreement with the National Park Service.
       While NHPA requirements primarily apply to Federal agencies, tribes can assume certain

legal obligations under NHPA. NHPA provides for a tribe to assume all or part of the functions

of a State Historic Preservation Officer with respect to tribal land. 54 U.S.C. § 302702.

       Poarch entered into just such an agreement with Federal Defendants the National Park

Service and Department of the Interior for the express purpose of assuming NHPA

responsibilities, including with respect to the Hickory Ground Site (hereinafter, the “NPS

Agreement”). Dkt. 190-1 at 115-19. Under the NPS Agreement, Poarch expressly assumed

responsibility for certain NHPA functions on tribal lands. Id. at 115. These include, inter alia, to

cooperate with various other entities to “ensure that historic properties are taken into

consideration at all levels of planning and development;” to consult with appropriate Federal

agencies regarding any “Federal undertakings that may affect historic and culturally significant

properties on tribal lands;” and to consult with appropriate Federal agencies regarding “the

content and sufficiency of any plans to protect, manage, or mitigate harm to such properties.” Id.



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at 116. Poarch also agreed to “carry out its responsibilities for review of Federal undertakings

pursuant to Section 106 of the Act in accordance with [its implementing regulations].” Id. at 117.

       Of paramount importance, Poarch also expressly agreed to provide for “consultations

with representatives of any other tribes whose traditional lands may have been within [Poarch’s

reservation].” Id. Even more specifically, in any case where an action covered by NHPA might

affect the traditional lands of another tribe, Poarch agreed to “seek and take into account the

views of that Tribe.” Id. These provisions are an integral and mandatory part of any such

agreement. See 54 U.S.C. § 302704 (Secretary may only enter into such an agreement if it
provides for appropriate participation by “representatives of other Indian tribes whose traditional

land is under the jurisdiction of the Indian tribe assuming responsibilities,” among other things).

       Tribes who assume these responsibilities take legal and financial responsibility for

implementing and complying with the required steps of the Section 106 process. 36 C.F.R.

800.2. In carrying out this responsibility, they exercise delegated federal legal authority. Id.

Therefore, NHPA requirements apply to the Tribal Defendants because they assumed NHPA

obligations under the NPS Agreement.

       3.      The Plaintiffs have alleged various “undertakings” under the NHPA.
       “Undertaking” means a “project, activity, or program funded in whole or in part under the

direct or indirect jurisdiction of a Federal agency.” 54 U.S.C. § 300320. It includes projects,

activities, or programs carried out by or on behalf of a Federal agency, those carried out with

Federal financial assistance, and those requiring a Federal permit, license, or approval. Id.

Courts have construed the statute to mean that only a Federal permit, license, or approval is

required for an action to be a federal undertaking—federal funding is not necessarily required.

United Keetoowah Band of Cherokee Indians v. Fed. Comm. Comm’n, 933 F.3d 728, 734 (D.C.

Cir. 2019); Sheridan Kalorama Hist. Ass’n v. Christopher, 49 F.3d 750, 755 (D.C. Cir. 1995)

(finding that the definition of “undertaking” included projects requiring a federal permit or

merely federal approval, because a narrower reading would “deprive the references to licensing




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in § 106 of any practical effect”); Standing Rock Sioux Tribe v. United States Army Corps of

Engineers, 205 F. Supp. 3d 4, 8 (D. D.C. 2016) (“An undertaking is defined broadly to include

any ‘project, activity, or program’ that requires a federal permit.”); Fein v. Peltier, 949 F. Supp.

374, 379 (D. V.I. 1996) (reading the phrase “funded in whole or in part” as modifying only the

word “program,” and finding that “an undertaking for purposes of section 106 includes a project

or activity under the direct or indirect jurisdiction of the NPS which requires its prior approval,

regardless of whether the project or activity is funded in whole or in part by the federal

government.”).
       The federal decision need not be particularly formal, and it need not result in affirmative

action in order to constitute an undertaking.        For example, the construction of wireless

communication towers has been held to constitute an undertaking subject to NHPA review based

on an online registration process for the towers that takes mere minutes to complete. CTIA-

Wireless Ass’n v. Fed. Comm. Comm’n, 466 F.3d 105, 114 (D.C. Cir. 2006). A decision to take

no action has also been held to constitute an undertaking. Nat’l Trust for Hist. Pres. v. Blanck,

938 F. Supp. 908, 920 (D. D.C. 1996). In that case, Walter Reed Army Medical Center made a

decision not to excess (i.e., sell) historic buildings, even though it was not using the buildings,

did not have the resources to maintain the buildings, and had allowed the condition of the

historic buildings to significantly deteriorate. Id. at 910, 919-20. As the court explained, “[t]hat

decision had the sort of serious and long-term consequences” for the historic buildings that the

NHPA requires be undertaken in accordance with the Section 106 process. Id. at 920. By these

standards, several “undertakings” occurred here.

       Both the issuance of ARPA permits and the decision to allow excavation of the Hickory

Ground Site to occur without required ARPA permits constitute undertakings.               Although

issuance of an ARPA permit alone is generally not an undertaking requiring compliance with

Section 106 of NHPA, 43 C.F.R. § 7.12, the excavation of the Hickory Ground Site was an

undertaking, and thus NHPA required the Section 106 process to be completed before any

federal funds could be approved in connection with the project and before any permits were


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issued. See Sheridan Kalorama Hist. Ass’n, 49 F.3d at 754 (it is the project that constitutes the

undertaking, not the decision to fund or license). The excavation took place on land owned by

the federal government in trust for Poarch, for which the federal government had delegated

Poarch historic preservation responsibilities. See Fein, 949 F. Supp. at 379 (concluding that the

NHPA applied, citing federal ownership of the land and a contractual obligation not to disturb

historic ruins on the land and to allow NPS representatives to enter upon the property at

reasonable times). Moreover, the Plaintiffs have alleged facts sufficient to support a reasonable

belief that the excavation was federally funded, in whole or in part. See Dkt. 190 at 65, 71
(indicating that Poarch appears to generally receive federal historic preservation funds on an

annual basis); 54 U.S.C. §§ 302906, 302907 (authorizing grants to tribes for the preservation of

their cultural heritage, as well as for the purposes of carrying out a historic preservation

program).

       Having pleaded a plausible claim on this issue, the Plaintiffs should be allowed to

conduct discovery in order to obtain information in the exclusive possession and control of the

Tribal Defendants to determine whether any portion of that funding was intended or used for any

activities concerning the Hickory Ground Site. As in Blanck, the decision to allow the excavation

(whether with or without required ARPA permits) “had the sort of serious and long-term

consequences” for the National Register-listed Hickory Ground Site that should have triggered

the Section 106 process. 938 F. Supp. at 920. It would be nonsensical if a short, online

registration process for something that might have an impact on a historic site was an

undertaking, as in CTIA-Wireless, 466 F.3d at 114, but a decision to allow excavation of a known

Muscogee (Creek) Nation historic burial and ceremonial site was not.

       Construction and operation of the casino and hotel on the Hickory Ground Site also

constituted an undertaking, because an Indian gaming facility is by its very nature a project

conducted with federal approval and extensive federal involvement. From the very earliest days

of the Indian gaming industry, the federal government has been extensively involved in all

aspects of Indian gaming. The federal government actively promoted gaming as a way of


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meeting federal goals for tribes, such as economic development and self-determination.

California v. Cabazon Band of Mission Indians, 480 U.S. 202, 217 and n.21 (1987). Multiple

departments of the federal government, including Federal Defendant the Department of the

Interior, provided financial assistance to tribes to develop the nascent industry. Id. at 218.

Federal Defendant the Secretary of the Interior originally approved tribal gaming ordinances,

regulated the gaming activities, and reviewed management contracts for tribal gaming facilities.

Id. Indeed, the very reason the Indian gaming industry exists as it does is because of the

important tribal and federal interests involved, which preempt state regulation. See id. at 216–22
(balancing the interests of the federal government first, tribal governments second, and state

government third, in order to determine whether state regulation was preempted, and determining

that it was).

        Subsequent to the Cabazon case, the federal government further formalized its regulation

of the Indian gaming industry by enacting the Indian Gaming Regulatory Act (“IGRA”), codified

at 25 U.S.C. §§ 2701-2721. IGRA established the National Indian Gaming Commission

(“NIGC”) within the Department of the Interior, 25 U.S.C. § 2704(a), and granted the NIGC

extensive authority over Indian gaming operations. For example, gaming can only be conducted

with an ordinance approved by the NIGC Chairman. 25 U.S.C. § 2710(b)(1)(B). The NIGC is

required to monitor gaming conducted on Indian lands on a continuing basis, and to inspect and

examine all premises located on Indian lands on which gaming is conducted. 25 U.S.C. §

2706(b). IGRA imposes requirements regarding the uses of gaming revenues and, notably for

purposes of this case, the construction of gaming facilities. 25 U.S.C. § 2710(b). The NIGC even

plays a role in the hiring and retention of employees. Id.; 25 U.S.C. § 2710(c) (primary

management officials and key employees must be licensed, and background checks must be

conducted and sent to the NIGC before licenses are issued; NIGC may require the suspension of

a license if it does not approve of the employee). NIGC approval is required, and the NIGC

mandates terms, for certain contracts. 25 U.S.C. § 2711 (requiring the Chairman’s approval of

management contracts and collateral agreements, setting limits on the term of management


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contracts and fees under such contracts, and prescribing certain other terms in the contracts).

The NIGC has the authority to close a gaming operation. 25 U.S.C. § 2713(b). And, notably for

purposes of this case, the NIGC is funded by tribal gaming operations—the casino built on the

Hickory Ground Site is required to pay a percentage of its revenues to the NIGC. 25 U.S.C. §

2717(a).

       Pursuant to NIGC regulations, a tribe must notify the NIGC at least 120 days before

opening any new gaming facility. 25 C.F.R. § 559.2(a). Assuming Poarch complied with this

requirement, as it should have, the federal government accordingly had at least four months’
notice that the casino was under construction. Finally, the NIGC prescribes extremely detailed

standards for all aspects of tribal gaming operations. See, e.g., 25 C.F.R. Part 543 (Minimum

Internal Control Standards for Class II Gaming).

       The federal government’s ownership of the Hickory Ground Site; its extensive

involvement in the gaming operation, from construction on; and its receipt of revenues from the

gaming operation makes the planning, construction and operation of the gaming facility an

undertaking. Cf. Fein, 949 F. Supp. at 379; CTIA-Wireless, 466 F.3d at 114-15 (retention of

approval authority constituted undertaking). Compare Ringsred v. City of Duluth, 828 F.2d

1305, 1306, 1308-09 (8th Cir. 1987) (concluding that a parking ramp to be built adjacent to a

pre-IGRA Indian gaming facility was not an undertaking for purposes of NHPA where it would

be built on City land, using City funds, the federal government would provide no financial aid

and receive no revenue from it, there were no federal licensing requirements, and the federal

government would have no input regarding design or construction).

       4.     The Tribal Defendants violated the NHPA.
       In carrying out its obligations under the Section 106 process, a Federal agency must

consult with Indian tribes, among others. 54 U.S.C. § 302706(b); Id. § 306102(b). If a historic

property may be affected by an undertaking, the agency official must consult with any Indian

tribe that “attaches religious and cultural significance” to the historic property. 36 C.F.R. §




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800.2(c)(2)(ii); 36 C.F.R. § 800.3(f)(2). A tribal governmental official who has been delegated

legal responsibility for Section 106 compliance must likewise engage in consultation. 36 C.F.R.

§ 800.2(a) and (c) (tribal governmental official exercising delegated authority may be the agency

official and agency official must include as a consulting party in the Section 106 process any

tribe that attaches religious and cultural significance to historic properties that may be affected

by an undertaking); 36 C.F.R. § 800.3(f)(2) (agency official must invite tribes that might attach

religious and cultural significance to historic properties to consult). Poarch expressly assumed

consultation obligations for purposes of the Section 106 process. Accordingly, Poarch and its
Tribal Historic Preservation Officer had the duty to consult with the Muscogee (Creek) Nation,

as a tribe—indeed the primary tribe—that attaches religious and cultural significance to the

National Register listed Hickory Ground Site, with respect to any undertakings that might affect

the Site.

        Consultation obligations arise throughout the Section 106 process.          For example,

consideration of adverse effects to a historic property must be done in consultation with any tribe

that attaches religious and cultural significance to the property. 36 C.F.R. § 800.5. If a party

disagrees with a finding of no adverse effect, then the agency official must either consult with

the party to resolve the disagreement or request the Advisory Council on Historic Preservation to

review the finding. Id. § 800.5(c)(2). If an adverse effect is found, the agency official must

consult further to develop and evaluate alternatives or modifications to the undertaking that

could avoid, minimize, or mitigate adverse effects. Id. § 800.5(d)(2); 36 C.F.R. § 800.6. The

consultation process is intended to give a tribe “a reasonable opportunity to identify its concerns

about historic properties, advise on the identification and evaluation of historic properties,

including those of traditional religious and cultural importance, articulate its views on the

undertaking’s effects on such properties, and participate in the resolution of adverse effects.” 36

C.F.R. § 800.2(c)(2)(ii)(A).

        Plaintiffs have alleged that Poarch did not engage in consultation with the Muscogee

(Creek) Nation at any of these required points in the consultation process, with respect to any of


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the undertakings discussed above. Dkt. 190 at 66. The Tribal Defendants do not dispute this

allegation. Their argument that they did engage in some discussions with the Plaintiffs over the

years, Dkt. 202 at 59, fails because these discussions did not take place before the undertaking,

as required by the NHPA, and they do not meet the NHPA’s specific requirements for

consultation. These failures to consult caused real-world harm to Plaintiffs. Poarch’s wholesale

disregard of these consultation obligations deprived the Plaintiffs of the opportunity to identify

their concerns about undertakings at the Hickory Ground Site and to participate in the resolution

of adverse effects. If the Plaintiffs had been consulted as they should have been, perhaps the
parties would have been able to avoid the egregious harms that occurred. At a minimum, the

Plaintiffs could have advised as to how to treat their ancestors’ remains and cultural items in a

culturally appropriate fashion. The Tribal Defendants violated NHPA.

       4.      The Tribal Defendants’ NHPA violations are reviewable under NHPA.

       The Tribal Defendants’ NHPA violations are reviewable under NHPA. The NHPA

expressly contemplates enforcement actions by “any interested person.”

       In any civil action brought in any United States district court by any interested
       person to enforce this division, if the person substantially prevails in the action,
       the court may award attorney’s fees, expert witness fees, and other costs of
       participating in the civil action, as the court considers reasonable.
54 U.S.C. § 307105 (emphasis added).

       This section provides a private right of action. Boarhead Corp. v. Erickson, 923 F.2d

1011, 1017 (3d Cir.1991); Vieux Carre Prop. Owners, Residents & Assoc., Inc. v. Brown, 875

F.2d 453, 458 (5th Cir.1989); Yankton Sioux Tribe v. United States Army Corps of Engineers,

194 F. Supp. 2d 977, 990 (D. S.D. 2002). See also Narragansett Indian Tribe v. Rhode Island

Dept. of Transp., 903 F.3d 26, 29-30 (1st Cir. 2018) (“We have previously assumed, without

deciding, that the NHPA creates some type of private right of action….we can continue to

indulge in this assumption, again…because the Tribe in its complaint does not purport to bring

any claim to enforce the NHPA.”). But see Karst Envtl. Educ. & Prot., Inc. v. Envtl. Prot.

Agency, 475 F.3d 1291, 1295 (D.C. Cir. 2007) (stating in passing, and without analysis, that


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NHPA contains no private right of action); San Carlos Apache Tribe v. United States, 417 F.3d

1091, 1099 (9th Cir. 2005) (agreeing with its “sister circuits” that the attorney fees provision

“demonstrates Congressional intent that individuals may sue to enforce the NHPA,” but

concluding that it does not give rise to a private action against the government). As discussed in

Section IV. A.1, above, because the Tribal Defendants were exercising delegated authority, the

defense of sovereign immunity is not available.

       Moreover, as discussed in Section IV.E.3, above, the Court has broad equitable powers to

order appropriate relief in an NHPA case. See, e.g., Vieux Carre Property Owners, Residents &
Assoc., Inc. v. Brown, 948 F.2d 1436, 1447 (5th Cir. 1991) (“There is, in other words a broad

range of remedies that could conceivably emerge from NHPA review. We find it inappropriate

to pre-judge those results as being limited to the extremes of either maintaining the status quo or

totally demolishing the park.”); see also Montana Wilderness Ass’n v. Fry, 408 F. Supp. 2d

1032, 1034-35, 1039 (D. Mont. 2006) (noting in a NEPA/NHPA/ESA case that the court’s

equitable powers were broad, and listing its options for injunctive relief, which included

requiring that a pipeline be removed, although it ultimately chose to order the pipeline shut down

instead). The Court should exercise those equitable powers on the basis of a fully-developed

record and after fact finding. Slockish v. United States Federal Highway Admin., 682 F. Supp.

2d 1178, 1185 (D. Or. 2010). Resolution at an earlier stage would be premature. “Such a

determination will best be made in any remedial phase of this litigation after the facts have been

established and the legal issues have been decided.” Id.

       At this stage of the case, all the Court needs to decide is whether Plaintiffs have alleged a

plausible claim for relief under the NHPA. Once the facts are determined, the Court can decide

whether Tribal Defendants violated the NHPA and the NPS Agreement; whether an order in the

nature of mandamus requiring them to abide by the NHPA going forward is needed to prevent

further tragedies of this nature; and whether to issue an injunction requiring them to consult with

the Plaintiffs during such restoration of the Hickory Ground Site as the Court may order. Those

are important decisions that should be made on a full record.


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H.      The Plaintiffs have stated a claim against the Federal Defendants and Tribal
        Defendants under RFRA because Tribal Defendants are federal actors whose
        actions are substantially burdening Plaintiffs’ religious exercise.

        Because Tribal Defendants and Federal Defendants advance very similar arguments in

their motions to dismiss Plaintiffs’ RFRA claim, Plaintiffs address both Tribal Defendants’ and

Federal Defendants’ arguments in Section IV.E of their Response to Federal Defendants’ Motion

to Dismiss, incorporated herein by reference, for the sake of convenience and efficiency.

I.      This Court should not dismiss Count VIII of the Second Amended Complaint
        seeking relief from the application of NAGPRA and ARPA in violation of Plaintiffs’
        rights of religious exercise.
        Count VIII of the Second Amended Complaint asserts that the Federal Defendants and

the Tribal Defendants applied NAGPRA and incorporated provisions of ARPA in a fashion that

violated the Free Exercise Clause, RFRA, and Religious Land Use and Institutionalized Persons

Act (“RLUIPA”). Dkt. 190 at 59-61. Those violations consist of (1) allowing any tribe other than

the Muscogee (Creek) Nation to consent to excavation of the Hickory Ground Site or (2)

providing any entity other than Mekko Thompson and the Muscogee (Creek) Nation with a

higher priority of ownership in the remains and other items excavated from the Site. Dkt. 190 at

60-61. Plaintiffs seek relief from this Court to address these violations because Plaintiffs cannot

do so without risking civil or criminal penalties.

        Federal Defendants and Tribal Defendants contend that Count VIII should be dismissed

for largely the same reasons that they argue Plaintiffs’ RFRA claim should be dismissed, and

because they contend the Religious Land Use and Institutionalized Persons Act (“RLUIPA”)

does not apply here. Dkt. 200 at 40-41; Dkt. 202 at 70-72. 16 As discussed below, relevant
portions of RLUIPA do apply here, and this Court should not dismiss Count VIII for largely the

same reasons this Court should not dismiss Plaintiffs’ RFRA claim: without compelling

justification, Federal Defendants and Tribal Defendants have applied NAGPRA and related


16
   Because Tribal Defendants and Federal Defendants advance very similar arguments in their motions to dismiss
Count VIII, Plaintiffs address both Tribal Defendants’ and Federal Defendants’ arguments in this brief for the sake
of convenience and efficiency.


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provisions in ARPA to Plaintiffs in a manner that prevents altogether or substantially burdens

Plaintiffs’ exercise of their religious beliefs.

        1.      NAGPRA’s “ownership or control” rule should be applied to honor
                Plaintiffs’ traditional kinship structure.
        Plaintiffs’ claims in Count VIII center on Tribal Defendants’ and Federal Defendants’

interpretation of NAGPRA’s “ownership or control” rule, which dictates who has ownership and

control over Native American cultural items excavated from a site and who must consent to

excavations on tribal land. First, Tribal Defendants did not obtain consent from the Muscogee

(Creek) Nation prior to excavating at Hickory Ground, and thus applied NAGPRA and ARPA’s
requirement to obtain consent for excavation from the “appropriate Indian tribe” to Plaintiffs in a

manner that violates the Free Exercise clause of the First Amendment, the Religious Land Use

and Institutionalized Persons Act, and the Religious Freedom Restoration Act. See Dkt. 190 at

60. Second, the Department of the Interior incorrectly denied Mekko Thompson’s NAGPRA

claim by applying the ownership or control rule in a manner that violates the Free Exercise

clause of the First Amendment, the Religious Land Use and Institutionalized Persons Act, and

the Religious Freedom Restoration Act. See Dkt. 190 at 60-61. In both cases, Plaintiffs are

compelled by their religion to return the remains and cultural items to their original and intended

burial places, but if they do so they will face civil and criminal sanctions, violating their religious

freedoms and rights.

        Under NAGPRA, “lineal descendants” have first priority, over the tribal landowner, for

ownership and control of Native American cultural items excavated from tribal land. See 25

U.S.C. § 3002(a); 25 C.F.R. § 262.8(a); 43 C.F.R. § 10.6(a); see also Dkt. 190 at 54, 60. Lineal

descendancy, in turn, can be established “by means of the traditional kinship system of the

appropriate Indian tribe.” 43 C.F.R. §§ 10.2(b)(1), 10.14.

        The traditional kinship system of the Hickory Ground Tribal Town holds that all modern-

day members of the Tribal Town are lineal descendants of those buried at the original Hickory

Ground, as Tribal Town membership is matrilineal. Dkt. 190 at 7, 13. The Tribal Town chief, its


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“mekko,” represents the Tribal Town; under Hickory Ground Tribal Town’s traditional kinship

system, this means that Mekko George Thompson represents all lineal descendants of those

buried at (and excavated from) the Hickory Ground Site. Id. at 13, 31. Because the Muscogee

(Creek) Nation is a confederacy of Tribal Towns, the Nation’s responsibility under the traditional

kinship system is as parens patriae representative of the Tribal Towns, also referred to as

“Ceremonial Grounds” in Muscogee (Creek) Nation law. See Dkt. 190 at 7, 55; see, e.g.,

Muscogee (Creek Nation) Code, tit. 5, §§ 1-101, 1-104, 2-103, 2-203 (acknowledging

“Ceremonial Grounds” as entities under the Nation’s jurisdiction and holding the Mekko of each
Grounds     accountable      for    aid    provided     by     the    Nation),    available     at

http://www.creeksupremecourt.com/wp-content/uploads/Title-5.pdf. Thus, under the Muscogee
(Creek) Nation’s traditional kinship structure, Mekko Thomson “has ownership and right of

control over the disposition of” the human remains and associated funerary objects excavated

from the Hickory Ground Site. Dkt. 190 at 34; see also id. at 55.

       2.      Congress intended NAGPRA to honor tribes’ religious connections with their
               ancestors by allocating control over remains and cultural objects to the tribes
               and members that are related to such remains and cultural objects.
       NAGPRA and the ARPA provisions it incorporates are laws specifically directed at

religion and religious practice. See Dkt. 190 at 59. As stated by Senator Inouye in a hearing

proceeding NAGPRA’s passage, “[i]n light of the important role that death and burial rites play

in native American cultures, it is all the more offensive that the civil rights of America's first

citizens have been so flagrantly violated for the past century,” even when “supposedly great

strides have been made to recognize the rights of Indians to recover the skeletal remains of their

ancestors and to repossess items of sacred value or cultural patrimony, the wishes of native

Americans are often ignored by the scientific community.” 136 Cong. Rec. 35,678 (1990)

(statement of Sen. Inouye). Thus, NAGPRA “is not about the validity of museums or the value

of scientific inquiry” but about those “human rights.” Id. A House Report discussion of the

definition of “sacred objects” also underscores the goal of NAGPRA to honor tribal religions by



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requiring repatriation of objects needed for religious ceremonies to the tribe who originally

owned the objects: “[i]t is the intent of the Committee to permit traditional Native American

religious leaders to obtain such objects as are needed for the renewal of ceremonies that are part

of their religions,” recognizing that “the practice of some ceremonies has been interrupted” due

to circumstances beyond the control of the tribe. H.R. Rep. No. 101-877 (1990), as reprinted

in 1990 U.S.C.C.A.N. 4367, 4373.

        In accordance with its objective to protect sacred human remains and objects by honoring

tribal religious ties to ancient remains and cultural items, NAGPRA contains requirements (1) to
consult with “traditional religious leaders,” see 25 U.S.C. §§ 3003(b)(1) (regarding human

remains and associated funerary objects), 3004(b)(1) (regarding unassociated funerary objects,

sacred objects, and cultural patrimony); (2) for a “committee to monitor and review the

implementation of the inventory and identification process and repatriation activities” under

NAGPRA that includes at least two “traditional Indian religious leaders,” id. § 3006(a), (b)(1);

and (3) defines “sacred objects” as those ceremonial objects needed “for the practice of

traditional Native American religions by their present day adherents,” id. § 3001(3)(C). The law

is plainly intended to protect Native American human remains and other cultural items by giving

control and ownership to the tribe and individuals with whom they are most closely related.

        In recognition of tribes’ general opposition to unearthing their ancestors, and to protect

the sacred connection between tribes and their ancestors, NAGPRA requires “consent of the

appropriate . . . Indian tribe” before intentional excavations on “tribal lands” can occur. 25

U.S.C. § 3002(c)(2). 17 Although neither that section nor the relevant provisions of NAGPRA’s
implementing regulations, 43 C.F.R. §§ 10.3, 10.5, clarify the meaning of “appropriate” tribe,

BIA regulations regarding the issuance of permits for such excavations suggest that

“[d]etermination as to which tribe is the appropriate tribe shall be made in accordance with [25



17
  The permit required for intentional excavations under Section 3002(c)(1) is a federal permit issued under ARPA
to excavate or remove any archaeological resource located on public lands or Indian lands. 16 U.S.C. § 470cc(a).


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C.F.R.] § 262.8(a).” 25 C.F.R. § 262.5(d). That section, in turn, gives first priority to lineal

descendants for human remains and funerary objects. 25 C.F.R. § 262.8(a)(1).

       As stated above, under the Muscogee (Creek) Nation and Hickory Ground Tribal Town’s

traditional kinship structure, Mekko Thompson has the right of ownership and control over the

human remains and associated funerary objects at the Hickory Ground Site. Dkt. 190 at 34; see

also id. at 55. Because the traditional kinship structure establishes the Muscogee (Creek) Nation

as “parens patriae representative of the lineal descendants at the Site and as the tribe with the

closest cultural and religious connection to the Site,” its consent was needed prior to excavation
of Native American cultural items from the Hickory Ground Site. Dkt. 190 at 55, 62 (citing 25

C.F.R. § 262.5(d)). This is consistent with NAGPRA’s prioritized purpose of keeping Native

American remains and other cultural items with and under the control of their lineal descendants.

       3.      Tribal Defendants’ and Federal Defendants’ application of NAGPRA
               substantially burdens Plaintiffs’ exercise of religion in violation of the Free
               Exercise Clause, RFRA, and RLUIPA.
       Because NAGPRA is not a neutral law, to satisfy the Free Exercise Clause it “must be

justified by a compelling governmental interest and must be narrowly tailored to advance that

interest.” See Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 531-32

(1993). NAGPRA’s main objectives include returning sacred items and religious objects to their

rightful owners, and preventing the unearthing of those items and objects absent consent of those

who have ownership and control rights in them. Here, the manner in which Federal Defendants

and Tribal Defendants have applied NAGPRA’s order of priority to Plaintiffs ignores their

traditional kinship structure. In so doing, Federal Defendants and Tribal Defendants have

wrenched Plaintiffs’ sacred ancestors’ remains and cultural items away from them in favor of

granting ownership and control to a tribe who only came into possession of the land because of

forced removal of the tribe to which the deceased belonged, and who sees fit to mutilate and

destroy the remains and cultural items for the sake of profit. See Dkt. 190 at 7, 55-57, 60-61;see,

e.g., Dkt. 202 at 44-45.



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        This construction of NAGPRA disregards the Muscogee (Creek) Nation’s traditional

kinship structure, which holds that the Mekko of a Ceremonial Grounds (i.e., Tribal Town)

represents all lineal descendants of those buried at the Tribal Town, and therefore Mekko

Thompson has ownership and control rights over the remains and items excavated from the

Hickory Ground Site. See Dkt. 190 at 7, 50, 55. This traditional kinship structure is driven by

Plaintiffs’ religiously mandated duties to their ancestors. Id. at 50, 60. Thus, Tribal Defendants’

and Federal Defendants’ construction and application of NAGPRA implements a “religious

gerrymander” under which traditional kinship structures of certain religions are disregarded,
while others are honored, violating the Free Exercise Clause. See Church of the Lukumi Babalu

Aye, 508 U.S. at 534-35 (noting that the Free Exercise Clause “forbids subtle departures from

neutrality” and “covert suppression of particular religious beliefs,” including “the effect of a law

in its real operation” if the operation results in prohibition of a certain religion).

        Federal Defendants and Tribal Defendants’ application of NAGPRA in allowing

excavation to go forward without the Muscogee (Creek) Nation’s consent and in denying Mekko

Thompson control and ownership of the remains and funerary objects once they were unearthed

also violates RFRA for all the reasons stated in Section IV.E of Plaintiffs’ Response to Federal

Defendants’ Motion to Dismiss.

        For its part, RLUIPA provides parallel protections to RFRA with respect to land use

regulations and institutionalized persons. See 42 U.S.C. § 2000cc et seq.; Burwell v. Hobby

Lobby Stores, Inc., 573 U.S. 682, 695 (2014). RLUIPA’s rules of construction, which apply to

the federal government and to federal actors, 42 U.S.C. § 2000cc-5(4)(B), state that nothing in

RLUIPA shall be construed to repeal federal law “that is equally as protective of religious

exercise as, or more protective of religious exercise than, [RLUIPA].” 42 U.S.C.A. § 2000cc-

3(h). Thus, if an existing law such as NAGPRA were less protective of religious exercise than

RLUIPA, RLUIPA could be read to repeal it. As discussed above, Tribal Defendants and Federal

Defendants have applied NAGPRA’s rules regarding who must consent to excavation on tribal

land, and who receives the excavated remains and items, in a manner that substantially burdens


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Plaintiffs’ religious exercise without a compelling government interest. Such construction is less

protective of religious exercise than RLUIPA for the reasons in Section IV.E of Plaintiffs’

Response to Federal Defendants’ Motion to Dismiss. See also Martin v. Houston, 196 F. Supp.

3d 1258, 1268 (M.D. Ala. 2016) (plaintiff plausibly alleged RLUIPA violation where zoning

statute “applied sufficient pressure on [plaintiff] such that it coerced him to cease his settlement

ministry” in violation of his religious beliefs).

        Tribal Defendants’ and Federal Defendants’ application of NAGPRA’s rules regarding

ownership and control effect a “religious gerrymander” that cannot withstand scrutiny under the
Free Exercise clause, and it also violates RFRA and RLUIPA. This Court should therefore deny

Tribal Defendants’ and Federal Defendants’ motions to dismiss Count VIII of the Second

Amended Complaint.

J.      Poarch is not a necessary and indispensable party under Rule 19.

        Poarch argues that its sovereign immunity prevents it from being sued and that this case

cannot proceed in its absence under Federal Rule of Civil Procedure 19. As Plaintiffs explain in

Section IV.A.1, Poarch does not have sovereign immunity from Plaintiffs’ claims against them

that arise from actions Poarch took at Hickory Ground as a federal delegee under the NPS

agreement. With respect to Plaintiffs’ other claims, Poarch is not necessary to this suit. The main

purpose of the Ex Parte Young doctrine is to provide an avenue for plaintiffs to challenge an

action that oversteps a sovereign’s bounds by seeking equitable relief against responsible

officials to require them to comply with the law. That is precisely what Plaintiffs’ claims seek to

do here. Quite simply, Rule 19 does not give tribal officials a free pass to violate applicable law.

See Bassett v. Mashantucket Pequot Tribe, 204 F.3d 343, 358 (2d Cir. 2000) (even if a tribal

entity were indispensable, the plaintiff would simply “need to amend its pleading to seek the

injunction against the administrators of the [entity], rather than the [entity] itself,” for violations

of federal law). Tribal Defendants’ motion on this ground should be denied.




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       Under Rule 19, a party is “required” when (1) “in that person’s absence, the court cannot

accord complete relief among existing parties;” or (2) the party “claims an interest relating to the

subject of the action and is so situated” that moving forward with the case in that party’s absence

may “impair or impede the [party’s] ability to protect the interest” or “leave an existing party

subject to a substantial risk of incurring double, multiple, or otherwise inconsistent obligations

because of the interest.” Fed. R. Civ. P. 19(a). If the party is “required” but cannot be joined to

the lawsuit, the court must then evaluate whether the action should proceed, considering the

prejudice to the absent party and the existing parties from rendering a judgment in the party’s
absence, the extent to which prejudice could be lessened or avoided, whether a judgment in the

party’s absence would be adequate, and whether the plaintiffs would have an adequate remedy if

the action were dismissed for nonjoinder. Fed. R. Civ. P. 19(a)-(b). Lawsuits in which a tribe or a

tribal entity might have an interest are regularly allowed to proceed when tribal officials are

named as defendants. This is because an “absent party with an interest in the action is not a
necessary party under Rule 19(a) ‘if the absent party is adequately represented in the suit.’” Salt

River Project Agr. Imp. & Power Dist. v. Lee, 672 F.3d 1176, 1180 (9th Cir. 2012) (quoting

Shermoen v. United States, 982 F.2d 1312, 1318 (9th Cir. 1992)).

       Thus, the Navajo Nation was not a necessary party in a lawsuit by non-Indian entities to

enjoin Navajo officials from applying tribal law to them in tribal courts, because “tribal officials

can be expected to adequately represent the tribe’s interests in this action and because complete

relief can be accorded among the existing parties without the tribe.” Salt River Project, 672 F.3d

at 1177. The Salt River case involved overarching issues of tribal jurisdiction, as the plaintiff

alleged that Navajo lacked jurisdiction to regulate employment matters at its on-reservation

power plant under the terms of a lease and a federal right-of-way. Id. at 1178. The Ninth Circuit

rejected the argument that proceeding with the lawsuit would impair Navajo’s interests, holding

that “Navajo official defendants can be expected to adequately represent the Navajo Nation's

interests” for three reasons that also exist here. Id. at 1180. First, the officials’ interests were

aligned with those of the tribe: “the officials are responsible for enforcing the [relevant law] and


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there is no suggestion that the officials’ attempt to enforce the statute here is antithetical to the

tribe’s interests.” Id. Second, “there is no reason to believe the Navajo official defendants cannot

or will not make any reasonable argument that the tribe would make if it were a party.” Id. Third,

“there is no indication that the tribe would offer any necessary element to the action that the

Navajo official defendants would neglect.” Id. at 1180-81. So too here. The Defendant tribal

officials are “in charge of” the Poarch Band and PCI Gaming, Dkt. 202 at 1, and their interests

are aligned with those entities’ interests. Furthermore, as both the entities and the officials are

represented by the same law firm, there is no reason to believe that the tribal official Defendants
will not make any argument that Poarch would make if it were a party. Finally, there is no

indication that Poarch would offer any necessary element to the action that the tribal official

Defendants would neglect. See Kansas v. United States, 249 F.3d 1213, 1227 (10th Cir. 2001)

(“[M]ost importantly, the potential for prejudice to the Miami Tribe is largely nonexistent due to

the presence in this suit of ... the tribal officials.... These Defendants’ interests, considered

together, are substantially similar, if not identical, to the Tribe’s interests in [the action].”).

Numerous other courts faced with this issue have reached the same conclusion in analogous

cases, for the same reasons.

       In Sac and Fox Nation v. Norton, 240 F.3d 1250 (10th Cir. 2001), the Wyandotte Tribe

was not a necessary party to a lawsuit by the State of Kansas and three other tribes to prevent the

Secretary of the Interior from taking land into trust for the Wyandotte and approving gaming

activities on the same land pursuant to IGRA. The Tenth Circuit reasoned that complete relief

could be accorded the parties to the lawsuit because (1) the lawsuit was focused on the propriety

of the Secretary’s land-into-trust and gaming determinations, and (2) as a practical matter, the

Wyandotte’s ability to protect its interest in the subject matter of the suit was not impaired. Id. at

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outcome of this action” in that it “ability to conduct gaming activities on the . . . tract will survive

only if all the Secretary’s determinations regarding the . . . tract are upheld,” the presence of the

Secretary as a defendant “greatly reduced” the potential of prejudice to the Wyandotte by virtue


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of the Secretary having “virtually identical” interests to the Wyandotte Tribe in defending the

decisions. Id. at 1259. Thus, even if the Wyandotte had been a necessary party, it was not

indispensable because the Secretary’s presence in the suit largely offset the potential for

prejudice to the tribe. Id. DW௅; see also Kansas, 249 F.3d at 1227 (finding that the Miami

Tribe was not a necessary party to a lawsuit challenging the National Indian Gaming

Commission’s decision that the Miami Tribe’s lands were “Indian lands” on which gaming under

IGRA was permissible; the potential for prejudice was “largely nonexistent due to the presence

in this suit of not only the NIGC and other Federal Defendants, but also the tribal officials . . .”);
Artichoke Joe’s v. Norton, 216 F. Supp. 2d 1084, 1118 (E.D. Cal. 2002), aff'd sub nom.

Artichoke Joe's California Grand Casino v. Norton, 353 F.3d 712 (9th Cir. 2003) (“although the
tribes can claim a legal interest in this lawsuit” challenging their gaming compacts, “they are not

necessary parties because their legal interest can be adequately represented by the Secretary”).

Poarch and PCI Gaming will likewise not be prejudiced in this case because their interests can be

represented by the tribal official defendants and the Federal Defendants.

       By way of further example, in Gingras v. Rosette, the court held that a tribe was not a

necessary party to a lawsuit to declare that the tribe’s lending business’s lending model was

illegal. No. 5:15-CV-101, 2016 WL 2932163, at *20 (D. Vt. May 18, 2016), aff'd sub nom.

Gingras v. Think Fin., Inc., 922 F.3d 112 (2d Cir. 2019). The presence of tribal officers of the

lending business as defendants under Ex Parte Young “satisfies the requirements of Rule 19,” as

“[t]he essential purpose of the Ex Parte Young doctrine is to permit suits for injunctive relief

against entities such as state agencies which would otherwise be subject to sovereign immunity.”

Id. Similarly, in Lloyd Noland Found., Inc. v. Tenet Healthcare Corp., No. CV-01-S-437-S, 2001

WL 37124708, at *5 (N.D. Ala. June 20, 2001), the court found that an absent party wasn’t

necessary under Rule 19 because existing parties in the case represented its interests: “because

[the defendant] owns and controls [the absent party], defendant has access to all of the resources

available to [the absent party]” and “has every incentive to prove that [the absent party] did not

breach the stock purchase agreement.”


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       As in the above cases, Poarch and PCI Gaming are adequately represented by the tribal

official defendants, and there is no indication that their interests will be neglected, impaired, or

impeded given that tribal official defendants control the entities and have the same interests as

the entities themselves. Nor is there any reason this court could not accord complete relief among

the parties, as Plaintiffs seek only relief enjoining tribal officials from violating applicable law.

Poarch and PCI Gaming are not necessary parties to this action, and this Court should deny

Tribal Defendants’ motion to dismiss under Rule 19.

                                     V.      CONCLUSION
       For the reasons explained in detail above, the Court should reject the Tribal Defendants’

improper efforts to obtain a dismissal of this case before discovery and before the claims can be

presented to the Court on the basis of a fully-developed record. Plaintiffs’ have satisfied the

requirements of Rule 8 and Rule 12(b)(6) with thorough factual allegations stating facially

plausible claims for relief. The Court should deny the Tribal Defendants’ motion in its entirety

and allow this case to proceed forward on the merits. If the motion is granted to any extent,

Plaintiffs request that the Court condition such dismissal on the ability of Plaintiffs to submit a

revised complaint. This is consistent with the liberal policy in favor of allowing amendments
under Fed. R. Civ. P. 15(a)(2) (the “court should freely give leave when justice so requires.”).
See also Espey v. Wainwright, 734 F.2d 748, 750 (11th Cir. 1984).


       Respectfully submitted this 6th day of July, 2020.

s/ Lauren J. King                          s/ Stewart Davidson McKnight, III
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                                        Certificate of Service

        I hereby certify that on the 6th day of July, 2020, I caused to be electronically filed the

foregoing document with the Clerk of Court using the CM/ECF system which will send

notification of such filing to all parties entitled to receive notice.



                                                s/ Lauren J. King
                                                Lauren J. King, Of Counsel




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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION


MUSCOGEE CREEK NATION, et. al.,         )
                                        )
            Plaintiffs,                 )    Case No. 2:12-cv-01079-MHT-CSC
                                        )
      v.                                )    Judge Myron H. Thompson
                                        )
POARCH BAND OF CREEK                    )
INDIANS, et. al.,                       )
                                        )
            Defendants.                 )




                 FEDERAL DEFENDANTS’ REPLY IN SUPPORT
             OF THEIR MOTION TO DISMISS PLAINTIFFS’ SECOND
           AMENDED COMPLAINT AND SUPPLEMENTAL COMPLAINT




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                                    I.         INTRODUCTION
       Plaintiffs’ claims against the Federal Defendants should be dismissed for lack of subject

matter jurisdiction and failure to state a claim because Plaintiffs fail to identify final agency

action or a discrete, nondiscretionary duty that Federal Defendants failed to take and accordingly

have not established jurisdiction under the APA. In addition, many of Plaintiffs’ claims are

brought outside the statute of limitations, as they challenge agency action that took place long

ago. Plaintiffs also have not shown a substantial burden on their exercise of religion. As such,

this Court should grant Federal Defendants’ Motion to Dismiss, ECF No. 199.

                                         II.    ARGUMENT
       As an initial matter, Plaintiffs refer in their Opposition in multiple places to discovery

and further development of the record. Plaintiffs’ claims against the Federal Defendants are

brought pursuant to the APA’s waiver of sovereign immunity and as such, will be reviewed on

an administrative record compiled by the agency. See, e.g., Fla. Power & Light Co. v. Lorion,

470 U.S. 729, 743–44 (1985) (“If the record before the agency does not support the agency

action, if the agency has not considered all relevant factors, or if the reviewing court simply

cannot evaluate the challenged agency action on the basis of the record before it, the proper

course, except in rare circumstances, is to remand to the agency for additional investigation or

explanation.”); Camp v. Pitts, 411 U.S. 138, 142 (1973) (“[T]he focal point for judicial review

should be the administrative record already in existence, not some new record made initially in

the reviewing court.”); Alabama-Tombigbee Rivers Coal. v. Kempthorne, 477 F.3d 1250, 1262

(11th Cir. 2007) (holding that the “district court did not abuse its discretion in disallowing . . .

discovery” beyond the administrative record). Discovery against Federal Defendants is not

permitted absent “a strong showing of bad faith or improper behavior” by the agency. Dep’t of


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Commerce v. New York, 139 S. Ct. 2551, 2573–74 (2019); Alabama-Tombigbee, 477 F.3d at

1262. Accordingly, any references to discovery should be disregarded.

A.     Plaintiffs’ IRA Claim fails for lack of subject matter jurisdiction and failure to state
       a claim.

       Plaintiffs’ first claim asserts that Federal Defendants violated the IRA by taking land into

trust for the Poarch Band in 1984. Federal Defendants demonstrated in their Memorandum that

Plaintiffs’ IRA claim was brought outside the statute of limitations and Plaintiffs lack standing to

bring the claim. Fed. Defs.’ Mem. in Support of Their Mot. to Dismiss Pls.’ 2d Am. Compl. &

Suppl. Compl. at 18-24, ECF No. 200 (“Fed. Defs.’ Mem.”). In response, Plaintiffs extensively

detail a purported lack of government-to-government relationship between the Poarch Band and

the United States prior to 1984, when the Poarch Creek became a federally recognized tribe. See

Pls.’ Resp. & Mem. in Supp. of Resp. to Fed. Defs.’ Mot. to Dismiss 2d Am. Coml. & Suppl.

Compl. at 20-24 , ECF No. 210 (“Pls.’ Opp’n”). According to Plaintiffs, the Poarch Band was

not under federal jurisdiction within the meaning of the IRA, and therefore Interior did not have

authority to take the Hickory Ground Site into trust for the Poarch. Id. at 23. Whether the

Poarch Band was or was not under federal jurisdiction within the meaning of the IRA is

irrelevant, because the statute of limitations to challenge Federal Defendants’ action taking land

into trust for the Poarch Band has long since passed. In addition, Plaintiffs have not

demonstrated standing because they were not injured by Federal Defendants’ actions and this

Court cannot redress their alleged injury.

       1.      Plaintiffs’ IRA claim is barred by the statute of limitations.

       Plaintiffs attempt to evade the statute of limitations issue by arguing that the land-into-

trust decision was “applied” to Plaintiffs less than six years before the lawsuit was filed. Pls.’


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Opp’n at 28–29. They argue that the decision was ultra vires and, therefore, the claim only

accrued when the agency applied the action to “specific challenger,” here, Plaintiffs. Id. at 25.

This Court should reject Plaintiffs’ argument that the land-into-trust decision was applied to

Plaintiffs through ARPA permits that allowed excavation and by denying Mr. Thompson’s

alleged “NAGPRA claim” in 2009. Plaintiffs’ argument is not grounded in applicable law, and

would make the statute of limitations meaningless.

         Generally, the statute of limitations on an APA claim accrues at the time of the final

agency action. See Alabama v. United States, 630 F. Supp. 2d 1320, 1325 (S.D. Ala. 2008).

Some courts have held that “an agency regulation or other action of continuing application may

be challenged after a limitations period has expired if the ground for challenge is that the issuing

agency acted in excess of its statutory authority.” Wind River Min. Corp. v. United States, 946

F.2d 710, 714 (9th Cir. 1991) (cataloging cases); see also Alabama v. Shalala, 124 F. Supp. 2d

1250, 1270 (M.D. Ala. 2000) (“[A] a cause of action challenging a regulation based on the

grounds that an agency exceeded its constitutional or statutory authority accrues when the

agency applies the regulation to the specific challenger.” (citing Wind River, 946 F.2d at 715)).

Those cases have been restricted to situations where the plaintiff would not have known it would

be injured when the regulation was promulgated or the action of continuing application was

taken.

         In Wind River, the plaintiff challenged application of a land use designation to a

particular piece of property. 946 F.2d at 712. The Bureau of Land Management designated 138

roadless Wilderness Study Area in 1979, and the plaintiff challenged that designation in 1989

after it was barred from pursuing its mining claims on property within that area. Id. at 711–12.

The court allowed the challenge, emphasizing that “no one was likely to have discovered that the

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BLM’s 1979 designation of this particular WSA was beyond the agency’s authority until

someone actually took an interest in that particular piece of property, which only happened when

Wind River staked its mining claims.” Id. at 715.

       In a similar case to the one at bar, the Ninth Circuit held that a state’s challenge to the

BIA’s land-into-trust decision was barred by the statute of limitations. See Big Lagoon

Rancheria v. California, 789 F.3d 947, 953 (9th Cir. 2015), as amended on denial of reh’g (July

8, 2015). There, the State of California argued that the tribe lacked standing under the Indian

Gaming Regulatory Act because the BIA exceeded its authority when it recognized the tribe and

took an eleven-acre parcel into trust in 1994. Id. The court held that “[t]he proper vehicle to

make such a challenge is a petition for review pursuant to the APA,” noting the Supreme Court’s

holding that “a challenge to the BIA’s ‘decision to take land into trust’ is ‘a garden-variety APA

claim.’” Id. (quoting Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567

U.S. 209, 220–21 (2012) (citing 5 U.S.C. § 706(2)(A), (C))). “[P]arties cannot ‘use a collateral

proceeding to end-run the procedural requirements governing appeals of administrative

decisions.’” Id. (quoting United States v. Backlund, 689 F.3d 986, 1000 (9th Cir. 2012)).

Allowing California to challenge the BIA’s decision to take the eleven-acre parcel into trust on

the basis that it was ultra vires, the court held, “would constitute just the sort of end-run that we

have previously refused to allow, and would cast a cloud of doubt over countless acres of land

that have been taken into trust for tribes recognized by the federal government.” Id. at 954. The

court noted that California had not brought an APA challenge, but found that even if it had, it

would be barred by the statute of limitations. Id.

       This Court should similarly reject Plaintiffs’ attempt to make an end-run around the APA

by framing their challenge as “ultra vires” or arguing that Federal Defendants’ land-into-trust

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decision has continuing application. Plaintiffs here challenge not regulations or the application

of a general rule to them, but the specific agency decisions recognizing the Poarch Band as a

federally-recognized Indian tribe and taking land into trust. “The proper vehicle for [Plaintiffs]

to challenge the Secretary’s decisions to take land into trust for the Tribe is an APA claim.”

Alabama v. PCI Gaming Auth., 801 F.3d 1278, 1292 (11th Cir. 2015) (citing Match-E-Be-Nash-

She-Wish, 567 U.S. at 220–21); Poarch Band of Creek Indians v. Hildreth, 656 F. App’x 934,

943 (11th Cir. 2016) (“In PCI Gaming, we held that the “proper vehicle” for challenging the

Secretary’s authority to take tribal lands into trust is a timely APA claim pursuant to 5 U.S.C.

§ 702, not a collateral challenge to a long-ago decision of the Secretary.” (citations omitted)).

Plaintiffs’ claim cannot be properly characterized as one that the agency acted ultra vires.

Instead, Plaintiffs assert that the Federal Defendants’ decision to take land into trust violated the

IRA because the Poarch Band was not under federal jurisdiction in 1934, exactly the claim that

the Supreme Court termed “a garden-variety APA claim.” Match-E-Be-Nash-She-Wish, 567

U.S. at 220–21. Accordingly, the decision to take land into trust was a final agency action that

cannot be challenged at this late date.

       Moreover, Plaintiffs were never a disinterested party, as they had the same interest in the

Wetumpka site in 1984 as now. Thus, the Eleventh Circuit’s rulings that the time to challenge

the land-into-trust decision began to run in 1984 apply here. PCI Gaming, 801 F.3d at 1292

(finding that because Alabama was aware that the Secretary took land into trust for the Poarch

Band, the statute of limitations began running at that time); Poarch Band, 656 F. App’x at 943–

44 (finding that plaintiff “was well aware of the Secretary’s decision to take the Poarch Band’s

property into trust close in time to the decision”). “To recognize an exception and permit a

collateral challenge nearly 30 years later, where the record clearly reflects that [the plaintiff]

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could have raised a timely challenge but did not, would turn PCI Gaming on its head.” Id.

Plaintiffs argue that they thought the land would be left undisturbed, but their decision to rely on

the Poarch Band’s alleged representations does not toll the statute of limitations. Further,

Plaintiffs had knowledge of disturbance well outside the statute of limitations. See Fed. Defs.’

Mem. at 20–21 (documenting knowledge as far back as 1992).

       And in any event, the ARPA permits and the resolution of Mr. Thompson’s NAGPRA

concerns are not re-applications of the land-into-trust decision. They are wholly separate and

occurred well after the land was already taken into trust. The permits themselves are outside the

statute of limitations, having been issued in 2003 and renewed in 2005, and are not relevant to

the land-into-trust decision. ECF No. 200-2 at 33 (ARPA permit issued in 2003). Nor can

Federal Defendants’ response to Mr. Thompson’s 2008 letter be considered a re-application of

the land-into-trust decision. ECF No. 200-2 at 42. Federal Defendants investigated Mr.

Thompson’s allegations that Auburn University, who was conducting the excavation, failed to

comply with NAGPRA’s requirements and determined that the allegations were not

substantiated. Id. at 47–49. Plaintiffs’ argument that this determination was a re-application of

the land-into-trust decision is a red herring and is wholly irrelevant. Plaintiffs’ IRA claim should

be dismissed because it was brought outside the statute of limitations.

       2.      Plaintiffs lack standing to bring their IRA claim.

       Plaintiffs also lack standing to assert a claim under the IRA. Plaintiffs’ alleged injury,

the excavation and disturbance by construction activities on land they claim is historically and

religiously significant, does not stem from the United States’ acquisition of the Wetumpka

property in trust. According to Plaintiffs, they are directly injured by Interior’s land-into-trust

decision because had Interior not found that the site is “Indian land,” Poarch would have had no

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reason to build a casino or to issue ARPA permits. Pls.’ Opp’n at 29. Plaintiffs also argue that

they are injured by excavation and construction on the site. Id. at 29–30. Nothing in Plaintiffs’

Second Amended Complaint or Opposition directly ties their injury to the land-into-trust

decision, however, and these arguments should be rejected.

       Plaintiffs’ Opposition and Second Amended Complaint make clear that their injuries do

not stem from the gaming facility itself, but from the construction and excavation of the site.

Pls.’ Opp’n at 30; 2d Am. Compl. ¶¶ 6, 124–130, Prayer for Relief, ECF No. 190. But even if

Plaintiffs prevail on their IRA claim and the land is no longer held in trust for the Poarch Band,

the Poarch Band will still own the land in fee and have the right to conduct activities on the land.

 See Yankton Sioux Tribe v. U.S. Army Corps of Engr’s, 396 F. Supp. 2d 1087, 1094 (D.S.D.

2005) (finding that tribe lacked standing where it failed to establish a causal connection between

the transfer of land and the complained of conduct). In addition, Plaintiffs now allege that the

Federal Defendants would not have issued ARPA permits absent the land-into-trust decision.

This is true, because ARPA only applies to public land and Indian land held in trust by the

United States. Thus, the lack of an ARPA permit would not necessarily result in lack of

development on the site.1

       Nor could this Court redress Plaintiffs’ claims because a finding that the land is not

properly held in trust, the only remedy for Plaintiffs’ IRA claim, would not remedy Plaintiffs’

injuries from construction and excavation, or address Plaintiffs’ concerns about the treatment of

the remains that have been excavated. Even if the Poarch Band ceased gaming on the site based

on a determination that the land is not held in trust, the excavation and construction has already




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occurred. A finding that the land is not held in trust would not result in a finding that Plaintiffs

are entitled to the remains and other cultural items, nor necessarily to removal of the casino and

restoration of the site. Plaintiffs request an injunction “to unwind the illegal excavation and

construction,” but the Court does not have authority to enter such an order for violation of the

IRA.

       Plaintiffs cite a number of cases finding standing where plaintiffs would be affected by

gaming facilities. Pls.’ Opp’n at 30–31. For example, courts found standing where landowners

near a proposed gaming facility were injured due to increased traffic, aesthetic harm, and

environmental harm from the gaming facility construction and operation. See Match-E-Be-

Nash-She-Wish, 567 U.S. at 2132; Upstate Citizens for Equal., Inc. v. United States, 841 F.3d

556, 565–66 (2d Cir. 2016); Geyser v. United States, No. CV 17-7315-DMG (ASX), 2018 WL

6990808, at *7 (C.D. Cal. Aug. 30, 2018). If gaming at a facility stops, traffic to the facility

would also stop, for example. But Plaintiffs’ claimed injury is of a different nature and is not

based on operation of the casino. It is not a neighbor affected by traffic or change in the

aesthetics of the area, nor have Plaintiffs alleged they are losing tax revenue or business or

recreational opportunities. The cases simply do not support Plaintiffs’ standing argument.

       Plaintiffs also cite Stand Up for California!, where the Picayune Tribe, which operates a

gaming facility, contested a decision that allowed a nearby tribe to conduct gaming on land taken

into trust, because the new gaming facility would have had “a devastating economic impact” on

the Picayune Tribe. Pls.’ Opp’n at 31 (citing Stand Up for California! v. U.S. Dep’t of the




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 Furthermore, if the land were not held in trust, no construction or excavation would require
approval from Federal Defendants.

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Interior, 919 F. Supp. 2d 51, 56 n.7 (D.D.C. 2013)). The court found redressability because if

the Secretary’s determination was overturned, gaming would stop and the economic injury to the

Picayune Tribe would not occur. 919 F. Supp. 2d at 56 n.7. Notably, this case involved a

decision allowing gaming on the site, in addition to a decision taking land into trust. Id. at 54–

55. But Plaintiffs do not assert an economic harm from the operation of the casino. Nor do

Plaintiffs demonstrate how their injury would be redressed if the gaming facility simply stopped

operating at this point.

         In short, Plaintiffs have failed to demonstrate that they have standing to assert their IRA

claim.

B.       Plaintiffs fail to allege jurisdiction or state a claim for violation of NAGPRA.

         Plaintiffs’ NAGPRA claim must also be dismissed. Plaintiffs have failed to identify a

valid waiver of sovereign immunity because they do not identify any NAGPRA duties that the

Federal Defendants were required to but failed to take. NAGPRA allows for removal of human

remains and other cultural items on tribal lands, provided that an ARPA permit is issued by the

BIA and consent is given by the tribe owning the land. The Poarch Band gave its consent for the

removal of human remains and other cultural items under NAGPRA, as well as any

archaeological resources under ARPA. Federal Defendants issued a permit for the removal of

the remains and other cultural items, but then had no authority in determining how or where the

remains and other cultural items should be reburied. The Poarch Band controls these remains

and other cultural items, and decisions about removal and re-interment fall within the authority

of the Poarch Band.



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    Match-E-Be-Nash-She-Wish also involved only prudential standing, which is a less demanding

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       1.      Plaintiffs have not demonstrated a valid waiver of sovereign immunity.

       Plaintiffs’ NAGPRA claim relies on the APA’s waiver of sovereign immunity, and

accordingly Plaintiffs must meet the requirements of the APA, including final agency action. In

their response, Plaintiffs attempt to avoid the APA’s requirements by asserting that they rely on

the second sentence of the waiver of sovereign immunity in 5 U.S.C. § 702. Pls.’ Opp’n at 35–

41. But this argument fails for several reasons. First, the second sentence applies only to

nonstatutory claims brought against the federal government. Plaintiffs’ claims are statutory and

thus fall solidly within the APA’s first sentence waiver of sovereign immunity and must comply

with the APA’s constraints. See 2d Am. Compl. ¶ 33 (“Plaintiffs’ claims arise under the

Administrative Procedure Act . . . .”). Second, the jurisdictional provision in NAGPRA, which

Plaintiffs rely on as a private right of action should not be read as a right of action against the

United States. The APA already provides such a right of action, and this provision of NAGPRA

should be read instead as providing a right of action against non-federal entities.

       The APA’s waiver of sovereign immunity provides that:

       A person suffering legal wrong because of agency action, or adversely affected
       or aggrieved by agency action within the meaning of a relevant statute, is entitled
       to judicial review thereof. An action in a court of the United States seeking
       relief other than money damages and stating a claim that an agency or an officer
       or employee thereof acted or failed to act in an official capacity or under color of
       legal authority shall not be dismissed nor relief therein be denied on the ground
       that it is against the United States or that the United States is an indispensable
       party.


5 U.S.C.A. § 702. Courts have held that claims falling within the first sentence of this waiver

“are subject to § 704’s limitation on what agency actions are subject to judicial review, while

‘claims not grounded in the APA, like . . . constitutional claims . . . do not depend on the cause



test than constitutional standing.
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of action found in the first sentence of § 702 and thus § 704’s limitation does not apply to

them.’” Alegre v. United States, No. 16-CV-02442-AJB-KSC, 2019 WL 3891036, at *4 (S.D.

Cal. Aug. 16, 2019) (quoting Navajo Nation v. U.S. Dep’t of the Interior, 876 F.3d 1144, 1170

(9th Cir. 2017)); see also Navajo Nation, 876 F.3d at 1172 (holding that “the second sentence of

§ 702 waives sovereign immunity broadly for all causes of action that meet its terms, while §

704’s ‘final agency action’ limitation applies only to APA claims”).

       NAGPRA contains a jurisdictional provision that states that:

       The United States district courts shall have jurisdiction over any action brought
       by any person alleging a violation of this chapter and shall have the authority to
       issue such orders as may be necessary to enforce the provisions of this chapter.


25 U.S.C. § 3013. According to Plaintiffs, this provision allows them to proceed under the

waiver in the second sentence of § 702, and thus not subject to the APA’s limitations. This is

incorrect.

       First, Plaintiffs’ claim falls solidly within the first sentence of the waiver. Plaintiffs

assert that they are “adversely affected or aggrieved by agency action within the meaning of a

relevant statute.” 5 U.S.C. § 702. In addition, the second sentence of § 702 only applies to

nonstatutory claims, such as constitutional claims. See, e.g., Navajo Nation, 876 F.3d at 1170

(noting that “[c]ourts have distinguished between claims brought under the APA and ‘[c]laims

not grounded in the APA, like . . . constitutional claims”); see also Juliana v. United States, 947

F.3d 1159, 1167–68 (9th Cir. 2020) (characterizing Navajo Nation as “explaining that certain

constitutional challenges to agency action are ‘not grounded in the APA’”). When Congress

amended the APA to add the second sentence to section 702, it “plainly indicated that Congress

expected the waiver to apply to nonstatutory actions, and thus not only to actions under the


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APA.” Trudeau v. Fed. Trade Comm'n, 456 F.3d 178, 186–87 (D.C. Cir. 2006). ‘“The

committee does not believe,’ the [Senate Report accompanying the amendment] stated, that the

amendment’s ‘partial elimination of sovereign immunity, as a barrier to nonstatutory review of

Federal administrative action, will create undue interference with administrative action.’” Id.

(quoting S. REP. NO. 94–996, at 8). Plaintiffs’ challenge, therefore, which asserts that the

agency violated a statute, must be brought pursuant to the waiver of sovereign immunity in the

first sentence of section 702.

       Plaintiffs offer no explanation as to why their NAGPRA claim does not fall within the

first sentence of the waiver, except to state that NAGPRA provides its own cause of action. Pls.’

Opp’n at 34–35. But the NAGPRA provision should not be interpreted as a private right of

action against federal defendants because the APA already provides such a cause of action. See

NAACP v. Sec’y of Hous. & Urban Dev., 817 F.2d 149, 152 (1st Cir. 1987) (interpreting statute

not to provide a cause of action against the federal government because the APA provides such a

vehicle). “[C]reating a direct private action against the federal government makes little sense in

light of the administrative review scheme set out in the APA.” San Carlos Apache Tribe v.

United States, 417 F.3d 1091, 1096–97 (9th Cir. 2005). “Whether a federal statute provides a

private right of action almost always arises in the context of a claim against a third party, such as

a state or private entity, not, as here, against the federal government.” Id. (citations omitted).

“Even the term ‘private right of action’ is something of a semantic mismatch in the context of a

suit to force agency action under a federal statute.” Id. “In fact, it is difficult to understand why

a court would ever hold that Congress, in enacting a statute that creates federal obligations, has

implicitly created a private right of action against the federal government, for there is hardly ever

any need for Congress to do so.” NAACP, 817 F.2d at 152. In certain rare cases such a private

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right of action may be warranted, such as when Congress provides a cause of action for

attorney’s fees that are not available under the APA. Narragansett Indian Tribe by & through

Narragansett Indian Tribal Historic Pres. Office v. R.I. Dep’t of Transp., 903 F.3d 26, 30 (1st

Cir. 2018) (noting that the NHPA may have a private right of action authorizing attorneys’ fees).

 Or, Congress may indicate in a statute that it intends “to confer a private right of action that

differs in its procedural contours from the review that the APA typically provides.” NAACP, 817

F.2d at 153.

        The NAGPRA jurisdictional provision should not be read as providing a separate cause

of action against the federal government because it does not clearly indicate that Congress

intended to create a private right and a private remedy beyond the APA. See Alexander v.

Sandoval, 532 U.S. 275, 282 (2001). For example, § 3013 provides that federal courts have

jurisdiction over actions brought pursuant to NAGPRA, but federal courts already have

jurisdiction over federal defendants under the general federal jurisdiction statute, 28 U.S.C.

§ 1331. Section 3013 also provides that courts can issue orders to enforce violations of the

section, which, again, is available under the APA as against the federal government. The

provision does not provide different contours for review than would be afforded under the APA,

and should not be read as providing a separate cause of action as against the federal government.

 See NAACP, 817 F.2d at 153. The provision does allow suits in federal court against other

entities, such as a museum, which may include a “State or local governmental agency.” 43

U.S.C. § 3001. The provision thus should be read only as providing jurisdiction in the federal

courts for litigation against non-federal entities. “As Judge Breyer noted, creating a direct

private action against the federal government makes little sense in light of the administrative



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review scheme set out in the APA.” San Carlos Apache Tribe, 417 F.3d at 1096–97 (citing

NAACP, 817 F.2d at 152).

       The Supreme Court’s decision in Bennett v. Spear is instructive. In that case, the

Supreme Court refused to read a citizen suit provision of the Endangered Species Act (“ESA”),

which authorizes suit against “any person” for violations of any provision of the ESA, as

authorizing suit against the Secretary of Interior. Bennett v. Spear, 520 U.S. 154, 174 (1997).

The Court found that allowing such a suit would “effect a wholesale abrogation of the APA’s

‘final agency action’ requirement.” Id. “In contrast, the Court recognized a private right of

action against the Secretary under a different provision of the ESA, where the statute expressly

authorized suits ‘against the Secretary.’” San Carlos Apache Tribe, 417 F.3d at 1096 (citing

Bennett, 520 U.S. at 173–74). This Court should likewise refuse to allow Plaintiffs to avoid the

strictures of the APA by finding a private right of action against the federal government under

NAGPRA. There is simply no indication that Congress intended this result.

       Indeed, courts have reviewed NAGPRA claims under the APA. See, e.g., White v. Univ.

of Cal., 765 F.3d 1010, 1024 (9th Cir. 2014); Bonnichsen v. United States, 367 F.3d 864, 879

(9th Cir. 2004) (reviewing Secretary’s NAGPRA determination under APA “arbitrary or

capricious” standard of review); Geronimo v. Obama, 725 F. Supp. 2d 182 (dismissing

complaint under NAGPRA because plaintiff failed to allege any agency action or inaction, as

required for waiver of government's sovereign immunity under the APA); Fallon Paiute-

Shoshone Tribe v. U.S. Bureau of Land Mgmt., 455 F. Supp. 2d 1207, 1213 (D. Nev. 2006). The

Ninth Circuit specifically noted that “suits concerning the United States under NAGPRA are not

authorized by any specific portion of that statute, but rather under the [APA], which contains an

express limited sovereign immunity waiver for suits seeking non-monetary relief against the

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United States.” White, 765 F.3d at 1024 (quoting 5 U.S.C. § 702). In Navajo Nation v. U.S.

Department of the Interior, 819 F.3d 1084 (9th Cir. 2016), the court held that final agency action

had occurred under the APA, and thus reversed the district court’s decision that it lacked

jurisdiction over the plaintiff’s NAGPRA claim. Id. at 1090–91.

        Because Plaintiffs’ NAGPRA claims falls within the first sentence of the APA’s waiver

of sovereign immunity, Plaintiffs are required to challenge final agency action. They have not

done so. Plaintiffs also argue that the APA’s “final agency action” requirement is better treated

as an element of the cause of action rather than a jurisdictional prerequisite. Pls.’ Opp’n at 38–

41. But many courts continue to view “final agency action” as a jurisdictional requirement to

fall within the APA’s waiver of sovereign immunity. See Alabama-Coushatta Tribe of Texas v.

United States, 757 F.3d 484, 491–92 (5th Cir. 2014) (holding that “there is no subject-

matter jurisdiction because the Tribe failed to allege ‘agency action’ sufficient to trigger

the sovereign immunity waiver from § 702”); Facebook, Inc. v. Internal Revenue Serv., No. 17-

CV-06490-LB, 2018 WL 2215743, at *18 (N.D. Cal. May 14, 2018) (finding that when plaintiff

had failed to challenge final agency action, the court cannot determine APA claims “must

dismiss them for lack of subject-matter jurisdiction”). And more importantly, the Eleventh

Circuit has framed “final agency action” as a jurisdictional requirement. See, e.g., United States

v. Simon, 609 F. App'x 1002, 1007 (11th Cir. 2015) (“However, the APA limits judicial review

to ‘final agency action’ for which there is no other adequate remedy in a court.” (citing 5 U.S.C.

§ 704)); Nat’l Parks Conservation Ass'n v. Norton, 324 F.3d 1229, 1236 (11th Cir. 2003) (noting

that “federal jurisdiction is . . . lacking when the administrative action in question is not ‘final’

within the meaning of 5 U.S.C. § 704”); Flat Creek Transp., LLC v. Fed. Motor Carrier Safety

Admin., No. 1:16-CV-876, 2017 WL 4172613, at *8 (M.D. Ala. Sept. 20, 2017), aff’d on other

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grounds, 923 F.3d 1295 (11th Cir. 2019) (citing Nat’l Parks Conservation Ass’n for proposition

that jurisdiction is limited by “final agency action” requirement); Alabama v. Ctrs. for Medicare

& Medicaid Servs., 780 F. Supp. 2d 1219, 1226 n.3 (M.D. Ala. 2011), aff’d, 674 F.3d 1241 (11th

Cir. 2012) (“Regardless of the extent to which the APA has waived sovereign immunity, the

Eleventh Circuit and this Court have previously held that the finality of an agency action is a

prerequisite for exercising federal jurisdiction.”). This Court should follow these holdings and

find that Plaintiffs have not shown subject matter jurisdiction over their NAGPRA claim.

       If this Court finds that Plaintiffs have established subject matter jurisdiction, it should

dismiss Plaintiffs’ NAGPRA claim for failure to state a claim for which relief can be granted.

Once a plaintiff has advanced a valid waiver of the United States’ sovereign immunity, the

plaintiff is obligated to advance a cause of action. For an APA cause of action, Plaintiffs need to

allege a final discrete agency action within the meaning of a relevant statute. As shown in

Federal Defendants’ motion to dismiss, Plaintiffs have failed to do so because the duties

Plaintiffs allege only apply to discoveries on federal land, not on the tribal land at issue here.

       2.      NAGPRA gives responsibility for remains and other cultural items found on
               tribal land to the landowner tribe.

               a.      Land held in trust for the Poarch Band is “tribal land” under
                       NAGPRA.

       Plaintiffs’ NAGPRA claim is based on the premise that Federal Defendants have a duty

to act under NAGPRA because non-Reservation land held in trust by the United States for

benefit of the Poarch Band is actually federal land. This interpretation is inconsistent with

NAGPRA and the use of similar terms in other statutes.

       NAGPRA defines “tribal land” as “(A) all lands within the exterior boundaries of any

Indian reservation; (B) all dependent Indian communities; [and] (C) any lands administered for

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the benefit of Native Hawaiians . . . .” 25 U.S.C. § 3001(15). NAGPRA does not define

“reservation.” Rosales v. United States, No. 07-cv-0624, 2007 WL 4233060, at *6 (S.D. Cal.

Nov. 28, 2007). The regulations define tribal lands as including lands “within the exterior

boundaries of any Indian reservation including, but not limited to, allotments held in trust or

subject to a restriction on alienation by the United States,” as well as “dependent Indian

communities as recognized pursuant to 18 U.S.C. § 1151.” 43 C.F.R. § 10.2(f)(2)(i), (ii). At

least one court has held that lands held in trust for Indian tribes are “tribal lands” rather than

“federal lands” under NAGPRA. Id. at § 10.2.

       It is reasonable to look to 18 U.S.C. § 1151 to determine how “reservation” should be

interpreted, particularly given that the regulations look to that statute to define “dependent Indian

communities.” Courts have interpreted “reservation” in 18 U.S.C. § 1151 to include informal

reservations and land held in trust for the benefit of Indians. See Okla. Tax Comm’n v. Sac &

Fox Nation, 508 U.S. 114, 123 (1993) (interpreting the term “reservation,” as used in the Indian

country statute, 18 U.S.C. § 1151(a), to include formal and informal reservations); Okla. Tax

Comm'n v. Citizen Band Potawatomi Indian Tribe of Okla., 498 U.S. 505, 511 (1991). The

ARPA also defines “Indian lands” to include land “held in trust by the United States or subject to

a restriction against alienation imposed by the United States.” 16 U.S.C.A. § 470bb(4). Thus, it

is reasonable here to interpret “tribal lands” as including lands held in trust for a tribe, even

when outside the bounds of a formal reservation.

       The other parts of the “tribal land” definition indicate that trust land should be included.

It would make little sense to exclude non-reservation land held in trust for the benefit of Indians

from the definition of “tribal land” when allotments held in trust within the Reservation

boundaries, “dependent Indian communities,” and lands administered for Native Hawaiians are

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included. 25 U.S.C. § 3001(15); 43 C.F.R. § 10.2. The Supreme Court has defined “dependent

Indian communities” in 18 U.S.C. § 1151 to include “a limited category of Indian lands that are

neither reservations nor allotments, and that satisfy two requirements — first, they must have

been set aside by the Federal Government for the use of the Indians as Indian land; second, they

must be under federal superintendence.” Alaska v. Native Vill. of Venetie Tribal Gov’t, 522 U.S.

520, 527 (1998). Further, “tribal lands” includes lands administered for the benefit of Native

Hawaiians. 25 U.S.C. § 3001; 43 C.F.R. § 10.2. It would be inconsistent for “tribal lands” to

include non-reservation land set aside and administered for the benefit of dependent Indian

communities and Native Hawaiians, but not include land held in trust for the benefit of other

federally recognized tribes.

       Plaintiffs argue that if “reservation” includes informal reservations, then “all dependent

Indian communities” is surplusage because “in many cases, a de facto reservation is a dependent

Indian community.” Pls.’ Opp’n at 52.3 But 18 U.S.C. § 1151 defines “Indian country” as

including both land within Indian reservations and dependent Indian communities. The Supreme

Court has held that Indian “reservation” includes informal reservations, and did not find that

“dependent Indian communities” is surplusage. In addition, as Interior noted when it amended

the NAGPRA regulations, “Cohen, in The Field of Indian Law (1982:38) concludes that ‘it is

apparent that Indian reservations and dependent Indian communities are not two distinct




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 Plaintiffs argue that those conditions are not met here, but do not explain why. If this Court
accepts Plaintiffs’ argument that lands held in trust do not fall within the definition of
“reservation,” then the Court should determine that the land falls within the definition of
“dependent Indian community.” Land held in trust is set aside for the benefit of Indians and is
under federal superintendence.

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definitions of place but rather definitions which largely overlap.’” Native American Graves

Protection and Repatriation Act Regulations, 60 Fed. Reg. 62,134, 62,140 (1995).

       Holding otherwise would contravene one of the aims of NAGPRA. NAGPRA’s division

between tribal control on tribal land and federal duties on federal land promotes the Tribe’s

independence and sovereignty. The NAGPRA statute itself, as well as the administrative

history, indicates that tribes are afforded responsibility for compliance on tribal lands, rather than

federal agencies. See Rosales, 2007 WL 4233060, at *8; NAGPRA Regulations, 60 Fed. Reg. at

62,142 (noting that NAGPRA recognizes tribes’ sovereignty regarding administration of their

land). NAGPRA’s regulations provide different responsibilities for inadvertent discovery on

tribal land than on federal land. Compare 43 C.F.R. § 10.4(e) (“Tribal lands.”) with 43 C.F.R. §

10.4(d) (“Federal lands.”). At no point does NAGPRA or its regulations assign any

nondiscretionary duty to the federal government in the event of an inadvertent discovery on

tribal land. Because the discoveries here took place on tribal land, Federal Defendants do not

have any nondiscretionary duties that they failed to perform. See Norton v. S. Utah Wilderness

All. (SUWA), 542 U.S. 55, 62–64 (2004). As such, the Court lacks subject matter jurisdiction

under the APA and fails to state a claim upon which relief can be granted.

               b.      Plaintiffs do not identify any statutory or regulatory duty the Federal
                       Defendants were required to but failed to take.

       Plaintiffs still fail to allege with any specificity the statutory or regulatory duties that

Federal Defendants were required to undertake but did not. They assert that Federal Defendants

knew about excavation, but provide no detail about when Federal Defendants became aware of

it, or what specific duties would have been triggered by knowledge. Plaintiffs also appear to

assert that Federal Defendants were required to take action to enforce NAGPRA violations by


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others, but do not identify a specific provision that requires Federal Defendants to do so. Pls.’

Opp’n at 64–65. The federal government also enjoys prosecutorial discretion. “If [a statute] has

indicated an intent to circumscribe agency enforcement discretion, and has provided meaningful

standards for defining the limits of that discretion, there is ‘law to apply’ under § 701(a)(2), and

courts may require that the agency follow that law; if it has not, then an agency refusal to

institute proceedings is a decision ‘committed to agency discretion by law’ within the meaning

of that section.” See Heckler v. Chaney, 470 U.S. 821, 834–35 (1985). Here, Plaintiffs do not

demonstrate that Federal Defendants’ enforcement discretion was constrained in a way that

makes it reviewable here.

       Plaintiffs assert that Federal Defendants have a duty under 25 U.S.C. § 3002(c)(3) to

ensure that ownership and control of the excavated cultural items was given to the appropriate

parties. Pls.’ Opp’n at 53. But that provision merely provides criteria for determining who gets

control and does not itself provide any responsibility for the Federal government to ensure that

such control is given, particularly here where the remains and other cultural items were

discovered on tribal land and Federal Defendants do not control or possess the remains and other

cultural items. In fact, the regulations set up a process by which anyone claiming an interest in

remains or other cultural items must file a claim before the remains or other cultural items are

repatriated. 43 C.F.R. § 10.15. Plaintiffs do not allege that they have filed such a claim.

       Plaintiffs also assert that that the Federal Defendants were required to consult with

Plaintiffs, citing 43 C.F.R. § 10.5(a). Pls.’ Opp’n at 54. But these requirements apply only to

remains and other cultural items on federal lands, not tribal lands.

       The statutory duty of repatriation under 25 U.S.C. § 3005 applies to “Native American

human remains and objects possessed or controlled by Federal agencies and museums.” Id.

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§ 3005(a) (emphasis added). Similarly, Section 3003 gives Federal agencies the duty to prepare

an inventory of Native American human remains and associated funerary objects, but only if

they have “possession or control over holdings or collections” of such items. That is not the case

here.

        Plaintiffs argue that Federal Defendants have “a legal interest in the cultural items as the

owner of all land in question, which falls within the definition of control.” Pls.’ Opp’n at 62

(citing 43 C.F.R. § 10.2(a)(3)(ii). But neither the statute nor the regulations support this

proposition. The regulations do not mention ownership of the land as a consideration in

determining “control.” The full definition of “control” from the NAGPRA regulations states

that:

        The term “control” means having a legal interest in human remains, funerary
        objects, sacred objects, or objects of cultural patrimony sufficient to lawfully
        permit the museum or Federal agency to treat the objects as part of its collection
        for purposes of these regulations whether or not the human remains, funerary
        objects, sacred objects or objects of cultural patrimony are in the physical
        custody of the museum or Federal agency.

43 C.F.R. § 10.2(a)(3)(ii). The regulations give the example of “a museum or Federal agency

that has loaned human remains, funerary objects, sacred objects, or objects of cultural patrimony

to another individual, museum, or Federal agency is considered to retain control of those human

remains, funerary objects, sacred objects, or objects of cultural patrimony for purposes of these

regulations.” Id. Federal Defendants do not have control sufficient to treat the items “as part of

its collection,” nor do Plaintiffs so allege. The regulations do not support Plaintiffs’ statement

that any remains or other cultural items found on federal land are within the control of Federal

agencies. Nor do the regulations support any such claim with respect to remains or other cultural

items found on tribal land.



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        Plaintiffs state that “[a]llowing other parties to exert ownership or control over the

cultural items without an appropriate determination of who was entitled to ownership and control

under NAGPRA constitutes a NAGPRA violation and is reviewable under the APA,” citing the

Navajo Nation case. Pls.’ Opp’n at 62. But in Navajo Nation, the Park Service had physical

possession of the remains and other cultural items. 819 F.3d at 1086. The court held that its

decision to inventory the remains under NAGPRA was a final agency action under the APA

because it was a determination that NAGPRA applied. “By deciding to undertake NAGPRA's

inventory process, the Park Service conclusively decided that it, and not the Navajo Nation, has

the present right to ‘possession and control’ of the remains and objects.” Id. at 1086 (citing 25

U.S.C. § 3003(a)). The case at bar is not analogous.

        Finally, to the extent that Plaintiffs argue that the United States’ general trust

responsibility to federally recognized tribes compelled it to take some action even if not

specified in NAGPRA, that argument has no basis in law. Federal Defendants’ trust

responsibilities are also “defined and governed by statutes rather than the common law.” See

United States v. Jicarilla Apache Nation, 564 U.S. 162, 174 (2011) (citation omitted). While

common law principles may be used “to inform [the court’s] interpretation of statutes and to

determine the scope of liability that Congress has imposed, . . . these common-law principles

come into play only if a plaintiff can first ‘identify a specific, applicable, trust-creating statute or

regulation that the Government violated.’” Flute v. United States, 808 F.3d 1234, 1243 (10th

Cir. 2015) (citing Jicarilla, 564 U.S. at 177). Plaintiffs have not identified any such trust-

creating statute that the government violated, so common law duties are not relevant here. There

is no heightened standard for Federal Defendants here.



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       Plaintiffs have failed to demonstrate that the Federal Defendants violated any NAGPRA

duty. This Court should dismiss this claim.

C.     Plaintiffs’ NHPA claim fails for lack of subject matter jurisdiction.

       Plaintiffs also fail to demonstrate that this Court has jurisdiction over their NHPA claim.

Although Tribal Defendants assumed certain historic preservation responsibilities, Plaintiffs

argue that the Federal Defendants retained responsibility for NHPA compliance. They vaguely

assert various “undertakings” and generally state that “[m]ost or all of the NHPA violations . . .

took place within the six years before the Plaintiffs filed their original Complaint,” but fail to

specifically detail when each violation occurred. Pls.’ Opp’n at 75. Contrary to Plaintiffs’

assertion, the statute of limitations prevents review of most of Plaintiffs’ allegations. In addition,

NHPA does not contain a private right of action, and Plaintiffs again must meet the parameters

of the APA, including showing final agency action.

       1.      The NHPA does not contain a private right of action.

       As with the NAGPRA, the NHPA does not provide a private cause of action against the

United States. Plaintiffs’ assertion that “[c]ourts across the country have found that [the NHPA]

provides private right of action” is misleading for several reasons. Id. First, as Plaintiffs

acknowledge, the D.C. Circuit and the Ninth Circuit found no private cause of action under the

NHPA. See San Carlos Apache Tribe, 417 F.3d at 1094; Nat’l Tr. for Historic Pres. v. Blanck,

938 F. Supp. 908, 915 (D.D.C. 1996), aff'd, 203 F.3d 53 (D.C. Cir. 1999) (stating that “neither

the language nor the legislative history of the attorneys’ fees provision of the NHPA clearly

indicates an intent on the part of Congress to create a private right of action”). But, second, most

decisions finding a private right of action pre-date Sandoval, 532 U.S. 275 (2001), which

changed the analysis for private rights of action. Pls.’ Opp’n at 75; see also Friends of St.

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Francis Xavier Cabrini Church v. FEMA, 658 F.3d 460, 466 n.2 (5th Cir. 2011) (“[T]he

Supreme Court's recent jurisprudence casts serious doubt on the continued viability of

the private right of action under the NHPA.”). In fact, one of the cases Plaintiffs cite explicitly

notes that Sandoval changed the legal landscape on this issue:

       We have previously assumed, without deciding, that the NHPA creates some
       type of private right of action. See Warwick Sewer Auth., 334 F.3d at 166 n.4.
       Such an assumption subsequently became more tenuous in the wake of the
       Supreme Court's decision in Sandoval, 532 U.S. at 289, 121 S.Ct. 1511 (casting
       doubt on whether statutory language that “focus[es] on the person regulated ...
       [or] the agencies that will do the regulating” “rather than the individual[ ]
       protected” can create by implication a private right of action to enforce those
       dictates).

Narragansett Indian Tribe, 903 F.3d at 29.

       Since Sandoval, courts have held that the NHPA does not provide a private right of

action. See Camden Cnty. Historical Soc’y v. Dep’t of Transp., 371 F. Supp. 3d 187, 188–89

(D.N.J. 2019) (“Applying the analytical framework established by the United States Supreme

Court in [Sandoval], which precedent the Third Circuit followed in Wisniewski v. Rodale, Inc.,

510 F.3d 294 (3d Cir. 2007) and McGovern v. City of Philadelphia, 554 F.3d 114 (3d Cir. 2009),

among other cases, the Court holds the NHPA does not create a private right of action.”);

Narragansett Indian Tribe by & through Narragansett Indian Tribal Historic Pres. Office v. R.I.

Dep't of Transp., No. CV 17-125 WES, 2017 WL 4011149, at *5 (D.R.I. Sept. 11,

2017), aff'd, 903 F.3d 26 (1st Cir. 2018) (“The Court is satisfied, then, that § 106 of

the NHPA does not confer a private right of action.”); Martin v. Wilcox Cnty. Alabama, No.

CIV.A. 13-0572-WS-B, 2014 WL 1202943, at *1 (S.D. Ala. Mar. 21, 2014) (noting that “the

NHPA creates no private right of action in favor of the plaintiff against either the federal

government or others”); “the NHPA does not create a private right of action.”; Martin v.

Alabama Historical Comm'n, No. 2:13-CV-648-MEF, 2014 WL 28850, at *3 (M.D. Ala. Jan. 2,

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2014) (holding that NHPA does not create a private right of action); Sisseton-Wahpeton Oyate v.

U.S. Dep’t of State, 659 F. Supp. 2d 1071, 1080 (D.S.D. 2009) (holding that “no private right of

action was created by the NHPA”); Friends of Hamilton Grange v. Salazar, No.

08CIV5220(DLC), 2009 WL 650262, at *18 (S.D.N.Y. Mar. 12, 2009) (“Because, as explained

below, the NHPA does not create a private right of action, plaintiffs’ claims require a final

decision by the government that could trigger review under the APA.”). Thus, Plaintiffs’

argument that it can proceed under the NHPA’s private right of action is not valid under current

precedent.

       2.      Plaintiffs have failed to identify final agency action.

       Because the NHPA does not provide a private cause of action here, Plaintiffs’ claims

must proceed under the APA’s waiver of sovereign immunity and Plaintiffs must therefore

identify a final agency action they are challenging. See Friends of Hamilton Grange, 2009 WL

650262, at *21. “[T]he ‘final agency action’ in an NHPA claim must be a ‘federal

undertaking.’” Karst Envtl. Educ. & Protect., Inc. v. EPA, 475 F.3d 1291, 1296 (D.C. Cir.

2007). NHPA defines “undertaking” as:

       a project, activity, or program funded in whole or in part under the direct or
       indirect jurisdiction of a Federal agency, including--

               (1) those carried out by or on behalf of the Federal agency;

               (2) those carried out with Federal financial assistance;

               (3) those requiring a Federal permit, license, or approval; and

               (4) those subject to State or local regulation administered pursuant to a
                   delegation or approval by a Federal agency.
54 U.S.C. § 300320.




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        Plaintiffs’ opposition purports to identify several “undertakings,” none of which is valid.

 Pls.’ Opp’n at 68–73. Specifically, Plaintiffs assert as “undertakings”: (1) the issuance of

ARPA permits; (2) the decision to allow excavation of the site without ARPA permits; (3) the

excavation of the site; (4) federal funding; (5) construction and operation of the casino; (6)

extension of the NPS Agreement without appropriate review and failure to terminate the

agreement for noncompliance. Many of these alleged undertakings occurred more than six years

before Plaintiffs brought their complaint and are therefore barred by the statute of limitations. In

addition, none of the undertakings Plaintiffs allege is a valid final agency action that would

support jurisdiction.

        Plaintiffs assert that Federal Defendants’ issuance of ARPA permits constitutes an

undertaking under the NHPA, even as they also acknowledge that the issuance of an ARPA

permit “does not constitute an undertaking requiring compliance with section 106” of the NHPA.

 43 C.F.R. § 7.12; see also Pls.’ Opp’n at 69. In addition, Plaintiffs have not identified any

ARPA permit issued or renewed after 2005. See 2d Am. Compl. ¶ 108 (alleging that permits

were issued but failing to provide dates of issuance); ECF No. 200-2 at 34 (ARPA permit issued

in 2003). Thus, even if the permits could be considered an undertaking, they cannot be

challenged at this date.

        Plaintiffs next assert that the entire excavation is an undertaking, but do not point to any

government approval of such excavation, with the exception of the ARPA permits that do not

constitute an undertaking as a matter of law. It is also nonsensical to argue that issuance of an

ARPA permit for excavation is not an undertaking but the actual excavation — which was

carried out by non-federal actors— is a federal undertaking. In addition, it appears that all

excavation of human remains took place before May 6, 2006, as representatives for Plaintiffs

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traveled to Wetumpka on that date to discuss re-interment of 57 or more sets of human remains.

ECF No. 95-11; 2d Am. Compl. ¶ 117.

       Plaintiffs also refer to the “federal ownership” of the property, but fail to recognize that

the federal government holds the land in trust for the Poarch Band and does not control the land

for its own purposes. Pls.’ Opp’n at 69, 71. In addition, Plaintiffs cite no authority for the

proposition that ownership of the property is itself an undertaking, particularly when the land is

held in trust. Further, ownership could not be considered an “undertaking” when the federal

government has not taken an action of any kind and does not meet the categories listed in the

NHPA definition of undertaking. See 54 U.S.C. § 300320.

       Next, Plaintiffs allege that the excavation was federally funded, in whole or in part. Pls.’

Opp’n at 70. Plaintiffs assert these grants were in violation of Section 110(k) which “prohibits a

Federal agency from granting a loan, loan guarantee, permit, license or other assistance to an

applicant who, with intent to avoid the requirements of section 106, has intentionally

significantly adversely affected a historic property to which the grant would relate.” 36 C.F.R. §

800.9. The only grants Plaintiffs specifically refer to were awarded in 2019, 2018, and 2011, 2d

Am. Compl. ¶ 318, years after the excavation and Plaintiffs have not established any link

between the grants and the excavation. These grants are also general historic preservation grants

and Plaintiffs have not shown that these federal grants are sufficient to give the Federal

Defendants “federal approval, supervision, control” over the excavation or project. See

Woodham v. Fed. Transit Admin., 125 F. Supp. 2d 1106, 1110 (N.D. Ga. 2000) (holding that

“federal financial assistance alone is insufficient to trigger the requirements of the NHPA.

Instead, ‘[t]here must, in addition, be some form of federal approval, supervision, control, or at

least a certain level of consultation over the spending of the federal funds’” (quoting Maxwell

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Street Historic Preservation Coal. v. Bd. of Trustees of the Univ. of Ill., No. 00-C-4779, 2000

WL 1141439, at *4 (N.D. Ill. Aug. 11, 2000)). Plaintiffs have not demonstrated that these funds

would violate Section 110(k), as it is not alleged or shown that the grants are related to the

historic property.

        According to Plaintiffs, construction and operation of the casino also constituted an

undertaking because the federal government is involved in the Indian gaming industry. Pls.’

Opp’n at 70. But Plaintiffs cite only generally to federal involvement in Indian gaming and do

not point to any specific action that Federal Defendants took with regard to the casino at issue.

Plaintiffs fail to cite any authority for the proposition that general federal involvement in gaming

is sufficient to make a tribe’s construction and operation of a casino a federal undertaking. And,

the “involvement” Plaintiffs seem to be alleging is one as a regulator, not as a participant such as

a casino owner or operator. Plaintiffs also cite to a National Indian Gaming Commission

regulation that requires a tribe give the Commission 120 days’ notice before opening a new

gaming facility. Notwithstanding the fact that the Commission is not a party to this action, the

provision requires only notice, not approval, and consequently is not a final agency action. See

25 C.F.R. § 559.2(a); Pls.’ Opp’n at 71. Plaintiffs therefore have failed to establish that Federal

Defendants took final agency action under the NHPA.

        Plaintiffs also assert that each extension of the NPS Agreement, allegedly without

appropriate review and without terminating the NPS Agreement for noncompliance constituted

an undertaking. Plaintiffs do not allege any particular extension of the NPS Agreement that

could plausibly constitute final agency action, and the 1999 agreement itself is outside the scope

of the statute of limitations.



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       And, again, Federal Defendants’ general trust responsibility to federally-recognized

tribes does not require that Federal Defendants be held to a higher standard of accountability.

Plaintiffs have not pointed to any statutory or regulatory requirement that Federal Defendants

violated and thus there is no enforceable trust duty. See Jicarilla Apache, 564 U.S. at 173–74.

Plaintiffs’ NHPA claims must be dismissed because they fail to challenge final agency action

and to assert that Federal Defendants did not take a discrete agency action that they were

required to take.

D.     Plaintiffs fail to allege jurisdiction as to their ARPA claim.

       In Federal Defendants’ opening brief, we showed that Plaintiffs failed to allege

jurisdiction and failed to state a claim upon which relief can be granted on their ARPA claim.

Fed. Defs.’ Mem. at 33. ARPA, 16 U.S.C. §§ 470aa-mm, sets up a permitting system to regulate

excavation and removal of “archaeological resources” from public and Indian lands. The

regulations set up exemptions from the permitting process for “general earth-moving

excavations,” officials carrying out official duties under a federal land manager’s direction, and

Indian tribes excavating on their own lands. See 43 C.F.R. §§ 7.5(b)(1) and (c); 16 U.S.C. §

470cc(g)(1). Plaintiffs assert in their Opposition that neither of these exemptions applies

because the exemption only applies to the tribe itself and not to anyone performing excavation or

removal of archaeological resources on its behalf. Pls.’ Opp’n at 79–80. Plaintiffs further assert

that Federal Defendants violated ARPA by failing ensure that the appropriate permits were

obtained.

       To the extent that Plaintiffs seek to enforce Federal Defendants’ purported duty to ensure

that appropriate permits were obtained, Plaintiffs do not have a viable claim. There is no

affirmative duty in either the Uniform regulations (43 C.F.R. Part 7) or the Bureau of Indian

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Affairs (“BIA”) regulations (25 C.F.R. Part 262) to monitor archaeological sites for excavation

without a permit. The regulations give the federal land manager the authority to enforce

violations of § 7.4 or violated permit conditions through assessment of civil penalties, but the

statute does not require such a penalty be assessed. 43 C.F.R. § 7.15(a)(“may assess a civil

penalty” (emphasis added)). In addition, the Federal Defendants have prosecutorial discretion

and “an agency’s decision not to take enforcement action should be presumed immune from

judicial review under § 701(a)(2)” of the APA. See Heckler, 470 U.S. at 832.

          Plaintiffs also assert that Federal Defendants violated ARPA by failing to give Plaintiffs

notice when it issued ARPA permits. Pls.’ Opp’n at 79. But the Federal Defendants issued an

ARPA permit to Auburn University in 2003, see ECF No. 200-2 at 33, outside the statute of

limitations. Nor have Plaintiffs established that failure of notice could give rise to a cause of

action.

          In addition, Plaintiffs assert that Federal Defendants violated ARPA because items

removed from Indian lands should have remained the property of Plaintiffs, citing 43 C.F.R.

§ 7.13. Pls.’ Opp’n at 81. Section 7.13(a) provides that archaeological resources removed from

Indian land “remain the property of the Indian or Indian tribe having rights of ownership over

such resources.” 43 C.F.R. § 7.13(a). Thus, because the Poarch Band is the beneficial owner of

the land from which the archaeological resources were removed, they are the property of the

Poarch Band, not Plaintiffs. See id.; see also 25 C.F.R. § 262.8(a) (“Archaeological resources

excavated or removed from Indian lands, except for [cultural items under NAGPRA], remain the

property of the Indian tribe or individual(s) having rights of ownership over such lands.”).

Furthermore, as with other provisions of the Uniform regulations and the BIA regulations, these

provisions do not contain an affirmative duty on the part of Federal Defendants.

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       According to Plaintiffs, federal agencies are also “required to ensure that archaeological

resources excavated pursuant to ARPA are curated pursuant to 36 C.F.R. Part 79,” Pls.’ Opp’n at

81, but that Part applies only to “Federally-owned and administered archaeological collections.”

 See 36 C.F.R. Part 79. Consequently, it does not apply here. In addition, the regulations in this

part specifically state that “any exchange or ultimate disposition of resources excavated or

removed from Indian lands shall be subject to the consent of the Indian or Indian tribe that owns

or has jurisdiction over such lands.” 36 C.F.R. § 79.2(b)(3). Plaintiffs have simply not shown

that Federal Defendants were required to take agency action here, and their claim should be

dismissed.

E.     Plaintiffs fail to state a claim for RFRA violations.

       In our opening memorandum, Federal Defendants demonstrated that Plaintiffs had not

stated a claim under RFRA because (1) Federal Defendants’ actions are not the source of the

alleged substantial burden on Plaintiffs’ free exercise of religion and (2) Plaintiffs have not

alleged a substantial burden on their exercise of religion. Fed. Defs.’ Mem. at 35. In response,

Plaintiffs assert that Tribal Defendants are federal actors and that federal actions are preventing

them from practicing their religion and forcing them to choose between violating their religious

mandates and facing civil or criminal penalties. Pls.’ Opp’n at 82–95. Plaintiffs’ argument is

not supported by relevant authority and must be dismissed.

       RFRA provides that the “[g]overnment shall not substantially burden a person’s exercise

of religion even if the burden results from a rule of general applicability, except as provided in

subsection (b) [of this section].” 42 U.S.C. § 2000bb–1 (emphasis added). RFRA defines

“government” to include “a branch, department, agency, instrumentality, and official (or other

person acting under color of law) of the United States.” 42 U.S.C. § 2000bb–2(1). Thus, unless

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“the government” (in this case, Federal Defendants) has taken an action to substantially burden

Plaintiffs’ exercise of religion, there is no valid RFRA claim.

        Tribal Defendants’ actions cannot be imputed to Federal Defendants. In arguing that

Tribal Defendants are federal actors, Plaintiffs rely upon the general delegation of federal

authority in the NPS Agreement. Pls.’ Opp’n at 84–88. First, Plaintiffs fail to cite any case law

showing that delegation of authority to tribal governments pursuant to the NHPA makes the

federal government liable for their overall conduct. Plaintiffs do not demonstrate that Federal

Defendants retained any oversight capacity over the tribe’s actions under the NPS Agreement.

        Plaintiffs also fail to connect these delegations of authority to the source of alleged injury

to Plaintiffs. The NPS Agreement delegates certain NHPA responsibilities to the Poarch Band,

who assumed responsibility on tribal lands for various functions under Section 101(d)(2)(C) of

the NHPA. ECF No. 190-1 at 115. In essence, the Poarch Band is acting in place of the State

Historic Preservation Officer. Id. Plaintiffs do not demonstrate how the assumption of these

responsibilities resulted in injury to Plaintiffs. For example, Plaintiffs assert that they are being

prevented from returning the remains and funerary objects “to their intended final resting

places.” 2d Am. Compl. ¶ 325. They also assert that the drinking of alcohol near the ceremonial

grounds violates their religious beliefs. Id. ¶ 328. Plaintiffs fail to tie these, or other allegations,

to Poarch’s assumption of responsibilities under the NHPA.

        More importantly, however, Plaintiffs cannot show a substantial burden on their exercise

of religion. Plaintiffs rely heavily on the idea that they are being forced to choose between

practicing their religion or facing civil or criminal penalties. Specifically, they assert that they

“are not being permitted to complete required religious protocol and return the bodies of their

ancestors, along with their funerary objects, to their original and intended final resting places.”

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Pls.’ Opp’n at 90. First, Plaintiffs misstate the test. The question is whether the government is

imposing a sanction on Plaintiffs for exercising their religious beliefs. See Lyng v. Nw. Indian

Cemetery Protective Ass’n, 485 U.S. 439, 451 (1988); Slockish v. U.S. Fed. Highway Admin.,

Case No. 3:08-cv-1169-YY, 2018 WL 4523135, at *2 (D. Or. Mar. 2, 2018). As the Supreme

Court stated in Lyng, “[t]he crucial word in the constitutional text is ‘prohibit’ . . . .” 485 U.S. at

450–51. Government action “which may make it more difficult to practice certain religions but

which have no tendency to coerce individuals into acting contrary to their religious beliefs” do

not constitute substantial burdens on the exercise of religion.” Thiry v. Carlson, 78 F.3d 1491,

1495 (10th Cir. 1996) (citing Lyng, 485 U.S. at 450–51). Here, nothing the Federal Defendants

have done prohibits Plaintiffs from exercising their religion.

       Second, courts in similar cases have found that denial of access to a religious site is not a

substantial burden on the exercise of religion. See, e.g., Snoqualmie Indian Tribe v. Fed. Energy

Regulatory Comm’n, 545 F.3d 1207 (9th Cir. 2008); Navajo Nation v. U.S. Forest Serv., 535

F.3d 1058 (9th Cir. 2008), Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 239 F.

Supp. 3d 77, 91 (D.D.C. 2017) (finding that granting of an easement for a pipeline under Lake

Oahe did not substantially burden tribe’s exercise of religion); Slockish, 2018 WL 4523135, at

*3–*6. In La Cuna De Aztlan Sacred Sites Prot. Circle Advisory Comm. v. U.S. Dep't of the

Interior, the court rejected the argument Plaintiffs make here, noting that “denial of access to a

religiously significant site is not one of the factors under the substantial burden test,” and even if

it were, the plaintiffs were “not being forced to do something that specifically contradicts their

religious beliefs.” No. 2:11-CV-00395-ODW, 2012 WL 2884992, at *8 (C.D. Cal. July 13,

2012). The court found that the denial of the plaintiffs’ access to a sacred site did not “constitute

pressure to violate their religious practices because they face the threat of punishment for

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trespassing.” Id. “They are not forced to act contrary to and relinquish their religion — no one

is forcing Plaintiffs to trespass.” Id. Similarly, in Slockish, the court held that even when the

government destroyed a historic campground and burial grounds that was a sacred site for the

plaintiff tribes, no substantial burden on the exercise of religion occurred. Slockish, 2018 WL

4523135, at *6.

       Moreover, those cases involved government property, and the Supreme Court stated that

“[w]hatever rights the Indians may have to the use of the areas, however, those rights do not

divest the Government of its right to use what is, after all, its land.” Lyng, 485 U.S. at 453. The

case at bar involves the Poarch Band’s use of its own land. Plaintiffs thus assert that their

religious freedom requires limits on how another tribe uses its land. But they cite no cases

finding that RFRA requires a tribe or other private party to tailor its use of its own property so as

to avoid a burden on the free exercise of religion of others.

       Finally, Plaintiffs do not allege that Federal Defendants exercised any coercive power or

provided significant encouragement for the construction activities at the Wetumpka property.

The specific activities that they complain burden their religious exercise, excavation and

construction of facilities by the Poarch Band on its own property are the private actions of the

Poarch Band. Although Plaintiffs cite to Federal Defendants’ issuance or non-issuance of

permits, that action is only the approval of the Poarch Band’s excavation on its land, which is

insufficient to justify imposition of RFRA’s compelling interest test. See Vill. of Bensenville v.

Federal Aviation Admin., 457 F.3d 52, 66 (D.C. Cir. 2006). Therefore, RFRA is not applicable

to Federal Defendants in this case.




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F.     Plaintiffs’ Religious Exercise claim should be dismissed.

       Federal Defendants showed in their Motion to Dismiss that Plaintiffs’ Claim VIII should

be dismissed for several reasons. Fed. Defs.’ Mem. at 40–41. First, Plaintiffs failed to identify

final agency action and challenge instead a prospective ruling by this Court. Second, Federal

Defendants’ actions do not substantially burden Plaintiffs’ religion. Third, Plaintiffs have not

stated a claim for relief under the First Amendment because they do not point to any law

prohibiting the free exercise of religion. In addition, RLUIPA does not apply to the case at bar,

as it neither involves a state or local government nor a land use regulation. And, as discussed

above, Plaintiffs have not stated a claim for relief under the RFRA. In short, Plaintiffs have

failed to state a claim that NAGRPA and ARPA violate their free exercise of religion.

       In response, Plaintiffs again argue that Mekko Thompson is a lineal descendant of those

buried at Hickory Ground and thus denial of his NAGPRA claim for ownership of the remains

and cultural items violated Plaintiffs’ religious rights and freedoms. Plaintiffs first argue that

NAGPRA is specifically directed at religion and religious practice and, thus, under the Free

Exercise Clause, it “must be justified by a compelling governmental interest and must be

narrowly tailored to advance that interest.” Pls.’ Opp’n to Tribal Defs.’ MTD, ECF No. 212, at

99. Plaintiffs argue that the way Federal Defendants and Tribal Defendants have interpreted

NAGPRA causes it to violate the Free Exercise Clause. This is wrong.

       First, Plaintiffs’ challenge is not truly a constitutional challenge, but a challenge to

Federal Defendants’ decision. In addition, Plaintiffs fail to allege final agency action that would

give this Court jurisdiction. They assert that Federal Defendants denied a NAGPRA claim by

Mr. Thompson in 2009, but the action they refer to is a finding in response to Mr. Thompson’s

allegations that Auburn University failed to comply with NAGPRA by things such as not

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completing inventories of the remains and other cultural items, not publishing a notice of

repatriation, and not consulting with Plaintiffs. ECF No. 200-2 at 42–45, 47–49. Mr.

Thompson’s letter cannot be properly characterized as a claim to ownership of the remains, as it

is in the nature of a report of failure to follow NAGPRA’s procedures. Interior found that

Auburn did not have legal ownership over the materials and thus did not need to follow

NAGPRA’s procedures for repatriation. ECF No. 200-2 at 47–49. This cannot be considered a

final agency action on application of NAGPRA to Plaintiffs. Thus, Plaintiffs have not shown

that the Court has jurisdiction over their claims.

       Second, Plaintiffs’ assertion that NAGPRA is not a neutral law and thus must be “must

be justified by a compelling governmental interest and must be narrowly tailored to advance that

interest” takes the wrong approach. Pls.’ Opp’n to Tribal Defs.’ MTD at 99. The Free Exercise

Clause of the First Amendment provides that “Congress shall make no law respecting an

establishment of religion, or prohibiting the free exercise thereof.” U.S. Const. amend 1. “At a

minimum, the protections of the Free Exercise Clause pertain if the law at issue discriminates

against some or all religious beliefs or regulates or prohibits conduct because it is undertaken for

religious reasons.” Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 532

(1993). Plaintiffs argue that NAGPRA is not a neutral law because it is specifically directed at

religion and religious practice. Pls.’ Opp’n to Tribal Defs.’ MTD at 99. Even assuming this is

true, NAGPRA does not discriminate against religious beliefs or prohibit conduct because it is

undertaken for religious reasons. A law is not neutral “if the object of a law is to infringe upon

or restrict practices because of their religious motivation.” Lukumi Babalu, 508 U.S. at 533.

Nothing in NAGPRA meets this category. In any event, Plaintiffs are not challenging NAGPRA



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itself, but Federal Defendants’ application of NAGPRA. Because the Free Exercise Clause is

aimed only at the law itself, this claim must fail.

        Next, Plaintiffs argue that RLUIPA has been violated. They acknowledge that RLUIPA

applies to “land use regulations and institutionalized persons.” Pls.’ Opp’n at 100. They fail,

however, to identify any land use regulation or institutionalized person that they are challenging.

 They also fail to address case law establishing that, “[s]ubject to two exceptions not relevant

here, RLUIPA does not apply to federal government action . . . .” Navajo Nation, 535 F.3d at

1077.

        They also appear to argue that RLUIPA repealed NAGPRA because NAGPRA is

assertedly less protective of religious exercise than RLUIPA. This argument is nonsensical.

First, RLUIPA states that it should not be read to repeal federal law that is as or more protective

of religious exercise, but it does not imply that less protective laws are repealed. Repeals by

implication are disfavored. See Posadas v. Nat’l City Bank of NY, 296 U.S. 497, 503 (1936)

(“The cardinal rule is that repeals by implication are not favored.”). Further, as discussed above,

NAGPRA is not a law that impinges on religious exercise, and Plaintiffs do not assert that

NAGPRA itself infringes on their religious practice, only that Federal Defendants’ application of

NAGPRA here does so. Thus, even under Plaintiffs’ argument, RLUIPA could not repeal

NAGPRA. And notably, NAGPRA provides Plaintiffs’ only avenue to claim ownership of the

remains and other cultural items and if it is repealed, there is no question but that the remains

and other cultural items would belong to the landowning tribe here. This claim should be

dismissed.




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                                   III.      CONCLUSION
       For the foregoing reasons, Plaintiffs’ Second Amended Complaint should be dismissed

for lack of jurisdiction under Rule 12(b)(1), and for failure to state a claim under Rule 12(b)(6).

       Dated: September 4, 2020               Respectfully submitted,



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                                      CERTIFICATE OF SERVICE



                I hereby certify that on September 4, 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the parties entitled to receive notice.


                                        /s/ Devon Lehman McCune




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                     IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

 MUSCOGEE CREEK NATION, et al.,        )
                                       )
       Plaintiffs,                     )
                                       )
 vs.                                   )               Civil Action Number:
                                       )             2:12-cv-01079-MHT-CSC
 POARCH BAND OF CREEK INDIANS, et      )
 al.,                                  )
                                       )
       Defendants.                     )
                                       )

              TRIBAL DEFENDANTS’ REPLY BRIEF IN SUPPORT OF
              MOTION TO DISMISS SECOND AMENDED COMPLAINT


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                                        INTRODUCTION

        This case is much more straightforward than the voluminous briefing might imply. The

Plaintiffs are angry about archaeological excavation and development that took place years ago on

property that the Tribal Defendants 1 acquired from a third party four decades ago. While no one

questions the sincerity of the Plaintiffs’ feelings, their anger does not give rise to any valid legal

claims. Indeed, as explained in the various motions to dismiss, every one of the eleven counts set

forth in the Second Amended Complaint (SAC, Doc. 190) is fatally flawed as a matter of law,

whether due to a lack of subject matter jurisdiction, sovereign immunity, expired statutes of

limitations, the lack of a private right of action, or simple non-existence of necessary elements.

The Plaintiffs decry the Tribal Defendants’ reliance on these “technical legal reasons” supporting

dismissal of the SAC, perhaps hoping that the Court will look past the law and focus exclusively

on their version of the facts. Plaintiffs’ Response to Tribal Defendants’ Motion to Dismiss Second

Amended Complaint (Plaintiffs’ response), Doc. 212 at 18.2 This the Court cannot do. Instead,

because the Plaintiffs have failed to set forth a single valid claim against the Tribal Defendants or

any other Defendants as a matter of law, the Court should dismiss the SAC in full.

                                         BACKGROUND

        The Tribal Defendants’ brief in support of their motion to dismiss the SAC (their principal

brief, Doc. 202) sets forth key background facts relevant to their motion. See id. at 14-18. The

Plaintiffs’ recitation of background facts confirms key points set forth by the Tribal Defendants,

including that Defendant PBCI acquired the Wetumpka property in 1980 subject to a 20-year

preservation covenant that the Plaintiffs do not contend was violated. See Doc. 212 at 19. And


1 As in their initial motion and brief, the Tribal Defendants comprise the Poarch Band of Creek
Indians (PBCI or the Tribe), PCI Gaming, and all tribal officials sued in their official capacities.
See Doc. 202 at 13 n.1
2 Pin cites to previously filed documents are to the ECF-generated page numbers atop each page.


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while the parties disagree on the interpretation and significance of a funding application letter that

PBCI submitted to the Alabama Historical Commission describing a subsequently abandoned plan

to jointly acquire and maintain the property with Plaintiff Muscogee (Creek) Nation (MCN), Doc

190-1 at 3-7, no one disputes the letter’s authenticity or content.

        The Plaintiffs do, however, grossly mischaracterize the substance of the October 19, 2002,

letter (Doc. 200-2 at 20-25), signed by Plaintiff Thompson and others on behalf of Plaintiff

Hickory Ground Tribal Town and copied to Plaintiff MCN. As explained in the Tribal Defendants’

principal brief, Doc. 202 at 16, that letter establishes that in October 2002, more than ten years

before filing this lawsuit, all Plaintiffs had actual knowledge of “facts displayed in the written

record that not less than three (3) sets of human remains have been excavated and removed from

the property without prior consultation with Hickory Ground Tribal Town.” Doc. 200-2 at 22. In

their response, the Plaintiffs try to back away from this clear and concrete statement of

contemporaneous knowledge by saying that the letter referred only to “rumors through third parties

that Poarch may be disturbing the site” and stated that the Plaintiffs “‘hope[d] this is not the case.’”

Doc. 212 at 19 n.2. The assertion that the 2002 letter referred only to “rumors” is manifestly

irreconcilable with that document’s explicit reference to “facts displayed in the written record.”

Moreover, the quoted language regarding the Plaintiffs’ “hope [that] this is not the case” is

extracted from a separate paragraph of the letter that made unsupported allegations regarding

PBCI’s treatment of excavated remains, not questioning whether excavation occurred. See Doc.

200-2 at 22. The record is clear on this point, and the Plaintiffs’ effort to muddy it is unavailing.

                                            STANDARD

        The Tribal Defendants have already addressed the standard for the Court’s evaluation of

their motion. See Doc. 202 at 18-19. They revisit the issue here only to reemphasize that when a

defendant makes a factual challenge to subject matter jurisdiction, as the Tribal and Federal

                                                   2
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Defendants do with respect to many claims, a plaintiffs’ allegations are not entitled to a

presumption of truthfulness, and the Court is free to consider material outside of the pleadings.

See id. (citing cases). The Plaintiffs’ response never acknowledges this rule.

                                 ARGUMENT AND ANALYSIS

I.     The Tribal Defendants have sovereign immunity from all claims asserted.

       Tribal sovereign immunity deprives the Court of subject matter jurisdiction over all of the

Plaintiffs’ claims against the Tribal Defendants. See Doc. 202 at 21-28. The SAC fails to even

allege jurisdiction over PBCI and PCI Gaming, both of which unquestionably enjoy tribal

sovereign immunity, and the tribal officials sued in their official capacities share in the Tribe’s

immunity. See id. Nothing in the Plaintiffs’ response brief refutes these facts.

       A.      PBCI and PCI Gaming have sovereign immunity.

       Despite not alleging subject matter jurisdiction over PBCI or PCI Gaming or otherwise

questioning their sovereign immunity in the SAC, the Plaintiffs argue in their response brief that

PBCI forfeited its sovereign immunity by entering into an agreement (the NPS Agreement, Doc.

190-1, at 115-19) with the National Park Service (NPS) whereby PBCI assumed certain, limited

responsibilities under the National Historic Preservation Act (NHPA). See Doc. 212 at 22.

Specifically, the Plaintiffs contend that when an entity is “delegated federal responsibilities … the

delegee steps into the shoes of the agency that made the delegation in the first place.” Id. at 23.

This includes, according to the Plaintiffs, amenability to suit under, and acceptance of the federal

immunity waiver set forth in, the Administrative Procedure Act (APA). Id. So, under the Plaintiffs’

theory, PBCI’s assumption of the limited responsibilities set forth in the NPS Agreement—a

document that makes no mention of the APA or any waiver of tribal sovereign immunity—

impliedly waived PBCI’s tribal sovereign immunity from all of the claims set forth in the SAC.

That is not the case for several reasons.

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               1.      The APA does not apply to PBCI or any nonfederal party.

       The Plaintiffs argument fails first and most obviously because it relies on the APA as the

basis for bringing claims against the Tribal Defendants. The APA applies only to federal agencies,

not nonfederal entities such as Indian tribes and tribal enterprises. See Doc. 202 at 68-69; see also

Resident Council of Allen Parkway Vill. v. U.S. Dep’t of Hous. & Urban Dev., 980 F.2d 1043,

1055 (5th Cir. 1993) (holding, in a suit seeking to enjoin a state agency’s expenditure of federal

funding, that a district court lacked jurisdiction to enjoin a state agency under the APA). The

existence of a contract or funding relationship between a federal agency and nonfederal defendant

does not alter this fact. See Doc. 202 at 69 (citing multiple cases). Because PBCI and PCI Gaming

are not federal agencies, the APA and its immunity waiver are per se inapplicable to them.

               2.      There can be no implied waiver of tribal sovereign immunity.

       Putting aside the fatal fact that the APA is inapplicable to any of the Tribal Defendants, the

Plaintiffs’ claim also fails because they do not identify an express waiver of PBCI’s sovereign

immunity. Instead, they ask this Court to infer a waiver from PBCI’s assumption of certain

obligations in the NPS Agreement. That is impermissible. Waivers of tribal sovereign immunity

cannot be implied from tribal conduct, but must be clear and unequivocal. See, e.g., Santa Clara

Pueblo v. Martinez, 436 U.S. 49, 58 (1978); Contour Spa at the Hard Rock, Inc. v. Seminole Tribe

of Fla., 692 F.3d 1200, 1206-08 (11th Cir. 2012); Furry v. Miccosukee Tribe of Indians of Fla.,

685 F.3d 1224, 1234 (11th Cir. 2012). The Eleventh Circuit has gone so far as to explain that even

an express promise by a tribe to comply with a specific law “could not, without more, constitute

an express and unequivocal waiver of its immunity from suit.” Furry, 685 F.3d at 1236; Sanderlin

v. Seminole Tribe of Fla., 243 F.3d 1282, 1287-89 (11th Cir. 2001) (holding that a tribe’s promise

to comply with federal law, made in connection with receipt of federal funding, did not waive its

immunity from suits brought under the laws with which it promised to comply). Any argument

                                                 4
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that PBCI lacks immunity because it signed the NPS Agreement, which is completely silent as to

tribal sovereign immunity, or because it accepted federal benefits in the form of historic

preservation responsibilities or preservation grant funds, see Doc. 212 at 26, is irreconcilable with

Supreme Court and Eleventh Circuit precedent barring the implication of a waiver of tribal

sovereign immunity on the basis of a tribe’s conduct. 3

                   3.   PBCI did not assume federal functions.

        Even if it were possible to infer a tribe’s waiver of immunity from its assumption of federal

functions, the Plaintiffs’ argument still would fail because the responsibilities that PBCI assumed

under the NPS Agreement are not federal.

        The NPS Agreement expressly provides that PBCI is assuming “the functions of a State

Historic Preservation Officer” (SHPO) under the NHPA, not those of NPS or any other federal

agency. Doc. 190-1 at 115; id. at 118, § 12 (calling for NPS to issue a notice to “make clear that

the Tribe has assumed the role of State Historic Preservation Officer”). It then proceeds to identify

discrete responsibilities that PBCI assumed from among those “set out in Section 101(b)(3)” of

the NHPA. Doc. 190-1 at 115, § 1. That provision describes “the responsibility of the State Historic

Preservation Officer to administer the State Historic Preservation Program.” NHPA § 101(b)(3),

codified as amended at 54 U.S.C. § 302302. Accordingly, to the extent that PBCI “step[ped] into




3 The Plaintiffs  do not argue that there is a congressional abrogation of PBCI’s immunity, and any
such argument would fail. The APA waives only the immunity of the United States and provides
that it does not “affect[] other limitations on judicial review,” which would include tribal sovereign
immunity. 5 U.S.C. § 702; see also 5 U.S.C. § 551. Like waivers, congressional abrogations of
tribal sovereign immunity must be “unequivocally expressed.” Santa Clara Pueblo, 436 U.S. at
58 (citation omitted). Given the APA’s express limitation to federal authorities and lack of any
reference to tribal sovereign immunity, it plainly does not include an unequivocal expression of
congressional intent to abrogate such immunity.
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the shoes” of anyone when it signed the NPS Agreement, Doc. 212 at 23, it stepped into those of

a state entity—the SHPO—and not those of NPS.

       Further examination of the NPS Agreement reinforces this conclusion. The Plaintiffs

imply, for example, that PBCI assumed a blanket obligation to “[f]ollow Section 106 of the NHPA

in accordance with the regulations codified at 36 C.F.R. § 800 et seq.” Doc. 212 at 23 (citing Doc.

191-1 at 117, § 5). But § 5 of the NPS Agreement refers only to the performance of the SHPO

consulting duties assumed in § 1(G) of that agreement—consulting with and providing feedback

to federal agencies in connection with federal undertakings on tribal lands—not a general

assumption of all federal functions involved in the § 106 process.4 Doc. 191-1 at 117, § 5; see,

e.g., City of Oxford v. FAA, 428 F.3d 1346, 1356-57 (11th Cir. 2005) (reviewing the SHPO’s role

in consulting with federal agencies). Similarly, § 7 of the NPS Agreement, which the Plaintiffs

also cite as an example of PBCI’s putative assumption of “federal responsibilities,” Doc. 212 at

23, provides that PBCI will act “in accordance with Section 101(d)(4)(C)” of the NHPA. Doc. 191

at 117, § 7. Section 101(d)(4)(C) of the NHPA, however, deals exclusively with tribal rights to

assume certain SHPO functions—not with the delegation or assumption of any federal functions.

See id., codified as amended at 54 U.S.C. § 302704. Once again, PBCI is a delegee of state historic

preservation responsibilities, not federal functions. As “the federal APA clearly does not apply to

state agencies,” it cannot apply to PBCI as a delegee of state agency duties. Doe, 1-13 v. Bush, 261

F.3d 1037, 1055 (11th Cir. 2001); see also Doc. 202 at 22, 68-69 (further explaining why an APA

claim against PBCI is non-viable).




4 As the Federal Defendants note in support of their motion to dismiss, the Plaintiffs have identified

no relevant federal undertakings on which to base NHPA claims under the APA. See Doc. 200 at
30-34. Other failings of the Plaintiffs’ NHPA claims are discussed in detail in the Tribal
Defendants’ principal brief, Doc. 202 at 68-73, and below.
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       The Plaintiffs attempt to evade the fact that PBCI did not assume federal functions by citing

an NHPA regulation requiring federal agencies to “ensure that an agency official with jurisdiction

over an undertaking takes legal and financial responsibility for section 106 compliance” and

providing that the relevant “agency official may be a State, local, or tribal government official who

has been delegated legal responsibility for compliance with Section 106.” 36 C.F.R. § 800.2(a).

This regulation is completely irrelevant, however, because the Plaintiffs have not identified any

federal undertakings over which PBCI has jurisdiction or for which PBCI has been delegated legal

responsibility for compliance with § 106. PBCI assumed SHPO functions in the NPS Agreement,

not jurisdiction over federal undertakings. It is telling that § 800.2 identifies SHPOs not as legally

responsible “agency officials,” but rather as parties with whom responsible federal agencies should

consult during the § 106 process. See § 800.2(c)(1). Additionally, § 800.2(a) specifically provides

that the “statutory obligation … to fulfill the requirements of section 106” remains with the

relevant federal agency, implying that it is the agency itself, not an agency official and certainly

not a SHPO or tribe assuming SHPO responsibilities, that retains ultimate responsibility for

ensuring compliance with § 106 and is subject to suit under the APA for any actionable

noncompliance. Id.; see also Vieux Carre Prop. Owners, Residents & Assocs., Inc. v. Brown , 875

F.2d 453, 458 (5th Cir. 1989) (“By its terms, only a federal agency can violate section 470f.”5).

       Because PBCI is not a federal agency and assumed only SHPO responsibilities rather than

federal functions, the Plaintiffs’ attempt to leverage the NPS Agreement to bring an APA claim

against PBCI as a federal delegee fails.




5 The Fifth Circuit’s
                   reference to § 470f refers to 16 U.S.C. § 470f, which previously codified §
106 of the NHPA. Section 106 is now codified at 54 U.S.C. § 306108.
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               4.      Even if the NPS Agreement waived PBCI’s tribal sovereign immunity for
                       certain claims, it would not do so for most or all of the Plaintiffs’ claims.

       The Plaintiffs’ theory suffers additional shortcomings. Even if PBCI had waived its

sovereign immunity by signing the NPS Agreement and could be considered a federal actor for

APA purposes as a result of its assumption of SHPO responsibilities, neither of which is the case,

PBCI still would retain immunity from the Plaintiffs’ claims to the extent that they are not based

on alleged violations of the specific responsibilities assumed in the NPS Agreement. Federal law

requires that both the immunity waiver set forth in the APA and waivers of tribal sovereign

immunity be strictly construed and limited to their terms. See, e.g., Dep’t of the Army v. Blue Fox,

Inc., 525 U.S. 255, 260 (1999) (holding, in an APA case, that “a waiver of sovereign immunity is

to be strictly construed, in terms of its scope, in favor of the sovereign”); Tamiami Partners, Ltd.

v. Miccosukee Tribe of Indians of Fla., 177 F.3d 1212, 1224-25 (11th Cir. 1999) (holding that

where a tribe waived immunity as to certain claims, other claims falling outside the scope of the

waiver remained barred by tribal sovereign immunity); Ramey Constr. Co. v. Apache Tribe of the

Mescalero Reservation, 673 F.3d 315, 320 (10th Cir. 1982) (holding that a waiver of tribal

sovereign immunity “is to be strictly construed” and that a waiver of immunity from one claim

does not waive immunity from other claims). Accordingly, even if the NPS Agreement had waived

PBCI’s sovereign immunity, any such waiver would be limited to claims based directly on

violations of federal obligations that PBCI actually assumed through that agreement.

       As explained above, the responsibilities that PBCI assumed under the NPS Agreement are

far narrower than the Plaintiffs contend. Rather than assuming full federal responsibility for

compliance with the NHPA § 106 process for all purposes and in all respects on PBCI trust lands,

as the Plaintiffs insinuate, PBCI assumed limited, expressly delineated SHPO responsibilities. See

Doc. 190-1 at 115-18 (setting out the responsibilities assumed by PBCI). The Plaintiffs ignore this


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fact. The overwhelming majority of their claims, if not all of them, are not based on alleged

violations of the SHPO-type NHPA responsibilities that PBCI assumed under the NPS Agreement.

Most of their NHPA claims instead allege violations of the § 106 process by the Federal

Defendants, with erroneous, unsupported add-on assertions that those violations are also

attributable to PBCI and thus give rise to claims under the APA. See generally SAC at 65-69. Any

alleged waiver of PBCI’s immunity could not possibly extend to claims based on ostensible

violations of § 106 duties that PBCI did not assume.

       The Plaintiffs also appear to argue, in passing, that because one provision of the NHPA, 54

U.S.C. § 306102(b)(5)(C), cross-references a provision of the Native American Graves Protection

and Repatriation Act (NAGPRA), the NPS Agreement defeats PBCI’s immunity from all of the

Plaintiffs’ NAGPRA-based claims. See Doc. 212 at 22. They then go yet another step further,

implying that the passing reference to “archeological resources” in 36 C.F.R. § 800.2(a)(1)—an

NHPA regulation that, as discussed above, is inapplicable to PBCI—waives PBCI’s immunity

from all APA claims based on the Archaeological Resources Protection Act (ARPA). See Doc.

212 at 22. These arguments are absurd. PBCI plainly did not assume federal NAGPRA and ARPA

compliance obligations in the NPS Agreement, and its assumption of limited SHPO functions via

that agreement cannot possibly be stretched so far as to effectuate a waiver of its immunity from

any and all third party APA claims alleging violations of any statute mentioned anywhere in the

NHPA. The Plaintiffs tellingly cite no authority supporting such a result.

               5.     The Plaintiffs’ cases do not support their argument.

       The cases ostensibly supporting the Plaintiffs’ contention that they can bring an APA claim

against PBCI are inapposite. First, the Plaintiffs appear to contend that the PBCI’s assumption of

SHPO responsibilities under the NPS Agreement operates as an acceptance of the APA’s immunity

waiver as a matter of law under Caddo Nation of Oklahoma v. Wichita and Affiliated Tribes, 786

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F. App’x 837 (10th Cir. 2019). See Doc. 212 at 24-25. But Caddo Nation, which involved

Department of Housing and Urban Development’s (HUD) delegation of certain duties to the

Wichita Tribe, is readily distinguishable. The statute authorizing the HUD delegation explicit ly

required the delegee to “assume the status of a responsible federal official under the National

Environmental Policy Act” and to “accept the jurisdiction of the federal courts for the purpose of

enforcement of his responsibilities as such an official.” 42 U.S.C. § 5304(g)(3)(D); see Caddo

Nation, 786 F. App’x at 840 & 840 n.4. In other words, the HUD delegation at issue in Caddo

Nation required an express waiver of sovereign immunity by the delegee, and the Wichita Tribe

provided such a waiver. Caddo Nation, 786 F. App’x at 841 (noting that the Wichita Tribe

“affirmatively waived its sovereign immunity in the certification included in the [environmental

assessment]” (emphasis added)). The Plaintiffs have identified no such express waiver of PBCI’s

immunity here, and, as noted above, a waiver of tribal sovereign immunity cannot be implied.

Because PBCI did not expressly waive its immunity, Caddo Nation is inapposite.6

       The Plaintiffs also rely on dicta in a decades old Virginia district court opinion, James

River & Kanawha Canal Parks, Inc. v. Richmond Metropolitan Authority, 359 F. Supp. 611 (E.D.

Va. 1973). See Doc. 212 at 25. In James River, the Richmond Metropolitan Authority (RMA), a

political subdivision of the Commonwealth of Virginia, asserted Eleventh Amendment immunity

from a litany of federal statutory claims arising out of the RMA’s construction of a highway

system. See generally James River, 359 F. Supp. at 618-23. The district court held that the RMA,

as a political subdivision of a state, was not entitled to Eleventh Amendment immunity as a matter

of law. Id. at 623. It then went on to posit, in dicta, that even if the RMA otherwise would have



6 Notably, the court in Caddo Nation dismissed all claims against the Wichita Tribe that were not

directly grounded in the federal duties assumed by the Tribe and within the scope of the Tribe’s
affirmative immunity waiver. See 786 F. App’x at 839.
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had immunity, it would have waived that immunity by “purposefully avail[ing] itself of the benefit

of federal law.” Id. at 624. This dicta has no relevance here.

       Tribal sovereign immunity is different than Eleventh Amendment immunity, and it has

been well-settled, largely in the decades since James River, both that tribal immunity cannot be

impliedly waived and that tribal nations do not waive their immunity by “availing” themselves of

federal laws. See, e.g., Contour Spa, 692 at 1206-08 (holding that tribal sovereign immunity is

different than Eleventh Amendment immunity and that tribes, unlike states, do not waive their

immunity by removing a suit to federal court or by filing suit in federal court); see also Bodi v.

Shingle Springs Band of Miwok Indians, 832 F.3d 1011, 1021-22 (9th Cir. 2016) (citing Hard Rock

and holding that there could be no waiver of tribal sovereign immunity absent “an unequivocal

expression of the Tribe’s intent to waive”). Indeed, the Eleventh Circuit has rejected the argument

that a tribe waives its immunity merely by availing itself of federal law, holding that such a result

would be “patently inconsistent” with the rule against implied waivers of tribal sovereign

immunity. Florida v. Seminole Tribe of Fla., 181 F.3d 1237, 1243 (11th Cir. 1999) (rejecting the

argument that a tribe waived its sovereign immunity by engaging in gaming activity pursuant to

the federal Indian Gaming Regulatory Act (IGRA)). And in Sanderlin, the Eleventh Circuit went

so far as to hold that a tribe’s acceptance of federal funding conditioned on a promise to comply

with non-discrimination provisions of the federal Rehabilitation Act did not waive the tribe’s

immunity from suits brought under that act. Sanderlin, 243 F.3d at 1287-89 (reasoning that “a

promise not to discriminate … in no way constitute[s] an express and unequivocal waiver of

sovereign immunity”).

       The other cases mentioned in the string cite at the end of the Plaintiffs’ argument likewise

offer scant support. South Carolina Wildlife Federation v. Limehouse, 549 F.3d 324 (4th Cir.



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2008), involved a claim against a state official, not a tribe or even the state itself, and the court

found that the plaintiffs avoided an Eleventh Amendment immunity bar under the Ex parte Young

doctrine, not by bringing a claim under the APA. See id. at 331-32. And Named Individual

Members of San Antonio Conservation Society v. Texas Highway Department, 446 F.2d 1013,

1028 (5th Cir. 1971), contains no discussion of immunity whatsoever. Neither case is instructive,

much less dispositive, as to whether the NPS Agreement subjects PBCI to claims under the APA.

       In light of the Plaintiffs’ failure to identify any clear and unequivocal waiver or abrogation

of PBCI’s tribal sovereign immunity from the Plaintiffs’ claims, those claims should be dismissed

with prejudice for lack of subject matter jurisdiction pursuant to Rule 12(b)(1).

       B.      The Tribal Officials have sovereign immunity in their official capacities.

       The Plaintiffs do not dispute the general rule that tribal sovereign immunity extends to

tribal officials such as the PBCI Council members, PCI Gaming directors, and Tribal Historic

Preservation Officer (THPO) sued here in their official capacities (the Tribal Officials). Instead,

they contend that their claims can proceed against the Tribal Officials under the narrow exception

to tribal sovereign immunity commonly referred to as the Ex parte Young doctrine. See Doc. 212

at 26-27. Under Ex parte Young, officials who would otherwise enjoy sovereign immunity can

sometimes be sued for prospective declaratory or injunctive relief to stop ongoing violations of

federal law. See, e.g., Nicholl v. Atty. Gen. of Ga., 769 F. App’x. 813, 815 (11th Cir. 2019); Summit

Med. Assocs., P.C. v. Pryor, 180 F.3d 1326, 1337 (11th Cir. 1999); Doc. 202 at 23. But the Ex

parte Young doctrine is inapplicable here both because the Plaintiffs have not alleged the requisite

ongoing violations of federal law and because the Plaintiffs’ claims implicate special sovereignty




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interests that the Supreme Court has held trump the Ex parte Young exception. See Doc. 202 at 23-

28. The Plaintiffs’ efforts to rebut these arguments are unavailing.

               1.       The Plaintiffs do not allege ongoing violations of federal law.

       Recent Circuit precedent explicitly holds that “[t]he Ex parte Young doctrine applies only

when a ‘violation of federal law … is ongoing as opposed to cases in which federal law has been

violated at one time or over a period of time in the past.’” Nicholl, 769 F. App’x at 815 (quoting

Fla. Ass’n of Rehab. Facilities, Inc. v. Fla. Dep’t of Health & Rehab. Servs., 225 F.3d 1208, 1219

(11th Cir. 2000)); see also Fuller v. Davis, 594 F. App’x 935, 940 (10th Cir. 2014) (refusing to

apply Ex parte Young due to lack of any ongoing violation of law when “[t]he gravamen of [the

plaintiffs’] complaint is that they were tricked long ago”). Yet the Plaintiffs contend that the Ex

parte Young doctrine’s requirement of an ongoing violation of federal law is not, in fact, a temporal

inquiry. Rather than asking whether there is an actual, ongoing violation of law, they assert that

“the appropriate inquiry … is whether the plaintiff seeks injunctive relief, as opposed to damages.”

Doc. 212 at 29. Accordingly, the Plaintiffs argue, because their claims against the Tribal Officials

seek prospective, non-monetary relief, they fit within the Ex parte Young exception despite the

fact that they “seek declarations of the illegality of certain of the Tribal Officials’ past conduct”

Id. (emphasis added).

       The Plaintiffs’ characterization of Ex parte Young completely ignores half of the test for

its applicability and contradicts binding Circuit precedent. See, e.g., Nicholl, 769 F. App’x at 815;

Summit, 180 F.3d at 1337; see also Doc. 202 at 23-24 (citing multiple cases holding the Ex parte

Young doctrine inapplicable to claims seeking declaratory or injunctive relief based on allegedly

unlawful past conduct). In Summit, the Eleventh Circuit confirmed that the availability of the Ex

parte Young doctrine “turns, in the first place, on whether the plaintiff seeks retrospective or

prospective relief.” Id. But the test does not end there. In addition to being limited to prospective

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relief, the Eleventh Circuit explained, “the Ex parte Young doctrine applies only to ongoing and

continuous violations of federal law. In other words, a plaintiff may not use the doctrine to

adjudicate the legality of past conduct.” Id. (emphasis added); see also Nicholl, 769 F. App’x at

815-16 (holding Ex parte Young inapplicable where the complaint “challenged only past

conduct”). Nicholl is particularly relevant, as it explicitly held the Ex parte Young doctrine

inapplicable to a claim for injunctive relief directing the defendant to take steps to correct the

continuing effects of an alleged past violation of federal law. See 769 F. App’x at 815 (noting that

the plaintiff sought declaratory and injunctive relief). This binding authority directly refutes the

Plaintiffs’ argument that the Ex parte Young doctrine’s requirement of an “ongoing violations of

federal law” can be brushed aside so long as the plaintiff seeks prospective, non-monetary relief.

       Presumably recognizing that their first argument misses the mark, the Plaintiffs also

attempt to conjure alleged ongoing violations of federal law by the Tribal Officials. These efforts

are as misguided and unavailing as their attempt to redefine the Ex parte Young doctrine. See Dec.

202 at 24-26.

       With respect to the Indian Reorganization Act (IRA) claim set forth in Count I of the SAC,

which seeks an order requiring the Secretary of the Interior (the Secretary) to revoke the Wetumpka

property’s trust status, the Plaintiffs allege that the Tribal Officials are engaged in an ongoing

violation of law by allowing gaming on the property. As the Tribal Defendants have explained,

the gaming activity on the Wetumpka property does not violate federal law. See Doc. 202 at 24-

25. The Plaintiffs contend that this is irrelevant because they allege that gaming on the Wetumpka

property violates state law. Doc. 212 at 30-31. But the Eleventh Circuit has recognized, in the very

context of a suit against PBCI officials alleging that gaming on the Wetumpka property and other

Indian trust lands within Alabama violated state law, that Ex parte Young is inapplicable to alleged



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violations of state law on Indian lands. See Alabama v. PCI Gaming Auth., 801 F.3d 1278, 1290

(11th Cir. 2015). As the Wetumpka property is indisputably Indian land held in trust by the United

States for the benefit of PBCI, see SAC ¶ 73 & Doc. 203-2, a claim that gaming on that property

violates state law cannot support application of Ex parte Young. See PCI Gaming, 801 F.3d at

1293 (“Because the lands at issue are properly considered ‘Indian lands,’ the Individua l

Defendants are immune from Alabama’s state law claim.”).

       Like the State of Alabama in PCI Gaming, the Plaintiffs want this Court to assume their

success on the merits of their IRA claim and apply that holding retroactively for purposes of

addressing the threshold, jurisdictional question of the Tribal Officials’ sovereign immunity. That

is not how it works. If the Plaintiffs were to succeed in their decades-late effort to have the

Wetumpka property removed from trust and the Tribal Officials subsequently conducted gaming

there in violation of some state law, then at that point, and only at that point, the Plaintiffs might

be able to bring an Ex parte Young-style claim against the Tribal Officials based on an ongoing

violation of state law, assuming they had standing to enforce state gaming laws. But presently,

there is no ongoing violation of law to support applying Ex parte Young to the Plaintiff’s IRA

claim (or any other claim). See PCI Gaming, 801 F.3d at 1292-93.

       There is yet another glaring problem with the Plaintiffs’ assertion that gaming activity on

the Wetumpka property brings their IRA claim within Ex parte Young—namely, that an injunction

of gaming activity is not the relief the Plaintiffs seek through that claim. Instead, they seek “an

order in the nature of mandamus requiring that Secretary Bernhardt take the Hickory Ground Site

out of trust.” SAC at 76, Prayer for Relief ¶ (a). This reveals that the ostensible violation of law

that the Plaintiffs seek to address through their IRA claim is not ongoing gaming activity at all. It

is the Secretary’s decades-old decision to take the Wetumpka property into trust. Because “a



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plaintiff may not use the [Ex parte Young] doctrine to adjudicate the legality of past conduct,

Summit, 180 F.3d at 1337, any argument that the Plaintiffs’ IRA claim falls under Ex parte Young

fails as a matter of law. See Nicholl, 769 F. App’x at 815-16.

       The Plaintiffs’ efforts to identify ongoing violations of law on which to ground their unjust

enrichment and promissory estoppel claims (Counts II-III and V-VI) against the Tribal Officials

suffer an identical flaw. Rather than alleging ongoing violations of federal (or even state) law, they

allege continuing effects of concluded past conduct. For both their unjust enrichment and

promissory estoppel claims, the ostensibly unlawful act that the Plaintiffs identify is the Tribal

Officials’ violation of an alleged promise to permanently preserve the Wetumpka property. While

the Tribal Defendants dispute the existence and enforceability of any such promise, any ostensible

breaking of it occurred long ago. See, e.g., Doc. 200-2 at 21-23 (alleging violations of the alleged

permanent preservation promise prior to October 2002). Even the archaeological excavations and

construction activities that followed the alleged breaking of the putative preservation commitment

have long since concluded. See Doc. 202 at 25 (citing relevant paragraphs of the SAC). The

Plaintiffs complain of lingering effects of the Tribal Officials’ allegedly unlawful actions—that

PBCI now operates a profitable hotel and casino on the property in question and has not reinterred

excavated cultural items in their original location, causing the Plaintiffs ongoing offense—but

those lingering effects not themselves an ongoing violation of federal law. As the Eleventh Circuit

explained in Nicholl, where it held that the ongoing effect of an alleged past violation of law “does

not transform a one-time past event into a continuing violation,” Ex parte Young simply does not

apply in such circumstances. Nicholl, 769 F. App’x at 816; see also Fuller, 594 F. App’x at 940

(finding Ex parte Young inapplicable when “[t]he gravamen of [the plaintiffs’] complaint is that

they were tricked long ago”); Kansas v. Nat’l Indian Gaming Comm’n, 151 F. Supp. 3d 1199,



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1225 (D. Kan. 2015) (declining to apply Ex parte Young to tribal officials in the context of an

equitable estoppel claim alleging that an Indian tribe had acquired land under false pretenses,

reasoning that the “alleged misrepresentation happened in the past”).

       The Plaintiffs’ claims under NAGPRA (Count VII), ARPA (Count IX), and the NHPA

(Count X) all share this fatal flaw of attempting to transform lingering effects of an alleged past

violation of law into an ongoing violation of law. See Doc. 202 at 25-26. The Plaintiffs’ argument

in response—that the continued displacement and, in some instances, storage of archaeological

resources does constitute an ongoing violation of federal law—is unavailing. See Doc. 212, 33-35.

The laws on which the Plaintiffs rely do not bar the displacement or storage of archaeological

resources. For the most part, they impose consultation and permitting requirements in advance of

certain federal undertakings or archaeological excavations. The Tribal Officials’ alleged violations

of those requirements are past acts outside the scope of Ex parte Young, and the lingering effects

of those alleged violations do not constitute ongoing violations of law.

       Because they fail to identify actionable, ongoing violations of federal law in connection

with Counts I-III, V-VI, and IX-X of the SAC as well as most aspects of Count VII, see Doc. 202

at 25 n.8, the Plaintiffs’ efforts to circumvent the Tribal Officials’ sovereign immunity by invoking

the Ex parte Young doctrine fails as to each of those Counts. 7 Those claims should be dismissed

with prejudice for lack of subject matter jurisdiction.

               2.      PBCI’s special sovereignty interests bar application of Ex parte Young.

       The Plaintiffs’ reliance on the Ex parte Young doctrine is also misplaced because settled

precedent bars that doctrine’s application in cases, such as this one, that implicate special


7 For Count VIII, the Plaintiffs allege no violation of law by the Tribal Defendants at all. They
merely contend that NAGPRA and ARPA may violate the First Amendment and other statutes
intended to protect the free exercise of religion if this Court interprets them in certain ways. See
SAC at 59-61.
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sovereignty interests. The Plaintiffs’ effort to revoke the Wetumpka property’s trust status and

usurp PBCI’s control of the property brings this case squarely in line with Idaho v. Coeur d’Alene

Tribe of Idaho, 521 U.S. 261, 281 (1997), the key Supreme Court case establishing the special

sovereignty interests exception to the Young doctrine. See Doc. 202 at 26-28.

       In response, the Plaintiffs argue that (1) Coeur d’Alene is no longer good law in light of

Verizon Maryland, Inc. v. Public Service Commission of Maryland , 535 U.S. 635 (2002), and (2)

even if Coeur d’Alene remains good law, it is strictly limited to the specific facts before the

Supreme Court, which the Plaintiffs claim are distinguishable. See Doc. 212 at 36. Neither

argument has merit.

       The argument that the Supreme Court abrogated Coeur d’Alene in 2002 is easily dismissed.

In 2011, nine years after the Verizon decision, the Eleventh Circuit stated that “[t]he Young

doctrine does not apply where the relief requested ‘implicates special sovereignty interests,’” then

devoted several paragraphs of analysis to Coeur d’Alene’s applicability to a claim involving an

Indian tribe’s possessory right to a piece of property for the remainder of a lease term. See

Hollywood Mobile Estates, Ltd. v. Cypress, 415 F. App’x 207, 208, 210-11 (11th Cir. 2011)

(quoting Coeur d’Alene, 521 U.S. at 281)). While the Hollywood Mobile panel ultimately ruled

that Coeur d’Alene was inapplicable to the facts before it, it would not have identified the special

sovereignty interests exception and engaged in a detailed analysis of its applicability if the

exception no longer existed. Other courts to acknowledge the special sovereignty exception to Ex

parte Young post-Verizon include the U.S. Supreme Court and this Court. See, e.g., Va. Off. for

Prot. & Advoc. v. Stewart, 563 U.S. 247, 257-58 (2011); id. at 268-70 (Roberts, C.J., dissenting);

Burrell v. Teacher’s Ret. Sys. of Ala., 2009 WL 113692, at *3 (M.D. Ala. Jan. 16, 2009) (noting

claims implicating “special sovereignty interests” as an exception to the Ex parte Young doctrine’s



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applicability). Repeated acknowledgement of the special sovereignty interests exception in this

and higher federal courts is irreconcilable with the Plaintiffs’ assertion of abrogation.

       As to the Plaintiffs’ second argument, it is true that lower courts have been reluctant to

significantly expand Couer d’Alene’s special interests exception. It is also irrelevant, because, as

the Tribal Defendants show in their principal brief, the relief that the Plaintiffs seek in this case—

including, but not limited to revocation of the Wetumpka property’s trust status and the imposition

of a constructive trust granting the Plaintiffs effective control over the property in perpetuity—is

every bit as intrusive on PBCI’s sovereignty as the land status question in Coeur d’Alene.8 See

Doc. 202 at 26-28. The Plaintiffs argue otherwise, claiming that the facts in this case are more

analogous to those in Hollywood Mobile than Coeur d’Alene. This assertion is specious.

       Hollywood Mobile involved a dispossessed lessee’s suit to recover possession of land that

it had leased from the Seminole Tribe. As the Eleventh Circuit noted in rejecting application of

the special sovereignty interests exclusion, “the requested injunction would merely affect the

tribe’s possessory rights to the property for the remainder of the lease term. It would not remove

the land from the tribe’s jurisdiction or permanently deprive the tribe of its property interests” like

the relief sought in Coeur d’Alene. Hollywood Mobile, 415 F. App’x at 211. The Plaintiffs’

requested relief here is plainly more akin to that requested in Coeur d’Alene than Hollywood

Mobile. This is not a dispute over a temporary possessory interest such as a leasehold. The




8  A small number of the many, many substantial effects of revoking the trust status of the
Wetumpka property and the concomitant termination of PBCI’s jurisdiction over the property are
discussed below, as the federal preservation statutes at issue in this case apply differently and grant
tribes different privileges depending on whether particular lands are Indian lands under a tribe’s
jurisdiction. See Parts V-VII, infra; see also Brief of Amicus Curiae Muscogee (Creek) Nation at
1, McGirt v. Oklahoma, 140 S. Ct. 2452 (2020) (No. 18-9526) (noting, correctly, as part of MCN’s
statement of interest in a case addressing the status of its reservation lands, that the question
affected MCN’s “core sovereign interests”).
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Plaintiffs seek an order revoking the trust status of the Wetumpka property—an order that would

end the land’s reservation status and “remove the land from the tribe’s jurisdiction.” Id. In addition,

they seek the imposition of a constructive trust giving them control over the Wetumpka property.

Such an order would “permanently deprive [PBCI] of its property interests,” id., as would the

Plaintiffs’ requests for (1) mandatory injunctive relief requiring the Tribal Defendants to dismantle

extensive improvements on the property and restore it to its pre-excavation status and (2) a

prohibitory injunction forbidding PBCI from ever developing its property.

         The Plaintiffs do not, as they claim, merely “seek injunctive relief to bring Tribal

Defendants into compliance with federal law.” Doc. 212 at 40. They seek injunctive relief to strip

PBCI of jurisdiction and control over its lands and to transfer that control to themselves as a

punishment for alleged past wrongs. The SAC and the relief that it requests represent an all-out

assault on PBCI’s core sovereign interests, and the law is clear that such assaults cannot be

launched through Ex parte Young. The Plaintiffs’ claims against the Tribal Officials are barred by

tribal sovereign immunity and should be dismissed for lack of subject matter jurisdiction.

II.      The Plaintiffs’ Indian Reorganization Act claim should be dismissed.

         In Count I of the SAC, the Plaintiffs assert that the Secretary lacked the authority under the

Indian Reorganization Act (IRA) to take the Wetumpka property into trust for PBCI in 1984 and

seek an order requiring the Secretary to rescind that decision. See generally Doc. 190 at 45-46, 76

¶ (a). The Plaintiffs lack standing to assert this claim, and it is hopelessly barred by the six-year

statute of limitations applicable to APA claims in any event.9 See Doc. 202 at 28-37; Doc. 200 at

18-25.



9 The Plaintiffs open their response with several pages devoted to arguing the putative merits of
their IRA claim. See Doc. 210 at 21-25. While vehemently disputed, those arguments are irrelevant
to the Tribal and Federal Defendants’ jurisdictional arguments and do not require a response here.
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       A.      The Plaintiffs lack standing to bring their IRA claim.

       The Court lacks subject matter jurisdiction over the Plaintiffs’ IRA claim due to their lack

of standing. See Doc. 202 at 29-33; Doc. 200 at 22-25. The Plaintiffs have failed to meet their

burden of demonstrating both that their alleged injury is fairly traceable to the Secretary’s 1984

land entrustment decision and that their alleged injury will be redressed by a favorable decision on

their IRA claim.10 See Doc. 202 at 29-33; Doc. 200 at 22-25.

       In response, the Plaintiffs claim that their alleged injuries are traceable to the 1984 land

entrustment decision because without that decision, the Secretary “would not and could not” have

issued ARPA permits allowing excavation, so the excavation would not have occurred and the

Tribe’s hotel and gaming facility ostensibly would not have been built. Doc. 210 at 30. And they

claim that a favorable ruling on their IRA claim will redress their injuries because it will “unwind

the illegal excavation and construction.” Id. at 31. The Plaintiffs are wrong on both counts.

               1.      The Plaintiffs have not established traceability.

       As to traceability, the Secretary indeed would not have issued ARPA permits if he had not

taken the Wetumpka property into trust for PBCI, as ARPA does not apply to land owned in fee

by tribes. See 16 U.S.C. §§ 470aa - 470bb. But rather than establishing traceability, this undermines

the Plaintiffs’ argument. Had the Secretary not taken the Wetumpka property into trust, PBCI

would have retained ownership of the property in fee and been free to conduct excavations or

otherwise develop the property as it saw fit, with no regard for ARPA (or other statutes on which

the Plaintiffs attempt to ground their claims). That the Secretary’s decision to take the land into




10 For purposes of this motion, the Tribal Defendants do not dispute that the Plaintiffs have alleged

injury for Article III standing purposes.
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trust enabled him to issue ARPA permits is thus wholly irrelevant to the Plaintiffs’ standing to

bring an IRA claim.

        The Plaintiffs’ argument that the entrustment decision facilitated PBCI’s construction of a

gaming facility, which they contend could not have happened absent entrustment, fares no better.

As noted in PBCI’s principal brief, the Plaintiffs do not complain that they are injured specifically

as a result of PBCI’s operation of a casino at the Wetumpka site. They contend that they are injured

by excavation and construction activity that would have accompanied any development of the

property. See Doc. 202 at 30-31. Because the land could have been developed without being placed

in trust and any development would have caused the same injury to the Plaintiffs as development

for a gaming facility, their injuries are not traceable to the Secretary’s decision. 11

        The fact that the Plaintiffs would suffer the same injury from any development of the

Wetumpka property distinguishes the cases that they cite. In Patchak, for example, the neighboring

landowner plaintiffs’ injury arose from the fact that 3.1 million people would visit the planned

casino annually, causing myriad ill effects that would not have resulted from a less traffic-intensive

development. See Patchak v. Salazar, 632 F.3d 702, 703-04 (D.C. Cir. 2011), aff’d sub nom

Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak , 567 U.S. 209 (2012); see

also Upstate Citizens for Equal., Inc. v. United States, 841 F.3d 556, 565-66 (2d Cir. 2016) (finding

traceability where the Secretary’s entrustment decision made gaming permissible, the case turned

on the lawfulness of gaming at the site, and the plaintiffs “alleged that the casino’s operations

cause them injury-in-fact”); TOMAC v. Norton, 193 F. Supp. 2d 182, 188 (D.D.C. 2002) (finding




11 Any insinuation that the land would not have been developed for any purpose other than gaming
is rebutted by the Plaintiffs’ own exhibit indicating that the land was slated for non-gaming
commercial development as far back as 1980, before PBCI acquired it in fee. See Doc. 190-1 at 4-
5; see also Doc. 202 at 15 n.4.
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that an anti-casino group’s alleged injury “from a 24-hour-a-day casino attracting 4.5 million

customers per year” was traceable to a land entrustment decision); Citizens against Casino

Gambling in Erie Cnty. v. Hogan, 2008 WL 2746566, at *19 (W.D.N.Y. July 8, 2008) (finding

traceability based on “Plaintiffs allegations of injury from a gaming facility” (emphasis added)).

In Geyser, an unpublished district court opinion from California, the court found traceability where

the entrustment decision was linked to specific property use plans that the plaintiffs argued would

increase traffic, alter the character of the area, and were inconsistent with a pre-existing community

development plan. Geyser v. United States, 2018 WL 6990808, at *4 (C.D. Cal. Aug. 30, 2018) .

The court summarily stated that the plaintiffs demonstrated redressability because the Secretary’s

decision “anticipate[d] specific development that will in fact cause them harm.” Id. at *7. Even

assuming this were sufficient to establish traceability, no such immediate link between the

Secretary’s decision and the specific development of the property exists here. And in Stand Up for

California!, the court found that the tribal plaintiff’s alleged injury was traceable to the Secretary’s

entrustment decision because it was based on the fact that operating a casino on the property—as

opposed to some other type of development—would have a “devastating economic impact” on a

plaintiff’s competing casino 30 miles away. Stand Up for California! v. U.S. Dep’t of the Interior,

919 F. Supp. 2d 51, 55, 56 n.7 (D.D.C. 2013) (declining to address the standing of other plaintiffs) .

        Perhaps if the Plaintiffs’ alleged injuries—like those of the plaintiffs in the cases they

cite—were the result of a specific type of development at Wetumpka that hinged upon the

Secretary’s approval, they might have a traceability argument. As it stands, they do not.

                2.      The Plaintiffs have not established redressability.

        The Plaintiffs’ redressability argument fails on the same grounds as their traceability

argument. If the Court revoked the 1984 entrustment decision, PBCI would own the Wetumpka

property in fee and could develop it free of federal oversight or the strictures of the various federal

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statutes on which the Plaintiffs ground many of their claims. See Doc. 202 at 31-33; Doc. 200 at

24-25. Such an order would not redress the Plaintiffs’ claim that they were harmed by excavation

and development of the property.

        In response, the Plaintiffs rely on the same cases discussed above, arguing that the tribal

defendants in those cases, like PBCI, would still have owned the land in fee and been free to

develop it absent the respective entrustment decisions, yet the courts in those cases found

redressability. Doc. 210 at 34. But again, the alleged injuries in those cases arose out of the specific

type of development at issue that was made possible only by virtue of the land’s trust status. Here,

the Plaintiffs’ alleged injury is not tied to the type of development that took place, and thus does

not hinge on the entrustment decision. Moreover, the developments at issue in the cases cited by

the Plaintiffs had not yet occurred and presumably would be prevented by revocation of the

entrustment decisions. Here, excavation and construction activity had been ongoing for many years

before the Plaintiffs filed suit, and revoking the property’s trust status—the only relief sought in

the IRA claim—will not undo the excavation and construction. That the Plaintiffs seek relief that

allegedly might “unwind” the excavation and construction activity, to the extent that is possible,

in connection with other claims is irrelevant, because “standing is not dispensed in gross. To the

contrary, a plaintiff must demonstrate standing for each claim he seeks to press and for each form

of relief that is sought.” Town of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650 (2017)

(citations omitted). Because the relief that the Plaintiffs seek in the IRA claim will not redress their

alleged injury, they lack standing to bring that claim, and it should be dismissed with prejudice

under Rule 12(b)(1).

        B.      The Plaintiffs’ IRA claim is time barred.

        Even if the Plaintiffs had standing to assert their IRA claim, it would still subject to

dismissal on the grounds that it is hopelessly time barred. The Plaintiffs contend that their untimely

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challenge to a decades-old agency decision is permissible because it falls within an exception

allowing a party to challenge an allegedly ultra vires agency action within six years of the agency’s

first application to the specific challenger. Doc. 210 at 25-26 (asserting that the IRA claim is timely

because “Plaintiffs are challenging Interior’s action as ultra vires, and because Interior did not

apply its decision to Plaintiffs until within six years of this lawsuit). They are incorrect.

        The “as-applied” exception on which the Plaintiffs rely allows a party to challenge an

agency rule or regulation of continuing application more than six years after its promulgation if

(1) the agency has taken a final action applying the rule or regulation to the challenger for the first

time within the limitations period, (2) the challenger could not have brought a timely challenge to

the rule, and (3) the challenger alleges that the rule or regulation was outside the agency’s statutory

authority. See, e.g., PCI Gaming, 801 F.3d at 1292; Big Lagoon Rancheria v. California, 789 F.3d

947, 954 n.6 (9th Cir. 2015) (en banc). The Plaintiffs assert that the Secretary’s 1984 land

entrustment decision was an ultra vires act that the Secretary applied to them within six years of

the December 2012 filing of the initial complaint by (1) granting ARPA permits approving

excavations of the Wetumpka property without notifying the Plaintiffs and (2) denying a 2008

NAGPRA claim filed by Plaintiff Thompson. Doc. 210 at 26-28. And while they tacitly

acknowledge that the ARPA permits in question were granted more than six years prior to the

filing of this lawsuit, they contend that this is immaterial because the APA’s limitations period

supposedly was equitably tolled until the Plaintiffs obtained copies of the ARPA permits in

question. Id. at 27.

        The Plaintiffs’ arguments are unavailing. First, they do not allege ultra vires agency action.

They merely assert that the Secretary made an error of fact or law in his exercise of validly




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delegated authority. Second, they misconstrue the scope and extent of the “as-applied” exception

to the APA’s statute of limitations, which does not apply in this instance for several reasons.

               1.      The Secretary’s 1984 decision was not ultra vires.

       The Plaintiffs’ ultra vires argument stumbles out of the gate because they do not actually

allege that the Secretary’s 1984 decision was ultra vires. To be sure, the Plaintiffs argue at length

that the Secretary made errant factual findings when taking the Wetumpka property into trust.12

See Doc. 210 at 21-25. Specifically, they contend that the Secretary erred in concluding that PBCI

was under federal jurisdiction in 1934, as required for the Secretary to exercise his entrustment

authority. Id. But they do not allege that the Secretary lacks the delegated authority to take land

into trust on behalf of tribes that were under federal jurisdiction in 1934; they simply assert that he

made an erroneous determination as to whether PBCI is such a tribe.

       “Official action is not ultra vires or invalid ‘if based on an incorrect decision as to law or

fact, if the officer making the decision was empowered to do so.’” Wyoming v. United States, 279

F.3d 1214, 1229-30 (10th Cir. 2002) (quoting Larson v. Domestic & Foreign Commerce Corp.,

337 U.S. 682, 695 (1949)); see also Am. Clinical Labs. Ass’n v. Azar, 931 F.3d 1195, 1208-09

(D.C. Cir. 2019); Key Med. Supply, Inc. v. Burwell, 764 F.3d 955, 962-63 (8th Cir. 2014); United

States v. Yakima Tribal Court, 806 F.2d 853, 859-60 (9th Cir. 1986). Here, it is undisputed that

Congress has delegated to the Secretary the authority to take land into trust for Indians and Indian

tribes. See 25 U.S.C. § 5108 (“The Secretary is authorized, in his discretion, to acquire … any

interest in lands … for the purpose of providing land for Indians. … Title to any lands or rights

acquired pursuant to this Act … shall be taken in the name of the United States in trust for the

Indian tribe.”). Because the Plaintiffs simply assert that the Secretary made an errant factual


12 PBCI strongly disputes this assertion, but the correctness of the Secretary’s 1984 factual findings

is not before the Court and is beyond the scope of this brief.
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determination in the exercise of this discretionary authority, they have not alleged an ultra vires

action, and the as-applied exception allowing otherwise untimely APA challenges to ultra vires

agency actions is inapplicable.

               2.      The Plaintiffs knew the true state of affairs and did not act.

       Even if the Secretary’s entrustment decision were ultra vires, the Plaintiffs still could not

proceed under the narrow as-applied exception to the APA’s six-year limitations period because

they failed to take timely action. The rationale for allowing as-applied challenges is that “‘the

government should not be permitted to avoid all challenges to its actions, even if ultra vires, simply

because the agency took the action long before anyone discovered the true state of affairs.’” Big

Lagoon, 789 F.3d at 954 n.6 (quoting Wind River Mining Corp. v. United States, 946 F.2d 710,

715 (9th Cir. 1991); see also Poarch Band of Creek Indians v. Moore, 2016 WL 4778788, at *5

(S.D. Ala. Aug. 10, 201) (rejecting an effort to mount an as-applied APA challenge when the

challenger had been “undoubtedly aware of the ‘true state of affairs’” for more than six years prior

to filing suit), report and recommendation adopted in relevant part by 2016 WL 4745185 (S.D.

Ala. Sept. 12, 2016). The exception is not intended to benefit dilatory parties or allow challengers

to sit on their rights when they could have acted.

       It is clear from numerous allegations in the SAC that the Plaintiffs were contemporaneously

aware of the Secretary’s 1984 decision and understood its legal significance. See, e.g., SAC ¶¶

205-06, 216. The Eleventh Circuit has twice held that parties with contemporaneous awareness of

secretarial decisions to take land into trust for PBCI cannot decades later avail themselves of the

as-applied exception to bring an otherwise untimely APA challenge. Poarch Band of Creek

Indians v. Hildreth, 656 F. App’x 934, 943-44 (11th Cir, 2016); PCI Gaming, 801 F.3d at 1292.

       The Plaintiffs attempt to distinguish PCI Gaming and Hildreth by claiming that the parties

seeking to challenge the Secretary’s decisions in those cases were immediately aggrieved by

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having lands removed from their respective jurisdictions, whereas the Plaintiffs allegedly were not

aggrieved by the Secretary’s decision until years later. Doc. 210 at 29-30. Assuming, arguendo,

that the Plaintiffs were not immediately aggrieved by the Secretary’s 1984 decision, it is clear that

they were aware of it and unhappy with its consequences well more than six years prior to filing

this suit on December 12, 2012. For example, Plaintiff MCN formally suspended its government

to government relationship with PBCI and censured the Bureau of Indian Affairs (BIA) in 1992

based on, inter alia, PBCI’s plans to build an Indian lands gaming facility on the Wetumpka

property and BIA’s alleged failure to consult with MCN and noncompliance with the NHPA,

NAGPRA, and ARPA. Doc. 200-2 at 15 §§ 101, 301-03; id. at 17 § 402(B). In 2002, Plaintiff

Thompson wrote to PBCI and BIA asserting a NAGPRA claim for all human remains and cultural

objects excavated from the Wetumpka property, complaining of a lack of consultation in

connection with the construction of PBCI’s gaming facility on the property, objecting to the

excavation of burial sites on the property, and alleging violations of ARPA, NAGPRA, and the

NHPA. Id. at 20-25. In many ways, Plaintiff Thompson’s 2002 letter reads like a prototype of the

complaint that the Plaintiffs would file more than a decade later. The Plaintiffs certainly knew the

true state of affairs and could have proceeded with the threatened litigation at the time of Plaintiff

Thompson’s letter, yet they chose not to do so.

       Less than a week after Plaintiff Thompson’s 2002 letter to PBCI and BIA, the Speaker of

the MCN Council wrote to NPS requesting information about PBCI’s assumption of SHPO duties

for the Wetumpka property—which could not have happened if the land were not in trust for

PBCI—alleging statutory violations based on a failure to consult with MCN. Id. at 27. And in

2008, Plaintiff Thompson filed a NAGRPA claim noting, inter alia, that the Plaintiffs visited

Alabama on May 9, 2006, to meet with PBCI officials and Auburn University archaeologists “to



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discuss reinterment of 57 or more sets of human remains.” Id. at 43. The record indisputably

establishes that the Plaintiffs knew, well more than six years before filing this lawsuit, that (1) the

Secretary had taken the Wetumpka property into trust, (2) PBCI was planning to develop or

actually developing the property, (3) archaeological excavations, including of human remains,

were occurring on the property, (4) the federal government had allowed PBCI to assume SHPO

responsibilities at the Wetumpka property, (5) PBCI was not performing the SHPO responsibilit ies

to Plaintiffs’ satisfaction, and (6) the Tribal Defendants and Federal Defendants were not

consulting with the Plaintiffs in connection with preservation and management of the Wetumpka

property as the Plaintiffs believed the law required. These facts were more than sufficient to put

the Plaintiffs on notice that they were aggrieved by the Secretary’s 1984 decision. See, e.g., Big

Lagoon, 789 F.3d at 954 n.6 (holding the as-applied exception inapplicable to the State of

California’s effort to challenge land entrustment decision in litigation filed in 2009 because

“California understood the ‘true state of affairs’ concerning the BIA’s decision” by 1997); id. at

951.

       Acknowledging none of these facts, the Plaintiffs argue that they were not aggrieved by

the Secretary’s 1984 decision—i.e., that they did not know the true state of affairs—until the

Department of the Interior (Interior) issued ARPA permits for excavations on Indian lands at the

Wetumpka site without notifying them. They then argue that they were aggrieved again—and that

another APA claim accrued—when the Secretary denied a NAGPRA claim submitted in 2008,

allegedly based on the fact that the Wetumpka property was held in trust for PBCI. See Doc. 210

at 26-28.

       The Plaintiffs cite no support for their position that a cause of action under the as-applied

exception to the APA’s six-year statute of limitations can accrue repeatedly, well after the specific



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challengers have notice of the true state of affairs and the grounds for their challenge. That notion

runs contrary to the rationale underlying the exception, which does not support allowing serial

challenges or recognizing serial claim accrual dates for a party who has long been aware of its

potential claim. See Big Lagoon, 789 F.3d at 954 n.6; Fla. Keys Citizens Coal. Inc. v. West, 996 F.

Supp. 1254, 1256 (S.D. Fla. 1998) (holding that the statute of limitations for an as-applied APA

challenge “would not begin to run … when the Corps last applied the regulation, but instead when

the Corps first applied the regulation to Plaintiffs”); see also Moore, 2016 WL 4778788, at *5

(explaining that subsequent accrual of alleged new grounds to challenge a decades old land

entrustment decision could not support new as-applied APA claims when the challenger already

knew the true state of affairs). Accordingly, the Court should reject the Plaintiffs’ multiple accruals

theory and focus on the initial accrual of their as-applied APA claim. Because they knew the true

state of affairs more than a decade before filing suit, the Plaintiffs cannot avail themselves of the

as-applied exception to the APA limitations period.

               3.      The Secretary’s 1984 decision does not apply to the Plaintiffs at all, and
                       certainly has not been applied by any final agency action within six years
                       of the complaint.

       Finally, the Plaintiffs have not shown that the Secretary’s 1984 decision has been “applied”

to them at all, and certainly not that it has been applied through final agency action within six years

of the complaint. A decision to take land into trust is not a rule or regulation of continuing

application; it fixes a property right and is in the nature of a one-time adjudicatory decision to

which the as-applied exception is inapplicable. See Functional Music, Inc. v. FCC, 274 F.2d 543,

546 (D.C. Cir. 1958). Were this not the case, secretarial land entrustment decisions and the

significant rights and expectations that flow from them could never be settled. Because a one-time

adjudicatory or quasi-adjudicatory decision such as a land entrustment is not subsequently

“applied” to third parties, it cannot support an “as-applied” APA challenge.

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       Even if the Secretary’s entrustment decision could be applied to the Plaintiffs, they do not

identify any final agency action applying it during the six years prior to the December 12, 2012,

filing of the complaint. The two ostensible actions that they contend support their as-applied

challenge—the issuance of ARPA permits to conduct excavations on the Wetumpka property and

the denial of a 2008 NAGPRA claim filed by Plaintiff Thompson—are insufficient.

               a.       ARPA permits do not support the Plaintiffs’ IRA claim.

       No ARPA permits can support the Plaintiffs’ IRA claim for at least two reasons. First, the

issuance of ARPA permits does not “apply” the 1984 entrustment decision to the Plaintiffs.

Second, there is no allegation that any ARPA permits were issued within six years of the complaint,

and at least one was issued nearly a decade earlier.

       Interior’s issuance of an ARPA permit does not constitute an “application” of the 1984

entrustment decision to the Plaintiffs. In their response, the Plaintiffs contend that the permits

support their as-applied APA challenge because Interior (1) “illegally granted permits to Auburn

University to excavate on ‘Indian lands’” and (2) issued ARPA permits “without notifying or

consulting with the Muscogee (Creek) Nation, who clearly attached religious and cultural

importance to these ‘Indian lands.’” Doc. 210 at 26-27. They do not explain any connection

between these two allegations or identify how either applies the 1984 entrustment decision to these

specific challengers.

       The allegation that Interior “illegally granted permits … to excavate on Indian lands”

plainly does not identify any application of the entrustment decision to the Plaintiffs. If Interior

was correct that the lands covered by the permits were PBCI’s Indian lands—which it was—then

MCN did not need to consent to the permits and there is no basis for calling them illegal. If Interior

had determined, as the Plaintiffs contend it should have, that the Wetumpka property was not held

in trust for PBCI, then the property would have been held by PBCI in fee and no permit would

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have been necessary. Neither scenario would involve the Plaintiffs in any way, and thus would not

apply the Secretary’s entrustment decision to them.

        Nor does Interior’s alleged failure to consult with the Plaintiffs pursuant to 16 U.S.C. §

470cc(c) constitute an application of the 1984 entrustment decision to the Plaintiffs. That statute

directs the relevant federal land manager “notify any Indian tribe which may consider the site as

having religious or cultural importance.” Id. (emphasis added). Interior’s apparent determination

that MCN was not such a tribe does not hinge on the property’s trust status, and the statute would

not apply at all if the land were not held in trust. In either case, Interior’s decision not to notify the

Plaintiffs in no way applies the 1984 entrustment decision to them.

        Assuming, arguendo, that Interior’s issuance of ARPA permits somehow “applied” the

1984 decision to the Plaintiffs, the fact remains that they have not alleged that any ARPA permits

were issued during the six years preceding the filing of the complaint. Indeed, the Plaintiffs fail to

allege dates of issuance for any ARPA permits, and the only such permit in the record issued on

April 15, 2003, more than nine years before the Plaintiffs filed this suit. Doc. 200-2 at 33.

        Recognizing this problem, the Plaintiffs dubiously claim that PBCI first notified them of

excavations at the Wetumpka property at some unspecified time in 2006, that they only learned of

the “illegally issued” ARPA permits at some unspecified later date, and that the limitations period

for the as-applied APA claim was equitably tolled until that unspecified date because the Tribal

and Federal Defendants unlawfully failed to notify them of the excavation. Doc. 210 at 27. This

argument fails on multiple levels.

        First, there is no such thing as equitable tolling of the statute of limitations for bringing an

APA claim. While most statutes of limitations can be equitably tolled, those that are jurisdictio na l

in nature cannot. See Spears v. Warden, 605 F. App’x 900, 903 n.2 (11th Cir. 2015) (“[T]here is a



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general presumption that non-jurisdictional federal statutes of limitations are subject to equitable

tolling.”); see also F.E.B. Corp. v. United States, 818 F.3d 681, 685 (11th Cir. 2016) (affirming

that where a “statute of limitations circumscribes the scope of [a] waiver of sovereign immunity,

compliance with the limitations period is jurisdictional”). The APA’s statute of limitations, 28

U.S.C. § 2401(a), is jurisdictional, and thus cannot be equitably tolled. Rease v. Harvey, 238 F.

App’x 492, 496 (11th Cir. 2007) (“We do not have jurisdiction over suits brought against the

United States that are barred by section 2401(a).”); see also Doc. 200 at 20.

       Second, the Plaintiffs have not met their burden of showing that they would be entitled to

equitable tolling in any event. See Villareal v. R.J. Reynolds Tobacco Co., 839 F.3d 958, 971 (11th

Cir. 2016) (“The party seeking equitable tolling has the burden of proof.”). “Equitable tolling is a

remedy that must be used sparingly … that is, in extreme cases where failure to invoke the

principles of equity would lead to unacceptably unjust outcomes.” Downs v. McNeil, 520 F.3d

1311, 1318 (11th Cir. 2008). To merit equitable tolling, a plaintiff must demonstrate its own

diligence and the presence of extraordinary circumstances that prevented timely action. See id.;

Jackson v. Astrue, 506 F.3d 1349, 1355 (11th Cir. 2007). The Plaintiffs have shown neither. While

their carefully worded statement that PBCI did not notify them of excavations as the Wetumpka

property until 2006 may be true, as the current record does not clearly establish that PBCI itself

provided earlier notice, the record is replete with evidence showing that the Plaintiffs knew that

excavations were taking place at Wetumpka well before 2006. See supra. They knew in 2002 that

excavations had taken place with federal knowledge and that excavated remains had been “sent to

universities for ‘scientific analysis.’” Doc. 200-2 at 23. Diligence would have required them to

investigate whether those excavations were conducted pursuant to ARPA permits and why they

were not consulted. And according to the 2008 NAGPRA claim letter referenced in the SAC and



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in the Plaintiffs’ brief, the Plaintiffs visited Alabama on May 9, 2006—more than six and a half

years before filing this suit—to meet with PBCI officials and Auburn University archaeologists

“to discuss reinterment of 57 or more sets of human remains.” Doc. 200-2 at 43. Their knowledge

of excavations at the property by a major research university provided a further basis for inquiry

notice of possible ARPA permits, inquiry the Plaintiffs could have made by simply asking at the

May 2006 meeting. The Plaintiffs’ alleged failure to learn of the permit(s) issued years earlier was

a simple lack of diligence, and certainly not indicative of extraordinary circumstances.

       Third and finally, it is not even clear from the SAC or the Plaintiffs’ response that they

lacked actual notice of the ARPA permits prior to December 13, 2006. They claim that their as-

applied APA claim “accrued when Plaintiffs obtained records of the permits,” but do not say when

that happened. Doc. 210 at 27. This, in and of itself, means that they have failed to meet their

burden of establishing diligence and extraordinary circumstances. See Fla. Keys Citizens, 996 F.

Supp. at 1256-57 (dismissing putative as-applied APA challenge because the plaintiffs did “not

inform the Court when these allegedly unlawful applications of the regulation occurred”).

       Because the issuance of ARPA permits did not apply the Secretary’s 1984 decision to the

Plaintiffs and there is no indication that any such permits issued during the six-year period

preceding the filing of the complaint in any event, the Plaintiffs’ attempt to base an as-applied

APA challenge to the Secretary’s decision on those permits fails as a matter of law.

                       b.     The 2008 NAGPRA claim does not support the IRA claim.

       In addition to relying on the ARPA permits, the Plaintiffs argue that an additional as-

applied APA claim accrued in 2009, when Interior denied a NAGPRA claim that Plaintiff

Thompson filed against Auburn University. See Doc. 210 at 28; Doc. 200-2 at 42-45. This

argument also fails. Contrary to the Plaintiffs’ assertion, the denial of Plaintiff Thompson’s 2008

NAGPRA claim was not based on the trust status of the Wetumpka property, but on the fact that

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Auburn University did not transfer, possess, or control any cultural items subject to NAGPRA.

See Doc. 200-2 at 48. Interior’s denial of the claim thus did not apply the 1984 entrustment decision

at all, much less to the Plaintiffs. Additionally, to the extent that the denial of a NAGPRA claim is

the injury allegedly supporting the Plaintiffs’ IRA claim, that injury is not redressable because

success on the IRA claim would render NAGPRA inapplicable. See infra; Doc. 202 at 31-32.

       For all of the foregoing reasons, as well as those previously set forth in the Tribal and

Federal Defendants’ principal briefs, the Plaintiffs’ challenge to the Secretary’s 1984 entrustment

decision is manifestly untimely and should be dismissed for lack of subject matter jurisdiction.

III.   The Plaintiffs’ promissory estoppel claim fails as a matter of law.

       The Plaintiffs’ promissory estoppel claim fails as a matter of law both because it is barred

by the applicable statute of limitations and because the Plaintiffs have failed to allege facts

establishing the necessary elements. See Doc. 202 at 37-49. The Plaintiffs’ response fails to refute

these arguments.

       A.      The promissory estoppel claim is time barred.

       Under Alabama law, “promissory estoppel … claims are subject to a two-year statute of

limitations.” Ala. Space Sci. Exhibit Comm’n v. Odysseia Co., Inc., 2016 WL 9781806, at *11

(N.D. Ala. Sept. 30, 2016) (citing Ala. Code § 6-2-38(l)). The Plaintiffs make no effort to argue

that they brought their promissory estoppel claim within two years of its accrual, nor could they.

Instead, they argue that (1) § 6-2-38(l) does not apply―despite case law to the contrary—because

that section is limited to claims “in the nature of damages for personal injury,” and (2) their

promissory estoppel claim is subject to the ten-year limitations period found in Ala. Code § 6-2-

33 because they seek a constructive trust as their remedy. Doc. 212 at 41. Neither argument has




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merit. And even if either did, the promissory estoppel claim would still be time-barred because the

Plaintiffs were on notice of the basis for their claim more than ten years before bringing it.

               1.      Promissory estoppel claims have a two-year limitations period.

       The Plaintiffs’ assertion that the two-year limitations period in § 6-2-38(l) is limited to

personal injury claims is plainly belied by both the text of the statute and case law applying it. The

text of the statute establishes a two-year limitations period for “[a]ll actions for any injury to the

person or rights of another not arising from contract and not specifically enumerated in this

section ….” Ala. Code § 6-2-38(l) (emphasis added). This is a catchall provision that applies to a

variety of non-contract claims that do not fall within any other enumerated limitations period. See

Breland v. City of Fairhope, 229 So. 3d 1078, 1084-85, 1089 (Ala. 2016) (affirming that trial

court’s determination that claim for negligence relating to plaintiff’s right to fill wetland on his

property was subject to “two (2) year catch all Statute of Limitations period” of § 6-2-38(l)).

Indeed, numerous Alabama state and federal courts have applied § 6-2-38(l) to promissory

estoppel and other, similar claims in a variety of situations not involving personal injury. See, e.g.,

Ala. Space, 2016 WL 9781806, at *11 (applying § 6-2-38(l)’s two-year limitations period to a

promissory estoppel claim); Glovis Ala., LLC v. Richway Transp. Servs., Inc., 2020 WL 3630739,

at *16 (S.D. Ala. July 3, 2020) (applying § 6-2-38(l)’s two-year limitations period to fraud-based

claims arising out of ownership of leased tractor trailers); Selma Hous. Dev’t Corp. v. Selma Hous.

Auth., 2005 WL 1981290, at *19-20 (S.D. Ala. Aug. 16, 2005) (applying § 6-2-38(l) to a fraud

claim arising out of defendants’ alleged promise to provide funding for low-income housing units);

Rumford v. Valley Pest Control, Inc., 629 So. 2d 623 (Ala. 1993) (applying § 6-2-38(l) to fraud

and negligence claims relating to non-disclosed presence of termites). This Court should as well.

       The Plaintiffs try to cast doubt on § 6-2-38(l)’s applicability by citing case law holding that

a claim for unjust enrichment can fall under different statutes of limitation depending upon the

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nature of the claim and implying that the same is true of promissory estoppel claims. See Doc. 212

at 42-44 (citing Auburn Univ. v. IBM Corp., 716 F. Supp. 2d 1114 (M.D. Ala. 2010)). This

argument is unavailing. Auburn University held that claims for unjust enrichment can be based in

either tort―and thus fall under the two-year statute of limitations found in § 6-2-38(l)―or in

contract―and thus be subject to the six-year statute of limitation found in § 6-2-34. The Plaintiffs

cite no case applying the same analysis to promissory estoppel claims, and the only decision the

Tribal Defendants could locate addressing Auburn University in the context of a promissory

estoppel claim held that claims for promissory estoppel are subject to the two-year limitations

period found in §6-2-38(l) without any discussion of the underlying nature of the claim. See Ala.

Space, 2016 WL 9781806, at *11.

       Because the Plaintiffs’ promissory estoppel is subject to the two-year limitations period

found in § 6-2-38(l) and they did not bring suit within two years of learning of the Tribal

Defendants’ alleged breach of their ostensible promise, the promissory estoppel claim is time

barred and should be dismissed.

               2.      The promissory estoppel claim is not a claim for the recovery of land .

       The Plaintiffs also attempt to evade the two-year limitations period by mischaracterizing

their promissory estoppel claim as one “‘in the nature of” a suit for “recovery of land” and thus

subject to the ten-year statute of limitations found in Alabama Code § 6-2-33. See Doc. 212 at 41-

51. Unsurprisingly, however, the Plaintiffs do not cite a single case applying § 6-2-33(2)’s ten-

year limitations period to a promissory estoppel claim. Alabama law, including the cases that the

Plaintiffs cite, makes clear that § 6-2-33(2)’s reference to claims for “recovery of land” refers to a

suit seeking possession of real property. The Plaintiffs have no claim of entitlement to, and do not




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seek, possession of the Wetumpka property. Section 6-2-33(2)’s ten-year limitations period

therefore does not apply, and the promissory estoppel claim should be dismissed as untimely.

        The Plaintiffs rely on Glass v. Cook , 57 So. 2d 505 (Ala. 1952), to argue that claims “‘in

the nature of’ a suit for recovery of land” fall within § 6-2-33 and that a “plaintiff need not literally

seek recovery of land” for the ten-year limitations period to apply. See Doc. 212 at 47. But Glass

does not support this assertion, as it involved an action by plaintiff landowners to recover

possession of their property through cancellation of a lease that they alleged was procured by fraud.

Glass, 257 So. 2d at 507. The Plaintiffs’ reliance on Branch Banking & Trust v. McDonald, 2013

WL 5719084 (N.D. Ala. Oct. 18, 2013), is similarly misplaced. McDonald held, based on binding

Alabama Supreme Court precedent, that a plaintiff bank’s claim to impose an equitable mortgage

was governed by a ten-year limitations period when the bank (1) alleged that the defendants had

failed to make payments due on a commercial note secured by an erroneously canceled real estate

mortgage and (2) sought to impose and foreclose an equitable mortgage to take possession of the

collateral property. Id. at *1, *6. The court rejected the plaintiff bank’s argument, similar to the

Plaintiffs’ here, that a ten-year limitations period applied to all of its claims, including those for

declaratory relief and unjust enrichment, merely “because those counts are ‘[a]ctions for the

recovery of lands.’” Id. at *6 (citation omitted). Instead, the court found that the bank’s remaining

claims “touch[ed] on contract” or arose from a negotiable instrument and thus were subject to the

six-year limitations periods applicable to claims based on contract and negotiable instruments. Id.

at *6-7. McDonald thus undercuts the Plaintiffs’ argument that any claim remotely “in the nature

of” one for recovery of land is subject to a ten-year limitations period, regardless of whether it

seeks actual possession of the property in question.




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       Consistent with the approach taken by the Northern District in McDonald, and directly

relying upon Glass and other cases, the Alabama Supreme Court has held that “a suit for the

recovery of land is for the immediate enjoyment of its possession … and will not lie for any

property whereon no right of entry exists.” Williams v. Kitchens, 74 So. 2d 457, 463 (Ala. 1954)

(emphasis added). The plaintiff in Williams sought to have a constructive trust in real property

declared based on the defendant’s promise to provide the plaintiff with the remainder after

defendant’s life estate in the property. Id. at 458-60. Because the plaintiff did not seek immediate

possession of the property, the Court rejected the argument that a ten-year limitations period then

found in Section 20 of Title 7 of the Code of Alabama applied.13 Id. at 460-63.

       Here, the Plaintiffs have no claim of entitlement to possession of the Wetumpka property,

nor do they seek possession through their promissory estoppel claim. They instead seek a

“judgment declaring that Poarch should be held to its promises to perpetually preserve the Hickory

Ground site under the common law doctrines of unjust enrichment and promissory estoppel” and

a constructive trust. Doc. 190 at 76-77. As Williams makes clear, merely seeking imposition of a

constructive trust or other equitable relief without an immediate right of possession of property

does not make a claim a suit for “recovery of land” within the ambit of § 6-2-33(2). The Plaintiffs’

promissory estoppel claim is subject to a two-year statute of limitations, not ten, and it is plainly

time barred.




13 Code 1940,   Tit. 7, § 20 was the predecessor to Ala. Code § 6-2-33 and likewise stated that
“‘actions for the recovery of lands, tenements, or hereditaments, or the possession thereof, except
as herein otherwise provided,’ must be commenced within ten years.” Belcher v. Birmingham Tr.
Nat’l Bank, 348 F. Supp. 61, 82 (N.D. Ala. 1968); see also FSRJ Props., LLC v. Walker, 195 So.
3d 970, 976 (Ala. Civ. App. 2015) (“We find [Kitchens] instructive, although it was decided before
the effective date of the Alabama Rules of Civil Procedure, which merged legal and equitable
actions into one ‘civil action.’”). The Glass case cited by the Plaintiffs also relied on Code 1940,
Tit. 7, § 20.
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               3.      The facts do not support imposition of a constructive trust.

       While ultimately not integral to the applicable limitations period, the Plaintiffs’ responsive

arguments depend heavily on their demand for a constructive trust and an argument that the Tribe

“dedicated” the Wetumpka property to the public. 14 The Plaintiffs, however, have not alleged facts

supporting the imposition of a constructive trust. And despite spending several pages discussing

the notion and implications of public dedication, the Plaintiffs fail to allege any facts to support a

claim that PBCI dedicated the Wetumpka property to the public.

                       a.      There is no fraud or confidential relationship.

       Imposition of a constructive trust is appropriate only where property is acquired by fraud

or through the abuse of a confidential relationship. See, e.g., Bebee Props., LLC v. Ard, 241 So. 3d

719, 723 (Ala. Ct. App. 2017) (refusing to overturn trial court’s dismissal of demand for

constructive trust where the plaintiff “does not allege any fraud by, or any confidential relation

with, [defendant]”); Landis v. Neal, 374 So. 2d 275, 281 (Ala. 1979) (holding that “declaration of

a constructive trust is inappropriate” because defendant “did not acquire the legal title to this

property by fraud, violation of confidence or of fiduciary duty”). Because the Plaintiffs allege

neither that PBCI acquired the property by fraud, nor the existence of fiduciary relationship

between PBCI and the Plaintiffs, they are not entitled to imposition of a constructive trust.

       The Plaintiffs do not allege that PBCI acquired title to the Hickory Ground Site by fraud,

but rather that the PBCI “promise[d] that it would perpetually protect the Site” and thereafter failed

to do so. Doc. 212 at 52. Those allegations, even taken as true, cannot support a finding of fraud,

as there is no allegation that the Tribal Defendants intended to breach any ostensible preservation



14 As discussed in the Tribal Defendants’ opening brief, the Plaintiffs    only request a constructive
trust in the event the Court rules in their favor on their claim that Interior lacked authority to take
the Wetumpka property into trust for PBCI. Doc. 202 at 41.
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promise at the time it was made. See, e.g., Martin v. Am. Med. Int’l, Inc., 516 So. 2d 640, 642 (Ala.

1987) (holding that in the context of a promise to perform or refrain from performing in the future,

there is no fraud absent proof of an intent to deceive at the time the promise was made); Carroll v.

LJC Def. Contracting, Inc., 24 So. 3d 448, 458 (Ala. Civ. App. 2009) (“Where the

misrepresentation relates to some future event, it must be shown that the person making the

representation intended not to do the act promised at the time the misrepresentation was made.”).

       Nor do the Plaintiffs allege any facts that could support an argument that PBCI acquired

title to the Hickory Ground Site by abuse of a fiduciary relationship. They selectively quote case

law describing when a fiduciary relationship may arise, but do not point to a single allegation in

the SAC that could support the existence of such a relationship here. See Doc. 212 at 45 & n.7. No

such allegations exist.

       The Plaintiffs’ incomplete quotation of Line v. Ventura, 38 So. 3d 1, 12-13 (Ala. 2009), is

a prime example of their efforts to modify a standard that they cannot meet. See Doc. 212 at 45

n.7. The relevant portion of the Line opinion states, in full, that a plaintiff seeking to establish a

fiduciary relationship must show that:

               one person occupies toward another such a position of adviser or
               counselor as reasonably to inspire confidence that he will act in
               good faith for the other’s interests, or when one person has gained
               the confidence of another and purports to act or advise with the
               other’s interest in mind; where trust and confidence are reposed by
               one person in another who, as a result, gains an influence or
               superiority over the other; and it appears when the circumstances
               make it certain the parties do not deal on equal terms, but, on the
               one side, there is an overmastering influence, or, on the other,
               weakness, dependence, or trust, justifiably reposed; in both an
               unfair advantage is possible.

Line, 38 So. 3d 1, 12-13 (Ala. 2009) (emphasis added). Plaintiff MCN is a sophisticated tribal

nation with tens of thousands of citizens. SAC ¶ 11. There is not a single allegation in the SAC to



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support an inference that MCN so trusted PBCI that PBCI “gain[ed] an influence or superiority”

or an “overmastering influence” over MCN or that MCN or any other plaintiff was “weak” or

“dependent” upon PBCI. The Plaintiffs simply have not alleged a fiduciary relationship with PBCI

that could provide a basis for imposing a constructive trust. See Cass v. Fuller, 2016 WL 8078145,

at *4-5 (N.D. Ala. Nov. 9, 2016) (dismissing breach of fiduciary duty claim where “no rational

basis exists to suggest defendant … possessed an ‘overmastering influence’ over the plaintiff” nor

does plaintiff allege “he relied on [defendant] … for … investment decisions, or any other

recognized basis for a fiduciary relationship to arise”); Fed. Nat’l Mortg. Ass’n v. GNM II, LLC,

2014 WL 1572584, at *4 (M.D. Ala. Apr. 17, 2014) (dismissing breach of fiduciary duty claim

where a defendant “pleads no set of facts to show special circumstances or a confidential

relationship such that could give rise to a fiduciary duty”).

                       b.      There is no public dedication of the Wetumpka property.

       Finally, despite making no such claim in the SAC, the Plaintiffs argue that a constructive

trust is justified based on PBCI’s ostensible public “dedication” of the Wetumpka property under

Alabama common law. Doc. 212 at 47-49. A dedication of land under Alabama common law

requires “[1] acts which evidence an unequivocal intent by the owner to dedicate the property to a

public use and [2] an acceptance by the members of the public of the property for that public use.”

Ritchey v. Dalgo, 514 So. 2d 808, 810 (Ala. 1987) (emphasis in original). The dedication must be

made to the public, “there being no such thing as a dedication to an individual” or to “a limited

group of persons.” Clarke v. Tannin, Inc., 301 F. Supp. 3d 1150, 1158 (S.D. Ala. 2018). To show

acceptance by the public, a plaintiff must show “long public use” or “corporate or other public

officers adopting the property for the public’s use.” Ritchey, 514 So. 2d at 811 (“It is a settled rule




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that a dedication has not been made until there has been an acceptance of the ‘offer’ to dedicate.”);

see also Clarke, 30 F. Supp. 3d at 1158. None of these requirements are satisfied here. 15

        The Plaintiffs do not allege that PBCI actually dedicated the Wetumpka property to the

public for public use. At most, they allege that PBCI recognized the property’s importance to the

Plaintiffs and expressed possible future plans to use it for education. Doc. 212 at 49-50. This cannot

possibly establish an unequivocal intent to dedicate the property for public use, and certainly not

public use as a burial ground, as the Plaintiffs allege. The Plaintiffs thus have failed to satisfy the

first element of a dedication claim. See Clarke, 301 F. Supp. 3d at 1159 (dismissing dedication

claim dedication where “plaintiffs have no evidence that the defendants intended to open the Parcel

to use by the public at large”); Garland v. Clark, 88 So. 2d 367 (Ala. 1956) (finding no dedication

of parking area adjoining cemetery when only those owning cemetery lots used the parking area).

        The Plaintiffs also do not allege public acceptance of any putative dedication. They allege

no use of the Hickory Ground Site by the public, let alone “long public use” or any adoption of the

site by a “corporate or other public officer[]” for the public’s use. Ritchey, 514 So. 2d at 811.

        Building off of the fabricated public dedication of the Wetumpka property as a burial

ground, the Plaintiffs argue, citing Beatty v. Kurtz, 27 U.S. 566 (1829), that “the equitable remedy

of a constructive trust has special application in the context of burial grounds.” Doc. 212 at 48-49.

Beatty makes no such holding. In Beatty, the defendant declared a portion of his property to be

specifically for the German Lutheran church, which then built a church on the property, used the

property as a burial ground, and paid all taxes on the property for the next 50 years. Beatty, 27

U.S. at 567. At no point during this time did defendant claim any right to possess or use the



15 The Plaintiffs include the dedication argument in the statute of limitations section of their brief,
but it is wholly irrelevant to that argument. Dedication of land is a separate claim under Alabama
law, not a defense to or grounds for tolling of a statute of limitations.
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property. Id. at 571. The Court held that the defendant had dedicated the property to the public for

its use as a church and burial ground. Id. at 582-84. The facts of Beatty are easily and obviously

distinguishable from the case at bar, and it offers no help to the Plaintiffs’ argument. Having failed

to meet either prong of the public dedication test, the Plaintiffs cannot legitimately argue that PBCI

dedicated the Wetumpka property to the public.

               4.      The promissory estoppel claim is untimely regardless.

       While Alabama law clearly imposes a two-year limitations period on the Plaintiffs’

promissory estoppel claim, the record shows that the claim is untimely even under the Plaintiffs’

preferred ten-year period.

       A claim for promissory estoppel accrues for limitations purposes when the plaintiff knows

or has reason to know of the defendant’s breach of the alleged promise. See Doc. 202 at 38. The

Plaintiffs first asserted their promissory estoppel claim when they moved for leave to file the SAC

on June 5, 2019. See Doc. 159. The SAC acknowledges that the Plaintiffs knew of the facts giving

rise to the promissory estoppel claim well before 2009. See, e.g., SAC ¶ 137. The claim therefore

is unquestionably untimely if it does not relate back to the original complaint, which the Plaintiffs

have not alleged. See Hope for Fams. & Cmty. Serv., Inc. v. Warren, 721 F. Supp. 2d 1079, 1174-

76 & n.105 (M.D. Ala. 2010) (holding that the plaintiff bears the “burden with respect to the

relation back doctrine” and finding that claims did not relate back). And even assuming, arguendo,

that the promissory estoppel claim does relate back, the record demonstrates that the Plaintiffs

knew of facts ostensibly giving rise to the claim at least as early as October 2002, more than 10

years before filing their original complaint. See Doc. 200-2 at 22 (referring to “the facts displayed

in the written record that not less than three (3) sets of human remains have been excavated and

removed from the property”).



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        The Plaintiffs argue that the Court must take the allegations of the SAC as true and that

those allegations establish a dispute of fact about the Plaintiffs’ knowledge when compared with

the Plaintiffs’ own 2002 letter setting out many of the same grievances underlying this litigation.

See Doc. 212 at 46. Not so. The SAC does not deny that the Plaintiffs had notice of the basis for

their promissory estoppel claim in October 2002;16 it is simply and conspicuously silent on the

issue. The Plaintiffs do not challenge the authenticity or veracity of the 2002 letter, and its contents

are not inconsistent with any allegations in the SAC. The Plaintiffs knew of the grounds for their

promissory estoppel claim more than ten years before they filed suit, so the claim is time barred

regardless of which limitations period applies.

        B.      The Plaintiffs have not alleged facts establishing a promissory estoppel claim.

        Even if such a claim were timely, the Plaintiffs have not allege the elements of promissory

estoppel. See Doc. 202 at 44-49. Promissory estoppel requires: (1) the existence of a specific,

enforceable promise; (2) that the defendant reasonably should have expected to induce definite

and substantial reliance or forbearance by the plaintiff; (3) that did induce such reliance or

forbearance; and (4) that injustice can be avoided only be enforcing the promise. See id. at 44-45.

The Plaintiffs allege that PBCI made such a promise in a preservation grant application (the Grant

Application, Doc. 190-1 at 3-7) that it submitted to the Alabama Historical Commission in

February of 1980. See Doc. 212 at 52-56. But the statements made in the Grant Application—

which contemplated a joint venture between MCN and PBCI that never came to fruition—cannot

possibly support promissory estoppel.




16 Any such denial would be patently false and easily disproven     by the 2002 letter.
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                1.     PCBI did not specifically promise to preserve the Wetumpka property “in
                       perpetuity.”

       Throughout this case, the Plaintiffs have selectively mined quotes from the Grant

Application to argue the Tribe promised to “preserve the Hickory Ground Site in perpetuity.” 17

See Doc. 212 at 52-54. In reality, the Grant Application described PBCI’s intent to halt currently

planned commercial development on the property and to use “proper archaeological methods” to

study the “archaeological resources,” which the Grant Application refers to as the below-surface

remains:

                Acquisition of the property is principally a protection measure.
                Acquisition will prevent development on the property. All historic
                structures on the site have been destroyed. What is left consists of
                below surface remains. Through proper archaeological methods
                and techniques these below surface features can reveal a
                tremendous amount of information about the Creek way of life in
                the late 1700’s and early 1800’s. Upon gaining fee-simple title to
                the land as called for in this proposal plans will be developed to
                minimize continued destruction of the archaeological resources.

Doc. 190-1 at 4 (emphasis added). In fact, the Grant Application explicitly contemplated future

development on the Site, with PBCI committing to conduct “a scientifically sound archaeological

program … to mitigate or minimize effects upon the historic resources” “[p]rior to any type of

development.” Id. Even assuming that PBCI’s application for funding for an abandoned joint

venture with MCN could serve as the basis for binding commitments supporting promissory

estoppel, this express contemplation of archaeological study and future development is

fundamentally at odds with the Plaintiffs’ assertion of a clear and specific promise of perpetual

preservation.




17 To be clear, the word “perpetuity”   is not used in the Grant Application. Nor are any analogous
terms such as “forever” or “always.”
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       In response, the Plaintiffs argue that the Grant Application’s express reference to possible

future development on the Site is negated by the next paragraph, including by the use of the words

“without excavation.” Doc. 212 at 55-56. But the next paragraph describes only potential

possibilities for future uses of the Site, not enforceable promises, and certainly not concrete,

perpetual commitments:

               There is still an existing Hickory Ground tribal town in Oklahoma.
               They will be pleased to know their home in Alabama is being
               preserved. The site may serve as an open air classroom where Creek
               youth can learn of their heritage. Interpretive programs can be
               developed around the vast array of history connected with Hickory
               Ground. The [Tribe] has already conducted CETA sponsored
               training in archaeological methods for Creek youth. The Hickory
               Ground site will continue to enhance their understanding of their
               history, without excavation.

Doc. 190-1 at 4 (emphases added); see Davidson v. Maraj, 609 F. App’x 994, 1001 (11th Cir.

2015) (applying Georgia law to hold that “[p]romissory estoppel does not apply to a promise that

is vague, indefinite, or of uncertain duration,” and that defendant’s alleged promises to enter into

joint venture with plaintiff were not “sufficiently definite to support an action for promissory

estoppel”). Because the Plaintiffs identify no clear and definite promise to perpetually preserve the

property, their promissory estoppel claim fails as a matter of law.

               2.      An express, written preservation agreement superseded any ostensible
                       perpetual preservation promise.

       The Plaintiffs offer no response to PBCI’s argument that a promissory estoppel claim

cannot survive where the alleged promise was superseded by the terms of an express contract. See

generally Doc. 212 at 40-63; Doc. 202 at 44. It is well-settled under Alabama law that “where an

express contract on the same subject matter exists and has not been breached, promissory estoppel

cannot function to create liability.” Cook v. United Health Care, 2010 WL 3629766, at *6 (M.D.

Ala. Sept. 10, 2010); see also Walk, Inc. v. Zimmer, Inc., 2014 WL 2465311, at *9 (N.D. Ala. May


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30, 2014). In such cases, the express contract controls “as long as the contract purports to address

the broadly disputed issues,” even if it is silent about the particular details at issue. White Holding

Co., LLC v. Martin Marietta Materials, Inc., 423 F. App'x 943, 947–48 (11th Cir. 2011) (citation

omitted) (applying Florida law).

       In Walk, the plaintiffs entered into an agreement with defendant HMI for the sale of medical

practice management technology. 2014 WL 2465311, at *1. Plaintiff Bramlett alleged that HMI’s

parent company (the Zimmer defendants) promised to use Bramlett’s consulting services and to

pay Bramlett for those services, which induced plaintiffs “to enter into the Agreement to their

detriment.” Id. at *1, 8, 10. The executed agreement between the plaintiffs and HMI, however,

stated only that Bramlett would “provide assistance reasonably requested by HMI.” Id. at *6

(emphasis & citation omitted). The court held that, “the Zimmer defendants may be subject to

promissory estoppel claims for promises they may have made concerning the Agreement to induce

Plaintiff to action only if there is a determination that the Agreement is unenforceable.” Id. at

*10 (emphasis added). The court also held that the alleged promises were not sufficiently definite

to enforce where Plaintiffs “[did] not specif[y] what terms the Zimmer defendants agreed [to],

including for Bramlett’s services.” Id. The court thus granted the Zimmer defendants’ motion to

dismiss the promissory estoppel claim. Id.; see also Whatley v. Ohio Nat’l Life Ins. Co., 2019 WL

6173500, at *9 (M.D. Ala. Nov. 19, 2019) (granting motion to dismiss promissory estoppel claim

under Ohio law where plaintiffs alleged defendants promised to pay commissions payments to

broker-dealers that would be passed on to plaintiffs, where defendants complied with the terms of

their express contracts with the broker-dealers).

       Here, the Plaintiffs allege that PBCI promised to preserve the Wetumpka property forever.

Doc. 190 ¶¶ 64, 66-68; Doc. 190-1 at 3-7. PBCI then acquired the property using federal



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preservation grant funds, and, “pursuant to standard terms of federal preservation grant awards, a

protective covenant was placed on the property for 20 years.” Doc. 190 ¶¶ 61-62; see also Doc.

203-1 at 2 (“This covenant shall be for a period of 20 years commencing July 3, 1980 and ending

July 3, 2000.”).18 In other words, shortly after PBCI allegedly promised to “preserve” the Hickory

Ground Site “in perpetuity,” it entered into a written agreement expressly committing to preserve

the Site for 20 years. This express written protective covenant superseded any other ostensible

preservation commitments such that the latter cannot support a promissory estoppel claim. See

Walk, 2014 WL 2465311, at *9; see also Davis v. Univ. of Montevallo, 638 So. 2d 754, 758 (Ala.

1994) (“Courts have been reluctant to permit the enforcement, by the application of the doctrine

of promissory estoppel, of promises made contemporaneously with a completed contract ….”);

Crompton v. Tuskegee Univ., 2016 WL 9735710, at *15 (M.D. Ala. July 8, 2016) (dismissing

promissory estoppel claim based on alleged promise to make plaintiff a tenured employee where

plaintiff entered into a written employment contract after the alleged promise because “the Court

must not use promissory estoppel to add or modify” the terms of the contract). This provides a

separate and independent basis to dismiss the Plaintiffs’ promissory estoppel claim.

               3.     Any promise to preserve the property “in perpetuity” is unenforceable.

       Even if PBCI’s statements in the Grant Application or elsewhere could be construed as a

promise to preserve the Wetumpka property forever and that promise was not superseded by an




18 This document can be considered by the court without converting this to a motion for summary

judgment because the covenant is specifically referenced in the Complaint. Horsely v. Feldt, 304
F.3d 1125, 1134 (11th Cir. 2002).
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express contract, any such promise could not be enforced by this Court both because it would

violate the statute of frauds and because it is not sufficiently definite to allow judicial enforcement.

        First, the Plaintiffs’ efforts to avoid application of the statute of frauds are unavailing. Their

promissory estoppel claim is not in “the nature of recovery of land,” as discussed in Part III.A.2,

supra. And, as discussed in Part III.A.3.a, supra, the Plaintiffs are not entitled to a constructive

trust because they do not allege any facts to show that PBCI acquired the property by fraud or

breach of a fiduciary relationship. Lastly, PBCI did not partially perform pursuant to the alleged

promises in the Grant Application or elsewhere. Instead, PBCI performed pursuant to the express,

written preservation agreement that accompanied its purchase of the property. See SAC ¶¶ 62, 100

(alleging that “[a]fter the 20-year covenant expired in July 2000,” PBCI ‘caused a significant

portion of the Hickory Ground Site to be destroyed to make way for its second casino resort”);

Doc. 203-1 at 1-2; see Casey v. Travelers Ins. Co., 585 So. 2d 1361, 1364 (Ala. 1991) (holding

that defendant’s partial releases did not constitute “partial performance” of alleged oral promise to

release mortgage because the partial releases “were within the terms of the [written] loan

agreements between the parties”).

        Second, the promise that the Plaintiffs allege is not specific enough for this Court to

enforce. See Walk, 2014 WL 2465311, at *9 (“[I]n order for a promise to create an estoppel, the

promise must be sufficiently specific so that the judiciary can understand the obligation assumed

and enforce the promise according to its terms.” (citation omitted)). The Plaintiffs describe the

promise as one to “preserve the Hickory Ground site in perpetuity,” but do not address how the

Court would enforce such a promise. Doc. 212 at 53 (quoting Doc. 190 at ¶ 202); see Selma Hous.,

2005 WL 1981290, at *9 n.22 (holding that alleged “vague, indeterminate promise that Section 8

assistance ‘would be available,’ without more, is not sufficiently specific to warrant judicial



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imposition of a perpetual obligation on [defendant]….”); Pritchett v. Turner, 437 So. 2d 104, 110

(Ala. 1983) (finding that covenant purporting to divest children of ownership of property if they

allowed their mother “the right of possession or use or benefit” of the land “too vague to be

enforced”). Would studying “below surface remains” using “proper archaeological methods and

techniques” as proposed in the Grant Application violate the ostensible promise? See Doc. 190-1

at 4. Would cooperating with a state research university “on an archaeological excavation to test

an area of burial remains” do so? Id. at 7. Would, as the Plaintiffs certainly seem to contend, any

work to “develop” the property? Id. at 4. Would the ostensible promise be violated by the simple

act of “holding classes on Creek culture” on the property? Id.; see SAC ¶ 327 (alleging that the

Tribal Defendants are violating the law by allowing people to enter parts of the property “without

prior authorization and cleansing rituals”). These few, non-exhaustive examples highlight the lack

of specificity that prevents this Court from enforcing the Tribal Defendants’ ostensible promise to

“preserve” the property “in perpetuity.”

               4.     PBCI could not have reasonably expected the Plaintiffs to rely on an
                      abandoned joint venture proposal, and the Plaintiffs could not reasonably
                      have done so.

       The Tribal Defendants have identified why they could not have reasonably foreseen that

the Plaintiffs would rely on ostensible promises set forth in the Grant Application and why the

Plaintiffs could not reasonably have done so. See Doc. 202 at 47-49. Those reasons include the

fact that the proposal embodied in the application never came to be. Id. at 48. The Plaintiffs

acknowledge, as they must, that the Grant Application contemplated PBCI and MCN’s joint

acquisition and ownership of the Wetumpka property. See Doc. 212 at 57 (“[T]he acquisition was

intended to be a joint project.”); Doc. 190-1 at 5 (“Under this plan the property will be jointly

owned by both groups ….”). The Grant Application is also clear that the future plans and alleged



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promises in that document are based upon the assumption that MCN would participate in the

“protection and care of the site.” Doc. 190-1 at 5. That did not occur, as the Plaintiffs chose not to

join in the project, leaving PBCI to acquire the property on its own. See Doc. 212 at 58.

       While MCN was certainly within its rights to abandon the proposed joint venture, it cannot

do so and then claim that it reasonably relied on plans set forth in the joint venture proposal or that

PBCI should have reasonably expected it to do so. MCN’s decision not to bring the proposal to

fruition obviated any right to rely on it or reap its benefits. The Plaintiffs’ promissory estoppel

claim should be dismissed for this reason, as well as all of the others set forth above and in the

Tribal Defendants’ principal brief.

IV.    The Plaintiffs’ unjust enrichment claims fails as a matter of law.

       The Plaintiffs’ unjust enrichment claim fails both because the Tribal Defendants are not

holding any benefit conferred by and rightfully belonging to the Plaintiffs and because the claim

is barred by the statute of limitations and the statute of frauds. See Doc. 202 at 50-54. The

Plaintiffs’ response fails to substantively rebut these arguments. Instead, the Plaintiffs discuss non-

issues and cite inapplicable case law.

       The Plaintiffs open their argument by attacking a straw man, claiming that the Tribal

Defendants “insist” that an unjust enrichment claim can be based only on a defendant’s wrongful

retention of money belonging to the plaintiff, but not other property. Doc. 212 at 64. The Tribal

Defendants made no such argument and do not dispute that an unjust enrichment claim can be

based on a defendants’ unjust retention of money or property, so long as the other elements of the

claim are satisfied. The Plaintiffs’ claim fails because they do not establish the necessary elements,

not because the alleged unjust enrichment involves realty rather than money.




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       A.      The Tribal Defendants are not holding any money or property that was conferred
               by or that rightfully belongs to the Plaintiffs.

       The most glaring problem with the Plaintiffs’ unjust enrichment claim is the simple fact

that the Tribal Defendants are not retaining, wrongfully or otherwise, any money or property

conferred by or rightfully belonging to the Plaintiffs. See Doc. 202 at 51-53. The “essence” of an

unjust enrichment claim is an assertion that the defendant holds either money or property that “in

equity and good conscience, belongs to plaintiff[s].” Hancock -Hazlett Gen. Constr. Co. v. Trane

Co., 499 So. 2d 1385, 1387 (Ala. 1986). To prevail on an unjust enrichment claim, “a plaintiff

must show that the defendant is legally or equitably obligated to pay money to plaintiff.” Foshee

v. Gen. Tel. Co. of S.E., 322 So. 2d 715, 717 (Ala. 1975); see also Bell Aerospace Servs., Inc. v.

U.S. Aero Servs., Inc., 690 F. Supp. 2d 1267, 1275 (M.D. Ala. 2010) (“[I]n other words, [plaintiff]

must show that a defendant holds its money unjustly.”); White v. Microsoft Corp., 454 F. Supp. 2d

1118, 1132 (S.D. Ala. 2006) (citing Foshee). Additionally, the benefit that the defendant allegedly

unjustly holds must have been conferred by the plaintiff. See Portofino Seaport Vill., LLC v. Welch,

4 So. 3d 1095, 1098 (Ala. 2008) (“The first requirement of unjust enrichment under either Alabama

law or Florida law is that one party must have conferred a benefit on another.”). The SAC’s

allegations simply do not establish these necessary elements.

       Instead of identifying money or property that they conferred on PBCI and that they contend

rightfully belongs to them, the Plaintiffs rely on (1) their “lack of objection” to PBCI’s acquisition

of the Wetumpka property and (2) PBCI’s “benefit [of] unbridled use” of the property. Neither

ostensible benefit suffices to support their unjust enrichment claim.

       Citing Mazer v. Jackson Insurance Agency, 340 So. 2d 770 (Ala. 1976), the Plaintiffs argue

that their “lack of objection” to PBCI’s acquisition of the Wetumpka property satisfies the direct

benefit requirement of an unjust enrichment claim. Doc. 212 at 65. A lack of objection, however,


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is not money or property, nor is it something held by PBCI that rightfully belongs to the Plaintiffs.

Mazer does not hold otherwise, as it did not involve a claim for unjust enrichment and did not

discuss whether the mere lack of objection to the acquisition of property could support such a

claim. Instead, the language that the Plaintiffs cite addressed what forbearance could support a

claim for promissory estoppel. Presumably, if forbearance of the nature involved in Mazer (and

relied upon by Plaintiffs) were sufficient to support an unjust enrichment claim, that claim would

have been brought in Mazer—or at least in some case. Yet the Plaintiffs cannot cite a single

decision indicating that the benefit required to support a claim for unjust enrichment “can be an

intangible benefit” in the nature of abstention from opposition to the defendant’s acquisition of

property from a third party. See Doc. 212 at 65-66. Nor do they explain how that intangible benefit

could establish that the Tribal Defendants are obligated to pay a liquidated sum to the Plaintiffs.

See Foshee, 322 So. 2d at 717; White, 454 F. Supp. 2d at 1132. Their “lack of objection” cannot

establish an unjust enrichment.

       The Plaintiffs’ assertion that the Tribal Defendants wrongfully hold the “unbridled” use of

the Wetumpka property “where the bridle rightfully belongs to” MCN is wholly unsupported. The

Plaintiffs did not confer the right to “unbridled use” of the Wetumpka property on PBCI. PBCI did

not acquire the property from the Plaintiffs, and the Plaintiffs have not alleged any basis for

asserting that they provided the property or any property interest to PBCI or held an interest in the

property sufficient to “bridle” its use. So, to the extent that “unbridled” use of one’s own property

could possibly constitute a benefit sufficient to ground an unjust enrichment claim, the simple fact

of the matter is that the Plaintiffs did not provide that benefit to PBCI and identify no valid legal

grounds for arguing that that benefit rightly belongs to them. See, e.g., Doc. 202 at 51-53; In re

Takata Airbag Prod. Liab. Litig., --- F. Supp. 3d ----, 2020 WL 2764196, at *15-16 (S.D. Fla. May



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27, 2020) (identifying Alabama as one of many states where a promissory estoppel claim requires

a plaintiffs to show “that they directly conferred a benefit on Defendants”). They thus have failed

to allege basic elements of unjust enrichment, and their claim should be dismissed.

       B.      The Plaintiffs’ unjust enrichment claim is untimely.

       Even if the Plaintiffs had alleged the necessary elements, their unjust enrichment claim still

would have to be dismissed because it is time barred. The Plaintiffs contend that their “unjust

enrichment claim is a claim in the nature of recovery of real property under Alabama Code § 6-2-

33(2), and is subject to a ten-year statute of limitations.” Doc. 212 at 67. As with their promissory

estoppel claim, however, the Plaintiffs do not cite a single case applying a ten-year limitations

period to an unjust enrichment claim. And as discussed in Part III.A.2, supra, the Plaintiffs’ claim

thus does not fall within the scope of § 6-2-33 because they do not claim any right to possession

of the Wetumpka property. Their unjust enrichment claims are subject to either the two- or six-

year limitations periods applicable to tort or contract claims, respectively. See Snider v. Morgan,

113 So. 3d 643, 655 (Ala. 2012); Auburn Univ, 716 F. Supp. 2d at 1117-18 (holding that this Court

must determine whether the unjust enrichment claim “seeks recovery for an injury that arises from

contract” and is thus “subject to the six-year statute of limitation,” or “arise[s] from tort injuries”

and is thus “subject to the two-year statute of limitations”); see also Doc. 202 at 50, 53.

       The Plaintiffs state repeatedly that their unjust enrichment claim is not in the nature of a

contract claim and thus is not barred by the six-year limitations period applicable to contract

actions. See, e.g., Doc. 212 at 68-69 (“Plaintiffs’ claim for unjust enrichment does not depend on

the enforcement of the terms of a contract.”). Assuming, arguendo, that the six-year contracts

limitations period is inapplicable, then their unjust enrichment claim is instead governed by the

two-year catchall statute of limitations applicable to tort actions and is plainly untimely. See



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Auburn Univ., 716 F. Supp. 2d at 1118 (holding that unjust enrichment claim was barred by two-

year limitations period of § 6-2-38(l)).

        The Plaintiffs alternatively argue that their claim is for “continuing unjust enrichment”

because PBCI’s “obligation to protect the land” requires serial acts of performance, and thus the

statute of limitations can never expire. Doc. 212 at 68 (“Here, Poarch is similarly unjustly enriched,

because each day it owes an affirmative duty to protect Hickory Ground ….”). But the continuing

claim doctrine, which requires serial or repeated performance obligations, is inapplicable here,

where the Tribal Defendants’ alleged wrongdoing is breach of ostensible “promises that it would

perpetually protect the Site.” SAC ¶ 202. Such a promise could only be breached one time—when

the Tribal Defendants first acted in violation of their ostensible commitment. Once that happened,

the property was no longer preserved in perpetuity; the Tribal Defendants could not undertake to

preserve the property in perpetuity again the next day. Any unjust enrichment claim that the

Plaintiffs may have had accrued at that time, and it is now time barred. See Am. Gen. Life & Acc.

Ins. Co. v. Underwood, 886 So. 2d 807, 813 (Ala. 2004) (explaining that an unjust enrichment

claim accrues “as soon as the defendant receives money and the circumstances imply the obligation

to restore it”).

        The Snider case that the Plaintiffs cite illustrates an example of the type of serial violations

that can support a continuing claim for unjust enrichment, which are not present here. As the

Plaintiffs note, in Snider “the court held that an estate was unjustly enriched each time a payment

on a mortgage came due and [the] estate failed to make that payment.” Doc. 212 at 68 (citing

Snider, 113 So. 3d at 655-56). Stated otherwise, the defendant estate was required to make

repeated, serial payments on the mortgage, but wrongfully failed to do so. Each such failure




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constituted a separate breach of a discrete performance obligation, resulting in a new wrongful

enrichment.

       The Plaintiffs have identified no such serial obligations on the part of the Tribal

Defendants. Instead, they allege that they continue to be harmed by PBCI’s breach of its ostensible

perpetual preservation promise, which occurred more than six years prior to the December, 2012,

filing of this lawsuit. See SAC at ¶ 100 (“After the 20-year covenant expired in July 2000 …

Poarch caused a significant portion of the Hickory Ground Site to be destroyed”), ¶¶ 101-104, 137-

38 (prior to 2006, “archaeologists … conducted a phase III excavation of the Hickory Ground Site”

at PBCI’s direction), ¶¶ 117-124 (the exhumation and storage of the human remains and associated

funerary objects was performed in “a manner that caused, and is continuing to cause, further

damage to the items” and in a manner that “is viewed as abhorrent in the Muscogee (Creek)

religion”). Such allegations do not support the application of the “serial performance” or

“continuing tort” doctrines to extend the statute of limitations indefinitely. The Plaintiffs’ unjust

enrichment claims are time-barred.

       C.      The Plaintiffs’ unjust enrichment claim is barred by the statute of frauds.

       The Plaintiffs’ unjust enrichment claim suffers the same statute of frauds problem as their

promissory estoppel claim. See supra, Part III.B.3; Doc. 202 at 42-44, 53-54. The Plaintiffs

contend that their unjust enrichment claim is not barred by the statute of frauds because it does not

seek “specific performance of a contractual term” and “does not depend on the enforcement of the

terms of a contract.” Doc. 212 at 68-69. But that is exactly what the unjust enrichment claim does.

In their own words, the Plaintiffs’ unjust enrichment claim is based upon “Plaintiffs’ acquiescence

in Poarch’s purchase of Hickory Ground,” which was allegedly “exchanged for promises that

Poarch would protect the sacred site” in perpetuity. Doc. 212 at 69. Now, the Plaintiffs ask this

Court to enter a judgment “declaring that Poarch should be held to its promises to perpetually

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preserve Hickory Ground under the Alabama common law doctrine[] of unjust enrichment.” SAC

at 76, Prayer for Relief ¶ (b)(i); see also id. at 77, ¶ (c)(i). Because a promise to perpetually preserve

property is a promise that cannot be performed within one year, the statute of frauds bars its

enforcement.19 Ala. Code. § 8-9-2(1); Branch Banking & Trust Co. v. Nichols, 184 So. 3d 337,

346-47 (Ala. 2015) (holding that plaintiffs’ unjust enrichment claim was barred by the statute of

frauds because it “turn[ed] on proof of alleged representations or promises that are invalid under

the Statute of Frauds”). The Plaintiffs’ unjust enrichment claim should be dismissed.

V.      The Plaintiffs have failed to state a valid NAGPRA claim or request available relief.

        The Plaintiffs have not stated any valid NAGPRA claims against the Tribal Defendants,

and the relief that they seek is not available as a NAGPRA remedy in any event. See Doc. 202 at

54-63, 84-85. To briefly summarize the issues, many of the Plaintiffs’ NAGPRA claims fail

because they rely on the Plaintiffs being “lineal descendants” of known individuals buried at the

Wetumpka property, and the Plaintiffs have not adequately alleged lineal descent from any known

individuals as required by NAGPRA regulations. See id. at 56-59. Others fail because the

provisions on which the Plaintiffs rely are either wholly inapplicable to the Tribal Defendants and

their land or are inapplicable under the facts adequately alleged in the SAC. 20 See id. at 55-56, 58-



19 The Plaintiffs  also erroneously assert that the Tribal Defendants’ statute of frauds argument,
which turns on the impossibility of performing a promise to perpetually preserve property within
one year, is inconsistent with those defendants’ argument that they lacked a serial performance
obligation. See Doc. 212 at 68. This argument is a non-sequitur. The fact that a single performance
cannot be completed in one year does not convert the duty to undertake that single performance
into serial duties. To illustrate, if a person promises to hold his breath for two years—a promise
that by its terms cannot be performed within one year—and breaks that promise after 60 seconds,
he has undertaken and failed to perform a single obligation. He could not be accused of breaking
his promise anew with each breath he draws for the remainder of the two years.
20 The Tribal Defendants do not contend, as the Plaintiffs   erroneously allege, see Doc. 212 at 71,
74, that NAGPRA is completely inapplicable to them. But many provisions of NAGPRA,
including several on which the Plaintiffs base their putative claims, explicitly apply only to federal
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62. Lack of standing is also a problem, as the Plaintiffs either have not alleged any injury that is

fairly traceable to the alleged violations or seek relief that is unavailable under NAGPRA, giving

rise to a redressability problem. Id. at 61-63. The arguments in the Plaintiffs’ response fail to

overcome any of these defects.

       A.      NAGPRA provisions governing federal lands are inapplicable.

       The Plaintiffs argue, based on an erroneous assertion that some of the Wetumpka property

does not qualify as tribal land under NAGPRA, that NAGPRA provisions applicable only to

federal land apply here. See Doc. 212 at 74-75; Doc. 210 at 50-53. They are incorrect. The

Plaintiffs concede that all of the Wetumpka property at issue is held in trust by the United States

for the benefit of PBCI. See, e.g., Doc. 210 at 50; SAC ¶ 286; see also 203 at 1, ¶ 3; Doc. 203-2.

And as explained in the Federal Defendants’ principal brief, NAGPRA’s definition of “tribal land”

encompasses all such land. See Doc. 200 at 26-27. The Plaintiffs insist that portions of the

Wetumpka property that they contend are held in trust by the United States for the benefit of PBCI

but not formally designated as “reservation” are not tribal land because they are not “within the

exterior boundaries of any Indian reservation.” Doc. 210 at 50-53. Courts have rejected similar

arguments seeking to narrowly construe the definition of tribal land, and this Court should as well.

See Rosales v. United States, 2007 WL 4233060 (S.D. Cal. Nov. 28, 2007) (holding that land held

in trust for a tribe by the United States was tribal land for NAGPRA purposes and citing supporting

case law); Doc. 200 at 26-27 (discussing case law).

       Even if the Plaintiffs were correct that portions of the Wetumpka property were not within

NAGPRA’s first definition of tribal land, their argument still would founder. By focusing only on

the “exterior geographic boundaries” portion of NAGPRA’s tribal land definition, the Plaintiffs


agencies, federal agency officials, and/or museums, none of which includes the Tribal Defendants.
See Doc. 202 at 55-56, 62.
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ignore the additional language encompassing “dependent Indian communities.” See 25 U.S.C. §

3001(15)(B). A dependent Indian community includes any land that has been explicitly set aside

for an Indian tribe and is superintended by the federal government. See Alaska v. Native Vill. of

Venetie Tribal Gov’t., 522 U.S. 520, 527-31 (1998). “Off-reservation trust land is, by definition,

land set aside for Indian use and subject to federal control.” Club One Casino v. Bernhardt, 959

F.3d 1142, 1150 (9th Cir. 2020) (holding that off-reservation trust parcels constituted “dependent

Indian communities”); see also United States v. Roberts, 185 F.3d 1125, 1132 (10th Cir. 1999)

(explaining that trust land is set aside for Indians and superintended by the United States);

Narragansett Indian Tribe of R.I. v. Narragansett Elec. Co., 89 F.3d 908, 920 (1st Cir. 1996). This

settled law flatly contradicts the Plaintiffs’ erroneous assertion that off-reservation trust land is not

tribal land under NAGPRA. All of the land at issue is tribal land, and sections of NAGPRA

applicable only on federal land are irrelevant.

        B.      The Tribal Defendants did not engage in unlawful intentional excavations.

        The Tribal Defendants’ principal brief explains why they did not violate NAGPRA in

connection with any intentional excavations at the Wetumpka property, including the fact that

Indian tribes are not required to obtain permits to conduct intentional excavations on their own

lands. See Doc. 202 at 58-59. In response, the Plaintiffs assert that NAGPRA required “anyone

other than Poarch itself who engaged in intentional excavation,” including archaeologists and non-

tribal individuals, to obtain an ARPA permit. Doc. 212 at 75. Putting aside the merits of this

assertion, it is irrelevant to the Plaintiffs’ official capacity claims against the Tribal Defendants. If

the Plaintiffs believe that third parties violated NAGPRA or ARPA and that they have viable

claims against those parties, they are free to pursue them. The Plaintiffs cite no law, however,

supporting the notion that a tribe or its officials can be held responsible for alleged third party

violations of a permitting requirement from which they are expressly exempt.

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        In any event, the Plaintiffs are forced to admit that the NAGPRA regulations on which they

rely neither apply to tribal officials nor govern intentional excavations taking place on tribal lands

such as the Wetumpka property. See Doc. 212 at 76. While the regulations identify numerous steps

that federal agency officials “must” take with respect to intentional excavations on federal lands,

including extensive notice and consultation requirements that the Plaintiffs allege were violated,

see 43 C.F.R. § 10.3(c)(1), they provide that tribal officials on tribal lands “may take” certain steps

to protect excavated resources, but impose no requirements or obligations. § 10.3(c)(4). Because

the NAGPRA regulations at issue impose no mandatory duties on tribal officials with respect to

intentional excavations, they cannot support a NAGPRA claim against the Tribal Defendants.

        Finally, the Plaintiffs baldly assert that even though the intentional excavations were on

PBCI’s tribal land, the Tribal Defendants were required to obtain the Plaintiffs’ consent as the

“‘appropriate’ tribe under 25 U.S.C. 3002(c)(2).” Doc. 212 at 76 (citing 25 C.F.R. §§ 262.5(d),

262.8(a)). The cited code section provides that “[t]he intentional removal from or excavation of

Native American cultural items from Federal or tribal lands … is permitted only if … such items

are excavated or removed after consultation with, or in the case of tribal lands, consent of the

appropriate (if any) Indian tribe.” § 3002(c)(2). It is clear from context that the “appropriate Indian

tribe” is the tribe whose Indian lands are at issue, and the Plaintiffs cite nothing to the contrary. In

fact, the ARPA regulations that do they cite confirm this common sense reading. Specifically, 25

C.F.R. § 262.5 makes it clear that it is the Indian tribe that owns or has jurisdiction over the land—

PBCI in this case—that must grant permission for a permit to conduct archaeological excavations.

See id. § 262.5(c)(i) (“For lands of Indian tribes, permission must be granted by the Tribe.”); §

262.5(d) (“If the lands containing the remains or objects are tribal lands, the permittee shall first

obtain the written consent of the tribe having jurisdiction over the lands.”). The other regulation



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that the Plaintiffs cite, § 262.8, addresses custody of remains or cultural objects after their

excavation—not permission to conduct excavations in the first instance. It plainly did not require

PBCI to obtain the Plaintiffs’ consent prior to conducting or allowing intentional excavations at

the Wetumpka property.

       C.      The Plaintiffs have no viable claims based on hypothetical inadvertent
               discoveries.

       The Plaintiffs’ claims based on speculative, non-specific allegations of inadvertent

discoveries of cultural items during the development of the Wetumpka property suffer multiple,

fatal flaws. See Doc. 202 at 59-62. Even assuming that the SAC adequately alleged that the Tribal

Defendants violated NAGPRA’s inadvertent discovery provisions, which it does not, the Plaintiffs

have not demonstrated any actionable injury because those provisions do not require notice to or

consultation with the Plaintiffs (or anyone else other than potentially PBCI). Id. at 60-61.

       In an effort to defend their inadequate allegations, the Plaintiffs cite assertions about the

widespread presence of archaeological deposits at the Wetumpka property prior to the Phase III

excavation performed by Auburn University archeologists. See Doc. 212 at 78-79. These

allegations do not support an inference that NAGPRA-covered cultural items remained in the

construction zone of the property after the Phase III excavation. See Doc. 202 at 59-60. Regardless,

the mere presence of archaeological deposits does not trigger NAGPRA’s inadvertent discovery

requirements, which come into play only after a person “knows or has reason to know, that such

person has discovered Native American cultural items” 25 U.S.C. § 3002(d)(1). “All courts to

consider this issue have held an inadvertent discovery does not occur when an agency is placed on

notice of likely or certain discovery, but that discovery must be ‘actual.’” Rosales, 2007 WL

4233060, at *9 (citing cases). The otherwise unsupported “on information and belief” allegations

in the SAC simply do not meet the Plaintiffs’ burden of adequately pleading a § 3002(d) violation.


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       Assuming, arguendo, that they adequately pleaded facts supporting the existence of

inadvertent discoveries, the Plaintiffs still have not stated a claim against the Tribal Defendants.

They allege, inter alia, that NAGPRA required PBCI to “provide immediate notice of the

discovery, or ensure that others provided them with immediate notice.” Doc. 212 at 77. NAGPRA

imposes no such requirement. It requires a “person who knows, or has reason to know, that such

person has discovered Native American cultural items on Federal or tribal lands” to notify the

appropriate federal or tribal official and take certain other steps. 25 U.S.C. § 3002(d)(1) (emphasis

added). If the discovery was made on tribal lands, the person who makes it is required to notify

the tribe with jurisdiction—PBCI, in this case. See id. Neither NAGPRA nor its regulations impose

any obligation on tribal officials to “ensure others provide[] them with immediate notice,” as the

Plaintiffs allege. So if Defendant Martin Construction, the entity that the Plaintiffs allege

performed the construction work at the Wetumpka property, see SAC ¶¶ 132-33, made an

inadvertent discovery of cultural items, then Martin Construction, not the Tribal Defendants, had

a duty to notify PBCI. And if PBCI itself made such a discovery, which is unlikely since it retained

contractors to perform the construction work, then it already had notice—the Plaintiffs would be

asking this Court to hold the Tribal Defendants liable for not notifying themselves of their own

actions. In any case, it is clear that there was no requirement for anyone to notify the Plaintiffs, so

the Plaintiffs have no standing to assert a claim for any putative violation of the notice

requirements.

       The Plaintiffs also assert that the Tribal Defendants failed to take steps to secure and protect

inadvertently discovered cultural items pursuant to 43 C.F.R. § 10.4(e). Doc. 212 at 77. That

regulation, in contrast to the one imposing mandatory duties on federal agency officials, identifies

steps that “the responsible Indian tribe official may” take. § 10.4(e)(1) (emphasis added); Rosales,



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2007 WL 4233060 at *8. The Tribal Defendants’ alleged noncompliance with discretionary

suggestions cannot support the Plaintiffs’ NAGPRA claim.

       D.      The Plaintiffs are not “lineal descendants” under NAGPRA.

       All of the Plaintiffs’ NAGPRA claims fail to the extent that they rely upon the Plaintiffs’

status as “lineal descendants” of individuals interred at the Wetumpka property. See Doc. 202 at

56-58. For purposes of NAGPRA, a “lineal descendant” is a defined term meaning:

               an individual who traces his or her ancestry directly and without
               interruption by means of the traditional kinship system of the
               appropriate Indian tribe … or by the common law system of
               descendance to a known Native American individual whose
               remains, funerary objects, or sacred objects are being claimed under
               these regulations.

43 C.F.R. § 10.2(b)(1). The regulations further provide that a determination of lineal descent

requires “that the earlier person be identified as an individual whose descendants can be traced.”

43 C.F.R. § 10.14(b). Because Plaintiffs MCN and Hickory Ground Tribal Town are not

individuals, and because none of the Plaintiffs have identified any “known Native American

individual” whose remains or objects are at issue, the Plaintiffs have not alleged facts that could

support their putative status as a lineal descendant under NAGPRA.

       The Plaintiffs’ responses on this point are easily rejected. First, they argue that §

10.2(b)(1)’s reference to “traditional kinship systems” allows tribes to make their own

determinations about who is and is not a lineal descendant. Nothing in § 10.2(b)(1) or § 10.14(b)

eliminates the obligation of identifying a “known individual” from whom descent can be traced,

however; they simply identify permissible ways of tracing descent from such an individua l.

Second, the Plaintiffs baldly assert that it “cannot be ruled out” that Plaintiffs MCN and Hickory

Ground Tribal Town are individuals. They of course offer no support for the notion that the term

“individual” is intended to include governments or collectives, and their half-hearted argument is

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undercut by the regulation’s definition of “person,” which separately includes “an individual” and

“any Indian tribe.” 43 C.F.R. § 10.2(a)(5). Had “lineal descendants” been intended to include tribal

entities, its definition would have used the defined term “person,” which includes such entities,

rather than the term “individual,” which does not. Third, the Plaintiffs argue that the requirement

of descent from a “known individual” does not require that the ostensible ancestor be identifiable,

merely that they be “known.” Ergo, they claim, because the Plaintiffs “know” that those interred

at the Wetumpka property are their ancestors, they qualify as lineal descendants. This tautology

eviscerates the requirement of “known Native American individual” “whose descendants can be

traced,” instead allowing an assertion of lineal descendant status by any individual who can trace

his or her ancestry to a particular area where remains are located. The Plaintiffs simply have not

alleged facts meeting NAGPRA’s standard for determining lineal descent.

       Finally, the Plaintiffs contend, relying on an ARPA regulation, that lineal descent is

immaterial because they assert ownership of cultural items under § 3002(a)(2)(B) as the tribe with

the closest cultural affiliation. See Doc. 212 at 80 (citing 25 C.F.R. § 262.8(a)(2)). But the relevant

NAGPRA regulation governing custody of remains discovered on Indian lands, in contrast to the

ARPA regulation that the Plaintiffs cite, does not provide a mechanism by which a tribe can

leapfrog the Indian landowner based on a claim of cultural affiliation. Compare 43 C.F.R. § 10.6(a)

(providing for priority “in the order listed,” with tribal landowners preceding tribes claiming

cultural affiliation) with 25 C.F.R. § 262.8(a) (adopting an “adapted” version of the NAGPRA

preference ranking that allows a tribe claiming cultural affiliation to potentially assert a custody

claim superior to that of the tribal landowner). The Plaintiffs’ erroneous citation of an inapplicable

regulation implementing another statute obviously cannot serve as the basis for a NAGPRA claim.




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        E.      Much of the relief that the Plaintiffs’ seek is unavailable under NAGPRA.

        Finally, NAGPRA simply does not authorize or contemplate much of the relief that the

Plaintiffs seek. See Doc. 202 at 62-63. It does not, for instance, allow a tribe to forbid excavations

or construction outside of its tribal land or insist that cultural items remain buried in place. At

most, it provides for notice, consultation, and the ability to assert a claim for custody or repatriation

of cultural items after they are excavated. Accordingly, to the extent that the Plaintiffs’ requested

remedy is an order directing the Tribal Defendants to “undo … the unconsented to actions and

restore the Site to its prior condition,” SAC ¶ 261(a), or similar relief, any such claim is not

redressable through NAGPRA.

        The Plaintiffs disagree, arguing that courts have broad equitable authority to enforce

NAGPRA. Assuming, arguendo, that this is correct, the Court cannot “enforce” NAGPRA by

ordering the Tribal Defendants to take action that NAGPRA does not require. The cases that the

Plaintiffs cite, which involve questions of mootness and the hypothetical extent of courts’

jurisdiction to enjoin NEPA violations in APA actions against federal officials, do not establish

otherwise. See Doc. 212 at 81-82. They certainly do not establish that a NAGPRA plaintiff can

obtain relief that goes beyond the enforcement of obligations imposed by that act.

        In sum, the Plaintiffs have failed to state any valid NAGPRA claim against the Tribal

Defendants. The excavation and construction activities underlying the SAC all took place on

Indian land held in trust for PBCI by the United States, and the Tribal Defendants did not violate

any of the limited obligations that NAGPRA imposes on Indian tribes in connection with activities

on their own lands. And because the land in question is PBCI’s Indian land and the Plaintiffs have

not identified any known individuals from whom they can trace lineal descent, the Plaintiffs’

claims of priority of preference to control the disposition of excavated items also fail. The Court

should dismiss all NAGPRA claims against the Tribal Defendants.

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VI.    The Plaintiffs have failed to state a claim under ARPA.

       The ARPA claims against the Tribal Defendants should be dismissed because, inter alia:

(1) ARPA does not authorize private civil actions; (2) Indian tribes are exempt from ARPA’s

permitting requirements with respect to excavations on their own tribal lands; (3) most of ARPA’s

obligations apply only to federal agencies, not to the Tribal Defendants, and were not made

applicable to the Tribal Defendants by the NPS Agreement; and (4) the Plaintiffs are not “lineal

descendants” of known individua ls whose remains were excavated. See Doc. 202 at 64-67. The

Plaintiffs’ response fails to rebut any of these arguments.

       Regarding ARPA’s lack of a private right of action, the Plaintiffs claim that “NAGPRA

provides the cause of action” for their ARPA claims. Doc. 212 at 86. To the extent that NAGPRA

expressly incorporates provisions of ARPA, the Plaintiffs have already asserted putative violations

of those provisions as NAGPRA claims, and those claims fail for reasons previously discussed.

See supra, Part V. To the extent that any of the allegedly violated provisions of ARPA are not

incorporated into NAGPRA, the latter statute cannot provide a private right of action to enforce

the former. In any case, the Plaintiffs effectively concede that ARPA provides no right of action.

       The Plaintiffs also concede that ARPA does not require PBCI to obtain a permit to conduct

archaeological excavations on its own Indian land and that the Wetumpka property meets ARPA’s

definition of Indian land. But they assert that that exemption does not extend to third parties and

that the Tribal Defendants were required to ensure that third parties obtained permits. See Doc.

212 at 83-84. Once again, the Plaintiffs cite no authority for their imputed liability theory. ARPA

provides that a person seeking to conduct an archaeological excavation on public or Indian lands

must apply for a permit and that any permit issued will identify the individual responsible for

ensuring compliance. See 16 U.S.C § 470cc(a), (e); 43 C.F.R. § 7.5(a). It says nothing about an

Indian tribe being responsible for ensuring a third party’s compliance. Excavations at the

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Wetumpka property were carried out by reputable archaeologists from Auburn University, see

SAC ¶ 108, who sought and obtained from Interior at least one ARPA permit designating those

archaeologists as being “in direct charge” of the excavation. 21 See Doc. 200-2 at 33. Such permits

imposed obligations on the permittees, not the Tribal Defendants, and the Plaintiffs cite no

authority for holding the Tribal Defendants responsible for any alleged noncompliance.

       The Plaintiffs erroneously allege that they have stated a viable ARP A claim against the

Tribal Defendants based on a presumptive violation of 25 C.F.R. § 262.5(c)(1), which provides

that a tribe’s written consent to excavation on its lands “should” state that no religious or cultural

site will be harmed or identify terms and conditions to mitigate such harm. Id. Because they are

unaware of any such mitigation terms, the Plaintiffs “presume[e]” that the Tribal Defendants

“falsely represented that no harm would occur.” Doc. 212 at 84. This presumption is baseless. The

regulation in question did not “require[]” the Tribal Defendants to do anything, as the Plaintiffs

falsely state. Doc. 212 at 84; see e.g., Legel v. IRS Dep’t of Prof’l Responsibility, 2011 WL

5914236, at *6-7 (S.D. Fla. Nov. 28, 2011) (holding that a regulation saying what a party “should”

do does not impose a mandatory obligation).              The Tribal Defendants’ “presume[ed]”

noncompliance with an optional regulatory suggestion does not give rise to a claim.

       Next, the Plaintiffs argue that the ARPA permits in question were improperly issued

without their consent. Doc. 212 at 84. ARPA’s regulations provide that a permit to conduct

excavations on Indian lands requires “the consent of the appropriate tribal authority or individua l

Indian landowner.” 43 U.S.C. § 7.35. As with the NAGPRA regulations discussed above, it is clear

from context that the regulation is referring to the tribal landowner, and the Plaintiffs cite no




21The fact that Auburn sought and obtained the permit from Interior, as opposed to PBCI,
undercuts any assertion that the Tribal Defendants assumed federal ARPA responsibilities.
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authority for the proposition that any Indian tribe, regardless of claimed cultural affiliation, is

required or even authorized to consent to archaeological excavations on another tribe’s trust land.

Instead, they again cite one regulation addressing the preference ranking for tribes asserting

custody over archaeological resources after their excavation—25 C.F.R. § 262.8(a)—and another

that explicitly states that where the lands in question are tribal lands, the permittee most “obtain

the written consent of the tribe having jurisdiction of the lands.” 25 C.F.R. § 265.5(d). Neither

regulation supports the Plaintiffs’ assertion that ARPA required permittees to consult with them

before conducting excavations on PBCI’s tribal land.

       The Plaintiffs’ final argument is not entirely clear. To the extent that they claim to have

stated a viable ARPA claim under 16 U.S.C. § 470ee(a), a provision prohibiting excavation,

removal, alteration or defacement of archaeological resources without a permit, see Doc. 212 at

85, that argument fails both because § 470ee explicitly incorporates by reference the permitting

exception for tribal activities on their own lands and because it is a criminal statute that the

Plaintiffs have no authority to enforce. See § 470ee(a), (d). To the extent that they assert that the

Tribal Defendants’ construction activities violate ARPA and are not subject to 43 C.F.R.

§7.5(b)(1)’s permitting exemption for activities exclusively conducted for purposes other than

archaeological excavation, the Plaintiffs, even if correct, would nevertheless fail to state a claim

because the Tribal Defendants were not required to obtain an ARPA permit for activities on PBCI’s

own Indian lands. See 16 U.S.C. § 470cc(g); 43 C.F.R. § 7.5(b)(3); Attakai v. United States, 746

F. Supp. 1395, 1410-11 (D. Ariz. 1990) (applying this exemption to dismiss another tribe’s ARPA

claims arising from the Hopi Tribe’s construction on its own lands).




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        For all of the reasons stated here and in the Tribal Defendants’ principal brief, the Plaintiffs

have failed to state a claim on which relief can be granted against the Tribal Defendants under

ARPA, and their ARPA claims should be dismissed at least as to those defendants.

VII.    The Plaintiffs have failed to state a claim under the NHPA.

        The Tribal Defendants have explained the many flaws in the Plaintiffs’ putative NHPA

claims. See Doc. 202 at 68-73. Chief among these are that: (1) the NHPA creates no private right

of action, and nonfederal entities such as the Tribal Defendants are not subject to suit under it or

the APA; (2) the NPS Agreement did not, as the Plaintiffs erroneously insist, transfer all federal

NHPA compliance duties from the United States to PBCI; (3) the Plaintiffs’ putative NHPA claims

are untimely; and (4) the NHPA does not impose any substantive requirements or otherwise give

the Plaintiffs the right to insist on a particular outcome. See id.; see also Part I.A.3-4, supra.

        A.      The Plaintiffs overstate the responsibilities assumed by PBCI.

        The Plaintiffs open their response by repeating their erroneous assertion that the Tribal

Defendants, by entering into the NPS Agreement, assumed “all responsibilities applicable” to the

Wetumpka property under the NHPA. Doc. 212 at 86, 92-94. The Plaintiffs tellingly cite the SAC

to support this claim rather than the NPS Agreement itself. As explained above and in the Tribal

Defendants’ principal brief, the NPS Agreement plainly shows that PBCI assumed only the limited

responsibilities typically performed by a SHPO, not all obligations imposed by the NHPA. In fact,

immediately after wrongly insisting that the NPS Agreement assigned all NHPA functions to

PBCI, the Plaintiffs quickly backtrack by acknowledging that NHPA requirements “primarily

apply to Federal agencies” and that the Act allows tribes to assume only “the functions of a [SHPO]

with respect to tribal land.” Id. at 87.

        Despite admitting that PBCI assumed only SHPO functions through the NPS Agreement,

the Plaintiffs nevertheless appear to argue that the Tribal Defendants bear full responsibility for

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ensuring federal compliance with the entire NHPA § 106 process for any undertaking at the

Wetumpka property. See Doc. 212 at 91-93. PBCI has generally addressed that argument above

and in its principal brief and will not belabor the point here beyond reiterating that it assumed

SHPO responsibilities only and did not, as the Plaintiffs repeatedly and erroneously allege, take

on pervasive “legal responsibility for Section 106 compliance.” Doc. 212 at 93.

       The Plaintiffs attempt to buttress their argument that PBCI assumed all “legal and financial

responsibility for implementing and complying with the required steps of the Section 106 process”

by noting the PBCI “expressly agreed to provide for ‘consultation with representatives of any other

tribes whose traditional lands may have been within Poarch’s reservation.’” Doc. 212 at 89

(quoting Doc. 190-1 at 117 ¶ 7). This quotation is accurate, but incomplete. PBCI agreed to provide

such consultation “in accordance with § 101(d)(4)(C)” of the NHPA, which applies only to tribal

assumption of SHPO responsibilities under § 101(b)(2)-(3) of the Act, not federal functions under

§ 106. Despite their best efforts, the Plaintiffs simply cannot cite any legitimate basis for thrusting

federal § 106 obligations onto the Tribal Defendants. And again, to the extent that the Plaintiffs

assert that the Tribal Defendants failed to comply with SHPO obligations under § 101 of the NHPA

rather than federal functions, they have no right of action. See, e.g., Martin v. Ala. Historical

Comm’n, 2014 WL 28850, at *3 n.3 (M.D. Ala. Jan. 2, 2014) (dismissing an NHPA claim against

the Alabama Historical Commission despite the plaintiff’s allegation that the Commission

“operates under the enumerated powers and duties of the Secretary of the Interior” because “the

NHPA applies only to federal agencies” and “it is clear that the Alabama Historical Commission

itself is not a Federal agency”).

       The Plaintiffs also incorrectly assert that the Tribal Defendants were the “agency official”

responsible for compliance with aspects of the § 106 consultation process addressed in 36 C.F.R.



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Part 800. See Doc. 212 at 93. But these regulations make it abundantly clear that the SHPO

function—the only one assumed by PBCI—is discrete from the responsibilities of an agency

official. See, e.g., 36 C.F.R. § 800.2(c)(1) (identifying the SHPO, or an Indian tribe that has

assumed SHPO functions, as a party with whom the agency official must consult); § 800.3(c)

(directing agency officials to consult with the appropriate SHPO or tribe serving in the SHPO

role); § 800.5(a) (directing the agency official to consult with the appropriate SHPO/tribal official

and potentially other Indian tribes in applying the adverse effect criteria); § 800.6 (same, in the

context of resolving adverse effects); City of Oxford, 428 F.3d at 1356-56 (discussing federal

agencies’ obligations to consult with the SHPO); Martin, 2014 WL 28850, at *3 n.3. Any

allegation that the Tribal Defendants did not comply with § 106 duties imposed on agency officials

by 36 C.F.R. Part 800 is misplaced, as those duties simply are not a part of the SHPO

responsibilities that PBCI assumed.

       B.      The Plaintiffs identify no undertakings that can support their NHPA claims.

       The Plaintiffs’ NHPA claims against the Tribal Defendants also fail because the Plaintiffs

have not alleged relevant federal undertakings triggering application of the § 106 process. Section

106 requires the “head of any Federal agency having direct or indirect jurisdiction over a proposed

Federal or federally assisted undertaking … and the head of any Federal department or independent

agency having authority to license any undertaking” to “take into account the effect of the

undertaking on any historic property.” 54 U.S.C. § 306108. Section 106 obligations thus arise only

in the context of an “undertaking” that is federally funded or licensed, and then only on the part of

the federal agency having direct or indirect jurisdiction over or authority to license that

undertaking. See Sheridan Kalorama Hist. Ass’n v. Christopher, 49 F.3d 750, 755-56 (D.C. Cir.

1995) (explaining that unless a project is “either federally funded or federally licensed, § 106



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simply does not apply”); Woodham v. Fed. Trans. Admin., 125 F. Supp. 2d 1106, 111 (N.D. Ga.

2000).

         The Plaintiffs identify a handful of putative undertakings that they claim triggered the §

106 process: “the issuance of ARPA permits and the decision to allow excavation of the Hickory

Ground Site to occur without required ARPA permits,” Doc. 212 at 89, and “construction and

operation of the casino and hotel” on the Wetumpka property. Id. at 90. None of the alleged

undertakings can support an APA claim for an NHPA violation in this case.

         With respect to the issuance or non-issuance of ARPA permits, applicable regulations

explicitly provide that “[i]ssuance of a permit in accordance with this Act … does not constitute

an undertaking requiring compliance with section 106” of the NHPA. 43 C.F.R. § 7.12. Even if

that were not the case, the Plaintiffs do not identify any ARPA permits that were issued or any

unpermitted excavations that allegedly occurred within six years of their filing this lawsuit as

required to bring a timely APA claim for any alleged violation of the NHPA. These alleged

undertakings therefore cannot support the Plaintiffs’ NHPA claims.

         The Plaintiffs’ argument that construction and operation of the casino and hotel constitute

a federal undertaking for § 106 purposes also misses the mark. They assert that construction of

PBCI’s Wetumpka facility is “by its very nature a project conducted with federal approval and

extensive federal involvement” because IGRA extensively regulates Indian gaming and the

National Indian Gaming Commission receives revenue from tribal gaming operations. Id. at 90-

92. But the federal government did not construct PBCI’s facility at Wetumpka, and nothing in

IGRA gives it any role in permitting or licensing tribal construction projects on tribal property.

See, e.g., Oklahoma v. Hobia, 775 F.3d 1204, 1206, 1213-14 (10th Cir. 2014) (holding that IGRA

did not provide a right of action for a state to enjoin a tribe’s construction of an allegedly unlawful



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casino); Jamul Action Comm. v. Chaudhuri, 200 F. Supp. 3d 1042, 1051 (E.D. Cal. 2016) (“[T]he

Tribe’s construction of a casino on its land is not a major federal action. Neither was the casino’s

construction subject to the federal defendants’ approval.” (citations omitted)). Construction of the

hotel and casino therefore does not constitute a federal undertaking triggering the NHPA. This

distinguishes cases cited by the Plaintiffs, where a federal undertaking was found as a result of

requirements for pre-construction federal approval or some other federal licensing or permitting

of projects.22 See, e.g., CTIA-Wireless Ass’n v. FCC, 466 F.3d 105, 114 (D.C. Cir. 2006) (“By

requiring a ruling on each environmental assessment prior to tower construction, the FCC has

retained authority over tower construction” such that construction constitutes a federal

undertaking.). Because the Plaintiffs have identified no federal undertaking on which to ground

any NHPA claims against the Tribal Defendants, those claims must be dismissed.

       C.      There is no private right of action against the Tribal Defendants under the NHPA.

       At the close of their NHPA response, the Plaintiffs erroneously assert that they have a

private right of action to sue the Tribal Defendants under the NHPA. See Doc. 212 at 94-95. This

Court, in rejecting a similar argument, has held that the NHPA does not apply to a state historical

commission carrying out delegated NHPA responsibilities and that it does not create a private right

of action in any event. Martin, 2014 WL 28850, at *3 n.3. The weight and trend of federal authority

strongly supports this Court’s holding. See Doc. 202 at 68 (citing multiple recent federal district

court and appellate opinions); see also Shanks v. Dressel, 540 F.3d 1082, 1092 (9th Cir. 2008);

Woodham, 125 F. Supp. 2d at 1111. In response, the Plaintiffs offer a smattering of dated case law

and a more recent First Circuit decision that explicitly declines to decide whether a private right


22 Operation   of the hotel and casino is likewise not federally funded or licensed, but this is
ultimately irrelevant because the SAC alleges failures to consult and comply with the NHPA prior
to the pre-construction excavation and construction of the facility, not in connection with its
ongoing operation. See generally SAC at 64-72.
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of action arises under the NHPA. See Doc. 212 at 94. The Tribal Defendants stand by their

authority. There is no private right of action against the Tribal Defendants under the NHPA.

Accordingly, and because the Plaintiffs cannot bring an APA claim against nonfederal parties such

as the Tribal Defendants for reasons discussed above and in the Tribal Defendants’ principal brief,

Doc. 202 at 22, 68-69, the putative NHPA claims against those defendants must be dismissed for

failure to state a claim.

VIII. The Plaintiffs have failed to state a claim under RFRA.

        The Plaintiffs have not alleged a viable claim against the Tribal Defendants under the

Religious Freedom Restoration Act (RFRA) for several reasons. RFRA is applies only to certain

governments not including tribes, and the facts alleged in the SAC do not support a RFRA violation

regardless. Doc. 202 at 73-81.

        A.      RFRA is inapplicable to the Tribal Defendants.

        The Plaintiffs do not dispute that RFRA is inapplicable to tribal governments. Instead, they

reiterate their erroneous assertion that the NPS Agreement converts the Tribal Defendants into

federal actors for all purposes. See Doc. 210 at 85. The Tribal Defendants have already addressed

this flawed argument above, see supra, Part I.A.3-4, and in their principal brief. Doc. 202 at 69-

70. They did not assume federal functions under the NPS Agreement, and even if they had, the

assumption of a limited federal functions, at most, could only convert PBCI into a federal actor

with respect to those narrow functions, not for all purposes.

        As anticipated in the Tribal Defendants’ principal brief, the Plaintiffs quickly pivot to

arguing that the Tribal Defendants are subject to RFRA because they acted under color of law in

allegedly    imposing       a substantial burden on the Plaintiffs’    religious   exercise. For a

nongovernmental entity’s action to be under color of law, “[1] the deprivation must be caused by

the exercise of some right or privilege created by the State or by a person for whom the State is

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responsible, and [2] the party charged with the deprivation must be a person who may fairly be

said to be a state actor.” West v. Atkins, 487 U.S. 42, 49 (1988); see also Myers v. Bowman, 713

F.3d 1319, 1329-30 (11th Cir. 2013); Harvey v. Harvey, 949 F.2d 1127, 1130 (11th Cir. 1992).

This is a two-part inquiry; a plaintiff who satisfies only one prong has not established that the

action in question was taken under color of law. See, e.g., Harvey, 949 F.2d at 1130 (affirming

dismissal where plaintiff satisfied the first prong, but not the second); Weaver v. James Bonding

Co., 442 F. Supp. 2d 1219, 1223 n.6 (S.D. Ala. 2006) (finding no state action where the plaintiff

satisfied the “state right or privilege prong” but not the “state actor” prong); Green v. Abony Bail

Bond, 316 F. Supp. 2d 1254, 1258-60 (M.D. Fla. 2004) (same as Weaver).

       While the Tribal Defendants have explained that the Plaintiffs fail to satisfy either prong

of the state action test, the Plaintiffs offer a substantive response only on the second, “state actor”

prong. See Doc. 210 at 85-89. This concession is fatal, but unavoidable. There is simply no basis

for arguing that the Tribal Defendants’ ability to engage in the activities allegedly burdening the

Plaintiffs’ religious exercise—namely, allowing people to access the Wetumpka property without

the Plaintiff’s approval, altering or disturbing the property, allowing alcohol on the property,

limiting the Plaintiffs’ access to the property, and reinterring excavated remains without following

particular religious protocols, see SAC ¶¶ 327-29—derives from some federally created right or

privilege. Any private landowner can control access to its property, alter that property, allow

alcohol on the property, and rebury items excavated from the property. The Plaintiffs thus cannot

meet the first, “state right or privilege” prong of the state action doctrine, and their state action

argument necessarily fails.

       While the Plaintiffs do at least address the “state actor” prong of the state action test, their

arguments on that prong are unavailing. The parties agree that the Eleventh Circuit recognizes



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three possible ways to satisfy the state actor prong: the public function test, the state compulsion

test, and the nexus/joint action test. See Doc. 202 at 76; Doc. 210 at 86. They disagree on the

applicability of two of those tests. 23

        The Plaintiffs assert that the public function and nexus/joint action tests are satisfied by

PBCI’s assumption of SHPO duties in the NPS Agreement. Doc. 210 at 86-89. They are incorrect.

As the Tribal Defendants have shown, Doc. 202 at 76-77, the public function test is extremely

narrow, and the activities that the Plaintiffs allege burden their exercise of their religion simply are

not public functions. Regardless, the Plaintiffs’ insistence that PBCI is performing a public

function because it assumed federal duties under the NPS Agreement is simply irrelevant. The

performance, vel non, of PBCI’s assumed SHPO responsibilities has no connection whatsoever to

the actions allegedly violating RFRA; PBCI’s control of access to the property and its decisions to

allow alcohol on the premises and construct facilities are completely discrete from the NHPA

notice and consultation requirements that the Plaintiffs erroneously claim it assumed. See generally

Rayburn ex rel. Rayburn v. Hogue, 241 F.3d 1341, 1348-49 (11th Cir. 2001) (explaining the

general requirement of a direct link between the state and the “particular conduct underlying a

claimant’s … grievance”) (citation omitted). The Plaintiffs cannot satisfy the public function test.

        Nor can the Plaintiffs satisfy the nexus/joint action test, as the federal government was not

a joint participant in the PBCI activities ostensibly giving rise to the Plaintiffs’ RFRA claim. Doc.

202 at 77-78. The Plaintiffs assert that this test is met because several of the SHPO functions that

PBCI assumed in the NPS Agreement “require ongoing joint action with the federal and state

government” and the United States “assumed oversight of the delegation.” Doc. 210 at 87. Again,

the Plaintiffs’ argument fails because there is no link between the SHPO responsibilities that PBCI



23 The Plaintiffs   do not contend that the state compulsion test is met. See Doc. 210 at 86-89.
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assumed and the actions that allegedly burdened the Plaintiffs’ religious exercise. For the

nexus/joint action test to apply, “the governmental body and private party must be intertwined in

a symbiotic relationship. … The Supreme Court has indicated that the symbiotic relationship must

involve the ‘specific conduct of which the plaintiff complains.’” Rayburn, 241 F.3d at 1348

(quoting Am. Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S. 991, 1004 (1999)); see Higdon v. Smith,

565 F. App’x 791, 792-93 (11th Cir. 2014) (finding the nexus/joint action test unsatisfied where a

symbiotic relationship existed but the state did not encourage or sanction the particular conduct

giving rise to the plaintiff’s claims). To have any hope of stating a RFRA claim against the Tribal

Defendants under the nexus/joint action test, the Plaintiffs would have had to allege facts indicating

that the Tribal Defendants’ ostensible RFRA violation arose out of their performance of assumed

SHPO responsibilities. They did not do so, and their argument therefore fails.

       B.      The facts alleged do not establish a RFRA violation.

       Regardless of RFRA’s inapplicability to the Tribal Defendants, the Plaintiffs’ RFRA

claims fail because they have not alleged facts amounting to government imposition of substantial

burden on the exercise of their religion. See Doc. 202 at 78-81; Doc. 200 at 37-40. None of the

actions alleged in the SAC, much less those ostensibly giving rise to the Plaintiffs’ RFRA claims,

“completely prevent[] the [Plaintiffs] from engaging in religiously mandated activity” or apply

“pressure that tends to force adherents to forego religious precepts or … that mandates religious

conduct.” Midrash Sephardi, Inc. v. Town of Surfside, 366 F.3d 1214, 1227 (11th Cir. 2004); see

also Navajo Nation v. U.S. Forest Serv., 535 F.3d 1058, 1070 (9th Cir. 2008).

       The Plaintiffs maintain that the Tribal Defendants have completely prevented them from

engaging in religiously mandated duties to complete certain religious protocols and return the

remains of their ancestors and associated funerary objects to their original resting places and/or

are forcing them to choose between fulfilling those duties and facing criminal or civil sanctions.

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Doc. 210 at 91. They further contend that they have been “barred from Hickory Ground, because

virtually all of it is covered over in concrete and asphalt” and that the Tribal Defendants are

“desecrating the site” by, inter alia, “allowing prohibited persons and substances in and around

the ceremonial grounds.” Id. at 93. In short, they argue that their religion requires their unfettered

access to the Wetumpka property, the removal of any improvements, and that they have full control

over who and what is allowed on the property.

        The law is clear that RFRA, the First Amendment, and other federal law aimed at protecting

individuals’ free exercise of their religion do not allow an individual to impose a “religious

servitude” on another’s property based on the individual’s religious beliefs. See, e.g., Lyng v. Nw.

Indian Cemetery Protective Ass’n, 485 U.S. 439, 452-53 (1988); La Cuna De Aztlan Sacred Sites

Prot. Circle Advisory Comm. v. U.S. Dep’t of the Interior (La Cuna II), 2013 WL 4500572, at *10

(C.D. Cal. Aug. 16, 2013), aff’d, 603 F. App’x 651 (9th Cir. 2015); Attakai, 746 F. Supp. at 1403;

Manybeads v. United States, 730 F. Supp. 1515, 1517-18 (D. Ariz. 1989); see also Lockhart v.

Kenops, 927 F.2d 1028, 1036 (8th Cir. 1991). The opinion in Attakai is blunt and directly on point:

“[t]he fact that a person's ability to practice their religion will be virtually destroyed by a

governmental program does not allow them to impose a religious servitude on the property of the

government, much less property which the government holds in trust for another sovereign Indian

tribe.” Attakai, 746 F. Supp. at 1403. The Manybeads decision provides additional insight into the

rationale underlying this rule. In rejecting a First Amendment claim by Navajo tribal members

whose religious beliefs called for them “to remain in perpetuity on property held in trust by the

United States for the exclusive use of the Hopi Tribe,” the court explained that “[t]o hold otherwise

would afford plaintiffs rights, benefits and privileges not enjoyed by other citizens. The rights

claimed by plaintiffs in Hopi lands are in total derogation of Hopi rights in and to their reservation.”



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730 F. Supp. at 1517-18; see also Slockish v. U.S. Fed. Highway Admin., 2018 WL 4523135, at

*3-6 (D. Or. March 2, 2018), adopted in relevant part by 2018 WL 2875896 (D. Or. June 11,

2018). Like the Navajo plaintiffs in Manybeads, the Plaintiffs here seek rights in total derogation

of PBCI’s rights in its own reservation and trust lands. RFRA does not provide such rights.

        The Plaintiffs do not dispute this critical point. Instead, they attempt to distract from it by

citing minor factual distinctions between the case at bar and the authority cited by the Tribal

Defendants. See Doc. 210 at 92-94 For example, they claim that La Cuna is distinguishable

because an earlier opinion in the case found no evidence that the plaintiffs had actually been barred

from accessing the disputed site or threatened with arrest. Id. at 93 (citing La Cuna De Aztlan

Sacred Sites Prot. Circle Advisory Comm. v. U.S. Dep’t of the Interior (La Cuna I), 2012 WL

2884992, at *7-8 (C.D. Cal. July 13, 2012)). While La Cuna I did include those observations, it

went on to state that “denial of access is not one of the factors under the substantial burden test.”

La Cuna I, 2012 WL 2884992, at *8. The distinction that the Plaintiffs attempt to draw thus was

rejected as meaningless even by the La Cuna I court. More importantly, after the plaintiffs

amended their complaint specifically “to allege that they are being put to a choice between

practicing their religion and being subject to criminal trespass,” the court once again dismissed

their RFRA claim. La Cuna II, 2013 WL 4500572, at *10.

        The Plaintiffs’ attempt to distinguish Navajo Nation provides another example. It is

inapplicable, they argue, because the plaintiffs there “were not forced ‘to act contrary to their

religion under threat of civil or criminal sanctions.’” Doc. 201 at 93 (quoting Navajo Nation, 535

F.3d at 1070). But that is no distinction at all, as the Plaintiffs here also are not being forced to act

contrary to their religion, or to act in any way at all. They are simply prevented from “dictat[ing]




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the decisions that [PBCI] makes in managing ‘what is, after all, its land.’” Navajo Nation, 535

F.3d at 1073 (quoting Lyng, 485 U.S. at 453)).

       The Plaintiffs principally rely on Comanche Nation v. United States, 2008 WL 4426621

(W.D. Okla. 2008), in support of their putative RFRA claims. That reliance is misplaced, however,

because the court applied a very different standard for assessing a substantial burden than the test

set forth by the Eleventh Circuit in Midrash Sephardi and other case law. In order to find a

substantial burden on religious exercise under Tenth Circuit precedent, the Comanche Nation court

needed only find that a challenged governmental action “‘significantly inhibit[s] or constrain[s]

conduct or expression’ or ‘den[ies] reasonable opportunities to engage in’ religious activities.” Id.

at *3 (citation omitted). That the challenged construction at issue in Comanche Nation satisfied

the Tenth Circuit’s test does not mean that the Tribal Defendants’ conduct here “completely

prevents the [Plaintiffs] from engaging in religiously mandated activity” or applies “pressure that

tends to force adherents to forego religious precepts or … that mandates religious conduct.”

Midrash Sephardi, 366 F.3d at 1227.

       In sum, the Plaintiffs’ RFRA claim fails for multiple reasons. RFRA is entirely inapplicable

to the Tribal Defendants, and the ostensibly federal functions assumed by PBCI that the Plaintiffs

rely on to evade this fact have no connection to the injuries giving rise to their putative RFRA

claims. The Plaintiffs also have not established a substantial burden on their exercise of religion

and cannot use their religious beliefs to impose a servitude on PBCI’s trust lands. The Court should

dismiss all RFRA claims against the Tribal Defendants.

IX.    NAGPRA and ARPA are not unlawful or unconstitutional.

       As characterized in their response brief, Count VIII of the SAC asserts that the “Tribal

Defendants applied NAGPRA and incorporated provisions of ARPA in a fashion that violated the

Free Exercise Clause, RFRA, and [the] Religious Land Use and Institutionalized Persons Act

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(“RLUIPA”).” Doc. 212 at 96. The ostensible violations of these religious freedom laws arise out

of allowing anyone other than the Plaintiffs to consent to excavation at the Wetumpka property or

establish a higher priority of ownership to excavated cultural items. 24 Id. The Plaintiffs appear to

concede that this claim rests on substantially the same, flawed grounds as their RFRA claim. Id.

at 96-97.

        Both the Tribal and Federal Defendants have identified numerous problems with the

Plaintiffs’ as-applied religious exercise theory. See Doc. 202 at 82-84; Doc. 200 at 41-42. These

include that (1) the First Amendment and RLUIPA are inapplicable to the Tribal Defendants, (2)

RLUIPA is limited to cases involving land use regulations or institutionalized persons, neither of

which are present here, (3) there is no substantial burden on the Plaintiffs’ exercise of their religion,

as required to establish a violation of any of the laws in question, and (4) any RFRA claim based

on the application of ARPA or NAGPRA fails for all of the reasons as the Plaintiffs’ principal

RFRA claim. See id. The Plaintiffs’ response rebuts none of those arguments.

        The Plaintiffs’ argument can be distilled to the assertion that the First Amendment and

various religious exercise statutes are violated unless the United States implements a law elevating

the Plaintiffs’ religious beliefs above PBCI’s rights to use and develop its own land. This is

specious. Indeed, it is the existence of any such law, not its absence, that would violate the First

Amendment. See, e.g., Midrash Sephardi, 366 F.3d at 1238 (“The Supreme Court has consistently

disapproved of unequal treatment that elevates religion over secular interests.”); Manybeads, 730

F. Supp. at 1517-18.




24 It is unclear how this constitutes the Tribal Defendants “appl[ying]   NAGPRA and incorporated
provisions of ARPA.” Doc. 212 at 96.
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       To the extent that the Plaintiffs base their argument on claims that NAGPRA intended to

elevate their interests, whether as “lineal descendants” or the “appropriate tribe,” over PBCI’s with

respect to the Wetumpka property, see Doc. 212 at 97-100, those arguments have been refuted

already. See supra Part V.A.4; Doc. 202 at 56-58. The Plaintiffs offer no support for their

contention that the First Amendment or any other statute requires NAGPRA to be applied in a way

inconsistent with the text of the statute and its implementing regulations. To the extent that the

Plaintiffs assert that NAGPRA is not a neutral law and must be justified by a compelling interest,

Doc. 212 at 100-01, they are the ones—as the parties asserting that the law must be interpreted to

elevate their religious beliefs above PBCI’s rights—who would bear the burden of establishing

that compelling interest. And finally, in asserting that RLUIPA tacitly repealed NAGPRA to the

extent that NAGPRA is less protective of their religious exercise, id. at 101-02, they still offer no

explanation of how a statute that applies only to land use regulations and religious exercise by

institutionalized persons has any relevance whatsoever to the case at bar. See Doc. 202 at 83-84.

       In short, the Plaintiffs offer no viable support for their claim that NAGPRA and ARPA

violate the First Amendment, RFRA, or RLUIPA as applied in this case. The Court should dismiss

Count VIII of the SAC with prejudice for failure to state a claim.

X.     The relief the Plaintiffs seek is unavailable as a matter of law.

       As discussed above in the context of the Tribal Defendants’ response to several of the

Plaintiffs’ discrete claims and in the Tribal Defendants’ principal brief, see Doc. 202 at 84-85,

much of the relief that the Plaintiffs seek simply is not available under any of the legal theories

that they advance. As the Plaintiffs elected to defend their requested relief in the context of their

individual claims in their response and the Tribal Defendants have replied in kind, they will not

further belabor the matter here.



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XI.     All of the Plaintiffs’ claims should be dismissed pursuant to Rule 19.

        If the Court dismisses any of the Plaintiffs’ claims against the Tribal Defendants on the

basis of tribal sovereign immunity, it should then proceed to dismiss those claims as to other

defendants on Rule 19 grounds. See Doc. 202, 85-88. In response, the Plaintiffs argue that Rule 19

dismissal would not be necessary or appropriate because PBCI’s interests ostensibly could be

represented by the Tribal Officials or perhaps the Federal Defendants. See Doc. 212, 102-06. The

Plaintiffs are incorrect.

        With respect to the Tribal Officials, the Plaintiffs may be correct that they could adequately

represent PBCI’s interests for Rule 19 purposes if they remained in the suit as defendants. But the

Tribal Defendants share in PBCI’s immunity, and all claims against them should be dismissed as

well. See supra, Part I.B; Doc. 202 at 22-28. To the extent that the claims against the Tribal

Officials are also dismissed on the basis of sovereign immunity, as they should be, the Plaintiffs’

argument that those officials adequately represent PBCI’s interests will be moot.

        The Plaintiffs’ argument that the Federal Defendants can adequately represent PBCI’s

interests in this litigation is simply incorrect. Federal courts repeatedly have held that the United

States cannot adequately represent the interests of an absent tribe in the context of an intertribal

conflict. See, e.g., Pit River Home & Agr. Co-op Ass’n v. United States, 30 F.3d 1088, 1101 (9th

Cir. 1994) (citing several cases); Rosales v. Dutschke, 279 F. Supp. 3d 1084, 1092-94 (E.D. Cal.

2017), affirmed by 787 F. App’x 406 (9th Cir. 2019); Rosales, 2007 WL 4233060 at *5-6. Dutschke

provides a particularly relevant example. There, plaintiffs alleged that the Jamul Indian Village

(JIV) tribal officials violated NAGPRA and committed other legal transgressions by excavating

and removing plaintiffs’ ancestors’ remains from a construction site. See 279 F. Supp. 3d at 1088.

The court held that the officials had sovereign immunity and then proceeded to dismiss all

remaining claims, sua sponte including those against federal officials, on Rule 19 grounds. Id. at

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1092-94; see also Rosales, 2007 WL 4233060 at *5-6 (holding that an absent tribe was an

indispensable party that could not be joined to a suit against federal agency defendants seeking to

enjoin construction on the absent tribe’s lands).

       Similarly, courts have held that the United States cannot adequately represent the interests

of an Indian tribe where the two sovereigns’ interests do not necessarily coincide. See, e.g., Dine

Citizens Against Ruining Our Env’t v. BIA, 932 F.3d 843, 855 (9th Cir. 2019 (discussing several

cases), cert denied, 2020 WL 3492672 (June 29, 2020); Enter. Mgmt. Consultants v. United States,

883 F.2d 890, 894 (10th Cir. 1989). Dine Citizens is instructive. There, plaintiffs sued numerous

federal defendants challenging the federal approval of a coal mining operation on Navajo Nation

land. The Navajo Nation’s Transitional Energy Company, an arm of the Nation that owned the

mine at issue, intervened for the limited purpose of moving to dismiss the action on Rule 19

grounds. The Ninth Circuit rejected the plaintiffs’ argument that the federal defendants would

adequately represent the Navajo Nation’s interests, explaining that “while Federal Defendants

have an interest in defending their own analyses that formed the basis of the approvals at issue,

here they do not share an interest in the outcome of the approvals—the continued operation of the”

Nation’s facilities. Dine Citizens, 932 F. 3d at 855. Similarly, while the Federal Defendants here

have an interest in defending their own actions that may generally align with PBCI’s interests, the

Federal Defendants do not have anything approaching PBCI’s interest in the defense of its

sovereignty and jurisdiction over its land or the continued operation of its Wetumpka facilities.

And at least in some instances, notably the extent of the responsibilities ostensibly shifted from

the United States to the Tribe by the NPS Agreement, it is possible that the Tribal and Federal

Defendants’ interest could diverge more substantially. While the United States can no doubt

adequately represent the interests of adequate tribes in some cases, this is not such a case.



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       Because the claims against PBCI must be dismissed on the basis of tribal sovereign

immunity, no remaining defendant(s) can adequately represent its interests, and all of the other

requirements for dismissal on Rule 19 grounds are satisfied, see Doc. 202 at 86-88, the Court

should dismiss the SAC completely.

                                         CONCLUSION

       For all of the foregoing reasons, the Plaintiffs have failed to state any viable claims against

the Tribal Defendants. All claims against those defendants therefore should be dismissed, and

because it would be impossible for this action to proceed in equity and good conscience in the

absence of the Tribal Defendants, the SAC should be dismissed in its entirety.

       Respectfully submitted this 4th day of September, 2020.


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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of September 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

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                     IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

 MUSCOGEE CREEK NATION, et al.,      )
                                     )
       Plaintiffs,                   )
                                     )
 vs.                                 )            Civil Action Number:
                                     )          2:12-cv-01079-MHT-CSC
 POARCH BAND OF CREEK INDIANS, et    )
 al.,                                )
                                     )
       Defendants.                   )
                                     )

       INDIVIDUAL DEFENDANTS’ REPLY AND MEMORANDUM IN SUPPORT OF
               MOTION TO DISMISS SECOND AMENDED COMPLAINT
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       Plaintiff Thompson’s response to the Individual Defendants’ Motion to Dismiss fails to

rebut any of the three identified grounds for dismissal of his outrage claim. First, despite alleging

that Stephanie Bryan, Robert McGhee, Sandy Hollinger, Keith Martin, Arthur Mothershed, Garvis

Sells, Eddie Tullis, Buford Rolin, and David Gehman—nine current or former members of the

Poarch Band of Creek Indians’ (PBCI) Tribal Council—are liable in their individual capacities for

allegedly outrageous conduct, Plaintiff Thompson has largely failed to identify with any specificity

actions allegedly taken by each individual. Second, Plaintiff Thompson has failed to overcome the

Individual Defendants’ legislative immunity, nor does he persuasively argue that dismissal on the

basis of that immunity would be premature. Indeed, dismissal is both warranted and appropriate at

this stage to spare the Individual Defendants from the burden of further litigation, as the protection

intends. Finally, Plaintiff Thompson cannot avoid the fact that his outrage claim is barred by the

two-year statute of limitations and subject to neither the relation-back doctrine nor the continuing

tort theory. Plaintiff Thompson’s claim for outrage should be dismissed.

                                           ARGUMENT
I.     The Allegations as pled do not support a claim for outrage.

       A.      The Second Amended Complaint (SAC) does not give the Individual Defendants
               fair notice of the claim.

       As Plaintiff Thompson concedes, his statement of the outrage claim must “give the

defendant fair notice of what the … claim is and the grounds upon which it rests.” Doc. 211 at 14

(quoting Erickson v. Pardus, 551 U.S. 89, 93 (2007)).1 He argues, however, that “[t]here is no

obligation to plead the facts showing the Individual Defendants’ intent with specificity.” Id. at 20.

While the Individual Defendants do not assert that Plaintiff Thompson must “prove all of the

elements of his outrage claim” at this stage, Doc. 211 at 12, he must nonetheless plead the

allegations in a manner sufficient to give each Individual Defendant fair notice of the basis for the

claim. Plaintiff Thompson has failed in this requirement. With two exceptions, Plaintiff Thompson


1 Pin-cites to the record are to the ECF generated page numbers atop each page.


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only makes general allegations against the Individual Defendants collectively. See, e.g., SAC ¶

223.

       Without specifying what acts each of the Individual Defendants allegedly committed, the

Complaint is not sufficient to give the Individual Defendants fair notice of the claim.2 See, e.g.,

Auto. Alignment & Body Serv., Inc. v. State Farm Mut. Auto. Ins. Co ., 953 F.3d 707, 731-33 (11th

Cir. 2020); Lopez v. Bonanza.com, Inc., 2019 WL 5199431, at *10 n.20 (S.D.N.Y. Sept. 30, 2019)

(citing several cases); Rosales v. Dutschke, 279 F. Supp. 3d 1084, 1091 (E.D. Cal. 2017), aff’d,

787 F. App’x 406 (9th Cir. 2019). Therefore, the outrage claim should be dismissed.

       B.      The alleged conduct does not rise to the level of outrage.

       Of the two specific acts alleged against any Individual Defendants, the first is a 2012 letter

sent by then-PBCI Chair Buford Rolin to Plaintiff Thompson and the Muscogee Creek Nation

(MCN) Principal Chief stating that the PBCI council members hoped to “work together regarding

re-interment” and asking Plaintiff Thompson and the Principal Chief to let the Council know if

they would like to join for the reburial. SAC ¶¶ 153 - 58. The second specific action alleged is the

mailing of a 2013 letter by then-PBCI Chair Stephanie Bryan to “tribal leaders nationwide” that

Plaintiff Thompson alleges contains false statements and misrepresentations. SAC ¶¶ 168 - 178,

Ex. P. Even taken as true, neither of these actions is extreme enough to pass the threshold for

outrage.

       The tort of outrage is “an extremely limited cause of action” in Alabama. Potts v. Hayes,

771 So. 2d 462, 465 (Ala. 2000); see Doc. 205 at 11-14 To be actionable, the conduct must be “so

outrageous in character and so extreme in degree as to go beyond all possible bounds of decency

and to be regarded as atrocious and utterly intolerable in a civilized society.” Am. Rd. Serv. Co. v.

Inmon, 394 So. 2d at 361, 365 (Ala. 1980). It must also “intentionally or recklessly cause[] sever

emotional distress to another” such that “no reasonable person could be expected to endure.” Id.

2 Plaintiff Thompson’s reliance on allegations of collective conduct in lieu of identifying specific
acts by each Individual Defendant underscores that the Individual Defendants acted collectively
within the sphere of their legislative duties and are protected by legislative immunity. See infra
Part II.
                                                 2
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       The Individual Defendants do not dispute that Plaintiff Thompson may have been

subjectively distressed by events related to PBCI’s archaeological excavation. But the standard for

the tort of outrage is an objective one; whether an individual was subjectively impacted does not

determine whether those actions rise to the level necessary to plead a plausible claim of outrage.

See Am. Rd. Serv. Co., 394 So. 2d at 368 (acknowledging that while a termination of employment

may have been “a humiliating experience for him personally,” the employer’s behavior did not

rise to the level of outrage); U.S.A. Oil, Inc. v. Smith, 415 So. 2d 1098, 1101 (Ala. Civ. App. 1982),

writ denied sub nom. Ex parte Smith, 415 So. 2d 1102 (Ala. 1982) (concluding that, though

appellee “apparently did suffer some distress, it was not so ‘severe’ as to support recovery for the

tort of outrage”). Here, the only specifically alleged conduct by any Individual Defendants—

Buford Rolin sending a letter inviting Plaintiff Thompson to join the reburial, and Chairman

Stephanie Bryan mailing a letter defending the actions of her Tribe—simply do not rise to the level

of being “beyond all bounds of decency.” And even taking collectively alleged conduct into

account, the Individual Defendants alleged “ordering,” in their capacities as elected officials of the

tribal government, of an archaeological excavation by professional archeologists from Auburn

University does not qualify as conduct “atrocious and utterly intolerable in a civilized society.”

Am. Rd. Serv. Co, 394 So. 2d at 365. These allegations cannot support a claim of outrage.

       C.      Case law does not support a claim for outrage on the facts alleged.

       Plaintiff Thompson cites to a number of cases ostensibly showing that he has sufficiently

pled a claim for outrage. These cases are not analogous. For example, Plaintiff Thompson cites

Whitt v. Hulsey, 519 So. 2d 901 (Ala. 1987), as the “[m]ost relevant of the Alabama precedent.”

Doc. 211 at 21. But in Whitt, the cemetery that the defendant bulldozed contained tombstones,

which are obvious markers of the identity and location of the deceased. And in that case, witnesses

could identify with specificity which individuals’ remains were disturbed. Whitt, 519 So.2d at 905

(“[T]he tombstone of Emma Ellis, which was in the third row, stood all by itself, was gone . . . .

The tombstone of little Hulda had a large chunk broken out of it.”). In this case, although Plaintiff

Thompson disputes that the remains at issue are “unknown individuals,” he concedes that he

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cannot identify any with specificity. Doc. 211 at 26 (“Regardless of whether he might or might not

know all of their names currently, he knows that they are his ancestors ….”). Plaintiff Thompson

does not allege with any specificity the identity of his descendants who were allegedly disturbed

by the Auburn-led archaeological excavation. This distinguishes Whitt and other cases involving

family burial plots.

       Further, despite Plaintiff’s assertion that the facts in Gray Brown-Serv. Mortuary, Inc. v.

Lloyd, 729 So. 2d 280 (Ala. 1999), are “hauntingly familiar,” Doc. 211 at 17, they are actually

quite different. In Lloyd, a funeral home flagrantly mishandled the burial and subsequent interment

of the plaintiff’s deceased wife. Specifically, after the funeral home received complaints of an odor

of decaying human remains coming from the mausoleum where plaintiff’s wife was buried, funeral

home employees worked to pry open the casket with a crowbar, tossed a caustic chemical on

remains, and re-entombed the body after binding the casket with duct tape. Gray Brown-Serv.,729

So.2d at 283. Later, funeral home employees reentered the crypt, removed most of the remains,

and placed them in a body bag, leaving some remains in original casket, which they then tossed

into the woods and later buried in another location. Id. The scientific and professionally supervised

archaeological excavation at issue here cannot reasonably be compared to the willful and cruel

destruction of the plaintiff’s wife’s remains in Lloyd.

       Several of the other cases cited by Plaintiff can also be distinguished because they involve

the reckless destruction or mishandling of the remains of a specific, identifiable decedent. In Levite

Undertakers Co. v. Griggs, 495 So. 2d 63 (Ala. 1986), the surviving spouse and children of the

decedent brought an outrage claim after the undertaker refused to turn over remains of the decedent

until the undertaker received payment for services. Id. at 64. And, as noted by the Plaintiff,

although the Court in that case affirmed summary judgment on the outrage claim, there is no

discussion or analysis of that claim.

       Nor does Cates v. Taylor, 428 So. 2d 637 (Ala. 1983), support Plaintiff Thompson’s

position. Cates involved the mishandling of plaintiff’s father’s remains. The plaintiff alleged that

defendants interfered with his father’s burial by refusing to allow the father to be buried in a

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cemetery lot that the defendants had previously offered for that purpose. Id. at 638. Notably, the

defendants made this refusal just 30 minutes before the funeral. In finding that the allegations

supported a claim for outrage, the court explained that “[a] funeral is an observance laced with

sorrow and personal grief. Defendants’ alleged actions, including waiting until 30 minutes before

the graveside services so as to disrupt the funeral . . . fit the requirement of an act ‘beyond all

possible bounds of decency’ and . . . ‘atrocious and utterly intolerable.’” Id. at 640. Here, no such

abrupt interruption of the grief process is alleged. The facts of Cates bear almost no resemblance

to those at bar.

        Finally, although it is not necessary to distinguish the multitude of cases cited by Plaintiff

which are outside of this jurisdiction, it is worth addressing Plaintiff’s claim that Whitehair v.

Highland Memory Gardens, Inc., 174 W. Va. 458, 459, 327 S.E.2d 438, 439 (1985) is “particularly

instructive as persuasive precedent.” Doc. 211 at 23. In Whitehair, the plaintiff brought suit for the

alleged mishandling and loss of several bodies during exhumation and reburial when a cemetery

was relocated due to highway construction. 174 W. Va. at 460. However, as with the Alabama

cases discussed above, Whitehair involved assertions with respect to specific, identified family

members of the plaintiff—i.e., the mishandling of remains of her sister, two aunts, cousin, uncle

and father. Id. Again, these facts can be differentiated from Plaintiff Thompson’s claim because

they involve the desecration of specific, identifiable family members, which objectively rises to

the level of being “beyond all bounds of decency.” PBCI’s hiring of professional archeologists

from Auburn University to conduct a scientific study of its own land prior to development, by any

objective measure, is simply not the same as recklessly or intentionally destroying a cemetery

where the location and identity of remains is marked by headstones or other markers.

        None of the cases that Plaintiff Thompson cites support a claim for outrage as alleged, and

the claim should be dismissed.

II.     The outrage claim is barred by legislative immunity.

        All of the Individual Defendants are entitled to legislative immunity from Plaintiff

Thompson’s outrage claim. See Doc. 205 at 9-11. Plaintiff Thompson asserts legislative immunity

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does not attach to the conduct at issue and that dismissal on that basis would be premature in any

event. Doc. 211 at 29 - 36. However, because it is apparent from the SAC that the Individua l

Defendants’ alleged conduct is covered by their immunity, dismissal at this stage is both

appropriate and necessary.

       A.      Dismissal would not be premature.

       Plaintiff Thompson claims that dismissal at this stage would be premature because

dismissal “is not advisable where the law on an issue is not settled, as is the case regarding the

question of legislative immunity for Tribal Council members.” Id. at 29. Although, as Plaintiff

notes, the Eleventh Circuit has not directly addressed whether the legislative privilege applies to

tribal councils, other courts that have considered the issue have concluded that it does. Tohono

O’odham Nation v. Ducey, CV-15-01135-PHX-DGC, 2016 WL 3402391, at *3 (D. Ariz. June 21,

2016) (“Although there does not appear to be any case law addressing the question, the Court

concludes that the legislative privilege also applies to tribal legislative bodies.”); Runs After v.

United States, 766 F.2d 347, 354 (8th Cir. 1985) (“[I]ndividual members of the Tribal Council . .

. enjoy absolute legislative immunity . . . for official actions taken when acting in a legislative

capacity.”); Grand Canyon Skywalk Dev., LLC v. Hualapai Indian Tribe of Ariz., 966 F. Supp. 2d

876, 885-86 (D. Ariz. 2013) (“[T]o the extent the complaint names Tribal Council members for

their role in passing the takings ordinance and resolution, they have legislative immunity.”).

Indeed, the only case cited by Plaintiff Thompson in which a court did not apply legislative

immunity is Wisconsin v. Baker, 464 F. Supp. 1377, 1387 (W.D. Wis. 1978), and in that case the

Court’s analysis was based upon the nature of the action in question (i.e., enforcement of a law),

not on whether the privilege applied to the Tribe’s governing body. As legislative immunity has

repeatedly been applied to tribal governing bodies, there is no reason to dispute that the privilege

would attach here, too.

       Dismissal on the basis of immunity should be granted as early as possible. As repeatedly

recognized by the United States Supreme Court, “a private civil action, whether for an injunction

or damages, creates a distraction and forces [legislators] to divert their time, energy, and attention

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from their legislative tasks to defend the litigation.” Supreme Court of Va. v. Consumers Union of

U.S., Inc., 446 U.S. 719, 733 (1980) (citation omitted); Eastland v. U. S. Servicemen’s Fund, 421

U.S. 491, 503, 95 S. Ct. 1813, 1821, 44 L. Ed. 2d 324 (1975). Legislative immunity “would be of

little value if [legislators] could be subjected to the cost and inconvenience and distractions of a

trial upon a conclusion of the pleader, or to the hazard of a judgment against them based upon a

jury’s speculation as to motives.’” Tenney v. Brandhove, 341 U.S. 367, 377 (1951); see also Scott

v. Taylor, 405 F.3d 1251, 1256 (11th Cir. 2005) (finding legislative immunity applicable and

explaining that, even where appellants would not be subject to a judgment and would not bear the

cost of their own defense, “they would still face the not inconsiderable inconveniences and

distractions of a trial”).

        Because the purpose of legislative immunity is “to free legislators from such worries and

distractions,” Scott, 405 F.3d at 1256, it would be inconsistent with that purpose to require

defendants to be dragged through litigation and the discovery process where it is evident from the

pleadings that they are immune from suit. As the Individual Defendants in this case are cloaked in

legislative immunity, there is no reason to delay in freeing them from the burdens of litigation.

The outrage claim should be dismissed.

        B.      Legislative immunity attached to the alleged conduct.

        Plaintiff Thompson asserts that legislative immunity does not apply to the Individua l

Defendants, arguing that Court must “analyze the precise nature of the Individual Defendants’

actions to determine whether they constitute legislative acts.” Doc. 211 at 32. However, the Court’s

analysis here need not extend beyond review of the SAC for it to conclude that the Individua l

Defendants are entitled to immunity. The legislative immunity protection is long-recognized and

very broad. Hous. Inv’rs, Inc. v. City of Clanton, 68 F. Supp. 2d 1287, 1295 (M.D. Ala. 1999); see

also Cmty. House, Inc. v. City of Boise, 623 F.3d 945, 959 (9th Cir. 2010) (citing Supreme Court

of Va., 446 U.S. at 732-33). Whether an act is “legislative” for purposes of immunity depends upon

the nature of the act. Bogan v. Scott-Harris, 523 U.S. 44, 45 (1998). And, as Plaintiff Thompson

acknowledges, resolutions and voting are elements of the legislative process which are cloaked in

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immunity. Doc. 211 at 32 (citing Gravel v. United States, 408 U.S. 606, 625, 627 (1972); Bogan,

523 U.S. at 55 (holding acts of voting for an ordinance to be “quintessentially legislative.”).

       The Individual Defendants are past or present members of the PBCI Tribal Council.

Pursuant to the PBCI Constitution, the PBCI Tribal Council is the legislative body of the Tribe.

PBCI Constitution, § 2-1-1(a) (“Pursuant to the Constitution of the Poarch Band of Creek Indians,

the legislative body of the Poarch Band of Creek Indians shall be the Tribal Council.”).3 The Tribal

Council legislates by memorializing final Council decisions in approved motions, ordinances, and

Tribal Council Resolutions. Id. §§ 2-2-1(a), 2-2-1(g). Official actions such as those alleged by

Plaintiff Thompson, including the passage of resolutions or motions or other votes by Tribal

Council to take collective action, are precisely the type of activity covered by legislative immunity.

       Thus, the conduct and subsequent harm alleged by Plaintiff Thompson arose from the

collective action of PBCI’s Council Members in the exercise of their legislative authority.

       With the two exceptions addressed above, Plaintiff Thompson fails to allege any actions

by any Individual Defendants that were not collective actions taken in their legislative capacities.

The outrage claim is based on the Individual Defendants’ alleged role in collectively arranging for

an archaeological excavation of the site at issue, with Plaintiff Thompson broadly contending that

the Individual Defendants “intentionally and outrageously caused the desecration of Hickory

Ground” by “order[ing]” and “authoriz[ing]” certain actions. SAC ¶¶ 223, 226. These allegations

are made against the Individual Defendants collectively, and Plaintiff Thompson does not allege

specific conduct by each Individual Defendant sufficient to show that they participated in the

“desecration.” Accordingly, the Court simply has no basis to find that the Individual Defendants

are not legislatively immune. See Dutschke, 279 F. Supp. 3d at 1091 (holding that where plaintiffs

alleged a violation of NAGPRA against tribal employees but did not specify which defendants

excavated and removed the human remains, the tribal defendants were immune because that

3 The PBCI Constitution   and Tribal Code are publicly available online at: Tribal Constitution,
Poarch Band of Indians,
https://library.municode.com/tribes_and_tribal_nations/poarch_band_of_creek_indians/codes/co
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immunity “hinges on the nature of their specific conduct, [and] plaintiffs must allege more before

the court can assume on a motion to dismiss that [the defendants] excavated or removed any

familial remains, and thus are not immune”).

       The Individual Defendants are immune from suit because the alleged actions underlying

Plaintiff Thompson’s outrage claim are legislative in nature. The Plaintiff’s failure to allege

specific conduct by the Individual Defendants in any non-legislative capacity underscores this fact.

The outrage claim should be dismissed.

III.   Plaintiff Thompson’s outrage claim is time -barred.

       Outrage claims are governed by a two-year statute of limitations under Alabama law. See

Ala. Code § 6-2-38(l); Doc. 205 at 18-19. Because none of the allegedly outrageous conduct

occurred in the two-year period preceding the filing of the SAC and the outrage claims do not

relate back to the December, 2012 filing of the original complaint, the outrage claims must be

dismissed as time-barred.

       A.      Plaintiff Thompson’s outrage claim does not relate back because he cannot satisfy
               Rule 15(c)(1)(C).
       Prior to the SAC, Plaintiff Thompson had not asserted any claim for outrage, had not sought

any monetary relief, and had not asserted any claims at all against any individual capacity

defendants. His 2019 assertion of an entirely new claim seeking entirely new relief against entirely

new defendants does not relate back to the filing of the original complaint under Federal Rule of

Civil Procedure 15(c)(1)(C). See Doc. 205 at 14-18.

       Plaintiff Thompson asserts that “a mere change in capacity” does not implicate Rule

15(c)(1)(C). See Doc. 211 at 42-43. He is wrong. Many courts, including the Eleventh Circuit,

apply Rule 15(c)(1)(C) to hold that the statute of limitations does not relate back for claims

originally brought against a party in an official capacity and later changed to be in an individua l

capacity. See, e.g., Colvin v. McDougall, 62 F.3d 1316, 1318 (11th Cir. 1995) (denying amendment

to sue police officer in his individual capacity after statute of limitations had run when original

complaint was brought against him in an official capacity); Rendall-Speranza v. Nassim, 107 F.3d


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913, 918 - 19 (D.C. Cir. 1997) (collecting cases where a court held there was no relation back of a

claim brought against a party in his individual capacity when the original claim was in an official

capacity); Lovelace v. O’Hara, 985 F.2d 847, 849 (6th Cir. 1993) (denying relation back of the

statute of limitations for a claim against a defendant in an individual capacity where originally

brought in an official capacity); Ling v. Herrod, 445 F. Supp. 2d 892, 895 (W.D. Tenn. 2006)

(refusing to allow an amendment because the original complaint clearly stated that the defendant

was being sued in his official capacity only and he had no reason to believe he may face liability

individually until after the statute of limitations had run); Smith v. Paladino, 317 F. Supp. 2d 884,

888 (W.D. Ark. 2004) (denying plaintiff’s amendment to add an individual capacity claim against

Board member originally named in her official capacity, noting that “numerous courts have held

that Rule 15(c) does not allow a plaintiff who sued a state entity in its official capacity to later add

an individual-capacity claim”).

        Change to the capacity of a party triggers Rule 15(c)(1)(C) because that section governs

the changing “the naming of the party.” Indeed, one of the cases on which Plaintiff Thompson

relies explicitly holds that when the naming of a party is changed from an official capacity to an

individual capacity, Rule 15(c)(1)(C)’s additional requirements must be satisfied. Robinson v.

Clipse, 602 F.3d 605, 608 (4th Cir. 2010). Plaintiff Thompson’s new tort claim against the

Individual Defendants in their individual capacities, filed years after having named them in their

official capacities, is significant because it gives rise to personal liability. See Colvin, 62 F.3d at

1318 (“We stress as much as we can that the difference between an official capacity suit and an

individual capacity suit is a big difference.”); see also Lovelace, 985 F.2d at 850 (“[T]he distinction

between an official capacity and an individual capacity suit is significant.”). Disregarding the well-

established federal authority on this point, Plaintiff Thompson relies upon Callens v. Jefferson

County Nursing Home, 769 So. 2d 273 (Ala. 2000), to argue that his untimely claim for outrage

should relate back. Callens is inapplicable, however, because it did not involve a change in

capacity or other change in the naming of a party; the plaintiff merely amended to add claims

against parties in the same capacity that they had already been sued. Id. at 278. Accordingly, Rule

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15(c)(1)(C) did not apply, and the court needed to only consider whether the claims arose out of

the conduct, transaction, or occurrence set in the original pleading. See Fed. R. Civ. P. 15(c)(1)(B);

Ala. R. Civ. P. 15(c)(2).

       Because Rule 15(c)(1)(C) applies here, Plaintiff Thompson is entitled to relation back only

if he can show that, within the initial Rule 4(m) service period, the Individual Defendants: (1) had

notice of the action and will not be prejudiced; and (2) should have known that the action was

brought against them individually but for a mistake in their identities. Fed. R. Civ. P. 15(c)(1)(C).

With respect to notice, Plaintiff Thompson suggests that the Individual Defendants’ general

knowledge of the lawsuit suffices to satisfy the notice requirement of Rule 15(c)(1)(C). But the

Rule requires not only general knowledge of the lawsuit, but also notice of capacity in which the

party is being sued. See, e.g., Colvin, 62 F.3d at 1318-19; Lovelace, 985 F.2d at 850-51. Plaintiff

Thompson’s previous complaints only asserted official capacity claims for declaratory and

injunctive relief for alleged violations of federal statutes. SAC ¶ 234. The prior pleadings contained

no tort claims or claims for emotional distress and sought no money damages. It was only after the

statute of limitations on outrage had run that Plaintiff Thompson asserted the tort claim and sought

to hold the Individual Defendants personally liable for monetary damages. SAC ¶ 234-35. During

the statute of limitations and 4(m) service period, the Individual Defendants had no notice or reason

to believe that Plaintiff Thompson intended to hold them personally liable for money damages.

Absent such notice, Rule 15(c)(1)(C) is not satisfied.

       Likewise, Plaintiff Thompson cannot show that the Individual Defendants should have

known that the action was brought against them but for a mistake in their identities. It is clear that

Plaintiff Thompson knew of the Individual Defendants’ identities all along. Indeed, as he points

out in his Opposition Brief, he named each and every one of them in an official capacity in the

original Complaint seeking declaratory and injunctive relief—relief that is consistent with the

official capacity claims. There was no “misnomer,” as Plaintiff Thompson now claims. He simply

made a strategic decision to only bring official capacity claims and not to seek tort liability against



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the Individual Defendants. Then, after the statute of limitations had run, he changed his mind. This

was not a mistake in identity.

       Plaintiff Thompson relies heavily on Itel Capital Corp. v. Cups Coal Co., Inc., 707 F.2d

1253 (11th Cir. 1983), an outlier case where the Court made a factual finding that the owner of a

defendant corporation should have known he would be named when the complaint was filed but

for a mistake by the plaintiff. Id. at 1258. The Eleventh Circuit has since limited Itel to its facts,

explaining that the decision establishes “no general rule” and further clarifying that the purpose of

Rule 15(c) does not support cases where the defendants were known to plaintiff at the time of the

original filing. See Powers v. Graff, 148 F.3d 1223, 1226 (11th Cir. 1998). The out-of-Circuit cases

Plaintiff Thompson that relies upon, involved similar factual findings that the defendant knew that

a mistake was made and that a claim should have been brought against him individually. See

Robinson, 602 F.3d at 610 (finding that the newly named defendant “knew within the limitation

period that he was the party [plaintiff] intended to sue” because he was served and answered the

amended complaint changing the claim to an individual capacity one within the Rule 4(m) period);

Sanders-Burns v. City of Plano, 594 F.3d 366, 380 (5th Cir. 2010) (finding that plaintiff made

individual claims in the original complaint but “mistakenly” named defendant in his official

capacity, as opposed to having made a strategic decision).

       In Sunkyong International, Inc. v. Anderson Land & Livesock Co., 828 F.2d 1245 (8th Cir.

1987), another case cited by Plaintiff Thompson, the Court explained that it could only allow

relation back because the change in capacity “did not open them to the imposition of additional

liability.” Id. at 1252. That is simply not the case here. On the contrary, Plaintiff Thompson is

seeking to impose additional liability against the Individual Defendants in the form of a new claim

seeking monetary damages. Plaintiff Thompson also relies heavily upon Hill v. Shelander, 924

F.2d 1370 (7th Cir. 1991), but in that case the Court made a factual finding that the original

complaint “when ‘read in its entirety’ plainly shows that an individual capacity suit was intended.”

Id. at 1374. In contrast here, a reading of the original and first amended complaints makes clear



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that no individual claims were brought, only claims in an official capacity, with corresponding

relief applicable to the official capacity claims. No tort claims for outrage or damages were pled.

       Plaintiff Thompson suggests that the fact that the defendants named in their official

capacity invoked sovereign immunity somehow indicates that the Individual Defendants believed

that they were being sued individually. Doc. 211 at 48. That argument is precisely backwards. The

assertion that the “tribal officials retain sovereign immunity when acting in their official capacity,”

Doc. 76 at 10, actually demonstrates that the tribal officials understood that they were being sued

in their official capacities. This case does not involve a misnomer or other mistake. Plaintiff

Thompson made an intentional, strategic decision not to sue the Individual Defendants personally

and then changed his mind when it was too late. For all these reasons, the outrage claim does not

relate back under Rule 15(c)(1)(C).

     B.         Plaintiff Thompson alleges no outrageous acts by the Individual Defendants within
                the two-year limitations period.
     Plaintiff Thompson’s putative outrage claim is time-barred because it accrued well over two

years prior to the filing of the SAC. See Doc. 205 at 18-19. Plaintiff Thompson’s effort to avoid

the time bar by claiming to assert a continuing tort fails because he has not alleged that the

Individual Defendants committed the requisite tortious acts within the statutory period.

     Under Alabama law, a statute of limitations begins to run in favor of the party liable from

the time the cause of action accrues. Moon v. Harco Drugs, Inc., 435 So. 2d 218, 220 (Ala. 1983)

(citing Garrett v. Raytheon Co., 368 So. 2d 516, 518-19 (Ala. 1979)). A cause of action accrues

when injury occurs, and the statute of limitations begins to run whether or not the full amount of

damages is apparent at the time of the first legal injury. Id. at 220. Here, according to the SAC, the

Plaintiff Thompson became aware of the excavation of remains no later than 2006, so any claim

accrued at or before that time. See SAC ¶ 137. Plaintiff Thompson filed his outrage claim in 2019.

The claim is thus barred by the two statute of limitations for outrage.

     Plaintiff Thompson erroneously argues that he has timely asserted a continuing tort. For a

continuing tort theory to apply, Plaintiff Thompson would have had to allege that the Individua l

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Defendants committed “repeated wrongs.” Moon, 435 So. 2d at 220. Here, there is no allegation

of repeated tortious acts by the Individual Defendants that could be termed a “continuous tort.” Id.

(holding that the statute of limitations barred plaintiffs’ claims because “[n]othing in the facts

alleged . . . supports their claims that [defendant] committed repeated acts of negligence which

could be termed a ‘continuous tort’ and which would extend the statutory limitations period.”).

     Even if the allegations could be considered a continuous tort, Alabama law requires that

Plaintiff Thompson must have alleged that each Individual Defendant engaged in tortious conduct

prior to the expiration of the two-year statute of limitations. 4 See Doc. 211 at 29 (“[T]he statute of

limitations begins to run upon the Individual Defendants’ last tortious act.”); Continental Cas. Ins.

Co. v. McDonald, 568 So. 2d 1208, 1216 (Ala. 1990) (explaining the continuing tort “arising from

continuing dealings between the parties, will not be barred until two years after the last tortious

act by the defendant”) (emphasis added). Therefore, in McDonald, a case Plaintiff Thompson

principally relies upon, the court applied the continuing tort concept because the tortious conduct

“was continuing even up to the time the action was filed.” 567 So. 2d at 1217. That is simply not

the case here.

     Plaintiff Thompson baldly asserts that “conduct” continued up to and continuing past the

filing of the SAC, but he fails to identify a single tortious act by any Individual Defendant

occurring within the statutory period. He alleges only that the Individual Defendants “intentionally

and outrageously caused the desecration of Hickory Ground” by “order[ing]” and “authoriz[ing]”

its excavation. SAC ¶¶ 223, 226. At the same time, he concedes that construction activities

continued only “until 2014,” making that the absolute latest date of any purported tortious act by

any Individual Defendants. Doc. 211, 40 of 51. Plaintiff Thompson makes no allegations regarding

any Individual Defendants’ conduct occurring thereafter. 5 He makes only a vague allegation that


4 Again,  Plaintiff Thompson’s collective allegations are a problem. Even if he alleged that one
individual defendant committed a tortious act within the relevant time period—which he has not—
that could not support a continuing tort theory against the other eight Individual Defendants.
5 The only specific allegations of any conduct by particular Individual Defendants occurred in

2012 and 2013, SAC at 35, ¶¶ 153 - 58, 168 - 78, well outside the two-year limitations period.
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the harm caused by Individual Defendants’ prior conduct continues until “Poarch is required to

take remedial measures,” not Individual Defendants. SAC ¶ 233. Similarly, all of the allegations

regarding reinternment of remains do not allege tortious conduct by Individuals Defendants, but

rather by Poarch. SAC ¶ 120 (“[U]pon information and belief, Poarch directed the cultural items

from the Hickory Ground site be stored in a manner that has caused and is continuing to cause

damage further damage to the items.”).

      Moreover, McDonald does not hold that the statute of limitations turns on the plaintiff having

suffered additional emotional distress during the statute of limitations, as Plaintiff Thompson

suggests. Doc. 311, 36 of 51. Rather, it holds that the in the context of a continuing tort, the statute

of limitations is determined by the defendant’s last tortious act. Id. at 1216. Plaintiff Thompsons’

extensive references to allegations about his continued distress are thus irrelevant. Without

allegations of tortious conduct by the Individual Defendants within the statutory timeframe,

Plaintiff Thompson’s outrage claim fails.

                                          CONCLUSION

        Insufficiency of the allegations as pled, legislative immunity, and the statute of limitations

each and together are fatal to Plaintiff Thompson’s outrage claim. As he has failed to state a claim

upon which relief can be granted against the Individual Defendants, the Court should dismiss the

outage claim.


        Respectfully submitted this 4th day of September, 2020.


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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of September 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

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                        TAB 223
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    IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


 MUSCOGEE (CREEK) NATION,            )
 a federally recognized              )
 Indian tribe, et al.,               )
                                     )
        Plaintiffs,                  )
                                     )         CIVIL ACTION NO.
        v.                           )          2:12cv1079-MHT
                                     )               (WO)
 POARCH BAND OF CREEK                )
 INDIANS, a federally                )
 recognized Indian tribe,            )
 et al.,                             )
                                     )
        Defendants.                  )

                                 OPINION

      This dispute concerns the use and ownership of a

 34-acre tract of land south of Wetumpka, Alabama.                    The

 land sits at Hickory Ground, the last capital of the

 Creek Nation before the Tribe was forced from the eastern

 United States in the 1830s, an exodus known as the Trail

 of Tears.      Burial sites and ceremonial grounds dot the

 area, which in 1980 was placed on the National Register

 of Historic Places as a site of national significance.

 Today the land is held by the United States Department
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 of the Interior in trust for Poarch Band of Creek Indians

 (“PBCI”), and it is the location of PBCI’s Wind Creek

 Wetumpka casino and hotel.             The excavation of the land

 and the construction and operation of the Wind Creek

 Wetumpka are the subject of this litigation.

      The three plaintiffs who bring this suit are the

 Muscogee (Creek) Nation; the Hickory Ground Tribal Town,

 which is now located in Oklahoma; and George Thompson,

 the chief, or “Mekko,” of the tribal town.                   They filed

 the original complaint in this suit in 2012.                     In the

 operative second amended complaint, filed in March 2020

 after   the   case    had   been    stayed    pending       unsuccessful

 settlement negotiations, the plaintiffs have named three

 groups of defendants.         The “Federal Defendants” consist

 of the Interior Department, the National Park Service,

 the Bureau of Indian Affairs, and the officials who head

 each of those entities.         The “Tribal Defendants” consist

 of   PBCI;     the    PCI   Gaming      Authority,      a     commercial

 enterprise of PBCI that operates the Wind Creek Wetumpka;

 various officials on the PBCI Tribal Council and the


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 Board of PCI Gaming Authority, who are sued in their

 official     capacities;      and    the    PBCI    Tribal    Historic

 Preservation      Officer,     who   is    sued    in   his   official

 capacity.     The “Individual Defendants” consist of former

 and current members of the PBCI Tribal Council, who are

 sued in their individual capacities.              The plaintiffs have

 also sued Auburn University, which has not moved to

 dismiss the plaintiffs’ second amended complaint.1

      The second amended complaint raises eleven claims,

 most of them alleging violations of federal statutes: the

 Indian Reorganization Act, or IRA, 25 U.S.C. § 5101; the

 Native American Graves Protection and Repatriation Act,

 or NAGPRA, 25 U.S.C. § 3001; the Archaeological Resources

 Protection Act, or ARPA, 16 U.S.C. § 470aa; the Religious



     1. There is one other defendant in this case: Martin
 Construction, Inc., a company that helped build the Wind
 Creek Wetumpka. The company is named on the plaintiffs’
 NAGPRA and outrage claims; it is not wholly clear from
 the second amended complaint whether any of the other
 claims are also brought against the company.       Martin
 Construction filed a notice of bankruptcy in April 2020.
 See Notice of Bankruptcy (Doc. 198). Because the filing
 of such notice imposed an automatic stay of the
 proceedings against Martin Construction, see 11 U.S.C.
 § 362, this opinion does not further address the company.
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 Land Use and Institutionalized Persons Act, or RLUIPA,

 42 U.S.C. § 2000cc; the Religious Freedom Restoration

 Act,     or   RFRA,   42   U.S.C.    § 2000bb;     and   the    National

 Historic Preservation Act, or NHPA, 54 U.S.C. § 300101.

 Some of these claims are denominated as dependent on the

 court’s resolution of the plaintiffs’ IRA claim, the

 first count of their complaint.                The plaintiffs also

 bring common-law counts of unjust enrichment, promissory

 estoppel, and the Alabama tort of outrage, the last of

 which they say applies only if the court rules in their

 favor on the IRA claim.             This tort-of-outrage claim is

 the only count brought against the Individual Defendants.

 With these claims, the plaintiffs seek, inter alia, to

 have Hickory Ground taken out of trust for PBCI and placed

 in   a   constructive      trust     for   them,   to    have   federal

 preservation grants to PBCI for the site ceased, to

 prevent       the     Tribal   and       Federal   Defendants      from

 undertaking any further clearing or construction on the

 Hickory Ground site, and to require that the Tribal

 Defendants “cause the Hickory Ground Site to be returned


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 to the condition it was in prior to the construction of

 the casino resort.”         Second Amended Complaint (Doc. 79)

 at 76-79.      They do not seek damages, except from the

 Individual Defendants for the tort-of-outrage claim if

 applicable.

      This case is now before the court on the separate

 motions of the Federal Defendants, the Tribal Defendants,

 and the Individual Defendants to dismiss the plaintiffs’

 claims under Rules 12(b)(1) and 12(b)(6) of the Federal

 Rules of Civil Procedure.              The court has jurisdiction

 pursuant to 28 U.S.C. §§ 1331 (federal question), 1362

 (federal-law      claims    brought     by   Indian    Tribes),    1367

 (supplemental       jurisdiction),       and    25    U.S.C.     § 3013

 (NAGPRA).     As explained below, the court finds that the

 Tribal Defendants, including the tribal officials named

 in their official capacities, are immune from this suit

 and must be dismissed.           Without the Tribal Defendants

 present, the remaining claims cannot be adjudicated under

 the precepts of Rule 19 of the Federal Rules of Civil

 Procedure.     The Tribal Defendants’ motion to dismiss will


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 accordingly be granted, the motions of the Federal and

 Individual Defendants will be denied as moot, and this

 suit will be dismissed.



                       I.FACTUAL BACKGROUND

      The court at this stage must accept as true the

 factual allegations of the second amended complaint. See

 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).                   According

 to   those    allegations,      Hickory    Ground     is   a    site   of

 longstanding       cultural,       religious,        and       political

 importance for the Muscogee (Creek) Nation, believed to

 date back to the nation’s original tribal town “at the

 time of the beginnings.”         Second Amended Complaint (Doc.

 190) at ¶ 46.         Perhaps most importantly for present

 purposes, the area contained ceremonial grounds and a

 number of burial sites and individual graves, some within

 the ceremonial grounds and some beneath the family homes

 of the dead. These graves held human remains and funerary

 objects of deep significance to the plaintiffs, and the

 graves were situated in specific places within Hickory


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 Ground     based   on   the   position     held     by    the    deceased

 individual in the town’s governance structure.

      The     plaintiffs       explain       that     it     is        their

 “long-established        religious     belief      that    burial       and

 ceremonial     grounds      are   sacrosanct       and    must    not    be

 entered,     let    alone     disturbed,      without      the    proper

 religious protocol.”          Id. at ¶ 55.        In accordance with

 these religious beliefs, the plaintiffs hold “that their

 ancestors must be left at peace in their final resting

 places with their possessions,” and that the plaintiffs

 “owe a religious duty to their ancestors to care for the

 graves and bodies of the deceased.”             Id. at ¶¶ 56-57.

      PBCI acquired Hickory Ground in 1980 with funding

 from a federal preservation grant, subject to a 20-year

 protective      covenant      requiring     preservation         of     the

 property.     In 1984, the Interior Department took the land

 into trust for PBCI, following the recognition of PBCI’s

 tribal status by the United States government earlier




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 that year.      See Trust Deed (Doc. 203-2) at 1.2              Shortly

 after the protective covenant expired in July 2000, PBCI

 began excavating the site alongside archaeologists from

 Auburn     University      to   gather    information      about     the

 cultural artifacts buried at Hickory Ground prior to

 development of the area.            The excavation was completed

 in 2011.

      In the meantime, the Alabama Historical Commission

 and others began in 2001 to write letters to the Interior

 Department     and   the   Bureau    of   Indian    Affairs     raising

 concerns about potential disturbance of the cultural

 artifacts at Hickory Ground in the course of PBCI’s

 excavation.          The   City     of    Wetumpka,     the     Alabama

 Preservation Alliance, and an individual member of the

 Creek Nation filed suit against PBCI in 2001, making many

 of the same allegations reiterated in the present suit,

 including that the then-planned excavation and clearing



     2. The trust deed is appropriate for the court to
 review at this stage because it is “central to the
 plaintiff’s claims and is undisputed in terms of
 authenticity.” Maxcess, Inc. v. Lucent Techs., Inc., 433
 F.3d 1337, 1340 n.3 (11th Cir. 2005).
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 of the site would violate NAGPRA, ARPA, and the NHPA.

 See generally First Amended Complaint (Doc. 20), City of

 Wetumpka v. Norton, No. 01-cv-1146-WHA (M.D. Ala. Nov.

 9, 2001).      The suit was dismissed with prejudice shortly

 thereafter by request of the plaintiffs.             See Order (Doc.

 22) at 1, City of Wetumpka, No. 01-cv-1146-WHA (M.D. Ala.

 Nov. 21, 2001) (Albritton, C.J.).

        According to the operative complaint in this case,

 the plaintiffs here were first notified of the excavation

 sometime in 2006.         See Second Amended Complaint (Doc.

 190)    at   ¶ 137.     The    plaintiffs     then    “engaged     in   a

 years-long effort to persuade [PBCI] not to excavate and

 desecrate the remains of Plaintiffs’ ancestors and other

 cultural items and to return any cultural items already

 excavated from Hickory Ground to their original resting

 place.”      Id. at ¶ 139.    The plaintiffs also contacted the

 National Park Service about their concerns.

        Negotiations     between      the    plaintiffs      and    PBCI

 ultimately failed in 2011.             The following year, PBCI

 reinterred many of the cultural artifacts removed from


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 Hickory    Ground     at   other    locations.        PBCI    notified

 plaintiffs Muscogee (Creek) Nation and Mekko Thompson3 of

 the planned reburials by letter on April 4, 2012, but

 completed the reburials before the plaintiffs responded

 nine days later.        Id. at ¶¶ 153-58.        In July 2012, PBCI

 announced plans to develop what is now the Wind Creek

 Wetumpka.      The plaintiffs filed the present suit that

 December.     Construction was completed on the Wind Creek

 Wetumpka in 2014, during the pendency of this litigation,

 and the casino and resort have been operational since

 then.     In March 2020, as noted above, the plaintiffs

 filed the operative second amended complaint after the

 case had been stayed pending unsuccessful settlement

 negotiations.



               II. MOTION-TO-DISMISS STANDARD

      In considering a defendant’s motion to dismiss, the

 court accepts the plaintiff’s allegations as true, see



     3. As both the plaintiffs and the Tribal Defendants
 use this honorific when identifying plaintiff Thompson
 in their briefing, the court does the same.
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 Hishon v. King & Spalding, 467 U.S. 69, 73 (1984), and

 construes the complaint in the plaintiff’s favor, see

 Duke v. Cleland, 5 F.3d 1399, 1402 (11th Cir. 1993).                 The

 court may draw “reasonable inferences” from the facts

 alleged in the complaint.            Chesser v. Sparks, 248 F.3d

 1117, 1121 (11th Cir. 2001).

      To survive a motion to dismiss for failure to state

 a claim under Federal Rule of Civil Procedure 12(b)(6),

 a complaint “must contain sufficient factual matter,

 accepted as true, to ‘state a claim to relief that is

 plausible on its face.’”            Ashcroft v. Iqbal, 556 U.S.

 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550

 U.S. 544, 570, (2007)).        “A claim has facial plausibility

 when the plaintiff pleads factual content that allows the

 court to draw the reasonable inference that the defendant

 is liable for the misconduct alleged.”              Id.

      The defendants in this case also move to dismiss many

 of the plaintiffs’ claims for lack of subject-matter

 jurisdiction      under    Federal      Rule   of   Civil    Procedure

 12(b)(1).       A motion under Rule 12(b)(1) can present


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 either a facial or a factual attack to the court’s

 jurisdiction.         See    McElmurray     v.   Consol.     Gov’t    of

 Augusta-Richmond Cty., 501 F.3d 1244, 1251 (11th Cir.

 2007).      When    resolving     a     facial   attack    under   Rule

 12(b)(1), as when resolving a Rule 12(b)(6) motion, the

 court must assume the truth of the allegations in the

 complaint.     See id.      If the motion instead depends on the

 resolution of disputed facts, however, the court must

 provide the parties an opportunity for discovery and a

 hearing before deciding the motion.              See id.

      Finally, the Tribal Defendants have moved to dismiss

 the entirety of the second amended complaint under Rule

 12(b)(7), on the ground that PBCI is an indispensable

 party to the litigation but is immune from suit.                In such

 motions, the burden is on the movant to show the necessity

 of the relevant party and the nature of the interests

 that will be unprotected in the party’s absence.                 See W.

 Peninsular Title Co. v. Palm Beach County, 41 F.3d 1490,

 1492 (11th Cir. 1995) (per curiam).                As with a motion

 under Rule 12(b)(6), the court must assume the truth of


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 the factual allegations in the complaint.                 See 5C Charles

 Alan Wright & Arthur R. Miller, Federal Practice and

 Procedure § 1359 (3d ed. 2020).                 But the court is not

 limited to the complaint, and the parties may present

 evidence outside the pleadings.                 See id.       A dismissal

 under Rule 12(b)(7) is without prejudice.                    See id.



                           III. DISCUSSION

        The court begins and ends its analysis with the

 Tribal    Defendants’       motion      to    dismiss.        The   Tribal

 Defendants named in the second amended complaint are

 immune from the claims made here: PBCI and PCI Gaming

 Authority because they enjoy sovereign immunity from

 unconsented suit, and the tribal officials under the

 doctrine announced in Idaho v. Coeur d’Alene Tribe, 521

 U.S.     261   (1997).       In   the        absence    of    any   tribal

 representatives among the defendants, the plaintiffs’

 remaining claims cannot be adjudicated without serious

 prejudice      to   the    interests     of     PBCI.        Accordingly,




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 pursuant to Rule 19(b) of the Federal Rules of Civil

 Procedure, the suit must be dismissed.



              A.   Immunity of the Tribal Defendants

        The Tribal Defendants move to dismiss all of the

 claims against them as barred by sovereign immunity.                  As

 to the claims against PBCI and the PCI Gaming Authority,

 the Tribal Defendants are plainly correct, and the claims

 must    be   dismissed.      Tribes     are    “separate    sovereigns

 pre-existing the Constitution.”               Michigan v. Bay Mills

 Indian Cmty., 572 U.S. 782, 788 (2014) (quoting Santa

 Clara Pueblo v. Martinez, 436 U.S. 49, 56 (1978)).                    As

 “domestic dependent nations,” they maintain “historic

 sovereign authority” subject only to Congress’s power to

 abrogate their sovereign rights.              Id. (quoting Okla. Tax

 Comm’n v. Citizen Band Potawatomi Tribe of Okla., 498

 U.S. 505, 509 (1991)).           Among the incidents of tribal

 sovereign authority, Tribes such as PBCI enjoy immunity

 against unconsented suits absent express congressional




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 override of that immunity.               See Alabama v. PCI Gaming

 Auth., 801 F.3d 1278, 1287 (11th Cir. 2015).

        This case is unusual in that Tribes are present as

 both    plaintiffs        and   defendants.          Although       tribal

 sovereign immunity bars suits brought by States against

 unconsenting Tribes absent congressional authorization,

 see Kiowa Tribe of Okla. v. Mfg. Techs., Inc., 523 U.S.

 751, 755-56 (1998), it does not appear that either the

 Supreme Court or the Eleventh Circuit Court of Appeals

 has decided whether sovereign immunity may be asserted

 in suits brought by one Tribe against another.                  Cf. Caddo

 Nation of Okla. v. Wichita & Affiliated Tribes, 786 F.

 App’x 837, 840-41 (10th Cir. 2019) (assuming sovereign

 immunity applied to suit between Tribes absent waiver).

 But since “an Indian tribe is subject to suit only where

 Congress has authorized the suit or the tribe has waived

 its    immunity,”     Kiowa     Tribe,     523     U.S.    at   754,    and

 considering        that    Tribes    are     not     subject       to   the

 “‘mutuality of ... concession’ that ‘makes the States’

 surrender     of    immunity     from      suit    by     sister    States


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 plausible,’” id. at 756 (alteration in original) (quoting

 Blatchford v. Native Village of Noatak, 501 U.S. 775, 782

 (1991)),     the    court     does    not    see    why    inter-tribal

 litigation     should    be     exempt     from    the    principles    of

 sovereign immunity that govern all other suits against

 Tribes.

        As such, PBCI is entitled to have the claims against

 it dismissed on the basis of tribal sovereign immunity.

 Furthermore, the Eleventh Circuit has held that PBCI’s

 immunity is shared by PCI Gaming Authority “because it

 operates as an arm of the Tribe.”             PCI Gaming Auth., 801

 F.3d    at   1287.        The     plaintiffs’       argument     to    the

 contrary--that PBCI and PCI Gaming Authority received

 delegated federal authority and thereby became subject

 to the APA’s general immunity waiver when they signed an

 agreement with the National Park Service in 1999 to

 undertake     certain    duties      prescribed      by    the   National

 Historic Preservation Act--is wrong.               The APA waives the

 immunity     of    federal      agencies    and    the    officers     and

 employees thereof from suits seeking non-monetary relief.


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 5 U.S.C. § 702.       PBCI did not turn itself into a federal

 agency by signing a contract with one.

      The primary case the plaintiffs marshal in support

 of their theory, Caddo Nation of Oklahoma, is not on

 point.    There, the defendant Tribe had expressly waived

 its immunity and consented to suit in the agreement it

 signed    with     the   Department       of   Housing     and     Urban

 Development.      See 786 F. App’x at 840 n.4.             No consent

 to suit appears in PBCI’s agreement with the National

 Park Service, nor does the complaint contain factual

 allegations that PBCI has otherwise consented to suit.

 See NPS Agreement (Doc. 190-1) at 115-19.               “[T]he Supreme

 Court has made it plain that waivers of tribal sovereign

 immunity cannot be implied on the basis of a tribe’s

 actions, but must be unequivocally expressed.”                Furry v.

 Miccosukee Tribe of Indians, 685 F.3d 1224, 1234 (11th

 Cir. 2012) (quoting Sanderlin v. Seminole Tribe, 243 F.3d

 1282,    1286    (11th    Cir.    2001)).       There    is   no   such

 unequivocal waiver here, so PBCI and PCI Gaming Authority

 may assert their sovereign immunity.


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        Whether the tribal officials named as defendants in

 their official capacities are immune from suit is a more

 complicated question.            In general, suits for equitable

 relief against officers in their official capacities are

 not barred by sovereign immunity under the doctrine of

 Ex   parte    Young,     209    U.S.     123   (1908).      The   Tribal

 Defendants argue that Young is inapplicable here because

 the plaintiffs “seek not to stop ongoing violations of

 federal law, but to adjudicate the legality of discrete

 past    acts,”   and    because     the    specific      nature   of   the

 plaintiffs’      claims        implicates      “special     sovereignty

 interests” that exempt them from Young under the doctrine

 of Coeur d’Alene.         Br. in Supp. Tribal Defs.’ Mot. to

 Dismiss (Doc. 202) at 23.

        The first of these arguments misconstrues either the

 plaintiffs’ complaint or the distinction drawn by the

 Young    doctrine      between    retrospective       and   prospective

 claims.      While it is true that this suit arises from

 things that happened in the past--the taking of Hickory

 Ground into trust for PBCI, the excavation of the land,


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 the construction of the Wind Creek Wetumpka--the relief

 that    the   plaintiffs      request    is    forward-looking         and

 equitable.     They ask that the defendants be enjoined from

 continuing to excavate Hickory Ground or operate the Wind

 Creek Wetumpka, and that they be required to return to

 the plaintiffs the cultural items removed from Hickory

 Ground and restore the land itself into the condition it

 was in before the excavations began.                 They say that the

 defendants     are     engaging   in    an    ongoing      violation   of

 federal law by retaining the excavated cultural items and

 continuing to operate the Wind Creek Wetumpka.                 And they

 do not ask for money damages from the official defendants

 for these alleged violations.

        As the Supreme Court has explained and the Tribal

 Defendants      have     acknowledged,        this    is    “ordinarily

 sufficient to invoke the Young fiction.”                Coeur d’Alene,

 521 U.S. at 281.        Most suits, including equitable ones,

 arise from events that have already occurred.                  The fact

 of past harm makes clear the likelihood of future harm.

 See, e.g., Wooley v. Maynard, 430 U.S. 705, 712 (1977).


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 The Young doctrine does not require an official defendant

 not to have done anything wrong yet; it requires that the

 plaintiff seek to prevent future or ongoing wrongdoing,

 regardless of what happened in the past.                    That is what

 the plaintiffs seek here, and their suit against the

 official      defendants         accordingly      falls     within        the

 boundaries of Ex parte Young.

      Still,     not       all    suits    that    meet     the        general

 prerequisites of the Young doctrine may be heard.                          As

 relevant here, the Supreme Court recognized in Coeur

 d’Alene    that     certain      suits   that     impose    on    “special

 sovereignty        interests”      in    important      sovereign-owned

 lands are subject to sovereign immunity whether they are

 brought    against        the   sovereign   directly       or    by    naming

 officials     of    the    sovereign     entity    in    their    official

 capacities.        Coeur d’Alene, 521 U.S. at 281.                In Coeur

 d’Alene,    for     instance,      the   imposition      was     an    action

 seeking relief that the Court found to be “the functional

 equivalent of quiet title,” id. at 282--the suit sought

 to establish the Tribe’s “entitlement to the exclusive


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 use and occupancy and the right to quiet enjoyment of”

 certain submerged lands in Lake Coeur d’Alene that the

 State claimed as its own, id. at 264-65.                 As the Court

 explained, “[t]he suit would diminish, even extinguish,

 the State’s control over a vast reach of lands and waters

 long deemed by the State to be an integral part of its

 territory.”           Id.   at    282.      A   suit    seeking    such

 “far-reaching and invasive relief” is for all practical

 purposes a suit against the sovereign itself, and as such

 it is barred by sovereign immunity unless the sovereign

 consents.     Id.

      Coeur d’Alene was, of course, an “unusual case”

 establishing      a    “narrow    exception”     to    Young.     Pls.’

 Response to Tribal Defs.’ Notice of Supplemental Auth.

 (Doc. 220) at 3 (quoting Curling v. Sec’y of State, 761

 F. App’x 927, 933-34 (11th Cir. 2019)).                 But this case

 fits within that exception.              The plaintiffs’ suit seeks

 to divest PBCI more or less completely of its control

 over Hickory Ground.             It seeks orders from the court

 requiring PBCI to dismantle the Wind Creek Wetumpka,


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 restore Hickory Ground, “to the greatest extent possible,

 to its pre-excavation and pre-construction condition,”

 which would include “returning the excavated cultural

 items to their original burial locations,” abstain from

 “any     further    ground      disturbing,       clearing,       grading,

 leveling, or construction activity” at Hickory Ground,

 and    placing     the   land   in   constructive        trust    for    the

 plaintiffs “as relief for Poarch’s breach of its promises

 to     the   Muscogee     (Creek)     Nation.”           Second   Amended

 Complaint      (Doc.     190)   at    76-79.       Beyond     that,      the

 plaintiffs’ IRA claim seeks to convert Hickory Ground

 from reservation land held by the Interior Department in

 trust for PBCI into a parcel owned by the Tribe in fee

 simple.      Not only would this prevent PBCI from operating

 a casino there, but it would transform the nature of the

 Tribe’s relationship to Hickory Ground, changing it from

 one of sovereign ownership of tribal territory to an

 everyday     property     interest        that   might   be   held      by   a

 private individual or corporation.                 This “goes to the

 heart of [PBCI]’s sovereign and proprietary interests”


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 and is every bit as invasive as the relief sought in

 Coeur d’Alene.        Jamul Action Comm. v. Simermeyer, 974

 F.3d 984, 996 (9th Cir. 2020).

      In effect, the plaintiffs ask the court to order PBCI

 to cease the activities it currently carries out at

 Hickory    Ground,     alter       the   site    drastically         at    the

 plaintiffs’     direction      to    transform        it   back    into    the

 condition in which they desire it to remain, and then

 leave the land alone.        These remedies might not literally

 revoke    PBCI’s    title     to    Hickory      Ground.          See    Pls.’

 Response to Tribal Defs.’ Notice of Supplemental Auth.

 (Doc. 220) at 2.        But they would do everything short of

 that,    providing     the    plaintiffs        “de    facto      beneficial

 ownership” of the site and divesting PBCI “of its right

 to use what is, after all, its land.”                 Lyng v. Nw. Indian

 Cemetery    Protective       Ass’n,      485   U.S.    439,    453      (1988)

 (emphasis in original).

      Moreover, as in Coeur d’Alene, the particular lands

 addressed by this suit bear special significance to the

 sovereign defendant.          In Coeur d’Alene, the plaintiffs


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 sought to end the State’s control of certain “submerged

 lands, lands with a unique status in the law.”                      Coeur

 d’Alene, 521 U.S. at 283.             As the Court explained, the

 history of American and English law makes clear that

 navigable waters and the land beneath them carry special

 “importance ... to state sovereignty.”              Id.     So too does

 Hickory     Ground      carry     special     importance       to    the

 sovereignty of PBCI.         The Tribe has owned the land for

 40 years, and the casino it operates there is a major

 driver of its economy.            See Second Amended Complaint

 (Doc. 190) at ¶¶ 202, 211.               And PBCI has significant

 historical     connections       to     Hickory    Ground    as     well.

 According     to     the   Interior       Department’s      memorandum

 acknowledging PBCI’s tribal status, which is cited in the

 plaintiffs’      complaint,     see     id.   at   ¶ 63,    the     Tribe

 consists of the descendants of members of the Creek

 Nation who remained in Alabama after the Trail of Tears,

 see U.S. Dep’t of the Interior, Proposed Finding for

 Federal Acknowledgement of the Poarch Band of Creeks of

 Alabama 1-3 (Dec. 29, 1983).             Hickory Ground is central


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 to the history of the Creek Nation in Alabama; the site

 “was involved in nearly all the major historic events in

 the southeast before the removal of Creeks from Alabama

 in 1836.”      Application for Historic Preservation Funds

 (Doc. 190-1) at 4.

      This land, long owned by PBCI, is a vital part of

 both the Tribe’s history and its present economy.                     No

 matter the phrasing of the plaintiffs’ complaint or how

 the defendants they name are therein denominated, PBCI’s

 sovereign interest in its ownership and use of Hickory

 Ground cannot be placed in jeopardy before this court

 without the Tribe’s consent.             As a result, the Tribal

 Defendants--including the tribal officials named in their

 official capacity--must be dismissed from this suit.



                 B.   Required Joinder of Parties

      Rule 19 of the Federal Rules of Civil Procedure

 governs the mandatory joinder of parties to a suit.

 Certain     entities     whose     rights     or   obligations       are

 implicated by a particular suit must be joined to that


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 litigation if feasible.           An entity becomes a “required

 party” under Rule 19(a) if “the court cannot accord

 complete relief” in the entity’s absence or if proceeding

 on the action without that entity would “impair or impede

 the person’s ability to protect their interest” or leave

 an existing party “subject to a substantial risk of

 incurring double, multiple, or otherwise inconsistent

 obligations.” Fed. R. Civ. P. 19(a). If such a “required

 party” cannot be joined to the suit, the court must

 evaluate, based on various equitable factors, whether it

 is appropriate for the suit to proceed without the party

 involved.     See Fed. R. Civ. P. 19(b).             As noted above,

 the burden lies with the party seeking dismissal on

 Rule 19    grounds    to   demonstrate      the   necessity     of    the

 party’s presence and the interests that will be damaged

 in the party’s absence.

      “[P]ragmatic concerns, especially the effect on the

 parties and the litigation, control” the analysis of

 whether a party is required under Rule 19(a).                        Fla.

 Wildlife Fed’n Inc. v. U.S. Army Corps of Eng’rs, 859


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 F.3d 1306, 1316 (11th Cir. 2017) (quoting Focus on the

 Family v. Pinellas Suncoast Transit Auth., 344 F.3d 1263,

 1280 (11th Cir. 2003)).             The Tribal Defendants argue

 persuasively      that    they    are    required   parties      to   this

 litigation.       As     they    accurately    describe    the    suit’s

 “overarching      objective,”      it    is   “to   deprive   PBCI      of

 jurisdiction and control over part of its reservation,

 to order it to expend substantial resources ..., and to

 literally dismantle one of its major economic engines.”

 Br. in Supp. Tribal Defs.’ Mot. to Dismiss (Doc. 202) at

 86.    Proceeding without any of the Tribal Defendants

 would seriously impair the Tribe’s ability to protect its

 interest in continuing to operate its casino on its land,

 an interest not shared by the Federal Defendants who

 would remain in the suit.          The Eleventh Circuit has found

 considerably lesser threats of interest-impairment than

 this to make a party required under Rule 19(a).                       See,

 e.g., Fla. Wildlife Fed’n, 859 F.3d at 1317.                     And the

 court could not afford complete relief without the Tribe

 or any of its representatives present.                 No injunction


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 running against the Federal Defendants could force the

 Tribe to stop operating the Wind Creek Wetumpka or to

 tear it down, nor could the court grant such relief

 against the Individual Defendants, who again are sued

 only in their individual capacities for monetary relief

 on the tort-of-outrage claim.

      The plaintiffs do not meaningfully contest that the

 Tribal Defendants as a group are required parties under

 Rule 19.      They say instead that the interests of PBCI

 itself and PCI Gaming Authority could appropriately be

 represented       by    the     tribal      officials       named     as

 official-capacity defendants.              See Pls.’ Response to

 Tribal Defs.’ Mot. to Dismiss (Doc. 212) at 105 (arguing

 that “Poarch and PCI Gaming are adequately represented

 by the tribal official defendants”).               But as discussed

 above, the tribal officials too enjoy sovereign immunity

 and will be dismissed from this suit.            Without either the




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 Tribe or its officials in this case, the interests of

 PBCI will not be adequately protected.4

        When a required party cannot be joined to a suit,

 the court must weigh the relevant equities, including

 four    specific    factors     set   forth    in   Rule    19(b),    to

 determine whether the suit can move forward without the

 party.     In this case, the Supreme Court’s decision in

 Republic of Philippines v. Pimentel, 553 U.S. 851 (2008),

 all but answers the question whether the suit can proceed



     4. There is one exception in this suit to the
 general insufficiency of the remaining defendants to
 protect the Tribal Defendants’ interests: the plaintiffs’
 tort-of-outrage claim against the Individual Defendants
 in their individual capacities. Rule 19 speaks of the
 parties required for an “action” to proceed, not
 particular claims, and it mandates dismissal of the
 “action” in certain instances when these required parties
 cannot be joined. Fed. R. Civ. P. 19(a)(1)(B), (b). But
 the Supreme Court has explained that a “civil action” may
 “comprise[] fewer claims than were included in the
 complaint.”   Exxon Mobil Corp. v. Allapattah Servs.,
 Inc., 545 U.S. 546, 559 (2005). In any event, whether
 or   not   Rule 19    would   require   the   plaintiffs’
 tort-of-outrage claim to be dismissed with the other
 claims, the plaintiffs have expressly made the viability
 of their outrage claim contingent on first succeeding on
 their claim under the IRA. See Second Amended Complaint
 (Doc. 190) at ¶ 200.    As such, because the court will
 dismiss the plaintiffs’ IRA claim, it will treat their
 tort-of-outrage claim as voluntarily withdrawn.
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 without the Tribal Defendants present.                    As the Court

 held, “[a] case may not proceed when a required-entity

 sovereign is not amenable to suit.” Id. at 867. “[W]here

 sovereign immunity is asserted, and the claims of the

 sovereign are not frivolous, dismissal of the action must

 be ordered where there is a potential for injury to the

 interests of the absent sovereign.”                Id.

      Among the factors enumerated in Rule 19(b), the

 difficulties       raised    by       proceeding   with    a   suit    that

 implicates an absent sovereign’s interests--rather than

 the interests of a non-sovereign absent party--go most

 directly     to     whether       a     judgment   rendered       in     the

 sovereign’s absence could “prejudice that person or the

 existing parties.”          Fed. R. Civ. P. 19(b)(1); see also

 Pimentel, 553 U.S. at 869. As explained above, a judgment

 rendered in the absence of the Tribal Defendants could

 nevertheless all but entirely demolish PBCI’s control

 over part of its tribal land.               Furthermore, there do not

 appear to be any circumscribed remedies the plaintiffs

 could    seek     against   the       other   defendants       that    would


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 eliminate the burden on PBCI’s interests.                 See Fed. R.

 Civ.    P.   19(b)(2).        A   ruling     against     the    Federal

 Defendants on the plaintiffs’ IRA claim would make PBCI’s

 further operation of the Wind Creek Wetumpka illegal; a

 ruling against them on the plaintiffs’ NAGPRA or ARPA

 claim would require the federal government to do what it

 could to force PBCI to tear down the Wind Creek Wetumpka

 and restore the site to its pre-excavation status.                   See

 Second Amended Complaint (Doc. 190) at ¶¶ 261(b), 282(b).

        Whether the judgment would be “adequate” without the

 Tribal Defendants present--the factor set forth in Rule

 19(b)(3)--turns on the “public stake in settling disputes

 by wholes, whenever possible.”           Pimentel, 553 U.S. at 870

 (quoting     Provident      Tradesmens      Bank    &   Tr.    Co.    v.

 Patterson, 390 U.S. 102, 111 (1968)).              This longstanding

 dispute between the Muscogee (Creek) Nation and PBCI over

 control of the human remains and cultural items once

 interred at Hickory Ground could not be resolved as a

 whole without the Tribe or any of its representatives

 present.     And while it is true that dismissing this suit


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 may leave the plaintiffs no forum for at least some of

 their     claims--the       consideration        raised        by   Rule

 19(b)(4)--this is sometimes the necessary consequence of

 the   obligations      imposed    on    courts    and   litigants     by

 Rule 19.     See Pimentel, 553 U.S. at 872.             Moreover, the

 disposition of the present suit does not mean that all

 hope is lost for these plaintiffs.               As noted above, a

 dismissal for failure to join a required party is without

 prejudice.        A   narrower      suit    seeking     more    limited

 relief--such as the return of the bodies and funerary

 objects buried at Hickory Ground to the descendants of

 the     deceased--may      not    trigger     the    same      sovereign

 interests that preclude this litigation from proceeding,

 particularly if such a suit were directed at specific

 tribal officials responsible for PBCI’s ongoing control

 of those bodies and artifacts. In any event, the immunity

 of sovereigns against unconsented suits does not bend to

 the injustice of claims unheard.




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                          IV. CONCLUSION

       For all of these reasons, the court concludes that

 the Tribal Defendants are required parties to this suit,

 that they cannot be joined to it, and that the suit may

 not proceed in their absence.              Accordingly, the court

 will grant the Tribal Defendants’ motion to dismiss, deny

 as    moot   the   motions    to   dismiss    of   the   Federal     and

 Individual Defendants, and dismiss this action without

 prejudice.5

       In so concluding, the court does not question that

 the    plaintiffs    have    grave    historical,      cultural,     and

 religious interests in the treatment of Hickory Ground

 and those who were buried there.             But so too does PBCI,

 as a sovereign entity, have serious interests in not

 having its capacity to exercise dominion over its lands

 adjudicated in a federal court without its presence and

 consent.     Whether these plaintiffs or other descendants

 of the people once interred at Hickory Ground could bring



     5. As noted above, this dismissal will not include
 the claims against Martin Construction, the company that
 has filed a notice of bankruptcy in this case.
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 a suit seeking more limited remedies is not before the

 court today. All the court now finds is that the sweeping

 relief sought here implicates so deeply the sovereign

 interests of PBCI that the claims against the Tribe and

 its officials may not proceed without PBCI’s consent, and

 that    this   litigation      cannot    proceed     without     PBCI’s

 presence or the presence of its representatives.

                                  * * *

        A separate judgment will issue.

        DONE, this the 15th day of March, 2021.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE




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    IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


 MUSCOGEE (CREEK) NATION,            )
 a federally recognized              )
 Indian tribe, et al.,               )
                                     )
        Plaintiffs,                  )
                                     )         CIVIL ACTION NO.
        v.                           )          2:12cv1079-MHT
                                     )               (WO)
 POARCH BAND OF CREEK                )
 INDIANS, a federally                )
 recognized Indian tribe,            )
 et al.,                             )
                                     )
        Defendants.                  )

                                JUDGMENT

      In accordance with the opinion entered today, it is

 the ORDER, JUDGMENT, and DECREE of the court that:

      (1) The Tribal Defendants’ motion to dismiss (Doc.

 201) is granted.        The claims against them are dismissed

 without prejudice, and these defendants are terminated.

      (2) Pursuant to Rule 19 of the Federal Rules of Civil

 Procedure, the claims against all remaining defendants

 except defendant Martin Construction, Inc., are dismissed
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 without prejudice.         These defendants are terminated as

 parties.

      (3) The motions to dismiss filed by these remaining

 defendants (Doc. 199 & Doc. 204) are denied as moot.

      It is further ORDERED that no costs are taxed.

      The court recognizes that the proceedings have been

 stayed as to defendant Martin Construction, Inc., and

 said defendant has not been dismissed.                  If the other

 parties believe it is necessary for the judgment to be

 designated as a final judgment pursuant to Rule 54(b) of

 the Federal Rules of Civil Procedure, they may move the

 court to so designate the judgment.

      This case is not closed.

      DONE, this the 15th day of March, 2021.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE




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A copy of Case:
USCA11    this checklist
                 21-11643is available at the website
                                  Document:    36 for  the Filed:
                                                     Date  USCA,07/27/2023
                                                                  11th Circuit at Page:
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               Effective on December 1, 2013, the fee to file an appeal is $505.00

                       CIVIL APPEALS JURISDICTION CHECKLIST


 1.     Appealable Orders: Courts of Appeals have jurisdiction conferred and strictly limited
        by statute:

        (a)     Appeals from final orders pursuant to 28 U.S.C. § 1291: Final orders and
                judgments of district courts, or final orders of bankruptcy courts which have been
                appealed to and fully resolved by a district court under 28 U.S.C. § 158, generally
                are appealable. A final decision is one that “ends the litigation on the merits and
                leaves nothing for the court to do but execute the judgment.” Pitney Bowes, Inc.
                v. Mestre, 701 F.2d 1365, 1368 (11th Cir. 1983) (citing Catlin v. United States,
                324 U.S. 229, 233, 65 S.Ct. 631, 633, 89 L.Ed. 911 (1945)). A magistrate judge’s
                report and recommendation is not final and appealable until judgment thereon is
                entered by a district court judge. 28 U.S.C. § 636(b); Perez-Priego v. Alachua
                County Clerk of Court, 148 F.3d 1272 (11th Cir. 1998). However, under 28
                U.S.C. § 636(c)(3), the Courts of Appeals have jurisdiction over an appeal from a
                final judgment entered by a magistrate judge, but only if the parties consented to
                the magistrate’s jurisdiction. McNab v. J & J Marine, Inc., 240 F.3d 1326, 1327-
                28 (11th Cir. 2001).

        (b)     In cases involving multiple parties or multiple claims, a judgment as to fewer
                than all parties or all claims is not a final, appealable decision unless the district
                court has certified the judgment for immediate review under Fed.R.Civ.P. 54(b).
                Williams v. Bishop, 732 F.2d 885, 885-86 (11th Cir. 1984). A judgment which
                resolves all issues except matters, such as attorneys’ fees and costs, that are
                collateral to the merits, is immediately appealable. Budinich v. Becton Dickinson
                & Co., 486 U.S. 196, 201, 108 S.Ct. 1717, 1721-22, 100 L.Ed.2d 178 (1988);
                LaChance v. Duffy’s Draft House, Inc., 146 F.3d 832, 837 (11th Cir. 1998).

        (c)       Appeals pursuant to 28 U.S.C. § 1292(a): Under this section, appeals are
                  permitted from the following types of orders:
                i. Orders granting, continuing, modifying, refusing or dissolving injunctions, or
                     refusing to dissolve or modify injunctions; However, interlocutory appeals
                     from orders denying temporary restraining orders are not permitted.
                     McDougald v. Jenson, 786 F.2d 1465, 1472-73 (11th Cir. 1986);
               ii. Orders appointing receivers or refusing to wind up receiverships; and
              iii. Orders determining the rights and liabilities of parties in admiralty cases.

        (d)     Appeals pursuant to 28 U.S.C. § 1292(b) and Fed.R.App.P. 5: The
                certification specified in 28 U.S.C. § 1292(b) must be obtained before a petition
                for permission to appeal is filed in the Court of Appeals. The district court’s
                denial of a motion for certification is not itself appealable.

        (e)     Appeals pursuant to judicially created exceptions to the finality rule: Limited
                exceptions are discussed in cases including, but not limited to: Cohen v.
                Beneficial Indus. Loan Corp., 337 U.S. 541, 546, 69 S.Ct. 1221, 1225-26, 93
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              L.Ed. 1528 (1949); Atlantic Fed. Sav. & Loan Ass’n v. Blythe Eastman Paine
              Webber, Inc., 890 F.2d 371, 376 (11th Cir. 1989); Gillespie v. United States Steel
              Corp., 379 U.S. 148, 157, 85 S.Ct. 308, 312, 13 L.Ed.2d 199 (1964).

 2.    Time for Filing: The timely filing of a notice of appeal is mandatory and jurisdictional.
       Rinaldo v. Corbett, 256 F.3d 1276, 1278 (11th Cir. 2001). In civil cases, Fed.R.App.P.
       4(a) and (c) set the following time limits:
       (a)    Fed.R.App.P. 4(a)(1): A notice of appeal in compliance with the requirements
              set forth in Fed.R.App.P. 3 must be filed in the district court within 30 days after
              the order or judgment appealed from is entered. However, if the United States or
              an officer or agency thereof is a party, the notice of appeal must be filed in the
              district court within 60 days after such entry. THE NOTICE MUST BE
              RECEIVED AND FILED IN THE DISTRICT COURT NO LATER THAN
              THE LAST DAY OF THE APPEAL PERIOD – no additional days are
              provided for mailing. Special filing provisions for inmates are discussed below.

       (b)    Fed.R.App.P. 4(a)(3): “If one party timely files a notice of appeal, any other
              party may file a notice of appeal within 14 days after the date when the first notice
              was filed, or within the time otherwise prescribed by this Rule 4(a), whichever
              period ends later.”

       (c)    Fed.R.App.P. 4(a)(4): If any party makes a timely motion in the district court
              under the Federal Rules of Civil Procedure of a type specified in this rule, the
              time for appeal for all parties runs from the date of entry of the order disposing of
              the last such timely filed motion.

       (d)    Fed.R.App.P. 4(a)(5) and 4(a)(6): Under certain limited circumstances, the
              district court may extend or reopen the time to file a notice of appeal. Under Rule
              4(a)(5), the time may be extended if a motion for an extension is filed within 30
              days after expiration of the time otherwise provided to file a notice of appeal,
              upon a showing of excusable neglect or good cause. Under Rule 4(a)(6), the time
              to file an appeal may be reopened if the district court finds, upon motion, that the
              following conditions are satisfied: the moving party did not receive notice of the
              entry of the judgment or order within 21 days after entry; the motion is filed
              within 180 days after the judgment or order is entered or within 14 days after the
              moving party receives notice, whichever is earlier; and no party would be
              prejudiced by the reopening.

       (e)    Fed.R.App.P. 4(c): If an inmate confined to an institution files a notice of appeal
              in either a civil case or a criminal case, the notice of appeal is timely if it is
              deposited in the institution’s internal mail system on or before the last day for
              filing. Timely filing may be shown by a declaration in compliance with 28 U.S.C.
              § 1746 or a notarized statement, either of which must set forth the date of deposit
              and state that first-class postage has been prepaid.




                                                                                      Rev.: 3/2011
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 3.    Format of the notice of appeal: Form 1, Appendix of Forms to the Federal Rules of
       Appellate Procedure, is a suitable format. See also Fed.R.App.P. 3(c). A pro se notice of
       appeal must be signed by the appellant.

 4.    Effect of a notice of appeal: A district court lacks jurisdiction, i.e., authority, to act after
       the filing of a timely notice of appeal, except for actions in aid of appellate jurisdiction or
       to rule on a timely motion of the type specified in Fed.R.App.P. 4(a)(4).




                                                                                          Rev.: 3/2011
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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

  MUSCOGEE (CREEK) NATION,   )
  a federally recognized     )
  Indian tribe, et al.,      )
                             )                  CIVIL ACTION NO.
       Plaintiffs,           )                   2:12cv1079-MHT
                             )                        (WO)
       v.                    )
                             )
                             )
  MARTIN CONSTRUCTION, INC., )
                             )
       Defendant.            )

                                   ORDER

       In accordance with the opinion and judgment entered

 today, it is ORDERED that the clerk of the court is to

 close this case administratively pending resolution of

 defendant       Martin     Construction,         Inc.’s     bankruptcy

 proceedings in the United States Bankruptcy Court for the

 Southern District of Alabama.             See Notice of Bankruptcy

 (Doc. 198).

       Because the only party remaining in this case has

 declared     bankruptcy,     it   is   further    ORDERED     that   the

 parties should inform the court by 5:00 p.m. on March 17,

 2021, whether they agree to the court’s entering the
     Case 2:12-cv-01079-MHT-CSC Document 225 Filed 03/15/21 Page 2 of 2
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 following      standard      order     when     a    party     suggests

 bankruptcy:

           “Defendant    Martin   Construction,    Inc.,
       having made a suggestion of bankruptcy (Doc.
       198), and counsel for the parties having
       informed the court that they do not object to
       this order, it is the ORDER, JUDGMENT, and DECREE
       of the court:

           (1) That defendant Martin Construction,
       Inc., is dismissed and terminated without
       prejudice to the right of any party to petition
       to reinstate this defendant as a party to pursue
       any claim embraced herein not adjudicated in or
       discharged by proceedings in the bankruptcy
       court;

           (2) That such reinstatement, if and when
       allowed, will cause the filing date of any claim
       so reinstated to relate back to the original
       filing date of this action against said party;
       and

           (3) That any petition for reinstatement
       must be filed by a party within 60 days after
       the bankruptcy court has taken such action that
       entitles that party to seek reinstatement.

           “The clerk of the court is DIRECTED to mail
       a copy of this order to the bankruptcy court.

            “This case is closed.”

       DONE, this the 15th day of March, 2021.

                                      /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
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                                 No. 21-11643
                  UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT


                     MUSCOGEE (CREEK) NATION, et al.,
                             Plaintiffs-Appellants,
                                        v.
                           BUFORD ROLIN, et al.,
                            Defendants-Appellants.


 Appeal from the District Court of the United States for the Middle District of
                         Alabama, Northern Division
   District Court No. 2:12cv1079-MHT (CSC) (Hon. Myron H. Thompson)


                 APPELLANTS’ APPENDIX – VOLUME 5


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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

  MUSCOGEE (CREEK) NATION,   )
  a federally recognized     )
  Indian tribe, et al.,      )
                             )                  CIVIL ACTION NO.
       Plaintiffs,           )                   2:12cv1079-MHT
                             )                        (WO)
       v.                    )
                             )
                             )
  MARTIN CONSTRUCTION, INC., )
                             )
       Defendant.            )

                                JUDGMENT

       Defendant Martin Construction, Inc., having made a

 suggestion of bankruptcy (Doc. 198), and counsel for the

 plaintiffs having informed the court that they do not

 object to this order (Doc. 226), and bankruptcy counsel

 for defendant Martin Construction, Inc., having informed

 the court by email (a copy of which is attached) that

 said defendant does not object to this order, it is the

 ORDER, JUDGMENT, and DECREE of the court:

       (1) That defendant Martin Construction, Inc., is

 dismissed and terminated without prejudice to the right

 of any party to petition to reinstate this defendant as
     Case 2:12-cv-01079-MHT-CSC Document 227 Filed 03/19/21 Page 2 of 3
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 a   party    to    pursue      any     claim          embraced   herein     not

 adjudicated       in   or    discharged          by    proceedings   in     the

 bankruptcy court;

       (2) That such reinstatement, if and when allowed,

 will cause the filing date of any claim so reinstated to

 relate back to the original filing date of this action

 against said party;

       (3) That     any      petition       for    reinstatement      must    be

 filed by a party within 60 days after the bankruptcy

 court has taken such action that entitles that party to

 seek reinstatement; and

       (4) That this order is being entered subject to the

 understanding that it should not adversely affect the

 plaintiffs’ rights to appeal the order, judgment, and

 opinion of the court entered on March 15, 2021 (Doc. 223,

 Doc. 224, & Doc. 225).           See Pls.’ Agreement to Entering

 Standard Order (Doc. 226) at 1.                        If this order does

 adversely affect such rights, the parties may move the

 court to vacate it.




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       The clerk of the court is DIRECTED to mail a copy of

 this order to the bankruptcy court.

       This case is closed, and not just administratively

 but in full.

       DONE, this the 19th day of March, 2021.

                                      /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE




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 A copy ofCase:
USCA11    this checklist
                 21-11643is available at the website
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                                                     Date  USCA,07/27/2023
                                                                  11th Circuit atPage:
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               Effective on December 1, 2013, the fee to file an appeal is $505.00

                        CIVIL APPEALS JURISDICTION CHECKLIST


 1.      Appealable Orders: Courts of Appeals have jurisdiction conferred and strictly limited
         by statute:

         (a)     Appeals from final orders pursuant to 28 U.S.C. § 1291: Final orders and
                 judgments of district courts, or final orders of bankruptcy courts which have been
                 appealed to and fully resolved by a district court under 28 U.S.C. § 158, generally
                 are appealable. A final decision is one that “ends the litigation on the merits and
                 leaves nothing for the court to do but execute the judgment.” Pitney Bowes, Inc.
                 v. Mestre, 701 F.2d 1365, 1368 (11th Cir. 1983) (citing Catlin v. United States,
                 324 U.S. 229, 233, 65 S.Ct. 631, 633, 89 L.Ed. 911 (1945)). A magistrate judge’s
                 report and recommendation is not final and appealable until judgment thereon is
                 entered by a district court judge. 28 U.S.C. § 636(b); Perez-Priego v. Alachua
                 County Clerk of Court, 148 F.3d 1272 (11th Cir. 1998). However, under 28
                 U.S.C. § 636(c)(3), the Courts of Appeals have jurisdiction over an appeal from a
                 final judgment entered by a magistrate judge, but only if the parties consented to
                 the magistrate’s jurisdiction. McNab v. J & J Marine, Inc., 240 F.3d 1326, 1327-
                 28 (11th Cir. 2001).

         (b)     In cases involving multiple parties or multiple claims, a judgment as to fewer
                 than all parties or all claims is not a final, appealable decision unless the district
                 court has certified the judgment for immediate review under Fed.R.Civ.P. 54(b).
                 Williams v. Bishop, 732 F.2d 885, 885-86 (11th Cir. 1984). A judgment which
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                 collateral to the merits, is immediately appealable. Budinich v. Becton Dickinson
                 & Co., 486 U.S. 196, 201, 108 S.Ct. 1717, 1721-22, 100 L.Ed.2d 178 (1988);
                 LaChance v. Duffy’s Draft House, Inc., 146 F.3d 832, 837 (11th Cir. 1998).

         (c)       Appeals pursuant to 28 U.S.C. § 1292(a): Under this section, appeals are
                   permitted from the following types of orders:
                 i. Orders granting, continuing, modifying, refusing or dissolving injunctions, or
                      refusing to dissolve or modify injunctions; However, interlocutory appeals
                      from orders denying temporary restraining orders are not permitted.
                      McDougald v. Jenson, 786 F.2d 1465, 1472-73 (11th Cir. 1986);
                ii. Orders appointing receivers or refusing to wind up receiverships; and
               iii. Orders determining the rights and liabilities of parties in admiralty cases.

         (d)     Appeals pursuant to 28 U.S.C. § 1292(b) and Fed.R.App.P. 5: The
                 certification specified in 28 U.S.C. § 1292(b) must be obtained before a petition
                 for permission to appeal is filed in the Court of Appeals. The district court’s
                 denial of a motion for certification is not itself appealable.

         (e)     Appeals pursuant to judicially created exceptions to the finality rule: Limited
                 exceptions are discussed in cases including, but not limited to: Cohen v.
                 Beneficial Indus. Loan Corp., 337 U.S. 541, 546, 69 S.Ct. 1221, 1225-26, 93
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              L.Ed. 1528 (1949); Atlantic Fed. Sav. & Loan Ass’n v. Blythe Eastman Paine
              Webber, Inc., 890 F.2d 371, 376 (11th Cir. 1989); Gillespie v. United States Steel
              Corp., 379 U.S. 148, 157, 85 S.Ct. 308, 312, 13 L.Ed.2d 199 (1964).

 2.    Time for Filing: The timely filing of a notice of appeal is mandatory and jurisdictional.
       Rinaldo v. Corbett, 256 F.3d 1276, 1278 (11th Cir. 2001). In civil cases, Fed.R.App.P.
       4(a) and (c) set the following time limits:
       (a)    Fed.R.App.P. 4(a)(1): A notice of appeal in compliance with the requirements
              set forth in Fed.R.App.P. 3 must be filed in the district court within 30 days after
              the order or judgment appealed from is entered. However, if the United States or
              an officer or agency thereof is a party, the notice of appeal must be filed in the
              district court within 60 days after such entry. THE NOTICE MUST BE
              RECEIVED AND FILED IN THE DISTRICT COURT NO LATER THAN
              THE LAST DAY OF THE APPEAL PERIOD – no additional days are
              provided for mailing. Special filing provisions for inmates are discussed below.

       (b)    Fed.R.App.P. 4(a)(3): “If one party timely files a notice of appeal, any other
              party may file a notice of appeal within 14 days after the date when the first notice
              was filed, or within the time otherwise prescribed by this Rule 4(a), whichever
              period ends later.”

       (c)    Fed.R.App.P. 4(a)(4): If any party makes a timely motion in the district court
              under the Federal Rules of Civil Procedure of a type specified in this rule, the
              time for appeal for all parties runs from the date of entry of the order disposing of
              the last such timely filed motion.

       (d)    Fed.R.App.P. 4(a)(5) and 4(a)(6): Under certain limited circumstances, the
              district court may extend or reopen the time to file a notice of appeal. Under Rule
              4(a)(5), the time may be extended if a motion for an extension is filed within 30
              days after expiration of the time otherwise provided to file a notice of appeal,
              upon a showing of excusable neglect or good cause. Under Rule 4(a)(6), the time
              to file an appeal may be reopened if the district court finds, upon motion, that the
              following conditions are satisfied: the moving party did not receive notice of the
              entry of the judgment or order within 21 days after entry; the motion is filed
              within 180 days after the judgment or order is entered or within 14 days after the
              moving party receives notice, whichever is earlier; and no party would be
              prejudiced by the reopening.

       (e)    Fed.R.App.P. 4(c): If an inmate confined to an institution files a notice of appeal
              in either a civil case or a criminal case, the notice of appeal is timely if it is
              deposited in the institution’s internal mail system on or before the last day for
              filing. Timely filing may be shown by a declaration in compliance with 28 U.S.C.
              § 1746 or a notarized statement, either of which must set forth the date of deposit
              and state that first-class postage has been prepaid.




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 3.    Format of the notice of appeal: Form 1, Appendix of Forms to the Federal Rules of
       Appellate Procedure, is a suitable format. See also Fed.R.App.P. 3(c). A pro se notice of
       appeal must be signed by the appellant.

 4.    Effect of a notice of appeal: A district court lacks jurisdiction, i.e., authority, to act after
       the filing of a timely notice of appeal, except for actions in aid of appellate jurisdiction or
       to rule on a timely motion of the type specified in Fed.R.App.P. 4(a)(4).




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                        TAB 228
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                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

 MUSCOGEE (CREEK) NATION, et al.,                 )
                                                  )
        Plaintiffs,                               )
                                                  )
 vs.                                              )
                                                  )               Civil Action Number:
 POARCH BAND OF CREEK INDIANS, et                 )             2:12-cv-01079-MHT-CSC
 al.,                                             )
                                                  )
        Defendants.                               )
                                                  )


                              PLAINTIFFS’ NOTICE OF APPEAL
        Please take notice that Plaintiffs Muscogee (Creek) Nation, Hickory Ground Tribal

 Town, and Mekko George Thompson hereby appeal to the United States Court of Appeals for

 the Eleventh Circuit from: (1) the District Court’s Opinion granting the Tribal Defendants’

 motion to dismiss (ECF No. 223 (3/15/2021)); (2) the District Court’s corresponding Order (ECF

 No. 225 (3/15/2021)); (3) the District Court’s corresponding Judgment (ECF No. 224

 (3/15/2021)); and (4) all rulings, decisions, orders or other dispositions that form any part or

 basis of the foregoing Opinion, Order, or Judgment.

        Dated: May 12, 2021.


 OF COUNSEL                                  s/ Stewart Davidson McKnight, III
 Lauren J. King                              Stewart Davidson McKnight , III (ASB-6258-G63S)
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                                             Tel: 205-271-1100
 Counsel for Plaintiffs
                                             Counsel for Plaintiffs
 (Admitted Pro Hac Vice)




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                                         Certificate of Service

         I hereby certify that on the 12th day of May, 2021, I caused to be electronically filed the

 Plaintiffs’ Notice of Appeal with the Clerk of Court using the CM/ECF system which will send

 notification of such filing to all parties entitled to receive notice.



                                                 s/ Lauren J. King
                                                 Lauren J. King, Of Counsel




                                                     1
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                           CERTIFICATE OF SERVICE

       I hereby certify that on July 27, 2023, I electronically filed the foregoing

 APPELLANTS’ APPENDIX with the Clerk of the Court using the CM/ECF system,

 which will send notification of such filing to all parties entitled to receive notice.


                                          (s) David McKnight
                                          OF COUNSEL
